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                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF TEXAS




In re:                                           Chapter 7

DZS INC.                                         Case No. 25-40712 (BTR)

            Debtor.




            SCHEDULES OF ASSETS AND LIABILITIES OF DEBTOR
                              DZS INC.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 In re:                                                 Chapter 7

 DZS Inc.,                                              Case No. 25-40712 (BTR)

                        Debtor.

 In re:                                                 Chapter 7

 DZS Services Inc.,                                     Case No. 25-40713 (BTR)

                         Debtor.

 In re:                                                 Chapter 7

 DZS California Inc.,                                   Case No. 25-40714 (BTR)

                         Debtor.


     GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
       AND DISCLAIMERS REGARDING THE DEBTORS' SCHEDULES OF
     ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

          The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial

Affairs (the “Statements”) filed by DZS Inc. and its debtor affiliates, as debtors in the above

captioned cases (collectively, the “Debtors”), in the United States Bankruptcy Court for the Eastern

District of Texas (the “Court”) were prepared pursuant to section 521 of title 11 of the United

States Code, 11 U.S.C. 101 – 1532 (the “Bankruptcy Code”) and Federal Rule of Bankruptcy

Procedure 1007 by the Debtors’ management. They are unaudited.

          While the members of management responsible for the preparation of the Schedules and

Statements have made a reasonable effort to ensure that the Schedules and Statements are accurate

and complete based on information known to them at the time of preparation and after reasonable

inquiries, inadvertent errors may exist, inaccuracies within the Debtors’ books and records which
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were relied upon may exist, and/or the subsequent receipt of information may result in material

changes to financial and other data contained in the Schedules and Statements that may warrant

amendment of the same. Moreover, because the Schedules and Statements contain unaudited

information that is subject to further review and potential adjustment, there can be no assurance

that these Schedules and Statements are fully complete or accurate.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer

Regarding Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated

by reference in, and comprise an integral part of, the Debtors’ Schedules and Statements. In the

event of any inconsistency between the Global Notes and the Schedules and Statements, the Global

Notes shall control and govern.

       The Schedules and Statements have been signed by Charlie Vogt, the Chief Executive

Officer of each of the Debtors. In reviewing and signing the Schedules and Statements, he relied

upon the efforts, statements, and representations of the Debtors’ other personnel and professionals.

The representative has not (and could not have) personally verified the accuracy of each such

statement and representation, including, for example, statements and representations concerning

amounts owed to creditors and their addresses.

            GLOBAL NOTES REGARDING SCHEDULES AND STATEMENTS

       1.      Description of the Chapter 7 Cases. On March 14, 2025 (the “Petition Date”),

the Debtors commenced voluntary cases under chapter 7 of the Bankruptcy Code (collectively, the

“Chapter 7 Cases”). No chapter 7 trustee (the “Chapter 7 Trustee”) has been appointed as of the

filing of the Schedules and Statements.

       2.      Reservations and Limitations. Reasonable efforts have been made to prepare and

file complete and accurate Schedules and Statements; however, as noted above, inadvertent errors



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or omissions may exist. The Debtors reserve all rights to amend and supplement the Schedules

and Statements as may be necessary or appropriate. Nothing contained in the Schedules and

Statements is intended to be, nor should it be construed as, a waiver of any of the Debtors’ or the

Chapter 7 Trustee’s rights or an admission of any kind with respect to these Chapter 7 Cases,

including, but not limited to, any rights or claims against any third party or issues involving

substantive consolidation, equitable subordination, or defenses or causes of action arising under

the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy or

non-bankruptcy laws to recover assets or avoid transfers.1 Any specific reservation of rights

contained elsewhere in the Global Notes does not limit in any respect the general reservation of

rights contained in this paragraph.

                 a) No Admission. Nothing contained in the Schedules and Statements is intended
                    as, or should be construed as, an admission or stipulation of the validity of any
                    claim against the Debtors, any assertion made therein or herein, or a waiver of
                    any rights to dispute any claim or assert any cause of action or defense against
                    any party.

                 b) Recharacterization. The Debtors have made reasonable efforts to correctly
                    characterize, classify, categorize, or designate certain claims, assets, executory
                    contracts, unexpired leases, and other items reported in the Schedules and
                    Statements. However, the Debtors may have improperly characterized,
                    classified, categorized, designated, or omitted certain items due to the
                    complexity and size of the Debtors’ business. Accordingly, all rights are
                    reserved to recharacterize, reclassify, recategorize, or redesignate items
                    reported in the Schedules and Statements at a later time as necessary or
                    appropriate, including, without limitation, whether contracts or leases listed
                    herein were deemed executory or unexpired as of the Petition Date and remain
                    executory and unexpired postpetition.

                 c) Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                    Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                    “executory” or “unexpired” does not constitute an admission by the Debtors of
                    the legal rights of the claimant or contract counterparty or a waiver of the



1
  For the avoidance of doubt, references to the rights of the Debtors and any reservations thereof contained herein
include those rights and other powers that may be exercised by the Chapter 7 Trustee, as applicable.

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            Debtors’ or the Chapter 7 Trustee’s rights to recharacterize or reclassify such
            claim or contract.

         d) Claims Description. Any failure to designate a claim in the Schedules and
            Statements as “contingent,” “unliquidated,” or “disputed” does not constitute
            an admission by the Debtors that such claim or amount is not “contingent,”
            “unliquidated,” or “disputed.” All rights to dispute, or to assert offsets or
            defenses to, any claim reflected on their Schedules or Statements on any
            grounds, including, but not limited to, amount, liability, priority, status, or
            classification, or to otherwise subsequently designate any claim as
            “contingent,” “unliquidated,” or “disputed” are expressly preserved. Moreover,
            the Debtors reserve all rights to amend their Schedules and Statements as
            necessary and appropriate. Listing a claim does not constitute an admission of
            liability by the Debtors.

         e) Estimates and Assumptions. To prepare and file the Schedules as close to the
            Petition Date as possible, management was required to make certain estimates
            and assumptions that affected the reported amounts of assets and liabilities. All
            rights are reserved to amend the reported amounts of assets and liabilities to
            reflect changes in estimates or assumptions.

         f) Causes of Action. Despite their reasonable efforts to identify all known assets,
            the Debtors may not have listed all of their causes of action or potential causes
            of action against third parties as assets in their Schedules and Statements,
            including, without limitation, avoidance actions arising under chapter 5 of the
            Bankruptcy Code and actions under other relevant bankruptcy and non-
            bankruptcy laws to recover assets. All rights with respect to any cause of action
            (including avoidance actions), controversy, right of setoff, cross claim,
            counterclaim, or recoupment and any claim on contracts or for breaches of
            duties imposed by law or in equity, demand, right, action, lien, indemnity,
            guaranty, suit, obligation, liability, damage, judgment, account, defense, power,
            privilege, license, and franchise of any kind or character whatsoever, known,
            unknown, fixed or contingent, matured or unmatured, suspected or
            unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
            unsecured, assertable directly or derivatively, whether arising before, on, or
            after the Petition Date, in contract or in tort, in law or in equity, or pursuant to
            any other theory of law (collectively, “Causes of Action”) that may exist are
            expressly preserved, and neither these Global Notes nor the Schedules and
            Statements shall be deemed a waiver of any claims or Causes of Action or in
            any way prejudice or impair the assertion of such claims or Causes of Action.

         g) Intellectual Property Rights. Exclusion of certain intellectual property shall
            not be construed to be an admission that such intellectual property rights have
            been abandoned, have been terminated, or otherwise have expired by their
            terms, or have been assigned or otherwise transferred pursuant to a sale,
            acquisition, or other transaction. Conversely, inclusion of certain intellectual
            property shall not be construed to be an admission that such intellectual

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            property rights have not been abandoned, have not been terminated, or
            otherwise have not expired by their terms, or have not been assigned or
            otherwise transferred pursuant to a sale, acquisition, or other transaction. The
            Debtors have made every effort to attribute intellectual property to the rightful
            Debtor owner, however, in some instances, intellectual property owned by one
            Debtor may, in fact, be owned by another. Accordingly, all rights with respect
            to the legal status of any and all intellectual property rights are reserved.

         h) Insiders. For purposes of the Schedules and Statements, the Debtors included
            information with respect to a range of individuals the Debtors believe could be
            included in the definition of “insider” set forth in section 101(31) of the
            Bankruptcy Code during the relevant time periods, including the following: (i)
            current and former members of the Debtors’ Board of Directors; (ii) employees
            that are, or were during the relevant period, officers; and (iii) Debtor affiliates.
            The listing of a party as an insider for purposes of the Schedules and Statements
            is not intended to be, nor should it be, construed as an admission of any fact,
            right, claim, or defense, and all such rights, claims, and defenses are hereby
            expressly reserved. Persons listed as “insiders” have been included for
            informational purposes only. The Debtors do not take any position with respect
            to: (i) such person’s influence over the control of the Debtors; (ii) the
            management responsibilities or functions of such individual; (iii) the decision-
            making or corporate authority of such individual; or (iv) whether such
            individual could successfully argue that he or she is not an “insider” under
            applicable law, including the federal securities laws, or with respect to any
            theories of liability or for any other purpose.

            Further, certain of the individuals or entities identified as insiders, to the extent
            they are “insiders,” may not have been insiders for the entirety of the twelve-
            month period, but the Debtors have included them herein out of an abundance
            of caution. All rights with respect thereto are reserved. To the extent any
            individual may have been considered an insider at some point during the
            twelve-month period, but ceased being an insider during the twelve-month
            period, this schedule only reflects payments made during the time such party
            may have been considered an insider.

   3.    Methodology.

         a) Basis of Presentation. For financial reporting purposes, prior to the Petition
            Date, the Debtors prepared financial statements that were consolidated by
            Debtor, DZS Inc. Combining the assets and liabilities set forth in the Debtors’
            Schedules and Statements would result in amounts that would be substantially
            different from financial information that would be prepared on a consolidated
            basis under Generally Accepted Accounting Principles (“GAAP”). Therefore,
            these Schedules and Statements do not purport to represent financial statements
            prepared in accordance with GAAP nor are they intended to fully reconcile to
            the financial statements prepared by the Debtors. Unlike the consolidated
            financial statements, these Schedules and Statements reflect the assets and

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            liabilities of each separate Debtor, except where otherwise indicated.
            Information contained in the Schedules and Statements has been derived from
            the Debtors’ books and records and historical financial statements.

            Moreover, given the uncertainty surrounding the collection and ownership of
            certain assets and the valuation and nature of certain liabilities among other
            things, to the extent that a Debtor shows more assets than liabilities, this is not
            an admission that the Debtor was solvent as of the Petition Date or at any time
            prior to the Petition Date. Likewise, to the extent a Debtor shows more
            liabilities than assets, this is not an admission that the Debtor was insolvent at
            the Petition Date or any time prior to the Petition Date.

         b) Reporting Date. The reported asset values in Schedules A and B, reflect the
            Debtors’ asset values as of January 31, 2025, with the exceptions of cash, which
            is the reported bank balance as of March 14, 2025, and of accounts receivable,
            which is reported as of March 13, 2025. Liabilities are reported as close to the
            Petition Date as possible.

         c) Umbrella or Master Agreements. Contracts listed in the Schedules and
            Statements may be umbrella or master agreements that cover relationships with
            some or all of the Debtors. Where relevant, such agreements have been listed
            in the Schedules and Statements only of the Debtor that signed the original
            umbrella or master agreement.

         d) Executory Contracts. Although the Debtors made diligent efforts to attribute
            an executory contract to its rightful Debtor, in certain instances, the Debtors
            may have inadvertently failed to do so. Accordingly, all rights with respect to
            the named parties of any and all executory contracts, including the right to
            amend Schedule G, are reserved. In addition, although the Debtors have made
            diligent attempts to properly identify executory contracts and unexpired leases,
            the inclusion of a contract or lease on Schedule G does not constitute an
            admission as to the executory or unexpired nature (or non-executory or expired
            nature) of the contract or lease, or an admission as to the existence or validity
            of any Claims held by any counterparty to such contract or lease. Furthermore,
            while the Debtors have made diligent attempts to properly identify all executory
            contracts and unexpired leases, inadvertent errors, omissions, or over inclusion
            may have occurred.

            The contracts, agreements, and leases listed on Schedule G may have expired
            or may have been modified, amended, or supplemented from time to time by
            various amendments, restatements, waivers, letters, memoranda, and other
            documents, instruments, and agreements that may not be listed therein despite
            the Debtors’ use of reasonable efforts to identify such documents. Further,
            unless otherwise specified on Schedule G, each executory contract or unexpired
            lease listed thereon shall include all final exhibits, schedules, riders,
            modifications, declarations, amendments, supplements, attachments,
            restatements, or other agreements made directly or indirectly by any executed

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            agreement, instrument, or other document that in any manner affects such
            executory contract or unexpired lease, without respect to whether such
            agreement, instrument, or other document is listed thereon.

         e) Leases. In the ordinary course of their businesses, the Debtors lease real
            property and various articles of personal property from certain third-party
            lessors. The Debtors believe that all such leases are set forth in the Schedules
            and Statements. The property subject to the leases is not reflected in the
            Schedules and Statements as either owned property or assets of the Debtors or
            property or assets of third-parties within the control of the Debtors. The
            Debtors have not included in the Schedules and Statements the future
            obligations of any capital or operating leases. To the extent that there was an
            amount outstanding as of the Petition Date, the creditor has been included on
            Schedule F of the Schedules. Nothing in the Schedules or Statements is or shall
            be construed as an admission or determination as to legal status of any lease,
            and all rights with respect to all such issues are reserved.

         f) Valuation. It would be prohibitively expensive, unduly burdensome, and an
            inefficient use of estate assets for the Debtors to obtain current market
            valuations of all of their assets. Accordingly, unless otherwise indicated, net
            book values as of January 31, 2025, are reflected on the Schedules and
            Statements. Exceptions to this include operating cash and trade accounts
            payable, which are presented at bank balance and amounts owed as of March
            14, 2025 and March 12, 2025, respectively.           Certain other assets, such as
            investments in subsidiaries and other intangible assets, are listed at
            undetermined amounts, as the net book values may differ materially from fair
            market values and, in some cases, the Debtors do not carry the value of the
            assets on their books. Amounts ultimately realized may vary from net book
            value (or whatever value was ascribed), and such variance may be material.
            Accordingly, all rights are reserved to amend or adjust the value of each asset
            set forth herein. In addition, the amounts shown for total liabilities exclude
            items identified as “unknown” or “undetermined,” and, thus, ultimate liabilities
            may differ materially from those stated in the Schedules and Statements. Also,
            assets that have been fully depreciated or that were expensed for accounting
            purposes either do not appear in these Schedules and Statements or are listed
            with a zero-dollar value, as such assets have no net book value. The omission
            of an asset from the Schedules and Statements does not constitute a
            representation regarding the ownership of such asset, and any such omission
            does not constitute a waiver of any rights of with respect to such asset. Given,
            among other things, the current market valuation of certain assets and the
            valuation and nature of certain liabilities, nothing in the Debtors’ Schedules and
            Statements shall be, or shall be deemed to be an admission that any Debtor was
            solvent or insolvent as of the Petition Date.

         g) Property and Equipment. Unless otherwise indicated, owned property and
            equipment are stated at net book value. The Debtors may lease furniture,
            fixtures, and equipment from certain third-party lessors. Any such leases are

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            set forth in the Schedules and Statements. Nothing in the Schedules and
            Statements is or shall be construed as an admission as to the determination as
            to the legal status of any lease (including whether any lease is a true lease or a
            financing arrangement), and all estate rights with respect to the same are
            reserved.

         h) Inventory. Inventories are reported based on the net book value on the
            Debtors’ balance sheet as of January 31, 2025, except Statement 27 which
            reflects the latest physical inventory counts of the Debtors based on information
            available prior to the Petition Date. Inventory is stated at the lower of cost or
            net realizable value, with cost being computed based on an adjusted standard
            basis, which approximates actual cost on an average or first-in, first-out basis.
            The Company reviews the cost of inventories against their estimated net
            realizable value and records write-downs if any inventories have costs in excess
            of their net realizable values. Inventory is presented net of an allowance.

         i) Contract Assets and Liabilities. Contract assets consist of (i) the earned, but
            unbilled, portion of a project for which payment is deferred by the customer
            until certain contractual milestones are met; (ii) direct costs, including
            commissions, labor related costs and permitting fees paid prior to recording
            revenue, and (iii) unbilled receivables that represent revenue that has been
            recognized in advance of billing the customer. Contract liabilities consist of
            deferred revenue and customer deposits and customer advances, and third-party
            advances or deposits which represent consideration received from a customer
            prior to transferring control of goods or services to the customer under the terms
            of a contract.

         j) Contingent Assets. The Debtors believe that they may possess certain claims
            and causes of action against various parties. Additionally, the Debtors may
            possess contingent claims in the form of various avoidance actions they could
            commence under the provisions of chapter 5 of the Bankruptcy Code and other
            relevant non-bankruptcy laws. The Debtors, despite reasonable efforts, may
            not have set forth all of their causes of action against third parties as assets in
            their Schedules and Statements. All estate rights are reserved with respect to
            any claims, causes of action, or avoidance actions that may exist and nothing
            contained in these Global Notes or the Schedules and Statements shall be
            deemed a waiver of any such claims, avoidance actions, or causes of action or
            in any way prejudice or impair the assertion of such claims. Additionally, prior
            to the relevant Petition Date, each Debtor, as plaintiff, may have commenced
            various lawsuits in the ordinary course of its business against third parties
            seeking monetary damages. Refer to each Statement, item 4(a)(i), for lawsuits
            commenced prior to the relevant Petition Date in which the Debtor was a
            plaintiff.

         k) Unliquidated Claim Amounts. Claim amounts that could not be readily
            quantified by the Debtors are scheduled as “unliquidated.”


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         l) Undetermined Amounts. The description of an amount as “undetermined” is
            not intended to reflect upon the materiality of such amount.

         m) Totals. All totals that are included in the Schedules and Statements represent
            totals of all the known amounts included in the Schedules and Statements. To
            the extent there are unknown or undetermined amounts, the actual total may be
            different from the listed total. The description of an amount as “unknown” or
            “undetermined” is not intended to reflect upon the materiality of such amount.
            To the extent a Debtor is a guarantor of debt held by another Debtor, the
            amounts reflected in these Schedules are inclusive of each Debtor’s guarantor
            obligations.

         n) Intercompany Claims. Intercompany receivables and payables between the
            Debtors as of January 31, 2025, are set forth on Schedule E/F or Schedule A/B-
            77 per the Debtors’ books and records, as applicable. DZS Inc. has funded the
            losses and acquisitions of the other Debtors and non-debtor subsidiaries and
            therefore has an intercompany receivable. The listing of any amounts with
            respect to such receivables and payables is not, and should not be construed as,
            an admission of the characterization of such balances as debt, equity, or
            otherwise or an admission as to the validity of such receivables and payables.
            These claims are subject to reconciliation and the amounts listed may be
            materially misstated and subject to material adjustment upon the conclusion of
            a reconciliation. Certain intercompany receivables and payables among and
            between the Debtors may have been consolidated and netted in the Debtors’
            books and records. Such treatment is not, and should not be construed as, an
            admission of the amount and/or validity of any such intercompany receivables
            and payables or the validity of any netting or offset per the Debtors’ books and
            records. The Debtors take no position in these Schedules and Statements as to
            whether any such amounts would be allowed as a claim or an interest, or not all
            allowed at all. The listing of amounts is not necessarily indicative of the
            ultimate recovery, if any, on any intercompany asset account or the impairment
            or claim status of any intercompany liability account. The Debtors reserve all
            rights to later change the amounts, characterization, classification,
            categorization or designation of intercompany accounts reported in the
            Schedules and Statements.

         o) Excluded Assets and Liabilities. The Debtors have excluded certain
            categories of assets, tax accruals, and liabilities from the Schedules and
            Statements, including without limitation, employee benefit accruals, accrued
            accounts payable, deferred revenue, capital lease assets and liabilities and
            certain contract asset and liability accounts as well as right of use assets and
            liabilities. In addition, certain immaterial assets and liabilities may have been
            excluded.

         p) Liens. The inventories, property, and equipment listed in the Statements and
            Schedules are presented without consideration of any asserted mechanics’,
            materialmen, or similar liens that may attach (or have attached) to such

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            inventories, property, and equipment. If such liens may apply, all rights are
            reserved to dispute or challenge the validity, perfection, or immunity from
            avoidance of any lien purported to be perfected by a creditor.

         q) Currency. Unless otherwise indicated, all amounts are reflected in U.S.
            dollars.

         r) Setoffs. The Debtors incur certain setoffs and other similar rights during the
            ordinary course of business. Offsets in the ordinary course can result from
            various items, including, without limitation, intercompany transactions, returns,
            warranties, commissions and advances as well as other disputes between the
            Debtors and their suppliers. Such offsets and other similar rights are consistent
            with the ordinary course of business in the Debtors’ industry and are not tracked
            separately. Therefore, although such offsets and other similar rights may have
            been accounted for when certain amounts were included in the Schedules,
            offsets are not independently accounted for, and as such, are excluded from the
            Schedules.

   4.    Specific Schedules Disclosures.

         a) Schedules A/B, Question 11. The accounts receivable for customers with net
            credit balances were removed from Schedule A/B, Question 11 and reclassified
            as general unsecured liabilities on Schedule E/F, Part 2.

         b) Schedule E/F Part 2. Vendors with net accounts payable credit balances were
            excluded from Schedule E/F Part 2 and were scheduled as assets on Schedule
            A/B, Question 75.

   5.    Specific Statements Disclosures.

         a) Statement 20. The Debtors utilize cloud storage in the ordinary course for
            accounting, human resources and certain other functions. Those items have not
            been disclosed in Statement 20 as offsite storage.

         b) Statement 26(d). As a publicly traded company, Debtor DZS Inc. regularly
            issues consolidated financial information through its various public filings
            required by the Securities Exchange Commission.




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 Fill in this information to identify the case:

 Debtor name: DZS Inc.

 United States Bankruptcy Court for the: Eastern District of Texas
                                                                                                               Check if this is an
 Case number: Not Yet Assigned
                                                                                                               amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals


 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)

  1a. Real property:                                                                                                $753,588.89
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                 $176,190,023.80
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                   $176,943,612.69
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                               $12,118,992.40
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

  3a. Total claim amounts of priority unsecured claims:                                                              $22,354.03
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                          $88,599,865.51
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                           $100,741,211.94
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: DZS Inc.

   United States Bankruptcy Court for the: Eastern District of Texas
                                                                                                                                                         Check if this is an
   Case number: Not Yet Assigned
                                                                                                                                                         amended filing



 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).

  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.

  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.


 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.


  All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                        $0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                               Type of account               Last 4 digits of account #


 3.1
           JPMorgan Bank, N.A.                                              Collection Account            5250                                                          $0.00


 3.2
           JPMorgan Bank, N.A.                                              Money Market Account          1837                                                 $1,381,634.29


 3.3
           JPMorgan Bank, N.A.                                              Operating Account             5086                                                   $446,594.38


 3.4
           JPMorgan Bank, N.A.                                              Payroll Account               2132                                                          $0.00


 3.5
           PNC Bank, N.A.                                                   Collection Account            1176                                                          $0.00


 3.6
           PNC Bank, N.A.                                                   LC - Money Market             5763                                                          $0.00
                                                                            Deposit (Restricted)


 3.7
           PNC Bank, N.A.                                                   Money Market Account          6052                                                          $0.00
Debtor      DZS Inc.________________________________________________________________               Case number (if known) Not Yet Assigned________________________________
           Name
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  3.8
            PNC Bank, N.A.                                                  Operating Account             1168                                                   $74,121.02


  3.9
            PNC Bank, N.A.                                                  Payroll Account               4246                                                         $0.00


  3.10
            Royal Bank of Canada                                            Checking Account /            7043                                                      $200.45
                                                                            Lockbox


  3.11
            Wells Fargo Bank, N.A.                                          Lockbox                       7231                                                         $0.00

  4. Other cash equivalents (Identify all)

  4.1
                                                                                                                                                                       $0.00

  5. Total of Part 1

  Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                             $1,902,550.14


  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.

        Yes. Fill in the information below.


                                                                                                                                        Current value of debtor’s interest

  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            Event Deposit - Fiber Connect                                                                                                                        $60,050.00


  7.2
            Lease Deposit - Starkey LLC                                                                                                                          $23,016.43


  7.3
            Retainer - Grable Martin Fulton PLLC                                                                                                                 $50,000.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            Long-Term Deposit - Duke Energy                                                                                                                      $37,735.00


  8.2
            Long-Term Deposit - Future Wei Technology (Plano)                                                                                                    $21,324.86


  8.3
            Long-Term Deposit - Globalization                                                                                                                    $31,135.70


  8.4
            Long-Term Deposit - Huawei (Plano)                                                                                                                   $18,173.75


  8.5
            Long-Term Deposit - IPXI Legacy Place (Plano) - 2nd Floor                                                                                            $45,678.23


  8.6
            Long-Term Deposit - IPXI Legacy Place (Plano) - 4th Floor                                                                                           $115,481.10
Debtor      DZS Inc.________________________________________________________________                    Case number (if known) Not Yet Assigned________________________________
           Name
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  8.7
            Long-Term Deposit - Redwood - 203 Redwood Shores Parkway Ste 100 Redwood City, CA                                                                          $48,227.70


  8.8
            Long-Term Deposit - Starkey LLC                                                                                                                            $46,032.86


  8.9
            Prepaid Insurance                                                                                                                                         $564,565.51


  8.10
            Prepaid Inventory                                                                                                                                       $1,557,313.10


  8.11
            Prepaid Software/Licenses                                                                                                                               $1,896,076.40


  8.12
            Short-Term Prepayment - Other                                                                                                                              $32,714.90

  9. Total of Part 2

  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                   $4,547,525.54


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.


                                                                                                                                              Current value of debtor’s interest

  11. Accounts receivable

  11a.      90 days old or                             $9,554,110.72       —                                   $50,715.07    = ........                            $9,503,395.65
            less:
                                     face amount                               doubtful or uncollectible accounts


  11b.      Over 90 days old:                           $5,560,041.2       —                                  $556,004.12    = ........                            $5,004,037.08

                                     face amount                               doubtful or uncollectible accounts

  Schedule A/B 11 excludes accounts receivable for customers with net credit balances. These net credit balances have been reclassified as general unsecured liabilities on
  Schedule E/F Part 2.

  12. Total of Part 3

  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                  $14,507,432.73


  Part 4:     Investments

  13. Does the debtor own any investments?

        No. Go to Part 5.

        Yes. Fill in the information below.


                                                                                                Valuation method used for current             Current value of debtor’s interest
                                                                                                value

  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
                                                                                                                                                                             $0.00
Debtor      DZS Inc.________________________________________________________________           Case number (if known) Not Yet Assigned________________________________
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  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
            ASSIA S.R.L.                                    99.7%                       None                                       Undetermined


  15.2
            DZS California Inc.                             100%                        None                                       Undetermined


  15.3
            DZS Canada Inc.                                 100%                        None                                       Undetermined


  15.4
            DZS do Brasil LTDA                              99.99%                      None                                       Undetermined


  15.5
            DZS Italy S.R.L.                                100%                        None                                       Undetermined


  15.6
            DZS Services Inc.                               100%                        None                                       Undetermined


  15.7
            DZS Solutions India Private Limited             1%                          None                                       Undetermined


  15.8
            DZS Solutions Limited                           0.001282%                   None                                       Undetermined


  15.9
            DZS Solutions Spain S.L.U.                      100%                        None                                       Undetermined


  15.10
            NetComm Wireless Pty Ltd                        100%                        None                                       Undetermined


  15.11
            Paradyne Corporation                            100%                        None                                       Undetermined


  15.12
            Zhone Technologies SA                           100%                        None                                       Undetermined

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
                                                                                                                                                                   $0.00

  17. Total of Part 4

  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                  $0.00


  Part 5:     Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.
Debtor        DZS Inc.________________________________________________________________                Case number (if known) Not Yet Assigned________________________________
           Name
                          Case 25-40712               Doc 2         Filed 03/14/25 Entered 03/14/25 16:27:11                                      Desc Main
                                                                    Document      Page 17 of 279
   General description                                          Date of         Net book value of             Valuation method used           Current value of debtor’s interest
                                                                the last        debtor's interest             for current value
                                                                physical        (Where available)
                                                                inventory

  19. Raw materials

  19.1
               Raw Materials, net of obsolescence reserve      January                   $17,338,252.61      Lower of cost or net                                  $17,338,252.61
                                                               2025                                          realizable value

  20. Work in progress

  20.1
                                                                                                                                                                             $0.00

  21. Finished goods, including goods held for resale

  21.1
               Finished Goods, net of obsolescence reserve     January                   $15,537,255.25      Lower of cost or net                                  $15,537,255.25
                                                               2025                                          realizable value

  22. Other inventory or supplies

  22.1
                                                                                                                                                                             $0.00

  23. Total of Part 5

  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                                  $32,875,507.86


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                       Book value                                     Valuation method     Cost                                   Current value                      $486,341.72
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes

  Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.


   General description                                                          Net book value of             Valuation method used           Current value of debtor’s interest
                                                                                debtor's interest             for current value
                                                                                (Where available)

  28. Crops—either planted or harvested

  28.1
                                                                                                                                                                             $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish

  29.1
                                                                                                                                                                             $0.00
Debtor        DZS Inc.________________________________________________________________              Case number (if known) Not Yet Assigned________________________________
           Name
                           Case 25-40712             Doc 2         Filed 03/14/25 Entered 03/14/25 16:27:11                                 Desc Main
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  30. Farm machinery and equipment (Other than titled motor vehicles)

  30.1
                                                                                                                                                                        $0.00

  31. Farm and fishing supplies, chemicals, and feed

  31.1
                                                                                                                                                                        $0.00

  32. Other farming and fishing-related property not already listed in Part 6

  32.1
                                                                                                                                                                        $0.00

  33. Total of Part 6

  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                       $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                          No

                          Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                      Book value                                   Valuation method                                         Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes

  Part 7:       Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.


   General description                                                          Net book value of           Valuation method used        Current value of debtor’s interest
                                                                                debtor's interest           for current value
                                                                                (Where available)

  39. Office furniture

  39.1
               Furniture and Fixtures, net                                               $223,761.24       Net Book Value                                        $223,761.24

  40. Office fixtures

  40.1
               See Schedule A/B 39                                                                                                                                      $0.00

  41. Office equipment, including all computer equipment and communication systems equipment and software

  41.1
               Computers, net                                                             $88,064.82       Net Book Value                                         $88,064.82
Debtor      DZS Inc.________________________________________________________________                          Case number (if known) Not Yet Assigned________________________________
          Name
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  41.2
            Software, net                                                                        $157,075.33          Net Book Value                                                $157,075.33

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
                                                                                                                                                                                            $0.00

  43. Total of Part 7

  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                   $468,901.39


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


     No

     Yes

  Part 8:     Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.


   General description                                                                Net book value of                Valuation method used             Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,                  debtor's interest                for current value
   HIN, or N-number)                                                                  (Where available)

  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

  47.1
                                                                                                                                                                                            $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels

  48.1
                                                                                                                                                                                            $0.00

  49. Aircraft and accessories

  49.1
                                                                                                                                                                                            $0.00

  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

  50.1
  Demo Assets, net                                                                                $28,222.50          Net Book Value                                                  $28,222.50


  50.2
  Lab Equipment, net                                                                             $217,116.10          Net Book Value                                                $217,116.10


  50.3
  Manufacturing Equipment, net                                                                   $228,794.53          Net Book Value                                                $228,794.53


  50.4
  Molds and Tooling, net                                                                          $92,390.01          Net Book Value                                                  $92,390.01

  51. Total of Part 8.

  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                                   $566,523.14
Debtor      DZS Inc.________________________________________________________________              Case number (if known) Not Yet Assigned________________________________
          Name
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  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:     Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

   Description and location of property                        Nature and extent of        Net book value of            Valuation method used        Current value of
   Include street address or other description such as         debtor’s interest in        debtor's interest            for current value            debtor’s interest
   Assessor Parcel Number (APN), and type of property          property                    (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.


  55.1
            Construction in Progress                                                                     $90,569.77    Net Book Value                           $90,569.77


  55.2
            Leasehold Improvements, net                                                                 $663,019.12    Net Book Value                          $663,019.12


  55.3
            Office & Warehouse -- 12821 Starkey Rd., Suite    Leased                                                   None                          Undetermined
            4000-4300, Largo, FL 3371


  55.4
            Office and Lab -- 203 Redwood Shores              Leased                                                   None                          Undetermined
            Parkway, Suite 100, Redwood City, CA 94065


  55.5
            HQ Office Expansion -- 5700 Tennyson              Leased                                                   None                          Undetermined
            Parkway, Suite 200 Plano, TX 75024


  55.6
            Additional Office -- 5700 Tennyson Parkway,       Sub-Leased                                               None                          Undetermined
            Suite 400 Plano, TX 75024


  55.7
            Lab -- 5700 Tennyson Parkway, Suite 425           Sub-Leased                                               None                          Undetermined
            Plano, TX 75024


  55.8
            HQ Office -- 5700 Tennyson Parkway, Suite 450     Leased                                                   None                          Undetermined
            Plano, TX 75024


  55.9
            Storage Unit -- Buske, 7918 Harney Rd, Tampa,     Leased                                                   None                          Undetermined
            FL 33637


  55.10
            Storage Unit -- AMT, Deerfield Beach, 3150 SW     Leased                                                   None                          Undetermined
            15th St, Deerfield Beach, FL 33442
Debtor     DZS Inc.________________________________________________________________                  Case number (if known) Not Yet Assigned________________________________
          Name
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  55.11
             Storage Unit -- Omega Morgan Hill, CA, 19         Leased                                                     None                          Undetermined
             Great Oaks Blvd, San Jose, CA 95119


  55.12
             Storage Unit -- Seko Logistics USA, 8551 Esters   Leased                                                     None                          Undetermined
             Blvd. STE 100 / 110, Irving, TX 75063


  55.13
             Storage Unit -- DZS International, Inc. Rep       Leased                                                     None                          Undetermined
             Office, Business Central Towers, Office No.
             BT2701B, Dubai, UAE


  55.14
             Storage Unit -- DZS International, Inc. Rep       Leased                                                     None                          Undetermined
             Office, Business Central Towers, Office No.
             BT2701B, Dubai, UAE

  56. Total of Part 9.

  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                 $753,588.89


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.


   General description                                                         Net book value of             Valuation method used        Current value of debtor’s interest
                                                                               debtor's interest             for current value
                                                                               (Where available)

  60. Patents, copyrights, trademarks, and trade secrets

  60.1
             See Schedule AB 60 Attachment                                                                                               Undetermined

  61. Internet domain names and websites

  61.1
             See Schedule AB 61 Attachment                                                                                               Undetermined

  62. Licenses, franchises, and royalties

  62.1
                                                                                                                                                                         $0.00

  63. Customer lists, mailing lists, or other compilations

  63.1
                                                                                                                                                                         $0.00

  64. Other intangibles, or intellectual property

  64.1
                                                                                                                                                                         $0.00
Debtor     DZS Inc.________________________________________________________________                      Case number (if known) Not Yet Assigned________________________________
          Name
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  65. Goodwill

  65.1
                                                                                                                                                                             $0.00

  66. Total of Part 10.

  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                            $0.00


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.


                                                                                                                                              Current value of debtor’s interest

  71. Notes receivable
  Description (include name of obligor)

  71.1
                                                                                                                              =                                             $0.00
                                                                                            -
                                                  total face amount                             doubtful or uncollectible
                                                                                                amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)

  72.1
             NOL Carryforwards ($54,413,448)                                                             Tax year   2016 - 2023              Undetermined


  72.2
             IRS Employment Retention Receivable                                                         Tax year   2020 - 2021                                     $1,593,706.00

  73. Interests in insurance policies or annuities

  73.1
                                                                                                                                                                             $0.00

  74. Causes of action against third parties (whether or not a lawsuit has been filed)

  74.1
             Perficient, Inc. -- 555 Maryville University Drive, Suite 600, Saint Louis, MO 63141                                            Undetermined

  Nature of Claim                       Countersuit for Damages

  Amount requested                                                                       $7,910,665.00
Debtor   DZS Inc.________________________________________________________________                  Case number (if known) Not Yet Assigned________________________________
         Name
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  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims

  75.1
           Riverside KM Beteiligung GmBH                                                                                               Undetermined

  Nature of Claim                     Tax Indemnity in Connection with Business Sale

  Amount requested                                                                  $3,686,943.53


  75.2
           Blue Shield TX                                                                                                                                          $2,831.46

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A


  75.3
           Connect Technology Group, LLC                                                                                                                           $1,096.30

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A


  75.4
           Cyro Pacific Gmbh                                                                                                                                       $7,038.00

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A


  75.5
           Global Fabtech (Shanghai) Co. Ltd.                                                                                                                    $26,071.00

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A


  75.6
           Globtek Inc                                                                                                                                             $2,904.00

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A


  75.7
           Infinite Electronics International Inc. ( L-Com Brand)                                                                                                     $25.59

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A


  75.8
           KP Law & Company                                                                                                                                         $873.84

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A


  75.9
           Simultrans, LLC                                                                                                                                         $1,897.00

  Nature of Claim                     Vendor Credit

  Amount requested                    N/A

  76. Trusts, equitable or future interests in property

  76.1
                                                                                                                                                                       $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership

  77.1
          Intercompany Long-Term Loan Receivable - DZS GMBH                                                                                                  $13,619,188.00
Debtor    DZS Inc.________________________________________________________________    Case number (if known) Not Yet Assigned________________________________
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  77.2
           Intercompany Payable Credit - Belgium                                                                                                    $13,666.00


  77.3
           Intercompany Payable Credit - Optelian Access Networks Corp.                                                                          $5,687,511.00


  77.4
           Intercompany Receivable - Dasan Vietnam Company Limited                                                                                    $3,483.00


  77.5
           Intercompany Receivable - DZS California Inc.                                                                                         $1,030,288.00


  77.6
           Intercompany Receivable - DZS do Brasil Ltda.                                                                                            $50,431.00


  77.7
           Intercompany Receivable - DZS GMBH                                                                                                    $2,599,106.00


  77.8
           Intercompany Receivable - DZS Solutions Spain S.L.U                                                                                      $41,192.00


  77.9
           Intercompany Receivable - Optelian Access Networks Corp.                                                                              $5,754,516.00


  77.10
           Intercompany Receivable - Optelian Access Networks, Inc.                                                                              $1,058,224.00


  77.11
           Intercompany Receivable - UAE-Dubai                                                                                                  $59,656,777.00


  77.12
           Intercompany Receivable - Zhone International Ltd.                                                                                       $38,374.00


  77.13
           Intercompany Receivable - Zhone Technologies B.V.                                                                                       $274,582.00


  77.14
           Intercompany Receivable - Zhone Technologies de Colombia Limitada                                                                       $355,178.00


  77.15
           Intercompany Receivable - Zhone Technologies S. de R.L. de C.V.                                                                         $174,735.00


  77.16
           Intercompany Receivable - Zhone Technologies SA (South Africa)                                                                          $277,877.00


  77.17
           Intercompany Short-Term Loan Receivable - DZS GMBH                                                                                   $23,415,538.00


  77.18
           Intercompany Short-Term Loan Receivable - Optelian Access Networks Corp.                                                              $1,164,363.00


  77.19
           Short-Term Receivable - Axon Networks ASSIA Hold Back                                                                                 $4,000,000.00


  77.20
           Short-Term Receivable - Axon TSA Invoice Accrual                                                                                        $157,000.75


  77.21
           Short-Term Receivable - Carry-Over Sales Tax                                                                                             $30,544.06
Debtor      DZS Inc.________________________________________________________________                 Case number (if known) Not Yet Assigned________________________________
           Name
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  77.22
             Short-Term Receivable - Tariff Refund                                                                                                                $282,566.00

  78. Total of Part 11.

  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                            $121,321,583.00


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

      No

      Yes

  Part 12:        Summary


    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                             Current value of             Current value of real
                                                                                personal property            property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.               $1,902,550.14


  81. Deposits and prepayments. Copy line 9, Part 2.                                   $4,547,525.54


  82. Accounts receivable. Copy line 12, Part 3.                                      $14,507,432.73


  83. Investments. Copy line 17, Part 4.                                                       $0.00


  84. Inventory. Copy line 23, Part 5.                                                $32,875,507.86


  85. Farming and fishing-related assets. Copy line 33, Part 6.                                $0.00


  86. Office furniture, fixtures, and equipment; and collectibles. Copy                  $468,901.39
  line 43, Part 7.


  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                          $566,523.14


  88. Real property. Copy line 56, Part 9.                                                                              $753,588.89
                                                                                                       

  89. Intangibles and intellectual property.. Copy line 66, Part 10.                           $0.00


  90. All other assets. Copy line 78, Part 11.                                      $121,321,583.00


  91. Total. Add lines 80 through 90 for each column                     91a.                                             91b.
                                                                                   $176,190,023.80                                                    $753,588.89



  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                            $176,943,612.69
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 General Description                                                             Net Book Value Valuation Method Current Value
 ABANDONED PATENT - PATENT NO. 202013100447.2: NETWORK CARD FOR ELECTRO-                              None        Undetermined
 OPTICAL DATA LINKS
 ABANDONED PATENT - PATENT NO. 7747000: SUBSCRIBER LINE DRIVER WITH EQUALIZER                         None        Undetermined
 EXPIRED PATENT - PATENT NO. 6580785: APPARATUS AND METHOD FOR SIMULTANEOUS                           None        Undetermined
 MULTIPLE TELEPHONE TYPE SERVICES ON A SINGLE TELEPHONE LINE
 EXPIRED PATENT - PATENT NO. 6782096: SUBSCRIBER LINE DRIVER AND TERMINATION                          None        Undetermined
 EXPIRED PATENT - PATENT NO. 6798742: SYSTEM AND METHOD FOR THE MEASUREMENT                           None        Undetermined
 OF SERVICE QUALITY IN A COMMUNICATION NETWORK
 EXPIRED PATENT - PATENT NO. 6975694: DIGITAL SUBSCRIBER LINE DRIVER                                  None        Undetermined
 EXPIRED PATENT - PATENT NO. 7020266: SIMULTANEOUS TRANSMISSION OF AN ANALOG                          None        Undetermined
 POTS SIGNAL AND A DIGITAL SIGNAL ON A SUBSCRIBER LINE
 EXPIRED PATENT - PATENT NO. 7088781: TONE ORDERED DISCRETE MULTITONE                                 None        Undetermined
 INTERLEAVER
 EXPIRED PATENT - PATENT NO. 7149268: DIGITAL SUBSCRIBER LINE DRIVER                                  None        Undetermined
 EXPIRED PATENT - PATENT NO. 7289604: SYSTEM AND METHOD FOR SUBSCRIBER LOOP                           None        Undetermined
 TESTING
 EXPIRED PATENT - PATENT NO. 7418048: TONE ORDERED DISCRETE MULTITONE                                 None        Undetermined
 INTERLEAVER
 EXPIRED PATENT - PATENT NO. 7961850: APPARATUS AND METHOD FOR SIMULTANEOUS                           None        Undetermined
 MULTIPLE TELEPHONE TYPE SERVICES ON A SINGLE TELEPHONE LINE
 GRANTED PATENT - PATENT NO. 10454584: OPTICAL LINE TERMINAL AND METHOD FOR                           None        Undetermined
 MANAGING PASSIVE OPTICAL NETWORK IMPLEMENTED THEREON
 GRANTED PATENT - PATENT NO. 10516921: OPTICAL LINE TERMINAL FOR PROVIDING                            None        Undetermined
 MANAGEMENT FUNCTION EMULATING VIRTUAL CHASSIS SWITCH FOR FIBER LOCAL AREA
 NETWORK
 GRANTED PATENT - PATENT NO. 10616039: SYSTEM AND METHOD FOR REMOTE                                   None        Undetermined
 MAINTENANCE
 GRANTED PATENT - PATENT NO. 11476965: OPTICAL LINE TERMINAL                                          None        Undetermined
 GRANTED PATENT - PATENT NO. 11646791: PASSIVE OPTICAL NETWORK SYSTEMS                                None        Undetermined
 GRANTED PATENT - PATENT NO. 7099401: DISCRETE MULTITONE INTERLEAVER                                  None        Undetermined
 GRANTED PATENT - PATENT NO. 7162107: METHOD AND APPARATUS FOR IMPROVING                              None        Undetermined
 FREQUENCY RESPONSE IN MODE CONVERTERS
 GRANTED PATENT - PATENT NO. 7242821: ENHANCED PERFORMANCE MODE CONVERTER                             None        Undetermined
 GRANTED PATENT - PATENT NO. 7289688: PASSIVE METHOD AND APPARATUS FOR                                None        Undetermined
 INDUCING MODE CONVERSION
 GRANTED PATENT - PATENT NO. 7330611: METHOD AND APPARATUS FOR ENHANCING THE                          None        Undetermined
 EXTINCTION RATIO IN MODE CONVERTERS
 GRANTED PATENT - PATENT NO. 7522679: SYSTEM AND METHOD FOR ADAPTING TO A                             None        Undetermined
 CHANGE IN CONSTELLATION DENSITY WHILE RECEIVING A SIGNAL
 GRANTED PATENT - PATENT NO. 7558203: SYSTEM AND METHOD FOR STATISTICAL                               None        Undetermined
 CONTROL OF POWER DISSIPATION WITH HOST ENFORCEMENT
 GRANTED PATENT - PATENT NO. 7835459: SYSTEM AND METHOD FOR ADAPTING TO A                             None        Undetermined
 CHANGE IN CONSTELLATION DENSITY WHILE RECEIVING A SIGNAL
 GRANTED PATENT - PATENT NO. 7936689: SYSTEM AND METHOD FOR THE MEASUREMENT                           None        Undetermined
 OF SERVICE QUALITY IN A COMMUNICATION NETWORK
 GRANTED PATENT - PATENT NO. 7969900: DETERMINATION OF NETWORK PERFORMANCE                            None        Undetermined
 CHARACTERISTICS
 GRANTED PATENT - PATENT NO. 8279969: SYSTEM AND METHOD FOR ADAPTING A CHANGE                         None        Undetermined
 IN CONSTELLATION DENSITY WHILE RECEIVING A SIGNAL
 GRANTED PATENT - PATENT NO. 8867335: SYSTEM AND METHOD FOR FAULT ISOLATION IN A                      None        Undetermined
 PACKET SWITCHING NETWORK
 GRANTED PATENT - PATENT NO. 9807157: HYBRID VIRTUAL LOAD BALANCER                                    None        Undetermined
 PENDING PATENT - APPLICATION NO. 17/385871: OPTICAL TRANSCEIVER                                      None        Undetermined
 PENDING PATENT - APPLICATION NO. 17/715892: SYSTEM AND METHOD FOR REMOTE                             None        Undetermined
 MAINTENANCE
 PENDING PATENT - APPLICATION NO. 18/317552: FRONTHAUL AUTOMATION AND                                 None        Undetermined
 INTELLIGENT TRAFFIC DISTRIBUTION FOR FRONTHAUL MULTIPLEXER
 PENDING PATENT - APPLICATION NO. 18/657453: THERMAL MANAGEMENT AND CONTROL                           None        Undetermined
 SYSTEM
 PENDING PATENT - APPLICATION NO. 18/913521: SYSTEMS AND METHODS PROVIDING                            None        Undetermined
 PRELIMINARY ESTIMATION OF FIBER LENGTH
 PENDING PATENT - APPLICATION NO. 63/491599                                                           None        Undetermined
 PENDING PATENT - APPLICATION NO. 63/494264                                                           None        Undetermined
 TRADEMARK - DZS (INT'L REGISTRATION - MADRID PROTOCOL ONLY) - APPLICATION                            None        Undetermined
 #A0100969
 TRADEMARK - DZS (ISRAEL) - APPLICATION #333911                                                       None        Undetermined
 TRADEMARK - DZS (JAPAN) - APPLICATION #A0100969                                                      None        Undetermined
 TRADEMARK - DZS (MEXICO) - APPLICATION #2380907                                                      None        Undetermined
 TRADEMARK - DZS (STYLIZED AND/OR WITH DESIGN) (UNITED STATES OF AMERICA) -                           None        Undetermined
 APPLICATION #87440114
 TRADEMARK - DZS (TAIWAN) - APPLICATION #110013170                                                    None        Undetermined
 TRADEMARK - DZS (THAILAND) - APPLICATION #200146230                                                  None        Undetermined
 TRADEMARK - DZS (UNITED STATES OF AMERICA) - APPLICATION #88236798                                   None        Undetermined
 TRADEMARK - DZS (UNITED STATES OF AMERICA) - APPLICATION #90142063                                   None        Undetermined
 TRADEMARK - DZS CHRONOS (AUSTRALIA) - APPLICATION #2219899                                           None        Undetermined




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 General Description                                                               Net Book Value Valuation Method Current Value
 TRADEMARK - DZS CHRONOS (EUROPEAN UNION (COMMUNITY)) - APPLICATION #A0112572                           None        Undetermined

 TRADEMARK - DZS CHRONOS (INDIA) - APPLICATION #5181073                                                None         Undetermined
 TRADEMARK - DZS CHRONOS (INT'L REGISTRATION - MADRID PROTOCOL ONLY) -                                 None         Undetermined
 APPLICATION #A0112572
 TRADEMARK - DZS CHRONOS (JAPAN) - APPLICATION #A0112572                                               None         Undetermined
 TRADEMARK - DZS CHRONOS (KOREA, REPUBLIC OF) - APPLICATION #A0112572                                  None         Undetermined
 TRADEMARK - DZS CHRONOS (NEW ZEALAND) - APPLICATION #1192072                                          None         Undetermined
 TRADEMARK - DZS CHRONOS (THAILAND) - APPLICATION #210140044                                           None         Undetermined
 TRADEMARK - DZS CHRONOS (UNITED KINGDOM) - APPLICATION #A0112572                                      None         Undetermined
 TRADEMARK - DZS CHRONOS (VIETNAM) - APPLICATION #A0112572                                             None         Undetermined
 TRADEMARK - DZS HELIX (AUSTRALIA) - APPLICATION #2221902                                              None         Undetermined
 TRADEMARK - DZS HELIX (EUROPEAN UNION (COMMUNITY)) - APPLICATION #A0112574                            None         Undetermined
 TRADEMARK - DZS HELIX (INDIA) - APPLICATION #5188436                                                  None         Undetermined
 TRADEMARK - DZS HELIX (INT'L REGISTRATION - MADRID PROTOCOL ONLY) - APPLICATION                       None         Undetermined
 #A0112574
 TRADEMARK - DZS HELIX (JAPAN) - APPLICATION #A0112574                                                 None         Undetermined
 TRADEMARK - DZS HELIX (NEW ZEALAND) - APPLICATION #1192911                                            None         Undetermined
 TRADEMARK - DZS HELIX (THAILAND) - APPLICATION #210141379                                             None         Undetermined
 TRADEMARK - DZS HELIX (UNITED KINGDOM) - APPLICATION #A0112574                                        None         Undetermined
 TRADEMARK - DZS HELIX (UNITED STATES OF AMERICA) - APPLICATION #90532136                              None         Undetermined
 TRADEMARK - DZS HELIX (VIETNAM) - APPLICATION #A0112574                                               None         Undetermined
 TRADEMARK - DZS VELOCITY (EUROPEAN UNION (COMMUNITY)) - APPLICATION #A0112573                         None         Undetermined

 TRADEMARK - DZS VELOCITY (INDIA) - APPLICATION #A0112573                                              None         Undetermined
 TRADEMARK - DZS VELOCITY (INT'L REGISTRATION - MADRID PROTOCOL ONLY) -                                None         Undetermined
 APPLICATION #A0112573
 TRADEMARK - DZS VELOCITY (JAPAN) - APPLICATION #A0112573                                              None         Undetermined
 TRADEMARK - DZS VELOCITY (THAILAND) - APPLICATION #210139985                                          None         Undetermined
 TRADEMARK - DZS VELOCITY (UNITED KINGDOM) - APPLICATION #A0112573                                     None         Undetermined
 TRADEMARK - DZS VELOCITY (UNITED STATES OF AMERICA) - APPLICATION #90532118                           None         Undetermined
 TRADEMARK - DZS VELOCITY (VIETNAM) - APPLICATION #A0112573                                            None         Undetermined
 TRADEMARK - SDNOS (AUSTRALIA) - APPLICATION #2219892                                                  None         Undetermined
 TRADEMARK - SDNOS (EUROPEAN UNION (COMMUNITY)) - APPLICATION #A0112575                                None         Undetermined
 TRADEMARK - SDNOS (INDIA) - APPLICATION #5181069                                                      None         Undetermined
 TRADEMARK - SDNOS (INT'L REGISTRATION - MADRID PROTOCOL ONLY) - APPLICATION                           None         Undetermined
 #A0112575
 TRADEMARK - SDNOS (JAPAN) - APPLICATION #A0112575                                                     None         Undetermined
 TRADEMARK - SDNOS (KOREA, REPUBLIC OF) - APPLICATION #A0112575                                        None         Undetermined
 TRADEMARK - SDNOS (NEW ZEALAND) - APPLICATION #1192176                                                None         Undetermined
 TRADEMARK - SDNOS (THAILAND) - APPLICATION #210139986                                                 None         Undetermined
 TRADEMARK - SDNOS (UNITED KINGDOM) - APPLICATION #A0112575                                            None         Undetermined
 TRADEMARK - SDNOS (UNITED STATES OF AMERICA) - APPLICATION #90532144                                  None         Undetermined
 TRADEMARK - SDNOS (VIETNAM) - APPLICATION #A0112575                                                   None         Undetermined
 TRADEMARK - XCELERATE BY DZS (AUSTRALIA) - APPLICATION #2295878                                       None         Undetermined
 TRADEMARK - XCELERATE BY DZS (INDIA) - APPLICATION #5593244                                           None         Undetermined
 TRADEMARK - XCELERATE BY DZS (INT'L REGISTRATION - MADRID PROTOCOL ONLY) -                            None         Undetermined
 APPLICATION #A0120766
 TRADEMARK - XCELERATE BY DZS (JAPAN) - APPLICATION #A0120766                                          None         Undetermined
 TRADEMARK - XCELERATE BY DZS (KOREA, REPUBLIC OF) - APPLICATION #A0120766                             None         Undetermined
 TRADEMARK - XCELERATE BY DZS (NEW ZEALAND) - APPLICATION #1217860                                     None         Undetermined
 TRADEMARK - XCELERATE BY DZS (SAUDI ARABIA) - APPLICATION #342583                                     None         Undetermined
 TRADEMARK - XCELERATE BY DZS (THAILAND) - APPLICATION #A0120766                                       None         Undetermined
 TRADEMARK - XCELERATE BY DZS (UNITED KINGDOM) - APPLICATION #A0120766                                 None         Undetermined
 TRADEMARK - XCELERATE BY DZS (UNITED STATES OF AMERICA) - APPLICATION #98333564                       None         Undetermined

 TRADEMARK - XCELERATE BY DZS (VIETNAM) - APPLICATION #A0120766                                        None         Undetermined
 TRADEMARK - XHAUL (EUROPEAN UNION (COMMUNITY)) - APPLICATION #A0112576                                None         Undetermined
 TRADEMARK - XHAUL (INDIA) - APPLICATION #5187016                                                      None         Undetermined
 TRADEMARK - XHAUL (INT'L REGISTRATION - MADRID PROTOCOL ONLY) - APPLICATION                           None         Undetermined
 #A0112576
 TRADEMARK - XHAUL (VIETNAM) - APPLICATION #A0112576                                                   None         Undetermined

 TOTAL                                                                                                             Undetermined




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                                         Internet Domain Names and Websites

General Description                                            Net Book Value   Valuation Method   Current Value
GoDaddy Registered Domain: dasanzhone.com                                             None           Undetermined
GoDaddy Registered Domain: dasan-zhone.com                                            None           Undetermined
GoDaddy Registered Domain: dasanzhone.solutions                                       None           Undetermined
GoDaddy Registered Domain: dasanzhonesolutions.com                                    None           Undetermined
GoDaddy Registered Domain: dasan-zhone-solutions.com                                  None           Undetermined
GoDaddy Registered Domain: dzscloud.com                                               None           Undetermined
GoDaddy Registered Domain: dzsi.com                                                   None           Undetermined
GoDaddy Registered Domain: dzsi.net                                                   None           Undetermined
GoDaddy Registered Domain: paradyne.com                                               None           Undetermined
GoDaddy Registered Domain: riftio.com                                                 None           Undetermined
GoDaddy Registered Domain: riftio.com                                                 None           Undetermined
GoDaddy Registered Domain: rift-io.com                                                None           Undetermined
GoDaddy Registered Domain: riftio.info                                                None           Undetermined
GoDaddy Registered Domain: riftio.org                                                 None           Undetermined
GoDaddy Registered Domain: riftionet                                                  None           Undetermined
GoDaddy Registered Domain: workput.net                                                None           Undetermined
GoDaddy Registered Domain: zhone.com                                                  None           Undetermined
GoDaddy Registered Domain: zhone.net                                                  None           Undetermined
GoDaddy Registered Domain: zhone.org                                                  None           Undetermined
Facebook: @dzsinnovation                                                              None           Undetermined
LinkedIn: company/dzsi                                                                None           Undetermined
LinkedIn: company/netwcomm-wireless                                                   None           Undetermined
Twitter (X): @dzs_innovation                                                          None           Undetermined
YouTube: @DZS_Innovation                                                              None           Undetermined

TOTAL                                                                                               Undetermined




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  Fill in this information to identify the case:

  Debtor name: DZS Inc.

  United States Bankruptcy Court for the: Eastern District of Texas
                                                                                                                                                        Check if this is an
  Case number: Not Yet Assigned
                                                                                                                                                        amended filing



Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.


Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor
                                                                                                             Column A                          Column B
separately for each claim.
                                                                                                             Amount of Claim                   Value of collateral that
                                                                                                             Do not deduct the value of        supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to                      $12,118,992.4      Undetermined
            EdgeCo, LLC -- Attn: Robert Binkele,        the lien:
            3326 Aspen Grove Dr., Suite 400,            Any and all assets of the Company and
            Franklin, TN 37067                          Company’s North American, European,
            rbinkele@myept.com                          Australian, and
                                                        New Zealand subsidiaries wherever located,
           Date debt was incurred?                      whether now owned or hereafter acquired
           5/31/2024
                                                        Describe the lien
           Last 4 digits of account number              Loan Agreement, Security Agreement and
                                                        Secured Promissory Note

           Do multiple creditors have an interest       Is the creditor an insider or related party?
           in the same property?
                                                           No
               No
                                                           Yes
               Yes. Specify each creditor, including
                                                        Is anyone else liable on this claim?
          this creditor, and its relative priority.
                                                           No

                                                           Yes. Fill out Schedule H: Codebtors(Official

                                                        Form 206H)
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.

                                                             Contingent

                                                             Unliquidated

                                                             Disputed
Debtor   DZS Inc.________________________________________________________________                        Case number (if known) Not Yet Assigned________________________________
         Name
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  2.2
                                                         Describe debtor's property that is subject to          Undetermined                                          $971,932.50
            JPMorgan Chase Bank, NA -- Attn              the lien:
            Trade & Working Capital Operations,          Cash Collateral fbo Etisalat
            10410 Highland Manor Drive, Mail
            Code : FL3-2424, Tampa, FL 33610             Describe the lien
                                                         Standby Letter of Credit

                                                         Is the creditor an insider or related party?
           Date debt was incurred?                          No

                                                            Yes
           Last 4 digits of account number
                                                         Is anyone else liable on this claim?
                                                            No
           Do multiple creditors have an interest
           in the same property?                            Yes. Fill out Schedule H: Codebtors(Official
                No
                                                         Form 206H)
                Yes. Specify each creditor, including    As of the petition filing date, the claim is:
                                                         Check all that apply.
          this creditor, and its relative priority.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  2.3
                                                         Describe debtor's property that is subject to          Undetermined                                          $105,458.68
            JPMorgan Chase Bank, NA -- Attn              the lien:
            Trade & Working Capital Operations,          Cash Collateral fbo Etisalat
            10410 Highland Manor Drive, Mail
            Code : FL3-2424, Tampa, FL 33610             Describe the lien
                                                         Standby Letter of Credit

           Date debt was incurred?                       Is the creditor an insider or related party?
                                                            No
           Last 4 digits of account number
                                                            Yes

                                                         Is anyone else liable on this claim?
           Do multiple creditors have an interest
                                                            No
           in the same property?
                No                                          Yes. Fill out Schedule H: Codebtors(Official

                Yes. Specify each creditor, including    Form 206H)
                                                         As of the petition filing date, the claim is:
          this creditor, and its relative priority.
                                                         Check all that apply.

                                                              Contingent

                                                              Unliquidated

                                                              Disputed
Debtor      DZS Inc.________________________________________________________________                      Case number (if known) Not Yet Assigned________________________________
         Name
                         Case 25-40712                   Doc 2        Filed 03/14/25 Entered 03/14/25 16:27:11                                    Desc Main
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  2.4
                                                          Describe debtor's property that is subject to          Undetermined                                          $220,578.32
             JPMorgan Chase Bank, NA -- Attn              the lien:
             Trade & Working Capital Operations,          Cash Collateral fbo HT
             10410 Highland Manor Drive, Mail             Kapitalverwaltungsgesellschaft GmbH
             Code : FL3-2424, Tampa, FL 33610
                                                          Describe the lien
                                                          Standby Letter of Credit
             Date debt was incurred?
                                                          Is the creditor an insider or related party?

             Last 4 digits of account number                 No

                                                             Yes
             Do multiple creditors have an interest
                                                          Is anyone else liable on this claim?
             in the same property?
                                                             No
                 No
                                                             Yes. Fill out Schedule H: Codebtors(Official
                 Yes. Specify each creditor, including
                                                          Form 206H)
            this creditor, and its relative priority.
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.

                                                               Contingent

                                                               Unliquidated

                                                               Disputed


  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      $12,118,992.40
  Page, if any.

  Part 2:     List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

   Name and address                                                                               On which line in Part 1 did you enter        Last 4 digits of account number for
                                                                                                  the related creditor?                        this entity

  3.1
                                                                                                 1
             EdgeCo, LLC -- c/o FitzGerald Kreditor Bolduc Risbrough LLP, Attn: Lynne
             Bolduc, Esq., 2 Park Plaza, Suite 850, Irvine, CA 92614
             lbolduc@fkbrlegal.com
                       Case 25-40712                    Doc 2     Filed 03/14/25 Entered 03/14/25 16:27:11                                       Desc Main
                                                                  Document      Page 32 of 279
  Fill in this information to identify the case:

  Debtor name: DZS Inc.

  United States Bankruptcy Court for the: Eastern District of Texas
                                                                                                                                                               Check if this is an
  Case number: Not Yet Assigned
                                                                                                                                                               amended filing



Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on
the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.


Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1

                                                                         As of the petition filing date, the claim is:                   $22,354.03                     $22,354.03
           See Schedule E Attachment                                     Check all that apply.
                                                                              Contingent
           Date or dates debt was incurred
                                                                              Unliquidated

           Last 4 digits of account number                                    Disputed

                                                                         Basis for the claim:
           Specify Code subsection of PRIORITY unsecured
           claim:
                                                                         Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )
                                                                             No

                                                                             Yes
Debtor      DZS Inc.________________________________________________________________                       Case number (if known) Not Yet Assigned________________________________
         Name
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  Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                             $88,599,865.51
             See Schedule F Attachment                                                         Check all that apply.
                                                                                                    Contingent
             Date or dates debt was incurred
                                                                                                    Unliquidated

                                                                                                    Disputed

                                                                                               Basis for the claim:


                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes

  Part 3:     List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

   Name and mailing address                                                                        On which line in Part 1 or Part 2 is the related               Last 4 digits of account
                                                                                                   creditor (if any) listed?                                      number, if any


  4.1

                                                                                                  Line



                                                                                                         Not listed. Explain




  Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                                                                  Total of claim amounts

  5a. Total claims from Part 1                                                                                                            5a.                                $22,354.03

  5b. Total claims from Part 2                                                                                                            5b.                            $88,599,865.51

  5c. Total of Parts 1 and 2                                                                                                              5c.
                                                                                                                                                                       $88,622,219.54
  Lines 5a + 5b = 5c.
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                                                                                 SCHEDULE E ATTACHMENT
                                                                        Document             Page
                                                                         Creditors Who Have Priority    34 ofClaims
                                                                                                     Unsecured 279

                                                                                                             Specify Code




                                                                                                                                                               Unliquidated
                                                                                                                                                  Contingent
                                                                                                            Subsection Of




                                                                                                                                                                              Disputed
                                                                                                          Priority Unsecured                                                             Is the Claim
                                                                                                                 Claim:                                                                   Subject to
  ID Creditor's Name               Address 1                      Address 2 City           State ZIP     11 U.S.C. §507(a)(__) Basis for Claim                                              Offset?   Total Claim Priority Amount
2.001 BARRINGTON, LONNIE           3810 STEEPLE CHASE CT                    MIDLOTHIAN     TX    76065              4          Gross Commission                                               No             3.39             3.39
2.002 CADY, MICHAEL                906 SWINDLE RD.                          LAFAYETTE      TN    37083              4          Gross Commission                                               No          394.84            394.84
2.003 DOUGLAS PURK                 4344 RACHEL BLVD                         SPRING HILL    FL    34607              4          Gross Wages                                                    No          744.00            744.00
2.004 FINKELSTEIN, ANDREW ELLIOT   9750 RED PRIMROSE STREET                 AURORA         CO    80016              4          Gross Commission                                               No        1,052.34          1,052.34
2.005 FREEMAN, CRAIG WILSON        3244 LANGLEY DRIVE                       PLANO          TX    75025              4          Gross Commission                                               No          208.03            208.03
2.006 IRYNA KOZHELETOVA            2001 TEXAS 360                 APT 6301 EULESS          TX    76039              4          Gross Wages                                                    No          810.00            810.00
2.007 LIENING, JEFFREY EDWARD      6801 CORPORATE DR.             APT A16 PLANO            TX    75024              4          Gross Commission                                               No          219.02            219.02
2.008 MARIA MIRANDA                6188 80TH STREET NORTH         UNIT 111 KENNETH CITY    FL    33709              4          Gross Wages                                                    No        1,216.34          1,216.34
2.009 MARX, WILLIAM FORD           1255 BROWNELL AVENUE                     ST. LOUIS      MO 63122                 4          Gross Commission                                               No        5,389.33          5,389.33
2.010 MCBRIDE, RYAN LEE            124 KATY RANCH DRIVE                     WEATHERFORD TX       76085              4          Gross Commission                                               No            78.73            78.73
2.011 MENDOZA, TIMOTHY IAN         10391 W. INDORE DR.                      LITTLETON      CO    80127              4          Gross Commission                                               No          660.10            660.10
2.012 MICHAEL RANCAN               523 ALLENS RIDGE DRIVE EAST              PALM HARBOR    FL    34683              4          Gross Wages                                                    No        1,497.60          1,497.60
2.013 MICHAEL WEISS                23621 CARONA                             CORNING        CA    96021              4          Gross Wages                                                    No        2,000.00          2,000.00
2.014 PEIRCE, ARJEN                10768 FAIRMOUNT ROAD                     NEWBURY        OH    44065              4          Gross Commission                                               No          855.79            855.79
2.015 PERRIER, ALAIN               1503 COVENTRY COURT                      IRVING         TX    75019              4          Gross Commission                                               No            14.19            14.19
2.016 SANDRA URENA                 4840 81ST AVENUE NORTH                   TAMPA          FL    33634              4          Gross Wages                                                    No          450.00            450.00
2.017 STEVEN HARRIS                6255 FRISCO SQUARE BOULEVARD   APT 1224 FRISCO          TX    75034              4          Gross Wages                                                    No          499.20            499.20
2.018 SVATOS, COLIN                1007 BARKLEY VIEW COURT                  CROZET         VA    22932              4          Gross Commission                                               No          911.70            911.70
2.019 THONG TRA                    8232 15TH WAY N.                         ST. PETERSBURG FL    33702              4          Gross Wages                                                    No        1,440.00          1,440.00
2.020 VOGT, DANIEL                 13445 HIDDEN FALLS DR                    ALEDO          TX    76008              4          Gross Commission                                               No        1,909.43          1,909.43
2.021 WAYNE MONIZ                  1672 WHEELER DRIVE                       ANGIER         NC    27501              4          Gross Wages                                                    No        2,000.00          2,000.00

TOTAL                                                                                                                                                                                                  22,354.03        22,354.03




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                                                                                                 Creditors Who Have Non-Priority     35 Claims
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  ID    Creditor's Name               Attention        Address 1                    Address 2                   Address 3               City            State   ZIP          Country       Basis for Claim                                            Offset?     Total Claim
  3.001 [AGGREGATE ACCRUED                                                                                                                                                                 Accrued              X             X                          No         1,139,570.16
        WARRANTY RESERVE]                                                                                                                                                                  Warranty
                                                                                                                                                                                           Reserve
  3.002 AARAH RESORT                                   RAA ATOLL                                                                                                21012        MALDIVES      Customer Credits                                              No             3,499.66

  3.003 ABB POWER ELECTRONICS INC.                     601 SHILOH RD                                                                    PLANO           TX      75074-7210                 Trade Payable                                                 No             1,492.00

  3.004 ABLE TAPE AND PACKAGING                        2930 SHANNON CIR                                                                 PALM HARBOR     FL      34684                      GRNI Claim           X             X                          No            51,179.96
        LLC
  3.005 ABY BENEFITS LLC                               1801 ALMA DRIVE              SUITE 170                                           PLANO           TX      75075                      Trade Payable                                                 No               575.00
  3.006 ACA PACIFIC TECHNOLOGY                         20 UPPER CIRCULAR ROAD       #03-01/05 THE RIVERWALK                             SINGAPORE               058416       SINGAPORE     Customer Credits                                              No             9,750.00
        SINGAPORE PTE LTD
  3.007 ACAL BFI GERMANY GMBH                          OPPELNER STRAßE 5                                                                GRÖBENZELL              82194        GERMANY       GRNI Claim           X             X                          No             1,864.80
  3.008 ACCELECOM GA, LLC                              PO BOX 420888                                                                    ATLANTA         GA      30342                      Customer Credits                                              No            25,378.70

  3.009 ACCELINK TECHNOLOGIES CO.,                     NO. 1 TANHU RD,              DEVELOPEMENT ZONE,                                  WUHAN                   430025       CHINA         GRNI Claim           X             X                          No            71,577.50
        LTD.                                           CANGLONGDAO                  JIANGXIA DISTRIC
  3.010 ACCELINK TECHNOLOGIES CO.,                     NO. 1 TANHU RD,              DEVELOPEMENT ZONE,                                  WUHAN                   430025       CHINA         Trade Payable                                                 No          126,460.00
        LTD.                                           CANGLONGDAO                  JIANGXIA DISTRIC
  3.011 ACCEND NETWORKS                                2530 BERRYESSA RD APT 941                                                        SAN JOSE       CA       95132-2903                 Trade Payable                                                 No             3,885.00
  3.012 ADMINISTRACION NOTARIA 171                     PASEO DE LAS PALMAS NUM.     OFICINA 601-PH LOMAS DE     CHAPULTEPEC I SECCION   MIGUEL HIDALGO CP       11000        MEXICO        Trade Payable                                                 No             1,130.54
        DF, S.C.                                       830
  3.013 ADVANCED MEDIA                                 242 24TH AVE NW                                                                  NORMAN          OK      73069                      Extended             X             X                          No             1,532.10
        TECHNOLOGIES                                                                                                                                                                       Warranty
  3.014 ADVANCED PERSONAL                              415 N. MAIN                                                                      SAN ANTONIO     TX      78205                      Trade Payable                                                 No             4,315.38
        COMPUTING INC DBA LIQUID
        NETWORX
  3.015 ADVANCED PRECISION SPRING                      1754 JUNCTION AVE STE A                                                          SAN JOSE        CA      95112-1037                 Trade Payable                                                 No            30,853.61
        CORP.
  3.016 AECOM TECHNICAL SERVICES                       PO BOX 203970                                                                    AUSTIN          TX      78720                      Customer Credits                                              No             4,151.96
        INC
  3.017 AIRGAS USA, LLC                                PO BOX 734672                                                                    DALLAS          TX      75373-0001                 Trade Payable                                                 No             6,052.55
  3.018 AL MANSOOR GENERAL                             #211, SECOND FLOOR           AL NOAIMI BUILDING, AL      P.O. BOX 3692           AJMAN                                UNITED ARAB   Customer Credits                                              No             3,938.98
        TRADING (L.L.C)                                                             KHALIFE ST.                                                                              EMIRATES
  3.019 ALHADATHAH INTL FOR                            EAST END OF ALBALADIA                                                            MISURATA                             LIBYA         Customer Credits                                              No              807.98
        TELECOM & INFORMATION                          STREET
        TECH
  3.020 ALHAMBRA-GRANTFORK                             114 WALL ST                                                                      ALHAMBRA        IL      62001                      Extended             X             X                          No                 6.95
        TELEPHONE COMPANY                                                                                                                                                                  Warranty
  3.021 ALIXPARTNERS LLP                               2101 CEDAR SPRINGS ROAD      SUITE 1100                                          DALLAS          TX      75201                      Trade Payable                                                 No            88,942.05
  3.022 ALLIANCE FOR                                   1200 G ST NW STE 500                                                             WASHINGTON      DC      20005-6706                 Trade Payable                                                 No            67,400.00
        TELECOMMUNICATIONS
        INDUSTRY SOLUTIONS, INC.
  3.023 all-tight GmbH                                 WILHELM-BRATFISCH-STRAßE 1                                                       BAD SODEN-              63628        GERMANY       Trade Payable                                                 No             1,696.86
                                                                                                                                        SALZMÜNSTER
  3.024 ALPHA NOVATECH, INC.                           PO BOX 45509                                                                     SAN FRANCISCO   CA      94145                      GRNI Claim           X             X                          No             1,963.00
  3.025 ALVAREZ & MARSAL DISPUTES                      2100 ROSS AVENUE             21ST FLOOR                                          DALLAS          TX      75201                      Trade Payable                                                 No             3,861.00
        AND INVESTIGATIONS LLC
  3.026 ALZAR INDUSTRIES INC.                          10 CAPELLA CRT                                                                   OTTAWA                  K2E 7V6      CANADA        GRNI Claim           X             X                          No          102,771.16
  3.027 AMERICA II ELECTRONICS INC.                    ATTN: DOOR 2 IN REAR         2260 118TH AVE N                                    ST PETERSBURG FL        33716                      Customer Credits                                              No           10,467.69

  3.028 AMERICAN REGISTRY FOR                          PO BOX 759477                                                                    BALTIMORE       MD      21275-9477                 Trade Payable                                                 No              500.00
        INTERNET NUMBERS, INC.
  3.029 AMEX                                           PO BOX 650448                                                                    DALLAS          TX      75265                      GRNI Claim           X             X                          No             2,372.85
  3.030 AMPHENOL CUSTOM CABLE,                         3221 CHERRY PALM DR.                                                             TAMPA           FL      33619                      Trade Payable                                                 No            91,951.48
        INC.
  3.031 AMPHENOL TCS (MALAYSIA)                        PLOT 88A, JALAN                                                                  S.P.T., PULAU           14000        MALAYSIA      GRNI Claim           X             X                          No             4,936.80
        SDN BHD.                                       PERINDUSTRIAN BKT M                                                              PINANG
  3.032 AOC TECHNOLOGIES                               5960 INGLEWOOD DR STE 100                                                        PLEASANTON      CA      94588                      GRNI Claim           X             X                          No           96,839.21
  3.033 APPS ASSOCIATES, LLC                           289 GREAT RD STE 308                                                             ACTON           MA      01720-4768                 Trade Payable                                                 No           29,995.00
  3.034 AQUERA INC.                                    2100 GENG RD STE 210                                                             PALO ALTO       CA      94303-3307                 Trade Payable                                                 No           51,212.00
  3.035 ARIBA INC                                      PO BOX 734605                                                                    CHICAGO         IL      60673                      Trade Payable                                                 No            3,185.74
  3.036 ARMANINO LLP                                   12657 ALCOSTA BLVD STE 500                                                       SAN RAMON       CA      94583-4600                 Trade Payable                                                 No          488,063.16
  3.037 ARROW ELECTRONICS, INC.                        155 CHAIN LAKE DR            STE 27                                              HALIFAX         NS      B3S1B3       CANADA        Trade Payable                                                 No           36,977.41
  3.038 ASANA INC                                      633 FOLSOM STREET                                                                SAN FRANCISCO   CA      94107                      Trade Payable                                                 No           15,350.40
  3.039 ASSEMBLY FASTENERS, INC.                       255 SEMORAN COMMERCE PL                                                          APOPKA          FL      32703-4690                 Trade Payable                                                 No              234.72
  3.040 ASSIA SRL (ARGENTINA)                          CERRITO 1050, 5TH FLOOR                                                          BUENOS AIRES                         ARGENTINA     Intercompany                                                  No              776.00
                                                                                                                                                                                           Payable
  3.041 ASSOCIATION FOR PASSIVE                        105 E 34TH ST                                                                    NEW YORK        NY      10016-4601                 Trade Payable                                                 No             4,500.00
        OPTICAL LAN, INC.
  3.042 ATLANTIC PEST CONTROL                          P O BOX 759                                                                      OZONA           FL      34660                      Trade Payable                                                 No              652.70
        LAWN SPRAYING INC
  3.043 ATOP CORPORATION                               ATOP INFORMATION HARBOUR     JINJINLIN ECONOMICAL ZONE   FUCHENG DISTRICT        MIANYANG                621000       CHINA         Trade Payable                                                 No             3,870.00




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                                                                                                       Creditors Who Have Non-Priority     36 Claims
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  ID    Creditor's Name               Attention            Address 1                    Address 2                      Address 3           City              State   ZIP          Country         Basis for Claim                                            Offset?     Total Claim
  3.044 AUDITBOARD INC                                     12900 PARK PLAZA DRIVE       SUITE 200                                          CERRITOS          CA      90703                        Trade Payable                                                 No            34,218.60
  3.045 AVALARA, INC.                                      DEPT CH 16781                                                                   PALATINE          IL      60055-0001                   Trade Payable                                                 No            79,897.91
  3.046 AVNET ELECTRONICS                                  2105 LUNDY AVENUE                                                               SAN JOSE          CA      95131                        Trade Payable                                                 No           569,096.29
  3.047 AXCEN PHOTONICS                                    6F, NO. 119, BAOZHONG RD.    XINDIAN DISTRICT               ATTEN: LUKE HUANG   NEW TAIPEI CITY           23144        TAIWAN          GRNI Claim           X             X                          No               672.00
        CORPORATION
  3.048 BAKER & MCKENZIE LLP                               1900 N. PEARL STREET         SUITE 1500                                         DALLAS            TX      75201                        Trade Payable                                                 No           771,115.64
  3.049 BAKER BOTTS L.L.P.                                 ONE SHELL PLAZA 910                                                             HOUSTON           TX      77002                        Trade Payable                                                 No         2,560,580.24
                                                           LOUISIANA ST
  3.050 BAY ALARM                                          PO BOX 7137                                                                     SAN FRANCISCO     CA      94120-7137                   Trade Payable                                                 No               282.00
  3.051 BDO USA LLP                                        5300 PATTERSON AVE SE STE                                                       GRAND RAPIDS      MI      49512-9626                   Trade Payable                                                 No         1,554,792.00
                                                           100
  3.052 BELL CANADA                                        5115 CREEKBANK RD, E2-M2                                                        MISSISSAUGA       ON      L4W 5R1      CANADA          Extended             X             X                          No             4,693.70
                                                                                                                                                                                                  Warranty
  3.053 BIE-TECH ANSTALT                                   WIRTSCHAFTSPARK 44                                                              ESCHEN                    9492         LIECHTENSTEIN   GRNI Claim           X             X                          No              628.00
  3.054 Bie-Tech Anstalt                                   WIRTSCHAFTSPARK 44                                                              ESCHEN                    9492         LIECHTENSTEIN   Trade Payable                                                 No              635.04
  3.055 BILLINGS PUBLIC SCHOOLS                            415 N 30TH ST                SCHOOL DISTRICT APT2                               BILLINGS          MT      59101                        Customer Credits                                              No              100.00

  3.056 BOARDROOM BUSINESS                                 50 RAFFLES PLACE             #32-01 SINGAPORE LAND                              SINGAPORE                 048623       SINGAPORE       Trade Payable                                                 No             9,629.75
        SOLUTIONS PTE LTD                                                               TOWER
        (FORMERLY EE PENG LIANG)
  3.057 BOWEI TECHNOLOGY                                   ROOM 201, BUILDING 2         NO 306, GUSHUI ROAD,                               JIAXING CITY              314006       CHINA           GRNI Claim           X             X                          No          803,568.00
        COMPANY LTD.                                                                    HAINING ECONOMIC
                                                                                        DEVELOPMENT DISTRICT
  3.058 BOWEI TECHNOLOGY                                   ROOM 201, BUILDING 2         NO 306, GUSHUI ROAD,                               JIAXING CITY,             314006       CHINA           Trade Payable                                                 No         5,728,034.00
        COMPANY LTD.                                                                    HAINING ECONOMIC                                   ZHEJIANG
                                                                                        DEVELOPMENT DISTRICT
  3.059 BOWEN                                              34 MAIN STREET EXT           SUITE 203                                          PLYMOUTH          MA      02360                        Trade Payable                                                 No          904,791.47
  3.060 BPM, LLP                                           10 ALMADEN BLVD STE 1000                                                        SAN JOSE          CA      95113-2238                   Trade Payable                                                 No          352,348.99
  3.061 BRACEWELL LLP                                      711 LOUISIANA STREET         STE 2300                                           HOUSTON           TX      77002                        Trade Payable                                                 No          122,690.00
  3.062 BREKO Bundesverband                                MENUHINSTRABE 6                                                                 BONN                      53113        GERMANY         Trade Payable                                                 No           11,712.99
        Breitbandkommunikation e.V.
  3.063 BROADBAND FORUM                                    5177 BRANDIN CT                                                                 FREMONT           CA      94538-5109                   Trade Payable                                                 No            19,950.00
  3.064 BROADBAND GIBRALTAR                                SUITE 951 EUROPORT                                                              GIBRALTAR                 GX11 1AA     GIBRALTAR       Customer Credits                                              No             1,114.22
        LIMITED
  3.065 BROADBAND V.I. LLC                                 72 KRONPRINDSENS GADE                                                           SAINT THOMAS      VI      00802                        Customer Credits                                              No               21.39

  3.066 BUGLAS Bundesverband                               EDUARD-PFLÜGER-STRAßE 58                                                        BONN                      D-53113      GERMANY         Trade Payable                                                 No             8,436.40
        Glasfaseranschluss e. V.
  3.067 CAD MICROSOLUTIONS INC                             30, INTERNATIONAL BLVD, UNIT                                                    TORONTO           ON      M9W 1A2      CANADA          Trade Payable                                                 No             2,914.93
                                                           1
  3.068 CALLISONRTKL, INC                                  9620 CHESAPEAKE DR           STE 106                                            SAN DIEGO         CA      92123                        Customer Credits                                              No             2,515.80

  3.069 CAMBRIDGE INDUSTRIES USA                           2445 AUGUSTINE DR FL 6                                                          SANTA CLARA       CA      95054-3032                   Trade Payable                                                 No          156,970.00
        INC.
  3.070 CANON FINANCIAL SERVICES,                          14904 COLLECTION CENTER DR                                                      CHICAGO           IL      60693-0149                   Trade Payable                                                 No            13,114.85
        INC
  3.071 CANTEEN REFRESHMENT                                9501 PALM RIVER RD                                                              TAMPA             FL      33619-4431                   Trade Payable                                                 No             4,553.39
        SERVICES
  3.072 CAPITOL SERVICES, INC                              PO BOX 1831                                                                     AUSTIN            TX      78767-1831                   Trade Payable                                                 No             3,832.88
  3.073 CCH INCORPORATED                                   P.O. BOX 4307                                                                   CAROL STREAM      IL      60197-4307                   Trade Payable                                                 No               105.00
  3.074 CDE LIGHTBAND                                      2021 WILMA RUDOLPH BLVD                                                         CLARKSVILLE       TN      37040                        Customer Credits                                              No             1,625.32

  3.075 CDE LIGHTBAND                                      2021 WILMA RUDOLPH BLVD                                                         CLARKSVILLE       TN      37040                        Extended             X             X                          No             5,534.87
                                                                                                                                                                                                  Warranty
  3.076 CELLCOM ISRAEL LTD                                 CELLCOM WAREHOUSE LTD        27,, YAD KHARUTSIM                                 NETANYA                   4250582      ISRAEL          Customer Credits                                              No              111.00

  3.077 CENTRAL OKLAHOMA                                   223 N BROADWAY AVE                                                              DAVENPORT         OK      74026                        Extended             X             X                          No             4,566.67
        TELEPHONE COMPANY                                                                                                                                                                         Warranty
  3.078 CENTRAL TRENCHING                                  5200 7TH AVE SW                                                                 MINOT             ND      58701                        Customer Credits                                              No              446.55

  3.079 CHARLTON MEDIA GROUP PTE                           101 CECIL ST. #17-09 TONG ENG BUILDING                                          SINGAPORE                 069533       SINGAPORE       Trade Payable                                                 No             8,500.00
        LTD
  3.080 CHENGDU SUPERXON                                   NO. 666 SHAOJIA STREET                                                          SICHUAN                   610200       CHINA           Trade Payable                                                 No             2,140.00
        COMMUNICATIONS
        TECHNOLOGY CO LTD
  3.081 CHEROKEE TELEPHONE                                 403 N SERVICE RD                                            PO BOX 445          CALERA            OK      74730                        Customer Credits                                              No             9,521.42
        COMPANY
  3.082 CHESTERFIELD COUNTY RADIO                          PO BOX 40                                                                       CHESTERFIELD      VA      23832                        Customer Credits                                              No              281.31
        SHOP
  3.083 CHIRAG MODY               C/O THE BROWN LAW FIRM   ATTN SAADIA HASHMI           767 THIRD AVENUE, SUITE 2501                       NEW YORK          NY      10017                        Litigation Claim     X             X             X            No                 0.00
  3.084 CHIRAG MODY               C/O GAINEY MCKENNA &     ATTN THOMAS J. MCKENNA       260 MADISON AVE, 22ND FLOOR                        NEW YORK          NY      10017                        Litigation Claim     X             X             X            No                 0.00
                                  EGLESTON
  3.085 CI SEARCH GROUP LLC                                106 N DENTON TAP RD          STE 210-106                                        COPPELL           TX      75019                        Trade Payable                                                 No            55,000.00




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  ID    Creditor's Name                      Attention        Address 1                    Address 2                    Address 3                   City            State   ZIP          Country           Basis for Claim                                             Offset?     Total Claim
  3.086 CIBT                                                  1600 INTERNATIONAL DR        SUITE 600                                                MCLEAN          VA      22102                          Trade Payable                                                  No              1,444.00
  3.087 CIG SHANGHAI CO., LTD.                                BLOCK B NO. 505              JIANGYUE ROAD, MINHANG                                   SHANGHAI                201114       CHINA             Customer Credits                                               No                  6.89
                                                                                           DISTRICT
  3.088 CISCO SYSTEMS INC                                     170 W TASMAN DR BLDG 11                                                               SAN JOSE        CA      95134-1700                     Trade Payable                                                  No           583,953.00
  3.089 CITY OF PINELLAS PARK                                 6051 78TH AVE N                                                                       PINELLAS PARK   FL      33781-2209                     Trade Payable                                                  No                50.00
  3.090 CITY OF SEATTLE                                       1300 N 97TH ST                                                                        SEATTLE         WA      98103                          Customer Credits                                               No               275.00

  3.091 CLEAR DIGITAL NETWORKS, INC                           202 E EARLL DR STE 140                                                                PHOENIX         AZ      85012                          Customer Credits                                               No                 9.65

  3.092 CLEARLINE INFRASTRUCTURE                              RANDJESPARK                  CNR. GEORGE RD AND 15TH RD                               MIDRAND                 1682         SOUTH AFRICA      Customer Credits                                               No               518.00
        SOLUTIONS
  3.093 CNT NETWORK TECHNOLOGY                                14 EL-SADAT AXIS             1ST SETTLEMENT                                           NEW CAIRO                            EGYPT             Customer Credits                                               No            60,537.06

  3.094 COACHELLA VALLEY WATER                                51501 TYLER ST                                                                        COACHELLA       CA      92236                          Customer Credits                                               No               320.00
        DISTRICT
  3.095 CODALE ELECTRIC SUPPLY                                5225 W 2400 S                                                                         WEST VALLEY     UT      84120                          Customer Credits                                               No               445.16
                                                                                                                                                    CITY
  3.096 COGENT COMMUNICATIONS,                                PO BOX 791087                                                                         BALTIMORE       MD      21279-1087                     Trade Payable                                                  No             1,564.57
        INC
  3.097 COILCRAFT INC.                                        1102 SILVER LAKE RD                                                                   CARY            IL      60013-1658                     Trade Payable                                                  No               989.00
  3.098 COMMUNICATIONS SUPPLY                                 25 AMICA WAY                                                                          LINCOLN         RI      02865                          Customer Credits                                               No               176.60
        CORPORATION
  3.099 COMPUTER PACKAGES INC                                 11 N WASHINGTON ST STE 300                                                            ROCKVILLE       MD      20850-4263                     Trade Payable                                                  No            27,365.00
  3.100 COMPUTERSHARE TRUST                                   DEPT CH 19228                                                                         PALATINE        IL      60055-0001                     Trade Payable                                                  No            21,491.02
        COMPANY, INC.
  3.101 CONCERN: EMPLOYEE                                     2490 HOSPITAL DR STE 310                                                              MOUNTAIN VIEW   CA      94040-4125                     Trade Payable                                                  No             7,416.00
        ASSISTANCE PROGRAM
  3.102 CONCOTE CORPORATION DBA                               600 FREEPORT PKWY STE 150                                                             COPPELL         TX      75019-3871                     Trade Payable                                                  No             1,662.00
        INSUL-FAB
  3.103 CONCUR TECHNOLOGIES, INC.                             62157 COLLECTION CENTER DR                                                            CHICAGO         IL      60693-0621                     Trade Payable                                                  No             6,045.17
  3.104 CONTENT MANAGEMENT                                    50 MINTHORN BLVD STE 800                                                              THORNHILL       ON      L3T 7X8      CANADA            Trade Payable                                                  No            12,000.00
        CORPORATION DBA MULTIVIEW
        CANADA
  3.105 COOLTRON INDUSTRIAL                                   19929 HARRISON AVE                                                                    CITY OF         CA      91789-2848                     Trade Payable                                                  No            19,998.00
        SUPPLY, INC.                                                                                                                                INDUSTRY
  3.106 COPY CONTROL MANAGEMENT                               11806 RACE TRACK RD                                                                   TAMPA           FL      33626-3105                     Trade Payable                                                  No               240.92
        INC.
  3.107 CORNING OPTICAL                                       4200 CORNING PL                                                                       CHARLOTTE       NC      28216-1298                     Trade Payable                                                  No           146,620.80
        COMMUNICATIONS LLC
  3.108 CORODATA RECORDS                                      PO BOX 842638                                                                         LOS ANGELES     CA      90084-2638                     Trade Payable                                                  No             3,518.51
        MANAGEMENT, INC.
  3.109 COX COMMUNICATIONS INC.                               121 S MARTIN L KING BLVD                                                              LAS VEGAS       NV      89106                          Customer Credits                                               No             1,391.03

  3.110 COX COMMUNICATIONS INC.                               121 S MARTIN L KING BLVD                                                              LAS VEGAS       NV      89106                          Extended              X             X                          No             8,924.76
                                                                                                                                                                                                           Warranty
  3.111 COX CONSULTING NETWORK                                12600 HILL COUNTRY BLVD                                                               BEE CAVE        TX      78738                          Trade Payable                                                  No            47,112.55
        LLC
  3.112 CRAIG PACKAGING LTD                                   5911 CARMAN ROAD SOUTH                                                                IROQUOIS        ON      K0E 1K0      CANADA            Trade Payable                                                  No             1,258.73
  3.113 CSA GROUP TESTING &                                   178 REX DALE BLVD                                                                     TORONTO         ON      M9W 1R3      CANADA            Trade Payable                                                  No             2,030.00
        CERTIFICATION INC
  3.114 CT CORPORATION                                        PO BOX 4349                                                                           CAROL STREAM    IL      60197-4349                     Trade Payable                                                  No             5,406.62
  3.115 DAITAN LABS SOLUCOES EM                               AV. SELMA PARADA N 201       BLOCO 1 CONJUNTO 141         CONDOMINIO GALLERIA,        SAO PAULO                            BRAZIL            Trade Payable                                                  No            60,917.56
        TECNOLOGIA S/A                                                                                                  OFFICE PARK-BAIRRO JARDIM
                                                                                                                        MADALENA
  3.116 DANBY BARCODING, LLC                                  1800 WATMEAD RD                                                                       KERNERSVILLE    NC      27284                          GRNI Claim            X             X                          No            10,992.00
  3.117 DASAN NETWORK SOLUTIONS                               DASAN TOWER                  49 DAEWANGPANGYO-RO 644                                  SOUTH KOREA                          KOREA, REPUBLIC   Trade Payable                                                  No         1,348,123.75
        INC                                                                                BEON-GIL                                                                                      OF
  3.118 DASAN NETWORK SOLUTIONS                               DASAN TOWER                  49, DAEWANGPANGYO-RO                                     SEONGNAM-SI,                         REPUBLIC OF       GRNI Claim            X             X                          No         8,799,674.65
        INC - INV                                                                          644BEON-GIL, BUNDANG-GU                                  GYEONGGI-DO                          KOREA
  3.119 DASAN NETWORK SOLUTIONS,                              DASAN TOWER                  49, DAEWANGPANGYO-RO                                     SEONGNAM-SI,                         REPUBLIC OF       Intercompany                                                   No                71.00
        INC.(KOREA)                                                                        644BEON-GIL, BUNDANG-GU                                  GYEONGGI-DO                          KOREA             Receivable Credit

  3.120 DATA CLOUD TECHNOLOGIES, ATTN JAMES F. MCDONOUGH      3621 VININGS SLOPE, SUITE                                                             ATLANTA         GA      30339                          Litigation Claim      X             X             X            No                 0.00
        LLC                                                   4320
  3.121 DATA2LOGISTICS, LLC                                   12631 WESTLINKS DR STE 3                                                              FORT MYERS      FL      33913-8627                     Trade Payable                                                  No           346,692.34
  3.122 DATAPLUS ADVANTAGE INC dba                            8500 N STEMMONS FRWY         SUITE 2035                                               DALLAS          TX      75247                          Trade Payable                                                  No            14,957.76
        OPEN DOOR SOLUTIONS
  3.123 DEEPLY DIGITAL                                        343 N 3RD ST                                                                          MONTROSE        CO      81401                          Customer Credits                                               No               118.68

  3.124 DELL MARKETING L.P.                                   1 DELL WAY                                                                            ROUND ROCK      TX      78682-7000                     Trade Payable                                                  No            32,734.20
  3.125 Delta Electronics (Switzerland) AG                    FREIBURGSTRASSE 251                                                                   BERN BÜMPLITZ           3018         SWITZERLAND       Trade Payable                                                  No             4,700.01
  3.126 DESCARTES SYSTEMS (USA)                               2030 POWERS FERRY RD SE                                                               ATLANTA         GA      30339-2823                     Trade Payable                                                  No           133,148.15
        LLC




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                                                                                                          Creditors Who Have Non-Priority     38 Claims
                                                                                                                                          Unsecured of 279




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  ID    Creditor's Name                 Attention                Address 1                    Address 2                   Address 3                   City              State   ZIP          Country          Basis for Claim                                            Offset?     Total Claim
  3.127 Deutsche Telekom AG                                      FRIEDRICH-EBERT-ALLEE 140                                                            BONN                      53113        GERMANY          Trade Payable                                                 No            11,429.96
  3.128 DEVANCE AV DESIGN, INC.                                  2833 TRINITY SQUARE DR STE                                                           CARROLLTON        TX      75006-3319                    Trade Payable                                                 No               270.63
                                                                 173
  3.129 DHL EXPRESS USA INC                                      16592 COLLECTIONS CENTER                                                             CHICAGO           IL      60693                         Trade Payable                                                 No            17,444.41
                                                                 DR.
  3.130 DIGIASIA PTE LTD                                         C/O ECOMM TECH PTE LTD       83 MARINE PARADE CENTRAL                                SINGAPORE                 440083       SINGAPORE        Customer Credits                                              No               20.00
                                                                                              #01-568
  3.131 DIGICOMM INTERNATIONAL INC                               1 DIGICOMM DR                                                                        ENGLEWOOD         CO      80112                         Customer Credits                                              No          152,941.06

  3.132 DIGI-KEY                                                 701 BROOKS AVE. SOUTH        PO BOX 677                                              THIEF RIVER       MN      56701                         Trade Payable                                                 No             4,888.81
                                                                                                                                                      FALLS
  3.133 DIGITAL INSURANCE, LLC                                   200 GALLERIA PKWY SE STE                                                             ATLANTA           GA      30339-5946                    Trade Payable                                                 No          169,806.43
                                                                 1950
  3.134 DONNELLEY FINANCIAL LLC                                  PO BOX 842282                                                                        BOSTON            MA      02284-2282                    Trade Payable                                                 No            20,994.95
  3.135 DOYLESTOWN TELEPHONE                                     28 E MARION ST                                                                       DOYLESTOWN        OH      44230                         Extended             X             X                          No               448.12
                                                                                                                                                                                                              Warranty
  3.136 DREMEC                                                   GEWERBESTRAßE 15                                                                     LÖHNE                     32584        GERMANY          GRNI Claim           X             X                          No             1,419.20
        BEFESTIGUNGSELEMENTE
        GMBH
  3.137 DSBJ PTE. LTD.                                           11 BISHAN STREET 21 #03-01                                                           SINGAPORE                 573943       SINGAPORE        GRNI Claim           X             X                          No          101,852.72
  3.138 DSBJ PTE. LTD.                                           11 BISHAN STREET 21 #03-01                                                           SINGAPORE                 573943       SINGAPORE        Trade Payable                                                 No           13,809.18
  3.139 DSL EXTENSION                                            [ADDRESS NOT PROVIDED]                                                                                                                       Litigation Claim     X             X             X            No                0.00
  3.140 DTC WORLD CORPORATION                                    7 GAMBAS CRESCENT #05-24     ARK @ GAMBAS                                            SINGAPORE                              SINGAPORE        Trade Payable                                                 No            7,180.46
        PTE LTD
  3.141 DZS INC.                                                 5700 TENNYSON PARKWAY                                                                PLANO             TX      75024                         GRNI Claim        X                X                          No            94,854.65
  3.142 DZS INC.                                                 5700 TENNYSON PARKWAY,                                                               PLANO             TX      75024                         Intercompany                                                  No               871.00
                                                                 SUITE 400                                                                                                                                    Payable
  3.143 DZS INTERNATIONAL INC.                                   5700 TENNYSON PARKWAY,                                                               PLANO             TX      75024                         Intercompany                                                  No          200,673.00
                                                                 SUITE 400                                                                                                                                    Payable
  3.144 DZS INTERNATIONAL INC. -                                 KLEINE BOLLOSTRAAT 21                                                                3120 TREMELO                           BELGIUM          Intercompany                                                  No            27,538.00
        BELGIUM REP OFFICE                                                                                                                                                                                    Receivable Credit

  3.145 DZS LIMITED                                              54 PORTLAND PLACE                                                                    LONDON            ENGLAN W1B 1DY       UNITED KINGDOM   GRNI Claim           X             X                          No              111.42
                                                                                                                                                                        D
  3.146 DZS LTD.                                                 54 PORTLAND PLACE                                                                    LONDON                   W1B 1DY       UNITED KINGDOM   Intercompany                                                  No         6,731,709.00
                                                                                                                                                                                                              Loan
  3.147 DZS LTD.                                                 54 PORTLAND PLACE                                                                    LONDON                    W1B 1DY      UNITED KINGDOM   Intercompany                                                  No          234,171.00
                                                                                                                                                                                                              Payable
  3.148 DZS SERVICES INC.                                        5700 TENNYSON PARKWAY,                                                               PLANO             TX      75024                         Intercompany                                                  No         3,034,128.00
                                                                 SUITE 400                                                                                                                                    Payable
  3.149 EB EMPLOYEE SOLUTIONS LLC                                200 BUSINESS PARK DRIVE      SUITE 311                                               ARMONK            NY      10504                         Trade Payable                                                 No             9,052.74
  3.150 EBV ELEKTRONIK VERTRIEBS-                                BURGDORFERSTR. 2                                                                     BURGWEDEL                 30938        GERMANY          GRNI Claim           X             X                          No             1,699.20
        GMBH
  3.151 EBV Elektronik Vertriebs-GmbH                            BURGDORFERSTR. 2                                                                     BURGWEDEL                 30938        GERMANY          Trade Payable                                                 No            27,711.81
  3.152 ECU LINE MIDDLE EAST LLC                                 BETWEEN R/A 6 & 7,           JAFZA, PO BOX 28430         EMIRATES ISLAMIC BANK-POB   DUBAI                                  UNITED ARAB      Trade Payable                                                 No               252.81
                                                                 EUROCENTRE BLDG                                          6564                                                               EMIRATES
  3.153 ELMA ELECTRONIC                                          HOFSTRASSE 93                                                                        WETZIKON                               SWITZERLAND      GRNI Claim           X             X                          No              641.99
  3.154 ELMA ELECTRONIC AG                                       HOFSTRASSE 93                                                                        WETZIKON                  8620         SWITZERLAND      GRNI Claim           X             X                          No           47,524.91
  3.155 Elma Electronic AG                                       HOFSTRASSE 93                                                                        WETZIKON                  8620         SWITZERLAND      Trade Payable                                                 No          759,961.50
  3.156 EMIRATES                                                 ETISALAT SHARJAH             PO BOX 980                                              SHARJAH                                UNITED ARAB      Extended             X             X                          No            6,429.27
        TELECOMMUNICATIONS CORP.                                                                                                                                                             EMIRATES         Warranty
  3.157 ENTOS DESIGN, INC.                                       5400 LYNDON B JOHNSON FWY                                                            DALLAS            TX      75240-1005                    Trade Payable                                                 No             1,475.06
                                                                 STE 125
  3.158 EQUANT BRAZIL LTDA                                       AV DAS NACOES UNIDAS, 12901 2 ANDAR BROOKLIN NOVO        CNPJ: 66.624.776/0001-90    SAO PAULO, SP             CEP 04578- BRAZIL             Customer Credits                                              No             1,858.83
                                                                 TORRE NORTE                                                                                                    903
  3.159 EQUINSA NETWORKING                                       C/PRIMAVERA.14              POL.IND.LAS MONJAS           28850 TORREJON DE ARDOZ     MADRID                    28850      SPAIN              Customer Credits                                              No              903.40

  3.160 EQUIPOS DE                                               C/O ZHONE TECHNOLOGIES,      7195 OAKPORT ST                                         OAKLAND           CA      94621                         Customer Credits                                              No             4,543.24
        COMUNICACIONES S.A.                                      INC
  3.161 ESPRESS MOON LLC DBA                                     8500 CYPRESSWOOD DR STE                                                              SPRING            TX      77379-7105                    Trade Payable                                                 No             1,000.00
        GAGELIST                                                 206
  3.162 ETSI-EUROPEAN                                            650 ROUTE DES LUCIOLES                                                               SOPHIA                    06921        FRANCE           Trade Payable                                                 No            25,512.83
        TELECOMMUNICATIONS                                                                                                                            ANIPOLIS, CEDEX
        STANDARDS INSTITUTE
  3.163 EU-TEL                                                   VAN TONNINGEN WEG 1          ORANJE STAD                                             ST. EUSTATIUS                          CARIBBEAN        Customer Credits                                              No            13,927.00
                                                                                                                                                                                             NETHERLANDS
  3.164 EVISORT INC                                              49 STEVENSON STREET                                                                  SAN FRANCISCO     CA      94105                         Trade Payable                                                 No            44,345.60
  3.165 EXHIBITION FREIGHTING LTD                                THE GRANARY, MOAT FARM       COLLIER STREET                                          KENT                      TN12 9RR     UNITED KINGDOM   Trade Payable                                                 No             7,182.31
  3.166 FABRICIO A. BERRIOS             C/O RIGRODSKY LAW P.A.   ATTN SETH D. RIGRODSKY,      1007 NORTH ORANGE STREET,                               WILMINGTON        DE      19801                         Litigation Claim     X             X             X            No                 0.00
                                                                 ESQ.                         SUITE 453
  3.167 FABRINET WEST INC                                        4900 PATRICK HENRY DR                                                                SANTA CLARA       CA      95054-1822                    Trade Payable                                                 No        16,216,340.23
  3.168 FAIRMONT AUSTIN                                          101 RED RIVER ST                                                                     AUSTIN            TX      78701                         Customer Credits                                              No             4,500.00




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  ID    Creditor's Name          Attention                Address 1                       Address 2                  Address 3                   City            State   ZIP          Country          Basis for Claim                                            Offset?     Total Claim
  3.169 FARBER TELEPHONE COMPANY                          DBA MISSOURICOM                 PO BOX 49                                              OREGON          MO      64473                         Customer Credits                                              No               500.00

  3.170 FERROTEC USA CORPORATION                          33 CONSTITUTION DR                                                                     BEDFORD         NH      03110-6000                    Trade Payable                                                 No             1,400.00
  3.171 FIBER BROADBAND                                   PO BOX 1300                                                                            SPOKANE         WA      99210-1300                    Trade Payable                                                 No            60,050.00
        ASSOCIATION
  3.172 FIBER CONNECT                                     29 PUMPKIN HOLLOW RD            BLDG 17                                                EGREMONT        MA      01230                         Extended             X             X                          No              850.81
                                                                                                                                                                                                       Warranty
  3.173 FISCHER ELEKTRONIK GMBH &                         NOTTEBOHMSTR. 28                                                                       LÜDENSCHEID             58511        GERMANY          GRNI Claim           X             X                          No             3,431.95
        CO. KG
  3.174 FLOQAST                                           14721 CALIFA ST                                                                        SHERMAN OAKS    CA      91411-3107                    Trade Payable                                                 No             8,139.47
  3.175 FLORIDA METAL SERVICES INC                        6951 108TH AVE                                                                         LARGO           FL      33777-1615                    Trade Payable                                                 No             1,240.20
  3.176 FOLZ COMMUNICATIONS &                             C/O ZHONE TECHNOLOGIES          7195 OAKPORT ST                                        OAKLAND         CA      94621                         Customer Credits                                              No               111.99
        NETWORKS
  3.177 FORETHOUGHT.NET                                   C/O ZHONE TECHNOLOGIES INC 7195 OAKPORT ST                                             OAKLAND         CA      94621                         Customer Credits                                              No              267.88

  3.178 FULTON JEANG PLLC                                 6333 E. MOCKINGBIRD LN #147-                                                           DALLAS          TX      75214                         Trade Payable                                                 No             1,620.00
                                                          2191
  3.179 FURUKAWA ELECTRIC LATAM                           MAIPU 255 PISO: 11 DPTO: B      1084-CIUDAD AUTONOMA       MELISA GISELA               BUENOS AIRES            C1091AAR     ARGENTINA        Customer Credits                                              No             3,868.20
        S.A. - SURCURSAL ARGENTINA                                                        BUENOS AIRES               CARREGAMEAIPU
  3.180 FURUKAWA ELECTRIC LATAM                           RUA HASDRUBAL BELLEGARD,        CIDADE INDUSTRIAL                                      CURITIBA                81460120     BRAZIL           Customer Credits                                              No          110,281.60
        SA                                                820
  3.181 FUTURE ELECTRONICS (CDA)                          P.O. BOX 12539                  STATION CENTRE-VILLE                                   MONTREAL        QC      H3C 5G7      CANADA           Trade Payable                                                 No              285.04
        LTD.
  3.182 FUTURE ELECTRONICS (US)                           237 HYMUS BLVD.                                                                        POINTE CLAIRE           H95 5C7      CANADA           GRNI Claim           X             X                          No            22,516.80
        LLC.
  3.183 FUTUREWEI TECHNOLOGIES,                           2330 CENTRAL EXPY                                                                      SANTA CLARA     CA      95050-2516                    Trade Payable                                                 No            35,647.08
        INC.
  3.184 FUTURUM COMMUNICATIONS                            910 16TH ST STE 1022                                                                   DENVER          CO      80202                         Customer Credits                                              No              185.33
        CORP
  3.185 GENEXIS SWEDEN AB                                 127 39 SKARHOLMEN               STENSATRAVAGEN 13, HUS C                               SWEDEN                  127 39       SWEDEN           Customer Credits                                              No              858.50

  3.186 GENIA SOFTWARE                                    2721 EXECUTIVE PARK DR STE 4                                                           WESTON          FL      33331-3640                    Trade Payable                                                 No             1,900.00
        DEVELOPERS LLC
  3.187 GEORGIA PUBLIC WEB                                1470 RIVEREDGE PKWY                                                                    ATLANTA         GA      30328                         Customer Credits                                              No            19,960.51

  3.188 GLOBAL FABTECH (SHANGHAI)                         NO. 318 TIANFU RD, JIUTING      SONGJIANG                                              SHANGHAI        CHINA   201615       CHINA            GRNI Claim           X             X                          No            26,350.16
        CO. LTD.                                          TOWN
  3.189 Gmont cable, s.r.o.                               BLANENSKÁ 355                                                                          KURIM                   664 34       CZECH REPUBLIC   Trade Payable                                                 No             2,326.49
  3.190 GOEPEL ELECTRONICS LLC                            4030 W BRAKER LN STE 310                                                               AUSTIN          TX      78759-5332                    Trade Payable                                                 No             9,868.11
  3.191 GOLDEN WEST                                       525 E 4TH ST                                                                           DELL RAPIDS     SD      57022                         Extended             X             X                          No               126.62
        TELECOMMUNICATIONS                                                                                                                                                                             Warranty
  3.192 GOLDFIELD TELECOM INC.                            611 N MAIN ST                                                                          GOLDFIELD       IA      50542                         Extended             X             X                          No            53,025.25
                                                                                                                                                                                                       Warranty
  3.193 GOLDFIELD TELECOM, LC                             611 N MAIN ST                                                                          GOLDFIELD       IA      50542-5045                    Trade Payable                                                 No             1,754.86
  3.194 GONGJIN ELECTRONIC                                FLAT A/B 13/F LEAHANDER         WANG WO TSAI STREET        IBAN: 012-581-9-208229-7,   TSUEN WAN                            HONG KONG        GRNI Claim           X             X                          No         1,198,015.68
        (HONGKONG) LIMITED                                CENTRE, 28#
  3.195 GOODWIN PROCTER LLP                               100 NORTHERN AVE                                                                       BOSTON          MA      02210                         Trade Payable                                                 No            42,431.10
  3.196 GOTO TECHNOLOGIES USA,                            PO BOX 50264                                                                           LOS ANGELES     CA      90074-0264                    Trade Payable                                                 No             6,653.26
        INC.
  3.197 GRAND RIVER MUTUAL                                C/O RANDY'S SHORT STOP          HWY 65 WEST                                            LINEVILLE       IA      50147                         Extended             X             X                          No              153.39
        TELEPHONE CORP                                                                                                                                                                                 Warranty
  3.198 GRANT THORNTON CLIENT                             33911 TREASURY CTR                                                                     CHICAGO         IL      60694-3900                    Trade Payable                                                 No            18,200.00
        ACCOUNT
  3.199 GRAZITTI INTERACTIVE INC                          340 E MIDDLEFIELD RD                                                                   MOUNTAIN VIEW   CA      94043-4004                    Trade Payable                                                 No             8,600.00
  3.200 GREEN CPA FIRM INC                                323 LENNON LN FL 1                                                                     WALNUT CREEK    CA      94598-2497                    Trade Payable                                                 No               120.00
  3.201 GRM INFORMATION                                   41099 BOYCE ROAD                                                                       FREMONT         CA      94538                         Litigation Claim     X             X             X            No                 0.00
        MANAGEMENT SERVICES
  3.202 GRM INFORMATION           ATTN STEVEN A. BOOSKA   P.O. BOX 2169 FILE # 20240138                                                          OAKLAND         CA      94621                         Litigation Claim     X             X             X            No                 0.00
        MANAGEMENT SERVICES
  3.203 GRUPO KMC CAMPOS Y                                INSURGENTES SUR 619-PISO 10 COL NAPOLES DEL BENITO                                     MEXICO                  03810        MEXICO           Trade Payable                                                 No             9,861.45
        CAMPOS SC                                                                     JUAREZ
  3.204 GTT AMERICAS LLC                                  7900 TYSONS ONE PL STE 1450                                                            MCLEAN          VA      22102-5973                    Trade Payable                                                 No               572.01
  3.205 GUYANA TELEPHONE &                                ONE COMMUNICATIONS          BRICKDAM, GEORGETOWN           PO BOX 10628                GEORGETOWN                           GUYANA           Extended             X             X                          No            22,661.65
        TELEGRAPH CO. LTD                                 (GUYANA) INC.                                                                                                                                Warranty
  3.206 H&C CORPORATE SERVICES                            APOLLO HOUSE EAST           4TH FLOOR, 87 MARY STREET      PO BOX 698                  GEORGE TOWN                          CAYMAN ISLANDS   Trade Payable                                                 No             4,500.00
        LIMITED
  3.207 HALLMARK NAMEPLATE INC                            1717 LINCOLN AVE                                                                       MOUNT DORA      FL      32757                         GRNI Claim           X             X                          No               212.43
  3.208 HALLMARK NAMEPLATE INC                            1717 LINCOLN AVE                                                                       MOUNT DORA      FL      32757-4110                    Trade Payable                                                 No             2,679.07
  3.209 HASOUB FOR IMPORT, EXPORT                         31 OMAR BAKIR STREET, 9TH       OTHMAN BIN AFAN SQUARE                                 HELIOPOLIS,                          EGYPT            Extended             X             X                          No               440.79
        & TRADING                                         FLOOR                                                                                  CAIRO                                                 Warranty
  3.210 HAYNES AND BOONE LLP                              2323 VICTORY AVENUE             SUITE 700                                              DALLAS          TX      75219                         Trade Payable                                                 No            14,980.00
  3.211 HAYS SPECIALIST                                   8 KING STREET E                 20TH FLOOR                                             TORONTO         ON      M5C 1B5      CANADA           Trade Payable                                                 No            38,067.45
        RECRUITMENT (CANADA) INC




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  ID    Creditor's Name                Attention                    Address 1                      Address 2                     Address 3                    City           State   ZIP          Country           Basis for Claim                                            Offset?     Total Claim
  3.212 HEILIND ELECTRONICS INC                                     307 CRANES ROOST BLVD STE                                                                 ALTAMONTE      FL      32701                          GRNI Claim           X             X                          No              3,988.61
                                                                    1020                                                                                      SPRINGS
  3.213 HICKORY TELEPHONE                                           C/O ZHONE TECHNOLOGIES,        7195 OAKPORT ST                                            OAKLAND        CA      94621                          Extended             X             X                          No             1,077.25
        COMPANY                                                     INC                                                                                                                                             Warranty
  3.214 HIGH POINT NETWORKS, LLC                                    1201 GRAND AVE STE 7                                                                      BILLINGS       MT      59102                          Customer Credits                                              No             3,999.00

  3.215 HILGERS PLLC DBA HILGERS                                    1320 LINCOLN MALL, SUITE 200                                                              LINCOLN        NE      68508                          Trade Payable                                                 No            19,469.00
        GRABEN
  3.216 HISENSE BROADBAND, INC.                                     2580 N. 1ST                    SUITE 400                                                  SAN JOSE       CA      95131                          Trade Payable                                                 No               105.00
  3.217 HISENSE BROADBAND, INC.                                     800 W 5TH AVE STE 201A                                                                    NAPERVILLE     IL      60563                          GRNI Claim           X             X                          No           845,668.00
  3.218 HOLLAND & KNIGHT LLP                                        524 GRAND REGENCY BLVD                                                                    BRANDON        FL      33510                          Trade Payable                                                 No            56,060.50
  3.219 HOSPITALITY PURVEYORS INC.                                  SANDALS RESORTS                5 KENT AVENUE                                              MONTEGO BAY                         JAMAICA           Customer Credits                                              No                50.23
                                                                    INTERNATIONAL
  3.220 HUA KE SUPPLY CHAIN (HK) LTD                                ROOM 601, FLOOR 6, WEIDA       NO. 8, YUAN AN PING STREET    XIAO LI, SHA TIAN, XIN JIE                                       HONG KONG         Customer Credits                                              No            12,525.80
                                                                    CENTER
  3.221 HUDSON TOWERS AT SHORE                                      PO BOX 82650                                                                              GOLETA         CA      93118-2650                     Trade Payable                                                 No           122,425.64
        CENTER, LLC
  3.222 HYTEC INTER CO., LTD.                                       C/O HYTEC INTER CO.,LTD.       AKIHABARA SF BLDG 8 FL                                     TOKYO                  101-0033     JAPAN             Customer Credits                                              No               289.00

  3.223 ICE SYSTEMS, INC.                                           ICE SYSTEMS, INC.              P.O. BOX 11126                                             HAUPPAUGE      NY      11788                          Trade Payable                                                 No                81.12
  3.224 ICONECTIV, LLC                                              100 SOMERSET CORPORATE                                                                    BRIDGEWATER    NJ      08807-2842                     Trade Payable                                                 No             1,290.00
                                                                    BLVD
  3.225 IDENTIBRANDS POWERED BY                                     23021 N 15TH AVE STE 103                                                                  PHOENIX        AZ      85027-1358                     Trade Payable                                                 No               688.44
        PROFORMA
  3.226 IMPERIUM DATA NETWORKS,                                     8508 BENJAMIN RD STE D.                                                                   TAMPA          FL      33634                          Customer Credits                                              No               113.10
        LLC
  3.227 INFINERA CORPORATION                                        6373 SAN IGNACIO AVE                                                                      SAN JOSE       CA      95119-1200                     Trade Payable                                                 No            19,924.70
  3.228 INFINITY BROADBAND LTD                                      409 WALKERS ROAD               GEORGE TOWN                                                GRAND CAYMAN           KY1-1201     CAYMAN ISLANDS    Extended             X             X                          No             7,576.50
                                                                                                                                                                                                                    Warranty
  3.229 INFORMA CONNECT LIMITED                                     SUITE N, THE OCTAGON           27 MIDDLEBOROUGH                                           COLCHESTER             CO1 1TG      UNITED KINGDOM    Trade Payable                                                 No             8,629.54
  3.230 INFORMA TECH LLC (DBA                                       PO BOX 745426                                                                             ATLANTA        GA      30374-5426                     Trade Payable                                                 No           103,668.50
        OMDIA)
  3.231 INFORMA TELECOMS & MEDIA                                    5 HOWICK PLACE                                                                            LONDON                 SW1P 1 WG UNITED KINGDOM       Trade Payable                                                 No            17,955.00
  3.232 INFRANUM                                                    11-17 RUE DE L AMIRAL          HAMELIN                                                    PARIS                  75116     FRANCE               Trade Payable                                                 No             5,878.27
  3.233 INGRAM MICRO (N.Z) LIMITED                                  78 APOLLO DRIVE                PRIVATE BAG 102-921           AUCKLAND, NEW ZEALAND        ROSEDALE               0632      NEW ZEALAND          Customer Credits                                              No           177,655.78

  3.234 INGRAM MICRO INC.                                           C/O VOX NETWORK SOLUTIONS 250 E GRAND AVE STE 55             REF NBR: P10700              SOUTH SAN      CA      94080                          Customer Credits                                              No             2,814.34
                                                                                                                                                              FRANCISCO
  3.235 INNOSYSTEM AG                                               REBGASSE 12                                                                               ZEININGEN              4314         SWITZERLAND       GRNI Claim           X             X                          No            64,734.55
  3.236 Innosystem AG                                               REBGASSE 12                                                                               ZEININGEN              4314         SWITZERLAND       Trade Payable                                                 No            33,184.95
  3.237 INSTA TELECOM LIMITED                                       HOUSE NO. 40 WAZIR AKBAR       ROAD MAIN STREET                                           KABUL                               AFGHANISTAN       Customer Credits                                              No                92.26
                                                                    KHAN
  3.238 INTERBEL TELEPHONE                                          300 DEWEY AVE                                                                             EUREKA         MT      59917                          Customer Credits                                              No               228.40

  3.239 INTERCONNECT CABLE                                          16090 FLIGHT PATH DR                                                                      BROOKSVILLE    FL      34604-6824                     Trade Payable                                                 No             9,675.68
  3.240 INTERNATIONAL                                               PLACE DES NATIONS                                                                         SWITZERLAND            1211         SWITZERLAND       Trade Payable                                                 No               748.28
        TELECOMMUNICATION UNION
  3.241 INTERTEK TESTING SERVICES                                   1950 EVERGREEN BLVD.           SUITE 100                                                  DULUTH         GA      30096                          Trade Payable                                                 No             2,600.00
        NA, INC.
  3.242 INTERTRUST BANK (CAYMAN)                                    CAYMAN HARBOUR PLACE, 4TH 103 SOUTH CHURCH ST                                             GRAND CAYMAN                        CAYMAN ISLANDS    Trade Payable                                                 No             6,654.00
        LIMITED                                                     FLR
  3.243 IPXI LEGACY PLACE                                           3843 W CHESTER PIKE                                                                       NEWTOWN        PA      19073-2304                     Trade Payable                                                 No           213,732.63
        INVESTORS, LLC                                                                                                                                        SQUARE
  3.244 IT&IS MACHINE SHOP                                          5-6916 MCKEOWN DR                                                                         GREELY         ON      K4P 1A2      CANADA            Trade Payable                                                 No               393.46
  3.245 ITV-3, INC                                                  I3 BROADBAND                   808 DENNISON DR                                            CHAMPAIGN      IL      61820                          Extended             X             X                          No            58,459.06
                                                                                                                                                                                                                    Warranty
  3.246 JABIL TECHNOLOGIES (WUHAN)                                  GREAT WALL INNOVATIVE      SCIENCE & TECHNOLOGY              HIGH-TECH, DEVELOPMENT       WUHAN          PC      430223       CHINA             GRNI Claim           X             X                          No           415,697.60
        LTD                                                                                    PARK, EASTLAKE                    ZONE
  3.247 JABIL TECHNOLOGIES (WUHAN)                                  GREAT WALL INNOVATIVE      SCIENCE & TECHNOLOGY              HIGH-TECH, DEVELOPMENT       WUHAN          PC      430223       CHINA             Trade Payable                                                 No         1,021,915.79
        LTD                                                                                    PARK, EASTLAKE                    ZONE
  3.248 JABIL TECHNOLOGY (WUHAN)                                    #3 GREAT WALL INNOVATIVE   EASTLAKE HIGH-TECH,                                            WUHAN                  430223       CHINA             Customer Credits                                              No             7,353.69
        LTD                                                         SCIENCE & TECHNOLOGY PARK, DEVELOPMENT ZONE,

  3.249 JALAN INTER CONTINENTAL                                     9C, LORD SINHA ROAD            KOLKATA - 700 071                                          WEST BENGAL                         INDIA             Customer Credits                                              No               847.22
        HOTELS PRIVATE LIMITED
  3.250 JAMS, INC.                                                  18881 VON KARMAN AVE STE                                                                  IRVINE         CA      92612-6589                     Trade Payable                                                 No            40,000.00
                                                                    350
  3.251 JASON SHIM                     C/O COCHRAN LAW PLLC         8140 WALNUT HILL LN. SUITE                                                                DALLAS         TX      75231                          Litigation Claim     X             X             X            No                 0.00
                                                                    250
  3.252 JASON SHIM                     C/O THE ROSEN LAW FIRM, P.A. ATTN PHILIP KIM                275 MADISON AVE, 40TH FLOOR                                NEW YORK       NY      10116                          Litigation Claim     X             X             X            No                 0.00

  3.253 JIPYONG LLC                                                 26F, GRAND CENTRAL A           14 SEJONG-DAERO                                            JUNG-GU                04527        KOREA, REPUBLIC   Trade Payable                                                 No            99,741.00
                                                                                                                                                                                                  OF




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  ID    Creditor's Name                Attention                   Address 1                       Address 2                   Address 3                City             State   ZIP          Country          Basis for Claim                                            Offset?     Total Claim
  3.254 JONES LANG LASALLE                                         71700 TREASURY CENTER                                                                CHICAGO          IL      60694-0001                    Trade Payable                                                 No            45,618.19
        BROKERAGE, INC.
  3.255 JSPLUMB PTY LTD                                            SUITE 2107, 187 LIVERPOOL ST.                                                        SYDNEY                   2000         AUSTRALIA        Trade Payable                                                 No             3,190.00
  3.256 K&L GROUP, INC.                                            2067 APA RD                                                                          POINT ROBERTS    WA      98281-8802                    Trade Payable                                                 No            67,158.00
  3.257 K.M.A ADVANCED                                             HATAKHANA 64 ,BINYAMINA-                                                             BINYAMIN                 30500        ISRAEL           Customer Credits                                              No               624.00
        TECHNOLOGIES LTD                                           GIV'AT ADA ISRAEL
  3.258 KAI UEBACH                                                 [ADDRESS NOT PROVIDED]                                                                                                                      Litigation Claim     X             X             X            No                0.00
  3.259 KANOKLA TELEPHONE                                          PO BOX 111                                                                           CALDWELL         KS      67022                         Extended             X             X                          No               83.03
        ASSOCIATION                                                                                                                                                                                            Warranty
  3.260 KBA DOCUMENT SOLUTIONS,                                    PO BOX 31001-2882                                                                    PASADENA         CA      91110-0001                    Trade Payable                                                 No             1,290.15
        LLC
  3.261 KEITH LINK                     C/O THE BRISCO LAW FIRM,    ATTN WILLIE C. BRISCOE          12700 PARK CENTRAL DRIVE,                            DALLAS           TX      75251                         Litigation Claim     X             X             X            No                 0.00
                                       PLLC                                                        SUITE 520
  3.262 KELLEY DRYE & WARREN LLP                                   3 WORLD TRADE CENTER            175 GREENWICH ST                                     NEW YORK         NY      10007-2439                    Trade Payable                                                 No             2,345.50
  3.263 KEYMILE LTDA.                                              RUA VICTOR CIVITA 55 BL 6 GR                                                         RIO DE JANEIRO                        BRAZIL           Intercompany                                                  No            36,280.00
                                                                   607                                                                                                                                         Payable
  3.264 KEYS PAYROLL                                               17 ROAD 210, DEGLA, MAADI                                                            CAIRO                                 EGYPT            Trade Payable                                                 No            24,517.58
  3.265 KHAITAN & CO LLP                                           3RD FLOOR, EMBASSY QUEST, MAGRATH ROAD                                               BANGALORE                560025       INDIA            Trade Payable                                                 No               425.00
                                                                   45/1
  3.266 KLEINSCHMIDT                                               450 LAKE COOK RD                                                                     DEERFIELD        IL      60015-5510                    Trade Payable                                                 No             2,843.11
  3.267 KOH YOUNG AMERICA, INC.                                    1950 EVERGREEN BLVD STE 200                                                          DULUTH           GA      30096-9079                    Trade Payable                                                 No             5,200.00

  3.268   KPMG LLP.                                                PO BOX 120754                                                                        DALLAS           TX      75312-0754                    Trade Payable                                                 No          276,556.00
  3.269   LABEL-AID SYSTEMS, INC.                                  104 CELTIC CIR                                                                       MADISON          AL      35758                         GRNI Claim           X             X                          No              105.55
  3.270   LABEL-AID SYSTEMS, INC.                                  104 CELTIC CIR                                                                       MADISON          AL      35758-1837                    Trade Payable                                                 No            2,808.30
  3.271   LAFC SPORTS,LLC                                          3939 S FIGUEROA ST                                                                   LOS ANGELES      CA      90037                         Customer Credits                                              No            2,000.00

  3.272 LAIRD TECHNOLOGIES                                         16401 SWINGLEY RIDGE RD                                                              CHESTERFIELD     MO      63017                         GRNI Claim           X             X                          No              389.00
        (FORMERLY INSTRUMENT                                       STE 700
        SPECIALTIES)
  3.273 LAIRD TECHNOLOGIES                                         16401 SWINGLEY RIDGE RD                                                              CHESTERFIELD     MO      63017-0744                    Trade Payable                                                 No             6,410.00
        (FORMERLY INSTRUMENT                                       STE 700
        SPECIALTIES)
  3.274 LANDSBERG ORORA                                            8311 CENTRAL AVE                                                                     NEWARK           CA      94560-3433                    Trade Payable                                                 No             1,500.00
  3.275 LAUGHLIN AFB                                               477 4TH ST STE 4                SIMON 830-298-4502                                   LAUGHLIN AFB     TX      78843                         Customer Credits                                              No               576.49

  3.276 LEADTAIL INC                                               25 NW 23RD PLACE             SUITE 6 #311                                            PORTLAND         OR      97210                         Trade Payable                                                 No            15,000.00
  3.277 LIBERTY IBEROAMERICA, S.L.U.                               P.H. PLAZA DEL ESTE, AVENIDA BOULEVARD COSTA DEL ESTE       PARQUE LEFEVRE BOROUGH   PANAMA CITY                           PANAMA           Customer Credits                                              No            17,401.26
                                                                   CENTENIAL
  3.278   LIBERTY TELECOM                                          1116 JOHNATHAN FORK RD                                                               LIBERTY          KY      42539-5541                    Trade Payable                                                 No            73,500.00
  3.279   LILAC COMMUNICATIONS INC                                 1550 WEWATTA ST              SUITE 710                                               DENVER           CO      80202                         Trade Payable                                                 No             4,700.00
  3.280   LINKEDIN CORPORATION                                     1000 W MAUDE AVE                                                                     SUNNYVALE        CA      94085-2810                    Trade Payable                                                 No            24,584.62
  3.281   LTC NETWORKS                                             1001 KENTUCKY ST                                                                     PRINCETON        MO      64673                         Extended             X             X                          No               118.18
                                                                                                                                                                                                               Warranty
  3.282 LUMENTUM OPERATIONS LLC                                    1001 RIDDER PARK DR                                                                  SAN JOSE         CA      95131-2314                    Trade Payable                                                 No            14,849.80
  3.283 MANPOWER INC.                                              21271 NETWORK PL                                                                     CHICAGO          IL      60673                         GRNI Claim           X             X                          No            84,745.31
  3.284 MANTI TELEPHONE COMPANY                                    40 W UNION ST                                                                        MANTI            UT      84642                         Extended             X             X                          No               164.57
                                                                                                                                                                                                               Warranty
  3.285   MAPUSOFT TECHNOLOGIES INC                                2455 STAPLES RD                                                                      MOBILE           AL      36605-4532                    Trade Payable                                                 No               720.00
  3.286   MARVIN TEST SOLUTIONS INC                                1770 KETTERING                                                                       IRVINE           CA      92614                         Trade Payable                                                 No             3,422.00
  3.287   MASTER ELECTRONICS                                       1220 OLYMPIC BLVD.                                                                   SANTA MONICA     CA      90404                         Trade Payable                                                 No             8,298.00
  3.288   MDCC MAGDEBURG CITY-COM                                  WEITLINGSTR 22                                                                       MAGDEBURG                39104        GERMANY          Customer Credits                                              No               664.60
          GMBH
  3.289   MEDIA DEFINED INC.                                       PO BOX 140126                                                                        DALLAS           TX      75214-0126                    Trade Payable                                                 No              215.76
  3.290   MEDIANT COMMUNICATIONS                                   PO BOX 29976                                                                         NEW YORK         NY      10087-9976                    Trade Payable                                                 No              485.96
  3.291   MEDICINE PARK TELEPHONE                                  ONE BIG ROCK BOULEVARD          PO BOX 171                                           MEDICINE PARK    OK      73557                         Customer Credits                                              No              231.35
          COMPANY
  3.292   MEGA ELECTRONICS INC                                     4B JULES LANE                                                                        NEW BRUNSWICK NJ         08901                         GRNI Claim           X             X                          No             2,780.00

  3.293 MEKONGNET                                                  BUILDING #95, 4TH FLOOR,                                    KHM                      PHNOM PENH               00855        CAMBODIA         Customer Credits                                              No              162.00
                                                                   NORODOM BLVD
  3.294 MICROCHIP TECHNOLOGY INC.                                  2355 W CHANDLER BLVD                                                                 CHANDLER         AZ      85224                         GRNI Claim           X             X                          No            26,736.30
  3.295 MICROCHIP TECHNOLOGY INC.                                  2355 W CHANDLER BLVD                                                                 CHANDLER         AZ      85224-6199                    Trade Payable                                                 No             9,190.40
  3.296 MID-HUDSON CABLE                                           207 JEFFERSON HEIGHTS                                                                CATSKILL         NY      12414                         Customer Credits                                              No            26,390.42

  3.297 MMX COMMUNICATIONS                                         UNIT 100, SOLAR PARK,                                                                SOLIHULL                 B90 4SH      UNITED KINGDOM   Trade Payable                                                 No            93,661.67
        SERVICES LTD                                               HIGHLANDS ROAD
  3.298 MOBINIL FOR IMPORTING                                      BUILDING B126-B                 SMART VILLAGE, KILO 29 CAIRO ALEXANDRA ROAD          GIZA                                  EGYPT            Customer Credits                                              No            15,490.74

  3.299 MORGAN STANLEY & CO LLC.       ATTN: BANKING OPERATIONS-   1300 THAMES ST FL 4                                                                  BALTIMORE        MD      21231-3495                    Trade Payable                                                 No            63,816.68
                                       STOCK OPTI
  3.300 MOTION MICRO SOLUTIONS                                     4017 CARLING AVENUE             SUITE 101                                            KANATA           ON      K2K 2A3      CANADA           Trade Payable                                                 No            40,535.04




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  ID    Creditor's Name                  Attention              Address 1                     Address 2                      Address 3                  City            State     ZIP          Country           Basis for Claim                                            Offset?     Total Claim
  3.301 MOTOROLA SOLUTIONS INC                                  C/O CONSOLIDATION CNTR        EXPEDITORS INTERNATIONAL       849 THOMAS DRIVE           BENSENVILLE     IL        60106                          Customer Credits                                              No               544.05

  3.302 MOURI TECH LLC                                          1183 W JOHN CARPENTER FWY                                                               IRVING          TX        75039                          Trade Payable                                                 No          207,731.70
  3.303 MOUSER ELECTRONICS, INC.                                1810 GILLISPIE WAY        SUITE 101                                                     EL CAJON        CA        92020                          GRNI Claim           X             X                          No           13,139.27
  3.304 MULTILANE INC                                           48521 WARM SPRINGS BLVD                                                                 FREMONT         CA        94539-7792                     Trade Payable                                                 No           10,536.89
                                                                STE 310
  3.305 MYAKKA COMMUNICATIONS                                   C/O ZHONE TECHNOLOGIES    7195 OAKPORT ST                                               OAKLAND         CA        94621                          Customer Credits                                              No             8,417.42
                                                                INC.
  3.306 NAC GROUP, INC. DBA NEW                                 1790 COMMERCE AVE N                                                                     SAINT           FL        33716-4211                     Trade Payable                                                 No              451.20
        ADVANTAGE CORP.                                                                                                                                 PETERSBURG
  3.307 NATCO COMMUNICATIONS INC.                               301 E MAIN ST                                                                           FLIPPIN         AR        72634                          Customer Credits                                              No              866.55

  3.308 NATIVE NETWORK, INC.                                    250 E PENNY RD STE 200                                                                  WENATCHEE       WA        98801                          Customer Credits                                              No               19.77

  3.309 NCC GROUP                                               1731 TECHNOLOGY DR.        SUITE 880                                                    SAN JOSE        CA        95110                          Trade Payable                                                 No             6,255.00
  3.310 NDS LEASING                                             1111 OLD EAGLE SCHOOL ROAD                                                              WAYNE           PA        19087                          Trade Payable                                                 No             1,821.72

  3.311 NERA ECONOMIC CONSULTING                                PO BOX 7427-6754                                                                        PHILADELPHIA    PA        19170                          Trade Payable                                                 No            49,210.00
  3.312 NETCOMM WIRELESS PTY LTD                                LEVEL 1, 18-20 ORION ROAD                                                               LANE COVE       NSW       2066         AUSTRALIA         Intercompany                                                  No        11,388,843.00
                                                                                                                                                                                                                 Payable
  3.313 NETLIST, INC.                                           175 TECHNOLOGY DR STE 150                                                               IRVINE          CA        92618                          GRNI Claim           X             X                          No            22,875.00
  3.314 NETLIST, INC.                                           175 TECHNOLOGY DR STE 150                                                               IRVINE          CA        92618-2479                     Trade Payable                                                 No            79,300.00
  3.315 Neumann & Muller GmbH & Co. KG                          DEUTZ-MULHEIMER STRABE 165                                                              KOLN                      51063        GERMANY           Trade Payable                                                 No             2,170.57

  3.316 NEWROADS TELECOM                                        C/O ZHONE TECHNOLOGIES,       7195 OAKPORT ST                                           OAKLAND         CA        94621                          Customer Credits                                              No              781.25
                                                                INC
  3.317 NFOC                                                    ROAD NO 1                     SOMCABLE HQ, FLOOR 1                                      HARGEISA        SOMALIL                SOMALIA           Customer Credits                                              No             5,924.80
                                                                                                                                                                        AND
  3.318 N-ITUS CO.,LTD                                          4F 153-8, LS-RO, GUNPO-SI                                                               GUNPO,                    15808        KOREA, REPUBLIC   Trade Payable                                                 No         1,223,812.87
                                                                                                                                                        GYEONGGI                               OF
  3.319 NOLATO SILIKONTEKNIK                                    ROOM 209, 2ND FLOOR, BLDG     EAST RONGCHANG RD              BEIJING DEVELOPMENT AREA   BEIJING                   100176       CHINA             GRNI Claim           X             X                          No             1,379.04
        (BEIJING) CO., LTD.                                     208, 7#
  3.320 NORMAN FAUST                     C/O ROGGE DUNN GROUP   ATTN ROGGE DUNN               500 N. AKARD ST., SUITE 1900                              DALLAS          TX        75201                          Litigation Claim     X             X             X            No                 0.00
  3.321 NORTH WEBER & BAUGH LLP                                 2251 GRANT RD STE H                                                                     LOS ALTOS       CA        94024-6958                     Trade Payable                                                 No            46,494.60
  3.322 NORTHWESTEL                                             183 RANGE RD                                                                            WHITEHORSE      YT        Y1A 3E5      CANADA            Customer Credits                                              No               571.14

  3.323 NORVADO                                                 43705 US HIGHWAY 63                                                                     CABLE           WI        54821                          Extended             X             X                          No             5,169.57
                                                                                                                                                                                                                 Warranty
  3.324 NOTARÍA JUAN AZNAR DE LA                                PLAZA DEL MARQUÉS DE                                                                    MADRID                    28006        SPAIN             Trade Payable                                                 No             1,130.54
        HAZA                                                    SALAMANCA 9, 2
  3.325 NOVOS FIBER                                             3100 OLYMPUS BLVD,            SUITE 410                                                 DALLAS          TX        75019                          Customer Credits                                              No              175.00

  3.326 NTS COMMUNICATIONS                                      5307 W LOOP 289               STE 306                                                   LUBBOCK         TX        79414                          Customer Credits                                              No             1,293.53

  3.327 O.C.E. ELECTRONICS LIMITED                              26 CONCOURSE GATE-UNIT 7                                                                NEPEAN          ON        K2E 7T7      CANADA            Trade Payable                                                 No              498.75
  3.328 OCTOTEL PTY LTD                                         UNIT 17 GALLAGHER PLACE, 16                                                             MIDRAND                                SOUTH AFRICA      Customer Credits                                              No          257,382.29
                                                                SUTTIE AVENUE
  3.329 OMEGA GLOBAL                                            19 GREAT OAKS BLVD            SUITE #30                                                 SAN JOSE        CA        95119                          Trade Payable                                                 No              900.00
        TECHNOLOGIES INC
  3.330 ONE COMMUNICATIONS                                      BRICKDAM, GEORGETOWN          PO BOX 10628                                              GEORGETOWN                             GUYANA            Customer Credits                                              No            12,603.01
        (GUYANA) INC.
  3.331 OPEN TELECOM, INC.                                      803 DAERYUNG TECHNOTWON       GASAN DIGITAL 1-RO,                                       SEOUL                     08594        KOREA, REPUBLIC   GRNI Claim           X             X                          No            13,825.63
                                                                II, 33-33                     KUMCHEON-KU                                                                                      OF
  3.332   OPENSCORING OU                                        PÕLLU 9                                                                                 KILINGI-NÕMME             86304        ESTONIA           Trade Payable                                                 No             7,850.00
  3.333   ORACLE AMERICA, INC.                                  500 ORACLE PKWY                                                                         REDWOOD CITY    CA        94065-1677                     Trade Payable                                                 No         1,686,628.12
  3.334   O-RAN Alliance e.V.                                   BUSCHKAULER WEG 27                                                                      ALFTER                    53347        GERMANY           Trade Payable                                                 No            25,000.00
  3.335   PACIFIC HOSPITALITY GROUP                             2532 DUPONT DR                                                                          IRVINE          CA        92612                          Customer Credits                                              No             1,000.00

  3.336 PARAGOULD LIGHT WATER                                   CABLE DEPARTMENT              1901 JONES RD                                             PARAGOULD       AR        72450                          Extended             X             X                          No             2,550.09
        AND CABLE                                                                                                                                                                                                Warranty
  3.337 PASTELS INC.                                            GIL PUYAT AVE CORNER CHINO                                                              MAKATI CITY               1200         PHILIPPINES       Customer Credits                                              No             1,746.20
                                                                ROCES AVE, COMFOODS BLDG
                                                                ROOM 515
  3.338 PAYMENT PROCESSING                                      237 HANBURY ROAD E         SUITE 17-357                                                 CHESAPEAKE      VA        23322                          Trade Payable                                                 No            15,141.94
        SERVICES LLC
  3.339 PCAOB                                                   1666 K ST. NW                                                                           WASHINGTON      DC        20006                          Trade Payable                                                 No             4,800.00
  3.340 PEND OREILLE PUBLIC                                     130 NORTH WASHINGTON                                                                    NEWPORT         WA        99156                          Extended             X             X                          No               860.02
        UTILITIES DISTRICT                                                                                                                                                                                       Warranty
  3.341 PEND OREILLE TELEPHONE                                  110 W PINE ST                                                                           NEWPORT         WA        99156                          Customer Credits                                              No              194.65

  3.342 PEPPER SQUARE INC.                                      13355 NOEL RD STE 1100                                                                  DALLAS          TX        75240-6694                     Trade Payable                                                 No             1,764.00
  3.343 PERFICIENT, INC.                                        555 MARYVILLE UNIVERSITY                                                                SAINT LOUIS     MO        63141                          Litigation Claim     X             X             X            No                 0.00
                                                                DRIVE, SUITE 600




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                                                                                                                                                                                                                                                                      Subject to
  ID    Creditor's Name                Attention                  Address 1                       Address 2                  Address 3                City            State   ZIP          Country          Basis for Claim                                            Offset?     Total Claim
  3.344 PERFICIENT, INC.               C/O SPENCER FANE LLP       ATTN LAURIE PATTON              5700 GRANITE PARKWAY,                               PLANO           TX      75024                         Litigation Claim     X             X             X            No                  0.00
                                                                                                  SUITE 650
  3.345   PHD COMMUNICATIONS, LLC                                 4951 AIRPORT PKWY STE 770                                                           ADDISON         TX      75001-6062                    Trade Payable                                                 No             6,820.68
  3.346   PHOTO ETCH TECHNOLOGY                                   71 WILLIE ST.                                                                       LOWELL          MA      01854                         Trade Payable                                                 No             1,025.00
  3.347   Photonwares corporation                                 15 PRESIDENTIAL WAY                                                                 WOBURN          MA      01801-1040                    Trade Payable                                                 No             7,800.00
  3.348   PLUME DESIGN, INC.                                      325 LYTTON AVE                                                                      PALO ALTO       CA      94301                         Litigation Claim     X             X             X            No                 0.00
  3.349   PLUME DESIGN, INC.           C/O ABRAMS & BAYLISS LLP   ATTN J. PETER SHINDEL, JR. 20 MONTCHANIN ROAD, SUITE                                WILMINGTON      DE      19807                         Litigation Claim     X             X             X            No                 0.00
                                                                  AND MATTHEW L. MILLER      200
  3.350 POLYRACK NORTH AMERICA                                    1600 HIGHLAND CORPORATE DR                                                          CUMBERLAND      RI      02864                         GRNI Claim           X             X                          No               715.00
        CORP.
  3.351 POLYRACK NORTH AMERICA                                    1600 HIGHLAND CORPORATE DR                                                          CUMBERLAND      RI      02864-1798                    Trade Payable                                                 No            28,500.00
        CORP.
  3.352 POTTER ANDERSON &                                         1313 N MARKET ST STE 600                                                            WILMINGTON      DE      19801-6101                    Trade Payable                                                 No            71,245.98
        CORROON LLP
  3.353 POWER SOLUTIONS LLC                                       P.O. BOX 100                                                                        BARRINGTON      RI      02806                         GRNI Claim           X             X                          No            17,718.00
  3.354 POWERTEC SOLUTIONS                                        44 REVOLUTION DR                                                                    FRANKLIN        KY      42134-4006                    Trade Payable                                                 No            68,796.00
        INTERNATIONAL, LLC
  3.355 POWER-WIN TECHNOLOGY                                      5F-6, NO. 79. SEC. 1            HSIN-TAI 5TH RD, SHI-CHI                            TAIPEI HSIEN            22101        TAIWAN           GRNI Claim           X             X                          No            31,311.04
        CORP.
  3.356 PPC BROADBAND, INC.                                       29031 NETWORK PL                                                                    CHICAGO        IL       60673                         GRNI Claim           X             X                          No            13,373.00
  3.357 PPC BROADBAND, INC.                                       29031 NETWORK PL                                                                    CHICAGO        IL       60673-1290                    Trade Payable                                                 No            45,287.55
  3.358 PROCOM                                                    452 CASTEEL RD                                                                      BRUCETON MILLS WV       26525                         Customer Credits                                              No               309.09

  3.359 PROCOM                                                    452 CASTEEL RD                                                                      BRUCETON MILLS WV       26525                         Extended             X             X                          No               172.36
                                                                                                                                                                                                            Warranty
  3.360 PROPER HOTEL                                              11372 PONDHURST WAY                                                                 RIVERSIDE       CA      92505                         Customer Credits                                              No             1,000.00

  3.361 PROSCEND COMMUNICATIONS                                   2F, NO.36, INDUSTRY E. RD. IV                                                       HSINCHU                 300093       TAIWAN           GRNI Claim           X             X                          No            45,000.00
        INC
  3.362 PROTEK COMPANY PVT LTD                                    H.NORIGHT 4FL,                                                                      MALE                                 MALDIVES         Customer Credits                                              No               366.83
                                                                  LONUZIYAARAIYMAGU,
  3.363 PRUDENTIAL TECHNOLOGY CO                                  1202#，NO.18, BU LONG ROAD                                                                                   00000        CHINA            GRNI Claim           X             X                          No           125,542.14
        LTD
  3.364 PRUDENTIAL TECHNOLOGY CO                                  1202#，NO.18, BU LONG ROAD                                                           SHEN ZHEN               00000        CHINA            Trade Payable                                                 No         1,203,829.71
        LTD
  3.365 PRYOR METALS LTD                                          2623 FENTON ROAD                                                                    OTTAWA          ON      K1T 3T8      CANADA           Trade Payable                                                 No            34,547.98
  3.366 PSW-UMFORMTECHNIK GMBH                                    AM STADION 9                                                                        ELZE                    31008        GERMANY          GRNI Claim           X             X                          No            85,139.10
  3.367 PULSE ELECTRONICS INC.                                    15255 INNOVATION DR STE 100                                                         SAN DIEGO       CA      92128-3410                    Trade Payable                                                 No             1,617.98
  3.368 PYLON ELECTRONICS INC.                                    6355 DANVILLE RD #10                                                                MISSISSAUGA     ON      L5T 2L4      CANADA           Trade Payable                                                 No             2,046.40
  3.369 QCOL INC                                                  PO BOX 7                                                                            MARKLEYSBURG    PA      15459                         Extended             X             X                          No               714.36
                                                                                                                                                                                                            Warranty
  3.370 QUANTA CLOUD TECHNOLOGY                                   1010 RINCON CIRCLE                                                                  SAN JOSE        CA      95131                         Trade Payable                                                 No            34,100.00
        USA LLC
  3.371 QUANTUM                                                   2975B MANCHESTER RD                                                                 MANCHESTER      MD      21102                         Extended             X             X                          No                13.13
        TELECOMMUNICATION, INC.                                                                                                                                                                             Warranty
  3.372 QUEST FORUM                                               1310 N COURTHOUSE RD STE                                                            ARLINGTON       VA      22201-2596                    Trade Payable                                                 No            13,200.00
                                                                  890
  3.373 QUESTEX LLC                                               685 3RD AVE FL 21                                                                   NEW YORK        NY      10017-4145                    Trade Payable                                                 No             9,750.00
  3.374 QUILL LLC                                                 100 SCHELTER RD                                                                     LINCOLNSHIRE    IL      60069-3602                    Trade Payable                                                 No               109.86
  3.375 R. BRAD MURANO DBA VETRO                                  15799 SPECTRUM DR                                                                   ADDISON         TX      75001-6340                    Trade Payable                                                 No            36,451.06
        PICTURES
  3.376 RCHILLI                                                   2603 CAMINO RAMON               SUITE 272                                           SAN RAMON       CA      94583                         Trade Payable                                                 No             9,000.00
  3.377 REBOUND TECHNOLOGY                                        RIVERGATE HOUSE                 NEWBURY BUSINESS PARK                               LONDON,                 RG14 2PZ     UNITED KINGDOM   Trade Payable                                                 No             6,916.25
        GROUP HOLDINGS LTD                                                                                                                            NEWBURY
  3.378 RED WOOD TECHNOLOGIES,         C/O DAVID PRIDHAM, DOMINION 200 CRESCENT COURT, SUITE                                                          DALLAS          TX      75201                         Litigation Claim     X             X             X            No                 0.00
        LLC                            HARBOR GROUP                1550
  3.379 RED WOOD TECHNOLOGIES,                                     812 WEST MCDERMOTT DRIVE,                                                          ALLEN           TX      75013                         Litigation Claim     X             X             X            No                 0.00
        LLC                                                        #1038
  3.380 REDIS INC                                                  303 2ND ST                     NORTH TOWER STE 525                                 SAN FRANCISCO   CA      94107                         Trade Payable                                                 No            21,974.76
  3.381 RELX INC dba LEXISNEXIS                                    P.O. BOX 9584                                                                      BRONX           NY      10087                         Trade Payable                                                 No               399.75
  3.382 RHENUS WAREHOUSING                                         915 AIRTECH PKWY STE 198                                                           PLAINFIELD      IN      46168-7459                    Trade Payable                                                 No             5,169.71
        SOLUTIONS IND LLC
  3.383 RICHARDS LAYTON & FINGER                                  920 NORTH KING STREET                                                               WILMINGTON      DE      19801                         Trade Payable                                                 No            75,968.00
        PA
  3.384 RIFTIO INDIA PRIVATE LIMITED                              3/C, 7TH C MAIN RD              KORAMANGALA 1A BLOCK,      KORAMANGALA, BENGALURU   KARNATAKA               560034       INDIA            Intercompany                                                  No           709,765.00
                                                                                                  KORAMANGALA 3 BLOCK                                                                                       Payable
  3.385 ROCHESTER NETWORK                                         1319 RESEARCH FOREST                                                                MACEDON         NY      14502                         Trade Payable                                                 No             7,377.29
        SUPPLY INC DBA ROCNET
        SUPPLY
  3.386 ROCKWELL COOPERATIVE                                      C/O ZHONE TECHNOLOGIES,         7195 OAKPORT ST                                     OAKLAND         CA      94621                         Customer Credits                                              No             2,115.37
        TELEPHONE ASSOCIATION                                     INC.
  3.387 ROSENBERGER SITE                                          MAYERHOFEN 45A                                                                      LAUFEN                  83410        GERMANY          Trade Payable                                                 No             1,892.25
        SOLUTIONS GMBH




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                                                                                                 Creditors Who Have Non-Priority     44 Claims
                                                                                                                                 Unsecured of 279




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  ID    Creditor's Name              Attention        Address 1                      Address 2                   Address 3                  City            State    ZIP          Country           Basis for Claim                                            Offset?     Total Claim
  3.388 ROUSE & CO INTERNATIONAL                      26/F, TESBURY CENTRE           28 QUEEN’S ROAD EAST                                   WAN CHAI                              HONG KONG         Trade Payable                                                 No              1,066.35
        (OVERSEAS) LIMITED
  3.389 ROYAL BANK OF CANADA                          LEASE ADMINISTRATION           5575 NORTH SERVICE RD       SUITE 300                  BURLINGTON      ON       L7L 6M1      CANADA            Customer Credits                                              No            13,435.60

  3.390 RSM US LLP                                    5155 PAYSPHERE CIRCLE                                                                 CHICAGO         IL       60674-0001                     Trade Payable                                                 No           430,290.00
  3.391 RUSGEN COMPANY                                2-5225 ORBITOR DR                                                                     MISSISSAUGA     ON       L4W 4Y8      CANADA            Trade Payable                                                 No             7,171.15
        INCORPORATED, O/A BAKNOR ,
        INTELATECH
  3.392 SAGER ELECTRONICS                             474 S NORTH LAKE BLVD          SUITE 1024                                             ALTAMONTE     FL         32701                          Trade Payable                                                 No             1,313.68
                                                                                                                                            SPRINGS
  3.393 SAGEVIEW ADVISORY GROUP,                      4000 MACARTHUR BLVD STE                                                               NEWPORT BEACH CA         92660-2538                     Trade Payable                                                 No            17,792.32
        LLC                                           1050
  3.394 SAIF KHAN                                     6355 ENTERPRISE DRIVE          #406                                                   PROSPER         TX       75033                          Expense                                                       No             2,273.00
                                                                                                                                                                                                    Reimbursement
  3.395 SALARY.COM                                    610 LINCOLN ST STE 200 APT                                                            WALTHAM         MA       02451-2189                     Trade Payable                                                 No            19,721.00
                                                      STE
  3.396 SALESFORCE.COM, INC.                          415 MISSION ST FL 3                                                                   SAN FRANCISCO   CA       94105-2504                     Trade Payable                                                 No           161,546.75
  3.397 SASKTEL                                       2121 SASKATCHEWAN DR, 9TH                                                             REGINA          SK       S4P3Y2       CANADA            Customer Credits                                              No                 1.46
                                                      FLOOR
  3.398 SASKTEL                                       2121 SASKATCHEWAN DR, 9TH                                                             REGINA          SK       S4P3Y2       CANADA            Extended             X             X                          No            88,901.01
                                                      FLOOR                                                                                                                                         Warranty
  3.399 SAY TECHNOLOGIES LLC                          85 WILLOW RD                                                                          MENLO PARK      CA       94025-3656                     Trade Payable                                                 No               577.02
  3.400 SC DEPARTMENT OF REVENUE                      300 OUTLET POINTE BLVD STE A                                                          COLUMBIA        SC       29210-5666                     Trade Payable                                                 No               737.42

  3.401 SCHLEGEL ELECTRONICS                          1600 LEXINGTON AVE STE 236A                                                           ROCHESTER       NY       14606-3062                     Trade Payable                                                 No             9,020.00
        MATERIALS, INC.
  3.402 SCI-NETWORK PLNC                              ERZSEBET KIRALYNE UTJA 125                                                            BUDAPEST                 H-1142       HUNGARY           Customer Credits                                              No               150.00

  3.403 SELECTIVE GIFT INSTITUTE                      PO BOX 100                                                                            LA PORTE        IN       46352-0100                     Trade Payable                                                 No             1,294.19
        DBA AWARDS NETWORK
  3.404 SHENZHEN GONGJIN                              2F/4F BALYING BUILDING`        1019 NANHAI RD.             SHEKOU, SHENZHEN           GUANGDONG                518067       CHINA             GRNI Claim           X             X                          No               530.00
        ELECTRONICS CO., LTD.
  3.405 SHIPCONSOLE LLC                               18 PRIDES CIR                                                                         ANDOVER         MA       01810-4803                     Trade Payable                                                 No            15,600.00
  3.406 SILICON EXPERT                                2975 SCOTT BLVD STE 100                                                               SANTA CLARA     CA       95054-3314                     Trade Payable                                                 No             4,000.00
        TECHNOLOGIES, INC.
  3.407 SILVA ABOGADOS & COMPANIA                     HENDAYA #60,4TH FLOOR          OFFICE 401                                             LAS CONDES               7550000      CHILE             Trade Payable                                                 No             3,640.00
        LIMITADA
  3.408 SILVERIDGE RV RESORT                          8625 E SOUTHERN AVE            PARK OFFICE                                            MESA            AZ       85209                          Customer Credits                                              No             2,112.00

  3.409 SIMONE INTELLECTUAL                           25TH FLOOR, 3 LOCKHART                                                                WANCHAI                               CHINA             Trade Payable                                                 No               150.00
        PROPERTY SERVICES ASIA                        ROAD
        LIMITED
  3.410 SINJI PATENT FIRM                             6 FL 3, TEHERAN-RO 8-GIL,      GU                          124 TEHERAN-RO GANGNAM-GU SEOUL                     06239        KOREA, REPUBLIC   Trade Payable                                                 No             7,931.81
                                                      GANGNAM-                                                                                                                    OF
  3.411 SISVEL                                        71 S. WACKER DR., SUITE 2735                                                          CHICAGO         IL       60606                          Litigation Claim     X             X             X            No                 0.00
  3.412 SKYLANE OPTICS                                RUE DU MOULIN 18                                                                      FRAIRE                   5650         BELGIUM           Customer Credits                                              No             2,686.18

  3.413 SLH TRAVEL CONSULTANT,                        253 OCEAN RESIDENCE CT                                                                SATELLITE       FL       32937-2070                     Trade Payable                                                 No            52,525.00
        DBA GRANDEOS                                                                                                                        BEACH
  3.414 SOCK CLUB ENTERPRISES, LLC                    2200 TILLERY ST UNIT B                                                                AUSTIN          TX       78723-5744                     Trade Payable                                                 No            39,220.99
  3.415 SOCKET TELECOM                                2703 CLARK LANE                                                                       COLUMBIA        MO       65202                          Litigation Claim     X             X             X            No                 0.00
  3.416 SOFTCHOICE CORPORATION                        16609 COLLECTION CENTER DR                                                            CHICAGO         IL       60693-0166                     Trade Payable                                                 No            71,445.11
  3.417 SOULE CO INC                                  4322 PET LN                                                                           LUTZ            FL       33559-6349                     Trade Payable                                                 No             1,997.00
  3.418 SPECTRA X STREAM PVT LTD                      TREASURE TREND HOLDINGS    C/O SPECTRA XSTEAM              068898, 80 ROBINSON ROAD   MALE                     20054        MALDIVES          Customer Credits                                              No               174.56
                                                                                 PVIMINTED MALDIVES              #02-00 SINGAPORE
  3.419 SRS CONSULTING                                IMMEUBLE WALLISA, BUREAU   BP. 9029                                                   PAPEETE         TAHITI   98715        FRENCH            Customer Credits                                              No            10,345.60
                                                      1C                                                                                                                          POLYNESIA
  3.420 SRT COMMUNICATIONS, INC.                      C/O DASAN ZHONE SOLUTIONS, 7195 OAKPORT ST                                            OAKLAND         CA       94621                          Extended             X             X                          No             1,388.51
                                                      INC                                                                                                                                           Warranty
  3.421 ST. MAARTEN                                   P.O. BOX 1110              JP CRAANE CRUISE TERMINAL       POINTE BLANCHE             ST. MAARTEN                           BRAZIL            Extended             X             X                          No             5,712.40
        TELECOMMUNICATION                                                        BLDG.                                                                                                              Warranty
        OPERATING CO N.V.
  3.422 STERLING TALENT SOLUTIONS                     PO BOX 35626                                                                          NEWARK          NJ       07193-5626                     Trade Payable                                                 No               583.99
  3.423 STOCK & OPTION SOLUTIONS,                     1451 ELM HILL PIKE STE 200                                                            NASHVILLE       TN       37210-4559                     Trade Payable                                                 No             1,854.00
        INC.
  3.424 STRATFORD MUTUAL                              1100 TENNYSON AVE                                                                     STRATFORD       IA       50249                          Customer Credits                                              No            14,172.13
        TELEPHONE CO
  3.425 STRYKER REPORTING                             1450 HUGES ROAD                SUITE 230                                              COPPELL         TX       76051                          Trade Payable                                                 No             1,704.32
        SERVICES LLC
  3.426 SUITEBRIAR, INC.                              13800 COPPERMINE RD                                                                   HERNDON         VA       20171-6163                     Trade Payable                                                 No               213.71
  3.427 SUNCALL AMERICA INC                           150 WEST PHILLIPS RD #C                                                               GREER           SC       29650                          Trade Payable                                                 No             2,160.00
  3.428 SUPERONDA                                     AV. PAULO DE FRONTIN, 590      EDIFICIO PLAZA / ATERRADO   VOLTA REDONDA - RJ                                               BRAZIL            Customer Credits                                              No               410.32
        TELECOMUNICACOES LTDA                         TERREO




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  ID    Creditor's Name                 Attention              Address 1                     Address 2                   Address 3               City            State   ZIP          Country        Basis for Claim                                            Offset?     Total Claim
  3.429 SUPERSONIC ISRAEL LTD.                                 48 BEN GURION ST                                                                  HERZLIA                 46446        ISRAEL         Trade Payable                                                 No            12,500.00
  3.430 SW LAW GROUP, P.C.                                     3340 WALNUT AVE STE 120                                                           FREMONT         CA      94538-2215                  Trade Payable                                                 No              3,230.00
  3.431 SYNERGI PARTERS INC                                    PO BOX 5599                                                                       FLORENCE        SC      29502                       Trade Payable                                                 No           368,828.37
  3.432 Syntronic Production Services                          130 IBER ROAD                                                                     STITTSVILLE     ON      K2S 1E9      CANADA         Trade Payable                                                 No                508.50
        Canada Inc.
  3.433 SYNTRONIC RESEARCH AND                                 340 TERRY FOX DRIVE           SUITE 200                                           KANATA          ON      K2K 3A2      CANADA         Trade Payable                                                 No            26,440.64
        DEVELOPMENT CANADA INC.
  3.434 SYSTEMS ENGINEERING OF                                 45 HASSAN AFLATON ST, GOLF    MASAKEN AL MOHANDESIN       CAIRO                   HELIOPOLIS                           EGYPT          Customer Credits                                              No            50,000.00
        EGYPT - SEE                                            GROUND
  3.435 T. MARZETTI CORPORATION                                380 POLARIS PKWY                                                                  WESTERVILLE     OH      43082                       Customer Credits                                              No               270.00

  3.436 TACHUS INFRASTRUCTURE LLC                              3831 TECHNOLOGY FOREST                                                            THE WOODLANDS TX        77381                       Customer Credits                                              No             7,294.86
                                                               BLVD STE 200
  3.437 TACHUS SHENANDOAH,LLC                                  79 WOOD MANOR PL                                                                  THE WOODLANDS TX        77381                       Customer Credits                                              No             1,947.10

  3.438 TAICANG WHOLELINE BONDED                               NO.9 FUQIAO TOWN NORTH                                                            TAICANG                              CHINA          Trade Payable                                                 No             5,595.05
        LOGISTICS CO. LTD                                      CIRCLE ROAD
  3.439 TAIHAN FIBEROPTICS AMERICA                             221 RIVER ST STE 9                                                                HOBOKEN         NJ      07030-5990                  Trade Payable                                                 No           154,338.24
  3.440 TAYLOR TELEPHONE                                       9796 N I-20 ACCESS ROAD                                                           MERKEL          TX      79536                       Extended             X             X                          No            57,128.52
        COOPERATIVE INC                                                                                                                                                                              Warranty
  3.441 TDS TELECOMMUNICATIONS                                 525 JUNCTION ROAD                                                                 MADISON         WI      53717                       Customer Credits                                              No               708.40
        LLC
  3.442 TECH MAHINDRA LIMITED                                  HSBC USA                      452 5TH AVE                                         NEW YORK        NY      10018-2706                  Trade Payable                                                 No           135,972.90
  3.443 TECHNOLOGY CONSERVATION                                705 S EASY ST                                                                     LECANTO         FL      34461-9480                  Trade Payable                                                 No             4,750.00
        GROUP, INC.
  3.444 TELECOM TECHNICIANS, INC.                              6951 19 MILE ROAD                                                                 STERLING        MI      48314-3209                  Trade Payable                                                 No             2,221.00
                                                                                                                                                 HEIGHTS
  3.445 TELECOMMUNICATIONS                                     1310 N COURTHOUSE RD STE                                                          ARLINGTON       VA      22201-2596                  Trade Payable                                                 No            67,340.00
        INDUSTRY ASSOCIATION                                   890
  3.446 TELEFFICIENT SOLUTIONS                                 2111 KEDRON ST                                                                    OSHAWA          ON      L1L1B9       CANADA         Extended             X             X                          No             8,113.30
                                                                                                                                                                                                     Warranty
  3.447 TELEFÓNICA COMPRAS                                     GRAN VÍA, 28 - PLANTA                                                             MADRID                  628013       SPAIN          Trade Payable                                                 No             2,444.27
        ELECTRÓNICAS S.L.
  3.448 TELUS COMMUNICATIONS INC                               TELUS COMMUNICATIONS INC.     7 - 3777 KINGSWAY                                   BURNABY         BC      V5H 3Z7      CANADA         Extended             X             X                          No               871.89
                                                                                                                                                                                                     Warranty
  3.449 TESSCO                                                 3007 EARL RUDDER FWY S                                                            COLLEGE       TX        77845                       Customer Credits                                              No               999.82
                                                                                                                                                 STATION
  3.450 TESTEQUITY INC.                                        2450 TURQUOISE CIRCLE                                                             THOUSAND OAKS CA        91320                       Trade Payable                                                 No             3,584.51
  3.451 THATCHER AND COMPANY, INC.                             59 OAKWOOD AVE                                                                    MONTCLAIR     NJ        07043-1916                  Trade Payable                                                 No           726,249.52

  3.452 THE HACKETT GROUP, INC.                                1001 BRICKELL BAY DR STE                                                          MIAMI           FL      33131-4905                  Trade Payable                                                 No            46,900.00
                                                               3000
  3.453 THE INFORMATION LAB SPAIN                              CALLE PIAMONTE 23                                                                 MADRID                  28004        SPAIN          Trade Payable                                                 No             6,288.00
        SLU
  3.454 THINKSPEED                                             PO BOX 0002                   CENTURY CITY                                        CENTURY CITY,           7446         SOUTH AFRICA   Customer Credits                                              No             5,605.01
                                                                                                                                                 MILNERTON
  3.455 THOMAS HORSTEMEYER LLP                                 3200 WINDY HILL RD SE STE                                                         ATLANTA         GA      30339-5640                  Trade Payable                                                 No            83,949.29
                                                               1600E
  3.456 THOMSON REUTERS (TAX &                                 PO BOX 71687                                                                      CHICAGO         IL      60694-1687                  Trade Payable                                                 No            39,055.96
        ACCOUNTING) INC.
  3.457 THREE PART ADVISORS, LLC                               PO BOX 92698                                                                      SOUTHLAKE       TX      76092-0698                  Trade Payable                                                 No             9,800.00
  3.458 TIN CAN DIGITAL, INC. LLC DBA                          9360 W FLAMINGO RD STE 110                                                        LAS VEGAS       NV      89147-6446                  Trade Payable                                                 No            70,447.36
        C2IT PRODUCTIONS                                       PMB 188
  3.459 TIOPTICS, INC. (FKA TITAN                              15373 INNOVATION DR STE 130                                                       SAN DIEGO       CA      92128-3427                  Trade Payable                                                 No             7,139.25
        PHOTONICS, INC.)
  3.460 TM FORUM                                               181 NEW RD STE 304                                                                PARSIPPANY      NJ      07054-5625                  Trade Payable                                                 No            41,500.00
  3.461 TOC FZE                                                PO BOX 117147                 FIRST ABU DHABI BANK UAE,   WAFI CENTRE, BLDG 47,   DUBAI                                UNITED ARAB    Trade Payable                                                 No            12,020.00
                                                                                             DUBAI HEALTHCARE CITY OPP   OFFICE 303                                                   EMIRATES
                                                                                             TO
  3.462 TOC FZE                                                RAS AL KHAIMA FREE ZHONE                                                          DUBAI                                UNITED ARAB    GRNI Claim           X             X                          No             3,000.00
                                                                                                                                                                                      EMIRATES
  3.463 TORGOVYJ DOM TEHNOLOGIJ                                2TH SPASONALIVKOVSKIY 9       BLDG 2                                              MOSCOW                  119991       RUSSIAN        Customer Credits                                              No            56,313.86
        LLC                                                                                                                                                                           FEDERATION
  3.464 TOYOTA INDUSTRIES                                      PO BOX 660926                                                                     DALLAS          TX      75266-0926                  Trade Payable                                                 No               597.52
        COMMERCIAL FINANCE INC.
  3.465 TRANSFER ORDER                                         110 MAIN ST                                                                       SANTA ANA       CA      92705                       GRNI Claim           X             X                          No            37,636.91
  3.466 TRIUMPH IP LLC                  C/O IP EDGE LLC        ATTN GAUTHAM BODEPUDI         2150 S CENTRAL EXPY                                 MCKINNEY        TX      75072                       Litigation Claim     X             X             X            No                 0.00
  3.467 TRS-REN TELCO INC. (A                                  90A BRUNSWICK BOULEVARD       DOLLARD DES ORMEAUX                                 QUEBEC          QC      H9B 2C5      CANADA         Trade Payable                                                 No             6,156.67
        SUBSIDIARY OF MCGRATH
        RENT CORP.)
  3.468 TUBBESING SERVICES LLC                                 2020 DIPLOMAT DRIVE STE 100                                                       DALLAS          TX      75234                       Trade Payable                                                 No            16,527.18
  3.469 TUBBESING SOLUTIONS LLC                                2020 DIPLOMAT DR STE 100                                                          DALLAS          TX      75234-8918                  Trade Payable                                                 No           195,661.88




In re: DZS Inc.                                                                                                           Page 11 of 13
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                                                                                                         Creditors Who Have Non-Priority     46 Claims
                                                                                                                                         Unsecured of 279




                                                                                                                                                                                                                                       Unliquidated
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                                                                                                                                                                                                                                                                   Is the




                                                                                                                                                                                                                                                      Disputed
                                                                                                                                                                                                                                                                   Claim
                                                                                                                                                                                                                                                                 Subject to
  ID    Creditor's Name           Attention                Address 1                       Address 2                 Address 3                City              State   ZIP          Country           Basis for Claim                                            Offset?     Total Claim
  3.470 TUCSON ELECTRIC AND POWER                          4350 E IRVINGTON RD                                                                TUCSON            AZ      85714                          Customer Credits                                              No               275.00

  3.471 TUDI MECHANICAL SYSTEMS                            5615 E ADAMO DR                                                                    TAMPA             FL      33619-3204                     Trade Payable                                                 No             1,245.00
        OF TAMPA INC.
  3.472 TURTLE & HUGHES                                    C/O HUDSON/BERGEN LIGHT         20 CAVEN POINT AVE                                 JERSEY CITY       NJ      07305                          Customer Credits                                              No              164.84
                                                           RAIL
  3.473 TUV SUD KOREA LTD.                                 29F, TWO IFC, 10                YEONGDEUNGPO-GU                                    SEOUL                     07326        KOREA, REPUBLIC   Trade Payable                                                 No              821.00
                                                           GUKJEGEUMYUNG-RO                                                                                                          OF
  3.474 U.S. BANK                                          U.S. BANK NATIONAL              PO BOX 790448                                      SAINT LOUIS       MO      63179-0448                     Trade Payable                                                 No            15,151.49
                                                           ASSOCIATION
  3.475 UBERDATA NETWORKS                                  8720 ORION PL STE 124                                                              DELAWARE          OH      43015                          Customer Credits                                              No             4,217.91

  3.476   ULINE                                            2165 NORTHMONT PKWY.                                                               DULUTH            GA      30096                          Trade Payable                                                 No             4,076.20
  3.477   UMEC USA INC.                                    1921 ELLEN ST APT 7                                                                STURGIS           SD      57785-1180                     Trade Payable                                                 No               500.00
  3.478   UNIMICRON GERMANY GMBH                           AM HOLLÄNDER SEE 70                                                                GELDERN                   74608        GERMANY           GRNI Claim           X             X                          No            92,791.19
  3.479   UNITED SHEETMETAL INC.                           44153 S GRIMMER BLVD                                                               FREMONT           CA      94538                          GRNI Claim           X             X                          No             9,069.22
  3.480   UNITED SHEETMETAL INC.                           44153 S GRIMMER BLVD                                                               FREMONT           CA      94538-6350                     Trade Payable                                                 No            22,278.36
  3.481   UNIVERSAL AIR FILTER                             1624 SAUGET INDUSTRIAL          P.O. BOX 5006                                      SAUGET            IL      62206                          Trade Payable                                                 No             5,084.29
                                                           PKWY
  3.482 UNIVERSAL INSTRUMENTS                              PO BOX 392228                                                                      PITTSBURGH        PA      15251-9228                     Trade Payable                                                 No             1,612.40
        COPORATION
  3.483 UNWIRED GLOBAL                                     261 WEST 35TH ST,               SUITE 1003                                         NEW YORK          NY      10001                          Litigation Claim     X             X             X            No                 0.00
  3.484 UNWIRED GLOBAL              C/O RABICOFF LAW LLC   ATTN ISAAC RABICOFF             4311 N RAVENSWOOD AVE                              CHICAGO           IL      60613                          Litigation Claim     X             X             X            No                 0.00
                                                                                           SUITE 315
  3.485 UPDATA INFRASTRUCTURE                              PREMIER HOUSE                   1-7 WARREN RD., REIGATE                            SURREY                    RH2 0BE      UNITED KINGDOM    Customer Credits                                              No             3,582.16
        (UK) LTD
  3.486 VALLEY TELEPHONE                                   1487 W FM 117                                                                      DILLEY            TX      78017                          Customer Credits                                              No            20,449.29
        COOPERATIVE INC
  3.487 VALLEY TELEPHONE                                   1487 W FM 117                                                                      DILLEY            TX      78017                          Extended             X             X                          No            13,558.41
        COOPERATIVE INC                                                                                                                                                                                Warranty
  3.488 VALTELLINA SPA                                     C/O MC-LINK SPA                 CARLO PERRIER 9A                                   ROME                      00157        ITALY             Customer Credits                                              No              525.00

  3.489 VCCI COUNSEL                                       7F NOA BLDG., 2-3-5, AZABUDAI   MINATO-KU                                          TOKYO                     106-0041     JAPAN             Trade Payable                                                 No             1,468.11
  3.490 VENUS TELEPHONE                                    PO BOX 75                                                                          VENUS             PA      16364                          Customer Credits                                              No             7,213.36
        CORPORATION
  3.491 VERGE.IO, INC.                                     5799 S MAIN ST UNIT 780                                                            CLARKSTON         MI      48347-7032                     Trade Payable                                                 No             6,560.70
  3.492 VRC COMPANIES LLC DAB                              DEPT 5874                       PO BOX 11407                                       BIRMINGHAM        AL      35246                          Trade Payable                                                 No             7,433.76
        VITAL RECORDS CONTROL
  3.493 VT MILCOM                                          529 VIKING DR                                                                      VIRGINIA BEACH    VA      23452                          Customer Credits                                              No               18.00

  3.494 VTX COMMUNICATIONS                                 1487 W FM 117                                                                      DILLEY            TX      78017                          Customer Credits                                              No             1,404.96

  3.495 VTX COMMUNICATIONS                                 1487 W FM 117                                                                      DILLEY            TX      78017                          Extended             X             X                          No             5,528.25
                                                                                                                                                                                                       Warranty
  3.496 WENZHOU YIHUA CONNECTOR                            HOUXI INDUSTRY PARK,            YUEQING                                            YUEQING,                  325606       CHINA             Trade Payable                                                 No            31,900.00
        CO., LTD.                                          WENGYANG TOWN                                                                      ZHEJIANG
  3.497 WESCO DISTRIBUTION, INC.                           PO BOX 122038                                                                      LITHIA SPRINGS    GA      30122                          Customer Credits                                              No             1,062.20

  3.498 WESTWORLD TELECOM                                  1122 WEST 5TH STREET                                                               LAKELAND          FL      33805                          Trade Payable                                                 No             5,736.01
        CORPORATION
  3.499 WI-FI ALLIANCE - US                                10900-A STONELAKE BLVD          SUITE 195                                          AUSTIN            TX      78759                          Trade Payable                                                 No            25,000.00
  3.500 WIRELESS BROADBAND                                 8 EU TONG SEN STREET #14-94     THE CENTRAL                                        SINGAPORE                 059818       SINGAPORE         Trade Payable                                                 No            23,000.00
        ALLIANCE LTD
  3.501 WNI EQUIPAMENTOS                                   CNPJ 05.092.015/0001-40         AV. DESEMBARGADOR HUGO    PARANA                   CURITIBA                  80.520-250   BRAZIL            Customer Credits                                              No               67.83
        ELETRONICOS LTDA                                                                   SIMAS 1184 BOM RETIRO
  3.502 WORKIVA INC                                        2900 UNIVERSITY BLVD                                                               AMES              IA      50010                          Trade Payable                                                 No            65,876.66
  3.503 WORLD TRAVEL SERVICE, LLC                          2160 LAKESIDE CENTRE WAY                                                           KNOXVILLE         TN      37922-0201                     Trade Payable                                                 No            15,417.72
                                                           STE 102
  3.504 WORLDNET                                           CENTRO INTERNACIONAL DE         90 CARR 165 STE 201                                GUAYNABO          PR      00968-8059   PUERTO RICO       Extended             X             X                          No             2,168.82
        TELECOMMUNICATIONS, INC.                           MERCADEO                                                                                                                                    Warranty
  3.505 XAVI TECHNOLOGIES CORP.                            22F NO 69, SEC 2, GUANGFU       SANCHONG DIST                                      NEW TAIPEI CITY           24158        TAIWAN            GRNI Claim           X             X                          No          321,272.13
                                                           RD.,
  3.506 XGIGA COMMUNICATION TECH.                          BLD A1, JUNFENG INNOVATION      PARK, YONGHE ROAD,        FUHAI, BAOAN DISTRICT,   SHENZHEN          GUANGD 518103        CHINA             GRNI Claim           X             X                          No            10,908.70
        CO. LTD.                                                                                                                                                ONG
  3.507 XGIGA COMMUNICATION TECH.                          BLD A1, JUNFENG INNOVATION      PARK, YONGHE ROAD,        FUHAI, BAOAN DISTRICT,   SHENZHEN          GUANGD 518103        CHINA             Trade Payable                                                 No             1,213.70
        CO. LTD.                                                                                                                                                ONG
  3.508 YADKIN VALLEY TELEPHONE                            HWY 601 SOUTH                                                                      YADKINVILLE       NC     27055                           Extended             X             X                          No              337.88
                                                                                                                                                                                                       Warranty
  3.509 YANG JI CO., LTD.                                  3/F., NO.118 LANE 235 BAOCIAO XINDIAN DIST                                         NEW TAIPEI CITY           23145        TAIWAN            Trade Payable                                                 No              548.64
                                                           RD
  3.510 YUMAWORKS, INC.                                    685 COCHRAN ST STE 160                                                             SIMI VALLEY       CA      93065-0965                     Trade Payable                                                 No            24,995.00
  3.511 ZFACTOR INC.                                       105 RANDALL DR SUITE 8        ACCT#: 7305431              SWIFT#: TDOMCATTTOR      WATERLOO          ON      N2V 1C5      CANADA            Trade Payable                                                 No            18,400.00




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                                                                                                                                                                                                                  Disputed
                                                                                                                                                                                                                               Claim
                                                                                                                                                                                                                             Subject to
  ID    Creditor's Name            Attention        Address 1                  Address 2               Address 3         City          State   ZIP      Country     Basis for Claim                                           Offset?     Total Claim
  3.512 ZHONE AB                                    BOX 5339                                                             102 47                         SWEDEN      Intercompany                                                 No           191,292.00
                                                                                                                         STOCKHOLM                                  Payable
  3.513 ZHONE TECHNOLOGIES                          LEVEL 54 HOPEWELL CENTRE   183 QUEEN'S ROAD EAST                     HONG KONG                      HONG KONG   Intercompany                                                 No          216,367.00
        LIMITED HK                                                                                                                                                  Payable
  3.514 ZHONE TECHNOLOGIES PTE.                     16 COLLYER QUAY #17-00     INCOME AT RAFFLES                         SINGAPORE             049318   SINGAPORE   Intercompany                                                 No         3,108,013.00
        LTD.                                                                                                                                                        Payable
  3.515 ZHONE TECHNOLOGIES S.R.L                    VIA ALFREDO CATALANI 5                                               20900 MONZA                    ITALY       Intercompany                                                 No          935,634.00
                                                                                                                         (MB)                                       Payable
  3.516 ZIROUS INC                                  1503 42ND STREET           SUITE 210                                 WAUKEE        IA      50266                Trade Payable                                                No             7,000.00

          TOTAL                                                                                                                                                                                                                            88,599,865.51




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  Fill in this information to identify the case:

  Debtor name: DZS Inc.

  United States Bankruptcy Court for the: Eastern District of Texas
                                                                                                                                                        Check if this is an
  Case number: Not Yet Assigned
                                                                                                                                                        amended filing



Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).


 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease


2.1     State what the contract        See Schedule G Attachment
        or lease is for and the
        nature of the debtor’s
        interest
        State the term
        remaining
        List the contract number
        of any government
        contract
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  ID     Description of Contract or Lease   Counterparty Name           Attention             Address 1                  Address 2                 Address 3       City            State   ZIP          Country
  2.0001 EQUIPMENT PURCHASE                 3651959 CANADA INC                                1000 LA GAUCHETIÈRE,                                                 MONTRÉAL,                            CANADA
         AGREEMENT                                                                            SUITE 4100                                                           QUÉBEC, H3B
                                                                                                                                                                   5H8
  2.0002 PURCHASE AGREEMENT FOR             3D BROADBAND CORPORATION                          RUE DES MOULINS, 12                                                  DELMONT,                             SWITZERLAND
         PRODUCTS AND SERVICES              SARL                                                                                                                   JURA, 2800
  2.0003 RESELLER AGREEMENT                 ACCU-TECH CORPORATION       JOHN WILEY            11350                      OLD ROSWELL RD, SUITE                     ALPHARETTA      GA      30009
                                                                                                                         100
  2.0004 RESELLER AGREEMENT                 ACIS INFORMATION TECHNOLOGY NABIL AZAR            605, AL ASMAWAI            DUBAI INVESTMENT PARK -                   DUBAI                                UAE
                                                                                              BUILDING,                   1
  2.0005 PURCHASE AGREEMENT FOR             ADEXUS SA                   ATTN: MANUEL LAPO     REPÚBLICA DEL                                                        QUITO                                ECUADOR
         PRODUCTS AND SERVICES                                                                SALVADOR Y PORTUGAL
                                                                                              N35-40
  2.0006 AMENDMENT                          ADV CONSULTING LTD          JOHANN HOFMANN
  2.0007 MUTUAL PRODUCT EVALUATION          ADVANCED COMPUTER           ATTN: ALI HASSANEIN   SMART VILLAGE,             KM 28 CAIRO-                              GIZA                                 EGYPT
         AGREEMENT                          TECHNOLOGY ACT              TAWFIK                BUILDING # B92-A13         ALEXANDRIA DESERT RD
  2.0008 MUTUAL NON-DISCLOSURE              ADVANCED COMPUTER           MOHAMED ABDEL AZIZ    SMART VILLAGE, KM 28       BUILDING # B92-A13                        GIZA                                 EGYPT
         AGREEMENT                          TECHNOLOGY S.A.E.           ABU EL LEIL           CAIRO- ALEXANDRIA
                                                                                              DESERT RD
  2.0009 AMENDMENT #1                       ADVANCED MEDIA                                    3150 SW 15TH ST.                                                     DEERFIELD       FL      33442
                                            TECHNOLOGIES INC                                                                                                       BEACH
  2.0010 AMENDMENT #1                       ADVANCED MEDIA                                    3150 SW 15TH ST.                                                     DEERFIELD       FL      33442
                                            TECHNOLOGIES INC                                                                                                       BEACH
  2.0011 AMENDMENT #2                       ADVANCED MEDIA                                    3150 SW 15TH ST                                                      DEERFIELD       FL      33442
                                            TECHNOLOGIES INC                                                                                                       BEACH
  2.0012 AMENDMENT #2                       ADVANCED MEDIA                                    3150 SW 15TH ST                                                      DEERFIELD       FL      33442
                                            TECHNOLOGIES INC                                                                                                       BEACH
  2.0013 CONTRACTUAL DOCUMENT               ADVANCED MEDIA                                    3150 SW 15TH ST.                                                     DEERFIELD       FL      33442
                                            TECHNOLOGIES INC                                                                                                       BEACH
  2.0014 DISTRIBUTOR AGREEMENT              ADVANCED MEDIA              KEN MOSCA             3150 SW 15TH ST.                                                     DEERFIELD       FL      33442
                                            TECHNOLOGIES INC                                                                                                       BEACH
  2.0015 MUTUAL PRODUCT EVALUATION          ADVANCED MEDIA              FRANCISCO AMARAL      5 MARINA PLZ               STE 2F                                    NEWPORT         RI      02840
         AGREEMENT                          TECHNOLOGIES INC
  2.0016 PURCHASE AGREEMENT FOR             ADVANTAGE TELCOM            ATTN: JOHN P          4703 SHAVANO OAK DRIVE SUITE 100                                     SAN ANTONIO     TX      78249
         PRODUCTS AND SERVICES                                          STEPHENSON
  2.0017 PURCHASE ORDER                     AECOM TECHNICAL SERVICES    ATTN: MAT MILLER      4 NORTH PARK DRIVE         SUITE 300                                 HUNT VALLEY     MD      21030
  2.0018 PURCHASE ORDER                     AECOM TECHNICAL SERVICES    ATTN: CHRISTOPHER     4840 COX RD                                                          GLEN ALLEN      VA      23060-6292
                                                                        BROWN
  2.0019 PURCHASE ORDER                     AECOM TECHNICAL SERVICES
  2.0020 SELLER REPRESENTATION FORM         AECOM TECHNICAL SERVICES
  2.0021 RESELLER AGREEMENT                 AFC GROUP                                         93-97 MERRINDALE DRIVE     CROYDON SOUTH 3136                        MELBOURNE      VIC                   AUSTRALIA
  2.0022 RE: INTEGRATION OF AFC             AFL TELECOMMUNICATIONS                            UNIT 8, 11 ORBIT DRIVE                                               ROSEDALE,                            NEW ZEALAND
         GROUP AND AFL                      AUSTRALIA PTY LTD                                                                                                      NORTH SHORE,
         TELECOMMUNICATIONS                                                                                                                                        AUCKLAND, 0632
         AUSTRALIA PTY. LTD
  2.0023 RESELLER AGREEMENT                 AFRICA INFIN8 SOLUTIONS     NIGEL VAN TURA        47 FISH EAGLE DRIVE                                                  BROEDERSTROO            216          SOUTH AFRICA
                                                                                                                                                                   M NORTH WEST
  2.0024 RESELLER AGREEMENT                 AFROTEL FOR COMMUNICATION   ENTERPRISE            3 CENTRAL AXIS. 1ST                                                  OCTOBER, GIZA                        EGYPT
                                                                        DEPARTMENT            NEIGHBORHOOD, 3RD
                                                                                              DISTRICT, 6TH
  2.0025 PURCHASE AGREEMENT                 AINET SRL                   HECTOR BRIK
  2.0026 AGREEMENT FOR THE SUPPLY           AIRWAVE MMO2 LIMITED                              WELLINGTON STREET                                                    SLOUGH,                 SL1 1YP      UNITED
         OF COMPRESSION EQUIPMENT                                                                                                                                  ENGLAND                              KINGDOM
  2.0027 AGREEMENT FOR THE SUPPLY           AIRWAVE SOLUTIONS LIMITED                         CHARTER COURT              50 WINDSOR ROAD                           SLOUGH,                 SL1 2EJ      UNITED
         OF COMPRESSION EQUIPMENT                                                                                                                                  BERKSHIRE                            KINGDOM
  2.0028 AGREEMENT FOR THE SUPPLY           AIRWAVE SOLUTIONS LIMITED                         CHARTER COURT              50 WINDSOR ROAD                           SLOUGH,                 SL1 2EJ      UNITED
         OF COMPRESSION EQUIPMENT                                                                                                                                  BERKSHIRE                            KINGDOM
  2.0029 CHANGE CONTROL NOTE 1              AIRWAVE SOLUTIONS LIMITED                         CHARTER COURT              50 WINDSOR ROAD                           SLOUGH,                 SL1 2EJ      UNITED
                                                                                                                                                                   BERKSHIRE                            KINGDOM
  2.0030 CHANGE CONTROL NOTE CCN01          AIRWAVE SOLUTIONS LIMITED                         NOVA SOUTH                 160 VICTORIA STREET                       LONDON,                 SW1E 5LB     UNITED
                                                                                                                                                                   ENGLAND                              KINGDOM
  2.0031 PURCHASE AGREEMENT FOR             AKHALI KSELEBI                                    42, A. POLITKOUSKAIA STR                                             TBILISI, 0186                        GEORGIA
         PRODUCTS AND SERVICES
  2.0032 RESELLER AGREEMENT                 AL JASSAR LLC               SHYAM SAILESH         PO BOX 3017; PC 112                                                  RUWI, MUSCAT,                        OMAN
                                                                                                                                                                   SULTANATE OF
                                                                                                                                                                   OMAN
  2.0033 POWER OF ATTORNEY                  ALGERIE TELECOM




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  ID     Description of Contract or Lease   Counterparty Name                 Attention              Address 1                 Address 2                 Address 3       City           State   ZIP          Country
  2.0034 AMENDMENT #1 BETWEEN               ALLIANCE CORPORATION              ATTN: SCOTT MCCLURE    2395 MEADOWPINE BLVD.                                               MISSISSAUGA,                        CANADA
         ALLIANCE CORPORATION AND                                                                                                                                        ONTARIO, L5N
         DZS INC. (F/K/A DASAN ZHONE                                                                                                                                     7W6
         SOLUTIONS, INC.) AMENDMENT
         NO. 001
  2.0035 AMENDMENT #1 BETWEEN               ALLIANCE CORPORATION              ATTN: SCOTT MCCLURE    2395 MEADOWPINE BLVD.                                               MISSISSAUGA,                        CANADA
         ALLIANCE CORPORATION AND                                                                                                                                        ONTARIO, L5N
         DZS INC. (F/K/A DASAN ZHONE                                                                                                                                     7W6
         SOLUTIONS, INC.) AMENDMENT
         NO. 001
  2.0036 PURCHASE AGREEMENT FOR             AL-NAYI COMPANY                                          33 ZAHRAN ST              AL HUSSEINI COMPLEX                       AMMAN                               JORDAN
         PRODUCTS AND SERVICES
  2.0037 PURCHASE AGREEMENT                 ALPHA TEL S.A.                    ATTN: FRANCISCO RUIZ   CAPITÁN JUSTO G                                                     MUNRO,                              ARGENTINA
                                                                              LUQUE                  BERMÚDEZ 4547                                                       BUENOS AIRES
  2.0038 PURCHASE AGREEMENT FOR             ALPHEUS COMMUNICATIONS LP         ATTN: KENT MAJOR       1001 LOUISIANA STREET     TRAVIS PLACE, 9TH FLOOR                   HOUSTON        TX      77002
         PRODUCTS AND SERVICES
  2.0039 MUTUAL PRODUCT EVALUATION          ALTITUDE INFRASTRUCTURE                                  1 BIS PLACE DE LA         TOUR TRINITY                              COURBEVOIE,                         FRANCE
         AGREEMENT                          EXPLOITATION SA                                          DEFENSE                                                             92400
  2.0040 MUTUAL PRODUCT EVALUATION          AMG TECHNOLOGY INVESTMENT                                95 PARKER OAKS LN                                                   HUDSON OAKS    TX      76087
         AGREEMENT                          GROUP LLC
  2.0041 RESELLER AGREEMENT                 ANIXTER INC                                              2301 PATRIOT BLVD                                                   GLENVIEW       IL      60026
  2.0042 RESELLER AGREEMENT                 ANIXTER INC                                              301 PATRIOT BOULEVARD                                               GLENVIEW       IL      60026
  2.0043 LETTER OF AGREEMENT NO.            ANIXTER INC; JT INDUSTRIES INC;                          ANIXTER INC.              4711 GOLF ROAD                            SKOKIE         IL      60076-1278
         ANX052001                          LUCENT TECHNOLOGIES BELL
                                            LABS INNOVATION LUCENT
                                            TECHNOLOGIES INC
  2.0044 LETTER OF AGREEMENT NO.            ANIXTER INC; JT INDUSTRIES INC;                          LUCENT TECHNOLOGIES       7725 WEST RENO AVE                        OKLAHOMA CITY OK       73127
         ANX052001                          LUCENT TECHNOLOGIES BELL                                 INC.
                                            LABS INNOVATION LUCENT
                                            TECHNOLOGIES INC
  2.0045 PARTICIPATION ADDENDUM             ANTXTER INC                                              2301 PATRIOT BLVD                                                   GLENVIEW       IL      60026
  2.0046 AUTHORIZATION LETTER               APTEC EGYPT LLC                                          ISMAILIA ROAD, OBOUR                                                CAIRO, 11822                        EGYPT
                                                                                                     CITY
  2.0047 AUTHORIZATION LETTER               APTEC EGYPT LLC                                          ISMAILIA ROAD, OBOUR                                                CAIRO, 11822                        EGYPT
                                                                                                     CITY
  2.0048 AUTHORIZATION LETTER               APTEC EGYPT LLC                                          ISMAILIA ROAD, OBOUR                                                CAIRO, 11822                        EGYPT
                                                                                                     CITY
  2.0049 AUTHORIZATION LETTER               APTEC EGYPT LLC                                          ISMAILIA ROAD, OBOUR                                                CAIRO, 11822                        EGYPT
                                                                                                     CITY
  2.0050 PARTICIPATION AGREEMENT            APTEC EGYPT LLC; INGRAM           ATTN: MOHAMED SELIM    KM 30                     CAIRO ISMALIA ROAD                        OBOUR CITY,                         EGYPT
                                            MICRO INC                                                                                                                    CAIRO
  2.0051 RESELLER AGREEMENT                 ARC DIGITAL SOLUTIONS &           HUSSAM ABDUL ZAHRA     BASRA,                                                                                                  IRAQ
                                            CONSULTANCY
  2.0052 SELECT RESELLER AGREEMENT          ARCOM TELECOM                                                                                                                HALIFAX        NS                   CANADA
  2.0053 PURCHASE AGREEMENT FOR             ASACOM SYSTEMS LTD                                       19 APEX BUSINESS          BOSCOMBE RD                               DUNSTABLE,             LU5 4SB      UNITED
         PRODUCTS AND SERVICES                                                                       CENTRE                                                              BGDS                                KINGDOM
  2.0054 SERVICES AGREEMENT                 AT&T GLOBAL CONNECTIONS
  2.0055 AMENDMENT NO. 7 TO                 AT&T SERVICES INC                 PAUL YANG
         AGREEMENT NO. 10708.C
         (FORMERLY 20101130.074.C)
  2.0056 AMENDMENT NO. 8 TO                 AT&T SERVICES INC                 PAUL YANG
         AGREEMENT
  2.0057 AMENDMENT NO. 9 TO                 AT&T SERVICES INC                 PAUL YANG, SR.
         AGREEMENT                                                            SOURCING MANAGER
  2.0058 PRODUCT EVALUATION                 AT&T SERVICES INC                                        9505 ARBORETUM BLVD                                                 AUSTIN         TX      78759
         AGREEMENT
  2.0059 PRODUCT EVALUATION                 AT&T SERVICES INC                                        9505 ARBORETUM BLVD.                                                AUSTIN         TX      78759
         AGREEMENT
  2.0060 PRODUCT EVALUATION                 AT&T SERVICES INC
         AMENDMENT NO. 307075.S.002
         TO TRIAL AGREEMENT NO.
         307075.A.003
  2.0061 PURCHASE AGREEMENT FOR             ATLANTIC TELEPHONE                                       640 WHITEVILLE RD                                                   SHALLOTTE      NC      28459
         PRODUCTS AND SERVICES              MEMBERSHIP CORP (ATMC)
  2.0062 MUTUAL PRODUCT EVALUATION          ATLANTIC TELEPHONE                TIM SMITH              640 WHITEVILLE RD NW                                                SHALLOTTE      NC      28470
         AGREEMENT                          MEMBERSHIP CORPORATION




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  2.0063 MUTUAL PRODUCT EVALUATION          AXIANS NETWORKS &                                   640 WHITEVILLE RD NW                                                         33334                                 GERMANY
         AGREEMENT                          SOLUTIONS GMBH                                                                                                                   GUTTERSLOH
  2.0064 MUTUAL PRODUCT EVALUATION          AXIANS NETWORKS &                                   VON-DER WETTERN-STR                                                          51149 COLOGNE                         GERMANY
         AGREEMENT                          SOLUTIONS GMBH                                      15
  2.0065 MUTUAL PRODUCT EVALUATION          AXON NETWORKS INC                                   180 CECIL ST, #17-01         BANGKOK BANK BUILDING,                         SINGAPORE                              SINGAPORE
         AGREEMENT                                                                                                                                                          069546
  2.0066 AMENDMENT NUMBER FIVE TO           AXTEL SAB DE CV                                     BLVD DÍAZ KM 3.33 L-1        COLONIA UNIDAD SAN       SAN PEDRO GARZA GARCIANL, CP 66215                           MEXICO
         THE SUPPLY CONTRACT                                                                                                 PEDRO
  2.0067 AMENDMENT NUMBER FIVE TO           AXTEL SAB DE CV                                     BLVD DÍAZ KM 3.33 L-1        COLONIA UNIDAD SAN       SAN PEDRO GARZA GARCIANL, CP 66215                           MEXICO
         THE SUPPLY CONTRACT                                                                                                 PEDRO
  2.0068 AMENDMENT NUMBER FOUR TO           AXTEL SAB DE CV                                     BLVD DÍAZ KM 3.33 L-1        COLONIA UNIDAD SAN       SAN PEDRO GARZA GARCIANL, CP 66215                           MEXICO
         THE SUPPLY CONTRACT                                                                                                 PEDRO
  2.0069 AMENDMENT NUMBER FOUR TO           AXTEL SAB DE CV                                     BLVD. DIAZ KM 3.33 L-1       COLONIA UNIDAD SAN                             SAN PEDRO         NL      C.P. 66215   MEXICO
         THE SUPPLY CONTRACT                                                                                                 PEDRO                                          GARZA GARCIA
  2.0070 AMENDMENT NUMBER ONE TO            AXTEL SAB DE CV                                     BLVD. DÍAZ KM 3.33 L-1       COLONIA UNIDAD SAN                             SAN PEDRO         NL      C.P. 66215   MEXICO
         THE SUPPLY CONTRACT                                                                                                 PEDRO                                          GARZA GARCIA
  2.0071 AMENDMENT NUMBER THREE TO          AXTEL SAB DE CV                                     BLVD DÍAZ KM 3.33 L-1        COLONIA UNIDAD SAN                             SAN PEDRO         NL      C.P. 66215   MEXICO
         THE SUPPLY CONTRACT                                                                                                 PEDRO                                          GARZA GARCIA
  2.0072 AMENDMENT NUMBER TWO TO            AXTEL SAB DE CV                                     BLVD DÍAZ KM 3.33 L-1        COLONIA UNIDAD SAN       SAN PEDRO GARZA GARCIANL, CP 66215                           MEXICO
         THE SUPPLY CONTRACT                                                                                                 PEDRO
  2.0073 EXHIBIT A "EQUIPMENT               AXTEL SAB DE CV
         DESCRIPTION, TECHNICAL
         SPECIFICATIONS AND
         FUNCTIONAL PARAMETERS"
         CONTRACT
  2.0074 SUPPLY CONTRACT                    AXTEL SAB DE CV; SERVICIOS                          AXTEL, S.A. DE C.V.          BLVD DÍAZ ORDAZ KM 3.33 COLONIA UNIDAD SAN PEDRSAN PEDRO         NUEVO   66215        MEXICO
                                            AXTEL SA DE CV; VIER                                                             L-1                                            GARZA GARCIA      LEÓN
                                            PRESIDENT SALAS MIKE
                                            SCHLECK
  2.0075 SUPPLY CONTRACT                    AXTEL SAB DE CV; SERVICIOS   ATTN: MR. ALBERTO DE   BLVD DÍAZ ORDAZ KM 3.33 COLONIA UNIDAD SAN                                   SAN PEDRO                             MEXICO
                                            AXTEL SA DE CV; VIER         VILLASANTE             L-1                     PEDRO                                                GARZA GARCIA,
                                            PRESIDENT SALAS MIKE                                                                                                             NUEVO LEÓN,
                                            SCHLECK                                                                                                                          66215
  2.0076 PURCHASE AGREEMENT FOR             BADER AL MULLA & BROTHERS                           PO BOX 177                                                                   SAFAT, 13002                          KUWAIT
         PRODUCTS AND SERVICES              COMPANY SPC
  2.0077 DISTRIBUTOR AGREEMENT              BALTIC NETWORKS INC;                                2200 OGDEN AVE               SUITE 240                                       LISLE            IL      60532
                                            VARGYAS NETWORKS INC
  2.0078 DISTRIBUTOR AGREEMENT              BALTIC NETWORKS INC;                                2200 OGDEN AVE               SUITE 240                                       LISLE            IL      60532
                                            VARGYAS NETWORKS INC
  2.0079 PURCHASE AGREEMENT FOR             BARQ SYSTEMS INC. (BSI)
         PRODUCTS AND SERVICES
  2.0080 RESELLER AGREEMENT                 BASS COMPANY                                        5TH FLOOR, WAFRA             AHMED AL JABER ST,                              SAFAT 13050                           KUWAIT
                                                                                                BUILDING                     SHARQ, PO BOX 4954
  2.0081 RE: PAYMENT FOR                    BAUD TELECOM COMPANY                                PRINCE MAJED STREET          PO BOX 6045                                     JEDDAH, 21442                         SAUDI ARABIA
         PROFESSIONAL SERVICES FOR
         ONTS (2428B1-OST)
  2.0082 RE: PAYMENT FOR                    BAUD TELECOM COMPANY                                PRINCE MAJED STREET          PO BOX 6045                                     JEDDAH, 21442                         SAUDI ARABIA
         PROFESSIONAL SERVICES FOR
         ONTS (2428B1-OST)
  2.0083 ZHONE - SERVICE MAINTENANCE        BAYLAND TELEPHONE INC                               2711 E. FRONTAGE ROAD                                                        ABRAMS           WI      54101
         CONTRACT
  2.0084 FRAMEWORK AGREEMENT                BBNED NV                                            SATURNUSSTRAAT 40-44                                                         HOOFDDORP,                            THE
                                                                                                                                                                             HB, 2132                              NETHERLANDS
  2.0085 ZHONE TECHNOLOGIES, INC.           BEANFIELD TECHNOLOGIES       DAN ARMSTRONG          67 MOWAT AVE, STE 506                                                        TORONTO, ON,                          CANADA
         PURCHASE AGREEMENT FOR                                                                                                                                              M6K 3E3
         PRODUCTS AND SERVICES
  2.0086 RESELLER AGREEMENT                 BEDROCK DWC LLC              LEGAL DEPT             BLDG A3 3RD FL                                                               DUBAI SOUTH                           UAE
  2.0087 PURCHASE AGREEMENT FOR             BENDA MAGNETIC               ERIC MANSDORF          1 COMPUTER ST                PO BOX 8342              NEW INDUSTRIAL ZONE    NETANYA                               ISRAEL
         PRODUCTS AND SERVICES
  2.0088 PURCHASE AGREEMENT FOR             BENDA MAGNETIC               ERIC MANSDORF          ATTN: MANAGER                13 HA-MESIK ST.          INDUSTRIAL PARK        HEFER, VELLY                          ISRAEL
         PRODUCTS AND SERVICES
  2.0089 AGREEMENT REFERENCE # NON-         BHARTI AIRTEL LIMITED                               ARAVALI CRESCENT, 1                                                          PHASE II, NEW                         INDIA
         DISCLOSURE AGREEMENT                                                                   NELSON MANDELA ROAD,                                                         DELHI, 100 070
                                                                                                VASANT KUNJ
  2.0090 PURCHASE AGREEMENT FOR             BIF IV INTREPID OPCO LLC     SADIA MURRAY           1101 W 120TH AVE             STE 305                                         BROOMFIELD       CO      80021
         PRODUCTS AND SERVICES




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  2.0091 RESELLER AGREEMENT                 BINARIO DIST DE EQUIP ELETR    SERGIO MARQUES         RUA DNA FRANCISCA                                               JOINVILLE       SC      89219-600
                                            LTDA                                                  8300, BI C MÓD 8
  2.0092 PURCHASE AGREEMENT FOR             BIRCH COMMUNICATIONS INC.
         PRODUCTS AND SERVICES
  2.0093 ORDER FORM                         BITEL GESELLSCHAFT
                                            TELEKOMMUNIKATION MBH
  2.0094 PURCHASE AGREEMENT FOR             BLACKFOOT TELEPHONE                                   1221 N. RUSSELL STREET                                          MISSOULA        MT      59808
         PRODUCTS AND SERVICES              COOPERATIVE INC
  2.0095 RESELLER AGREEMENT                 BLUETEL TELEKOMÜNIKASYON                              ESENTEPE                   A2-220 LEVEL 32-33                   34860                                TURKEY
                                            ENERJI SIS SAN TIC A                                                                                                  KARTAL/İSTANBU
                                                                                                                                                                  L
  2.0096 MASTER PURCHASE ORDER              BOINGO WIRELESS INC                                   10960 WILSHIRE BLVD.                                            LOS ANGELES    CA       90024
         AGREEMENT                                                                                23RD FLOOR
  2.0097 MUTUAL PRODUCT EVALUATION          BONNEVILLE POWER               ATTN: IVAN BARAZALLO   3101 NE MINNEHAHA                                               VANCOUVER       WA      98663
         AGREEMENT                          ADMINISTRATION                                        STREET
  2.0098 NON-EXCLUSIVE RESELLER             BORDER STATES ELECTRIC                                105 25TH STREET NORTH                                           FARGO           ND      58102
         AGREEMENT                          SUPPLY
  2.0099 MUTUAL PRODUCT EVALUATION          BRANCO; BRFIBRA                NICOLAS PINTO LINNE    RUA COMENDADOR,                                                 FLORESTA,       RS      90220-150    BRAZIL
         AGREEMENT                          TELECOMUNICACOES LTDA                                 AZEVEDO, 140                                                    PORTO ALEGRE
  2.0100 STATEMENT OF WORK FOR DSL          BRIGHTSPEED; CONNECT                                  PO BOX 1330                                                     FAYETTEVILLE    NC      28302-1330
         EXPRESSE SUBSCRIPTION              HOLDING II LLC
         SOLUTION
  2.0101 STATEMENT OF WORK FOR              BRIGHTSPEED; CONNECT                                  PO BOX 1330                                                     FAYETTEVILLE    NC      28302-1330
         GPON EXPRESSE AND                  HOLDING II LLC
         CLEARVIEW SUBSCRIPTION
         SOLUTION
  2.0102 AMENDMENT NO. 2                    BRIGHTSPEED; CONNECT           KIRSTEN EADES
                                            HOLDING II, LLC
  2.0103 PURCHASE AGREEMENT FOR             BROADBAND GIBRALTAR LTD                               SUITE 942 EUROORT          EUROPORT ROAD                        GIBRALTAR               GX11 1AA     UNITED
         PRODUCTS AND SERVICES                                                                    BUILDING                                                                                             KINGDOM
  2.0104 RESELLER AGREEMENT                 BTC NETWORKS BAUD TELECOM                             PO BOX 1223                                                     RIYADH, 11431                        SAUDI ARABIA
                                            COMPANY
  2.0105 REPRESENTATION AGREEMENT           C2 - CONCEPTUAL CONNECTIVITY                          7608 S HUDSON WAY                                               CENTENNIAL      CO      80122

  2.0106 CABLE AND WIRELESS PHASE 2  CABLE & WIRELESS
         ACTIVATION PAYMENT PROPOSAL

  2.0107 RESELLER AGREEMENT                 CABLES INC; RESELLER                                  70 DEMAREST DRIVE                                               WAYNE           NJ      07470
                                            ALLIANCE COMMUNICATIONS
  2.0108 PURCHASE AGREEMENT                 CABO SERVICOS DE
                                            TELECOMUNICACOES LTDA
  2.0109 AMENDMENT                          CALIFORNIA PACIFIC TECHNICAL                          150 E HARMON                                                    HARMON          GU      96913
                                            SERVICES LLC.                                         INDUSTRIAL PARK RD
  2.0110 ELITE AUTHORIZED VAR               CALLISONRTKL INC                                      901 SOUTH BOND STREET                                           BALTIMORE       MD      21231
         RESELLER AGREEMENT
  2.0111 MUTUAL PRODUCT EVALUATION          CAMYNO GMBH                                           AUE 144                                                         PFAFFENHOFEN,                        AUSTRIA
         AGREEMENT                                                                                                                                                6405
  2.0112 MASTER SERVICE AGREEMENT           CANADIAN NATIONAL RAILWAY
                                            COMPANY
  2.0113 MATERIAL AND SERVICES              CANADIAN NATIONAL RAILWAY                             935 DE LA GAUCHETIÈRE                                           MONTREAL        QC      H3B 2M9      CANADA
         PURCHASE AGREEMENT                 COMPANY                                               STREET WEST
  2.0114 PURCHASE AGREEMENT FOR             CAPE THEME PARKS           ATTN: GREGORY WILLIAM                                                                      CENTURY CITY,                        SOUTH AFRICA
         PRODUCTS AND SERVICES                                         DEANS                                                                                      CAPE TOWN
  2.0115 RESELLER AGREEMENT                 CAPELLA TELECOMMUNICATIONS ROGER GILODO               2065 RUE MICHELIN                                               LAVAL           QC      H7L 5B7      CANADA
                                            INC.
  2.0116 PURCHASE AGREEMENT FOR             CASCADE NETWORKS INC.                                 1111 11TH AVENUE                                                LONGVIEW        WA      98632
         PRODUCTS AND SERVICES
  2.0117 PURCHASE AGREEMENT FOR             CASE COMMUNICATIONS LTD                               UNIT 12E                   NORTHS ESTATE, OLD                   HIGH                    HP14 3BE     UNITED
         PRODUCTS AND SERVICES                                                                                               OXFORD RD                            WYCOMBE,                             KINGDOM
                                                                                                                                                                  BUCKS
  2.0118 PURCHASE AGREEMENT FOR             CAVALIER BROADBAND LLC         ATTN: ROBERT HAMLIN    255 RIDGE MCINTIRE RD                                           CHARLOTTESVIL VA        22903
         PRODUCTS AND SERVICES                                                                                                                                    LE
  2.0119 RESELLER AGREEMENT                 C-COR BROADBAND AUSTRALIA                             4/195 CHESTERVILLE                                              VICTORIA 3189                        AUSTRALIA
                                            PTY LTD                                               ROAD, MOORABBIN,
  2.0120 PURCHASE AGREEMENT FOR             CDE LIGHTBAND (CLARKSVILLE     KIM MCMULLAN
         PRODUCTS AND SERVICES              DEPARTMENT OF ELECTRICITY)




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  2.0121 CELKON QUALITY ASSUARANCE          CELKON IMPEX PRIVATE LIMITED                        PLOT NO. 32, DOOR NO. 1- KAVURI HILLS, MADHAPUR                    HYDERABAD,                            INDIA
         AGREEMENT                                                                              62/2/32                                                            TELANGANA,
                                                                                                                                                                   500033
  2.0122 FRAMEWORK AGREEMENT                CELLCOM FIXED LINE                                  10 HAGAVISH ST. P.O.B                                              NETANYA 42140                         ISRAEL
                                            COMMUNICATIONS LP                                   4060
  2.0123 PURCHASE AGREEMENT FOR             CELLCOM ISRAEL LTD                                  11 HAGAVISH ST.                                                    NETANYA 42140                         ISRAEL
         PRODUCTS AND SERVICES
  2.0124 RE: CONTRACT BETWEEN DASAN CELLCOM ISRAEL LTD; MR                                      11 HAGAVISH STREET                                                 NETANYA, 42140                        ISRAEL
         ZHONE SOLUTIONS, INC. AND  SLOBODAN ZLATKOVIC; IBC
         CELLCOM ISRAEL LTD         ISRAEL BROADBAND COMPANY;
                                    CELLCOM FIXED LINE
                                    COMMUNICATIONS LP
  2.0125 MUTUAL CONFIDENTIALITY     CENTRA TECHNOLOGIES                   ATTN: TAREK YEHIA     7 MOSADAK ST                                                       DOKKI, GIZA                           EGYPT
         AGREEMENT
  2.0126 PURCHASE AGREEMENT FOR     CENTRAL OKLAHOMA                      ATTN: STEVE GUEST     223 BROADWAY                                                       DAVENPORT        OK      74026
         PRODUCTS AND SERVICES      TELEPHONE CO LLC
  2.0127 QUOTE                      CENTRAL OKLAHOMA
                                    TELEPHONE CO LLC; CENTRAL
                                    OKLAHOMA TELEPHONE
                                    COMPANY LLC
  2.0128 RESELLER AGREEMENT         CENTRAL TRENCHING, INC.                                     5200 7TH AVE W                                                     MINOT            ND      58701
  2.0129 SERVICE MAINTENANCE        CENTURYTEL SERVICE GROUP              TIM WALDEN            ATTN: SUBSIDIARY           PO BOX 1065                             MONROE           LA      71203
         CONTRACT PROPOSAL          LLC                                                         ACCOUNTING
  2.0130 STATEMENT OF WORK          CENTURYTEL SERVICE GROUP              DAWN LOVEGROVE        P.O. BOX 11600                                                     MONROE           LA      71211
                                    LLC; LUMEN TECHNOLOGIES
                                    SERVICE GROUP LLC;
                                    BRIGHTSPEED
  2.0131 PURCHASE AGREEMENT FOR     CHEQUAMEGON                                                 43705 US HWY 63                                                    CABLE            WI      54821
         PRODUCTS AND SERVICES      COMMUNICATIONS
  2.0132 SERVICE MAINTENANCE        CHONE TECHNOLOGIES LOC                                      121 S 17TH STREET                                                  MATTOON          IL      61938
         CONTRACT                   CONSOLIDATED
                                    COMMUNICATIONS INC
  2.0133 SPECIAL EQUIPMENT CONTRACT CHR SOLUTIONS INC; ENGINEER           LARRY SCHULTZ         CHR SOLUTIONS INC          1515 NORTH SANBORN                      MITCHELL         SD      57301-1021
         CLOSEOUT                   MARTIN GROUP INC; STRATFORD                                                            BOULEVARD
                                    MUTUAL TELEPHONE COMPANY

  2.0134 MONTANA 522L — INTERBEL            CHR SOLUTIONS INC; INTERBEL   RANDY WILSON          300 DEWEY AVENUE                                                   EUREKA           MT      59917
         CONTRACT CLOSEOUT                  TELEPHONE COOPERATIVE INC
         CERTIFICATION AND
         CERTIFICATION OF COMPLETION
  2.0135 MONTANA 522L — INTERBEL            CHR SOLUTIONS INC; INTERBEL   RANDY WILSON          CHR SOLUTIONS, INC.        PO BOX 65700                            LUBBOCK          TX      79464-5700
         CONTRACT CLOSEOUT                  TELEPHONE COOPERATIVE INC
         CERTIFICATION AND
         CERTIFICATION OF COMPLETION
  2.0136 DISTRIBUTOR AGREEMENT              CINODIS                                             12 AVENUE DES PRES                                                 78180                                 FRANCE
                                                                                                                                                                   MONTIGNY LE
                                                                                                                                                                   BRETONNEUX
  2.0137 DISTRIBUTOR AGREEMENT              CINODIS                                             12 AVENUE DES PRES                                                 78180                                 FRANCE
                                                                                                                                                                   MONTIGNY LE
                                                                                                                                                                   BRETONNEUX
  2.0138 RESELLER AGREEMENT                 CIT TRADING LLC                                     CHURCHILL EXECUTIVE        OFFICE 3209          BUSINESS BAY       DUBAI                                 UAE
                                                                                                TOWER
  2.0139 RESELLER AGREEMENT                 CIT TRADING LLC                                     CHURCHILL EXECUTIVE        OFFICE 3313-14       BUSINESS BAY       DUBAI                                 UAE
                                                                                                TOWER
  2.0140 STOCK PLAN SERVICES          CITIBANK NA; MORGAN STANLEY         MICHAEL GOLOMB        ONE NEW YORK PLAZA         38TH FLOOR                              NEW YORK         NY      10004
         AGREEMENT (SECTION 423 PLAN) SMITH BARNEY LLC

  2.0141 RE: (I) REVOLVING CREDIT, TERM     CITIBANK NA; PNC BANK         N/A                   350 S GRAND AVE (2 CAL     SUITE 3850                              LOS ANGELES      CA      90071
         LOAN, GUARANTY AND SECURITY        NATIONAL ASSOCIATION; LG                            PLAZA)
         AGREEMENT                          UPLUS CORP.
  2.0142 PURCHASE AGREEMENT FOR             CITY OF CLARKSVILLE, CDE      ATTN: JOSEPH PITTS    2021 WILMA RUDOLPH                                                 CLARKSVILLE      TN      37043
         PRODUCTS AND SERVICES              LIGHTBAND                                           BLVD.
  2.0143 PURCHASE AGREEMENT FOR             CLARKSVILLE MUTUAL            JEFFREY CORPENTER     11767 E CLARKSVILLE RD                                             MARSHALL         IL      62441
         PRODUCTS AND SERVICES              TELEPHONE CO




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  2.0144 AMENDMENT NO. 7 TO THE             CLARO; PUERTO RICO          ENRIQUE ORTIZ DE
         MASTER SERVICE AGREEMENT           TELEPHONE COMPANY INC       MONTELLANO RANGEL,
                                                                        PRESIDENT
  2.0145 AMENDMENT NO. 7 TO THE             CLARO; PUERTO RICO          ENRIQUE ORTIZ DE
         MASTER SERVICE AGREEMENT           TELEPHONE COMPANY INC       MONTELLANO RANGEL,
                                                                        PRESIDENT
  2.0146 AMENDMENT NO. 7 TO THE             CLARO; PUERTO RICO          ENRIQUE ORTIZ DE
         MASTER SERVICE AGREEMENT           TELEPHONE COMPANY INC       MONTELLANO RANGEL,
                                                                        PRESIDENT
  2.0147 PURCHASE AGREEMENT FOR             CLEARFIBER                  ATTN: CHAD HENSON      364 PATTESON DR                                                   MORGANTOWN     WV      26505
         PRODUCTS AND SERVICES
  2.0148 RESELLER AGREEMENT                 CLEVER IT-SERVICES LTD                             VOROSMARTY U.20                                                   H-1074                              HUNGARY
                                                                                                                                                                 BUDAPEST
  2.0149 MUTUAL PRODUCT EVALUATION          CLIK BROADBAND              ATTN: JOE CARROLL      938 BUGLE LANE RD                                                 OCILLA         GA      31774
         AGREEMENT
  2.0150 PURCHASE AGREEMENT FOR             CNT NETWORK TECHNOLOGY
         PRODUCTS AND SERVICES
  2.0151 RESELLER AGREEMENT                 CNT NETWORK TECHNOLOGY                             14 EL-SADAT AXIS - FIRST                                          NEW CAIRO                           EGYPT
                                                                                               SETTLEMENT
  2.0152 PURCHASE AGREEMENT FOR             COCA COLA COMPANY           DAVID COE              ONE COCA-COLA PLAZA                                               ATLANTA        GA      30313
         PRODUCTS AND SERVICES
  2.0153 PURCHASE AGREEMENT FOR             COLOMBIA STORAGE, INC.                             2871 SOMERSET DR            BLG H 410                             LAUDERDALE     FL      33311
         PRODUCTS AND SERVICES                                                                                                                                   LAKES
  2.0154 PURCHASE AGREEMENT FOR             COLORADO VALLEY TELEPHONE   ATTN: BRIAN D VARNER   4915 SOUTH US HWY 77                                              LA GRANGE      TX      78945
         PRODUCTS AND SERVICES              CO-OP
  2.0155 RESELLER AGREEMENT                 COM. TEL S.P.A.                                    VIA SAN GREGORIO 3                                                20124 MILANO                        ITALY
  2.0156 RESELLER AGREEMENT                 COMMUNICATION PARTNER SRL                          SARMIENTO 750 4P - D                                              (X5004EYF)                          ARGENTINA
                                                                                                                                                                 CORDOBA
  2.0157 PURCHASE AGREEMENT FOR             COMNET, INC.                                       13888 COUNTY RD 25A                                               WAPAKONETA     OH      45895
         PRODUCTS AND SERVICES
  2.0158 RESELLER AGREEMENT                 COMPUTER INFORMATION                               JAL EL DIB OLD SIDON        CIS BLDG                              BEIRUT                              LEBANON
                                            SYSTEMS INTERNATIONAL                              ROAD
  2.0159 RESELLER AGREEMENT                 COMPUTER INFORMATION                               JAL EL DIB SQUARE           CIS BLDG                              BEIRUT                              LEBANON
                                            SYSTEMS INTERNATIONAL
  2.0160 STATEMENT OF WORK FOR A            CONNECT HOLDING II LLC;                            PO BOX 1330                                                       FAYETTEVILLE   NC      28302-1330
         CLOUDCHECK SAAS                    BRIGHTSPEED
         SUBSCRIPTION
  2.0161 RESELLER AGREEMENT                 CONNECTIX LTD                                      SKYLINE                     500 AVENUE W                          BRAINTREE                           UK
                                                                                                                                                                 CM77 7AA
  2.0162 LETTER OF ENGAGEMENT RE      CONNOR GROUP GLOBAL
         ADVISORY SERVICES            SERVICES LLC
  2.0163 SERVICES AGREEMENT           CONNOR GROUP GLOBAL
                                      SERVICES LLC
  2.0164   AMENDMENT NUMBER THREE TO CONSOLIDATED                       WAYNE LECHLIDER        ATTN: JUSTIN FERGUSON       2116 SOUTH 17TH ST.                   MATTOON        IL      61938
           THE PURCHASE AGREEMENT     COMMUNICATIONS ENTERPRISE
           FOR PRODUCTS AND SERVICES  SERVICES INC
           BETWEEN CONSOLIDATED
           COMMUNICATIONS ENTERPRISE
           SERVICES, INC. AND DZS INC
  2.0165   AMENDMENT NUMBER THREE TO CONSOLIDATED                       WAYNE LECHLIDER        ATTN: JUSTIN FERGUSON       2116 SOUTH 17TH ST.                   MATTOON        IL      61938
           THE PURCHASE AGREEMENT     COMMUNICATIONS ENTERPRISE
           FOR PRODUCTS AND SERVICES  SERVICES INC
           BETWEEN CONSOLIDATED
           COMMUNICATIONS ENTERPRISE
           SERVICES, INC. AND DZS INC
  2.0166   AMENDMENT NUMBER THREE TO CONSOLIDATED                       WAYNE LECHLIDER        ATTN: JUSTIN FERGUSON       2116 SOUTH 17TH ST.                   MATTOON        IL      61938
           THE PURCHASE AGREEMENT     COMMUNICATIONS ENTERPRISE
           FOR PRODUCTS AND SERVICES  SERVICES INC
           BETWEEN CONSOLIDATED
           COMMUNICATIONS ENTERPRISE
           SERVICES, INC. AND DZS INC
  2.0167   RE: CALIFORNIA CONSUMER    CONSOLIDATED                                             121 S. 17TH STREET                                                MATTOON        IL      61938
           PRIVACY ACT AMENDMENT TO   COMMUNICATIONS INC
           THE SUPPORT AGREEMENT
           ("AGREEMENT(S)")




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  2.0168 AMENDMENT NUMBER ONE TO            CONSOLIDATED                MAUREEN DEBACCO        ATTN: ACCOUNTS             121 SOUTH 17TH ST.                              MATTOON          IL      61938
         THE PRODUCT PURCHASE               COMMUNICATIONS SERVICES                            PAYABLE
         AGREEMENT BETWEEN                  COMPANY
         CONSOLIDATED
         COMMUNICATIONS SERVICES
         COMPANY AND ZHONE
         TECHNOLOGIES, INC
  2.0169 AMENDMENT NUMBER TWO TO            CONSOLIDATED                DAVID MIRUNEE          121 SOUTH 17TH ST.                                                         MATTOON          IL      61938
         THE PRODUCT PURCHASE               COMMUNICATIONS SERVICES
         AGREEMENT BETWEEN                  COMPANY
         CONSOLIDATED
         COMMUNICATIONS SERVICES
         COMPANY AND ZHONE
         TECHNOLOGIES, INC
  2.0170 ZHONE TECHNOLOGIES, INC.           CONSOLIDATED                ATTN: TOM WHITE        121 SOUTH 17TH ST.                                                         MATTOON          IL      61938
         PURCHASE AGREEMENT FOR             COMMUNICATIONS SERVICES
         PRODUCTS AND SERVICES              COMPANY
  2.0171 PURCHASE AGREEMENT FOR             CONTROLWARE GMBH                                   WALDSTRASSE 92                                                             DIETEENBACK,                          GERMANY
         PRODUCTS AND SERVICES                                                                                                                                            63128
  2.0172 PURCHASE AGREEMENT FOR             CORNERSTONE TELEPHONE       ATTN: ROBERT BRIDGHAM 2 THIRD ST                  SUITE 303                                       TROY             NY      12180
         PRODUCTS AND SERVICES              COMPANY
  2.0173 PURCHASE AGREEMENT FOR             CORRIDOR COMMUNICATIONS,                          137 465 AUSTIN RD NE                                                        CALGARY, AB                           CANADA
         PRODUCTS AND SERVICES              INC.                                                                                                                          T2E 7A8
  2.0174 EQUIPMENT PURCHASE                 COX COM INC; COX TEXAS                            1400 LAKE HEARN DRIVE                                                       ATLANTA          GA      30319
         AGREEMENT                          TELCOM LP; COX OHIO TELECOM
                                            LLC; COX KANSAS TELCOM LLC;
                                            COX NEVADA TELECOM LLC; COX
                                            COMMUNICATIONS INC; COX
                                            VIRGINIA TELCOM INC; COX
                                            OKLAHOMA TELCOM LLC; COX
                                            NEBRASKA TELCOM LLC; COX
                                            MARYLAND TELCOM LLC; COX
                                            LOUISIANA TELCOM LLC; COX
                                            RHODE ISLAND TELCOM LLC;
                                            COX NORTH CAROLINA TELCOM
                                            LLC

  2.0175 MUTUAL PRODUCT EVALUATION          CRAIG A WHETSTONE;          CRAIG ANTHONY          ATTN: CRAIG A              100 OGEECHEE ST                                 NEWINGTON        GA      30446
         AGREEMENT                          PLANTERS COMMUNICATIONS     WHETSTONE              WHETSTONE
                                            LLC
  2.0176 MUTUAL PRODUCT EVALUATION          CRITICAL HUB NETWORKS INC                          652 CALLE HIPODROMO                                                        SAN JUAN         PR      00909
         AGREEMENT
  2.0177 PURCHASE AGREEMENT FOR             CRITICAL HUB NETWORKS INC   K LAUM                                                                                            SAN JUAN         PR
         PRODUCTS AND SERVICES
  2.0178 ENGAGEMENT LETTER                  CROWE HORWATH LLP; CROWE    JENNIFER ARAS,         400 CAPITOL MALL           SUITE 1400                                      SACRAMENTO       CA      95814-4498
                                            HORWATH INTERNATIONAL       MANAGING DIRECTOR
  2.0179 ENGAGEMENT LETTER                  CROWE HORWATH LLP; CROWE    JENNIFER ARAS,         400 CAPITOL MALL           SUITE 1400                                      SACRAMENTO       CA      95814-4498
                                            HORWATH INTERNATIONAL       MANAGING DIRECTOR
  2.0180 AUDIT CONFIRMATION                 CROWE LLP                   MICHAEL GOLOMB         400 CAPITOL MALL           SUITE 1400                                      SACRAMENTO       CA      95814
  2.0181 AUDIT CONFIRMATION                 CROWE LLP                   MICHAEL GOLOMB         400 CAPITOL MALL           SUITE 1400                                      SACRAMENTO       CA      95814
  2.0182 INCORPORATION: DELAWARE            CTAR CORPORATION                                   141 MAIN STREET                                                            AILSA CRAIG      ON      N0M 1A0      CANADA
         RESELLER AGREEMENT
  2.0183 REPRESENTATION AGREEMENT           CUSHMAN & WAKEFIELD OF      JEFF STARKOVICH
                                            CALIFORNIA INC
  2.0184 ZHONE SERVICE MAINTENANCE          CYBER MESA TELECOM; 7HONE   VILENA ABBOTT          4200 RODEO RD                                                              SANTA FE         NM      87507
         CONTRACT                           TECHNOLOGIES INC
  2.0185 APPENDIX NO1 TO CONTRACT           CYBERDYNE SYSTEMS LLC                              BANOKATIY STREET           HOUSE 45                 00105, TASHKENT,       MIRABAD                               UZBEKISTAN
         NO DSZ-CD-1 DD. AUGUST 8, 2023                                                                                                                                   DISTRICT, A.S.

  2.0186 ORDER FORM                         CYBERDYNE SYSTEMS LLC                              100105, TASHKENT,          A.S. BANOKATIY STREET,                                                                UZBEKISTAN
                                                                                               MIRABAD DISTRICT,          HOUSE 45
  2.0187 PURCHASE AGREEMENT                 CYBERDYNE SYSTEMS LLC       M. MARCHENKO           100105, TASHKENT,          A.S. BANOKATIY STREET,                                                                UZBEKISTAN
                                                                                               MIRABAD DISTRICT,          HOUSE 45
  2.0188 PURCHASE AGREEMENT                 CYBERDYNE SYSTEMS LLC       M. MARCHENKO           100105, TASHKENT,          A.S. BANOKATIY STREET,                                                                UZBEKISTAN
                                                                                               MIRABAD DISTRICT,          HOUSE 45




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  2.0189 PURCHASE AGREEMENT                 CYBERDYNE SYSTEMS LLC          M. MARCHENKO          100105, TASHKENT,          A.S. BANOKATIY STREET,                                                               UZBEKISTAN
                                                                                                 MIRABAD DISTRICT,          HOUSE 45
  2.0190 RESELLER AGREEMENT                 CYBERDYNE SYSTEMS LLC                                100105, TASHKENT,          DISTRICT, A.S. BANOKATIY                                                             UZBEKISTAN
                                                                                                 MIRABAD                    STREET, HOUSE 45

  2.0191 SELLER REPRESENTATION - U.S.       DAHUA TECHNOLOGY COMPANY;
         FEDERAL PROHIBITION ON             HUAWEI TECHNOLOGIES
         CONTRACTING CERTAIN                COMPANY; HYTERA
         TELECOMMUNICATIONS AND             COMMUNICATIONS
         VIDEO SURVEILLANCE SERVICES        CORPORATION; HANGZHOU
         OR EQUIPMENT FORM                  HIKVISION DIGITAL TECHNOLOGY
                                            COMPANY
  2.0192 PURCHASE AGREEMENT FOR             DAMAMAX PSC                                          AL MADINA AL MUNAWARA 1ST FLOOR, PO BOX 4850                                 AMMAN,                             JORDAN
         PRODUCTS AND SERVICES                                                                   STREET, AL HARAMEIN                                                          JORDAN 11953
                                                                                                 CIRCLE, JAD CENTER

  2.0193 PURCHASE AGREEMENT FOR             DAMN BONE SOLUTIONS INC;       ATTN: TERRY J STOUT   PO BOX 4247                                                                  CLARKSBURG       WV      26302
         PRODUCTS AND SERVICES              OMAN SHONE SOLUTIONS INC
  2.0194 PURCHASE AGREEMENT                 DASAN NETWORKS INC; NOKIA                            KARAPORTTI 3               P.O. BOX 1                FI- 02022 NOKIA SIEMENS NEESPOO                            FINLAND
                                            SIEMENS NETWORKS OY
  2.0195 AMENDMENT NO. ONE TO               DASAN ZONE SOLUTIONS INC;
         PURCHASE AGREEMENT FOR             WORLDNET
         PRODUCTS AND SERVICES              TELECOMMUNICATIONS INC
         AMENDMENT NO. ONE TO
         PURCHASE AGREEMENT
  2.0196 RESELLER AGREEMENT                 DATAGROUP INFORMATION                                KATIP SALIH SOK. NO:37                                                       KOŞUYOLU,                          TURKEY
                                            SYSTEMS CO.                                                                                                                       İSTANBUL
  2.0197 INDEPENDENT CONTRACTOR             DAVID MISUNAS                                        6 SAND HARBOR RD.                                                            ALAMEDA          CA      94502
         SERVICES AGREEMENT
  2.0198 VALUE ADDED RESELLER               DCOM TECHNOLOGY MALAYSIA                             J-7-16 SOLARIS OFFICE      JALAN SOLARIS , MONT                              KUALA LUMPUR                       MALAYSIA
         AGREEMENT                          SDW                                                  SUITES                     KIARA, 50480
  2.0199 ADJUSTMENT TO AGREEMENT            DEAR LORENTZ; NET                                    19, PARK WAY,                                                                NEWBURY,                 RG141EE   UNITED
                                            TECHNOLOGIES LIMITED                                                                                                              BERKSHIRE                          KINGDOM
  2.0200 RESELLER AGREEMENT                 DEFALA MALWINA NOWAK                                 BIECKA 17/16                                                                 35-505 RZESZOW                     POLAND

  2.0201 PURCHASE AGREEMENT FOR             DELTANET AG                                          RIEDSTRASSE 8                                                                DIETIKON, 8953                     SWITZERLAND
         PRODUCTS AND SERVICES
  2.0202 CONFIDENTIALITY AGREEMENT          DEUTSCHE BANK AG                                     AKTIENGESELLSCHAFT         GEORGSPLATZ 20                                    HANNOVER,                          GERMANY
                                                                                                                                                                              30159
  2.0203 ANNEX                              DEUTSCHE TELEKOM AG
  2.0204 ANNEX 4 TRAINING                   DEUTSCHE TELEKOM AG
  2.0205 RESELLER AGREEMENT                 DHIVEHI RAAJJEYGE GULHUN                             DHIRAAGU HEAD OFFICE,                                                        MALE - 20403                       MALDIVES
                                            PLC; DHIRAAGU                                        AMEENEE MAGU
  2.0206 DHL EXPRESS TERMS AND              DHL EXPRESS
         CONDITIONS OF CARRIAGE
         ("TERMS AND CONDITIONS")
  2.0207 RESELLER AGREEMENT                 DIGI ASIA PTE LTD                                    10 ANSON ROAD              #21-02                    INTERNATIONAL PLAZA     SINGAPORE                          SINGAPORE
                                                                                                                                                                              079903
  2.0208 DISTRIBUTOR AGREEMENT       DIGICOMM INTERNATIONAL INC                                  1 DIGICOMM DRIVE                                                             ENGLEWOOD        CO      80112
  2.0209 AMENDMENT #1 BETWEEN        DIGICOMM INTERNATIONAL LLC
         DIGICOMM INTERNATIONAL LLC
         AND DZS INC. AMENDMENT NO.
         001
  2.0210 CONTRACTOR'S PARTIAL WAIVER DIGITAL CONNECTIONS INC
         AND RELEASE OF LEINS
  2.0211 MUTUAL PRODUCT EVALUATION DIGITAL CONNECTIONS INC                 ATTN: TIM WOTRING     452 CASTEEL RD                                                               BRUCETON         WV      26525
         AGREEMENT                                                                                                                                                            MILLS
  2.0212 PURCHASE AGREEMENT FOR      DIGITAL CONNECTIONS INC.                                    457 CASTEEL ROAD                                                             BRUCETON         WV      26525
         PRODUCTS AND SERVICES                                                                                                                                                MILLS
  2.0213 DASAN ZHONE SOLUTIONS, INC. DIGITAL CONTENT SERVICE                                     FLOOR M, AN PHU            PLAZA BUILDING, 117-119                           DISTRICT 03,                       VIETNAM
         DZS SINGLE-TRANSACTION      TRADING COMPANY LIMITED                                                                LY CHINH THANG STREET,                            HCMC
         PURCHASE AGREEMENT 01/NDS-                                                                                         WARD 07
         DASAN/2019
  2.0214 REPRESENTATION AGREEMENT DIGITECH SALES LLC                                             9600 ESCARPMENT BLVD                                                         AUSTIN           TX      78749
                                                                                                 #745-68
  2.0215 RESELLER AGREEMENT                 DIODE ESPANA SA                                      SALUATIERRA 3                                                                MADRID                   28034     SPAIN




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  2.0216 PURCHASE AGREEMENT                 DIRECTV ARGENTINA
  2.0217 SYSTEM EVALUATION                  DISNEY WORLDWIDE SERVICES   ATTN: CONTRACTS          500 SOUTH BUENA VISTA                                                      BURBANK           CA      91521-8022
         AGREEMENT                          INC                         ADMINISTRATION           STREET
  2.0218 ENGAGEMENT LETTER                  DLA PIPER LLP               DANIEL W. LEE COUNTRY    FOREIGN LEGAL               32F, MIRAE ASSET      26 EULJIRO 5-GIL, JUNG-GU SEOUL, 04539                          KOREA
                                                                        MANAGING PARTNER         CONSULTANT OFFICE           CENTER1, WEST TOWER
  2.0219 ENGAGEMENT LETTER                  DLA PIPER LLP                                        FOREIGN LEGAL               32F, MIRAE ASSET      26 EULJIRO5-GIL, JUNG-GU SEOUL, 04539                           KOREA
                                                                                                 CONSULTANT OFFICE           CENTER1, WEST TOWER
  2.0220 PURCHASE AGREEMENT FOR             DOCOMO PACIFIC INC          JAMES W. HOFMAN, II, CLO 890 S. MARINE CORPS                                                        TAMUNING          GU      96913
         PRODUCTS AND SERVICES                                                                   DRIVE
  2.0221 LICENSING AGREEMENT                DOKOM
  2.0222 PURCHASE AGREEMENT FOR             DOUGLAS SERVICES, INC.      ATTN: ZACHARY MEDAL      2350 NW AVIATION DR                                                        ROSEBURG          OR      97470
         PRODUCTS AND SERVICES
  2.0223 RE: UNCLAIMED PROPERTY             DUFF & PHELPS LLC                                    311 SOUTH WACKER            SUITE 4200                                     CHICAGO           IL      60606
         SERVICES                                                                                DRIVE
  2.0224 AGREEMENT                          DYNAMIC BANDWIDTH                                    PO BOX 3838                                                                ABU DHABI                              UNITED ARAB
                                            ALLOCATION; EMIRATES                                                                                                                                                   EMIRATES
                                            TELECOMMUNICATIONS
                                            CORPORATION; ETISALAT
  2.0225 PROPOSAL                           EARTHLINK
                                            TELECOMMUNICATIONS
  2.0226 RESELLER AGREEMENT                 ECCA GROUP                                           EL MEHWAR EL MARKAZY        SILVER MALL           6TH OCTOBER              GIZA                                   EGYPT
  2.0227 MEMORANDUM OF                      ECI TELECOM LTD             ATTN: MICKEY WILF,       30 HASIVIM STREET                                                          PETAH TIKVA,                           ISRAEL
         UNDERSTANDING (MOU)                                            DEKEL COHEN                                                                                         4959388
  2.0228 REVENUE CONTRACT                   ECI TELECOM LTD             ATTN: LIAN JERUSALMY     30 HASIVIM STREET                                                          PETAH TIKVA,                           ISRAEL
                                                                                                                                                                            4959388
  2.0229 TEAMING AGREEMENT                  ECI TELECOM LTD             ATTN: HAIM MOSCOVICH,    30 HASIVIM STREET                                                          PETAH TIKVA,                           ISRAEL
                                                                        ILAN JERUSALMY                                                                                      4959388
  2.0230 PURCHASE AGREEMENT FOR             ECOMM TECH PTE LTD          ATTN: BENJAMIN FANG      83 MARINE PARADE            #01-568                                        SINGAPORE                 440083       SINGAPORE
         PRODUCTS AND SERVICES                                                                   CENTRAL
  2.0231 PURCHASE AGREEMENT FOR             ECOMM TECH PTE LTD          ATTN: BENJAMIN FANG      83 MARINE PARADE            #01-568                                        SINGAPORE                 440083       SINGAPORE
         PRODUCTS AND SERVICES                                                                   CENTRAL
  2.0232 RESELLER AGREEMENT                 ECUAINTEGRAL CONSULTING S.A. ADMINISTRATIVE          DE LOS VIÑEDOS N45-238                                                     QUITO                                  ECUADOR
                                                                         DEPARTMENT              Y GUARUMOS
  2.0233 RESELLER AGREEMENT                 E-HOME AUTOMATION LLC        MR. MOHAMMED            5TH FLOOR, WAFRA            AHMAD AL JABER ST.    P.O. BOX 4954            SAFAT 13050                            KUWAIT
                                                                         ALGHANIM                BUILDING,                   SHARQ
  2.0234 RESELLER AGREEMENT                 ELECTRA CONTROL &                                    4 HA'OMANUT ST.I.Z          POB 8050 4250438                               POLEG NETANYA                          ISRAEL
                                            COMMUNICATION LTD                                    POLEG NETANYA
  2.0235 DISTRIBUTOR AGREEMENT              ELECTRONIC PRODUCT                                   UNIT 17 KINSEALY                                                           DUBLIN                                 IRELAND
                                            SERVICES LTD                                         BUSINESS PARK
  2.0236 RESELLER AGREEMENT                 ELECTRONICS & ELECTRICAL CO                          RAMALLAH, AL-BEIREH,        LOUIS3 BUILDING, GF                            RAMALLAH, AL-                          PALESTINE
                                                                                                                                                                            BEIREH,
  2.0237 3 SCOPE AND PURPOSE OF THE         ELISA OYJ                                            RATAVARTIJANKATU 5                                                         HELSINKI, 00520                        FINLAND
         AGREEMENT
  2.0238 MUTUAL PRODUCT EVALUATION          ELLIJAY TELEPHONE COMPANY   ATTN: STACY PETTIT       1068 PROGRESS ROAD                                                         ELLIJAY           GA      30540
         AGREEMENT
  2.0239 MUTUAL PRODUCT EVALUATION          ELLIJAY TELEPHONE COMPANY   ATTN: STACY PETTIT       224 DALTON STREET                                                          ELLIJAY           GA      30540
         AGREEMENT
  2.0240 MUTUAL PRODUCT EVALUATION          ELLIJAY TELEPHONE COMPANY   ATTN: STACY PETTIT       497 PROGRESS ROAD                                                          ELLIJAY           GA      30540
         AGREEMENT
  2.0241 PURCHASE AGREEMENT FOR             EMERY TELECOM               ATTN: JOHN FAZZIO        445 EAST SR29                                                              ORANGEVILLE       UT      84537
         PRODUCTS AND SERVICES
  2.0242 UNDERTAKING & INDEMNITY            EMIRATES INTEGRATED
         LETTER                             TELECOMMUNICATIONS
                                            COMPANY
  2.0243 UNDERTAKING & INDEMNITY            EMIRATES INTEGRATED
         LETTER                             TELECOMMUNICATIONS
                                            COMPANY
  2.0244 CONFIDENTIALITY AGREEMENT          EMIRATES                                             SHEIKH ZAYED 1ST ST         SHEIKH RASHID BIN     PO BOX NO. 3838          ABU DHABI                              UNITED ARAB
                                            TELECOMMUNICATIONS                                                               SAEED AL MAKTOUM                                                                      EMIRATES
                                            COMPANY; ETISALAT                                                                ROAD
  2.0245 ADDENDUM NO. I                     EMIRATES                                             SHEIKH ZAYED 1ST ST         PO BOX 3838                                    ABU DHABI                              UAE
                                            TELECOMMUNICATIONS                                   AND SHEIKH RASHID BIN
                                            CORPORATION; EMIRATES                                SAEED AL MAKTOUM RD
                                            TELECOMMUNICATIONS GROUP
                                            COMPANY PJSC; ETISALAT




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  2.0246 AGREEMENT                   EMIRATES                           ATTN: ALI SALIM AL OWAIS SHEIKH ZAYED II STREET     SHEIKH RASHID BIN                                ABU DHABI                         UNITED ARAB
                                     TELECOMMUNICATIONS                                          AND                        SAEED AL MAKTOUM                                                                   EMIRATES
                                     CORPORATION; ETISALAT                                                                  ROAD
  2.0247 ETISALAT STANDARD           EMIRATES                                                   EMIRATES                    PO BOX 3838                                      ABU DHABI                         UAE
         INSTRUCTIONS AND CONDITIONS TELECOMMUNICATIONS                                         TELECOMMUNICATIONS
                                     CORPORATION; ETISALAT                                      CORPORATION
  2.0248 NON DISCLOSURE AGREEMENT    EMIRATES                                                   INTERSECTION OF SHEIKH PO BOX 3838                                           ABU DHABI                         UNITED ARAB
                                     TELECOMMUNICATIONS                                         ZAYED II STREET AND                                                                                            EMIRATES
                                     CORPORATION; ETISALAT                                      SHEIKH RASHID BIN
                                                                                                SAEED AL MAKTOUM
                                                                                                STREET
  2.0249 CONFIDENTIALITY AGREEMENT   EMIRATES                                                   SHEIKH ZAYED 1ST       AL MAKTOUM ROAD              PO BOX 3838              ABU DHABI                         UNITED ARAB
                                     TELECOMMUNICATIONS GROUP                                   STREET AND SHEIKH                                                                                              EMIRATES
                                     COMPANY PJSC; ETISALAT                                     RASHID BIN SAEED
  2.0250 SUBJECT: REQUEST TO PROVIDE EMIRATES                                                   PO BOX 3838                                                                  ABU DHABI                         UAE
         USER ACCESS TO ETISALAT     TELECOMMUNICATIONS GROUP
         ISUPPLIER PORTAL            COMPANY PJSC; ETISALAT
  2.0251 SUBJECT: REQUEST TO PROVIDE EMIRATES                                                   PO BOX 3838                                                                  ABU DHABI                         UAE
         USER ACCESS TO ETISALAT     TELECOMMUNICATIONS GROUP
         ISUPPLIER PORTAL            COMPANY PJSC; ETISALAT
  2.0252 RESELLER AGREEMENT          EMPRESARIAL SERVICOS E             PAULO ROBERTO        R. SEBASTIÃO SAMPAIO    BAIRRO ALEXANDRE                                        CEP 14.169.132                    BRAZIL
                                     COMERCIO                                                N.2390 - SERTÃOZINHO-SP BALBO
  2.0253 RESELLER AGREEMENT          EQUINOX EGYPT LLC                  OPERATION DEPARTMENT VILLA 346 A, NORTH 90                                                           NEW CAIRO                         EGYPT
                                                                                             STREET, INTERSECTION
                                                                                             OF FATMA ELZAHRAA
                                                                                             STREET, FIFTH
                                                                                             SETTLEMENT
  2.0254 AGREEMENT                          EQUINOX INTERNATIONAL
  2.0255 RESELLER AGREEMENT                 EQUINSA NETWORKING S.L.U.                           C. PRIMAVERA, 14,                                                            MADRID                    28850   SPAIN
                                                                                                TORREJÓN DE ARDOZ
  2.0256 PURCHASE AGREEMENT FOR             ESSEMATICA
         PRODUCTS AND SERVICES
  2.0257 PURCHASE AGREEMENT FOR             ESSEMATICA
         PRODUCTS AND SERVICES
  2.0258 MOBILY SUPPLIER CODE OF            ETIHAD ETISALAT COMPANY;    ATTN: MOHAMMED A.       MOBILY C1 (AL YABIS         KING FAHAD ROAD, NEAR   PO BOX 9979              RIYADH 11423                      SAUDI ARABIA
         CONDUCT                            ETISALAT; MOBILY            ALTAMIMI - EXECUTIVE    BLDG.) 4TH FLOOR            KINGDOM TOWER
                                                                        GM/PROCUREMENT
  2.0259 PROPOSAL                           ETISALAT
  2.0260 MUTUAL PRODUCT EVALUATION          ETISALAT MISR SAE           RAMY MOHAMED            DOWNTOWN KATTEMYA,          STREET, 5TH             BUILDING S4, 3RD FLOOR   CAIRO, 52299                      EGYPT
         AGREEMENT                                                      ELGNAINY                90TH                        SETTLEMENT,
  2.0261 PRICE AGREEMENT                    EUGENE WATER & ELECTRIC     ATTN: QUENTIN FURROW    500 E 4TH AVE               PO BOX 10148                                     EUGENE            OR      97440
                                            BOARD
  2.0262 PRICE AGREEMENT                    EUGENE WATER & ELECTRIC                             PURCHASING OFFICE, 2ND 500 E 4TH AVE                PO BOX 10148             EUGENE            OR      97440
                                            BOARD                                               FLOOR, HEADQUARTERS
                                                                                                BUILDING

  2.0263 PURCHASE AGREEMENT FOR             EUTEL NV                                            VANTONNINGEN WEG #1         ST. EUSTATIUS                                                                      CARIBBEAN
         PRODUCTS AND SERVICES                                                                                                                                                                                 NETHERLANDS
  2.0264 RESELLER AGREEMENT                 EVEN FLOW DISTRIBUTION                              AVALON BLD                  125 HOPE STREET                                  GARDENS,                          SOUTH AFRICA
                                                                                                                                                                             CAPETOWN
  2.0265 RE: INTERNATIONAL RESELLER         EXCELLDATA LDA                                      AVENIDA RIO DE JANEIRO      N8, 1DTO                                         1700-334 LISBOA                   PORTUGAL
         AGREEMENT
  2.0266 RESELLER AGREEMENT                 EXCELLIUM, LDA                                      AVENIDA RIO DE JANEIRO      N 8, 1DTO                                        1700-334 LISBOA                   PORTUGAL
  2.0267 RESELLER AGREEMENT                 EXCELLIUM, LTDA                                     AVENIDA RIO DE JANEIRO      Nº8                                              1DTO 1700-334                     PORTUGAL
                                                                                                                                                                             LISBOA
  2.0268 FINANCIAL RECRUITING               EXECUFORCE                                          152 N THIRD ST              STE 505                                          SAN JOSE        CA        95112
         STAFFING AGREEMENT
  2.0269 PURCHASE AGREEMENT FOR             EXTRIBIX                                            54 MALWELL DR                                                                WOODMEAD                          SOUTH AFRICA
         PRODUCTS AND SERVICES
  2.0270 RESELLER AGREEMENT                 EXTRIBIX                    NICO VAN DERWALT        AD OUTPOST BUILDING         54 MAXWELL DRIVE                                 SANDTON 2191                      SOUTH AFRICA
  2.0271 RESELLER AGREEMENT                 FALCAO REAL                                         RUA D MANUEL I              N 28-A 2695-003                                  BOBADELA                          PORTUGAL




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  2.0272 RE: SPECIAL EQUIPMENT              FARBER TELEPHONE COMPANY        ATTN: CHARLIE CROW       201 S MAIN ST                                                             FARBER          MO      63345
         CONTRACT, CONTRACT MO 611,
         DATED AUGUST 31, 2011
         BETWEEN FARBER TELEPHONE
         COMPANY. AND ZHONE
         TECHNOLOGIES, INC.
         ("CONTRACT")
  2.0273 PURCHASE AGREEMENT                 FARMERS TELEPHONE                                        CSSA                        ATTN: VIRGINIA COLLINS   5600 MURRAY ST       LITTLE ROCK     AR      72209
                                            COOPERATIVE INC
  2.0274 PURCHASE AGREEMENT                 FARMERS TELEPHONE                                        FARMERS TELEPHONE           ATTN: NICOLE SMALLS      1101 E MAIN ST       KINGSTREE       SC      29556
                                            COOPERATIVE INC                                          COOPERATIVE INC.
  2.0275 PURCHASE AGREEMENT                 FARMERS TELEPHONE                                        FARMERS TELEPHONE           621 N PIKE W                                  SUMTER          SC      29153
                                            COOPERATIVE INC                                          COOPERATIVE INC.
  2.0276 PURCHASE AGREEMENT                 FARMERS TELEPHONE               ATTN: ACCOUNTS           PO BOX 1000                 DEPT 110                                      MEMPHIS         TN      38112
                                            COOPERATIVE INC                 RECEIVABLE
  2.0277 PURCHASE AGREEMENT                 FIBER CONNECT LLC               ATTN: ADAM CHAIT         PO BOX 764                                                                MONTEREY        MA      01245
  2.0278 PURCHASE AGREEMENT FOR             FIBERX INC                      ATTN: IVAN RIVERA        2 URB GOMEZ                                                               HUMACAO         PR      00791
         PRODUCTS AND SERVICES
  2.0279 RESELLER AGREEMENT                 FIBERX INC                      IVAN RIVERA, CEO         METRO OFFICE PARK           CALLE #1 LOT 6           SUITE 104            GUAYNABO        PR      00968
  2.0280 PURCHASE AGREEMENT FOR             FIBRAWEB SPA                                             VIA AMILCARE                                                              CORCIANO PG                       ITALY
         PRODUCTS AND SERVICES                                                                       PONCHIELLI 4                                                              06073
  2.0281 LETTER AGREEMENT RE                FINE POINT TECHNOLOGIES INC     ATTN: SCOTT              13800 COPPERMINE RD                                                       HERNDON         VA      20171
         MOUNTAIN VIEW SOFTWARE                                             ROCKAFELLOW
  2.0282 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC;     ERNEST TOLBERT           333 RT. 46 WEST, SUITE                                                    MOUNTAIN        NJ      07046
                                            CASA COMMUNICATIONS LIMITED                              200;                                                                      LAKES

  2.0283 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -             333 RT. 46 WEST, SUITE                                                    MOUNTAIN        NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT              200;                                                                      LAKES
                                                                        SERVICES
  2.0284 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -             333 RT. 46 WEST, SUITE                                                    MOUNTAIN        NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT              200;                                                                      LAKES
                                                                        SERVICES
  2.0285 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -             333 RT. 46 WEST, SUITE                                                    MOUNTAIN        NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT              200;                                                                      LAKES
                                                                        SERVICES
  2.0286 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -             333 RT. 46 WEST, SUITE                                                    MOUNTAIN        NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT SVC          200;                                                                      LAKES

  2.0287 MUTUAL NON-DISCLOSURE              FLEXTRONICS TELECOM             ATTN: CALVIN LOVE        ST. DENIS STREET SUITE      ST. JAMES COURT                               PORT LOUIS                        MAURITIUS
         AGREEMENT                          SYSTEMS                                                  462
  2.0288 FLOQAST CLOSE MANAGEMENT           FLOQAST INC
         SOFTWARE SERVICES ORDER
         FORM
  2.0289 MUTUAL NON-DISCLOSURE              FLUENCY SECURITY                ATTN: COLLIN MILES       411 IVY LANE                SUITE 302                                     GREENBELT       MD      20770
         AGREEMENT
  2.0290 DZS INC. RESELLER AGREEMENT        FLYTEC COMPUTERS INC            BRUNO T ROCHA, CEO       3043 NW 107 AVE                                                           DORAL           FL      33172
  2.0291 PURCHASE AGREEMENT FOR             FLYTEC COMPUTERS INC            BRUNO T ROCHA/CEO        3043 NW 107TH AVE                                                         DORAL           FL      33172
         PRODUCTS AND SERVICES
  2.0292 MUTUAL PRODUCT EVALUATION          FOCUS BROADBAND INC             ATTN: TIM SMITH          4200-2 RUBY WAY                                                           SHALLOTTE       NC      28470
         AGREEMENT
  2.0293 RESELLER AGREEMENT                 FONEX DATA SYSTEMS INC          TONY MANCINONE           5400 CHEMIN SAINT-                                                        VILLE SAINT- QC         H4S 1P6   CANADA
                                                                                                     FRANÇOIS_                                                                 LAURENT
  2.0294 RESELLER AGREEMENT                 FRACARRO RADIOINDUSTRIE                                  VIA CAZZARO, 3                                                            CASTELFRANCO                      ITALY
                                            S.R.L                                                                                                                              V.TO (TV)
  2.0295 MUTUAL PRODUCT EVALUATION          FRIDAY NETWORKS                                          PETEDALSFLATEN 56                                                         5254 SANDSLI                      NORWAY
         AGREEMENT
  2.0296 RESELLER AGREEMENT                 FRIDAY NETWORKS                                          ENGENE 116                                                                3012 DRAMMEN                      NORWAY
  2.0297 RESELLER AGREEMENT                 FSIT SERVICES EGYPT (FUJITSU)   COMMERCIAL               1144/5 BUILDING ABU BAKR ELSEDDIQ ST SHERATON ,                           CAIRO                             EGYPT
                                                                            DEPARTMENT                                        NOZHA
  2.0298 MUTUAL PRODUCT EVALUATION          FUJITSU NETWORK                                          2801 TELECOM PARKWAY MS C2A                                               RICHARDSON      TX      75082
         AGREEMENT                          COMMUNICATIONS INC
  2.0299 DASAN ZHONE SOLUTIONS, INC.        FURUKAWA ELECTRIC LATAM SA                               RUA HASDRUBAL               820                                           CURITIBA,                         BRAZIL
         AGREEMENT                                                                                   BELLEGARD                                                                 PARANÁ
  2.0300 FIRST AMENDMENT TO THE             FURUKAWA ELECTRIC LATAM SA                               RUA HASDRUBAL               BAIRRO CIDADE                                 CURITIBA, PR,                     BRAZIL
         TECHNICAL SUPPORT SERVICES                                                                  BELLEGARD N. 820            INDUSTRIAL DE CURITIBA                        81460-120
         AGREEMENT




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  2.0301 PURCHASE ORDER                     FURUKAWA ELECTRIC LATAM SA
  2.0302 SECOND AMENDMENT TO THE            FURUKAWA ELECTRIC LATAM SA   HELIO JOSE DURIGAN       RUA HASDRUBAL                 CURITIBA (C.I.C.)                        CITY OF                           BRAZIL
         MAIN CONTRACT                                                                            BELLEGARD N.º 820,                                                     CURITIBA,
                                                                                                  BAIRRO CIDADE                                                          STATE OF
                                                                                                  INDUSTRIAL DE                                                          PARANÁ
  2.0303 TECHNICAL SUPPORT SERVICES         FURUKAWA ELECTRIC LATAM SA                            RUA HASDRUBAL                 BAIRRO CIDADE                            CURITIBA,                         BRAZIL
         AGREEMENT                                                                                BELLEGARD N.º 820             INDUSTRIAL DE CURITIBA                   PARANÁ
                                                                                                                                (C.I.C.)
  2.0304 PARENT COMPANY GUARANTY            FURUKAWA ELECTRIC LATAM SA; ATTN: CAIO DALLAGRANA     RUA HASDRUBAL                                                          CURITIBA,                         BRAZIL
         PARENT                             FURUKAWA ELECTRIC                                     BELLEGARD, 820                                                         PARANA
                                            COMMUNICATIONS SOUTHEAST
                                            ASIA LT
  2.0305 PURCHASE AGREEMENT FOR             GCI COMMUNICATION CORP                                2550 DENALI STREET            SUITE 1000                               ANCHORAGE         AK      99503
         PRODUCTS AND SERVICES
  2.0306 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS        ATTN: LEGAL DEPT.        4 TECHNOLOGY PARK DR                                                   WESTFORD          MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING
                                            COMPANY INC
  2.0307 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS        ATTN: LEGAL DEPT.        4 TECHNOLOGY PARK DR                                                   WESTFORD          MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING
                                            COMPANY INC
  2.0308 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS                                 500 PALLADIUM DR              STE 2100                                 OTTAWA, ON,                       CANADA
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON                                                                                                         K2V 1C2
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING
                                            COMPANY INC
  2.0309 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS                                 500 PALLADIUM DR              STE 2100                                 OTTAWA, ON,                       CANADA
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON                                                                                                         K2V 1C2
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING
                                            COMPANY INC
  2.0310 PURCHASE AGREEMENT FOR             GENERAL DATA COMM INC.                                SADAMA 6/8                    1011 TALLINN                                                               ESTONIA
         PRODUCTS AND SERVICES
  2.0311 MUTUAL CONFIDENTIALITY             GENEXIS SWEDEN AB                                     STENSÄTRAVÄGEN 13                                                      127 39                            SWEDEN
         AGREEMENT                                                                                                                                                       SKÄRHOLMEN
  2.0312 RESELLER AGREEMENT                 GENEXIS SWEDEN AB                                     STENSÄTRAVÄGEN 13                                                      127 39                            SWEDEN
                                                                                                                                                                         SKÄRHOLMEN
  2.0313 RESELLER AGREEMENT                 GENEXIS SWEDEN AB                                     STENSÄTRAVÄGEN 13, 127                                                 SKÄRHOLMEN                        SWEDEN
                                                                                                  39
  2.0314 RESELLER AGREEMENT                 GENEXIS SWEDEN AB                                     STENSÄTRAVÄGEN 13, 127                                                 SKÄRHOLMEN                        SWEDEN
                                                                                                  39
  2.0315 SOW PROFESSIONAL SERVICE           GEOMETRIC RESULTS INC;                                26555 EVERGREEN ROAD SUITE 710                                         SOUTHFIELD        MI      48076
         SUPPLIER LETTER                    CONNECT HOLDINGS II LLC;
                                            BRIGHTSPEED
  2.0316 PURCHASE AGREEMENT FOR             GEORGIA PUBLIC WEB INC                                1470 RIVEREDGE PKWY                                                    ATLANTA           GA      30328
         PRODUCTS AND SERVICES
  2.0317 RESELLER AGREEMENT                 GESTO COMMUNICATIONS                                  KORUNNI 106                                                            101 00 PRAHA 10                   CZECH
                                                                                                                                                                                                           REPUBLIC
  2.0318 GENERAL REPAIR TERMS AND           GLATTWERK AG
         CONDITIONS
  2.0319 RESELLER AGREEMENT                 GLOBAL COMPUTER              ADMINISTRATION           SHARJAH P8-11-32              PO BOX : 514326          FREE ZONE       SHARJAH                           UNITED ARAB
                                            COMMUNICATION SOLUTIONS      DEPARTMENT                                                                                                                        EMIRATES
                                            FZC
  2.0320 AMENDMENT NO 2 ORIGINAL            GLOBALCONNECT AS
         GLOBAL CONNECT AS
         ROLFSBUKTVEIEN 4 PB 1 N-1330
  2.0321 PURCHASE AGREEMENT FOR             GMT TELECOMMUNICATIONES
         PRODUCTS AND SERVICES
  2.0322 PURCHASE AGREEMENT FOR             GO, PLC
         PRODUCTS AND SERVICES
  2.0323 PURCHASE AGREEMENT FOR             GOLDEN WEST                                           116 MAIN AVE                                                           HARTFORD          SD      57033
         PRODUCTS AND SERVICES              TELECOMMUNICATIONS COOP.,
                                            INC.




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  2.0324 AMENDMENT NO. 1 TO THE             GOLDFIELD TELECOM LC                                    611 NORTH MAIN                                                     GOLDFIELD        IA      50542
         RESELLER AGREEMENT
         BETWEEN PARADYNE
         CORPORATION AND GOLDFIELD
         TELECOM, LC
  2.0325 AMENDMENT NO. 2                    GOLDFIELD TELECOM LC                                    611 NORTH MAIN                                                     GOLDFIELD        IA      50542
  2.0326 RESELLER AGREEMENT                 GOLDFIELD TELECOM LC          DARRELL L SEABA,          611 NORTH MAIN,                                                    GOLDFIELD        IA      50542
                                                                          PRESIDENT
  2.0327 RELATING PARTIES                   GONGJIN ELECTRONIC (HONG
         TRANSACTION CONFIRMATION           KONG) LIMITED
         FOR AUDIT
  2.0328 RE: OUTSOURCED LEGAL               GRABLE MARTIN FULTON PLLC
         SERVICES FOR DZS
         (HEREINAFTER REFERRED TO AS
         "YOU" OR THE "COMPANY")
  2.0329 PURCHASE AGREEMENT FOR             GRAND RIVER MUTUAL TEL                                  GRAND RIVER MUTUAL         1001 KENTUCKY STREET                    PRINCETON        MO      64673
         PRODUCTS AND SERVICES                                                                      TEL
  2.0330 DISTRIBUTOR AGREEMENT              GRAYBAR ELECTRIC COMPANY      PRODUCT MANAGER           34 NORTH MERAMEC                                                   ST LOUIS         MO      63105
                                            INC                                                     AVENUE
  2.0331 PURCHASE AGREEMENT FOR             GREH LITTO                                              7640 8 ST NE                                                       CALGARY, AB,                     CANADA
         PRODUCTS AND SERVICES                                                                                                                                         T2E 8X4
  2.0332 PURCHASE AGREEMENT FOR             GT&T                                                    79 BRICKDAM                                                        GEORGETOWN                       GUYANA
         PRODUCTS AND SERVICES
  2.0333 RESELLER AGREEMENT                 GTC TRADING DWC LLC           ABDUL LATIF HIJAZI        DUBAI WORLD CENTRAL,       BLDG A2 BUSINESS PARK                                            DUBAI   UAE
                                                                                                    OFFICE 24, LEVEL 4
  2.0334 DZS EVERY CONNECTION        GULF MINETECH LLC                    ATTN: JASON ALCONERA      OFFICE 902                 KHALID AL ATTAR HOTEL                   DUBAI                            UAE
         MATTERS" OVERALL GUIDELINES                                                                                           & OFFICE TOWER SHEIKH
                                                                                                                               ZAYED ROAD
  2.0335 RESELLER AGREEMENT                 GULF MINETECH LLC             PROCUREMENT          OFFICE 902 KHALID AL            OFFICE TOWER SHEIKH                     ZAYED ROAD                       UAE
                                                                          DEPARTMENT           ATTAR, HOTEL &                                                          DUBAI,
  2.0336 PATENT SALES SERVICES              HANS LEE                                           506 BANSEOK BLESSVILLE 1615-17, BONGCHEON-7                             GWANAK-GU,                       KOREA
         AGREEMENT                                                                                                    DONG                                             SEOUL
  2.0337 RESELLER AGREEMENT                 HARDWARE SOLUTIONS            MOHAMMED ADEEL ABBAS AL-AZIZIYAH, DIST-1,   3RD FLOOR BLDG.                                  JEDDAH 7575 AL-                  SAUDI ARABIA
                                            BUILDERS CO                                        MADINA ROAD                                                             WESSAL
  2.0338 MUTUAL PRODUCT EVALUATION          HARDY TELECOMMUNICATIONS      ATTN: JEFF SITES     2255 KIMSEY'S RUN RD                                                    LOST CITY       WV       26810
         AGREEMENT
  2.0339 EVERY CONNECTION MATTERS           HARRISION RURAL               ATTN: TERRY STOUT         PO BOX 4247                                                        CLARKBURG        WV      26302
         OVERALL GUIDELINES                 ELECTRIFICATION ASSOCIATION
                                            INC
  2.0340 EVERY CONNECTION MATTERS           HARRISION RURAL               ATTN: TERRY STOUT         PO BOX 4247                                                        CLARKBURG        WV      26302
         OVERALL GUIDELINES                 ELECTRIFICATION ASSOCIATION
                                            INC
  2.0341 PURCHASE AGREEMENT FOR             HARRISON RURAL                ATTN: TERRY J STOUT       PO BOX 4247                                                        CLARKSBURG       WV      26302
         PRODUCTS AND SERVICES              ELECTRIFICATION ASSOC. INC.
  2.0342 PURCHASE AGREEMENT FOR             HAYAT COMMUNICATIONS          ATTN: AMER HAYAT          PO BOX 1668 SAFAT                                                  SAFAT, 13017                     KUWAIT
         PRODUCTS AND SERVICES
  2.0343 MUTUAL PRODUCT EVALUATION          HCD CONSULTING GMBH                                     AM BILLERBERG 5                                                    INNING AM                        GERMANY
         AGREEMENT                                                                                                                                                     AMMERSEE,
                                                                                                                                                                       82266
  2.0344 MUTUAL PRODUCT EVALUATION          HCD CONSULTING GMBH                                     AM BILLERBERG 5                                                    INNING AM                        GERMANY
         AGREEMENT                                                                                                                                                     AMMERSEE,
                                                                                                                                                                       82266
  2.0345 MUTUAL PRODUCT EVALUATION          HCD CONSULTING GMBH                                     CONNECTING PROJECT         VIA DELLA                               PERUGIA, 06135                   ITALY
         AGREEMENT                                                                                                             COMUNICAZIONE 5
  2.0346 MUTUAL PRODUCT EVALUATION          HCD CONSULTING GMBH           C/O DELIT AG              DR. ADOLF SCHNEIDER-                                               ELLWANGEN                        GERMANY
         AGREEMENT                                                                                  STRASSE 23/1                                                       (JAGST), 73479
  2.0347 MUTUAL PRODUCT EVALUATION          HCD CONSULTING GMBH           C/O PLANETEL S.P.A.       VIA BOFFALORA              4 C.A. ANDREA LECCHI                    TREVIOLO (BG),                   ITALY
         AGREEMENT                                                                                                                                                     24048
  2.0348 ENGAGEMENT LETTER                  HEIDRICK & STRUGGLES (KOREA) ATTN: YH YEONHO KIM     5F, GANGNAM FINANCE           152 TEHERAN-RO,                         SEOUL, 06236                     KOREA
                                            INC                                                  CENTER                        GANGNAM-GU
  2.0349 PURCHASE AGREEMENT                 HERIEA LIMA                                          VIDEOMAR REDE
                                                                                                 NORDESTE S/A
  2.0350 RESELLER AGREEMENT                 HEYDOX COMMUNICATIONS         ABDUL JALEEL, DIRECTOR OFFICE 2, BUILDING 652        ROAD 3625, BLOCK 336                    ADLIYA                           BAHRAIN
                                                                          OF OPERATIONS




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  2.0351 DRAFT REPRESENTATION               HHN PARTNERS LLC                                     3120 WILLIAMSBURG WAY                                                          JEFFERSON CITY MO      65109
         AGREEMENT
  2.0352 MUTUAL PRODUCT EVALUATION          HICKORY TELEPHONE COMPANY     ATTN: BRIAN JEFFERS    75 MAIN STREET                                                                 HICKORY           PA   15340
         AGREEMENT
  2.0353 PURCHASE AGREEMENT FOR             HICTORY TELEPHONE COMPANY     ATTN: GRIER ADAMSON    75 MAIN STREET                                                                 HICKORY           PA   15340-1118
         PRODUCTS AND SERVICES              (HTC) COMMUNICATIONS
  2.0354 PURCHASE AGREEMENT FOR             HIGUEST SRL                                          VICOLO MENDOLA, 39                                                             BOLZANO, 39100                      ITALY
         PRODUCTS AND SERVICES
  2.0355 PURCHASE AGREEMENT FOR             HIGUEST SRL                                          VICOLO MENDOLA, 39                                                             BOLZANO, 39100                      ITALY
         PRODUCTS AND SERVICES
  2.0356 AUTHORIZATION LETTER               HITEKNOFAL SOLUTIONS LTD
  2.0357 AUTHORIZATION LETTER               HITEKNOFAL SOLUTIONS LTD
  2.0358 RESELLER AGREEMENT                 HITEKNOFAL SOLUTIONS LTD      LEGAL DEPARTMENT       43R SECTION SIX                ZAHRAA EL MAADI, MAIN                           11742 MAADI,                        EGYPT
                                                                                                                                ROAD                                            CAIRO
  2.0359 PURCHASE AGREEMENT FOR             HOIST GROUP SPAIN
         PRODUCTS AND SERVICES
  2.0360 RESELLER AGREEMENT                 HORIZON TECHNOLOGY FZCO       ATTN: JIHAD IBHAISS    DUBAI DIGITAL PARK                                                                                                 IRAQ
  2.0361 MUTUAL PRODUCT EVALUATION          HORRY TELEPHONE                                      3480 US. HWY 701                                                               CONWAY            SC   29526
         AGREEMENT                          COOPERATIVE INC
  2.0362 MUTUAL PRODUCT EVALUATION          HORRY TELEPHONE               ATTN: JOSH NORTON      3480 US-701                                                                    CONWAY            SC   29526
         AGREEMENT                          COOPERATIVE INC
  2.0363 PURCHASE AGREEMENT FOR             HOSPITALITY PURVEYORS, INC.   ATTN: NORVILLE ESTY    5000 SW 75TH AVENUE            STE. 111                                        MIAMI             FL   33155
         PRODUCTS AND SERVICES
  2.0364 RESELLER AGREEMENT                 HOSTED AMERICA INC                                   410 S. SALISBURY ST.                                                           RALEIGH           NC   27601
  2.0365 PURCHASE AGREEMENT FOR             HOSTED AMERICA LLC                                   410 S SALISBURY ST                                                             RALEIGH           NC   27601
         PRODUCTS AND SERVICES
  2.0366 ENTERPRISE VAR AGREEMENT           HUACOMM                       TIM CHAN, DIRECTOR     UNIT B-6-8 & B-6-9, LEVEL      SOUTHGATE               NO 2, JALAN DUA OFF JALANKUALA LUMPUR                       MALAYSIA
                                            TELECOMMUNICATIONS                                   6, BLOCK B                     COMMERCIAL CENTRE                                55200
                                            ENGINEERING (M) SDN BHD
  2.0367 RESELLER AGREEMENT                 I3C SOLUCOES EM TELEFONIA E                          R. TATUAPÉ, 526 51.03                                                          ITAUM,                              BRAZIL
                                            COMUNICACAO LTDA                                                                                                                    JOINVILLE, SC,
                                                                                                                                                                                89210-340
  2.0368 KEY TERMS AND CONSIDERATION IMMARVIC CIA. LTDA                                          NICANOR AGUILAR & LUIS                                                         CUENCA, 010107                      ECUADOR
                                                                                                 MORENO MORA
  2.0369 PURCHASE AGREEMENT FOR             IMPERIUM DATA NETWORKS LLC    ATTN: ASHLEY SIMMONS   8508 BENJAMIN RD               STE D                                           TAMPA             FL   33634
         PRODUCTS AND SERVICES
  2.0370 PURCHASE AGREEMENT FOR             INFINITY BROADBAND LTD                               409 WALKERS RD                                                                 GEORGE TOWN                         CAYMAN
         PRODUCTS AND SERVICES                                                                                                                                                                                      ISLANDS
  2.0371 PURCHASE AGREEMENT FOR             INFITEL CO LTD; ZHOME                                INFITEL CO., LTD.              703 RATCHAD             SUITE BLDG. 5TH FLOOR   BANGSUE,                            THAILAND
         PRODUCTS AND SERVICES              TECHNOLOGIES INC                                                                    WONGSAWANG                                      BANGKOK, 10800
  2.0372 AUTHORIZED PARTNER STATUS          INFORT EGYPT                                         67 SEHAB ST                                                                    GIZA                                EGYPT
         CONFIRMATION LETTER                                                                     MOHANDESEIN
  2.0373 CERTIFICATE OF CONFORMITY          INFORT EGYPT
  2.0374 MUTUAL CONFIDENTIALITY             INFORT EGYPT                                         67 SHEHAB ST                                                                   MOHANDESSINE,                       EGYPT
         AGREEMENT                                                                                                                                                               CAIRO, 12411
  2.0375 MUTUAL CONFIDENTIALITY             INFORT EGYPT                                         67 SHEHAB ST                                                                   MOHANDESSINE,                       EGYPT
         AGREEMENT                                                                                                                                                               CAIRO, 12411
  2.0376 RESELLER AGREEMENT                 INFORT EGYPT                  PROCUREMENT            67 SHEHAB ST.                                                                  MCHANDSCEN-                         EGYPT
                                                                          DEPARTMENT                                                                                            GIZA
  2.0377 SERVICES AGREEMENT                 INFRACO; TELSTRA LIMITED;                            TELSTRA LIMITED                LEVEL 41, 242-282                               MELBOURNE,                          AUSTRALIA
                                            TELSTRA GROUP LIMITED;                                                              EXHIBITION ST                                   3000
                                            TELSTRA CORPORATION LIMITED
  2.0378 PURCHASE AGREEMENT                 INFRASTRUKTURA D.O.O.                                KOPRIVNICKA 17 C                                                               LUDBREG,                            BALKANS
                                                                                                                                                                                CROATIA, 42230,
  2.0379 PARTICIPATION AGREEMENT            INGRAM MICRO (NZ) LIMITED                            78 APOLLO DRIVE                                                                ROSEDALE,                           NEW ZEALAND
                                                                                                                                                                                NORTH SHORE
                                                                                                                                                                                CITY, 0632
  2.0380 PARTICIPATION AGREEMENT            INGRAM MICRO (NZ) LIMITED                            78 APOLLO DRIVE                                                                ROSEDALE,                           NEW ZEALAND
                                                                                                                                                                                NORTH SHORE
                                                                                                                                                                                CITY, 0632
  2.0381 PARTICIPATION AGREEMENT            INGRAM MICRO (NZ) LIMITED                            78 APOLLO DRIVE                                                                ROSEDALE,                           NEW ZEALAND
                                                                                                                                                                                NORTH SHORE
                                                                                                                                                                                CITY, 0632




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  2.0382 RE: PARTICIPATION AGREEMENT        INGRAM MICRO (NZ) LIMITED       CRAIG PAGE, DIRECTOR   78 APOLLO DRIVE,                                                       AUCKLAND 0632                       NEW ZEALAND
         PURSUANT TO CLAUSE 2.2 OF                                          OF FINANCE             ROSEDALE,
         THE DISTRIBUTION AGREEMENT
         DATED 9 FEBRUARY 1993 AND
         CLAUSE 4 OF THE
         PARTICIPATION AGREEMENT

  2.0383 AMENDMENT #2 TO THE                INGRAM MICRO INC
         DISTRIBUTION AGREEMENT
  2.0384 EVERY CONNECTION MATTERS           INGRAM MICRO NZ LTD                                    78, APOLLO DRIVE              ROSEDALE, NORTH SHORE                    AUCKLAND 0632                       NEW ZEALAND
         OVERALL GUIDELINES
  2.0385 PURCHASE AGREEMENT FOR             INSTANET DMCC                                          1806 TIFFANY TOWER                                                     CLUSTER-W JLT,                      UNITED ARAB
         PRODUCTS AND SERVICES                                                                                                                                            DUBAI                               EMIRATES
  2.0386 RESELLER AGREEMENT                 INTEGRAL PVT LTD                ATTN: MOHAMED YASIN    VIMLA ANNEX,                                                           MALE' CITY,                         MALDIVES
                                                                                                   JANAVAREE HINGUN                                                       20055
  2.0387 RESELLER AGREEMENT                 INTELVISION LTD                 SALES DEPARTMENT       ATTN: SALES                   PROVIDENCE HIGHWAY                       MAHE                                SEYCHELLES
                                                                                                   DEPARTMENT
  2.0388 MUTUAL PRODUCT EVALUATION          INTER. TELECOM & ELECT.                                AL NEMAH BUILDING, 1ST                                                 RAFEEDIAH                           ISRAEL
         AGREEMENT                          CORPORATION ITEC                                       FLOOR, RAFEEDIAH ST.,                                                  NABLUS, WEST
                                                                                                                                                                          BANK
  2.0389 PURCHASE AGREEMENT FOR             INTERBEL TELEPHONE                                     300 DEWEY AVE                 PO BOX 648                               EUREKA            MT   59917
         PRODUCTS AND SERVICES              COOPERATIVE INC
  2.0390 SUBJECT: MONTANA 522               INTERBEL TELEPHONE                                     PO BOX 648                                                             EUREKA            MT   59917
         INTERBEL                           COOPERATIVE INC
  2.0391 DISTRIBUTORSHIP AGREEMENT          INTERCABLE SA DE CV             ATTN: EDUARDO          PRESA DE TEPUXTEPEC           COLONIA LOMA HERMOSA                     CIUDAD DE                           MEXICO
                                                                            CERRILLO ALEMAN &      NO. 40E                       DELEGACIÓN MIGUEL                        MEXICO, CP,
                                                                            ARMANDO PALESTINA                                    HIDALGO                                  11200
                                                                            RODRÍGUEZ
  2.0392 NON DEVELOPMENT SOLUTIONS          INTERNATIONAL BUSINESS                                 2455 SOUTH ROAD                                                        POUGHKEEPSIE NY        12601
         ENGAGEMENT AGREEMENT               MACHINES CORPORATION
  2.0393 ENGAGEMENT LETTER                  INWI
  2.0394 PURCHASE AGREEMENT FOR             ITECO NIGERIA LIMITED; SINFIN                          RIO MIXCOAC NO. 39            PISO 5                                   MEXICO, DF                          MEXICO
         PRODUCTS AND SERVICES                                                                                                                                            03940
  2.0395 RESELLER AGREEMENT                 ITESALGROUP SYSTEMS CO. WLL GENERAL MANAGER            A. AL SALEM ST.               BAITAK TOWER                             B15 KUWAIT CITY                     KUWAIT

  2.0396 RESELLER AGREEMENT                 ITESALGROUP SYSTEMS CO. WLL GENERAL MANAGER            A. AL SALEM ST.               BAITAK TOWER                             B15, KUWAIT                         KUWAIT
                                                                                                                                                                          CITY
  2.0397 PURCHASE AGREEMENT FOR             ITV-3 INC.; I3 BROADBAND                               331 FULTON ST                 STE 300                                  PEORIA            IL   61602
         PRODUCTS AND SERVICES
  2.0398 MUTUAL NON-DISCLOSURE              JABIL INC.                                             10560 DR. M.L. KING JR. ST                                             ST PETERSBURG FL       33716-3718
         AGREEMENT                                                                                 N
  2.0399 RESELLER AGREEMENT                 JORDAN DATA SYSTEMS             ATTN: LOAI MADANCT
  2.0400 PURCHASE AGREEMENT FOR             JSC SPLIUS                                             TILZES STR. 74                                                         SIAULIAI, 78140                     LITHUANIA
         PRODUCTS AND SERVICES
  2.0401 REPRESENTATION AGREEMENT           JTECH SYSTEMS                                        113 DOMINICAN DR                                                         SAN RAFAEL        CA   94901
  2.0402 REPRESENTATION AGREEMENT           JTECH SYSTEMS                                        113 DOMINICAN DR                                                         SAN RAFAEL        CA   94901
  2.0403 REPRESENTATION AGREEMENT           JTECH SYSTEMS                                        113 DOMINICAN DR                                                         SAN RAFAEL        CA   94901
  2.0404 MUTUAL CONFIDENTIALITY             JUMLA NOW MOBILE PHONES         ATTN: HASSAN MOHAMED SILVER TOWER, 19C               CLUSTER I                                JLT-DUBAI                           UAE
         AGREEMENT                          AND ACCESSORIES TRADING         KRAYKER
                                            L.L.C.
  2.0405 PURCHASE AGREEMENT FOR             JUNGO LTD.                                             1 HAMACHSHEV ST                                                        NETANYA, 42504                      ISRAEL
         PRODUCTS AND SERVICES
  2.0406 NOTIFICATION LETTER                JV LLC
  2.0407 ORDER NOTIFICATION LETTER          JV LLC
  2.0408 ORDER NOTIFICATION LETTER          JV LLC
  2.0409 MUTUAL PRODUCT EVALUATION          KABEL-TV LAMPERT GMBH & CO                             LEHENWEG 2                                                             6830 RANKWEIL                       AUSTRIA
         AGREEMENT                          KG
  2.0410 DISTRIBUTOR AGREEMENT              KANNEGIETER ELECTONICA BV                              ASTRONAUT 98                                                           3824 MJ                             THE
                                                                                                                                                                          AMERSFOORT                          NETHERLANDS
  2.0411 PURCHASE AGREEMENT FOR             KANOKLA TELEPHONE                                      100 KANOKLA AVE                                                        CALDWELL          KS   67022
         PRODUCTS AND SERVICES
  2.0412 SUPPLY CONTRACT                    KARABAKH TELECOM CJSC                                  5700 TENNYSON PKWY            STE 400                                  PLANO           TX     75024
  2.0413 FIRST AMENDMENT TO NON-            KDDI CORPORATION; KYOCERA                              KDDI CORPORATION              3-10-10, IIDABASHI      CHIYODA-KU       TOKYO, 102-8460                     JAPAN
         DISCLOSURE AGREEMENT               COMMUNICATION SYSTEMS CO
                                            LTD




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  2.0414 FIRST AMENDMENT TO NON-            KDDI CORPORATION; KYOCERA                         KYOCERA                       S BLDG.3F, 3-32-42                             SHINAGAWA-KU,                       JAPAN
         DISCLOSURE AGREEMENT               COMMUNICATION SYSTEMS CO                          COMMUNICATION                 HIGASHISHINAGAWA                               TOKYO 140-8870
                                            LTD                                               SYSTEMS CO., LTD
  2.0415 AGREEMENT                          KEITH E HOULT; INTENO                             VICTORIA HOUSE, 19                                                           NEWBURY,               RG14 1EE     UNITED
                                            COMMUNICATION; NET                                PARK WAY                                                                     BERKSHIRE                           KINGDOM
                                            TECHNOLOGIES LIMITED
  2.0416 PURCHASE AGREEMENT FOR             KENTON RESEARCH LTD                               UNIT 19 BOURNE IND.                                                          CRAYFORD,              DA14BZ       UNITED
         PRODUCTS AND SERVICES                                                                PARK                                                                         KENT                                KINGDOM
  2.0417 PURCHASE AGREEMENT FOR             KEPS TECHNOLOGIES INC. DBA                        1800 N GRAND RIVER                                                           LANSING          MI    48906
         PRODUCTS AND SERVICES              ACD.NET
  2.0418 PRICING PROPOSAL                   KETCHIKAN PUBLIC UTILITIES
  2.0419 AGREEMENT SYMMETRICAL              KETCHIKAN PUBLIC UTILITIES;   N/A                 2930 TONGASS AVE                                                             KETCHIKAN        AK    99901
         SERVICES ACCESS EQUIPMENT          CITY CLERK OF THE CITY OF
         CONTRACT NO. 06-38                 KETCHIKAN ALASKA
  2.0420 AGREEMENT SYMMETRICAL              KETCHIKAN PUBLIC UTILITIES;   N/A                 ATTN: KARL R. AMYLON,         334 FRONT ST                                   KETCHIKAN        AK    99901
         SERVICES ACCESS EQUIPMENT          CITY CLERK OF THE CITY OF                         KPU GENERAL MANAGER
         CONTRACT NO. 06-38                 KETCHIKAN ALASKA
  2.0421 PURCHASE AGREEMENT FOR             KINEX TELECOM                                     717 W THIRD ST                                                               FARMVILLE        VA    23901
         PRODUCTS AND SERVICES
  2.0422 PURCHASE AGREEMENT                 KINGSTON COMMUNICATIONS                           3980 HIGHMARKET ST                                                           GEORGETOWN       SC    29440
  2.0423 PURCHASE AGREEMENT                 KIT CARSON TELECOM                                116 CRUZ ALTA RD                                                             TAOS             NM    87571
  2.0424 RESELLER AGREEMENT                 KLF ITALIA SRL                                    VIA G. TALIERCIO 7/A                                                         30037 SCORZE                        ITALY
                                                                                                                                                                           (VE)
  2.0425 GENERAL TERMS AND                  KT CO LTD
         CONDITIONS OF THE PURCHASE
         CONTRACT
  2.0426 RESELLER AGREEMENT                 KT-ELECTRONIC KFT                                 GYAR U. 2.                                                                   H-2040 BUDAORS                      HUNGARY

  2.0427 RE: ENGAGEMENT TO PERFORM          KUTAK ROCK LLP                                    124 W CAPITOL AVE             STE 2000                                       LITTLE ROCK      AR    72201-3740
         LEGAL SERVICES
  2.0428 DISTRIBUTION AGREEMENT             LAGERCRANTZ COMMUNICATION                         KUNG HANS VAG 3                                                              ROTEBRO,                            SWEDEN
                                            AB                                                                                                                             SOLLENTUNA,
                                                                                                                                                                           191 29
  2.0429 RESELLER AGREEMENT                 LANSE-3 PLAY A.S.                                 ENSJÖVEJEN 10-12C                                                            OSLO 0655                           NORWAY
  2.0430 RESELLER AGREEMENT                 LANSE-3 PLAY A.S.                                 POSTBOX 406                   ÖKERN 0513                                     OSLO                                NORWAY
  2.0431 DISTRIBUTOR AGREEMENT              LAO MUNKONG SOLE CO LTD       MR. KHAMSAVATH      ATTN: KHAMSAVATH              BAN PHONESENOUN          SISATTANAK DISTRICT   VIENTIANE, LAO                      LAOS
                                                                          PHONGSAVANH         PHONGSAVANH                                                                  P.D.R
                                                                          MANAGING DIRECTOR
  2.0432 PURCHASE AGREEMENT FOR             LAR COMPUTADORAS SA DE GV                         ECATZINGO 56 CUMBRIA                                                         ESTADO DE              5474         MEXICO
         PRODUCTS AND SERVICES                                                                CUAUTITLAN IZCALL                                                            MEXICO CP
  2.0433 RESELLER AGREEMENT                 LEB ON FIBER S.A.R.L.                             PRESIDENT FRANGIEH                                                           KFERHATA                            LEBANON
                                                                                              STREET                                                                       ZOHARTA 31111
  2.0434 DZS INC. RESELLER AGREEMENT LIGHT RIVER TECHNOLOGIES INC ATTN: DEAN CAMPBELL         2150 JOHN GLENN DR                                                           CONCORD          CA    94520
  2.0435 RESELLER AGREEMENT          LIGHT RIVER TECHNOLOGIES INC ATTN: GARRETT P             3732 MT DIABLO BLVD           STE 156                                        LAFAYETTE        CA    94549
                                                                  GRUNEWALD
  2.0436 MUTUAL PRODUCT EVALUATION LIGHTRIVER TECHNOLOGIES INC BRIAN SCHAMBER                 2150 JOHN GLENN DR.                                                          CONCORD          CA    94520
         AGREEMENT                                                                            SUITE 200
  2.0437 RESELLER AGREEMENT          LINK ACCURACY COMPANY LTD    ATTN: MUSTAFA MAKKI         IRAQ-BAGHDAD, DIST NO.        ST. NO.12, VILLA NO. 3                                                             IRAQ
                                                                  SAGHEER                     604
  2.0438 FINANCIAL PUBLIC RELATIONS  LIOLIOS GROUP INC            ATTN: J SCOTT LIOLIOS       4685 MACARTHUR COURT          #400                                           NEWPORT          CA    92660
         AGREEMENT                                                                                                                                                         BEACH
  2.0439 PURCHASE AGREEMENT          LISCO LLC                                                1680 HWY 1                                                                   FAIRFIELD        IA    52556
  2.0440 ENGAGEMENT AGREEMENT        LOGOS LAW LLC
  2.0441 RESELLER AGREEMENT          LOWVO COMPANY                ATTN: MR. MOHAMMED          WAFRA BUILDING, 5TH           AHMED AL JABER ST,                             SAFAT 13050                         KUWAIT
                                                                  ALGHANIM                    FLOOR                         SHARQ
  2.0442 RESELLER AGREEMENT          LOWVO SOLUTIONS              ATTN: MOHAMMED              5TH FLOOR, WAFRA              AHMAD AL JABER ST.                             SAFAT, 13050                        KUWAIT
                                                                  ALGHANIM                    BUILDING                      SHARQ, PO BOX 4954
  2.0443 PURCHASE AGREEMENT          LUMENET COMUNICACIONES LLC ATTN: JORGE VALDEZ B          MADERO 641-B                  PRIMERA SECCION, ZARA                          MEXICALI, BAJA                      MEXICO
                                                                                                                            CENTRO                                         CALIFORNIA
  2.0444 PROCUREMENT AGREEMENT              LUX INC; TIME WARNER                              LUXN, INC.                    ATTN: DIRECTOR, LEGAL    570 MAUDE COURT       SUNNYVALE        CA    94086
                                            TELECOM HOLDINGS INC                                                            AFFAIRS
  2.0445 PROCUREMENT AGREEMENT              LUX INC; TIME WARNER                              TIME WARNER TELECOM           ATTN: PROCUREMENT        10475 PARK MEADOWS DRIVLITTLETON       CO    80124
                                            TELECOM HOLDINGS INC                              HOLDINGS INC.                 CONTRACT
                                                                                                                            ADMINISTRATION
                                                                                                                            MANAGER




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  2.0446 STATE OF HAWAII CONTRACT           LUXN INC; STATE PROCUREMENT                          1151 PUNCHBOWL ST                                                 HONOLULU         HI      96813
         FOR GOODS AND SERVICES             OFFICE STATE OF HAWAII

  2.0447 STATE OF HAWAII CONTRACT           LUXN INC; STATE PROCUREMENT ATTN: PATRICIA A. MOUNT 570 MAUDE COURT                                                    SUNNYVALE        CA      94086
         FOR GOODS AND SERVICES             OFFICE STATE OF HAWAII

  2.0448 PURCHASE AGREEMENT FOR             MANTI TELEPHONE CO.; MTCC                            40 W UNION                                                        MANTI            UT      84692
         PRODUCTS AND SERVICES
  2.0449 DISTRIBUTION AGREEMENT             MARUBENI NETWORK SYSTEMS     ATTN: KAZUNORI HIEI     36923                         HITOSUBASHI                         CHIYODA-KU,                        JAPAN
                                            CORPORATION                                                                                                            TOKYO, 101-0003
  2.0450 MUTUAL PRODUCT EVALUATION          MASSEY; WORLD WIDE           ATTN: BRENT MASSEY      1 WORLD WIDE WAY                                                  MARYLAND        MO       63146
         AGREEMENT                          TECHNOLOGY LLC                                                                                                         HEIGHTS
  2.0451 PURCHASE AGREEMENT FOR             MATANUSKA TELEPHONE          ATTN: WANDA             1740 S CHUGACH STREET                                             PALMER          AK       99645
         PRODUCTS AND SERVICES              ASSOCIATION, INC.            TANKERSLEY
  2.0452 GLOBAL TEAMING AGREEMENT           MAVENIR SYSTEMS INC          ATTN: RALF MUELLER      1700 INTERNATIONAL                                                RICHARDSON       TX      75081
                                                                                                 PKWY
  2.0453 HARDWARE OEM SUPPLY                MAVENIR SYSTEMS INC                                  700 INTERNATIONAL                                                 RICHARDSON       TX      75081
         AGREEMENT                                                                               PKWY #200
  2.0454 MUTUAL PRODUCT EVALUATION          MAVENIR SYSTEMS INC                                  1700 INTERNATIONAL            STE 200                             RICHARDSON       TX      75081
         AGREEMENT                                                                               PARKWAY
  2.0455 MUTUAL PRODUCT EVALUATION          MAVENIR SYSTEMS INC          ATTN: SUMANTH           1700 INTERNATIONAL            STE #200                            RICHARDSON       TX      75081
         AGREEMENT                                                       SUDHEENDRA              PKWY
  2.0456 MUTUAL CONFIDENTIALITY             ME INFOSYSTEM LLC
         AGREEMENT
  2.0457 PURCHASE AGREEMENT FOR             MEDIATUBE CORP.                                      44 VICTORIA ST                SUITE 1101                          TORONTO, ON                        CANADA
         PRODUCTS AND SERVICES
  2.0458 CONTRACTUAL DOCUMENT               MEGA HERTZ INC               ATTN: STEVE GROSSMAN    9620 BARTLETT CIRCLE                                              FT. WORTH        TX      76108
  2.0459 RESELLER AGREEMENT                 MEGA HERTZ INC                                       9620 BARTLETT CIRCLE                                              FT. WORTH        TX      76108
  2.0460 PURCHASE AGREEMENT FOR             MEKONG NET                                           NORODOM BLVD                  BUILDING #95        6TH FLOOR       PHNOM PENH                         CAMBODIA
         PRODUCTS AND SERVICES
  2.0461 PURCHASE AGREEMENT FOR             METROSYSTEMS AG                                      HUBSTRASSE 101                                                    CH-9500 WIL SG                     SWITZERLAND
         PRODUCTS AND SERVICES
  2.0462 PURCHASE AGREEMENT FOR             MICKTEL LLC                  ATTN: JANA BECK         235 LIGON RD                                                      LEBANON          TN      37090
         PRODUCTS AND SERVICES
  2.0463 RESELLER AGREEMENT                 MIDEAST DATA SYSTEMS                                 DUBAI, UAE                    PO BOX 5803                         DUBAI                              UAE
  2.0464 MUTUAL PRODUCT EVALUATION          MID-HUDSON CABLEVISION       ATTN: JOSEPH CAMADINE   200 JEFFERSON HEIGHTS                                             CATSKILL         NY      12413
         AGREEMENT
  2.0465 RESELLER AGREEMENT                 MI-TEC (PTY) LTD                                     3269 SWALLOW AVENUE           PARYS GOLF ESTATE                   PARYS, FREE                        SOUTH AFRICA
                                                                                                                                                                   STATE 9584
  2.0466 AMENDMENT NO 1 TO THE              MITECH EUROPE LTD
         RESELLER AGREEMENT
  2.0467 AMENDMENT NO 2 TO THE              MITECH EUROPE LTD
         RESELLER AGREEMENT
  2.0468 RESELLER AGREEMENT                 MITECH EUROPE LTD                                    GILFORD HOUSE                 THE VALLEY CENTRE                   HIGH                               UK
                                                                                                                                                                   WYCOMBE,
                                                                                                                                                                   BUCKS, HP13
                                                                                                                                                                   6EQ
  2.0469 INTERNATIONAL DISTRIBUTOR          MITECH GROUP PLC                                     GILFORD HOUSE                 THE VALLEY CENTRE                   HIGH                               UK
         AGREEMENT                                                                                                                                                 WYCOMBE,
                                                                                                                                                                   BUCKS, HP13
                                                                                                                                                                   6EQ
  2.0470 TERMS AND CONDITIONS FOR    MLL TELECOM LTD
         THE PURCHASE OF GOODS
         AND/OR SERVICES FROM ZHONE
         TECHNOLOGIES, INC ORDER
         NUMBER MLL27380
  2.0471 DZS INC. RESELLER AGREEMENT MOBIA TECHNOLOGY                    MICHAEL REEVES          100-100 EILEEN STUBBS                                             DARTMOUTH        NS      B3B 1Y6   CANADA
                                     INNOVATIONS INCORPORATED                                    AVE
  2.0472 PURCHASE AGREEMENT FOR      MOBIA TECHNOLOGY
         PRODUCTS AND SERVICES       INNOVATIONS INCORPORATED
  2.0473 CORPORATE GUARANTY          MOBINIL FOR IMPORTING               ATTN: KHALED EL-        BUILDING B126-B, SMART KILO 29 CAIRO                              GIZA                               EGYPT
                                                                         SHARKAWY                VILLAGE,               ALEXANDRA ROAD
  2.0474 PURCHASE AGREEMENT FOR             MORGAN KEEGAN                                        50 NORTH FRONT STREET                                             MEMPHIS          TN      38103
         PRODUCTS AND SERVICES - 1
         PREAMBLE




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  2.0475 CONTRACTUAL DOCUMENT               MORTEK TELECOMMUNICATIONS                             110 AGIAS MARINAS STR                                                           GR-19002,                        GREECE
                                            LTD                                                                                                                                   PEANIA
  2.0476 MUTUAL NON-DISCLOSURE              MOSS ADAMS                                            14555 DALLAS PKWY            STE 300                                            DALLAS           TX      75254
         AGREEMENT
  2.0477 SUBJECT: AMENDMENT #2 TO           MOTOROLA INC; PREMISYS                                1301 EAST ALGONQUIN                                                             SCHAUMBURG       IL      60159
         OEM AGREEMENT                      COMMUNICATIONS INC                                    ROAD
  2.0478 PURCHASE AGREEMENT FOR             MOUNTIAN COMMUNICATIONS                               452 CASTEEL ROAD                                                                BRUCETON         WV      26525
         PRODUCTS AND SERVICES              LLC                                                                                                                                   MILLS
  2.0479 REPRESENTATION AGREEMENT           MR DAVID FUSCO                                        21411 COUNTRYSIDE                                                               LAKE FOREST      CA      92630
                                                                                                  DRIVE
  2.0480 MASTER SUPPLY AGREEMENT            MTS ALLSTREAM INC             C/O MANITOBA TELECOM    ATTN: LAW DEPARTMENT         PO BOX 6666                 ROOM MP19A — 333 MAIN S WINNIPEG,                       CANADA
                                                                          SERVICES INC.                                                                                            MANITOBA, R3C
                                                                                                                                                                                   3V6
  2.0481 MASTER SUPPLY AGREEMENT            MTS ALLSTREAM INC             ATTN: KEN ADAMSON       PO BOX 6666                  ROOM G1000F - 191                                   WINNIPEG,                       CANADA
                                                                                                                               PIONEER AVENUE                                      MANITOBA, R3C
                                                                                                                                                                                   3V6
  2.0482 RENEWAL AGREEMENT         MTS ALLSTREAM INC
  2.0483 MASTER PURCHASE AGREEMENT MTS ALLSTREAM INC;                     PAUL FRIZADO FACSIMILE: ATTN: SR. CONTRACT           CORPORATE            200 WELLINGTON STREET WTORONTO,                                CANADA
                                   ALLSTREAM FIBRE US INC                 416-345-2070            SPECIALIST -                 PROCUREMENT, GENERAL                        ONTARIO, MSV
                                                                                                                               COUNSEL                                     3G2
  2.0484 AMENDMENT NO. 1 TO RESELLER MULTICOM INC                                                 1076 FLORIDA CENTRAL                                                     LONGWOOD                FL      32750
         AGREEMENT                                                                                PKWY
  2.0485 RESELLER AGREEMENT          MULTICOM INC                                                 1076 FLORIDA CENTRAL                                                            LONGWOOD         FL      32750
                                                                                                  PKWY
  2.0486 RESELLER AGREEMENT                 MULTIKOM CO LTD                                       SIR WILLIAM NEWTON ST                                                           CUREPIPE                         MAURITIUS
  2.0487 SALES AGREEMENT                    MULTINET KOREA CO.                                    #911 LEADERS TOWER           60-15 GASAN,                                       SEOUL                            KOREA
                                                                                                                               GEUMCHEON
  2.0488 PURCHASE AGREEMENT FOR             MUTH CITYNETZ HALLE GMBH                              UNTERBERG 13                                                                    06108 HALLE,                     GERMANY
         PRODUCTS AND SERVICES                                                                                                                                                    SAALE
  2.0489 MUTUAL PRODUCT EVALUATION          MVECA                         ATTN: THOR SAGE         888 DAYTON ST.               SUITE 102                                          YELLOW           OH      45387
         AGREEMENT                                                                                                                                                                SPRINGS
  2.0490 PURCHASE AGREEMENT FOR             MYAKKA COMMUNICATIONS, INC.                           10105 284TH ST                                                                  MYAKKA CITY      FL      34251
         PRODUCTS AND SERVICES
  2.0491 MUTUAL PRODUCT EVALUATION          NAITEL                                                314 ZAHRAN ST                AMMAN, JORDAN               KING ABDULLAH II ST    AQABA                            JORDAN
         AGREEMENT
  2.0492 MULTI-GIG RESEARCH REPORT          NATIONAL CABLE TELEVISION     ATTN: PAMELA GILLIES    9401 INDIAN CREEK            SUITE 500                                          OVERLAND PARK KS         66210
         MARKETING AGREEMENT                COOPERATIVE INC                                       PARKWAY
  2.0493 RESELLER AGREEMENT                 NATIONAL FIBER CONNECTIONS                            5790 BOTKINS RD                                                                 NEW KNOXVILLE OH         45871
                                            LLC
  2.0494 RESELLER AGREEMENT                 NATIONAL FIBER CONNECTIONS                            PO BOX 69                                                                       NEW KNOXVILLE OH         45871
                                            LLC
  2.0495 PURCHASE AGREEMENT FOR             NATIONAL FIBER OPTIC                                  FLOOR 1                      SOMCABLE HQ                 ROAD NO. 1             HARGEISA                         SOMALIA
         PRODUCTS AND SERVICES              COMPANY (NFOC)
  2.0496 PURCHASE AGREEMENT FOR             NAVIGATA COMMUNICATIONS                               801-3300 BLOOR ST W                                                             TORONTO, ON                      CANADA
         PRODUCTS AND SERVICES              LIMITED                                                                                                                               M8X 2X2
  2.0497 RESELLER AGREEMENT                 NAXOS KUT S.A.                                        AV. RAFAEL NUÑEZ 5019        2 27                                               CORDOBA                          ARGENTINA
  2.0498 RESELLER AGREEMENT                 NCIS GROUP PTY LTD                                    LEVEL 13, 60                                                                    SYDNEY, NSW                      AUSTRALIA
                                                                                                  CASTLEREAGH ST                                                                  2000
  2.0499 RESELLER AGREEMENT                 NCIS GROUP PTY LTD                                    PO BOX 900                                                                      CRONULLA,                        AUSTRALIA
                                                                                                                                                                                  NSW 2230
  2.0500 MUTUAL PRODUCT EVALUATION          NEC LATIN AMERICA SA          ATTN: EDUARDO RIBEIRO   FRANCISCO MATARAZZO          1350, B501/B502, TOWER II                          SÃO PAULO (SP)                   BRAZIL
         AGREEMENT                                                        & LEANDRO GALANTE       AV.                                                                             05001-100
  2.0501 AGREEMENT                          NET TECHNOLOGIES GMBH                                 IN DER AU 25                                                                    OBERURSEL,                       GERMANY
                                                                                                                                                                                  61440
  2.0502 CUSTOMER AGREEMENT                 NET UNO C.A.                                          CALLE 7 DE LA URBINA         EDIF INSENICA II                                   MUNICIPIO                        VENEZUELA
                                                                                                                                                                                  SUCRE EDO
                                                                                                                                                                                  MIRANDA
  2.0503 PURCHASE AGREEMENT FOR             NET VISION D.O.O.                                     LISTOPADSKA 5                                                                   10 110 ZAGREB-                   CROATIA
         PRODUCTS AND SERVICES                                                                                                                                                    HR
  2.0504 SETTLEMENT AGREEMENT AND           NET2000 COMMUNICATIONS                                2180 FOX MILL RD                                                                HERNDON        VA        20171
         RELEASE                            SERVICES INC
  2.0505 PURCHASE AGREEMENT                 NETDIGITAL, INC.                                      6120 ROSEMONT CT                                                                BIRMINGHAM       AL      35242
  2.0506 RESELLER AGREEMENT                 NETSYS SOLUTIONS PVT LTD                              69/7A KURUPPU ROAD           BORELLA                                            COLOMBO 08                       SRI LANKA
  2.0507 RESELLER AGREEMENT                 NEXTCOM PTY LTD               ATTN: ARTHUR LORATO     PO BOX 2426                                                                     GABORONE                         BOTSWANA
                                                                          FERGUSON
  2.0508 PURCHASE AGREEMENT                 NINESTAR CONNECT                                      2243 E MAIN ST                                                                  GREENFIELD       IN      46140




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  2.0509 PURCHASE AGREEMENT FOR             NISATEL SHPR                                            LAGJIA PAVARESIA            KULLA I                                      RRETHI SKELE,                        ALBANIA
         PRODUCTS AND SERVICES                                                                                                                                               VLORE
  2.0510 STATEMENT OF WORK                  NOKIA OF AMERICA               ERIC NEGLEY,             3201 OLYMPUS BLVD.                                                       DALLAS          TX      75019
                                            CORPORATION                    COMMERCIAL CONTRACT
                                                                           MANAGER
  2.0511 FRAME AGREEMENT FOR        NOKIA SIEMENS NETWORKS OY;                                      KARAPORTTI 3                P.O. BOX 1            02022 NOKIA SIEMENS NETWESPOO                               FINLAND
         MAINTENANCE AND SUPPORT OF DASAN NETWORKS, INC
         SOFTWARE PRODUCTS
  2.0512 ADOPTION AGREEMENT         NOKIA SOLUTIONS AND                                             KARAKAARI 7                                                              02610 ESPOO                          FINLAND
                                    NETWORKS OY
  2.0513 PURCHASE AGREEMENT FOR     NOORCOM COMMUNICATIONS                                          8 HAHAROSHET ST                                                          OR YEHUDA                            ISRAEL
         PRODUCTS AND SERVICES      LTD                                                                                                                                      6037576
  2.0514 PURCHASE AGREEMENT FOR     NORMAN ENGINEERING
         PRODUCTS AND SERVICES
  2.0515 AMENDMENT #1               NORTEL NETWORKS INC                                             200 ATHENS WAY                                                           NASHVILLE       TN      37228-1397
  2.0516 PURCHASE AGREEMENT FOR     NORTH CENTRAL TELEPHONE                                         872 HIGHWAY 52 BYPASS                                                    LAFAYETTE       TN      37083
         PRODUCTS AND SERVICES      COOPORATIVE (NCTC)
  2.0517 PURCHASE AGREEMENT FOR     NORTH STATE COMMUNICATIONS                                      111 N MAIN ST                                                            HIGH POINT      NC      27260
         PRODUCTS AND SERVICES
  2.0518 CONTRACT FOR SERVICES      NORTHFORGE INNOVATIONS INC ATTN: ALEX YASTREMSKI                7195 OAKPORT STREET                                                      OAKLAND         CA      94621
  2.0519 PRODUCT PURCHASE           NORTHWESTEL INC            ATTN: LEGAL                          301 LAMBERT STREET          PO BOX 2727                                  WHITEHORSE,                          CANADA
         AGREEMENT                                             DEPARTMENT                                                                                                    YT, Y1A 4Y4
  2.0520 STATEMENT OF WORK          NORTHWESTEL INC            ATTN: UROS FERME                     PO BOX 2727                                                              WHITEHORSE,                          CANADA
                                                                                                                                                                             YT, Y1A 4Y4
  2.0521 AMENDMENT NO. ONE TO               NORTHWESTEL INC; DASAN
         PRODUCT PURCHASE                   ZONE SOLUTIONS INC
         AGREEMENT
  2.0522 AMENDMENT NO. ONE TO               NORTHWESTEL INC; DASAN
         PRODUCT PURCHASE                   ZONE SOLUTIONS INC
         AGREEMENT
  2.0523 PURCHASE AGREEMENT FOR             NORVADO, INC.                  ATTN: KIRK MISAKA        7001 OAKPORT STREET                                                      OAKLAND         CA      94621
         PRODUCTS AND SERVICES
  2.0524 PURCHASE AGREEMENT FOR             OASIS COMMUNICATION            ATTN: TOMER SHARON, 1, BAT SHEVA STREET                                                           LOD 7116002                          ISRAEL
         PRODUCTS AND SERVICES              TECHNOLOGIES LTD               TSIPY GRINSTEIN
  2.0525 PURCHASE AGREEMENT                 OCEAN PROPERTIES               ATTN: KIRK MISAKA   7195 OAKPORT STREET                                                           OAKLAND         CA      94621
  2.0526 PURCHASE AGREEMENT FOR             OCTOTEL (PTY) LTD              JACKY DEMPSEY -     5TH FLOOR, THE POINT             76 REGENT ROAD                               SEAPOINT,                            SOUTH AFRICA
         PRODUCTS AND SERVICES                                             PROCUREMENT MANAGER                                                                               CAPE TOWN,
                                                                                                                                                                             8005
  2.0527 FRAME SUPPLY AGREEMENT             OG FJARSKIPTI EHF; VODAFONE    ATTN: ATLI STEFAN G      SKUTUVOGUR 2                                                             104 REYKAJVIK                        ICELAND
                                            ICELAND                        YNGVASON
  2.0528 PURCHASE AGREEMENT FOR             OKLAHOMA WESTERN               ATTN: KIRK MISAKA        7195 OAKPORT STREET                                                      OAKLAND         CA      94621
         PRODUCTS AND SERVICES              TELEPHONE
  2.0529 RESELLER AGREEMENT                 OMEGA TAHITI                   ATTN: LEGAL              7001 OAKPORT STREET                                                      OAKLAND         CA      94621
                                                                           DEPARTMENT
  2.0530 RESELLER AGREEMENT                 OMNITEL NAMIBIA PTY LTD        ATTN: KIRK MISAKA        7195 OAKPORT STREET                                                      OAKLAND      CA         94621
  2.0531 MUTUAL NON-DISCLOSURE              ONENEO GMBH                                             AM ALTEN GERICHT 25                                                      SCHWARZENBAC                         GERMANY
         AGREEMENT                                                                                                                                                           H, A. WALD,
                                                                                                                                                                             95131
  2.0532 PURCHASE AGREEMENT FOR             ONENEO GMBH                                             AM ALTEN GERICHT 25                                                      SCHWARZENBAC                         GERMANY
         PRODUCTS AND SERVICES                                                                                                                                               H, A. WALD,
                                                                                                                                                                             95131
  2.0533 RESELLER AGREEMENT                 ONEPA TELECOMUNICACOES SU
  2.0534 RESELLER AGREEMENT                 OOREDOO MALDIVES PLC;                                   5TH FLOOR, H. SUNLEET       BODUTHAKURUFAANU                                                                  MALDIVES
                                            RESELLER DER BO MALLIVES PLC                                                        MAGU, MALE

  2.0535 DZS INC. RESELLER AGREEMENT OPENLINK PUERTO RICO INC              ARMANDO GUEVARA,         8 STEET 1 SUITE 103-A                                                    GUAYNABO        PR      00968
                                                                           GENERAL MANAGER
  2.0536 MASTER AGREEMENT                   OPENSERVE (PTY) LTD                                     OPENSERVE SA SOC            THE GROUP EXECUTIVE, OPENSERVE PARK, THE HU CENTURION,                            SOUTH AFRICA
                                                                                                    LIMITED                     PROCUREMENT SERVICES                        0157

  2.0537 SOFTWARE LICENSE                   OPENSERVE (PTY) LTD            ATTN: ZANO BRIGHT        61 OAK AVENUE               THE CORE                                     OPENSERVE                            SOUTH AFRICA
         MAINTENANCE ANNEXURE                                              NYATI, KAGISO MODISE                                                                              PARK,
         AGREEMENT NUMBER CW34698                                                                                                                                            CENTURION,
                                                                                                                                                                             0157




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  2.0538 ADDENDUM NUMBER 1 TO               OPENSERVE (PTY) LTD; DYNAMIC                          THE HUB, TELKOM PARK       61 OAK AVENUE                           HIGHVELD                            SOUTH AFRICA
         AGREEMENT CW34698                  SPECTRUM MANAGEMENT                                                                                                      CENTURION, 157

  2.0539 MUTUAL PRODUCT EVALUATION          ORANGE FRANCE SA                                      1 AV. DU PRESIDENT                                                 ARCUEIL, 94110                      FRANCE
         AGREEMENT                                                                                NELSON MANDELA
  2.0540 MUTUAL PRODUCT EVALUATION          ORANGE INNOVATION                                     3 AVENUE PIERRE MARZIN                                             LANNION, 22300                      FRANCE
         AGREEMENT
  2.0541 PURCHASE ORDER                     ORANGE POLSKA SA                                      AL. JEROZOLIMSKIE 160                                              WARSAW, 02-326                      POLAND

  2.0542 PURCHASE ORDER                     ORANGE POLSKA SA                                      ORANGE POLSKA S.A.         AL. JEROZOLIMSKIE 160                   02-326                              POLAND
                                                                                                                                                                     WARSZAWA
  2.0543 PURCHASE ORDER                     ORANGE POLSKA SA                                      ORANGE POLSKA S.A.         JAGIELLOŃSKA 34                         96-100                              POLAND
                                                                                                  KANCELARIA CENTRUM                                                 SKIERNIEWICE
                                                                                                  OPERACJI KSIĘGOWYCH
  2.0544 EVALUATION AGREEMENT               ORANGE POLSKA SA; SLOBODAN                            DYREKTOR ROZWOJU           UL. SW. BARBARY 10                      WARSZAWA, 00-                       POLAND
                                            ZLATKOVIC                                             SIECI DOSTEPOWEJ                                                   686
  2.0545 REQUEST FOR PROPOSALS              ORLANDO INTERNATIONAL AND
                                            EXECUTIVE AIRPORTS
  2.0546 EQUIPMENT PURCHASE                 OSICOM TECHNOLOGIES INC; TCI                          9990 MESA RIM ROAD                                                 SAN DIEGO         CA   92121
         AGREEMENT                          NETWORK SOLUTIONS INC; AT&T
                                            BROADBAND NETWORK
                                            SOLUTIONS
  2.0547 MUTUAL PRODUCT EVALUATION          OUTER REACH BROADBAND LLC ATTN: JIM HARDING           267 WHITTEN RD                                                     HALLOWELL         ME   04347
         AGREEMENT
  2.0548 DZS EVERY CONNECTION        PACE ELECTRONIC INC                                          3582 TECHNOLOGY DRIVE                                              ROCHESTER         MN   55901
         MATTERS" OVERALL GUIDELINES                                                              NW
  2.0549 RESELLER AGREEMENT          PACE ELECTRONICS INC                 ATTN: TIM DEUTSCH       3582 TECHNOLOGY DR NW                                              ROCHESTER         MN   55901

  2.0550 MUTUAL CONFIDENTIALITY             PACE INTERNATIONAL                                    3582 TECHNOLOGY DR NW                                              ROCHESTER         MN   55901
         AGREEMENT
  2.0551 MUTUAL CONFIDENTIALITY             PACE INTERNATIONAL                                    3582 TECHNOLOGY DR NW                                              ROCHESTER         MN   55901
         AGREEMENT
  2.0552 EVALUATION LICENSE                 PACKET ARCHITECTS AB                                  ATTN: OFFICE MANAGER       MAJBAGGEVÄGEN 11                        247 35 SÖDRA                        SWEDEN
         AGREEMENT                                                                                                                                                   SANDBY
  2.0553 FRAMEWORK AGREEMENT                PAN DACOM DIREKT
  2.0554 SUBJECT MATTER OF THIS             PAN DACOM DIREKT GMBH                                 DREIEICH PLAZA 1 B                                                 DREIEICH, 63303                     GERMANY
         AMENDMENT
  2.0555 AGREEMENT                          PAN DACOM DIREKT GMBH; NET                            NET TECHNOLOGIES      IN DER AU 25                                 OBERURSEL,                          GERMANY
                                            TECHNOLOGIES GMBH                                     GMBH                                                               61440
  2.0556 AGREEMENT                          PAN DACOM DIREKT GMBH; NET                            PAN DACOM DIREKT GMBH ROBERT-BOSCH-STRABE                          DREIEICH, 63303                     GERMANY
                                            TECHNOLOGIES GMBH                                                           32
  2.0557 PURCHASE AGREEMENT FOR             PARAGOULD LIGHT WATER                                 1901 JONES ROAD                                                    PARAGOULD         AR   72450
         PRODUCTS AND SERVICES
  2.0558 FEDERAL MARKETS                    PASSIVE OPTICAL LAN; RUVARAC ATTN: THOMAS C.          1212 S NAPER BLVD          STE 119-310                             NAPERVILLE        IL   60540
         ENGAGEMENT PROPOSAL FOR            STRATEGIC CONSULTING LLC     RUVARAC
         DASAN ZHONE SOLUTIONS
  2.0559 PURCHASE AGREEMENT FOR             PATHWAYZ COMMUNICATIONS                               4176 CANYON DR                                                     AMARILLO          TX   79109
         PRODUCTS AND SERVICES              INC
  2.0560 RESELLER AGREEMENT                 PDC TELECOM INC               ATTN: PEDRO DEL         PBM 290, JUAN BORBON       SUITE 67                                GUAYNABO          PR   00969-5375
                                                                          CUADRO                  NO. 35
  2.0561 MUTUAL PRODUCT EVALUATION          PEOPLE OF FAITH, INC. DBA                             10015 W. ROYAL OAK RD                                              SUN CITY          AZ   85351
         AGREEMENT                          ROYAL OAKS LIFE CARE
                                            COMMUNITY
  2.0562 RESELLER AGREEMENT                 PETHA INTEGRADORA DE          ATTN: ADMINISTRATIVO/   RUA SCIPIAO 64 CJTO 05                                             CEP, 05047-060                      BRAZIL
                                            SOLUÇÕES LTDA                 FINANCEIRO              VILA ROMANA
  2.0563 ZOODE TEGENOLORIE                  PHI SERVICE CO.                                       800 KING STREET                                                    WILMINGTON        DE   19801
         PURCHASE AGREEMENT
  2.0564 PURCHASE AGREEMENT FOR             PLANTERS COMMUNICATIONS       ATTN: DEREK JONES       100 OGEECHEE STREET                                                NEWINGTON         GA   30446
         PRODUCTS AND SERVICES              LLC
  2.0565 PURCHASE AGREEMENT FOR             PLESSEY PTY LTD               ATTN: L. COLLINS        SUTTIE ROAD                                                        MIDRAND, CNR                        SOUTH AFRICA
         PRODUCTS AND SERVICES                                                                                                                                       K101
  2.0566 MUTUAL PRODUCT EVALUATION          POINT BROADBAND FIBER         ATTN: SAM GUNDERSON     1791 OG SKINNER DR                                                 WEST POINT        GA   31833
         AGREEMENT                          HOLDING LLC
  2.0567 MUTUAL PRODUCT EVALUATION          POINT BROADBAND FIBER                                 507 WALKER ST                                                      OPELIKA           AL   36801
         AGREEMENT                          HOLDING LLC




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  2.0568 MUTUAL PRODUCT EVALUATION          POLYTRON CORPORATION         RYAN VEA               ATTN: CARY VEA              461 CARPENTER DR                               HOLLISTER        CA      95023
         AGREEMENT
  2.0569 PURCHASE AGREEMENT FOR             PON COMUNICACIONES                                  CIQ 111 C#80-80 INT 15                                                     BOGOTA, 111011                   COLOMBIA
         PRODUCTS AND SERVICES
  2.0570 PURCHASE AGREEMENT FOR             PORT NETWORKS INC.           ATTN: HUGH BETHELL     401 E PRATT ST              STE 2553                                       BALTIMORE        MD      21202
         PRODUCTS AND SERVICES
  2.0571 RESELLER AGREEMENT                 POWER & TELEPHONE SUPPLY     ATTN: JIM DRAIN        2673 YALE AVENUE                                                           MEMPHIS          TN      38112
                                            CO
  2.0572 PURCHASE AGREEMENT                 PRECISION ERS                                       7710 N. 30TH STREET                                                        TAMPA            FL      33610
  2.0573 PURCHASE AGREEMENT FOR             PRESTON COUNTY ECONOMIC                             330 EAST MAIN STREET        SUITE 100                                      KINGWOOD         WV      26537
         PRODUCTS AND SERVICES              DEVELOPMENT AUTHORITY
  2.0574 RE: PRIMUS                         PRIMUS TELECOMMUNICATIONS                           5343 DUNDAS ST. WEST        SUITE 400                                      TORONTO, ON,                     CANADA
         TELECOMMUNICATIONS CANADA          CANADA INC                                                                                                                     M9B 6K5
         INC. - CONTRACT ASSIGNMENT

  2.0575 RE: PRIMUS                 PRIMUS TELECOMMUNICATIONS                                   BIRCH COMMUNICATIONS, ATTN: GREG DARNELL            320 INTERSTATE NORTH PK ATLANTA         GA      30339
         TELECOMMUNICATIONS CANADA CANADA INC                                                   INC
         INC. - CONTRACT ASSIGNMENT

  2.0576 RE: PRIMUS                 PRIMUS TELECOMMUNICATIONS                                   FTI CONSULTING CANADA, ATTN: STEVE BISSELL          79 WELLINGTON ST W, SUITTORONTO, ON,                    CANADA
         TELECOMMUNICATIONS CANADA CANADA INC                                                   INC IN ITS CAPACITY AS                                                      M5K 1G8
         INC. - CONTRACT ASSIGNMENT                                                             MONITOR OF THE PRIMUS
                                                                                                ENTITIES
  2.0577 ELITE RESELLER AGREEMENT           PRODUCT SOURCE                                      25 DICAROLIS COURT                                                         HACKENSACK       NJ      07601
                                            INTERNATIONAL DATACOMM
  2.0578 MUTUAL PRODUCT EVALUATION          PRODUCT SOURCE               ATTN: BOB HAIG         330 FRANKLIN TPR                                                           MAHNAH           NJ      07430
         AGREEMENT                          INTERNATIONAL DATACOMM
  2.0579 AMENDMENT NO. 1 TO ELITE           PRODUCT SOURCE                                      330 FRANKLIN TURNPIKE                                                      MAHWAH           NJ      07430
         RESELLER AGREEMENT 30              INTERNATIONAL DATACOMM LLC
  2.0580 AMENDMENT NO. 1 TO ELITE           PRODUCT SOURCE                                      330 FRANKLIN TURNPIKE                                                      MAHWAH           NJ      07430
         RESELLER AGREEMENT 30              INTERNATIONAL DATACOMM LLC
  2.0581 AMENDMENT TO RESELLER              PRODUCT SOURCE                                      25 DICAROLIS COURT                                                         HACKENSACK       NJ      07601
         AGREEMENT                          INTERNATIONAL DATACOMM LLC
  2.0582 REPRESENTATION AGREEMENT           PROLAN SOLUTIONS CORP      ATTN: CHRISTOPHER        522 S HUNT CLUB BLVD        #345                                           APOPKA           FL      32703
                                                                       GOSCHE
  2.0583 REPRESENTATION AGREEMENT           PROLAN SOLUTIONS CORP      ATTN: CHRISTOPHER        522 S HUNT CLUB BLVD        #345                                           APOPKA           FL      32703
                                                                       GOSCHE
  2.0584 REPRESENTATION AGREEMENT           PROLAN SOLUTIONS CORP      ATTN: CHRISTOPHER        522 S HUNT CLUB BLVD        #345                                           APOPKA           FL      32703
                                                                       GOSCHE
  2.0585 RESELLER AGREEMENT                 PROTEK LUN; PROTEK COMPANY ATTN: ZUHOOR AHMED       HENVIERI AZUM/ 4FL                                                         MALE                             MALDIVES
  2.0586 RESELLER AGREEMENT                 PROTEL SERVICES INC                                 729 EAST PRATT STREET       SUITE 440                                      BALTIMORE        MD      21202
  2.0587 AMENDMENT NO. 2 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT
  2.0588 AMENDMENT NO. 4 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT
  2.0589 AMENDMENT NO. 5 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT
  2.0590 AMENDMENT NO. 5 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT
  2.0591 AMENDMENT NO. 3 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT           COMPANY INC
  2.0592 AMENDMENT NO. 6 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT           COMPANY INC
  2.0593 AMENDMENT NO. 6 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT           COMPANY INC
  2.0594 AMENDMENT NO. 6 TO THE             PUERTO RICO TELEPHONE
         MASTER SERVICE AGREEMENT           COMPANY INC
  2.0595 PURCHASE AGREEMENT FOR             PUERTO RICO TELEPHONE                                                                                                          SAN JUAN         PR
         PRODUCTS AND SERVICES              COMPANY INC
  2.0596 PURCHASE AGREEMENT FOR             PULSE SUPPLY                 ATTN: BOBBY BAINE      909 RIDGEBROOK ROAD         STE 120                                        SPARKS           MD      21152
         PRODUCTS AND SERVICES
  2.0597 ZHONE SERVICE TERMS AND            PUPIN TELECOM DATACOM         ATTN: VUKOVIC         BATAJNICKI PUT 23                                                          BELGRADE,                        SERBIA
         CONDITIONS                                                       BRANISLAV                                                                                        11080
  2.0598 RESELLER AGREEMENT                 QUADRAC COM. & INFORM., LTDA. ATTN: LEGAL           ANA GIMARÃES 70             ROCHA - CEP 20960-040                          RIO DE JANEIRO                   BRAZIL
                                                                          DEPARTMENT




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  2.0599 QCT GLOBAL TEAMING                 QUANTA CLOUD TECHNOLOGY        ATTN: HOWARD WU        1010 RINCON CIRCLE                                                SAN JOSE          CA      95131
         AGREEMENT                          USA LLC
  2.0600 RESELLER AGREEMENT                 QUATTRO TRADING AND            MOHAMED NABIL ISMAIL   ATTN: MOHAMED NABIL        26 ENGINEER BUILDING                   NASR CITY,                           EGYPT
                                            DISTRIBUTION                   EL DAWY                ISMAIL EL DAWY             (NEAR TO CITY STARS                    CAIRO
                                                                                                                             MALL)
  2.0601 PURCHASE AGREEMENT FOR             RADIANT COMMUNICATIONS INC                            1600-1050 W PENDER ST.                                            VANCOUVER,                           CANADA
         PRODUCTS AND SERVICES                                                                                                                                      BC, V6E 4T
  2.0602 PURCHASE AGREEMENT FOR             RAFFLES SEYCHELLES LTD                                ANSE TAKAMAKA                                                     PRASLIN                              SEYCHELLES
         PRODUCTS AND SERVICES
  2.0603 MAINTENANCE SERVICE                RAKUTEN CO PTY LTD; RAKUTEN ATTN: YOSHIHISA YAMADA RAKUTEN CRIMSON               1-14-1 TAMAGAWA                        SETAGAYA-KU,                         JAPAN
         AGREEMENT                          MOBILE INC                                         HOUSE                                                                TOKYO, 158-0094
  2.0604 STAFFING AGREEMENT                 RANDSTAD                    ATTN: LEGAL DEPT.      3625 CUMBERLAND BLVD          STE 600                                ATLANTA         GA        30339
  2.0605 PURCHASE AGREEMENT FOR             REAL SOLUTIONS PVT LTD      ATTN: IMRAN YAQOB RAJA MEDIA FOUNDATION                                                     G-8 MARKAZ,                          PAKISTAN
         PRODUCTS AND SERVICES                                                                 BUILDING                                                             ISLAMABAD
  2.0606 RESELLER AGREEMENT                 REDBIRD HARDWARE LLC        CRAIG HOWTON           107 TECHNOLOGY                                                       PEACHTREE       GA        30092
                                                                                               PARKWAY                                                              CORNERS
  2.0607 RESELLER AGREEMENT                 REFLEX SOLUTIONS PTY LTD    ATTN: DAVID ROBINSON   220 JAN SMUTS AVE                                                    DUNKELD WEST,                        SOUTH AFRICA
                                                                                                                                                                    FHB, RSA
  2.0608 PURCHASE AGREEMENT FOR             RESIDENCE INN & SPRINGHILL     ATTN: MIKE MURPHY      900 BAYFRONT CT                                                   SAN DIEGO       CA        92101
         PRODUCTS AND SERVICES -            SUITE
         PREAMBLE
  2.0609 DISTRIBUTOR AGREEMENT              RFC LTD                                               6 NEOT GOLAN ST                                                   RISHON LEZION                        ISRAEL
                                                                                                                                                                    7563636
  2.0610 DZS INC. RESELLER AGREEMENT ROCHESTER NETWORK SUPPLY              ROBERT J. TYHAN        1319 RESEARCH FOREST                                              MACEDON           NY      14502
                                     INC
  2.0611 PURCHASE AGREEMENT FOR      ROCHESTER TELEPHONE CO.               ATTN: JOSEPH P.        117 W 8TH ST                                                      ROCHESTER         IN      46975
         PRODUCTS AND SERVICES       INC.                                  MCCARTER
  2.0612 MUTUAL CONFIDENTIALITY      ROSEVILLE SENIOR LIVING               ATTN: MARIA LEE        20/F, REGENCY CENTRE       39 WONG CHUK HANG                                                           HONG KONG
         AGREEMENT                   MANAGEMENT LTD                                               PHASE 1                    ROAD
  2.0613 RE: FINANCIAL ADVISORY      ROTH CAPITAL PARTNERS LLC
         SERVICES
  2.0614 RE: SUPPORT AGREEMENT -            RT COMMUNICATIONS INC;    TIM P. GREEN, CTO           290 N. BROOKS STREET                                              SHERIDAN          WY      82801
         RANGE TELEPHONE                    RANGE TELEPHONE
         COOPERATIVE, INC                   COOPERATIVE INC; ADVANCED
                                            COMMUNICATIONS TECHNOLOGY
                                            INC
  2.0615 MUTUAL PRODUCT EVALUATION          RURAL TELECOMMUNICATIONS                              1400 BROADFIELD            SUITE 200                              HOUSTON           TX      77084
         AGREEMENT                          OF AMERICA INC                                        BOULEVARD
  2.0616 RESELLER AGREEMENT                 RWL ADVANCE SOLUTION                                  15 PARKWEST ROAD           PARK WEST                              DUBLIN 12, D12                       IRELAND
                                                                                                                                                                    YIT2
  2.0617 RESELLER AGREEMENT                 SALEC EGYPT                    ATTN: MAHMOUD SOLIMAN 57 GIZA ST, GAMAA           STE 504                                GIZA, 12311                          EGYPT
                                                                                                 TOWER
  2.0618 AGREEMENT                          SALEC TRADING LTD
  2.0619 DISTRIBUTION AGREEMENT             SAMHWA TELECOM IND CO LTD      LEGAL COUNSEL          ATTN: LEGAL COUNSEL &      293-7 DOKSAN-DONG                      KUMCHUN-GU,                          KOREA
                                                                                                  SALES OPERATIONS                                                  SEOUL
  2.0620 MASTER PURCHASE AGREEMENT SASKTEL                                                        2121 SASKATCHEWAN                                                 REGINA, SK, S4P                      CANADA
                                                                                                  DRIVE                                                             3Y2
  2.0621 MASTER PURCHASE AGREEMENT SASKTEL                                 C/O PROCUREMENT AND    ATTN: PROCUREMENT          2133 1ST AVE                           REGINA, SK, S4P                      CANADA
                                                                           CONTRACTS              MANAGER 103                                                       3Y2
  2.0622 PURCHASE AGREEMENT FOR             SATEL NV                                              SABA DUTCH CARIBBEAN
         PRODUCTS AND SERVICES
  2.0623 PURCHASE AGREEMENT FOR             SENIORTV; STELLAR PRIVATE      ATTN: SAVY SABINO      975 E TALLAMDGE AVE                                               AKRON             OH      44310
         PRODUCTS AND SERVICES              CABLE
  2.0624 PURCHASE AGREEMENT FOR             SERTEX LLC                                            22 CENTER PARKWAY                                                 PLAINFIELD        CT      06374
         PRODUCTS AND SERVICES
  2.0625 RESELLER AGREEMENT                 SERTEX LLC                                            22 CENTER PARKWAY                                                 PLAINFIELD        CT      06374
  2.0626 PURCHASE AGREEMENT FOR             SERVERVAULT                                           1506 MORAN RD                                                     DULLES            VA      20166
         PRODUCTS AND SERVICES
  2.0627 CONTRACTUAL DOCUMENT               SETS SRL                                              ATTN: GIACOMO BROGGI       PERO (MI) VIA ISAAC                                              12-20016   ITALY
                                                                                                                             NEWTON
  2.0628 DISTRIBUTOR AGREEMENT              SETS SRL                                              ATTN: MARIO LUIGI                                                 PERO (MI), VIA                       ITALY
                                                                                                  BROGGI                                                            ISAAC NEWTON
                                                                                                                                                                    12- 20016
  2.0629 MUTUAL NON-DISCLOSURE              SIAE MICROELETTRONICA S.P.A.                          VIA BUONARROTI, 1                                                 COLOGNO                              ITALY
         AGREEMENT                                                                                                                                                  MONZESE, 20093




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  2.0630 PURCHASE AGREEMENT FOR             SIGMA TEL                                           RUA BARAO DE SAGUARA         707 - SALAS              142/144 - BLOCO MOZART                                      BRAZIL
         PRODUCTS AND SERVICES
  2.0631 RESELLER AGREEMENT                 SIGMA3 IT SERVICES          ATTN: EDDIE TANG        33 UBI AVE 3                 VERTEX TOWER A, #08-37                            SINGAPORE                 408868   SINGAPORE
                                            (HOSPITALITY) PTE LTD
  2.0632 RESELLER AGREEMENT                 SIMON & ARRINGTON INC       MARCELO C. PIGNATTA     ATTN: MARCELO C.             11640 COURT OF PALMS     BUILDING 102             FORT MYERS        FL      33908
                                                                                                PIGNATTA
  2.0633 PURCHASE AGREEMENT FOR             SINGLE DIGITS                                       749 E INDUSTRIAL PARK                                                          MANCHESTER        NH      03109
         PRODUCTS AND SERVICES                                                                  DRIVE
  2.0634 ANNEX A - DZS PROJECT              SINT MAARTEN
         TIMELINE                           TELECOMMUNICATION
                                            OPERATING COMPANY NV
  2.0635 ANNEX C - PRICING SUMMARY          SINT MAARTEN
                                            TELECOMMUNICATION
                                            OPERATING COMPANY NV
  2.0636 ANNEX C. MXK-F ACCEPTANCE          SINT MAARTEN
         TEST PLAN                          TELECOMMUNICATION
                                            OPERATING COMPANY NV
  2.0637 FIBER TO THE HOME                  SINT MAARTEN                                        SOUALIGA BLVD #5             PONG ISLAND                                       PHILLIPSBURG,                      THE
         INSTALLATION AND SUPPORT           TELECOMMUNICATION                                                                                                                  SINT MAARTEN                       NETHERLANDS
         AGREEMENT                          OPERATING COMPANY NV
  2.0638 QUOTE                              SINT MAARTEN
                                            TELECOMMUNICATION
                                            OPERATING COMPANY NV
  2.0639 RESELLER AGREEMENT                 SIPTELCOM                                           ATTN: BERNARD JUNKER         5 RUE DU PANORAMA                                 PFASTATT, 68120                    FRANCE

  2.0640 PURCHASE AGREEMENT FOR             SISTEMAS INTELIGENTES SRL                           AV. HERNANDO SILES 5195                                                        LA PAZ                             BOLIVIA
         PRODUCTS AND SERVICES
  2.0641 GENERAL TERMS AND                  SK BROADBAND CO; SKB
         CONDITIONS OF PRODUCT
  2.0642 MUTUAL PRODUCT EVALUATION          SKYLINE MEMBERSHIP                                  989 NC HWY 194 NORTH                                                           WEST              NC      28694
         AGREEMENT                          CORPORATION                                                                                                                        JEFFERSON
  2.0643 PURCHASE AGREEMENT FOR             SKYNET BROADBAND INC                                10954 235TH AVE NW                                                             ELK RIVER         MN      55330
         PRODUCTS AND SERVICES
  2.0644 RESELLER AGREEMENT                 SMART DYNAMICS LLC          JOSEPH HADDAD           ATTN: JOSEPH HADDAD  MEYDAN FREE ZONE                                          DUBAI                              UAE
  2.0645 RESELLER AGREEMENT                 SMART TECHNOLOGY COMPANY                            TOWNSEND OFFICE PARK                                                           BEDFORDVIEW                        SOUTH AFRICA
                                            LTD
  2.0646 RESELLER AGREEMENT                 SMART VILLAGIE (PTY) LTD    ATTN: FINANCE           CNR JOHN VOSTER &            CENTURION GATE                                    CENTURION,                         SOUTH AFRICA
                                                                        DEPARTMENT              AKKERBOOM STREET             OFFICE, 2ND FLOOR                                 PRETORIA 0048
  2.0647 MUTUAL CONFIDENTIALITY             SOAPROJECTS, INC.
         AGREEMENT
  2.0648 AMENDMENT TO EVALUATION            SOLACE POWER INC
         EQUIPMENT LOAN AGREEMENT
  2.0649 POWER BEYOND EVALUATION            SOLACE POWER INC                                    118 TOPSAIL RD               #201                                              MOUNT PEARL,                       CANADA
         EQUIPMENT LOAN AGREEMENT                                                                                                                                              NL, A1N 5E7
  2.0650 POWER BEYOND EVALUATION            SOLACE POWER INC            ATTN: JOHN LOPES        LEVEL 1                      18-20 ORION ROAD                                  LANE COVE,                         AUSTRALIA
         EQUIPMENT LOAN AGREEMENT                                                                                                                                              NSW, 2066
  2.0651 SUPPLIER REGISTRATION              SOMOS GRUPO
         CERTIFICATE
  2.0652 PURCHASE AGREEMENT FOR             SOMTEL SOMALIA LTD          ATTN: HASSAN RASHID     HAWLWADAG STR                BAKARO MARKET                                     MOGADISHU                          SOMALIA
         PRODUCTS AND SERVICES                                          HUSSEIN
  2.0653 RESELLER AGREEMENT                 SOURCECOM SVENSKA AB                                BOX 23091                                                                      STOCKHOLM,                         SWEDEN
                                                                                                                                                                               104 35
  2.0654 PURCHASE AGREEMENT FOR             SOUTHERN FIBERWORX          ATTN: GREG TURTON       1216 EAST 13TH AVE                                                             CORDELE           GA      31015
         PRODUCTS AND SERVICES
  2.0655 RESELLER AGREEMENT                 SPECTRA INTERNATIONAL CO.   ATTN: HUSNAIN MURAD ALI AL UMAMM COMMERCIAL          SITHEEN STREET                                    AL MALAZ,                          SAUDI ARABIA
                                                                                                CENTER                                                                         RIYADH, KSA
  2.0656 PURCHASE AGREEMENT FOR      SPIRALIGHT NETWORK LLC                                     130 E. WALNUT ST             SUITE 509                                         GREEN BAY         WI      54301
         PRODUCTS AND SERVICES
  2.0657 ADDENDUM NO. 1 TO MASTER    SPRINTUNITED MANAGEMENT                                    903 E 104TH STREET                                                             KANSAS CITY       MO      64131
         PURCHASE OF EQUIPMENT AND COMPANY
         SERVICES AGREEMENT
  2.0658 SUBJECT: AMENDMENT NO. 5 TO SPRINTUNITED MANAGEMENT            ATTN: FRANK CLIFFORD    903 E 104TH STREET                                                             KANSAS CITY       MO      64131
         MASTER PURCHASE AGREEMENT COMPANY
         NO. CM90365




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  2.0659 SUBJECT: AMENDMENT NO. 5 TO SPRINTUNITED MANAGEMENT                                   SPRINT                        ATTN: HAROLD T.    12524 SUNRISE VALLEY DRI RESTON    VA      20196
         MASTER PURCHASE AGREEMENT COMPANY                                                                                   JOHNSON
         NO. CM90365
  2.0660 SUBJECT: AMENDMENT NO. 5 TO SPRINTUNITED MANAGEMENT                                   SPRINT LAW DEPARTMENT ATTN: VICE PRESIDENT       2001 EDMUND HALLEY DRIV RESTON     VA      20191-3436
         MASTER PURCHASE AGREEMENT COMPANY
         NO. CM90365
  2.0661 CONTINGENCY RECRUITING           SQA SOLUTION; ASIAN                                  140 SAN PEDRO RD                                                        DALY CITY   CA      94014
         SERVICES AGREEMENT               INVESTMENT CORPORATION
  2.0662 PURCHASE ORDER                   SRT COMMUNICATIONS INC        ATTN: PAUL KEELING     3615 N BROADWAY                                                         MINOT       ND      58703
  2.0663 PURCHASE ORDER                   SRT COMMUNICATIONS INC        ATTN: PAUL KEELING     PO BOX 2027                                                             MINOT       ND      58702-2027
  2.0664 RE: ND -SRT -T6.1 FTTP           SRT COMMUNICATIONS INC                               VANTAGE POINT                 2211 N MINNESOTA                          MITCHELL    SD      57301
         EQUIPMENT                                                                             SOLUTIONS                     STREET
  2.0665 SERVICE MAINTENANCE              SRT COMMUNICATIONS INC
         CONTRACT PROPOSAL
  2.0666 PURCHASE AGREEMENT FOR           STAR TELEPHONE MEMBERSHIP     ATTN: LYMAN M. HORNE   3900 N US 421 HIGHWAY                                                   CLINTON     NC      28328
         PRODUCTS AND SERVICES            CORPORATION
  2.0667 ASSIGNMENT AGREEMENT             STATE OF HAWAII
  2.0668 ASSIGNMENT AGREEMENT             STATE OF HAWAII
  2.0669 PRICE LIST PROPOSAL              STATE OF HAWAI'ISTATE                                PO BOX 119                                                              HONOLULU    HI      96810-0119
                                          PROCUREMENT OFFICE
  2.0670 MUTUAL PRODUCT EVALUATION STEALTH BROADBAND;                   MIKE D STORJOHANN      ATTN: MIKE D.                 1548 FRONT ST      STE 301                BLAIR       NE      68008
         AGREEMENT                        MIDSTATES DATA TRANSPORT                             STORJOHANN
                                          LLC
  2.0671 SUBJECT: LETTER OF SUPPLY        STEFANIE LEAK WALKER AND                             7129 OLD HWY. 52N             PO BOX 1029                               WELCOME     NC      27173-1029
         RE: WALKER AND ASSOCIATES,       ASSOCIATES INC
         INC. GSA SCHEDULE 58#GS-03F-
         0009P
  2.0672 PURCHASE AGREEMENT FOR           STRATA NETWORKS; UBTA-UBET    ATTN: BRUCE H. TODD    211 E. 200 N.                                                           ROOSEVELT   UT      84066
         PRODUCTS AND SERVICES            COMMUNICATIONS INC
  2.0673 AMENDMENT #1 BETWEEN             STUART C IRBY CO
         STUART C IRBY CO. AND DZS INC.
         AMENDMENT NO. 001
  2.0674 AMENDMENT #1 BETWEEN             STUART C IRBY CO
         STUART C IRBY CO. AND DZS INC.
         AMENDMENT NO. 001
  2.0675 AMENDMENT OF RESELLER            STUART C IRBY CO
         AGREEMENT
  2.0676 AMENDMENT OF RESELLER            STUART C IRBY CO
         AGREEMENT
  2.0677 AMENDMENT OF RESELLER            STUART C IRBY CO
         AGREEMENT
  2.0678 AMENDMENT OF RESELLER            STUART C IRBY CO
         AGREEMENT
  2.0679 MUTUAL PRODUCT EVALUATION STUART C IRBY CO                     ATTN: ROBERT MCDONALD 2400 E HIGHLAND AVE                                                      JONESBORO   AR      72401
         AGREEMENT
  2.0680 RESELLER AGREEMENT               STUART C IRBY CO                                     815 IRBY DRIVE                PO BOX 1819                               JACKSON     MS      39215
  2.0681 AGREEMENT                        SUCURSAL EN ESPAÑA; FEDERAL
                                          EXPRESS CORPORATION;
                                          AUTORIZACIÓN DE DESPACHO Y
                                          REPRESENTACIÓN

  2.0682 PURCHASE AGREEMENT FOR        SUPERIOR TELEPHONE               ATTN: DONNA BROBST     705 2ND AVE                                                             SUPERIOR    IA      51363
         PRODUCTS AND SERVICES
  2.0683 AMENDMENT #1                  SUPERSONIC ISRAEL LTD; IBC
                                       ISRAEL BROADBAND COMPANY
                                       (2013) LTD
  2.0684 AMENDMENT #1                  SUPERSONIC ISRAEL LTD; IBC
                                       ISRAEL BROADBAND COMPANY
                                       (2013) LTD
  2.0685 CONTRACTUAL DOCUMENT          SUPERSONIC ISRAEL LTD; IBC       ATTN: HEZI LASINGER    48 BEN GURION ST                                                        HERTZLIA,                        ISRAEL
                                       ISRAEL BROADBAND COMPANY                                                                                                        4644608
                                       (2013) LTD
  2.0686 MUTUAL PRODUCT EVALUATION     SYNCGLOBAL TELECOM               ATTN: KEVIN TURNER     1090A PACIFIC AVE                                                       BREMEN      GA      30110
         AGREEMENT
  2.0687 PURCHASE AGREEMENT FOR        SYSTEMS INTEGRATION &                                   SKY TOWER                     11 FLOOR                                  TIRANA                           ALBANIA
         PRODUCTS AND SERVICES         TECHNOLOGY DISTRIBUTION AG




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  2.0688 PURCHASE AGREEMENT FOR        SYSTEMS INTEGRATION &                                     ANKARSKA 31                                                                   SKOPJE, 1000                        MACEDONIA
         PRODUCTS AND SERVICES         TECHNOLOGY DISTRIBUTION AG;
                                       S&T MACEDONIA
  2.0689   UPDATE OF OUR SUPPLIER CODE T DEUTSCHE TELEKOM AG                                     FRIEDRICH-EBERT-ALLEE                                                         53113, BONN                         GERMANY
           OF CONDUCT                                                                            140
  2.0690   MUTUAL PRODUCT EVALUATION TACHUS FIBER INTERNET          ATTN: JARED NAQUIN           3831 TECHNOLOGY               SUITE 200                                       THE            TX      77381
           AGREEMENT                                                                             FOREST BLVD                                                                   WOODLANDS
  2.0691   AMENDMENT #1 BETWEEN        TACHUS LLC
           TACHUS, LLC AND DZS INC.
           AMENDMENT #1
  2.0692   AMENDMENT #1 BETWEEN        TACHUS LLC
           TACHUS, LLC AND DZS INC.
           AMENDMENT #1
  2.0693   PURCHASE AGREEMENT FOR      TACHUS LLC                                                14850 WOODHAM DR              STE 105-B                                       HOUSTON        TX      77073
           PRODUCTS AND SERVICES
  2.0694   PURCHASE AGREEMENT FOR      TACHUS LLC                                                14850 WOODHAM DR              STE 105-B                                       HOUSTON        TX      77073
           PRODUCTS AND SERVICES
  2.0695   MUTUAL NON-DISCLOSURE       TAIHAN FIBEROPTICS AMERICA                                22 PARIS AVE                  #107                                            ROCKLEIGH      NJ      07647
           AGREEMENT                   INC
  2.0696   RESELLER AGREEMENT          TAMDEED PROJECTS LLC;                                     PO BOX 112                    ETISALAT ACADEMY                                DUBAI                               UAE
                                       SISALAT SERVICES HOLDING LLC

  2.0697 RESELLER AGREEMENT         TAWASOL MIDDLE EAST FOR                                      66 ST NASSER BIN JARCEL                                                       SHEMISANI,                          JORDAN
                                    TRADE AGENCIES CO., LTD.                                                                                                                   AMMAN
  2.0698 MUTUAL PRODUCT EVALUATION TAWASUL TELECOM LTD CO                MOUHANNAD ALKHATEEB     ELMOUS STREET                 OLAYA STREET                                    RIYADH                              SAUDI ARABIA
         AGREEMENT
  2.0699 SPECIAL EQUIPMENT CONTRACT TAYLOR TELEPHONE                                             PO BOX 370                                                                    MERKEL         TX      79536
                                    COOPERATIVE, INC.
  2.0700 SPECIAL EQUIPMENT CONTRACT TAYLOR TELEPHONE                                             US DEPARTMENT OF              1400 INDEPENENCE AVE,                           WASHINGTON     DC      20250-0700
                                    COOPERATIVE, INC.                                            AGRICULTURE RURAL             SW
                                                                                                 DEVELOPMENT
  2.0701 STRATEGIC ALLIANCE        TCI NETWORK SOLUTIONS INC;                                    9990 MESA RIM ROAD                                                            SAN DIEGO      CA      92121
         AGREEMENT                 AT&T BROADBAND NETWORK
                                   SOLUTIONS
  2.0702 MASTER PURCHASE AGREEMENT TDS TELECOMMUNICATIONS LLC            JOE READ, VP - SUPPLY   525 JUNCTION ROAD,                                                            MADISON        WI      53717
                                                                         CHAIN SERVICES
  2.0703 MUTUAL PRODUCT EVALUATION          TDS TELECOMMUNICATIONS LLC   DAVID WAIGHT            ATTN: DAVID WAIGHT            525 JUNCTION ROAD                               MADISON        WI      53717
         AGREEMENT
  2.0704 EXHIBIT TO THE RESELLER            TDT; TORGOVYY DOM            SVETLANA KHUBIEVA       ATTN: SVETLANA                GOSPYTALNAYA, 10, AP    VILLAGE SELYATINO, CITY NMOSCOW                143345       RUSSIA
         AGREEMENT                          TEHNOLOGIY LLC                                       KHUBIEVA                      109                                              REGION
  2.0705 PURCHASE ORDER                     TDT; TORGOVYY DOM            ATTN: SVETLANA          GOSPYTALNAYA, 10, AP          VILLAGE SELYATINO, CITY                          MOSCOW                143345       RUSSIA
                                            TEHNOLOGIY LLC               KHUBIEVA                109                           NARO-FOMINSK                                     REGION
  2.0706 SERVICES AGREEMENT                 TDT; TORGOVYY DOM            ATTN: S.V. KHUBIEVA     GOSPYTALNAYA, 10, AP          VILLAGE SELYATINO, CITY                          MOSCOW                143345       RUSSIA
                                            TEHNOLOGIY LLC                                       109                           NARO-FOMINSK                                     REGION
  2.0707 ADDENDUM NO 5 TO THE               TEHNOLOGII LLC; TORGOVYY     ATTN: S.V. KHUBIEVA     GOSPYTALNAYA, 10, AP          VILLAGE SELYATINO, CITY                          MOSCOW                             RUSSIA
         RESELLER AGREEMENT                 DOM TECHNOLOGY LLC                                   109                           NARO-FOMINSK                                     REGION, 143345
  2.0708 ADDENDUM NO 5 TO THE               TEHNOLOGII LLC; TORGOVYY     ATTN: S.V. KHUBIEVA     GOSPYTALNAYA, 10, AP          VILLAGE SELYATINO, CITY                          MOSCOW                             RUSSIA
         RESELLER AGREEMENT                 DOM TECHNOLOGY LLC                                   109                           NARO-FOMINSK                                     REGION, 143345
  2.0709 RESELLER AGREEMENT                 TEHNOLOGII LLC; TORGOVYY     ATTN: S.A. LUKANINA     KIEV HIGHWAY, 1,              BLOCK B, ENTRANCE 7,                             RUMYANTSEVO,                       RUSSIA
                                            DOM TECHNOLOGY LLC                                   BUSINESS PARK                 OFFICE 612B                                      MOSCOW,
                                                                                                                                                                                142784
  2.0710 RESELLER AGREEMENT                 TEHNOLOGII LLC; TORGOVYY     ATTN: S.A. LUKANINA     KIEV HIGHWAY, 1,              BLOCK B, ENTRANCE 7,                             RUMYANTSEVO,                       RUSSIA
                                            DOM TECHNOLOGY LLC                                   BUSINESS PARK                 OFFICE 612B                                      MOSCOW,
                                                                                                                                                                                142784
  2.0711 PURCHASE ORDER                     TEKHNOLOGIY LLC              ATTN: SVETLANA          GOSPYTALNAYA, 10, AP          VILLAGE SELYATINO, CITY                          MOSCOW                143345       RUSSIA
                                                                         KHUBIEVA                109                           NARO-FOMINSK                                     REGION
  2.0712 PURCHASE ORDER                     TEKHNOLOGIY LLC              ATTN: SVETLANA          GOSPYTALNAYA, 10, AP          VILLAGE SELYATINO, CITY                          MOSCOW                143345       RUSSIA
                                                                         KHUBIEVA                109                           NARO-FOMINSK                                     REGION
  2.0713 PURCHASE ORDER                     TEKHNOLOGIY LLC              ATTN: SVETLANA          GOSPYTALNAYA, 10, AP          VILLAGE SELYATINO, CITY                          MOSCOW                143345       RUSSIA
                                                                         KHUBIEVA                109                           NARO-FOMINSK                                     REGION
  2.0714 PURCHASE AGREEMENT FOR             TELBO NV                                             8 KAYA LIBERTADOR                                                              KRALENDIJK,                        THE
         PRODUCTS AND SERVICES                                                                   SIMON BOLIVAR                                                                  BONAIRE                            NETHERLANDS
  2.0715 PURCHASE AGREEMENT FOR             TELBO NV                                             KAYA SIMON BOLIVAR 8                                                           KRALENDIJK                         THE
         PRODUCTS AND SERVICES                                                                                                                                                  BONAIRE DG                         NETHERLANDS
  2.0716 USER SERVICES AGREEMENT            TELCOM WEST LLC; PLUME                               PO BOX 1024                                                                    ASH FORK       AZ     86320
                                            DESIGN INC




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  2.0717 RESELLER AGREEMENT                 TELECOM & TECHNOLOGY CO.                             38 EL AHRAM STREET                                      MOKATTAM,                      EGYPT
                                            (TELETECH)                                                                                                   CAIRO
  2.0718 RESELLER AGREEMENT                 TELECOM AUSTRO IMMARVIC CIA ATTN: ING JAVIER         NICANOR AGUILAR Y LUIS                                  CUENCA, 010107                 ECUADOR
                                            LTDA                        MARTINEZ                 MORENO MORA
  2.0719 TELECOM INFRA PROJECT -            TELECOM INFRA PROJECT INC
         GENERAL PARTICIPATION
         AGREEMENT
  2.0720 SERVICES AGREEMENT                 TELECOM LIECHTENSTEIN AG
  2.0721 SERVICES AGREEMENT                 TELECOM LIECHTENSTEIN AG
  2.0722 TENDER FOR ACTIVE FIBRE AND        TELECOM NAMBIA LIMITED
         COPPER ACCESS EQUIPMENT
         SCHEDULE 4 SCHEDULE OF
         COMPLIANCE TO TECHNICAL
         SPECIFICATIONS
  2.0723 CONTRACT NO. G/DP/TN-220/2022      TELECOM NAMIBIA LIMITED      ATTN: DR. STANLEY       9 JUDGE J.P KARUAIHE       3RD FLOOR                    WINDHOEK                       NAMIBIA
                                                                         SHANAPINDA              STREET
  2.0724 MEMORANDUM OF AGREEMENT            TELECOM NAMIBIA LIMITED      ATTN: HEAD: CORPORATE   9 LÜDERITZ STREET, 3RD     PO BOX 297                   WINDHOEK                       NAMBIA
                                                                         GOVERNANCE, LEGAL       FLOOR, TELECOM HEAD
                                                                         SERVICES AND            OFFICE
                                                                         REGULATORY AFFAIRS
  2.0725 PRICING AND FORECASTING            TELECOM NAMIBIA LIMITED
         SCHEDULE
  2.0726 SERVICE MAINTENANCE                TELECOM NAMIBIA LIMITED
         CONTRACT PROPOSAL
  2.0727 SERVICE MAINTENANCE                TELECOM NAMIBIA LTD                                  5700 TENNYSON PARKWAY STE 400                           PLANO            TX    75024
         CONTRACT
  2.0728 RESELLER AGREEMENT                 TELEFFICIENT SOLUTIONS       ROBERT M. PEROZAK       50 RICHMOND STREET E                                    OSMAWA, ON,                    CANADA
                                                                                                                                                         LIG7C7
  2.0729 SERVICE MAINTENANCE                TELEFONICA DEL SUR SERVICIOS ATTN: CHIEF OF          SAN CARLOS 107                                          VALDIVIA                       CHILE
         CONTRACT                           INTERMEDIOS SA               TECHNOLOGIES OFFICE,
                                                                         CEO
  2.0730 PARCHASE AND SUPPLY                TELEFÓNICA DEL SUR SERVICIOS ATTN: CEO, CHIEF OF     SAN CARLOS 107                                          VALDIVIA                       CHILE
         AGREEMENT FOR PRODUCTS             INTERMEDIOS SA               TECHNOLOGIES OFFICE
         AND SERVICES
  2.0731 PURCHASE AND SUPPLY                TELEFÓNICA DEL SUR SERVICIOS ATTN: CEO, CHIEF OF     SAN CARLOS NO 107                                       VALDIVIA                       CHILE
         AGREEMENT FOR PRODUCTS             INTERMEDIOS SA               TECHNOLOGIES OFFICE
         AND SERVICES
  2.0732 PURCHASE AGREEMENT FOR             TELEFONICA DEL SUR;                                  SAN CARLOS 107                                          VALDIVIA                       CHILE
         PRODUCTS AND SERVICES              TELEFONICA
  2.0733 MUTUAL PRODUCT EVALUATION          TELEGRAPH CO LTD                                     79 BRICKDAM ST             STABROEK                     GEORGETOWN                     GUYANA
         AGREEMENT
  2.0734 MUTUAL PRODUCT EVALUATION          TELEKOMMUNIKATION                                    STOCKHOLMER ALLEE 24                                    DORTMUND,                      GERMANY
         AGREEMENT                                                                                                                                       NRW, 44269
  2.0735 SUBJECT: RESPONSE TO               TELEM GROUP; SINT MAARTEN                            SOUALIGIA BLVD #5                                       POND ISLAND,                   THE
         REQUEST FOR PROPOSAL FOR           TELECOMMUNICATION                                                                                            ST. MAARTEN                    NETHERLANDS
         NETWORK EQUIPMENT (RFP 01),        OPERATING COMPANY NV
         ISSUED APRIL 7, 2017 ON BEHALF
         OF DASAN ZHONE SOLUTIONS
         (DZS)
  2.0736 SUBJECT: RESPONSE TO               TELEM GROUP; SINT MAARTEN                            SOUALIGIA BLVD #5                                       POND ISLAND,                   THE
         REQUEST FOR PROPOSAL FOR           TELECOMMUNICATION                                                                                            ST. MAARTEN                    NETHERLANDS
         NETWORK EQUIPMENT (RFP 01),        OPERATING COMPANY NV
         ISSUED APRIL 7, 2017 ON BEHALF
         OF DASAN ZHONE SOLUTIONS
         (DZS)
  2.0737 PURCHASE AGREEMENT FOR             TELENET D.O.O.                                       HAMDIJE CEMERLICA 35                                    71000 SARAJEVO                 BOSNIA AND
         PRODUCTS AND SERVICES                                                                                                                                                          HERZEGOVINA
  2.0738 RESELLER AGREEMENT                 TELEX BULGARIA LTD                                   CHERNI VRAH ST 40                                       VARNA, 9000                    BULGARIA
  2.0739 MASTER AGREEMENT                   TELIA COMPANY
  2.0740 ADDENDUM NO. 2 TO RESELLER         TELMAR NETWORK
         AGREEMENT                          TECHNOLOGY INC; NEC
                                            ELUMINANT TECHNOLOGIES INC
  2.0741 RESELLER AGREEMENT                 TELMARK PERU SAC                                     JR. FRAY LUIS DE LEON                                   SAN BORJA,                     PERU
                                                                                                 747                                                     LIMA 41




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  2.0742 AMENDMENT #2                  TELRAD GROUP; SUPERSONIC
                                       ISRAEL LTD; IBC ISRAEL
                                       BROADBAND COMPANY (2013)
                                       LTD
  2.0743   AMENDMENT #2                TELRAD GROUP; SUPERSONIC
                                       ISRAEL LTD; IBC ISRAEL
                                       BROADBAND COMPANY (2013)
                                       LTD
  2.0744   PURCHASE ORDER              TELSTRA LIMITED; TELSTRA                                     LEVEL 41, 242 EXHIBITION     GPO BOX 9901                                 MELBOURNE,                          AUSTRALIA
                                       CORPORATION LIMITED, ET AL.                                  ST                                                                        VIC, 3000
  2.0745   DISTRIBUTOR AGREEMENT       TELTECH COMMUNICATIONS LLC         LISA M HANLON             3211 INTERNET BLVD           SUITE 300                                    FRISCO            TX      75034
  2.0746   MASTER PURCHASE AGREEMENT TELUS COMMUNICATIONS                 ATTN: VIJAY JAINARAINE,   25 YORK ST                                                                TORONTO, ON,                        CANADA
                                       COMPANY; TELUS                     STRATEGIC SOURCING                                                                                  M5J 2V5
                                       COMMUNICATIONS INC.                MANAGER
  2.0747   RFI PARTICIPATION AGREEMENT TELUS COMMUNICATIONS INC.
  2.0748   MASTER PRODUCTS AND         TELUS COMMUNICATIONS INC;          ATTN: DIRECTOR,           PROCUREMENT,                 200 CONSILIUM PLACE                          SCARBOROUGH       ON      M1H 3J3   CANADA
           SERVICES AGREEMENT          TELUS COMMUNICATIONS INC.          NETWORK                   TECHNOLOGY STRATEGY
  2.0749   SHORT FORM SOFTWARE         TELUS COMMUNICATIONS INC;          ATTN: DANIEL FREIJI       PO BOX 1830                                                               EDMONTON,                           CANADA
           LICENSE AGREEMENT           TELUS COMMUNICATIONS INC.                                                                                                              ALBERTA, T5J
                                                                                                                                                                              2P2
  2.0750 AMENDMENT NO. 1 TO MASTER          TELUS CORPORATION; TELUS
         AGREEMENT FOR RESALE OF            COMMUNICATIONS INC.
         SOFTWARE-AS-A-SERVICE
         SCHEDULE "A" - FORM OF SAAS
         SUBSCRIPTION SCHEDULE
  2.0751 CONTRACT RE CONNECTED              TERRAPINN HOLDINGS LTD                                  WREN HOUSE                   43HATTON GARDEN                              LONDON, EC1N                        UK
         BRITAIN 2023                                                                                                                                                         8EL
  2.0752 REPRESENTATION AGREEMENT           TERRITORY MER GROUP;          ATTN: HEZI LASINGER       48 BEN GURION ST                                                          HERTZLIA,                           ISRAEL
                                            SUPERSONIC ISRAEL LTD; IBC                                                                                                        4644608
                                            ISRAEL BROADBAND COMPANY
                                            (2013) LTD
  2.0753 RESELLER AGREEMENT                 TESAS TELECOM                                           BULGURLU CAD.                                                             BULGURLU,                           TURKEY
                                                                                                                                                                              ISTANBUL, 34696
  2.0754 DISTRIBUTOR AGREEMENT              TESSCO INCORPORATED           ATTN: DIRECTOR OF         11126 MCCORMICK ROAD                                                      HUNT VALLEY     MD        21031
                                                                          CONTRACTS
  2.0755 RESELLER AGREEMENT                 TEST COMPANY 10, LLC                                    AGT NETWORKS, LLC            2311 COLONY WOODS DR.                        APEX              NC      27523
  2.0756 CONTRACT FOR SUPPLY OF             THE ARMAMENT AUTHORITY                                  5500 16TH ST N.W.                                                         WASHINGTON        DC      20011
         SPARE PARTS
  2.0757 CONTRACT FOR SUPPLY OF             THE ARMAMENT AUTHORITY                                  KOBRY EL KOBBA                                                            CAIRO                               EGYPT
         SPARE PARTS
  2.0758 KCOM SECURITY PLAN                 THE CUSTOMER GROUP PLC
  2.0759 CODE OF CONDUCT                    THE TELE2 GROUP
         ACKNOWLEDGMENT
  2.0760 ELITE RESELLER AGREEMENT           THOMAS TECHNOLOGIES INC       THOMAS E. HAACK,          1860 1 30 EAST               P.O. BOX 1360                                ROCKWALL          TX      75087
                                                                          PRESIDENT
  2.0761 DISTRIBUTION AGREEMENT             TIBIT COMMUNICATIONS INC      RICHARD STANFIELD         HANSON BRIDGETT LLP          ATTN: MICHAEL GORBACK 425 MARKET ST, 26TH FLOOSAN FRANCISCO CA         94105
  2.0762 DISTRIBUTION AGREEMENT             TIBIT COMMUNICATIONS INC      RICHARD STANFIELD         TIBIT COMMUNICATIONS,        1 WILLOWBROOK CT      STE 150                 PETALUMA      CA         94954
                                                                                                    INC.
  2.0763 PURCHASE AGREEMENT FOR             TIMBO TEL SRO                                           BUDOVATELSKÁ 29                                                           093 01 VRANOV                       SLOVAKIA
         PRODUCTS AND SERVICES                                                                                                                                                NAD TOPLOU
  2.0764 CERTIFICATE OF COMPLETION          TIMESTAMP
  2.0765 MEMORANDUM OF                      TNTECH JOINT STOCK COMPANY;                             LEVEL 21, TNR TOWER          54A NGUYEN CHI THANH      LANG THUONG WARD   DONG DA                             VIETNAM
         UNDERSTANDING                      TNG HOLDINGS VIETNAM                                                                 STREET                                       DISTRICT, HANOI
                                            INVESTMENT CORPORATION

  2.0766 CANCELLATION LETTER                TORGOVYY DOM TECHNOLOGY
                                            LLC
  2.0767 CANCELLATION LETTER                TORGOVYY DOM TECHNOLOGY
                                            LLC
  2.0768 PURCHASE ORDER                     TORGOVYY DOM TECHNOLOGY       ATTN: S.V. KHUBIEVA       GOSPYTALNAYA, 10, AP         VILLAGE SELYATINO, CITY                      MOSCOW                              RUSSIA
                                            LLC                                                     109                          NARO-FOMINSK                                 REGION, 143345
  2.0769 PURCHASE ORDER                     TORGOVYY DOM TECHNOLOGY       ATTN: S.V. KHUBIEVA       GOSPYTALNAYA, 10, AP         VILLAGE SELYATINO, CITY                      MOSCOW                              RUSSIA
                                            LLC                                                     109                          NARO-FOMINSK                                 REGION, 143345
  2.0770 PURCHASE ORDER                     TORGOVYY DOM TECHNOLOGY       ATTN: S.V. KHUBIEVA       GOSPYTALNAYA, 10, AP         VILLAGE SELYATINO, CITY                      MOSCOW                              RUSSIA
                                            LLC                                                     109                          NARO-FOMINSK                                 REGION, 143345




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  2.0771 PURCHASE ORDER                     TORGOVYY DOM TECHNOLOGY     ATTN: S.V. KHUBIEVA    GOSPYTALNAYA, 10, AP        VILLAGE SELYATINO, CITY                       MOSCOW                              RUSSIA
                                            LLC                                                109                         NARO-FOMINSK                                  REGION, 143345
  2.0772 SERVICES AGREEMENT                 TORGOVYY DOM TECHNOLOGY     ATTN: S.V. KHUBIEVA    GOSPYTALNAYA, 10, AP        VILLAGE SELYATINO, CITY                       MOSCOW                 143345       RUSSIA
                                            LLC                                                109                         NARO-FOMINSK                                  REGION
  2.0773 SERVICES AGREEMENT                 TORGOVYY DOM TECHNOLOGY                            GOSPYTALNAYA, 10, AP.       NARO-FOMINSK CITY                             MOSCOW                 143345       RUSSIA
                                            LLC                                                109, VILLAGE SELYATINO,                                                   REGION
  2.0774 SERVICES AGREEMENT                 TORGOVYY DOM TECHNOLOGY                            GOSPYTALNAYA, 10, AP.       NARO-FOMINSK CITY                             MOSCOW                 143345       RUSSIA
                                            LLC                                                109, VILLAGE SELYATINO,                                                   REGION
  2.0775 SERVICES AGREEMENT                 TORGOVYY DOM TEHNOLOGIJ     ATTN: S.V.KHUBIEVA     GOSPYTALNAYA 10             VILLAGE SELYATINO                             NARO-FOMINSK                        RUSSIA
                                            LLC                                                                                                                          CITY, MOSCOW,
                                                                                                                                                                         143345
  2.0776 SERVICES AGREEMENT                 TORGOVYY DOM TEHNOLOGIJ     ATTN: S.V.KHUBIEVA     GOSPYTALNAYA 10             VILLAGE SELYATINO                             NARO-FOMINSK                        RUSSIA
                                            LLC                                                                                                                          CITY, MOSCOW,
                                                                                                                                                                         143345
  2.0777 PURCHASE ORDER                     TORGOVYY DOM TEKHNOLOGIY    ATTN: SVETLANA         GOSPYTALNAYA 10             AP. 109, VILLAGE                              NARO-FOMINSK,                       RUSSIA
                                            LLC; TDT                    KHUBIEVA                                           SELYATINO                                     MOSCOW,
                                                                                                                                                                         143345
  2.0778 CHANGE ORDER                       TPG TELECOM                                        200 BARANGAROO              LEVEL 27, TOWER TWO,                          BARANGAROO,                         AUSTRALIA
                                                                                               AVENUE                      INTERNATIONAL TOWERS                          NSW, 2000
                                                                                                                           SYDNEY
  2.0779 MUTUAL NON-DISCLOSURE              TRADEWIN, LLC               ATTN: LAWRENCE TOBIA   846 THOMAS DR                                                             BENSONVILLE       IL   60106
         AGREEMENT
  2.0780 RESELLER AGREEMENT                 TRADING DISTRIBUTION         ATTN: MOHAMED NABIL   26 BUILDING                                                               NASR CITY,                          EGYPT
                                            CONSULTANCY COMPANY (TDC)                                                                                                    CAIRO
  2.0781 RESELLER AGREEMENT                 TRANS INDUSTRIAS                                   EL SALVADOR 5957                                                          BUENOS AIRES                        ARGENTINA
                                            ELECTRONICAS SA
  2.0782 RESELLER AGREEMENT                 TRANSTEMA FIBER DATA AB                            MURÉNGATAN 1                                                              80251 GÄVLE                         SWEDEN
  2.0783 MEMORANDUM OF                      TRI-TECH DESIGN INC; PRODUCT
         UNDERSTANDING                      SOURCE INTERNATIONAL
                                            DATACOMM
  2.0784 MEMORANDUM OF                      TRI-TECH DESIGN INC; PRODUCT
         UNDERSTANDING                      SOURCE INTERNATIONAL
                                            DATACOMM
  2.0785 PURCHASE AGREEMENT FOR             TRITECH SYSTEM TECHNOLOGY                          AL NIEPEDLEGLOSCI                                                         WARSAW, 02-087                      POLAND
         PRODUCTS AND SERVICES              SP                                                 225/14
  2.0786 PURCHASE AGREEMENT FOR             TROY CABLEVISION, INC.       ATTN: WILLIAM H.      1006 S. BRUNDIDGE           PO BOX 1228                                   TROY              AL   36081-1227
         PRODUCTS AND SERVICES                                           FREEMAN               STREET
  2.0787 PURCHASE AGREEMENT FOR             TUNG HING COMPUTER                                 1720-23, 20/F, METRO        21 LAM HING STREET                            KOWLOON BAY                         HONG KONG
         PRODUCTS AND SERVICES              SYSTEMS, LTD.                                      CENTRE II
  2.0788 PURCHASE AGREEMENT FOR             TV FUEGO SA                                        RICARDO ROJAS 864           RIO GRANDE                                    PCIA TIERRA                         ARGENTINA
         PRODUCTS AND SERVICES                                                                                                                                           DEL FUEGO
  2.0789 FIRST AMENDMENT TO                 TVC COMMUNICATIONS LLC;                            225 W STATION SQUARE        STE 700                                       PITTSBURGH        PA   15219
         RESELLER AGREEMENT                 WESCO DISTRIBUTION INC                             DR
  2.0790 FIRST AMENDMENT TO                 TVC COMMUNICATIONS LLC;                            225 W STATION SQUARE        STE 700                                       PITTSBURGH        PA   15219
         RESELLER AGREEMENT                 WESCO DISTRIBUTION INC                             DR
  2.0791 FIRST AMENDMENT TO                 TVC COMMUNICATIONS LLC;     ATTN: COMMUNICATION    225 WEST STATION            STE 700                                       PITTSBURGH        PA   15219
         RESELLER AGREEMENT                 WESCO DISTRIBUTION INC      SUPPLY CORPORATION     SQUARE DR
  2.0792 FIRST AMENDMENT TO                 TVC COMMUNICATIONS LLC;     ATTN: COMMUNICATION    225 WEST STATION            STE 700                                       PITTSBURGH        PA   15219
         RESELLER AGREEMENT                 WESCO DISTRIBUTION INC      SUPPLY CORPORATION     SQUARE DR
  2.0793 AMENDMENT TO INTERNATIONAL         UNITECH NETWORKS (CHINA)
         DISTRIBUTION AGREEMENT             LTD; UNITECH COMPUTER
                                            SYSTEMS LTD
  2.0794 DISTRIBUTION AGREEMENT             UNITECH NETWORKS (CHINA)                           UNITECH COMPUTER            4606-10, 46/F.,         CHINA RESOURCES BUILDIN26 HARBOUR                         HONG KONG
                                            LTD; UNITECH COMPUTER                              SYSTEMS LTD.                                                               ROAD, WANCHAI,
                                            SYSTEMS LTD
  2.0795 EQUIPMENT PURCHASE                 UNITED PAN-EUROPE                                  CHELLO BROADBAND N.V. ATTN: SUDHIR ISPAHANI         BOEING AVENUE 101     SCHIPHOL RIJK,                      THE
         AGREEMENT                          COMMUNICATIONS NV                                                                                                            1119PE                              NETHERLANDS
  2.0796 EQUIPMENT PURCHASE                 UNITED PAN-EUROPE                                  FRED ROESKESTRAAT 123                                                     10877EE,                            THE
         AGREEMENT                          COMMUNICATIONS NV                                                                                                            AMSTERDAM                           NETHERLANDS
  2.0797 PURCHASE AGREEMENT FOR             UNITED TELEPHONE            ATTN: MIKE SALMANS     1107 MCARTOR ROAD           PO BOX 117                                    DODGE CITY        KS   67801
         PRODUCTS AND SERVICES              ASSOCIATION INC. (UNITED
                                            TELECOM)
  2.0798 PURCHASE AGREEMENT FOR             UNIVERSITY OF CURACAO                              JAN NOORDUYNWEG 111                                                       WILLEMSTAD,                         VENEZUELA
         PRODUCTS AND SERVICES                                                                                                                                           CURACAO




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  2.0799 UNIVERSITY OF MARYLAND,            UNIVERSITY OF MARYLAND      ATTN: MARK HARRINGTON 11710 PLAZA AMERICA          SUITE 2000                                      RESTON           VA      20190
         COLLEGE PARK CONTRACT                                                                DRIVE
         A103075
  2.0800 PURCHASE AGREEMENT FOR             UPDATA, LTD.                                                                                                                   REIGATE,                              UNITED
         PRODUCTS AND SERVICES                                                                                                                                             SURREY                                KINGDOM
  2.0801 ADDENDUM #1 TO RESELLER            URALSKBISNESSCONNEKT                               NURSULTAN NAZARBAYEV BUILDING 215B, SUITE 6           WEST KAZAKHSTAN REGIONURALSK CITY,                          KAZAKHSTAN
         AGREEMENT                                                                             THOROUGHFARE                                                                090000

  2.0802 PURCHASE ORDER NO. A03-            URALSKBISNESSCONNEKT                               NURSULTAN NAZARBAYEV AVE 215 B                        SUITE 6               URALSK, 090000                        KAZAKHSTAN
         UBC22-02
  2.0803 PURCHASE ORDER NO. A06-            URALSKBISNESSCONNEKT                               NURSULTAN NAZARBAYEV                                                        URALSK 090000                         KAZAKHSTAN
         UBC22-02                                                                              AVE. 215B, SUITE 6

  2.0804 PURCHASE ORDER NO. A06-            URALSKBISNESSCONNEKT                               NURSULTAN NAZARBAYEV                                                        URALSK 090000                         KAZAKHSTAN
         UBC22-02                                                                              AVE. 215B, SUITE 6

  2.0805 RESELLER AGREEMENT                 URALSKBISNESSCONNEKT        ATTN: SERGEJ D         215B NURSULDAN              THOROUGHFARE, SUITE 6                                                    90000        KAZAKHSTAN
                                                                                               NAZARBAEV
  2.0806 RESELLER AGREEMENT                 URALSKBISNESSCONNEKT; IBC                          BUILDING 215B, SUITE 6      URALSK CITY,         REPUBLIC OF KAZAKHSTAN WEST                         90000        KAZAKHSTAN
                                            ISRAEL BROADBAND COMPANY                                                       NURSULTAN NAZARBAYEV                        KAZAKHSTAN
                                            (2013) LTD                                                                     THOROGHFARE                                 REGION

  2.0807 MASTER SERVICE AGREEMENT           USHUAIA VISION SA           MR. SCIUTTO FEDERICO   RIVADAVIA Nº 260,           USHUAIA, 9410                                   TIERRA DEL                            ARGENTINA
                                                                                                                                                                           FUEGO
  2.0808 PURCHASE AGREEMENT FOR             UTOPIA                      ATTN: ROGER TIMMERMAN 2175 S REDWOOD RD                                                            WEST VALLEY  UT          84119
         PRODUCTS AND SERVICES                                                                                                                                             CITY
  2.0809 RESELLER AGREEMENT                 V S INFORMATION SYSTEMS                            7, SULAIMAN TERRACE,        OFF JAWATHA                                     ROAD COLOMBO                          SRI LANKA
                                            (PVT) LTD                                                                                                                      5
  2.0810 PURCHASE AGREEMENT FOR             VALLEY TELEPHONE                                   881 E HIDALGO AVE                                                           RAYMONDVILLE TX          78580
         PRODUCTS AND SERVICES              COOPORATIVE, INC.
  2.0811 RESELLER AGREEMENT                 VALTELLINA SPA; ZHORE                              VIA BUONARROTI, 34                                                          24020 GORIE                           ITALY
                                            TECHNOLOGIES INC                                                                                                               (BG)
  2.0812 RESELLER AGREEMENT                 VARDATA                                            1046 UNIVERSITY AVE                                                         ROCHESTER        NY      14607
  2.0813 MUTUAL NON-DISCLOSURE              VARGYAS NETWORKS INC                               2200 OGDEN AVE #240                                                         LISLE            IL      60532
         AGREEMENT
  2.0814 RESELLER AGREEMENT                 VARGYAS NETWORKS INC;                              2200 OGDEN AVE              SUITE 240                                       LISLE            IL      60532
                                            BALTIC NETWORKS INC
  2.0815 RESELLER AGREEMENT                 VDCTELECOM SA               ATTN: MARIO HEBERT     B12 WAQF BLD. ALMAMYA                                                       CONAKRY                               GUINEA
  2.0816 RESELLER AGREEMENT                 VECTOR SOLUTIONS SP. ZO.O                          KRZEMOWA 6                                                                  81-577 GDYNIA                         POLAND
  2.0817 PURCHASE AGREEMENT FOR             VERACITY NETWORKS                                  357 S 670 W                 STE 300                                         LINDON           UT      84042
         PRODUCTS AND SERVICES
  2.0818 DISTRIBUTION AGREEMENT             VERACOMP SA                                        UL. ZAWILA 61                                                               30-390 KRAKOW                         POLAND
  2.0819 PURCHASE AGREEMENT FOR             VERYSELL SA                                        47, CHEMIN D'EYSINS                                                         1260 NYON                             SWITZERLAND
         PRODUCTS AND SERVICES NO7-
         3001-07VS
  2.0820 RESELLER AGREEMENT                 VERYTEL S.A.                ATTN: SALES            CALLE 122 NO. 41-41         571-6373766                                     BOGOTA                                COLOMBIA
                                                                        DEPARTMENT BOGOTA
                                                                        D.C .- COLOMBIA
  2.0821 PURCHASE AGREEMENT FOR             VIANET INC                                         128 LARCH ST                STE 202                                         SUDBURY          ON      P3E 5J8      CANADA
         PRODUCTS AND SERVICES
  2.0822 DEBIT NOTE                         VIETTEL GROUP               ATTN: CAO ANH SON      NO. 1                       GIANG VAN MINH STREET                           BA DINH                               VIETNAM
                                                                                                                                                                           DISTRICT, HANOI
  2.0823 SERVICE AGREEMENT                  VIETTEL GROUP               ATTN: LE DANG DUNG     NO. 1                       TRAN HUU DUC, MY DINH 2                         NAM TU LIEM,                          VIETNAM
                                                                                                                                                                           HANOI
  2.0824 PURCHASE AGREEMENT                 VITALINK LLC                                       213 MAIN ST                                                                 MARKLEYSBURG PA          15459
  2.0825 SALES AUTHORIZATION LETTER         VNPT NET CORPORATION                               72 STREETS                  DUONG NOI WARD                                  HA DONG                               VIETNAM
                                                                                                                                                                           DISTRICT, HANOI
  2.0826 END-USER LICENSE AGREEMENT VPIPHOTONICS INC
  2.0827 RESELLER AGREEMENT         VS ONE WORLD (PTE) LTD              ATTN: PARTNERSHIP      NO. 31, CANTONMENT                                                          089747,                               SINGAPORE
                                                                        DEPARTMENT             ROAD                                                                        SINGAPORE
  2.0828 PURCHASE AGREEMENT FOR             VTX COMMUNICATION LLC                                                                                                          RAYMONDVILLE     TX
         PRODUCTS AND SERVICES
  2.0829 CONSENT TO ASSIGNMENT OF           WALKER AND ASSOCIATES INC   ATTN: LORIE R. LOMAN   7129 OLD HWY 52             PO BOX 1029                                     WELCOME          NC      27374-1029
         AGREEMENT




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  2.0830 AMENDMENT NUMBER 1 TO FULL WALKER AND ASSOCIATES INC;
         LINE DISTRIBUTOR AGREEMENT PREMISYS COMMUNICATIONS INC

  2.0831 PURCHASE AGREEMENT FOR        WATCH COMMUNICATIONS                                  1805 N. DIXIE HWY                                                            LIMA             OH      45801
         PRODUCTS AND SERVICES
  2.0832 RESELLER AGREEMENT            WAVES TECHNOLOGY AND          LEGAL DEPARTMENT        MUSCAT, ALKHOUDH, PC         BUILDING NO 524, OFFICE                                                               OMAN
                                       SERVICES LLC                                          132, P.O.BOX: 599            NO 32
  2.0833 PURCHASE AGREEMENT FOR        WBA TELECOMMUNICATIONS
         PRODUCTS AND SERVICES
  2.0834 DISTRIBUTOR AGREEMENT         WESCO DISTRIBUTION INC        ATTN: GLOBAL SUPPLIER   225 W. STATION SQUARE                                                        PITTSBURGH       PA      15219
                                                                     RELATIONS               DRIVE, SUITE 700
  2.0835 RESELLER AGREEMENT            WESCO DISTRIBUTION INC        ATTN: CONTRACT          225 W STATION SQUARE         STE 700                                         PITTSBURGH       PA      15219
                                                                     MANAGEMENT              DR
  2.0836 RESELLER AGREEMENT            WESCO DISTRIBUTION INC        ATTN: LEGAL             225 W STATION SQUARE         STE 700                                         PITTSBURGH       PA      15219
                                                                                             DR
  2.0837 RESELLER AGREEMENT            WESCO DISTRIBUTION INC        ATTN: LEGAL             7195 OAKPORT ST @                                                            OAKLAND          CA      94621
                                                                                             ZHONE WAY
  2.0838 SECOND AMENDMENT TO           WESCO DISTRIBUTION INC
         RESELLER AGREEMENT
  2.0839 SECOND AMENDMENT TO           WESCO DISTRIBUTION INC
         RESELLER AGREEMENT
  2.0840 MUTUAL PRODUCT EVALUATION     WIATEL                        ATTN: JEREMY YANAK      202 CEDAR STREET                                                             LAWTON           IA      51030
         AGREEMENT
  2.0841 RESELLER AGREEMENT            WILLARD SOLUTIONS             ATTN: EMILY WILLARD     100 CENTRAL PARK S           STE 12D                                         NEW YORK         NY      10019
                                       INTERNATIONAL
  2.0842 MUTUAL NON-DISCLOSURE         WILLIAM WOODRUFF              ATTN: WILLIAM           4035 BOWSER AVE                                                              DALLAS           TX      75219
         AGREEMENT                                                   WOODRUFF
  2.0843 MUTUAL PRODUCT EVALUATION     WINDSTREAM SERVICES LLC                               4005 N. RODNEY PARHAM                                                        LITTLE ROCK      AR      72212
         AGREEMENT                                                                           ROAD
  2.0844 MUTUAL PRODUCT EVALUATION     WINDSTREAM SERVICES LLC                               4005 N. RODNEY PARHAM                                                        LITTLE ROCK      AR      72212
         AGREEMENT                                                                           ROAD
  2.0845 CONTRACT NO. WTKI-21-005      WINNCOM TECHNOLOGIES                                  KAZIBEK BI STR               OFFICE 102                                      ALMATY, 050010                        KAZAKHSTAN
  2.0846 DZS INC. RESELLER AGREEMENT   WINNCOM TECHNOLOGIES                                  28900 FOUNTAIN               UNIT B                                          SOLON            OH      44139
                                                                                             PARKWAY
  2.0847 CONTRACTUAL DOCUMENT          WIRELESS EXCELLENCE LIMITED                           THE OXFORD SCIENCE           G6 MAGDALEN CENTRE                              OXFORD                   OX4 4GA      UNITED
                                                                                             PARK                         ROBERT ROBINSON AVE                                                                   KINGDOM
  2.0848 CONTRACTUAL DOCUMENT          WIRELESS EXCELLENCE LIMITED                           THE OXFORD SCIENCE                                                           OXFORD                   OX4 4GA      UNITED
                                                                                             PARK, G6, MAGDALEN                                                                                                 KINGDOM
                                                                                             CENTRE ROBERT
                                                                                             ROBINSON AVENUE,
  2.0849 GENERAL TERMS AND             WIRELESS EXCELLENCE LIMITED                           THE OXFORD SCIENCE           G6, MAGDALEN CENTRE       ROBERT ROBINSON AVE   OXFORD                   OX4 4GA      UNITED
         CONDITIONS FOR THE SALE OF                                                          PARK                                                                                                               KINGDOM
         GOODS AND THE PROVISION OF
         SERVICES
  2.0850 GENERAL TERMS AND             WIRELESS EXCELLENCE LIMITED                           THE OXFORD SCIENCE           G6, MAGDALEN CENTRE       ROBERT ROBINSON AVENU OXFORD                   OX4 4GA      UNITED
         CONDITIONS FOR THE SALE OF                                                          PARK                                                                                                               KINGDOM
         GOODS AND THE PROVISION OF
         SERVICES
  2.0851 PARTNER AGREEMENT             WIRELESS EXCELLENCE LIMITED                           THE OXFORD SCIENCE           G6, MAGDALEN CENTRE       ROBERT ROBINSON AVENU OXFORD                   OX4 4GA      UNITED
                                                                                             PARK                                                                                                               KINGDOM
  2.0852 PARTNER AGREEMENT             WIRELESS EXCELLENCE LIMITED                           THE OXFORD SCIENCE           G6, MAGDALEN CENTRE                             OXFORD                   OX4 4GA      UNITED
                                                                                             PARK                         ROBERT ROBINSON AVE                                                                   KINGDOM
  2.0853 RESELLER AGREEMENT            WNI EQUIP ELETRONICOS LTDA                            1184 HUGO SIMAS AV                                                           CURITIBA, PR,                         BRAZIL
                                                                                                                                                                          80520-250
  2.0854 MUTUAL PRODUCT EVALUATION     WOBCOM GMBH                                           HEßLINGER STRASSE 1-5                                                        WOLFSBURG,                            GERMANY
         AGREEMENT                                                                                                                                                        38440
  2.0855 SCHEDULE OF PRODUCTS AND      WORIDNET                                              CENTRO INTERNACIONAL         90 CARRETERA 165          STE 201               GUAYNABO, PR,                         PUERTO RICO
         PRICES                        TELECOMMUNICATIONS INC                                DE MERCADERO II                                                              00968
  2.0856 RESELLER AGREEMENT            WORLD WIDE TECHNOLOGY LLC     BOB OLWIG, EVP          ONE WORLD WIDE WAY                                                           MARYLAND         MO      63146
                                                                                                                                                                          HEIGHTS
  2.0857 PURCHASE AGREEMENT FOR        WORLDNET                                              CENTRO INTERNATIONAL         90 CANOTERA 165           STE 201               GUAYNABO         PR      00968-8059   PUERTO RICO
         PRODUCTS AND SERVICES         TELECOMMUNICATIONS INC                                DE MERCADO
  2.0858 RESELLER AGREEMENT            WSP SERVICOS DE                                       RUA SAO LUIS, 164                                                            SANTAREM, PA,                         BRAZIL
                                       TELECOMUNICACOES                                      AEROPORTO VEIHO                                                              68020-060
  2.0859 RESELLER AGREEMENT            WU SANG HOUSE; KONGWIRE       TOMMY CHIU              M 1003, 10/F, WU SANG        655 NATHAN ROAD                                 MONGKOK,                              HONG KONG
                                       COMPANY LIMITED                                       HOUSE                                                                        KOWLOON




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  2.0860 AMENDMENT NO. 2 TO OEM           XEL COMMUNICATIONS INC     ATTN: MIKE               17101 E. OHIO DR.                                                   AURORA          CO      80017-3878
         AGREEMENT
  2.0861 PURCHASE AGREEMENT FOR           XENAB INTERNATIONAL        ATTN: SAFDAR SAJJAD      9928 RAVARI DR                                                      CYPRESS         CA      90630-3555
         PRODUCTS AND SERVICES
  2.0862 MASTER PURCHASE AGREEMENT XPLORE INC                        ATTN: VP, SUPPLY CHAIN   625 COCHRANE DR             #1000                                   MARKHAM, ON,                         CANADA
                                                                                                                                                                  L3R 9R9
  2.0863 DZS MAINTENANCE SERVICE       YATANARPON TELEPORT PUBLIC ATTN: MIN MAUNG SOE         #25 UNIVERSITIES HLAING                                             HLAING                               MYANMAR
         AGREEMENT                     CO LTD                                                 CAMPUS                                                              TOWNSHIP,
                                                                                                                                                                  YANGON REGION

  2.0864 PURCHASE AGREEMENT FOR        ZAJIL INTERATIONAL TELECOM    ATTN: SHABOUR ANYUM      SOUQ AL KABIR 7TH FL        FAHAD AL SALEM ST                                               13037        KUWAIT
         PRODUCTS AND SERVICES         COMPANY K.S.C.C.
  2.0865 ASSET PURCHASE AGREEMENT      AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
                                                                                              ROAD, SUITE 150
  2.0866 BILL OF SALE, ASSIGNMENT AND AXON NETWORKS, INC.            ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         ASSUMPTION AGREEMENT                                                                 ROAD, SUITE 150
  2.0867 DOMAIN ASSIGNMENT            AXON NETWORKS, INC.            ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         AGREEMENT                                                                            ROAD, SUITE 150
  2.0868 EDGE SDK LICENSE AGREEMENT AXON NETWORKS, INC.              ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
                                                                                              ROAD, SUITE 150
  2.0869 PATENT ASSIGNMENT             AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         AGREEMENT                                                                            ROAD, SUITE 150
  2.0870 PATENT ASSIGNMENT             AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         AGREEMENT                                                                            ROAD, SUITE 150
  2.0871 PATENT SUBLICENSE             AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         AGREEMENT                                                                            ROAD, SUITE 150
  2.0872 RESELLER AGREEMENT            AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
                                                                                              ROAD, SUITE 150
  2.0873 TRADEMARK ASSIGNMENT          AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         AGREEMENT                                                                            ROAD, SUITE 150
  2.0874 TRANSFERRED PATENTS           AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         LICENSE AGREEMENT                                                                    ROAD, SUITE 150
  2.0875 TRANSITION SERVICES           AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
         AGREEMENT                                                                            ROAD, SUITE 150
  2.0876 XTREME LICENSE AGREEMENT      AXON NETWORKS, INC.           ATTN TROY PLISKA         15420 LAGUNA CANYON                                                 IRVINE          CA      92618
                                                                                              ROAD, SUITE 150
  2.0877 SHARE PURCHASE AGREEMENT      CASA COMMUNCIATIONS           C/O COR CORDIS           SUITE 26.03, LEVEL 26, 6                                            SYDNEY          NSW     2000         AUSTRALIA
                                       HOLDINGS PTY LTD                                       O'CONNELL STREET
                                       (ADMINISTRATORS APPOINTED)
                                       CAN 632 732 659
  2.0878 ASSIGNMENT AND OFFSET         DASAN INDIA PRIVATE LIMITED   ATTN MIN-WOO NAM,     DASAN TOWER                    49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
         AGREEMENT                                                   CHIEF EXECUTIVE                                      644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                     OFFICER                                              GU
  2.0879 MASTER ENGINEERING            DASAN INDIA PRIVATE LIMITED   ATTN LEGAL DEPARTMENT DASAN TOWER                    49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
         SERVICES AGREEMENT                                                                                               644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                                                                          GU
  2.0880 TRANSITION SERVICES           DASAN INDIA PRIVATE LIMITED   ATTN MIN-WOO NAM,     DASAN TOWER                    49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
         AGREEMENT                                                   CHIEF EXECUTIVE                                      644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                     OFFICER                                              GU
  2.0881 ASSIGNMENT AND ASSUMPTION     DASAN NETWORK SOLUTIONS,      ATTN MIN-WOO NAM,     DASAN TOWER                    49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
         AGREEMENT                     INC.                          CHIEF EXECUTIVE                                      644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                     OFFICER                                              GU
  2.0882 ASSIGNMENT AND ASSUMPTION     DASAN NETWORK SOLUTIONS,      ATTN MIN-WOO NAM,     DASAN TOWER                    49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
         AGREEMENT                     INC.                          CHIEF EXECUTIVE                                      644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                     OFFICER                                              GU
  2.0883 MASTER ENGINEERING            DASAN NETWORK SOLUTIONS,      ATTN LEGAL DEPARTMENT DASAN TOWER                    49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
         SERVICES AGREEMENT            INC.                                                                               644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                                                                          GU
  2.0884 MASTER SERVICE AGREEMENT      DASAN NETWORK SOLUTIONS,      ATTN ASIA SALES          DASAN TOWER                 49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
                                       INC.                                                                               644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                                                                          GU
  2.0885 MASTER SERVICE AGREEMENT      DASAN NETWORK SOLUTIONS,      ATTN ASIA SALES          DASAN TOWER                 49, DAEWANGPANGYO-RO                    SEONGNAM-SI,                         REPUBLIC OF
                                       INC.                                                                               644BEON-GIL, BUNDANG-                   GYEONGGI-DO                          KOREA
                                                                                                                          GU




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  2.0886 MASTER SUPPLY AGREEMENT            DASAN NETWORK SOLUTIONS,   ATTN LEGAL DEPARTMENT DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
                                            INC.                                                                         644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                                                                         GU
  2.0887 RESELLER AGREEMENT                 DASAN NETWORK SOLUTIONS,   ATTN ASIA SALES        DASAN TOWER                49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
                                            INC.                                                                         644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                                                                         GU
  2.0888 RESELLER AGREEMENT                 DASAN NETWORK SOLUTIONS,   ATTN ASIA SALES        DASAN TOWER                49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
                                            INC.                                                                         644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                                                                         GU
  2.0889 TRANSITION SERVICES                DASAN NETWORK SOLUTIONS,   ATTN MIN-WOO NAM,      DASAN TOWER                49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                          INC.                       CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0890 ASSIGNMENT AND OFFSET              DASAN NETWORKS, INC.       ATTN MIN-WOO NAM,      DASAN TOWER                49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                                                     CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0891 EMAIL AGREEMENT REGARDING          DASAN NETWORKS, INC.       ATTN MIN-WOO NAM,      DASAN TOWER                49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         DZS'S PURCHASE OF FINISHED                                    CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
         GOODS, RAW MATERIALS AND                                      OFFICER                                           GU
         POS.
  2.0892 OFFSET, TRANSFER AND               DASAN NETWORKS, INC.       ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         ASSUMPTION AGREEMENT                                          CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0893 STOCK PURCHASE AGREEMENT           DASAN NETWORKS, INC.       ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
                                                                       CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0894 INTELLECTUAL PROPERTY              DASAN NETWORKS, INC.       ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         LICENSE AGREEMENT                                             CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0895 ASSIGNMENT AND OFFSET              DASAN NETWORKS, INC.       ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                                                     CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0896 ASSIGNMENT AND OFFSET              D-MOBILE LIMITED           ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                                                     CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0897 TRANSITION SERVICES                D-MOBILE LIMITED           ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                                                     CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0898 ASSIGNMENT AND OFFSET              DZS JAPAN, INC.            ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                                                     CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0899 TRANSITION SERVICES                DZS JAPAN, INC.            ATTN MIN-WOO NAM,     DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                                                     CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0900 MASTER ENGINEERING                 DZS VIETNAM COMPANY        ATTN LEGAL DEPARTMENT DASAN TOWER                 49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         SERVICES AGREEMENT                                                                                              644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                                                                         GU
  2.0901 OFFSET, TRANSFER AND               DZS VIETNAM COMPANY        ATTN MIN-WOO NAM,      DASAN TOWER                49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         ASSUMPTION AGREEMENT                                          CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0902 TRANSITION SERVICES                DZS VIETNAM COMPANY        ATTN MIN-WOO NAM,      DASAN TOWER                49, DAEWANGPANGYO-RO                  SEONGNAM-SI,                   REPUBLIC OF
         AGREEMENT                                                     CHIEF EXECUTIVE                                   644BEON-GIL, BUNDANG-                 GYEONGGI-DO                    KOREA
                                                                       OFFICER                                           GU
  2.0903 AMENDED AND RESTATED               EDGECO, LLC                ATTN: ROBERT BINKELE   2 PARK PLAZA, SUITE 850                                          IRVINE         CA      92614
         SECURITY AGREEMENT
  2.0904 LOAN AGREEMENT (WITH NOTE)         EDGECO, LLC                ATTN: ROBERT BINKELE   2 PARK PLAZA, SUITE 850                                          IRVINE         CA      92614
  2.0905 LOAN AGREEMENT (WITH NOTE)         EDGECO, LLC                ATTN: ROBERT BINKELE   2 PARK PLAZA, SUITE 850                                          IRVINE         CA      92614
  2.0906 WARRANT AGREEMENT TO               EDGECO, LLC                ATTN: ROBERT BINKELE   2 PARK PLAZA, SUITE 850                                          IRVINE         CA      92614
         PURCHASE SHARES
  2.0907 WARRANT AGREEMENT TO               EDGECO, LLC                ATTN: ROBERT BINKELE   2 PARK PLAZA, SUITE 850                                          IRVINE         CA      92614
         PURCHASE SHARES
  2.0908 EMPLOYMENT LETTER OF               ALONSO, MIGUEL                                    5145 TERRACE VIEW LANE                                           PLANO          TX      75093
         FORMER EMPLOYEE DATED
         1/01/2023
  2.0909 EMPLOYMENT LETTER DATED            ANTON SOBROVIN                                    3815 CANOT LANE                                                  ADDISON        TX      75001
         4/01/2024




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  2.0910 EMPLOYMENT LETTER DATED          BEDNARZ, PHILIP                          731 HOLLY OAK DRIVE                                    PALO ALTO     CA      94303
         11/13/2024
  2.0911 EMPLOYMENT LETTER DATED          BRIAN CHESNUT                            6804 BAROLO DRIVE                                      DALLAS        TX      75088
         4/22/2024
  2.0912 EMPLOYMENT CONTRACT DATED FERGUSON, JUSTIN KYLE                           5700 RED HILL LANE                                     FRISCO        TX      75034
         9/28/2020
  2.0913 EMPLOYMENT LETTER OF             FOUST, NORMAN                            6409 MEADOW CREEK                                      SANTA ROSA    CA      95409
         FORMER EMPLOYEE DATED                                                     LANE
         1/01/2023
  2.0914 EMPLOYMENT LETTER DATED          JEFF LEINEN                              6801 CORPORATE DR.         APT A16                     PLANO         TX      75024
         1/02/2024
  2.0915 EMPLOYMENT CONTRACT OF           KAWECKI, MISTY                           6472 STAR CREEK,
         FORMER EMPLOYEE DATED                                                     FRISCO, TX 75034
         8/02/2021
  2.0916 EMPLOYMENT LETTER DATED          LARSEN-MISUNAS, LAURA                    1215 PILCHUCK PLACE FI                                 FOX ISLAND    WA      98333
         10/01/2020 AND REPLACED
         EFFECTIVE 1/1/2025
  2.0917 EMPLOYMENT LETTER OF             MACKEY, ERIC                             1810 BALTIMORE DRIVE                                   ALLEN         TX      75002
         FORMER EMPLOYEE DATED
         7/01/2023
  2.0918 EMPLOYMENT LETTER DATED          MARK HUNGLE                              2309 SOUTHERN CIR                                      CARROLLTON    TX      75006
         10/30/2023
  2.0919 EMPLOYMENT LETTER DATED          MARTHI, RAGHU                            805 GIVERNY LANE                                       SOUTHLAKE     TX      76092
         10/1/2021 AND REPLACED
         EFFECTIVE 4/22/2024
  2.0920 EMPLOYMENT LETTER OF             REISS, GUNTER                            16070 SHANNON RD., LOS
         FORMER EMPLOYEE DATED                                                     GATOS, CA 95032
         9/19/2023
  2.0921 EMPLOYMENT LETTER DATED          SCOTT ST. JEAN                           813 MACON PLACE                                        RALEIGH       NC      27609
         4/29/2024
  2.0922 EMPLOYMENT LETTER DATED          SPENCER MEYERS                           1037 HONEYSUCKLE                                       GRAPEVINE     TX      76051
         10/30/2023
  2.0923 EMPLOYMENT LETTER DATED          TIM CHAPPEL
         1/31/2024
  2.0924 EMPLOYMENT CONTRACT DATED VOGT, CHARLES D                                 6817 POURCHOT PLACE                                    PLANO         TX      75024
         8/1/2020 AND AMENDED 06/01/2021

  2.0925 INSURANCE POLICY - CRIME       AIG                                        1271 AVE OF THE                                        NEW YORK      NY      10020-1304
                                                                                   AMERICAS, FL 37
  2.0926 INSURANCE POLICY - D&O         AIG                                        1271 AVE OF THE                                        NEW YORK      NY      10020-1304
                                                                                   AMERICAS, FL 37
  2.0927 INSURANCE POLICY - FIDUCIARY   AIG                                        1271 AVE OF THE                                        NEW YORK      NY      10020-1304
                                                                                   AMERICAS, FL 37
  2.0928 INSURANCE POLICY - K&R         AIG                                        1271 AVE OF THE                                        NEW YORK      NY      10020-1304
                                                                                   AMERICAS, FL 37
  2.0929 INSURANCE POLICY - SIDE A      AIG                                        1271 AVE OF THE                                        NEW YORK      NY      10020-1304
                                                                                   AMERICAS, FL 37
  2.0930 INSURANCE POLICY - D&O         AMTRUST                                    59 MAIDEN LANE 42ND                                    NEW YORK      NY      10038
                                                                                   FLOOR
  2.0931 INSURANCE POLICY - D&O         ANV                                        10 MADISON AVE., 3RD                                   MORRISTOWN    NJ      07960
                                                                                   FLOOR
  2.0932 INSURANCE POLICY - AUTO        BERKLEY TECH                               222 S 9TH STREET STE                                   MINNEAPOLIS   MN      55402
                                                                                   2600
  2.0933 INSURANCE POLICY - GENERAL     BERKLEY TECH                               222 S 9TH STREET STE                                   MINNEAPOLIS   MN      55402
         LIABILITY                                                                 2600
  2.0934 INSURANCE POLICY - PROPERTY    BERKLEY TECH                               222 S 9TH STREET STE                                   MINNEAPOLIS   MN      55402
                                                                                   2600
  2.0935 INSURANCE POLICY - SIDE A      BERKLEY TECH                               222 S 9TH STREET STE                                   MINNEAPOLIS   MN      55402
                                                                                   2600
  2.0936 INSURANCE POLICY - UMBRELLA    BERKLEY TECH                               222 S 9TH STREET STE                                   MINNEAPOLIS   MN      55402
                                                                                   2600
  2.0937 INSURANCE POLICY - WORKERS     BERKLEY TECH                               222 S 9TH STREET STE                                   MINNEAPOLIS   MN      55402
         COMP                                                                      2600
  2.0938 INSURANCE POLICY - FOREIGN     CHUBB                                      15 MOUNTAIN VIEW ROAD                                  WARREN        NJ      07061-1615
         (PROPERTY/GL/EL)




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  2.0939 INSURANCE POLICY - CARGO/STP FALVEY                                                   66 WHITECAP DRIVE                                                     NORTH          RI      02852
         (TRANSIT/WAREHOUSE)                                                                                                                                         KINGSTOWN

  2.0940 INSURANCE POLICY - EMPLOYED     INTACT                                                605 HIGHWAY 169 NORTH                                                 PLYMOUTH       MN      55441
         LAWYERS                                                                               SUITE 800
  2.0941 INSURANCE POLICY -              SOMPO                                                 1221 AVENUE OF THE                                                    NEW YORK       NY      10020
         CYBER/TECH E&O                                                                        AMERICAS FLOOR 18
  2.0942 INSURANCE POLICY - D&O          SOMPO                                                 1221 AVENUE OF THE                                                    NEW YORK       NY      10020
                                                                                               AMERICAS FLOOR 18
  2.0943 SUB-LEASE - 5700 TENNYSON        FUTUREWEI TECHNOLOGIES, INC.                         2330 CENTRAL                                                          SANTA CLARA    CA      95050
         PARKWAY, SUITE 425, PLANO, TX                                                         EXPRESSWAY
         75024
  2.0944 SUB-LEASE - 5700 TENNYSON        HUAWEI TECHNOLOGIES USA INC.                         5700 TENNYSON                                                         PLANO          TX      75024
         PARKWAY, SUITE 400, PLANO, TX                                                         PARKWAY, SUITE 600
         75024
  2.0945 LEASE - 203 REDWOOD SHORES HUDSON TOWERS AT SHORE             C/O HUDSON PACIFIC      ATTN BUILDING MANAGER 333 TWIN DOLPHI DRIVE,                          REDWOOD CITY   CA      94065
         PARKWAY, REDWOOD CITY, CA        CENTER, LLC                  PROPERTIES              AND MANAGING COUNSEL SUITE 100
         94065
  2.0946 LEASE - 5700 TENNYSON            IPXI LEGACY PLACE INVESTORS, C/O BPG MANAGEMENT      ATTN ASSET MANAGER         ELLIS PRESERVE, 3843                       NEWTON         PA      19073
         PARKWAY, SUITE 200, PLANO, TX LLC                             COMPANY, LP                                        WEST CHETER PIKE                           SQUARE
         75024
  2.0947 LEASE - 5700 TENNYSON            IPXI LEGACY PLACE INVESTORS, C/O METCALFE WOLFF      221 W. 6TH STREET, SUITE                                              AUSTIN         TX      78701
         PARKWAY, SUITE 200, PLANO, TX LLC                             STUART & WILLIAMS LLP   1300
         75024
  2.0948 LEASE - 5700 TENNYSON            IPXI LEGACY PLACE INVESTORS, C/O CUSHMAN WAKFIELD    5700 TENNYSON                                                         PLANO          TX      75024
         PARKWAY, SUITE 200, PLANO, TX LLC                                                     PARKWAY, SUITE 150
         75024
  2.0949 LEASE - 5700 TENNYSON            IPXI LEGACY PLACE INVESTORS, C/O BPG MANAGEMENT      ATTN ASSET MANAGER         ELLIS PRESERVE, 3843                       NEWTON         PA      19073
         PARKWAY, SUITE 450, PLANO, TX LLC                             COMPANY, LP                                        WEST CHETER PIKE                           SQUARE
         75024
  2.0950 LEASE - 5700 TENNYSON            IPXI LEGACY PLACE INVESTORS, C/O METCALFE WOLFF      221 W. 6TH STREET, SUITE                                              AUSTIN         TX      78701
         PARKWAY, SUITE 450, PLANO, TX LLC                             STUART & WILLIAMS LLP   1300
         75024
  2.0951 LEASE - 5700 TENNYSON            IPXI LEGACY PLACE INVESTORS, C/O CUSHMAN WAKFIELD    5700 TENNYSON                                                         PLANO          TX      75024
         PARKWAY, SUITE 450, PLANO, TX LLC                                                     PARKWAY, SUITE 150
         75024
  2.0952 SUB-LEASE - 5700 TENNYSON        PARLER                                               5700 TENNYSON                                                         PLANO          TX      75024
         PARKWAY, SUITE 200, PLANO, TX                                                         PARKWAY, SUITE 200
         75024
  2.0953 LEASE - 12821 STARKEY ROAD,      STARKEY OWNER, LP            C/O JLL                 ATTN PROPERTY              401 E. JACKSON ST, SUITE                   TAMPA          FL      33602
         SUITE 4000-4300, LARGO, FL 33771                                                      MANAGER                    100

  2.0954 LEASE - 12821 STARKEY ROAD,      STARKEY OWNER, LP            C/O INVESCO ADVISERS,   ATTN ASSET MANAGER         2001 ROSS AVENUE,                          DALLAS         TX      75201
         SUITE 4000-4300, LARGO, FL 33771                              INC.                                               SUITE 3400

  2.0955 LEASE - 3PL STORAGE +           AMT, DEERFIELD BEACH                                  3150 SW 15TH ST                                                       DEERFIELD      FL      33442
         LOGISTICS                                                                                                                                                   BEACH
  2.0956 LEASE - 3PL STORAGE +           BUSKE                                                 7918 HARNEY RD                                                        TAMPA          FL      33637
         LOGISTICS
  2.0957 LEASE - STORAGE UNIT 5          DZS INTERNATIONAL, INC. REP                           BUSINESS CENTRAL                                                      DUBAI                          UAE
         #N/10407                        OFFICE                                                TOWERS, OFFICE NO.
                                                                                               BT2701B
  2.0958 LEASE - STORAGE UNIT M01        DZS INTERNATIONAL, INC. REP                           BUSINESS CENTRAL                                                      DUBAI                          UAE
         #N/10425                        OFFICE                                                TOWERS, OFFICE NO.
                                                                                               BT2701B
  2.0959 LEASE - 3PL STORAGE +           OMEGA MORGAN HILL, CA                                 19 GREAT OAKS BLVD                                                    SAN JOSE       CA      95119
         LOGISTICS
  2.0960 LEASE - 3PL STORAGE +           SEKO LOGISTICS USA                                    8551 ESTERS BLVD. STE                                                 IRVING         TX      75063
         LOGISTICS                                                                             100 / 110
  2.0961 RE: LETTER AGREEMENT            ACACIA COMMUNICATIONS INC;    MURUGESAN
         REGARDING NON-CANCELLATION      ACACIA COMMUNICATIONS         SHANMUGARAJ
         OF ORDERS (THE "LETTER          (IRELAND) LIMITED
         AGREEMENT)




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  2.0962 TECHNICAL SERVICES                 ACCELINK TECHNOLOGIES CO       BIN ZHANG              1 TANHU RD.,                                                      WUHAN, 430205                        CHINA
         AGREEMENT NO. ACCELINK-01          LTD                                                   CANGLONGDAO
                                                                                                  DEVELOPMENT ZONE,
                                                                                                  JIANGXIA DIST.
  2.0963 PRELIMINARY PROPOSAL               ACG                            PETER EDWARDS -
                                                                           PRESIDENT
  2.0964 EVALUATION AGREEMENT               ACTIONTEC ELECTRONICS INC      N/A                    760 N.                                                            MARY AVE.       CA      94085
                                                                                                                                                                    SUNNYVALE
  2.0965 AEROFLEX IRELAND LIMITED           AEROFLEX IRELAND LIMITED                              BROOK HOUSE, CORRIG        DUN LAOGHAIRE                          CO. DUBLIN                           IRELAND
         TERMS AND CONDITIONS FOR                                                                 AVENUE
         THE SALE OF GOODS AND
         SUPPLY OF SERVICES
  2.0966 INTEROPERABILITY SERVICES          ALCATEL-LUCENT USA INC         N/A                    00-700 MOUNTAIN AVE        PO BOX 636                             MURRAY HILL     NJ      07974-0636
         AGREEMENT
  2.0967 STATEMENT OF WORK                  ALCATEL-LUCENT USA INC         N/A                    00 MOUNTAIN AVENUE,                                               MURRAY HILL     NJ      07974
  2.0968 STATEMENT OF WORK                  ALCATEL-LUCENT USA INC         N/A                    00-700 MOUNTAIN AVE        PO BOX 636                             MURRAY HILL     NJ      07974-0636
  2.0969 MUTUAL NON-DISCLOSURE              AMEX BANK OF CANADA            KRISTINE TSAOUSIDIS    2225 SHEPPARD AVENUE       SUITE 100                              TORONTO         ON      M2J 5C2      CANADA
         AGREEMENT                                                                                EAST
  2.0970 MUTUAL NONDISCLOSURE               ANALOG DEVICES INC             N/A                    ONE ANALOG WAY,                                                   WILMINGTON      MA      01887
         AGREEMENT                                                                                UNAUTHORIZED
                                                                                                  DISCLOSURE OR USE OF
                                                                                                  THE PROPRIETARY
                                                                                                  INFORMATION.
  2.0971 REPRESENTATION AGREEMENT           ANATEL
  2.0972 ORDER FORM                         APOLLO.IO                      JAMES LUONG           340 S LEMON AVE #4750                                              WALNUT          CA      91789
  2.0973 RE: ENGAGEMENT LETTER              APPLE INC; FITZGERALD KNAIER   KENNETH FITZGERALD OR 402 WEST BROADWAY           STE 1400                               SAN DIEGO       CA      92101
                                            LLP; REMBRANDT WIRELESS        PAUL CASTOR
                                            TECHNOLOGIES LP
  2.0974 FINANCIAL CONSOLIDATION AND        APPLICATION CONSULTING         PETER EDWARDS
         CLOSE IN IBM PA                    GROUP INC
         IMPLEMENTATION PROPOSAL BY
         ACG
  2.0975 MASTER SERVICES AGREEMENT APPS ASSOCIATES LLC                                            289 GREAT ROAD, SUITE                                             ACTON           MA      01720
                                                                                                  308
  2.0976 STATEMENT OF WORK -                APPS ASSOCIATES LLC            ADRIAN KING
         PROJ117607 ORACLE
         ERP/SCM/HCM IMPLEMENTATION
  2.0977 STATEMENT OF WORK                  APPS ASSOCIATES LLC            ADRIAN KING
         PROJ123212
  2.0978 MASTER SOW STATEMENT OF            ARICENT INC                                           3460 HILLVIEW AVENUE                                              PALO ALTO       CA      94304
         WORK
  2.0979 STATEMENT OF WORK                  ARICENT INC                    A GEBAUER              CORPORATE MARKETING        3460 HILLVIEW AVENUE                   PALO ALTO       CA      94304
                                                                                                  AND LEGAL
  2.0980 STATEMENT OF WORK                  ARICENT INC                    ANDREAS GEBAUER        CORPORATE MARKETING        3460 HILLVIEW AVENUE                   PALO ALTO       CA      94304
                                                                                                  AND LEGAL
  2.0981 STATEMENT OF WORK                  ARICENT INC                    ANDREAS GEBAUER        CORPORATE MARKETING        3460 HILLVIEW AVENUE                   PALO ALTO       CA      94304
                                                                                                  AND LEGAL
  2.0982 STATEMENT OF WORK                  ARICENT INC                    ANDREAS GEBAUER        CORPORATE MARKETING        3460 HILLVIEW AVENUE                   PALO ALTO       CA      94304
                                                                                                  AND LEGAL
  2.0983 STATEMENT OF WORK                  ARICENT INC                    ANDREAS GHEBAUER       CORPORATE MARKETING        3460 HILLVIEW AVENUE                   PALO ALTO       CA      94304
                                                                                                  AND LEGAL
  2.0984 MUTUAL NON-DISCLOSURE              ARIES ELECTRONICS INC          ERIN COBB              2609 BARTRAM ROAD                                                 BRISTOL         PA      19007
         AGREEMENT
  2.0985 MUTUAL CONFIDENTIALITY             ARMANINO LLP                   GREGORY A              12657 ALCOSTA BLVD #500                                           SAN RAMON       CA      94583
         AGREEMENT
  2.0986 SERVICES AGREEMENT;                ARMANINO LLP                                          12657 ALCOSTA              SUITE 500                              SAN RAMON       CA      94583-4600
         STATEMENT OF WORK                                                                        BOULEVARD
  2.0987 SHIP TO FORM                       ARROW CENTRAL EUROPE GMBH                             FRANKFURTER STRAßE                                                D- 63263 NEU-                        GERMANY
                                                                                                  211                                                               ISENBURG
  2.0988 TERMS AND CONDITIONS               ARROW ELECTRONICS INC                                 9201 EAST DRY CREEK                                               CENTENNIAL      CO      80112
                                                                                                  ROAD
  2.0989 CUSTOMER END USE AND               ARROW ELECTRONICS INC;
         EXPORT COMPLIANCE                  WASSENAAR MUNITIONS LIST
         CERTIFICATION (EUC)
         INSTRUCTIONS




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  2.0990 ASSENT INC. MASTER                 ASSENT INC                    RUSSEL FREDRICK          525 COVENTRY RD                                                           OTTOWA          ON      K1K 2C5   CANADA
         SUBSCRIPTION AGREEMENT
  2.0991 MUTUAL NON-DISCLOSURE              ASTER TECHNOLOGIES            WILLIAM E WEBB           PO BOX 7163                                                               COLORADO        CO      80933
         AGREEMENT                                                                                                                                                           SPRINGS
  2.0992 SERVICES AGREEMENT                 ASTON CARTER INC              JENNA MORRIS             7301 PARKWAY DRIVE                                                        HANOVER         MD      21076
  2.0993 SERVICES AGREEMENT                 ASTON CARTER LLC              CASSIDY ARENTSEN         7301 PARKWAY DR                                                           HANOVER         MD      21076
  2.0994 SERVICES AGREEMENT                 ASTON CARTER LLC              TAYLOR DODSON            7301 PARKWAY DRIVE                                                        HANOVER         MD      21076
  2.0995 AMENDMENT TO SOFTWARE              AVAGO TECHNOLOGIES            LEGAL DEPARTMENT         AVAGO TECHNOLOGIES         C/O BROADCOM          1320 RIDDER PARK DRIVE   SAN JOSE        CA      95131
         LICENSE AGREEMENT                  INTERNATIONAL SALES PTE                                INTERNATIONAL SALES
                                            LIMITED; BROADCOM INC                                  PTE. LIMITED
  2.0996 CUSTOMER APPLICATION               AVNET INC; NF SMITH &         FAX: 713-430-3000        5306 HOLLISTER                                                            HOUSTON         TX      77040
                                            ASSOCIATES LP
  2.0997 TERMS AND CONDITIONS OF            AVNET, INC.
         SALE
  2.0998 ADVANTAGE EVALUATION               AXIROS GMBH; KEITH R NAUMAN                            ALTIAUFSTRASSE 34                                                         D-85635,                          GERMANY
         AGREEMENT                                                                                                                                                           MUNICH,
                                                                                                                                                                             HOEHENKIRCHE
                                                                                                                                                                             N
  2.0999 ORDER FORM                         AYARA INC                                              691 S MILPITAS BLVD        SUITE 230                                      MIPITAS      CA         95035
  2.1000 AMENDMENT NO. TWO TO ODM           BANK OF CHINA; SHENZHEN       TONY ZARY BONGJIN        NO. 2 DANZI NORTH RD       KENGZI STREET         PINGSHAN DISTRICT        SHENZHEN,                         CHINA
         AGREEMENT                          CONGIUELECTRONICS CO LTD;     ELECTRONICS (HK) LTD                                                                               GUANGDONG
                                            SHENZHEN GONGJIN
                                            ELECTRONICS CO LTD; GONGJIN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1001 AMENDMENT NO. TWO TO ODM           BANK OF CHINA; SHENZHEN       TONY ZARY BONGJIN        NO. 2 DANZI NORTH RD       KENGZI STREET         PINGSHAN DISTRICT        SHENZHEN,                         CHINA
         AGREEMENT                          CONGIUELECTRONICS CO LTD;     ELECTRONICS (HK) LTD                                                                               GUANGDONG
                                            SHENZHEN GONGJIN
                                            ELECTRONICS CO LTD; GONGJIN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1002 AMENDMENT NO. TWO TO ODM           BANK OF CHINA; SHENZHEN       TONY ZARY BONGJIN        NO. 2 DANZI NORTH RD       KENGZI STREET         PINGSHAN DISTRICT        SHENZHEN,                         CHINA
         AGREEMENT                          CONGIUELECTRONICS CO LTD;     ELECTRONICS (HK) LTD                                                                               GUANGDONG
                                            SHENZHEN GONGJIN
                                            ELECTRONICS CO LTD; GONGJIN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1003 ADVISORY AGREEMENT                 BERND HESSE                   BERND HESSE              221 KINGSFORD LANE                                                        REDWOOD CITY    CA      94061
  2.1004 ODM AGREEMENT                      BO WEI TECHNOLOGY CO LTD;     MAOPING HE               ROOM 307, BUILDING #2,                                                    DISTRICT,                         CHINA
                                            JIAXING BOWEI COMMUNICATION                            NO 522, ROAD YATAI,                                                       JIAXING CITY,
                                                                                                   NANHU                                                                     ZHEJIANG
                                                                                                                                                                             PROVINCE
  2.1005 LETTER OF AUTHORIZATION            BOWEI TECHNOLOGY CO LTD
  2.1006 ENGAGEMENT LETTER                  BPM LLP                                                60 SOUTH MARKET            SUITE 800                                      SAN JOSE        CA      95113
                                                                                                   STREET
  2.1007 AGREEMENT                          BPM LLP; BURR PILGER MAYER                             60 SOUTH MARKET            SUITE 800                                      SAN JOSE        CA      95113
                                            INDIA PRIVATE LIMITED                                  STREET
  2.1008 ENGAGEMENT LETTER                  BPM LLP; BURR PILGER MAYER                             60 SOUTH MARKET            SUITE 800                                      SAN JOSE        CA      95113
                                            INDIA PRIVATE LIMITED                                  STREET
  2.1009 SPONSORSHIP SPONSORSHIP            BROADBAND FORUM
         AGREEMENT
  2.1010 SPONSORSHIP SPONSORSHIP    BROADBAND FORUM
         AGREEMENT
  2.1011 SPONSORSHIP SPONSORSHIP    BROADBAND FORUM
         AGREEMENT
  2.1012 SOFTWARE LICENSE AGREEMENT BROADCOM CORPORATION                  N/A                      BROADCOM                   16215 ALTON PARKWAY                            IRVINE          CA      92619
                                                                                                   CORPORATION
  2.1013 AMENDMENT TO SOFTWARE              BROADCOM CORPORATION;     RICH NELSON                  1320 RIDDER PARK DRIVE                                                    SAN JOSE        CA      95131
         LICENSE AGREEMENT                  AVAGO TECHNOLOGIES
                                            INTERNATIONAL SALES PTE
                                            LIMITED
  2.1014 LETTER OF INTENT                   BROADCOM CORPORATION; BFW GREG FISCHER                 5300 CALIFORNIA AVENUE                                                    IRVINE          CA      92677
                                            SOLUTIONS CO LTD
  2.1015 LETTER OF INTENT                   BROADCOM CORPORATION; BFW                              5300 CALIFORNIA AVENUE                                                    IRVINE          CA      92677
                                            SOLUTIONS CO LTD




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  2.1016 BROADCOM SOFTWARE LICENSE BROADCOM INC; AVAGO                LEGAL DEPARTMENT     AVAGO TECHNOLOGIES         C/O BROADCOM             1320 RIDDER PARK DRIVE   SAN JOSE       CA      95131
         AGREEMENT                        TECHNOLOGIES INTERNATIONAL                       INTERNATIONAL SALES
                                          SALES PTE LIMITED                                PTE. LIMITED
  2.1017 SUPPORT SERVICES AGREEMENT BROADCOM INC; AVAGO               AMOS TAN SIANG HUA   1 YISHUN AVENUE 7                                                            SINGAPORE              768923       SINGAPORE
                                          TECHNOLOGIES INTERNATIONAL
                                          SALES PTE LIMITED
  2.1018 SERVICES SCHEDULE                BROADRIDGE INVESTOR         ATTN: JOHN DUNN      51 MERCEDES WAY                                                              EDGEWOOD       NY      11717
                                          COMMUNICATION SOLUTIONS INC

  2.1019 PROPOSAL ISO 9001          BSI BSI GROUP CANADA INC        MARK BEDNAR            LOCKBOX VIA REGULAR        BSI GROUP AMERICA INC.   P.O. BOX 23425           NEW YORK       NY      10087-3425
         CERTIFICATION DZS INC                                                             US POSTAL SERVICE
  2.1020 REGISTRATION SERVICES -    BSI GROUP CANADA INC; BSI                              LOCKBOX VIA REGULAR        BSI GROUP AMERICA INC.   P.O. BOX 23425           NEW YORK       NY      10087-3425
         PROPOSAL OF COSTS PROPOSAL MANAGEMENT SYSTEMS INC                                 US POSTAL SERVICE

  2.1021 REGISTRATION AGREEMENT       BSI MANAGEMENT SYSTEMS                               LOCKBOX VIA REGULAR        BSI GROUP AMERICA INC.   P.O. BOX 23425           NEW YORK       NY      10087-3425
                                      CANADA                                               US POSTAL SERVICE
  2.1022 SPONSORING AGREEMENT         BUGLAS                                               BUNDESVERBAND              EDUARD-PFLÜGER-STR. 58                            53113 BONN                          GERMANY
                                                                                           GLASFASERANSCHLUSS
                                                                                           E.V.
  2.1023 LICENSE AGREEMENT            CA CORP; YUMAWORKS INC; A                            685 COCHRAN ST. #160                                                         SIMI VALLEY    CA      93065
                                      DELAWARE CORPORATION
  2.1024 AGREEMENT                    CANADIAN MICROSTRUCTURES      SHELDON WALKLIN, CTO   2 STOWGRASS CRESCENT                                                         STITTSVILLE, ON                     CANADA
                                      INC                                                                                                                               K2S 2A1
  2.1025 AGREEMENT                    CANADIAN MICROSTRUCTURES      DAVID WEYMOUTH,        42 STOWGRASS CRES.                                                           STITTSVILLE     ON     K2S 2A1      CANADA
                                      INC                           PRESIDENT
  2.1026 CHANGE ORDER                 CANADIAN MICROSTRUCTURES      DAVID WEYMOUTH -       42 STOWGRASS CRES.                                                           STITTSVILLE    ON      K2S 2A1      CANADA
                                      INC                           PRESIDENT
  2.1027 CHANGE ORDER                 CANADIAN MICROSTRUCTURES      ATTN: JEFF HILL        470 FOXHALL WAY                                                              KANATA, ON,                         CANADA
                                      INC                                                                                                                               K2M 0G2
  2.1028 CHANGE ORDER                 CANADIAN MICROSTRUCTURES      SCOTT AGNEW            470 FOXHALL WAY                                                              KANATA, ON                          CANADA
                                      INC                                                                                                                               K2M 0G2
  2.1029 CONSULTING AGREEMENT         CANADIAN MICROSTRUCTURES      SHELDON WALKLIN CTO    42 STOWGRASS CRES.                                                           STITTSVILLE    ON      K2S 2A1      CANADA
                                      INC
  2.1030 SERVICES FIELD TECHNICIAN    CARIB EXCEL SERVICES                                 AMSTERTAN STOPPING                                                           ST MARTON                           THE
         STATEMENT OF WORK                                                                 #28                                                                                                              NETHERLANDS
  2.1031 FEE AGREEMENT                CENTURY GROUP                 BOB DILOY              222 N. SEPULVEDA BLVD.     SUITE 2150                                        EL SEGUNDO     CA      90245
  2.1032 FXLOADER CLOUD MASTER SAAS CHILBROOK; CARE IT SERVICES                            CHILBROOK                  31A CHURCH LANE                                   ALTON,                 GU34 4HD     UNITED
         AGREEMENT                    LTD                                                                                                                               HAMPSHIRE                           KINGDOM
  2.1033 SERVICE AGREEMENT            CI SEARCH GROUP LLC           ERIC JOHNSON
  2.1034 STOCK PLAN SERVICES          CITIBANK NA; MORGAN STANLEY   MICHAEL GOLOB          ONE NEW YORK PLAZA         38TH FLOOR                                        NEW YORK       NY      10004
         AGREEMENT (SECTION 423 PLAN) SMITH BARNEY LLC

  2.1035 CONSULTATION SERVICES        CLOUD SOFT SOLUTIONS FZE                             SAIF OFFICE                Q1-05-072A                                        SHARJAH                             UNITED ARAB
         CLOUD SOFT SOLUTIONS                                                                                                                                                                               EMIRATES
         AGREEMENT FOR
         CONSULTATION AND
         COLLECTION SERVICES
  2.1036 CLOUD SOFTWARE SOLUTION      CLOUD SOFT SOLUTIONS; CLOUD
         CONSULTATION SERVICES        SOFTWARE SOLUTION FZ-LLC
         AMENDMENT NO. 001 TO
         AGREEMENT FOR
         CONSULTATION AND
         COLLECTION SERVICES
  2.1037 COGNATIO SOLUTIONS           COGNATIO SOLUTIONS LIMITED                           27 BUSH LANE                                                                 LONDON                 EC4R OAA     UNITED
         RETAINED SEARCH AGREEMENT                                                                                                                                                                          KINGDOM
  2.1038 COMCORES COMCORES            COMCORES APS                                         HALDOR TOPSOES ALIE 1                                                        2800 LYNGBY                         DENMARK
         EVALUATION LICENSE
         AGREEMENT FOR COMCORES IP
         EVALUATION LICENSE
         AGREEMENT
  2.1039 GENDA GLOBAL TECHNOLOGY      COMMON AGENDA LLP             MATTHEW N. REAVES      COMMON AGENDA, LLP         PO BOX 711                                        BRIELLE        NJ      08730
         EXECUTIVE SEARCH
         CONTINGENCY SEARCH
         AGREEMENT
  2.1040 MUTUAL PRODUCT EVALUATION    COMMUNICATIONS SUPPLY         JOHN BROWN             5700 MURRAY ST.                                                              LITTLE ROCK    AR      72209
         AGREEMENT                    SERVICE ASSOCIATION (CSSA)




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  2.1041 FEE AND SERVICE SCHEDULE         COMPUTERSHARE INC;
         FOR STOCK TRANSFER SERVICES COMPUTERSHARE TRUST
                                          COMPANY NA
  2.1042 STOCK TRANSFER AGENCY            COMPUTERSHARE TRUST           KEITH BRADLEY           350 INDIANA STREET,                                                    GOLDEN          CO      80401
         AGREEMENT                        COMPANY INC                                           SUITE 800
  2.1043 STOCK TRANSFER AGENCY            COMPUTERSHARE TRUST           KEITH BRADLEY           ATTN: KEITH BRADLEY          TWO NORTH LASALLE                         CHICAGO         IL      60602
         AGREEMENT                        COMPANY INC                                                                        STREET
  2.1044 ORDER FORM                       CONCUR TECHNOLOGIES INC
  2.1045 ORDER FORM                       CONCUR TECHNOLOGIES INC
  2.1046 SUBJECT: BROADBAND               CONCURRENT TECHNOLOGIES       MARK H. WILLIAMS        7935 1 14TH AVENUE                                                     LARGO           FL      33773-5026
         4.9GHZDATA COMMUNICATIONS CORPORATION
         PROJECT FOR PINELLAS
         COUNTY, FL
  2.1047 SUBJECT: BROADBAND               CONCURRENT TECHNOLOGIES       MARK H. WILLIAMS        7935 1 14TH AVENUE                                                     LARGO           FL      33773-5026
         4.9GHZDATA COMMUNICATIONS CORPORATION
         PROJECT FOR PINELLAS
         COUNTY, FL
  2.1048 LETTER OF ENGAGEMENT RE          CONNOR GROUP GLOBAL
         ADVISORY SERVICES                SERVICES LLC
  2.1049 CONSIGNMENT AGREEMENT            CONVERGE; PCG TRADING LLC     ERIC A. CHECKOWAY       4 TECHNOLOGY DRIVE                                                     PEABODY         MA      01960
  2.1050 CONSULTING AGREEMENT             CORE BUSINESS SOLUTIONS INC   JASON RUFFO             PO BOX 631                                                             LEWISBURG       PA      17837
  2.1051 CORTINA" LICENSE GRANT           CORTINA SYSTEMS INC
         TERMS AND CONDITIONS
  2.1052 ORDER SCHEDULE FOR THE           COVERITY INC                                          DEPT LA 22849                                                          PASADENA        CA      91185-2849
         LICENSE OF COVERITY
         SOFTWARE PRODUCTS
  2.1053 PRODUCT LICENSE AGREEMENT COVERITY INC                         N/A                     SUITE 2400, 185 BERRY ST.                                              SAN FRANCISCO CA        94107

  2.1054 ORDER SCHEDULE FOR            COVERITY INC; FLORIDA DESIGN                             DEPT LA 22849                                                          PASADENA        CA      91185-2849
         EDUCATION SERVICES ON USE     CENTER
         OF COVERITY SOFTWARE
         PRODUCTS
  2.1055 CUSTOMER AGREEMENT            COX CONSULTING NETWORK LLC ROBERT A COX                  12600 HILL COUNTRY BLVD SUITE R-275                                    AUSTIN          TX      78738

  2.1056 ENGAGEMENT LETTER             COX CONSULTING NETWORK LLC ANDY COX                      12600 HILL COUNTRY           SUITE R-275                               AUSTIN          TX      78738
                                                                                                BLVD.
  2.1057 ENGAGEMENT LETTER             CROWE LLP                                                3399 PEACHTREE RD NE         SUITE 700                                 ATLANTA         GA      30326-2832
  2.1058 ENGAGEMENT LETTER             CROWE LLP                                                3399 PEACHTREE RD NE         SUITE 700                                 ATLANTA         GA      30326-2832
  2.1059 ENGAGEMENT LETTER             CROWE LLP                                                400 CAPITOL MALL             SUITE 1400                                SACRAMENTO      CA      95814-4498
  2.1060 ENGAGEMENT LETTER             CROWE LLP                                                400 CAPITOL MALL             SUITE 1400                                SACRAMENTO      CA      95814-4498
  2.1061 INDEMNITY LETTER              CROWE LLP; WHITLEY PENN LLP                              3399 PEACHTREE RD NE         SUITE 700                                 ATLANTA         GA      30326-2832
  2.1062 CSA GROUP CERTIFICATION       CSA GROUP TESTING &
         SERVICES - NORTH AMERICA      CERTIFICATION INC
         ("CERTIFICATION TERMS
  2.1063 CSA GROUPTM CSA GROUP         CSA GROUP TESTING &
         FACILITY TERMS SERVICE        CERTIFICATION INC
         ADDENDUM
  2.1064 CSA GROUPTM GLOBAL SERVICE    CSA GROUP TESTING &
         AGREEMENT                     CERTIFICATION INC
  2.1065 PURCHASE ORDER                CSA GROUP TESTING &              N/A                     C/O LOCKBOX 917340           P.O. BOX 4090          POSTAL STATION A   TORONTO ON                           CANADA
                                       CERTIFICATION INC                                                                                                               M5W 0E9
  2.1066 REPAIR SERVICE AGREEMENT      CTDI DO BRASIL LTDA
  2.1067 LISTING AGREEMENT FOR         CUSHMAN & WAKEFIELD OF
         SUBLEASE LISTING AGREEMENT    CALIFORNIA INC
  2.1068 MASTER SERVICES AGREEMENT     DAITAN LABS SOLUÇÕES EM          ATTN: SILVIO ROGATTO,   AV. SELMA PARADA Nº          OFFICE PARK - BAIRRO                      CAMPINAS, SAO           CEP 13091-   BRAZIL
                                       TECNOLOGIA SA                    CFO                     201, BLOCO 1, CONJUNTO       JARDIM MADALENA                           PAULO                   904
                                                                                                141 - CONDOMÍNIO
                                                                                                GALLERIA
  2.1069 STATEMENT OF WORK NO. 2       DAITAN LABS SOLUÇÕES EM                                  CONDOMÍNIO GALLERIA          BAIRRO JARDIM                             SAO PAULO -                          BRAZIL
                                       TECNOLOGIA SA                                            OFFICE PARK                  MADALENA, CAMPINAS                        CEP 13091-904
  2.1070 DIFFERENCES BETWEEN 2426      DAMAMAX PSC
         AND 2426A ZHONE GPON ONT
  2.1071 SUBJECT: ZHONE GPON ONT       DAMAMAX PSC
         ZNID-GPON-24XX WIFI
         CONFORMANCE




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  2.1072 ZEBOS SOFTWARE LICENSE             DASAN CO LTD; IP INFUSION INC   N/A                    IP INFUSION INC.             111 WEST SAINT JOHN       SUITE 910          SAN JOSE         CA      95113
         AGREEMENT FOR HARDWARE                                                                                                 STREET
         OEMS
  2.1073 AMENDMENT NO. 1 TO ODM             DASAN NETWORKS INC;                                    2F/4F BAIYING BUILDING       1019# NANHAI RD           SHEKOU, SHENZHEN   GUANGDONG                518067       CHINA
         AGREEMENT                          SHENZHEN GONGJIN
                                            ELECTRONICS CO LTD
  2.1074 AMENDMENT NO. 1 TO ODM             DASAN NETWORKS INC;                                    2F/4F BAIYING BUILDING       1019# NANHAI RD           SHEKOU, SHENZHEN   GUANGDONG                518067       CHINA
         AGREEMENT                          SHENZHEN GONGJIN
                                            ELECTRONICS CO LTD
  2.1075 AMENDMENT NO. 1 TO ODM             DASAN NETWORKS INC;                                    2F/4F BAIYING BUILDING       1019# NANHAI RD           SHEKOU, SHENZHEN   GUANGDONG                518067       CHINA
         AGREEMENT                          SHENZHEN GONGJIN
                                            ELECTRONICS CO LTD
  2.1076 AMENDMENT NO. 1 TO ODM             DASAN NETWORKS INC;                                    2F/4F BAIYING BUILDING       1019# NANHAI RD           SHEKOU, SHENZHEN   GUANGDONG                518067       CHINA
         AGREEMENT                          SHENZHEN GONGJIN
                                            ELECTRONICS CO LTD
  2.1077 ASSIGNMENT AGREEMENT               DASAN SEAL INC; HONG KONG       ALEX YART              FLAT A 13/F LEAHANDER                                                     N.T HONG KONG.                        HONG KONG
                                            COMPANY; SHENZHEN GONGJIN                              CENTRE 28 WANG WO
                                            ELECTRONICS CO LTD; GONGJIN                            TSAI STREET TSUEN WAN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1078 FREIGHT BILL PROCESSING AND        DATA2LOGISTICS LLC              KEVIN BROWN, COO/CFO   ATTN: CEO                    12631 WESTLINKS DRIVE                        FORT MYERS       FL      33913
         SERVICES AGREEMENT
  2.1079 SPONSORSHIP CONTRACT               DECISIVE PUBLISHING SIGNED; VERONICQA KENNEDY-         SUITE 704, 6A GLEN                                                        MILSONS POINT    NSW     2061         AUSTRALIA
                                            DECISIVE PUBLISHING PTY LTD GOOD                       STREET
  2.1080 DATA PROCESSING ADDENDUM           DEMANDWARE LLC;
                                            SALESFORCE.COM INC;
                                            CLOUDCRAZE SOFTWARE LLC
  2.1081 QUOTATION                          DESCARTES SYSTEMS (USA) LLC STEVE BARBOUR              DESCARTES SYSTEMS            2030 POWERS FERRY                            ATLANTA          GA      30339-5066
                                                                                                   (USA) LLC                    ROAD SE
  2.1082 DHL EXPRESS TERMS AND       DHL EXPRESS
         CONDITIONS OF CARRIAGE
         ("TERMS AND CONDITIONS")
  2.1083 TERMS OF USE AND CONDITIONS DIGI-KEY CORPORATION; DIGI-                                   701 BROOKS AVENUE                                                         FALLS            MN      56701
         OF ORDER                    KEY INTERNATIONAL SALES                                       SOUTH, THIEF RIVER
                                     CORPORATION
  2.1084 DISRUPTIVE ANALYSIS DON'T   DISRUPTIVE ANALYSIS LTD                DEAN BUBLEY
         ASSUME PROPOSAL
  2.1085 RE: AMENDED FEE PROPOSAL    DLA PIPER LLP                          DANIEL LEE             32F, MIRAE ASSET             26 EULJIRO 5-GIL, JUNG-                      SEOUL, 04539                          KOREA
         FOR SEC AND NASDAQ                                                                        CENTER1, WEST TOWER,         GU
         COMPLIANCE MATTERS - FIRST
         YEAR
  2.1086 ORDER FORM                  DOCUSIGN, INC.                         JESSICA O'CONNOR,      221 MAIN STREET, SUITE                                                    SAN FRANCISCO CA         94105
                                                                            SENIOR MANAGER,        1550
                                                                            REVENUE OPERATIONS
  2.1087 SERVICE ORDER                      DOMO INC                        JEFF SKOUSEN, VP NA    772 E. UTAH VALLEY DRIVE                                                  AMERICAN FORK UT         84003
                                                                            SALES
  2.1088 SUBSCRIPTION ORDER                 DONNELLEY FINANCIAL LLC         JEFFREY CATT, SVP,
         AGREEMENT AMENDMENT                                                ACTIVEDISCLOSURE
  2.1089 SUBSCRIPTION ORDER                 DONNELLEY FINANCIAL LLC;        JEFFREY CATT, SVP,
         AGREEMENT                          DONNELLEY FINANCIAL             ACTIVEDISCLOSURE
                                            SOLUTIONS
  2.1090 TERMS AND CONDITIONS               DONNELLEY FINANCIAL LLC'S;
                                            DONNELLEY FINANCIAL
                                            SOLUTIONS
  2.1091 SUBSCRIPTION ORDER FORM            DONNELLEY FINANCIAL                                    35 WEST WACKER DRIVE                                                      CHICAGO          IL      60601
                                            SOLUTIONS
  2.1092 DFIN PROPOSAL                      DONNELLEY FINANCIAL
                                            SOLUTIONS; DONNELLEY
                                            FINANCIAL LLC DONNELLEY
                                            FINANCIAL LLC
  2.1093 RE: INDEMNIFICATION                DRYSDALE PM; MS HYUNJIN
         AGREEMENT                          YOON; MR JUNSICK BAHK;
                                            PEARSONS PROPERTY
                                            MANAGEMENT INC
  2.1094 ORDER FORM                         DUN & BRADSTREET INC            JONATHAN PRICE         103 JFK PARKWAY                                                           SHORT HILLS      NJ      07078




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  2.1095 CONTACT CHANGE LETTER              E FACTOR DIEZ SAPI DE CV; E                            CALZADA DEL VALLE 400,     EDIFICIO MOLL DEL VALLE COLONIA DEL VALLE   SAN PEDRO                             MEXICO
         TRANSFER OF PAYMENT                FACTOR NETWORK SAPI DE CV                              LOCAL 119                                                              GARZA GARCIA,
                                                                                                                                                                          NUEVO LEON,
                                                                                                                                                                          66220
  2.1096 CONTACT CHANGE LETTER              E FACTOR DIEZ SAPI DE CV; E                            CALZADA DEL VALLE 400,     EDIFICIO MOLL DEL VALLE COLONIA DEL VALLE   SAN PEDRO        NUEVO   66220        MEXICO
         TRANSFER OF PAYMENT                FACTOR NETWORK SAPI DE CV                              LOCAL 60                                                               GARZA GARCIA     LEON
  2.1097 STANDARD RECRUITING                EDISON SMART LTD; EDISON                               ENI HOUSE                  BASING VIEW                                 BASINGSTOKE              RG21 4YY     UNITED
         AGREEMENT                          SEARCH LTD                                                                                                                                                          KINGDOM
  2.1098 SUBJECT: VENDOR PARTNER            EDX WIRELESS LLC              ATTN: CLANCY MURPHY      PO BOX 1547                                                            EUGENE           OR      97440-1547
         AGREEMENT
  2.1099 NEAR - RECRUITMENT                 EFFECTUAL VENTURES INC                                 2630 COUNTRY HOLLOW                                                    SAN ANTONIO      TX      78209
         AGREEMENT
  2.1100 SETTLEMENT AGREEMENT               ELMA ELECTRONIC AG
  2.1101 STATEMENT OF WORK                  EPI CONSULTING; EPINDEX LTD
  2.1102 PURCHASE ORDER                     EPICOR SOFTWARE CANADA LTD                             45 VOGELL RD               STE 700                                     RICHMOND HILL,                        CANADA
                                                                                                                                                                          ON L4B 3P6

  2.1103 ORDER FORM                         EPICOR SOFTWARE               P. P. LOGAN LEONARD,     ATTN: YAHELI ISRAEL        807 LAS CIMAS PKWY                          AUSTIN           TX      78746
                                            CORPORATION                   DIRECTOR OF REVENUE                                 SUITE 400,
                                                                          ACCOUNTING
  2.1104 STATEMENT OF WORK                  EPICOR SOFTWARE               P. P. LOGAN LEONARD,
                                            CORPORATION                   DIRECTOR OF REVENUE
                                                                          ACCOUNTING
  2.1105 STANDARD TERMS AND                 EPINDEX LTD; EPI CONSULTING
         CONDITIONS
  2.1106 CERTIFICATE OF COMPLETION          ERICSSON CANADA INC;                                   6300 LEGACY DRIVE                                                      PLANO            TX      75024
                                            PARALEGAL ERICSSON INC
  2.1107 MASTER SERVICES AGREEMENT          ERNST & YOUNG LLP; MR
                                            THOMAS J CANCRO
  2.1108 GENERAL RULES OF                   EUROPEAN                                               650, ROUTE DES LUCIOLES                                                06921 SOPHIA-                         FRANCE
         ENGAGEMENT                         TELECOMMUNICATIONS                                                                                                            ANTIPOLIS
                                            STANDARDS INSTITUTE                                                                                                           CEDEX
  2.1109 GENERAL RULES OF                   EUROPEAN                                               650, ROUTE DES LUCIOLES                                                06560 VALBONNE                        FRANCE
         ENGAGEMENT                         TELECOMMUNICATIONS
                                            STANDARDS INSTITUTE
  2.1110 SUPPLIER REQUEST FORM              EVOLUGEN; BROOKFIELD
                                            RENEWABLE PARTNERS
  2.1111 MASTER SUPPLY AGREEMENT            FABRINET                      ATTN: LEGAL              4900 PATRICK HENRY                                                     SANTA CLARA      CA      95054
                                                                          DEPARTMENT               DRIVE
  2.1112 MASTER SUPPLY AGREEMENT            FABRINET                      C/O FABRINET PTE. LTD.   ATTN: CHIEF FINANCIAL      24 RAFFLES PLACE #29-                       SINGAPORE                             SINGAPORE
                                                                                                   OFFICER                    04C, CLIFFORD CENTRE                        48621
  2.1113 NOTICE OF DECISION TO              FABRINET                      CSABA SVERHA, CHIEF      160 ROBINSON ROAD          #21-09, SBF CENTRE                          SINGAPORE                68914        SINGAPORE
         TERMINATE AN AGREEMENT                                           FINANCIAL OFFICER
  2.1114 STATEMENT OF WORK #1 TO            FABRINET                      ATTN: CSABA SVERHA       24 RAFFLES PLACE           #29-04C, CLIFFORD                           SINGAPORE                48621        SINGAPORE
         MASTER SUPPLY AGREEMENT                                                                                              CENTRE
         RAW MATERIALS PURCHASE &
         TRANSFER TERMS
  2.1115 PROOF OF CONCEPT (POC)             FIBER BROADBAND ASSOCIATION
         SHOWCASE PARTICIPATION
         AGREEMENT
  2.1116 CONSULTING AGREEMENT               FIDUS SYSTEMS INC             CAMERON REDMAN           375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8
  2.1117 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8
  2.1118 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8
  2.1119 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8
  2.1120 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8
  2.1121 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8
  2.1122 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8
  2.1123 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                       KANATA, ON K2K                        CANADA
                                                                                                                                                                          0J8




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  2.1124 CONSULTING AGREEMENT               FIDUS SYSTEMS INC                                      375 TERRY FOX DR                                                  KANATA, ON K2K                 CANADA
                                                                                                                                                                     0J8
  2.1125 AGREEMENT                          FINE POINT TECHNOLOGIES INC                            13800 COPPERMINE ROAD                                             HERNDON        VA      20171
  2.1126 LETTER AGREEMENT RE                FINE POINT TECHNOLOGIES INC    ATTN: SCOTT             13800 COPPERMINE RD                                               HERNDON        VA      20171
         MOUNTAIN VIEW SOFTWARE                                            ROCKAFELLOW
  2.1127 REFERRAL AND MARKETING             FINE POINT TECHNOLOGIES INC    TODD R. RUELLE, CHIEF   13800 COPPERMINE ROAD,                                            HERNDON        VA      20171
         AGREEMENT                                                         EXECUTIVE OFFICER
  2.1128 REFERRAL AND MARKETING             FINE POINT TECHNOLOGIES INC                            13800 COPPERMINE ROAD,                                            HERNDON        VA      20171
         AGREEMENT
  2.1129 REFERRAL AND MARKETING             FINE POINT TECHNOLOGIES INC                            13800 COPPERMINE ROAD,                                            HERNDON        VA      20171
         AGREEMENT
  2.1130 LICENSING AGREEMENT                FINE POINT TECHNOLOGIES INC;   ATTN: CHLOE MCNAB       123 MISSION STREET                                                SAN FRANCISCO CA       94105
                                            NCC GROUP ESCROW                                       SUITE 900
                                            ASSOCIATES LLC
  2.1131 LICENSING AGREEMENT                FINE POINT TECHNOLOGIES INC;   ATTN: JOHN S            13800 COPPERMINE ROAD                                             HERNDON        VA      20171
                                            NCC GROUP ESCROW               ROCKEFELLOW
                                            ASSOCIATES LLC
  2.1132 LICENSING AGREEMENT                FINE POINT TECHNOLOGIES INC;                           FINE POINT                  13800 COPPERMINE RD                   HERNDON        VA      20171
                                            NCC GROUP ESCROW                                       TECHNOLOGIES, INC
                                            ASSOCIATES LLC
  2.1133 LICENSING AGREEMENT                FINE POINT TECHNOLOGIES INC;                           FINE POINT                                                        HERNDON        VA      20171
                                            NCC GROUP ESCROW                                       TECHNOLOGIES, INC.
                                            ASSOCIATES LLC                                         13800 COPPERMINE RD
  2.1134 LICENSING AGREEMENT                FINE POINT TECHNOLOGIES INC;                           NCC GROUP ESCROW            123 MISSION STREET                    SAN FRANCISCO CA       94105
                                            NCC GROUP ESCROW                                       ASSOCIATES, LLC
                                            ASSOCIATES LLC
  2.1135 LICENSING AGREEMENT                FINE POINT TECHNOLOGIES INC;                           NCC GROUP ESCROW            123 MISSION STREET                    SAN FRANCISCO CA       94105
                                            NCC GROUP ESCROW                                       ASSOCIATES, LLC             SUITE 900
                                            ASSOCIATES LLC
  2.1136 LICENSOR LICENSEE                  FINE POINT TECHNOLOGIES INC;                           FINE POINT                  13800 COPPERMINE RD                   HERNDON        VA      20171
         AGREEMENT                          NCC GROUP ESCROW                                       TECHNOLOGIES, INC.
                                            ASSOCIATES LLC
  2.1137 LICENSOR LICENSEE                  FINE POINT TECHNOLOGIES INC;                           NCC GROUP ESCROW            123 MISSION ST        STE 900         SAN FRANCISCO CA       94105
         AGREEMENT                          NCC GROUP ESCROW                                       ASSOCIATES, LLC
                                            ASSOCIATES LLC
  2.1138 SINGLE LICENSEE SOFTWARE           FINE POINT TECHNOLOGIES INC;                           FINE POINT                  13800 COPPERMINE RD                   HERNDON        VA      20171
         ESCROW AGREEMENT                   NCC GROUP ESCROW                                       TECHNOLOGIES, INC.
                                            ASSOCIATES LLC
  2.1139 SINGLE LICENSEE SOFTWARE           FINE POINT TECHNOLOGIES INC;                           NCC GROUP ESCROW            123 MISSION ST        STE 900         SAN FRANCISCO CA       94105
         ESCROW AGREEMENT                   NCC GROUP ESCROW                                       ASSOCIATES, LLC
                                            ASSOCIATES LLC
  2.1140 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC;    ERNEST TOLBERT          333 RT. 46 WEST, SUITE                                            MOUNTAIN       NJ      07046
                                            CASA COMMUNICATIONS LIMITED                            200;                                                              LAKES

  2.1141 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -           333 RT. 46 WEST, SUITE                                            MOUNTAIN       NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT            200;                                                              LAKES
                                                                        SERVICES
  2.1142 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -           333 RT. 46 WEST, SUITE                                            MOUNTAIN       NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT            200;                                                              LAKES
                                                                        SERVICES
  2.1143 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -           333 RT. 46 WEST, SUITE                                            MOUNTAIN       NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT            200;                                                              LAKES
                                                                        SERVICES
  2.1144 STATEMENT OF WORK                  FLASH GLOBAL LOGISTICS INC; ERNEST TOLBERT -           333 RT. 46 WEST, SUITE                                            MOUNTAIN       NJ      07046
                                            CASA COMMUNICATIONS LIMITED DIRECTOR CLIENT SVC        200;                                                              LAKES

  2.1145 CONTRACTUAL DOCUMENT               FLOQAST INC                                            14721 CALIFA ST                                                   LOS ANGELES    CA      91411
  2.1146 FIRST AMENDMENT TO                 FLOQAST INC                                            14721 CALIFA ST                                                   LOS ANGELES    CA      91411
         SUBSCRIPTION SERVICES
         AGREEMENT
  2.1147 FLOQAST CLOSE MANAGEMENT           FLOQAST INC
         SOFTWARE SERVICES ORDER
         FORM
  2.1148 FLOQAST SERVICES ORDER             FLOQAST INC
  2.1149 FLOQAST SERVICES ORDER             FLOQAST INC




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  2.1150 STATEMENT OF WORK                  FORSYS INC; DASAN NETWORKS   SRINIVAN VEMURI
                                            INC
  2.1151 STATEMENT OF WORK                  FORSYS INC; DASAN NETWORKS   SRINIVAN VEMURI
                                            INC
  2.1152 SOFTWARE MAINTENANCE &             FRIENDLY CONSULTING INC      ATTN: KATHIE A. SMITH    67200 51ST STREET                                                            LAWRENCE   MI      49064
         UPGRADE ASSURANCE/ SERVICE
         LEVEL SUPPORT AGREEMENT

  2.1153 CONSIGNEE STATEMENT                FUTURE ELECTRONICS INC
  2.1154 FUTURE ELECTRONICS                 FUTURE ELECTRONICS INC
         STANDARD TERMS &
         CONDITIONS OF SALE
  2.1155 CONTRACTUAL DOCUMENT         FUTUREWEI TECHNOLOGIES INC;
                                      EQUUS INVESTMENT
                                      PARTNERSHIP XI LP
  2.1156   LAB SUBLEASE AGREEMENT     FUTUREWEI TECHNOLOGIES INC;
                                      EQUUS INVESTMENT
                                      PARTNERSHIP XI LP
  2.1157   COMMERCIAL LEASE AGREEMENT FUTUREWEI TECHNOLOGIES INC;                                 IPXI LEGACY PLACE            PO BOX 841665                                   DALLAS     TX      75284-1665
                                      HUAWEI TECHNOLOGIES USA                                     INVESTORS LLC
                                      INC; IPXI LEGACY PLACE
                                      INVESTORS LLC
  2.1158   COMMERCIAL LEASE AGREEMENT FUTUREWEI TECHNOLOGIES INC;                                 IPXI LEGACY PLACE            PO BOX 841665                                   DALLAS     TX      75284-1665
                                      HUAWEI TECHNOLOGIES USA                                     INVESTORS LLC
                                      INC; IPXI LEGACY PLACE
                                      INVESTORS LLC
  2.1159   FIFTH AMENDMENT TO OFFICE  FUTUREWEI TECHNOLOGIES INC;
           LEASE                      L&B CIP LEGACY PLACE I & II LLC

  2.1160 DIRECT HIRE FEE AGREEMENT          GA ROGERS AND ASSOCIATES     JULIE VICIC, STRATEGIC
                                                                         PARTNER, OWNER
  2.1161 DIRECT HIRE FEE AGREEMENT          GA ROGERS AND ASSOCIATES
  2.1162 AMENDMENT 2 TO GENBAND             GENBAND US LLC               LAW DEPARTMENT           801 NETWORK BLVD             SUITE 300                                       FRISCO     TX      75034
         ZHONE INTERFACE LICENSE
         AGREEMENT
  2.1163 AMENDMENT 4 TO GENBAND             GENBAND US LLC               ATTN: SEAN MARCH         3605 E PLANO PKWY                                                            PLANO      TX      75024
         ZHONE INTERFACE LICENSE
         AGREEMENT
  2.1164 AMENDMENT 4 TO GENBAND             GENBAND US LLC               LAW DEPARTMENT           ATTENTION: SEAN MARCH 3605 E PLANO PKWY                                      PLANO      TX      75024
         ZHONE INTERFACE LICENSE
         AGREEMENT
  2.1165 AMENDMENT 4 TO GENBAND             GENBAND US LLC               LAW DEPARTMENT           ATTN: LAW                    DEPARTMENT              3605 E PLANO PKWY       PLANO      TX      75074
         ZHONE INTERFACE LICENSE
         AGREEMENT
  2.1166 AMENDMENT 4 TO GENBAND             GENBAND US LLC               ATTN: LAW                DEPARTMENT                   3605 E PLANO PKWY                               PLANO      TX      75074
         ZHONE INTERFACE LICENSE
         AGREEMENT
  2.1167 AMENDMENT 4 TO GENBAND             GENBAND US LLC               LAW DEPARTMENT           801 NETWORK BLVD             SUITE 300                                       FRISCO     TX      75034
         ZHONE INTEROPERABILITY
         TESTING AGREEMENT
  2.1168 AMENDMENT 6 TO GENBAND             GENBAND US LLC               LAW DEPARTMENT           ATTN: LAW                    DEPARTMENT              3605 E PLANO PKWY       PLANO      TX      75074
         ZHONE INTEROPERABILITY
         TESTING AGREEMENT
  2.1169 AMENDMENT 6 TO GENBAND             GENBAND US LLC               LAW DEPARTMENT           ATTN: RICHARD                3605 E PLANO PKWY                               PLANO      TX      75024
         ZHONE INTEROPERABILITY                                                                   LECOMPTE
         TESTING AGREEMENT
  2.1170 AMENDMENT 6 TO GENBAND             GENBAND US LLC               LAW DEPARTMENT           GENBAND US LLC               3605 E. PLANO PARKWAY                           PLANO      TX      75024
         ZHONE INTEROPERABILITY
         TESTING AGREEMENT
  2.1171 AMENDMENT 7 TO GENBAND             GENBAND US LLC                                        GENBAND US LLC               ATTENTION: LAW          3605 E. PLANO PARKWAY   PLANO      TX      75074
         ZHONE INTEROPERABILITY                                                                                                DEPARTMENT
         TESTING AGREEMENT
  2.1172 AMENDMENT 7 TO GENBAND             GENBAND US LLC                                        GENBAND US LLC               ATTENTION: LAW          3605 E. PLANO PARKWAY   PLANO      TX      75074
         ZHONE INTEROPERABILITY                                                                                                DEPARTMENT
         TESTING AGREEMENT




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  2.1173 AMENDMENT 7 TO GENBAND             GENBAND US LLC                                        GENBAND US LLC             ATTENTION: LAW           3605 E. PLANO PARKWAY   PLANO           TX      75074
         ZHONE INTEROPERABILITY                                                                                              DEPARTMENT
         TESTING AGREEMENT
  2.1174 AMENDMENT 7 TO GENBAND             GENBAND US LLC                                        GENBAND US LLC             ATTENTION: LAW           3605 E. PLANO PARKWAY   PLANO           TX      75074
         ZHONE INTEROPERABILITY                                                                                              DEPARTMENT
         TESTING AGREEMENT
  2.1175 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS        ATTN: RICHARD            4 TECHNOLOGY PARK DR                                                        WESTFORD        MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON         LECOMPTE
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING
                                            COMPANY INC
  2.1176 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS        ATTN: RICHARD            4 TECHNOLOGY PARK DR                                                        WESTFORD        MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON         LECOMPTE
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING
                                            COMPANY INC
  2.1177 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS        LEGAL DEPARTMENT         RIBBON                     ATTENTION: LEGAL         4 TECHNOLOGY PARK DRIV WESTFORD         MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON                                  COMMUNICATIONS             DEPARTMENT
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING                              OPERATING COMPANY,
                                            COMPANY INC                                           INC
  2.1178 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS        LEGAL DEPARTMENT         RIBBON                     ATTENTION: LEGAL         4 TECHNOLOGY PARK DRIV WESTFORD         MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON                                  COMMUNICATIONS             DEPARTMENT
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING                              OPERATING COMPANY,
                                            COMPANY INC                                           INC
  2.1179 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS                                 RIBBON                     ATTN: LAW DEPARTMENT     4 TECHNOLOGY PARK DR    WESTFORD        MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON                                  COMMUNICATIONS
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING                              OPERATING COMPANY,
                                            COMPANY INC                                           INC.
  2.1180 AMENDMENT 8 TO GENBAND             GENBAND US LLC; SONUS                                 RIBBON                     ATTN: LAW DEPARTMENT     4 TECHNOLOGY PARK DR    WESTFORD        MA      01886
         ZHONE INTEROPERABILITY             NETWORKS INC; RIBBON                                  COMMUNICATIONS
         TESTING AGREEMENT                  COMMUNICATIONS OPERATING                              OPERATING COMPANY,
                                            COMPANY INC                                           INC.
  2.1181 CONTRACTUAL DOCUMENT               GIRIKON INC
  2.1182 PROPOSAL RESPONSE -                GIRIKON INC                  SACHIN RATHI, DIRECTOR
         SALESFORCE CPQ
         IMPLEMENTATION
  2.1183 PROPOSAL RESPONSE -                GIRIKON INC                  SACHIN RATHI, DIRECTOR
         SALESFORCE CPQ
         IMPLEMENTATION
  2.1184 STATEMENT OF WORK (SOW)            GIRIKON INC                  ATTN: SACHIN RATHI       15433 NORTH TATUM BLVD SUITE 105                                            PHOENIX         AZ      85032
  2.1185 AMENDMENT NO. THREE TO ODM         GONGJIN ELECTRONIC (HONG
         AGREEMENT                          KONG) LIMITED
  2.1186 AMENDMENT NO. THREE TO ODM         GONGJIN ELECTRONIC (HONG
         AGREEMENT                          KONG) LIMITED
  2.1187 MEMORANDUM OF                      GONGJIN ELECTRONIC (HONG     ATTN: TONY TANG          FLAT 1 13/F LEAHANDER      28 WANG WO TSAI STREET                           TSUEN WAN N.T                   HONG KONG
         UNDERSTANDING                      KONG) LIMITED                                         CENTRE
  2.1188 MEMORANDUM OF                      GONGJIN ELECTRONIC (HONG     ATTN: TONY TANG          FLAT 1 13/F LEAHANDER      28 WANG WO TSAI STREET                           TSUEN WAN N.T                   HONG KONG
         UNDERSTANDING                      KONG) LIMITED                                         CENTRE
  2.1189 MEMORANDUM OF                      GONGJIN ELECTRONIC (HONG     ATTN: TONY TANG          FLAT A 13/F LEAHANDER      28 WANG WO TSAI STREET                           TSUEN WAN N.T                   HONG KONG
         UNDERSTANDING                      KONG) LIMITED                                         CENTRE
  2.1190 MEMORANDUM OF                      GONGJIN ELECTRONIC (HONG     ATTN: TONY TANG          FLAT A 13/F LEAHANDER      28 WANG WO TSAI STREET                           TSUEN WAN N.T                   HONG KONG
         UNDERSTANDING                      KONG) LIMITED                                         CENTRE
  2.1191 AMENDMENT NO. FOUR TO ODM          GONGJIN ELECTRONIC (HONG
         AGREEMENT                          KONG) LIMITED; TAICANG
                                            WHOLELINE BONDED LOGISTICS
                                            CO LTD
  2.1192 AMENDMENT NO. FOUR TO ODM          GONGJIN ELECTRONIC (HONG
         AGREEMENT                          KONG) LIMITED; TAICANG
                                            WHOLELINE BONDED LOGISTICS
                                            CO LTD
  2.1193 GOOGLE CLOUD MASTER                GOOGLE LLC                   PHILIPP SCHINDLER        ATTN: PHILIPP SCHINDLER 1600 AMPHITHEATRE                                   MOUNTAIN VIEW CA        94043
         AGREEMENT - ENTERPRISE                                                                                           PARKWAY
  2.1194 GOOGLE CLOUD PLATFORM              GOOGLE LLC
         SERVICES SCHEDULE
  2.1195 ORDER FORM                         GOOGLE LLC                   PHILIPP SCHINDLER
  2.1196 ORDER FORM                         GOOGLE LLC                   TIFFANY BLANKENSHIP




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  2.1197 GRANDEOS EVENT OPERATIONS          GRANDEOS                                             253 OCEAN RESIDENCE CT                                                    SATELLITE         FL      32937
         & SERVICES SERVICE                                                                                                                                                BEACH
         AGREEMENT
  2.1198 GRANDEOS EVENT OPERATIONS          GRANDEOS                                             253 OCEAN RESIDENCE CT                                                    SATELLITE         FL      32937
         & SERVICES SERVICE                                                                                                                                                BEACH
         AGREEMENT
  2.1199 SERVICE AGREEMENT                  GRANDEOS                      SHARI LYNN             253 OCEAN RESIDENCE CT                                                    SATELLITE     FL          32937
                                                                                                                                                                           BEACH
  2.1200 AMENDMENT                          GRANT THORNTON LLP;           ATTN: KATINA CURTIS    101 CALIFORNIA STREET      SUITE 2700                                     SAN FRANCISCO CA          94111
                                            KATINACURTIS KATINA CURTIS
                                            PARTNER
  2.1201 ORDER FORM                         GRAZITTI INTERACTIVE INC      SHIVRAJ ASTHANA        385 MOFFETT PARK                                                          SUNNYVALE         CA      94089
                                                                                                 DRIVE, SUITE, 105
  2.1202 ORDER FORM                         GRAZITTI INTERACTIVE INC      SHIVRAJ ASTHANA        385 MOFFETT PARK                                                          SUNNYVALE         CA      94089
                                                                                                 DRIVE, SUITE, 105
  2.1203 ORDER FORM                         GREG STERN COMPANY                                   5 HOWICK PLACE                                                            LONDON                    SW1P 1WG   UNITED
                                                                                                                                                                                                                KINGDOM
  2.1204 TEAMING AGREEMENT                  GUAVUS INC; TELUS                                    2125 ZANKER ROAD                                                          SAN JOSE          CA      95131
                                            COMMUNICATIONS INC.
  2.1205 CONSULTING SERVICES                HCL AMERICA INC; HCL                                 330 POTRERO AVENUE                                                        SUNNYVALE         CA      940854
         AGREEMENT                          TECHNOLOGIES LIMITED; HCL
                                            TECHNOLOGIES CORPORATE
                                            SERVICES LIMITED
  2.1206 CONSULTING SERVICES                HCL AMERICA INC; HCL                                 806 SIDDHARTHA             6 NEHRU PLACE                                  NEW DELHI,                           INDIA
         AGREEMENT                          TECHNOLOGIES LIMITED; HCL                                                                                                      110019
                                            TECHNOLOGIES CORPORATE
                                            SERVICES LIMITED
  2.1207 CONSULTING SERVICES                HCL AMERICA INC; HCL                                 AXON CENTRE                CHURCH ROAD             EGHAM,                 SURREY, TW20                         UK
         AGREEMENT                          TECHNOLOGIES LIMITED; HCL                                                                                                      9QB
                                            TECHNOLOGIES CORPORATE
                                            SERVICES LIMITED
  2.1208 STATEMENT OF WORK ("SOW")          HCL TECHNOLOGIES LTD                                 HCL TECHNOLOGIES LTD - SDB-1, ELCOT SPECIAL        NO. 602/3, SHOLINGANALLU KANCHEEPURAM                       INDIA
         FOR CONFLICT OF MINERALS                                                                ELCOT SEZ UNIT I       ECONOMIC ZONE                                        DISTRICT,
         COMPLIANCE ENQUIRY UNDER                                                                                                                                            CHENNAI 60019
         THE HCL CONSULTING SERVICES
         AGREEMENT
  2.1209 MEDIA PARTNER AGREEMENT     HETTING GLOBAL APS                                          ATTN: CLAUS HETTING        HEDESKOVVEJ 9                                  LYSTRUP, DK-                         DENMARK
                                                                                                                                                                           8520
  2.1210 STAFFING AGREEMENT                 HIRE WITH NEAR LLC                                   2630 COUNTRY HOLLOW                                                       SAN ANTONIO       TX      78209
  2.1211 ASSIGNMENT AGREEMENT               HONG KONG COMPANY;                                   GONGJIN ELECTRONIC         FLAT A 13/F LEAHANDER   28 WANG WO TSAI STREET TSUEN WAN NT                         HONG KONG
                                            SHENZHEN GONGJIN                                     (HONG KONG) LIMITED        CENTRE
                                            ELECTRONICS CO LTD; GONGJIN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1212 ASSIGNMENT AGREEMENT               HONG KONG COMPANY;                                   GONGJIN ELECTRONIC         FLAT A 13/F LEAHANDER   28 WANG WO TSAI STREET TSUEN WAN NT                         HONG KONG
                                            SHENZHEN GONGJIN                                     (HONG KONG) LIMITED        CENTRE
                                            ELECTRONICS CO LTD; GONGJIN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1213 ASSIGNMENT AGREEMENT               HONG KONG COMPANY;                                   NO.2 DANZI NORTH ROAD      KENGZI STREET,                                 SHENZHEN,                            CHINA
                                            SHENZHEN GONGJIN                                                                PINGSHAN DISTRICT                              GUANGDONG
                                            ELECTRONICS CO LTD; GONGJIN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1214 ASSIGNMENT AGREEMENT               HONG KONG COMPANY;                                   NO.2 DANZI NORTH ROAD      KENGZI STREET,                                 SHENZHEN,                            CHINA
                                            SHENZHEN GONGJIN                                                                PINGSHAN DISTRICT                              GUANGDONG
                                            ELECTRONICS CO LTD; GONGJIN
                                            ELECTRONIC (HONG KONG)
                                            LIMITED
  2.1215 HOTEL AGREEMENT                    HOTEL MERCURE                                        6 -8 RUE DU BOIS BRIARD                                                   91080 EVRY-                          FRANCE
                                                                                                                                                                           COURCOURONN
                                                                                                                                                                           ES
  2.1216 ADDENDUM: CONSULTING               HRQ INC
         SERVICES
  2.1217 MASTER SERVICES AGREEMENT          HRQ INC                       LEGAL DEPARTMENT       ATTN: LEGAL                219 E. GARDEN STREET    SUITE 500              PENSACOLA         FL      32502
                                                                                                 DEPARTMENT




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  2.1218 STATEMENT OF WORK # 1              HRQ INC                     ATTN: CHRIS LAWRENCE        219 E. GARDEN STREET       SUITE 500                                    PENSACOLA      FL      32502
  2.1219 LEASE AGREEMENT; PROPOSAL          HT                                                      DAMMTORSTRAßE,                                                          HAMBURG                             GERMANY
                                            KAPITALVERWALTUNGSGESELLS                               3020354
                                            CHAFT MBH
  2.1220 SIXTH AMENDMENT TO OFFICE          HUAWEI TECHNOLOGIES USA INC
         LEASE
  2.1221 RE: ASSIGNMENT OF                  HUAWEI TECHNOLOGIES USA        ATTN: ASSET MANAGER      3843 W CHESTER PIKE                                                     NEWTOWN        PA      19073
         AGREEMENT OF SUBLEASE,             INC; IPXI LEGACY PLACE                                                                                                          SQUARE
         DATED FEBRUARY 21, 2020 (THE       INVESTORS LLC
         "SUBLEASE"), BETWEEN DASAN
         ZHONE SOLUTIONS, INC. ("DZS")
         AND HUAWEI TECHNOLOGIES
         USA INC. ("HTU")
  2.1222 RE: ASSIGNMENT OF                  HUAWEI TECHNOLOGIES USA        C/O METCALFE WOLFF       ATTN: NICOLE CASTRO        221 W. 6TH ST, STE 1300                      AUSTIN         TX      78701
         AGREEMENT OF SUBLEASE,             INC; IPXI LEGACY PLACE         STUART & WILLIAMS LLP
         DATED FEBRUARY 21, 2020 (THE       INVESTORS LLC
         "SUBLEASE"), BETWEEN DASAN
         ZHONE SOLUTIONS, INC. ("DZS")
         AND HUAWEI TECHNOLOGIES
         USA INC. ("HTU")
  2.1223 LETTER OF COMMENCEMENT             HUAWEI TECHNOLOGIES USA                                 5700 TENNYSON PARKWAY STE 500                                           PLANO          TX      75024
         AND AMENDMENT TO                   INC; MASTER LANDLORD EQUUS
         "AGREEMENT OF SUBLEASE" AS         INVESTMENT PARTNERSHIP XI LP
         THE SUBLEASE DOCUMENT
         TITLED "AGREEMENT OF
         SUBLEASE (OFFICE SPACE)"
  2.1224 FOURTH AMENDMENT TO OFFICE   HUAWEI TECHNOLOGIES;                                          LEGACY ACQUISITION, L.P. 5700 & 5800 TENNYSON                           PLANO          TX      75024
         LEASE                        FUTUREWEI TECHNOLOGIES;                                                                PARK
                                      LEGACY ACQUISITION LP
  2.1225   FIRST AMENDMENT TO OFFICE  HUAWEI TECHNOLOGIES;                                          LEGACY ACQUISITION, L.P. 5700 & 500 TENNYSON                            PLANO          TX      75024
           LEASE                      LEGACY ACQUISITION LP;                                                                 PARK
                                      FUTUREWEI TECHNOLOGIES INC
  2.1226   OFFICE LEASE BETWEEN       HUAWEI TECHNOLOGIES;                                          LEGACY ACQUISITION, L.P. PO BOX 405261                                  ATLANTA        GA      30384-5261
                                      LEGACY ACQUISITION LP;
                                      FUTUREWEI TECHNOLOGIES INC
  2.1227   SECOND AMENDMENT TO OFFICE HUAWEI TECHNOLOGIES;                                          LEGACY ACQUISITION, L.P. 5700 & 5800 TENNYSON                           PLANO          TX      75024
           LEASE                      LEGACY ACQUISITION LP;                                                                 PARK
                                      FUTUREWEI TECHNOLOGIES INC
  2.1228   THIRD AMENDMENT TO OFFICE  HUAWEI TECHNOLOGIES;                                          LEGACY ACQUISITION, L.P. 5700 & 5800 TENNYSON                           PLANO          TX      75024
           LEASE                      LEGACY ACQUISITION LP;                                                                 PARK
                                      FUTUREWEI TECHNOLOGIES INC
  2.1229   QUOTE                      HYATT REGENCY GRAND                                           1 GRAND CYPRESS BLVD                                                    ORLANDO        FL      32836
                                      CYPRESS
  2.1230   QUOTE 3671 8688            HYATT REGENCY GRAND                                           1 GRAND CYPRESS BLVD                                                    ORLANDO        FL      32836
                                      CYPRESS
  2.1231   QUOTE 3671 8949            HYATT REGENCY GRAND                                           1 GRAND CYPRESS BLVD                                                    ORLANDO        FL      32836
                                      CYPRESS
  2.1232   ORDER FORM                 IMPARTNER INC                                                 10619 SOUTH JORDAN         SUITE 200                                    SOUTH JORDAN   UT      84095
                                                                                                    GATEWAY
  2.1233 RESEARCH COSMOS ORDER              INDUSIND BANK LIMITED;                                  301 MARRIES PROJECT A,     MOTHINAGAR,                                  TELANGANA,                          INDIA
         CONFIRMATION FORM                  INDUSIND BANK GACHIBOWLI                                OPPOSITE COMMUNITY         HYDERABAD                                    500018
                                            BRANCH                                                  HALL
  2.1234 PURCHASE ORDER                     INFORMA CONNECT LIMITED                                 5 HOWICK PLACE                                                          LONDON                 SW1P 1WG     UNITED
                                                                                                                                                                                                                KINGDOM
  2.1235 MASTER SERVICES AGREEMENT          INFOSYS LIMITED                ATTN: HEAD OF THE        ELECTRONICS CITY,                                                       BANGALORE,                          INDIA
                                                                           LEGAL DEPARTMENT         HOSUR ROAD                                                              560 100
  2.1236 STATEMENT OF WORK                  INFOSYS LIMITED                ATTENTION: HEAD OF THE   ATTN: HEAD OF THE          ELECTRONICS CITY,                            BANGALORE,                          INDIA
                                                                           LEGAL DEPARTMENT         LEGAL DEPARTMENT           HOSUR ROAD                                   560 100
  2.1237 MASTER TERMS                       INSIGHT SOFTWARE LLC           ATTN: LEGAL              8529 SIX FORKS ROAD        SUITE 300                                    RALEIGH        NC      27615
  2.1238 ORDER FORM                         INSIGHT SOFTWARE LLC           DAVID WOODWORTH          8529 SIX FORKS ROAD        SUITE 300                                    RALEIGH        NC      27615
  2.1239 HEALTH CHECK STATEMENT OF          INSPIRAGE LLC
         WORK
  2.1240 INSPIRAGE, LLC MASTER              INSPIRAGE LLC                                           INSPIRAGE, LLC             ATTN LEGAL DEPARTMENT 800 BELLEVUE WAY NE SUITBELLEVUE      WA      98004
         SERVICES AGREEMENT
  2.1241 ORDER FORM                         INTRADO DIGITAL MEDIA LLC                               11808 MIRACLE HILLS                                                     OMAHA          NE      68154
                                                                                                    DRIVE




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  2.1242 CERTIFICATE CONFIRMING           IPXI LEGACY PLACE INVESTORS   ATTN: KEITH KNIGHT
         LEASE DATES & BASE RENT          LLC
  2.1243 COMMERCIAL LEASE AGREEMENT IPXI LEGACY PLACE INVESTORS         C/O BPG MANAGEMENT      ATTN: ASSET MANAGER          3843 WEST CHESTER PIKE                           NEWTOWN          PA      19073
                                          LLC                           COMPANY, LP                                                                                           SQUARE
  2.1244 COMMERCIAL LEASE AGREEMENT IPXI LEGACY PLACE INVESTORS         C/O BPG MANAGEMENT      ATTN: ASSET MANAGER          3843 WEST CHESTER PIKE                           NEWTOWN          PA      19073
                                          LLC                           COMPANY, LP                                                                                           SQUARE
  2.1245 COMMERCIAL LEASE AGREEMENT IPXI LEGACY PLACE INVESTORS         C/O METCALFE WOLFF      ATTN: NICOLE CASTRO          221 W. 6TH ST, STE 1300                          AUSTIN           TX      78701
                                          LLC                           STUART & WILLIAMS LLP
  2.1246 COMMERCIAL LEASE AGREEMENT IPXI LEGACY PLACE INVESTORS         C/O METCALFE WOLFF      ATTN: NICOLE CASTRO          221 W. 6TH ST, STE 1300                          AUSTIN           TX      78701
                                          LLC                           STUART & WILLIAMS LLP
  2.1247 COMMERCIAL LEASE AGREEMENT IPXI LEGACY PLACE INVESTORS                                 PO BOX 841665                                                                 DALLAS           TX      75284-1665
                                          LLC
  2.1248 COMMERCIAL LEASE AGREEMENT IPXI LEGACY PLACE INVESTORS                                 PO BOX 841665                                                                 DALLAS           TX      75284-1665
                                          LLC
  2.1249 FIRST AMENDMENT TO               IPXI LEGACY PLACE INVESTORS   ATTN: WES COMBS
         COMMERCIAL LEASE AGREEMENT LLC

  2.1250 FIRST AMENDMENT TO         IPXI LEGACY PLACE INVESTORS         ATTN: WES COMBS
         COMMERCIAL LEASE AGREEMENT LLC

  2.1251 MUTUAL NON-DISCLOSURE       IRONWOOD ELECTRONICS INC           ATTN: ILAVARASAN        1335 EAGANDALE CT                                                             EAGAN            MN      55121
         AGREEMENT                                                      PALANIAPPA
  2.1252 INTERIM LETTER OF AGREEMENT JABIL INC                          ATTN: MICHAEL MOORE     10560 9TH ST N                                                                ST.              FL      33716
                                                                                                                                                                              PETERSBURG
  2.1253 INTERIM LETTER OF AGREEMENT JABIL INC                          ATTN: MICHAEL P. MOORE 10560 9TH ST N                                                                 ST.              FL      33716
                                                                                                                                                                              PETERSBURG
  2.1254 RE: PAYMENT PLAN LETTER        JABIL INC
         AGREEMENT ("LETTER
         AGREEMENT)
  2.1255 AMENDMENT TO THE INTERIM       JABIL INC; JABIL VIETNAM        MICHAEL MOOE, VP        10560 DR. MARTIN                                                              ST.              FL      33716
         LETTER OF AGREEMENT            COMPANY LIMITED                 GLOBAL BUSINESS UNITS   LUTHER KING JR. STREET                                                        PETERSBURG
                                                                                                NORTH
  2.1256 MUTUAL CONFIDENTIALITY         JAMES E BROYLES JR; FREEDOM JAMES E. BROYLES JR.,       20 COTTON ROAD               SUITE 201                                        NASHUA           NH      03063
         AGREEMENT                      CAD SERVICES INC            CEO
  2.1257 SUBJECT: UPS AND BATTERY       JANTECH SERVICES INC        ATTN: JAY NIZBORSKI         11315 CHALLENGER AVE                                                          ODESSA           FL      33556
         PLANNED MAINTENANCE
         RENEWAL
  2.1258 ODM AGREEMENT                  JI NAN DIGITAL CENTURY      ZHANGCHUNLEI                4007, NO. 160 SHANDA                                                          NAN CITY, SHAN                        CHINA
                                        INDUSTRY CO LTD; VIE THONE                              ROAD, LI XIA DISTRICT, JI                                                     DONG PROVINCE
                                        DEVELOPMENT SEAL
                                        CHNOLOGIES INC
  2.1259 MEMORANDUM OF                  JIAXING BOWEI COMMUNICATION ATTN: FISHER YU             ROOM 307 BUILDING #2         ROAD YATAI, NANHU                                ZHEJUANG                              CHINA
         UNDERSTANDING                  TECHNOLOGY CO LTD                                       NO. 522 ROAD                 DISTRICT, JIAXING CITY                           PROVINCE

  2.1260 MEMORANDUM OF                  JIAXING BOWEI COMMUNICATION                             ROOM 307, BUILDING #2        NO 522 ROAD               NANHU DISTRICT, JIAXING CZHEJUANG                            CHINA
         UNDERSTANDING                  TECHNOLOGY CO LTD                                                                                                                       PROVINCE

  2.1261 WI-FI ALLIANCE INTELLECTUAL    KEITH NAUMAN                                            WI-FI ALLIANCE               10900-B STONELAKE BLVD SUITE 126                 AUSTIN           TX      78759
         PROPERTY RIGHTS POLICY
         ACKNOWLEDGMENT
  2.1262 WI-FI ALLIANCE INTELLECTUAL    KEITH NAUMAN                                            WI-FI ALLIANCE               10900-B STONELAKE BLVD SUITE 126                 AUSTIN           TX      78759
         PROPERTY RIGHTS POLICY
         ACKNOWLEDGMENT
  2.1263 ORDER FORM & AGREEMENT         KNECT 365 US INC                                        DBA LIGHT READING            PO BOX 3685                                      BOSTON           MA      02241-3685
         FOR: S
  2.1264 ORDER FORM                     KNECT 365; ZENA COUPE                                   5 HOWICK PLACE                                                                LONDON                   SW1P 1WG     UNITED
                                                                                                                                                                                                                    KINGDOM
  2.1265 AGREEMENT                      KNECT365 US INC                 PRIMARY SALES REP:      DBA LIGHT READING            PO BOX 3685                                      BOSTON           MA      02241-3685
                                                                        DAMIAN CANARAPEN
  2.1266 CONSULTING SERVICES            KONSULTS HR SOLUTIONS
         AGREEMENT
  2.1267 ADDENDUM 1 - SOFTWARE TOOL     KPMG LLP
         TERMS SOX ON DEMAND
         ENAGEMENT LETTER




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  2.1268 ADDENDUM 1 - SOFTWARE TOOL         KPMG LLP
         TERMS SOX ON DEMAND
         ENAGEMENT LETTER
  2.1269 STATEMENT OF WORK             KPMG LLP                                                     KPMG LLP                     345 PARK AVENUE                               NEW YORK       NY      10154-0102
  2.1270 ENGAGEMENT LETTER             KPMG LLP; KPMG                                               2323 ROSS AVENUE             SUITE 1400                                    DALLAS         TX      75201-2709
                                       INTERNATIONAL COOPERATIVE
  2.1271   STANDARD TERMS AND          KPMG LLP; KPMG
           CONDITIONS FOR ADVISORY AND INTERNATIONAL COOPERATIVE
           TAX SERVICES
  2.1272   STATEMENT OF WORK           LEADTAIL INC                        CARTER HOSTELLEY
  2.1273   RECIPROCAL NON-DISCLOSURE LEI TECHNOLOGY CANADA LTD             ATTN: GEOFFREY EGGER     3160A ORLANDO DR                                                           MISSISSAUGA,                        CANADA
           AGREEMENT                                                                                                                                                           ON, L4Z 1R5
  2.1274   ORDER FORM                  LINKEDIN CORPORATION                KATIE LOCK, SENIOR       ATTN: AUBREY                 1000 WEST MAUDE                               SUNNYVALE      CA      94085
                                                                           MANAGER, REVENUE         STEINBERG, KATIE LOCK        AVENUE
                                                                           RECOGNITION
  2.1275 ORDER FORM                         LINKEDIN CORPORATION           KATIE LOCK, SENIOR       ATTN: AUBREY                 1000 WEST MAUDE                               SUNNYVALE      CA      94085
                                                                           MANAGER, REVENUE         STEINBERG, KATIE LOCK        AVENUE
                                                                           RECOGNITION
  2.1276 FINANCIAL PUBLIC INVESTOR          LIOLIOS GROUP INC; GATEWAY     MATTHEW GLOVER           4685 MACARTHUR CT            STE 400                                       NEWPORT        CA      92660
         RELATIONS AGREEMENT                GROUP INC                                                                                                                          BEACH
  2.1277 CONSULTING SERVICES                LIVINGSTON INTERNATIONAL       ATTN: CORA DI PIETRO     20700 CIVIC CENTER           SUITE 500                                     SOUTHFIELD     MI      48076
         AGREEMENT                          PROFESSIONAL SERVICES LLC                               DRIVE
  2.1278 STATEMENT OF WORK -                LIVINGSTON INTERNATIONAL       ATTN: CORA DI PIETRO     20700 CIVIC CENTER           SUITE 500                                     SOUTHFIELD     MI      48076
         SCHEDULE A US DUTY                 PROFESSIONAL SERVICES LLC                               DRIVE
         DRAWBACK DZS INC.
         INTRODUCTION
  2.1279 STATEMENT OF WORK -                LIVINGSTON INTERNATIONAL                                20700 CIVIC CENTER           SUITE 500                                     SOUTHFIELD     MI      48076
         SCHEDULE A US DUTY                 PROFESSIONAL SERVICES LLC                               DRIVE
         DRAWBACK DZS INC.
         INTRODUCTION
  2.1280 OFFICE LEASE AGREEMENT             LNR PARTNERS LLC               ATTN: DIRECTOR OF REAL 1601 WASHINGTON                SUITE 700                                     MIAMI BEACH    FL      33139
                                                                           ESTATE                 AVENUE
  2.1281 OFFICE LEASE AGREEMENT             LNR PARTNERS LLC               C/O COLLIERS           ATTN: PROPERTY                 311 PARK PLACE                                CLEARWATER     FL      33759
                                                                           INTERNATIONAL TAMPA    MANAGER                        BOULEVARD, SUITE 600
                                                                           BAY FLORIDA
  2.1282 FIRST AMENDMENT TO OFFICE          LNR PARTNERS LLC; BACM 2005-   DIRECTOR OF REALISTATE 1601 WASHINGTON AVE            STE 700                                       MIAMI BEACH    FL      33139
         LEASE AGREEMENT                    3 BRYAN DAIRY INDUSTRIAL LLC
  2.1283 MASTER SERVICES AGREEMENT          LRN CORPORATION                LEGAL DEPARTMENT         C/O LEGAL DEPARTMENT         LRN                     41 MADISON AVENUE, 30TH NEW YORK     NY      10010
  2.1284 CLIENT TERMS OF BUSINESS           LUMICITY EAST COAST LLC        ATTN: ALFIE LONG         78 SW7TH ST                  STE 800                                         MIAMI        FL      33130
         FOR THE INTRODUCTION OF
         PERMANENT STAFF
  2.1285 STATEMENT OF WORK                  MANIBUSAI; VORTECH PCI
                                            GROUP; TITLE CEO VORTECH
                                            GROUP
  2.1286 SALES ORDER                        MARKETO INC                                             901 MARINERS ISLAND          SUITE 200                                     SAN MATEO      CA      94404
                                                                                                    BLVD
  2.1287 ORDER FORM                         MARKETO INTEGRATION CVENT      GARY WEISBAUM,           CVENT, INC.                  1765 GREENSBORO         7TH FLOOR             TYSONS         VA      22102
                                            INC; TITLE REGIONAL SALES      REGIONAL SALES                                        STATION PLACE                                 CORNER
                                            MANAGER EVENT SOLUTIONS        MANAGER, EVENT
                                                                           SOLUTIONS
  2.1288 BUSINESS ASSOCIATE                 MARSH & MCLENNAN AGENCY                                 8144 WALNUT HILL LANE        SUITE 1600                                    DALLAS         TX      75231
         AGREEMENT                          LLC
  2.1289 CLIENT SERVICE AGREEMENT           MARSH & MCLENNAN AGENCY        ATTN: MIKE HARRIS, COO   ATTN: MIKE HARRIS            8144 WALNUT HILL LANE   16TH FLOOR            DALLAS         TX      75231
                                            LLC
  2.1290 BROKERAGE SERVICES                 MAXIM GROUP LLC                JAMES SIEGEL, GENERAL    300 PARK AVE, 16TH                                                         NEW YORK       NY      10022
         AGREEMENT                                                         COUNSEL                  FLOOR
  2.1291 INITIAL MASTER "SOFTWARE AS        MEDIA DEFINED INC                                       3002A COMMERCE STREET                                                      DALLAS         TX      75226
         A SERVICE" AND PROFESSIONAL
         CONSULTING SERVICES
         AGREEMENT
  2.1292 INITIAL MASTER "SOFTWARE AS        MEDIA DEFINED INC              ATTN: BRETT STRAUSS,     PO BOX 140126                                                              DALLAS         TX      75214-0126
         A SERVICE" AND PROFESSIONAL                                       PRESIDENT
         CONSULTING SERVICES
         AGREEMENT
  2.1293 CERTIFICATE OF COMPLETION          MICHAEL GOLOMB                                          SALESFORCE                   ONE MARKET STREET                             SAN FRANCISCO CA       94105




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  2.1294 GLOBALIZATION PARTNERS             MICHAEL JOHN SPEER;           TODD GOFFMAN,            GLOBALIZATION              GPO BOX 3902                              SYDNEY, NSW,                   AUSTRALIA
         CONTRACT OF EMPLOYMENT             GLOBALIZATION PARTNERS PTY    DIRECTOR                 PARTNERS PTY, LTD                                                    2001
         GLOBALIZATION PARTNERS PTY.        LTD
         LTD
  2.1295 GLOBALIZATION PARTNERS             MICHAEL JOHN SPEER;           TODD GOFFMAN,            MICHAEL JOHN SPEER         11-2/4 BLOOMSBURY                         PYMBLE, NSW,                   AUSTRALIA
         CONTRACT OF EMPLOYMENT             GLOBALIZATION PARTNERS PTY    DIRECTOR                                            AVENUE                                    2073
         GLOBALIZATION PARTNERS PTY.        LTD
         LTD
  2.1296 MICROSOFT VOLUME LICENSING         MICROSOFT CORPORATION
         MICROSOFT PRODUCTS &
         SERVICES AGREEMENT
  2.1297 SERVICE ORDER FORM MIDAXO          MIDAXO INC                    ATTN: DAN MANGAN, ARI    51 MELCHER STREET          3RD FLOOR                                 BOSTON         MA      02210
                                                                          SALONEN
  2.1298 DATA PROCESSING AGREEMENT          MIMECAST SOUTH AFRICA (PTY)
                                            LTD
  2.1299 MULTI-SERVICES AGREEMENT           MIR MITCHELL & COMPANY LLP    ATTN: TERESA RICH        105 DECKER COURT       SUITE 1100                                    IRVING         TX      75062
  2.1300 PRODUCTION AGREEMENT               MOSAIC PRO EVENTS LLC         BRAD MCCRAW, OWNER,      777 W PINNACLE PEAK RD                                               PHOENIX        AZ      85027
                                                                          EXECUTIVE PRODUCER       B103
  2.1301 APPENDIX A STATEMENT OF            MOURI TECH LLC
         WORK: 2024_05
  2.1302 MOURITECH GLOBAL                   MOURI TECH LLC                ATTN: TAMMY HURST        9111 CYPRESS WATERS        STE 130                                   DALLAS         TX      75019
         ENTERPRISE SOLUTIONS                                                                      BLVD
         AGREEMENT FOR
         PROFESSIONAL SERVICES
  2.1303 SECOND AMENDMENT TO                MOURI TECH LLC                ANIL YERRAMREDDY, CEO ATTN: ANIL YERRAMREDDY
         SALESFORCE CRM & ORACLE
         CLOUD ERP SUPPORT MANAGED
         SERVICES
  2.1304 STATEMENT OF WORK #                MOURI TECH LLC                ATTN: ANIL YERRAMREDDY
         DZS_ORSF_AMS001
  2.1305 STATEMENT OF WORK: 2025_01         MOURI TECH LLC                ANIL YERRAMREDDY
  2.1306 SUBCONTRACTOR AGREEMENT            MOURI TECH LLC
  2.1307 ATTACHMENT 1                       MT SOFTWARE COMPANY;
                                            MAPUSOFT TECHNOLOGIES INC
  2.1308 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O MESA WEST CAPITAL, ATTN: DIRECTOR - LEGAL       1095 AVENUE OF THE                        NEW YORK       NY      10036
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    LLC                                                 AMERICAS (3 BRYANT
                                            LEGACY PLACE INVESTORS LLC;                                                       PARK), 32ND FLOOR
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1309 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O MESA WEST CAPITAL, ATTN: DIRECTOR - LEGAL       1095 AVENUE OF THE                        NEW YORK       NY      10036
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    LLC                                                 AMERICAS (3 BRYANT
                                            LEGACY PLACE INVESTORS LLC;                                                       PARK), 32ND FLOOR
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1310 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O GIBSON, DUNN &       ATTN: L. MARK OSHER,       333 S. GRAND AVENUE                       LOS ANGELES    CA      90071
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    CRUTCHER LLP             ESQ.
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1311 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O GIBSON, DUNN &       ATTN: L. MARK OSHER,       333 S. GRAND AVENUE                       LOS ANGELES    CA      90071
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    CRUTCHER LLP             ESQ.
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1312 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O METCALFE WOLFF       ATTN: NICOLE CASTRO        21 W. 6TH STREET, SUITE                   AUSTIN         TX      78701
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    STUART & WILLIAMS LLP                               1300
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1313 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O METCALFE WOLFF       ATTN: NICOLE CASTRO        21 W. 6TH STREET, SUITE                   AUSTIN         TX      78701
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    STUART & WILLIAMS LLP                               1300
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC




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  2.1314 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O MESA WEST CAPITAL, ATTN: STEVE FRIED, LOAN 11755 WILSHIRE BLVD,                                  LOS ANGELES      CA      90025
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    LLC                    NOTICES (JF)            SUITE 2100
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1315 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O MESA WEST CAPITAL, ATTN: STEVE FRIED, LOAN 11755 WILSHIRE BLVD,                                  LOS ANGELES      CA      90025
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    LLC                    NOTICES (JF)            SUITE 2100
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1316 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O IPXI LEGACY PLACE   C/O BPG MANAGEMENT          ELLIS PRESERVE, 3843                             NEWTOWN          PA      19073
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    INVESTORS, LLC          COMPANY, L.P.               WEST CHESTER PIKE                                SQUARE
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1317 SUBORDINATION, NON-                MWREIF IV RS SPE LLC; IPXI    C/O IPXI LEGACY PLACE   C/O BPG MANAGEMENT          ELLIS PRESERVE, 3843                             NEWTOWN          PA      19073
         DISTURBANCE AND AGREEMENT          LEGACY INVESTORS LLC; IPXI    INVESTORS, LLC          COMPANY, L.P.               WEST CHESTER PIKE                                SQUARE
                                            LEGACY PLACE INVESTORS LLC;
                                            MESA WEST REAL ESTATE
                                            INCOME FUND IV LLC
  2.1318 SERVICE ORDER                      NASDAQ CORPORATE                                      ONE LIBERTY PLAZA 165                                                        NEW YORK         NY      10006
                                            SOLUTIONS LLC                                         BROADWAY 49TH FLOOR
  2.1319 ORDER FORM                         NCC GROUP; FULL LEGAL                                 FINE POINT                  13800 COPPERMINE RD    STE 300                   HERNDON          VA      20171
                                            COMPANY; FINE POINT                                   TECHNOLOGIES, INC.
                                            TECHNOLOGIES INC
  2.1320 ORDER FORM                         NCC GROUP; FULL LEGAL                                 NCC GROUP                   ATTN: FAO FINANCE      123 MISSION ST, STE 900   SAN FRANCISCO CA         94105
                                            COMPANY; FINE POINT                                                               DEPARTMENT
                                            TECHNOLOGIES INC
  2.1321 NETWORKERS SPECIAL TERMS           NETWORKERS INC; MATCHTECH                             6400 INTERNATIONAL          SUITE 1510                                       PLANO            TX      75093
         AND CONDITIONS                     COMPANY                                               PARKWAY
  2.1322 RECRUITING DIRECT HIRE FEE         NEXTSTEP RECRUITING           AARON ALANIZ,
         AGREEMENT                                                        DIRECTOR, OPERATIONS
  2.1323 GENERAL SERVICES AGREEMENT NEXTSTEP RECRUITING LLC               AARON ALANIZ            ATTN: AARON ALANIZ          4400 STATE HWY 121     SUITE 300-378             LEWISVILLE       TX      75056

  2.1324 CONSULTANCY AGREEMENT              NOORA CONSULTING SAS;                                 78 AVENUE RAYMOND                                                            LE PLESSIS                       FRANCE
                                            FRENCH REGISTRE DU                                    CROLAND                                                                      ROBINSON,
                                            COMMERCE ET DES SOCIETES                                                                                                           92350
  2.1325 REPRESENTATION AGREEMENT           NW DATA TECHNOLOGY                                    809 WEST MAIN STREET        SUITE "D"                                        MONROE           WA      98272
  2.1326 CONSULTING AGREEMENT               OAMP SOFTWARE LTD                                     3140 TORWOOD DR                                                              DUNROBIN, ON,                    CANADA
                                                                                                                                                                               K0A 1T0
  2.1327 CONSULTING AGREEMENT               OAMP SOFTWARE LTD                                     3140 TORWOOD DR                                                              DUNROBIN, ON,                    CANADA
                                                                                                                                                                               K0A 1T0
  2.1328 CONSULTING AGREEMENT               OAMP SOFTWARE LTD                                     3140 TORWOOD DR                                                              DUNROBIN, ON,                    CANADA
                                                                                                                                                                               K0A IT0
  2.1329 CONSULTING AGREEMENT               OAMP SOFTWARE LTD                                     OPTELIAN                    1 BREWER HUNT WAY                                OTTAWA, ON                       CANADA
                                                                                                                                                                               K2K 2B5
  2.1330 CONSULTING AGREEMENT               OAMP SOFTWARE LTD                                     OPTELIAN                    1 BREWER HUNT WAY                                OTTAWA, ON,                      CANADA
                                                                                                                                                                               K2K 2B5
  2.1331 ORDER CONFIRMATION FORM            OMDIA; INFORMA TECH LLC;      NFORMA TECH LLC D/B/A   1990 MAIN STREET            STE 750                                          SARASOTA         FL      34236
                                            BANK OF AMERICA NA            OMDIA
  2.1332 CONSIGNED INVENTORY                OMEGA GLOBAL TECHNOLOGIES     ZEDRIC OCHOA            19 GREAT OAKS BLVD          SUITE 30                                         SAN JOSE         CA      95119
         MANAGEMENT SERVICE                 INC
         AGREEMENT
  2.1333 SOFTWARE LICENSING                 OPENSCORING OÜ                                        PÕLLU 9                                                                      KILINGI-NÕMME,                   ESTONIA
         AGREEMENT                                                                                                                                                             86304
  2.1334 OPTELIAN APPENDIS A-               OPICININ ACCESS NETWORKS
         CONFIDENTIALITY AND                CORPORATION
         PROPRIETRY INFORMATION
         AGREEMENT
  2.1335 ADDENDUM TO THE ORACLE             ORACLE AMERICA INC            SHAMPA LEWIS
         PARTNERNETWORK MASTER
         DISTRIBUTION AGREEMENT
  2.1336 AMENDMENT ONE TO THE               ORACLE AMERICA INC
         ORACLE PARTNERNETWORK
         MASTER DISTRIBUTION
         AGREEMENT




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  2.1337 DASAN ZHONE PURCHASE               ORACLE AMERICA INC            JIMMY LAZAR              ORACLE AMERICA, INC.        500 ORACLE PKWY                      REDWOOD CITY   CA      94065-1677
         ORDER 81000
  2.1338 EMBEDDED SOFTWARE LICENSE          ORACLE AMERICA INC            SHAMPA LEWIS
         APPLICATION PACKAGE
         REGISTRATION FORM
  2.1339 EMBEDDED SOFTWARE LICENSE          ORACLE AMERICA INC            SHAMPA LEWIS
         APPLICATION PACKAGE
         REGISTRATION FORM
  2.1340 EMBEDDED SOFTWARE LICENSE          ORACLE AMERICA INC
         APPLICATION PACKAGE
         REGISTRATION FORM
  2.1341 EMBEDDED SOFTWARE LICENSE          ORACLE AMERICA INC
         DISTRIBUTION ADDENDUM

  2.1342 ORACLE' ORDERING DOCUMENT          ORACLE AMERICA INC            JESSICA KING, SENIOR     500 ORACLE PARKWAY                                               REDWOOD        CA      94065
                                                                          DIRECTOR, DEAL                                                                            SHORES
                                                                          MANAGEMENT
  2.1343 ORACLE PARTNERNETWORK              ORACLE AMERICA INC            ATTN: GENERAL            500 ORACLE PARKWAY                                               REDWOOD        CA      94065
         MASTER DISTRIBUTION                                              COUNSEL, LEGAL                                                                            SHORES
         AGREEMENT                                                        DEPARTMENT
  2.1344 PREPAID LICENSES SCHEDULE          ORACLE AMERICA INC
  2.1345 AMENDMENT NO. 1 TO PAYMENT         ORACLE AMERICA INC; BANK OF                            2300 CLOUD WAY                                                   AUSTIN         TX      78741
         SCHEDULE NO.186744                 AMERICA NA
  2.1346 CONSULTING SERVICES                OXFORD GLOBAL RESOURCES       REBECCA M. FERRANTE,     100 CUMMINGS CENTER                                              BEVERLY        MA      01915
         AGREEMENT                          LLC                           ASSISTANT GC             SUITE 206L
  2.1347 STATEMENT OF SERVICES              OXFORD GLOBAL RESOURCES
                                            LLC
  2.1348 CONTRACTOR AGREEMENT REF           PABLO MATEO; EFFECTUAL                                 2630 COUNTRY HOLLOW                                              SAN ANTONIO    TX      78209
                                            VENTURES INC                                           ST
  2.1349 EVALUATION LICENSE                 PACKET ARCHITECTS AB                                   ATTN: OFFICE MANAGER        MAJBAGGEVÄGEN 11                     247 35 SÖDRA                        SWEDEN
         AGREEMENT                                                                                                                                                  SANDBY
  2.1350 MUTUAL NON-DISCLOSURE              PARPRO TECHNOLOGIES           ATTN: FARHAD SHARIFI     2700 S. FAIRVIEW ST                                              SANTA ANA      CA      92704
         AGREEMENT
  2.1351 CONTINGENCY CONSULTING             PATONA NETWORKS; MR MARC                               #12-07 SUNTEC TOWER                                              SINGAPORE              038987       SINGAPORE
         SERVICE AGREEMENT                  OLIVIER                                                ONE, 7 TEMASEK
                                                                                                   BOULEVARD
  2.1352 MASTER SERVICES AGREEMENT          PERFICIENT INC                ATTN: LEGAL DEPT.        555 MARYVILLE               STE 500                              ST. LOUIS      MO      63141
                                                                                                   UNIVERSITY DR
  2.1353 STATEMENT OF WORK                  PERFICIENT INC
  2.1354 ONESOURCE DETERMINATION            PERFICIENT INC; THOMSON
         PRICING ATTACHMENT                 REUTERS (TAX & ACCOUNTING)
                                            INC
  2.1355 CONTRACTUAL DOCUMENT               PILLAR STRONG LLC             ROLAND FELDMAN           481 N. SANTA CRUZ AVE                                            LOS GATOS      CA      95030
                                                                                                   #123
  2.1356 REPRESENTATION AGREEMENT           PILLAR STRONG LLC             MR. PATRICK SUSEMIHL     481 N. SANTA CRUZ AVE                                            LOS GATOS      CA      95030
                                                                                                   #123
  2.1357 SERVICES AND DISTRIBUTION          PLUME DESIGN INC              RUSSELL DOUGHERTY        290 CALIFORNIA AVENUE       SUITE 200                            PALO ALTO      CA      94306
         AGREEMENT
  2.1358 AGREEMENT                          POLYHEDRA PLC; POLYHEDRA                               UNIT 5 CRANFIELD      CRANFIELD TECHNOLOGY                       CRANFIELD              MK43 0BT     UNITED
                                            INC                                                    INNOVATION CENTRE,    PARK                                                                           KINGDOM
                                                                                                   UNIVERSITY WAY,
  2.1359 ENGAGEMENT LETTER                  PRICEWATERHOUSECOOPERS        ATTN: MICHAEL GOLOMB     488 ALMADEN BOULEVARD SUITE 1800                                 SAN JOSE       CA      95110
                                            LLP
  2.1360 ENGAGEMENT LETTER                  PRICEWATERHOUSECOOPERS        ATTN: CIAN O'HARA        THREE EMBARCADERO                                                SAN FRANCISCO CA       94111
                                            LLP                                                    CENTER
  2.1361 STATEMENT OF WORK                  PRICEWATERHOUSECOOPERS
                                            LLP
  2.1362 REPRESENTATION AGREEMENT           PROLAN SOLUTIONS                                       522 S HUNT CLUB BLVD        #345                                 APOPKA         FL      32703
  2.1363 PRODUCT SOFTWARE LICENSE           QUANTENNA COMMUNICATIONS      SAM HEIDARI, CEO         ATTN: SAM HEIDARI           3450 W. WARREN AVE                   FREMONT        CA      94538
         AGREEMENT                          INC
  2.1364 CONTRACTING TERMS NORTH            QUANTUM LEAP; THE HACKETT
         AMERICA                            GROUP INC
  2.1365 MUTUAL NON-DISCLOSURE              REBOUND ELECTRONICS UK LTD                             RIVERGATE HOUSE             LONDON ROAD                          NEWBURY,               RG14 2ZP     UNITED
         AGREEMENT                                                                                                                                                  BERKSHIRE                           KINGDOM
  2.1366 RED HAT PARTNER                    RED HAT INC
         SUBSCRIPTION TERMS




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  2.1367 THE RED HAT ENTERPRISE             RED HAT INC
         AGREEMENT
  2.1368 VENDOR AGREEMENT                   RELIANT INFOTECH INC         ATTN: HR & ACCOUNTS,    KANCHERLA                    7800 PRESTON ROAD,                               PLANO            TX      75024
                                                                         BHARAT                                               SUITE 114
  2.1369 ORDER FORM                         RELX INC                     PHIL RISMILLER,
                                                                         SEGMENT DIRECTOR
  2.1370   REPRESENTATION AGREEMENT         REP COM INTERNATIONAL LLC    ATTN: ERIC M. FARST     1521 N COOPER STREET         SUITE 890                                        ARLINGTON        TX      76001
  2.1371   ENGAGEMENT LETTER                RSM US LLP                   TRACY BURR              13155 NOEL RD                SUITE 2200                                       DALLAS           TX      75240
  2.1372   MASTER SERVICES AGREEMENT        RSM US LLP                   ATTN: HEATHER COLLINS   80 CITY SQUARE                                                                BOSTON           MA      02129
  2.1373   MASTER SERVICES AGREEMENT        RSM US LLP                   ATTN: CLIENT RESOURCE   FIRST ST SE                  STE 800                                          CEDAR RAPIDS     IA      52401
                                                                         CENTER
  2.1374 TAX SERVICES STATEMENT OF          RSM US LLP                   ATTN: TRACY BURR
         WORK
  2.1375 TAX SERVICES STATEMENT OF          RSM US LLP
         WORK
  2.1376 AUTHORIZATION FORM                 SALESFORCE.COM INC                                   SALESFORCE.COM, INC.                                                          SAN FRANCISCO CA         94105
  2.1377 MASTER SUBSCRIPTION                SALESFORCE.COM INC           VP, WORLDWIDE SALES     ATTN: VP, WORLDWIDE          THE LANDMARK @ ONE        SUITE 300              SAN FRANCISCO CA         94105
         AGREEMENT                                                       OPERATIONS              SALES OPERATIONS &           MARKET
                                                                                                 GENERAL COUNSEL
  2.1378 ORDER FORM                         SALESFORCE.COM INC                                   SALESFORCE.COM, INC.                                                            SAN FRANCISCO CA       94105
  2.1379 ORDER FORM                         SALESFORCE.COM INC                                   SALESFORCE.COM, INC.                                                            SAN FRANCISCO CA       94105
  2.1380 ORDER FORM                         SALESFORCE.COM INC; DASAN                            SALESFORCE.COM, INC.         SALESFORCE TOWER          415 MISSION STREET, 3RD FSAN FRANCISCO CA       94105
                                            SABA SOLUTIONS
  2.1381 ORDER FORM                         SALESFORCE.COM INC; TERMS
                                            AND CONDITIONS
  2.1382 MUTUAL NON-DISCLOSURE              SHENZHEN BAITENG                                     3# VANSHUN ROAD              HENGGANG COMMUNITY        LONGGANG DISTRICT      SHENZHEN CITY,           518173   CHINA
         AGREEMENT                          TECHNOLOGY DEVELOP CO LTD                                                                                                          GUANGDING

  2.1383 ACCESS SWITCH STATEMENT OF SHENZHEN GONGJIN                     ATTN: CATHY WU /        FLAT A 13/F LEAHANDER        28 WANG WO TSAI STREET                           TSEN WAN                          HONG KONG
         WORK                       ELECTRONICS CO LTD                   CHANDLER XIONG          CENTRE                                                                        N.T.,999077
  2.1384 ODM AGREEMENT              SHENZHEN GONGJIN                     TANG QING, VP SALES     2F/4F BAIYING BUILDING,      SHEKOU, SHENZHEN                                 GUANGDONG                518067   CHINA
                                    ELECTRONICS CO LTD                                           1019# NANHAI RD,
  2.1385 CUSTOM LICENSE             SHUTTERSTOCK
  2.1386 CONSULTING SERVICES        SNAPBI INC                           DUKE LAMBERT            PO BOX 77112                 188 KING ST               SUITE 605              SAN FRANCISCO CA         94107
         AGREEMENT
  2.1387 LETTER OF INTENT           SOE GROUP                            JESSICA PODRATSKY       THE INN AT OPRYLAND, A       2401 MUSIC VALLEY DRIVE                          NASHVILLE        TN      37214
                                                                                                 GAYLORD HOTEL
  2.1388 STAFFWORKS GR GENERAL              STAFFWORKS GROUP INC         FRANK PROVENZANO        1700 NORTH HARMON                                                             AUBURN HILLS     MI      48326
         STAFFING AGREEMENT                                                                      ROAD, SUITE TWO
  2.1389 INDUSTRIAL LEASE AGREEMENT         STARKEY OWNER LP             C/O INVESCO ADVISERS,   ATTN: ASSET MANAGER          2001 ROSS AVE, STE 3400                          DALLAS           TX      75201
                                                                         INC.
  2.1390 INDUSTRIAL LEASE AGREEMENT         STARKEY OWNER LP             C/O JLL                 ATTN: PROPERTY               401 E. JACKSON ST, STE                           TAMPA            FL      33602
                                                                                                 MANAGER                      100
  2.1391 STANDARD AGREEMENT                 STERICYCLE INC; SHRED-IT    KEVIN PFISTAR            2355 WAUKEGAN ROAD                                                            BANNOCKBUM       IL      60015
  2.1392 AGREEMENT                          SUCURSAL EN ESPAÑA; FEDERAL
                                            EXPRESS CORPORATION;
                                            AUTORIZACIÓN DE DESPACHO Y
                                            REPRESENTACIÓN

  2.1393 MUTUAL NON-DISCLOSURE              SUPER MICRO COMPUTER, INC.   ATTN: ARNAUD CORVISY    980 ROCK AVENUE                                                               SAN JOSE         CA      95131
         AGREEMENT
  2.1394 CLIENT SERVICES AGREEMENT          SYNERGI PARTNERS INC         JAMES A. BROWN JR.,     PO BOX 5599                                                                   FLORENCE         SC      29502
                                                                         CEO/PRESIDENT
  2.1395 SYNERGI PARTNERS ADDENDUM          SYNERGI PARTNERS INC         ATTN: JAMES A. BROWN,
                                                                         JR.
  2.1396 MASTER SERVICES AGREEMENT          SYSTEMWARE PROFESSIONAL      TY ANDERSON,            ATTN: TY ANDERSON            15301 DALLAS PARKWAY      SUITE 1100             ADDISON          TX      75001
                                            SERVICES INC                 MANAGING DIRECTOR
  2.1397 CONTRACT OF BONDED                 TAICANG WHOLELINE BONDED
         WAREHOUSE AND RELEVANT             LOGISTICS CO LTD
         SERVICES 本合同由
  2.1398 CONTRACT OF BONDED                 TAICANG WHOLELINE BONDED
         WAREHOUSE AND RELEVANT             LOGISTICS CO LTD
         SERVICES 本合同由
  2.1399 ODM AGREEMENT                      TAILYN COMMUNICATION         MARK CHEN               RUNG AN ROAD N. 10, LU-                                                       HSIANG,                           CHINA
                                            COMPANY LTD                                          CHU                                                                           TAIWAN, R.O.C.




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  2.1400 ODM AGREEMENT                      TAILYN COMMUNICATION               MARK CHEN             RUNG AN ROAD N. 10, LU-                                                 HSIANG,                        CHINA
                                            COMPANY LTD                                              CHU                                                                     TAIWAN, R.O.C.
  2.1401 ADDENDUM NUMBER ONE TO             TAILYN TECHNOLOGIES INC                                  10 RUNG AN ROAD                                                         LU-ZHU SHIANG,                 TAIWAN, R.O.C
         ODM AGREEMENT                                                                                                                                                       TAOYUAN
                                                                                                                                                                             COUNTY
  2.1402 ADDENDUM NUMBER ONE TO             TAILYN TECHNOLOGIES INC                                  10 RUNG AN ROAD                                                         LU-ZHU SHIANG,                 TAIWAN, R.O.C
         ODM AGREEMENT                                                                                                                                                       TAOYUAN
                                                                                                                                                                             COUNTY
  2.1403 ADDENDUM NUMBER ONE TO             TAILYN TECHNOLOGIES INC                                  10 RUNG AN ROAD                                                         LU-ZHU SHIANG,                 TAIWAN, R.O.C
         ODM AGREEMENT                                                                                                                                                       TAOYUAN
                                                                                                                                                                             COUNTY
  2.1404 ADDENDUM NUMBER ONE TO             TAILYN TECHNOLOGIES INC                                  10 RUNG AN ROAD                                                         LU-ZHU SHIANG,                 TAIWAN, R.O.C
         ODM AGREEMENT                                                                                                                                                       TAOYUAN
                                                                                                                                                                             COUNTY
  2.1405 AMENDMENT; SERVICES                TAILYN TECHNOLOGIES INC
         AGREEMENT
  2.1406 AGREEMENT FOR EMPLOYMENT           TALASOFT TECHNICAL SERVICES
         CANDIDATE SEARCH SERVICES
  2.1407 SERVICES AGREEMENT                 TALENTLAB INC                      WARREN ROBINSON,      603 MARCH ROAD                                                          KANATA,                        CANADA
                                                                               PRESIDENT                                                                                     ONTARIO, K2K
                                                                                                                                                                             2M5
  2.1408 CONTRACTUAL DOCUMENT               TCS CENTRAL REGION GP LLC;         N/A                   2330 CENTRAL                                                            SANTA CLARA    CA      95050
                                            FUTUREWEI TECHNOLOGIES INC;                              EXPRESSWAY
                                            CUSHMAN & WAKEFIELD US INC;
                                            EQUUS INVESTMENT
                                            PARTNERSHIP XI LP
  2.1409 AGREEMENT OF SUBLEASE              TCS CENTRAL REGION GP LLC;         ATTN: ACCOUNTS        2330 CENTRAL                                                            SANTA CLARA    CA      95050
                                            FUTUREWEI TECHNOLOGIES INC;        PAYABLE DEPARTMENT    EXPRESSWAY
                                            CUSHMAN & WAKEFIELD US INC;
                                            L&B CIP LEGACY PLACE I & II LLC;
                                            EQUUS INVESTMENT
                                            PARTNERSHIP XI LP
  2.1410 AGREEMENT OF SUBLEASE              TCS CENTRAL REGION GP LLC;         ATTN: ACCOUNTS        2330 CENTRAL                                                            SANTA CLARA    CA      95050
                                            FUTUREWEI TECHNOLOGIES INC;        PAYABLE DEPARTMENT    EXPRESSWAY
                                            CUSHMAN & WAKEFIELD US INC;
                                            L&B CIP LEGACY PLACE I & II LLC;
                                            EQUUS INVESTMENT
                                            PARTNERSHIP XI LP
  2.1411 AGREEMENT OF SUBLEASE              TCS CENTRAL REGION GP LLC;         ATTN: ACCOUNTS        5700 TENNYSON PKWY         SUITE 600                                    PLANO          TX      75024
                                            HUAWEI TECHNOLOGIES USA            PAYABLE DEPARTMENT
                                            INC; CUSHMAN & WAKEFIELD US
                                            INC; EQUUS INVESTMENT
                                            PARTNERSHIP XI LP
  2.1412 CONTRACTUAL DOCUMENT               TCS CENTRAL REGION GP LLC;         ATTN: ACCOUNTS        5700 TENNYSON PKWY         STE 600                                      PLANO          TX      75024
                                            HUAWEI TECHNOLOGIES USA            PAYABLE DEPT.
                                            INC; CUSHMAN & WAKEFIELD US
                                            INC; EQUUS INVESTMENT
                                            PARTNERSHIP XI LP
  2.1413 LETTER OF AGREEMENT                TEAM BRAD MONTGOMERY               BRAD MONTGOMERY       6574 S. ZENO CT.                                                        AURORA         CO      80016
  2.1414 CONSULTING AGREEMENT               TECH MAHINDRA LIMITED              ATANU SARKAR          SHARDA CENTRE, OFF                                                      ERANDWANE,                     INDIA
                                                                                                     KARVE ROAD                                                              PUNE 411004
  2.1415 CONSULTING AGREEMENT               TECH MAHINDRA LIMITED              ATANU SARKAR          STERLING REGENCY, #58,                                                  NUNGAMBAKKAM                   INDIA
                                                                                                     STERLING ROAD                                                           , CHENNAI,
                                                                                                                                                                             TAMIL NADU 600
                                                                                                                                                                             034
  2.1416 STATEMENT OF WORK (EXHIBIT B TECH MAHINDRA LIMITED                                          GATEWAY BUILDING           APOLLO BUNDER                                MUMBAI,                        INDIA
         TO CONSULTING AGREEMENT)                                                                                                                                            MAHARASHTRA,
                                                                                                                                                                             400 001
  2.1417 STATEMENT OF WORK (EXHIBIT B TECH MAHINDRA LIMITED                                          GATEWAY BUILDING           APOLLO BUNDER                                MUMBAI,                        INDIA
         TO CONSULTING AGREEMENT)                                                                                                                                            MAHARASHTRA,
                                                                                                                                                                             400 001
  2.1418 STATEMENT OF WORK (EXHIBIT B TECH MAHINDRA LIMITED                                          SDB-II, GROUND FLOOR,      138, SHOLINGANALLUR   KANCHIPURAM DISTRICT   CHENNAI, TAMIL                 INDIA
         TO CONSULTING AGREEMENT)                                                                    NO. 602/3, ELCOT SEZ       VILLAGE                                      NADU, 600 119
  2.1419 STATEMENT OF WORK (EXHIBIT B TECH MAHINDRA LIMITED                                          SDB-II, GROUND FLOOR,      138, SHOLINGANALLUR   KANCHIPURAM DISTRICT   CHENNAI, TAMIL                 INDIA
         TO CONSULTING AGREEMENT)                                                                    NO. 602/3, ELCOT SEZ       VILLAGE                                      NADU, 600 119




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  2.1420 STATEMENT OF WORK EXHIBIT B TECH MAHINDRA LIMITED                                  GATEWAY BUILDING             APOLLO BUNDER                               MUMBAI 400 001                        INDIA
         TO CONSULTING AGREEMENT)
  2.1421 STATEMENT OF WORK EXHIBIT B TECH MAHINDRA LIMITED                                  SDB-II, GROUND FLOOR,        KANCHIPURAM DISTRICT,                       TAMIL NADU                            INDIA
         TO CONSULTING AGREEMENT)                                                           NO. 602/3, ELCOT SEZ,        CHENNAI 600 119
                                                                                            138, SHOLINGANALLUR
                                                                                            VILLAGE
  2.1422 STATEMENT OF WORK FOR ZMS    TECH MAHINDRA LIMITED                                 UNIT V-KIADB INDUSTRIAL      ELECTRONIC CITY PHASE   BANGALORE, 560100   KARNATAKA                             INDIA
         PRODUCT OF DASAN ZHONE                                                             AREA                         11
         SOLUTION INC
  2.1423 SUBCONTRACTOR AGREEMENT      TECH MAHINDRA LIMITED         ATTN: RAHUL SHARMA      GATEWAY BUILDING             APOLLO BUNDER                               MUMBAI,                               INDIA
                                                                                                                                                                     MAHARASHTRA,
                                                                                                                                                                     400001
  2.1424 STATEMENT OF WORK            TECH MAHINDRA LTD             ATTN: MAYANK TAYAL      UNIT V-KIADB INDUSTRIAL ELECTRONIC CITY PHASE                            BANGALORE,                            INDIA
                                                                                            AREA                    11                                               KARNATAKA,
                                                                                                                                                                     560100
  2.1425 STATEMENT OF WORK            TECH MAHINDRA LTD             ATTN: MAYANK TAYAL      UNIT V-KIADB INDUSTRIAL ELECTRONIC CITY PHASE                            BANGALORE,                            INDIA
                                                                                            AREA                    11                                               KARNATAKA,
                                                                                                                                                                     560100
  2.1426 REQUEST FOR BACKGROUND       TEKSYSTEMS INC
         INVESTIGATIVE SERVICES - ALL
         SERVICES
  2.1427 STAFFING SERVICES AGREEMENT TEKSYSTEMS INC                 ATTN: SENIOR MANAGER    7437 RACE ROAD                                                           HANOVER          MD      21076
                                                                    OF OPERATIONS
  2.1428 PREFERRED SUPPLIER           TELECOM NAMIBIA LIMITED       CORPORATE               3RD FLOOR, TELECOM           9 LÜDERITZ STREET       PO BOX 297          WINDHOEK                              NAMIBIA
         AGREEMENT                                                  GOVERNANCE, LEGAL       HEAD OFFICE
                                                                    SERVICES AND
                                                                    REGULATORY AFFAIRS
  2.1429 STATEMENT OF WORK FOR        THE HACKETT GROUP INC
         DIGITAL MANAGED SERVICES
  2.1430 CONTRACT WITH ZHONE          THEWAY LLC                    ATTN: BRUCE W ROE       4260 EAST AVENUE                                                         ROCHESTER        NY      14618-3742
         TECHNOLOGIES, INC
  2.1431 ORDER FORM                   THOMSON REUTERS (TAX &
                                      ACCOUNTING) INC
  2.1432 STATEMENT OF WORK            THOMSON REUTERS (TAX &
                                      ACCOUNTING) INC
  2.1433 ENGAGEMENT LETTER            THORNTON LLP                                          101 CALIFORNIA STREET                                                    SAN FRANCISCO CA         94111
                                                                                            SUITE 2700
  2.1434 MEMBERSHIP AGREEMENT         TM FORUM                      TIM BANHAM, CHIEF       ATTN: RHEA                   4 CENTURY DRIVE         SUITE 100           PARSIPPANY       NJ      07054
                                                                    COMMERCIAL OFFICER      CHAMBERLAIN
  2.1435 AGREEMENT                    TRACE MEDIA INTERNATIONAL
                                      FZ-LLC
  2.1436 TERMS AND CONDITIONS         TRINET HR CORPORATION                                 1100 SAN LEANDRO BLVD        SUITE 400                                   SAN LEANDRO      CA      94577
         AGREEMENT
  2.1437 MASTER SERVICES AGREEMENT    TSG LLC; THE SERVICES GROUP   DIRECTOR OF             ATTN: DIRECTOR OF            1400 METROPOLITAN BLVD STE 222              TALLAHASSEE      FL      32308
                                      LLC                           ADMINISTRATION          ADMINISTRATION
  2.1438 CUSTOMER SERVICE             UNIFIRST CORPORATION
         AGREEMENT
  2.1439 UPS EXPRESS CRITICAL® TERMS UPS SUPPLY CHAIN SOLUTIONS     ATTN: AUDITING          UPS EXPRESS CRITICAL         10881 LOWELL, STE 220                       OVERLAND PARK KS         66210
         AND CONDITIONS OF CONTRACT INC                             DEPARTMENT

  2.1440 UPS AIR FREIGHT TERMS AND     UPS SUPPLY CHAIN SOLUTIONS;                          35 GLENLAKE PKWY NE          STE 320                                     ATLANTA          GA      30328
         CONDITIONS OF CONTRACT        UPS GLOBAL GOVERNMENT
                                       OPERATIONS GROUP
  2.1441 RE: ACKNOWLEDGEMENT OF        USA CISCO SYSTEMS INC; CISCO                         3 MILL AND MAIN PLACE,                                                   MAYNARD          MA      01754
         UPCOMING CHANGES TO           INTERNATIONAL LTD; ACACIA                            SUITE 400
         ORDERING PROCESS AND LEGAL COMMUNICATIONS INC
         TERMS
  2.1442 RESELLER SERVICES             VELANKANI COMMUNICATIONS     TITO SHARMA, CFO        ATTN: CFO                    80 COTTONTAIL LN        SUITE 420           SOMERSET         NJ      08873
         AGREEMENT                     TECHNOLOGIES INC
  2.1443 RE: LETTER ADDENDUM TO        VERTEX INC                                           2301 RENAISSANCE BLVD                                                    KING OF          PA      19406
         AMEND VERTEX AGREEMENT(S)                                                                                                                                   PRUSSIA
         SALES TAX Q (SA20664) AND EXT
         SPT FOR STQ (SA29444)
         ACCOUNT # 21001740




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  2.1444 RE: LETTER ADDENDUM TO             VERTEX INC                                              2301 RENAISSANCE BLVD                                                    KING OF         PA      19406
         AMEND VERTEX AGREEMENT(S)                                                                                                                                           PRUSSIA
         SALES TAX Q (SA20664) AND EXT
         SPT FOR STQ (SA29444)
         ACCOUNT # 21001740
  2.1445 MANUFACTURING AND SUPPLY           VVDN TECHNOLOGIES PRIVATE       ATTN: LEGAL             VVDN TECHNOLOGIES           CP-7, SECTOR 8, IMT                          GURUGRAM-                          INDIA
         AGREEMENT                          LIMITED                         DEPARTMENT              PRIVATE LIMITED,            MANESAR                                      122051
  2.1446 MASTER SERVICES AGREEMENT          WALTZ CREATIVE LLC                                      53 MUCKELEMI ST             STE G                                        SAN JUAN        CA      95045
                                                                                                                                                                             BAUTISTA
  2.1447 MASTER SERVICES AGREEMENT          WALTZ CREATIVE LLC                                      PO BOX 1090                                                              SAN JUAN        CA      95045
                                                                                                                                                                             BAUTISTA
  2.1448 1. STATEMENT OF WORK               WEBENERTIA INC
  2.1449 MASTER SERVICES AGREEMENT          WEBENERTIA INC
  2.1450 ESTOPPEL AGREEMENT                 WELLS FARGO BANK NA                                     COMMERCIAL MORTGAGE 401 SOUTH TRYON                 8TH FLOOR            CHARLOTTE       NC      28202
                                                                                                    SERVICING              STREET
  2.1451 SERVICE ORDER                      WEST LLC                        ALAN KNEPFER, GLOBAL    11808 MIRACLE HILLS                                                      OMAHA           NE      68154
                                                                            HEAD OF SALES           DRIVE
  2.1452 MASTER SERVICES AGREEMENT          WESTWORLD TELECOM               LARRY GLENN, JR.,       ATTN: LARRY GLENN, JR. 1122 WEST 5TH STREET         SUITE 100            LAKELAND        FL      33805
                                            CORPORATION                     PRESIDENT
  2.1453 STATEMENT OF WORK: IMACS           WESTWORLD TELECOM
         REPAIR SERVICES                    CORPORATION
  2.1454 AMENDED AND RESTATED               WIND RIVER SYSTEMS INC
         EXHIBIT A-9 ENTERPRISE
         LICENSE AGREEMENT
  2.1455 ENHANCED PROLIFERATION         WIND RIVER SYSTEMS INC
         CONTROL INITIATIVE (EPCI) FORM

  2.1456 ENTERPRISE LICENSE                 WIND RIVER SYSTEMS INC          GENERAL COUNSEL         500 WIND RIVER WAY                                                       ALAMEDA         CA      94501
         AGREEMENT
  2.1457 EXHIBIT A-9 TO ENTERPRISE          WIND RIVER SYSTEMS INC
         LICENSE AGREEMENT
  2.1458 RE: WIND RIVER SYSTEMS, INC.       WIND RIVER SYSTEMS INC                                  500 WIND RIVER WAY                                                       ALAMEDA         CA      94501
         ("WIND RIVER") LICENSE
         COMPLIANCE ASSESSMENT
  2.1459 CONTRACTUAL DOCUMENT               WIRELESS EXCELLENCE LIMITED                             THE OXFORD SCIENCE                                                       OXFORD                  OX4 4GA    UNITED
                                                                                                    PARK, G6, MAGDALEN                                                                                          KINGDOM
                                                                                                    CENTRE ROBERT
                                                                                                    ROBINSON AVENUE,
  2.1460 GENERAL TERMS AND                  WIRELESS EXCELLENCE LIMITED                             THE OXFORD SCIENCE          G6, MAGDALEN CENTRE     ROBERT ROBINSON AVENU OXFORD                 OX4 4GA    UNITED
         CONDITIONS FOR THE SALE OF                                                                 PARK                                                                                                        KINGDOM
         GOODS AND THE PROVISION OF
         SERVICES
  2.1461 PARTNER AGREEMENT                  WIRELESS EXCELLENCE LIMITED                             THE OXFORD SCIENCE    G6, MAGDALEN CENTRE           ROBERT ROBINSON AVENU OXFORD                 OX4 4GA    UNITED
                                                                                                    PARK                                                                                                        KINGDOM
  2.1462 CONTRACTUAL DOCUMENT               WIZZLINK                                                23 AVONDALE AVE ESHER                                                    SURREY                  KT10 0DB   UNITED
                                                                                                                                                                                                                KINGDOM
  2.1463 REPRESENTATION AGREEMENT           WIZZLINK; MR SIMON SAYUNG KIM                           ATTN: MR. SIMON KIM         23 AVONDALE AVE ESHER                        SURREY                  KT10 0DB   UNITED
                                                                                                                                                                                                                KINGDOM
  2.1464 CONSULTING SERVICES ORDER  WORKIVA INC; DASAN ZIONE                JILL KLINDT             2900 UNIVERSITY BLVD.                                                    AMES            IA      50010
                                    SOLUTIONS INC
  2.1465 MEETING SERVICES AGREEMENT WTS LLC                                 C/O LIAISONS MEETINGS   ATTN: LYNN                  2160 LAKESIDE CENTRE                         KNOXVILLE       TN      37922
                                                                            AND EVENTS              BEIERSCHMITT                WAY, SUITE 102
  2.1466 MEMORANDUM OF                      XAVI TECHNOLOGIES               WENSTON LEE, CTO        22F, NO 69, SEC 2                                                        SANCHONG                           TAIWAN
         UNDERSTANDING                      CORPORATION                                             GUANGFUL RD                                                              DIST, NEW
                                                                                                                                                                             TAIPEI, 24158
  2.1467 RE: NOTICE OF CHANGE OF    YIFAN LI; FUTUREWEI                                             2560 N 1ST ST               SUITE 200                                    SAN JOSE        CA      95131
         ADDRESS                    TECHNOLOGIES
  2.1468 LICENSE AGREEMENT          YUMAWORKS INC; DELAWARE                 JOHN HOPPRICH           685 COCHRAN ST. #160                                                     SIMI VALLEY     CA      93065
                                    CORPORATION
  2.1469 YUMAWORKS LICENSE          YUMAWORKS INC; DELAWARE                 JOHN HOPPRICH           685 COCHRAN ST.             #160,                                        SIMI VALLEY     CA      93065
         AGREEMENT                  CORPORATION
  2.1470 LOGISTICS CUSTOMS POWER OF YUSEN LOGISTICS (AMERICAS)
         ATTORNEY AND               INC
         ACKNOWLEDGMENT OF TERMS
         AND CONDITIONS OF SERVICE




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  2.1471 LOGISTICS CUSTOMS POWER OF YUSEN LOGISTICS (AMERICAS)
         ATTORNEY AND                     INC
         ACKNOWLEDGMENT OF TERMS
         AND CONDITIONS OF SERVICE
  2.1472 PROFESSIONAL SERVICES            ZIROUS INC               ATTN: MEGAN TELL        1503 42ND STREET             SUITE 210                                    WEST DES      IA      50266
         AGREEMENT                                                                                                                                                   MOINES
  2.1473 SERVICES ORDERING DOCUMENT ZIROUS INC                     ATTN: REAGAN SAUL       1503 42ND STREET             SUITE 210                                    WEST DES      IA      50266
                                                                                                                                                                     MOINES
  2.1474 MICROSOFT VOLUME LICENSING ZONES INC; MICROSOFT           C/O DEPT. 551, VOLUME   ATTN: JOSHUA FARLOW          6100 NEIL ROAD, SUITE 210                    RENO          NV      89511-1137
         PURCHASING ACCOUNT            CORPORATION                 LICENSING
  2.1475 MICROSOFT VOLUME LICENSING ZONES INC; MICROSOFT                                   ZONES, INC.                  1102 15 STREET SOUTH   SUITE 102               AUBURN      WA      98001
         PURCHASING ACCOUNT            CORPORATION                                                                      WEST
  2.1476 PURCHASE ORDER                ZOOMINFO TECHNOLOGIES       JULIE CAVANAUGH         805 BROADWAY STREET          SUITE 900                                      VANCOUVER   WA      98660
  2.1477 OFFICE LEASE BETWEEN L&B CIP ZTE USA INC; FUTUREWEI                               L&B CIP LEGACY PLACE         C/O JONES LANG LASALLE 2701 N. DALLAS PARKWAY, PLANO       TX      75093
         LEGACY PLACE I & II, LLC      TECHNOLOGIES INC; L&B CIP                           I&II, LLC                    AMERICAS, INC.
         ("LANDLORD") AND FUTUREWEI    LEGACY PLACE I & II LLC
         TECHNOLOGIES, INC. ("TENANT")
  2.1478 MUTUAL NON-DISCLOSURE         ZWARE INC; JABIL INC                                10560 DR. MLK JR. STREET                                                  ST.           FL      33716-33718
         AGREEMENT                                                                         N                                                                         PETERSBURG
  2.1479 MEMORANDUM OF                 限公司 LIMITED; GONGJIN                                FLAT A 13/F LEAHANDER    28 WANG WO TSAI STREET                           TSUEN WAN,                          CHINA
         UNDERSTANDING                 ELECTRONIC (HONG KONG)                              CENTRE                                                                    N.T., HONG
                                       LIMITED                                                                                                                       KONG
  2.1480 SUPPORT CONTRACT -            ACCELECOM GA, LLC                                   1700 EASTPOINT                                                            ATLANTA       KY      40223
         OBSOLETE, ANYHAUL EQUIP-                                                          PKWY,LOUISVILLE,KY,US,4
         GOLD SUPPORT- RENEWAL                                                             0223
         RATE, INCLUDES TAC SUPPORT,
         SW/FW UPDATES & ADVANCE
         REPLACEMENT
  2.1481 SUPPORT CONTRACT - BACS       ADVANCED COMPUTER                                   SMART VILLAGE                                                             CAIRO                 12577         EG
         EQUIP - SILVER SUPPORT - 1ST  TECHNOLOGY/ACT                                      BUILDING, KM28 CAIRO
         YEAR. ADDS TAC SUPPORT,                                                           ALEX ROAD, BUILDING
         SW/FW UPDATES.                                                                    #B92 - A13, SMART
                                                                                           VILLAGE, GIZA,
                                                                                           EGYPT,CAIRO,EG,12577
  2.1482 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                                        ADVANCED MEDIA                                                            WILLOW STREET FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                                          TECHNOLOGIES INC,3150
         NETWORK MGMT SW. INCLUDES                                                         SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                                       BEACH,FL,US,33442

  2.1483 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                                        26376 JOHN RD,OLMSTED                                                     OLMSTED FALLS OH      44138
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                                          FALLS,OH,US,44138
         NETWORK MGMT SW. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1484 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                                        ADVANCED MEDIA                                                            ATLANTA       FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                                          TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                                          SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                                       BEACH,FL,US,33442

  2.1485 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                                        ADVANCED MEDIA                                                            CLEVELAND     FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                                          TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                                          SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                                       BEACH,FL,US,33442

  2.1486 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                                        ADVANCED MEDIA                                                            WILLOW STREET FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                                          TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                                          SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                                       BEACH,FL,US,33442

  2.1487 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                                        ADVANCED MEDIA                                                            LOS ANGELES   FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                                          TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                                          SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                                       BEACH,FL,US,33442




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  2.1488 SUPPORT CONTRACT - 3YRS -        ADVANCED MEDIA                       ADVANCED MEDIA                                         AURORA         FL      33442
         BRONZE PLUS MAINT POLAN          TECHNOLOGIES                         TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                              SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                           BEACH,FL,US,33442

  2.1489 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            ADVANCED MEDIA                                         SAN DIEGO      FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                              SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                           BEACH,FL,US,33442

  2.1490 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            2121 S PRAIRIE                                         TAMPA          IL      60616
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              AVE,CHICAGO,IL,US,60616
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1491 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            17700 COLLINS                                          SUNNY ISLES    FL      33160
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              AVE,SUNNY ISLES                                        BEACH
         PORT EXTENDERS. INCLUDES                                              BEACH,FL,US,33160
         TAC SUPPORT, SW/FW UPDATES.

  2.1492 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            ADVANCED MEDIA                                         CLEVELAND      FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                              SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                           BEACH,FL,US,33442

  2.1493 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            2912 COLLINS AVE,MIAMI                                 BLOOMINGTON    FL      33140
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              BEACH,FL,US,33140
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1494 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            26376 JOHN RD,OLMSTED                                  OLMSTED FALLS OH       44138
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              FALLS,OH,US,44138
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1495 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            900 BAYFRONT CT,SAN                                    SAN DIEGO      CA      92101
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              DIEGO,CA,US,92101
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1496 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            5700 WILLIAMSBURG                                      WILLIAMSBURG   VA      23185
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              LANDING
         PORT EXTENDERS. INCLUDES                                              DR,WILLIAMSBURG,VA,US,
         TAC SUPPORT, SW/FW UPDATES.                                           23185

  2.1497 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            2181 AMBLESIDE                                         CLEVELAND      OH      44106
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              DRIVE,CLEVELAND,OH,US,
         PORT EXTENDERS. INCLUDES                                              44106
         TAC SUPPORT, SW/FW UPDATES.

  2.1498 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            2181 AMBLESIDE                                         CLEVELAND      OH      44106
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              DRIVE,CLEVELAND,OH,US,
         PORT EXTENDERS. INCLUDES                                              44106
         TAC SUPPORT, SW/FW UPDATES.

  2.1499 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            2181 AMBLESIDE                                         CLEVELAND      OH      44106
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              DRIVE,CLEVELAND,OH,US,
         PORT EXTENDERS. INCLUDES                                              44106
         TAC SUPPORT, SW/FW UPDATES.

  2.1500 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            3939 S FIGUEROA ST,LOS                                 LOS ANGELES    CA      90037
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              ANGELES,CA,US,90037
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.




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  2.1501 SUPPORT CONTRACT - 3YRS -        ADVANCED MEDIA                       2532 DUPONT                                            IRVINE           CA      92612
         BRONZE PLUS MAINT POLAN          TECHNOLOGIES                         DR,IRVINE,CA,US,92612
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1502 SUPPORT CONTRACT - 3YRS -   ADVANCED MEDIA                            5425 BEAUMONT CENTER                                   SALT LAKE CITY   FL      33634
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                              BLVD STE
         PORT EXTENDERS. INCLUDES                                              918,TAMPA,FL,US,33634
         TAC SUPPORT, SW/FW UPDATES.

  2.1503 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1504 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1505 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1506 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1507 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1508 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1509 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        700 BOARDMAN                                           GALLUP           NM      87301
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          DR,GALLUP,NM,US,87301
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1510 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN PORT           TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT.
  2.1511 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        1 AMB DR                                               ATLANTA          GA      30313
         GOLD MAINT POLAN SWITCHING      TECHNOLOGIES                          NW,ATLANTA,GA,US,30313
         EQUIP. INCLUDES TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1512 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        4 N PARK DR STE                                        AUSTIN           MD      21030
         GOLD MAINT POLAN SWITCHING      TECHNOLOGIES                          300,HUNT
         EQUIP. INCLUDES TAC SUPPORT,                                          VALLEY,MD,US,21030
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1513 SUPPORT CONTRACT - 3YRS -       ADVANCED MEDIA                        700 BOARDMAN                                           GALLUP           NM      87301
         GOLD MAINT POLAN SWITCHING      TECHNOLOGIES                          DR,GALLUP,NM,US,87301
         EQUIP. INCLUDES TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.




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  2.1514 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       1 AMB DR                                              ATLANTA       GA      30313
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         NW,ATLANTA,GA,US,30313
         EQUIP. INCLUDES TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1515 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       2181 AMBLESIDE                                        CLEVELAND     OH      44106
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         DRIVE,CLEVELAND,OH,US,
         EQUIP. INCLUDES TAC SUPPORT,                                            44106
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1516 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       2181 AMBLESIDE                                        CLEVELAND     OH      44106
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         DRIVE,CLEVELAND,OH,US,
         EQUIP. INCLUDES TAC SUPPORT,                                            44106
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1517 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       2181 AMBLESIDE                                        CLEVELAND     OH      44106
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         DRIVE,CLEVELAND,OH,US,
         EQUIP. INCLUDES TAC SUPPORT,                                            44106
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1518 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       1 AMB DR                                              ATLANTA       GA      30313
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         NW,ATLANTA,GA,US,30313
         EQUIP. INCLUDES TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1519 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       14355 CHELONIA                                        ST PETERSBURG FL      32821
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         PKWY,ORLANDO,FL,US,328
         EQUIP. INCLUDES TAC SUPPORT,                                            21
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1520 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       ADVANCED MEDIA                                        AUSTIN        FL      33442
         SILVER MAINT POLAN PORT            TECHNOLOGIES                         TECHNOLOGIES INC,3150
         EXTENDERS. INCLUDES TAC                                                 SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1521 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       ADVANCED MEDIA                                        BUMPASS       FL      33442
         SILVER MAINT POLAN PORT            TECHNOLOGIES                         TECHNOLOGIES INC,3150
         EXTENDERS. INCLUDES TAC                                                 SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1522 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       4 N PARK DR STE                                       AUSTIN        MD      21030
         SILVER MAINT POLAN PORT            TECHNOLOGIES                         300,HUNT
         EXTENDERS. INCLUDES TAC                                                 VALLEY,MD,US,21030
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1523 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       1 AMB DR                                              ATLANTA       GA      30313
         SILVER MAINT POLAN PORT            TECHNOLOGIES                         NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1524 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       1 AMB DR                                              ATLANTA       GA      30313
         SILVER MAINT POLAN PORT            TECHNOLOGIES                         NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1525 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       1 AMB DR                                              ATLANTA       GA      30313
         SILVER MAINT POLAN PORT            TECHNOLOGIES                         NW,ATLANTA,GA,US,30313
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1526 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       ADVANCED MEDIA                                        WILLOW STREET FL      33442
         SILVER MAINT POLAN                 TECHNOLOGIES                         TECHNOLOGIES INC,3150
         SWITCHING EQUIP. INCLUDES                                               SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES,                                             BEACH,FL,US,33442
         & RTF REPAIR.




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  2.1527 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       ADVANCED MEDIA                                         WILLOW STREET FL      33442
         SILVER MAINT POLAN                 TECHNOLOGIES                         TECHNOLOGIES INC,3150
         SWITCHING EQUIP. INCLUDES                                               SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES,                                             BEACH,FL,US,33442
         & RTF REPAIR.
  2.1528 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       26376 JOHN RD,OLMSTED                                  OLMSTED FALLS OH      44138
         SILVER MAINT POLAN                 TECHNOLOGIES                         FALLS,OH,US,44138
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.1529 SUPPORT CONTRACT - 3YRS -          ADVANCED MEDIA                       NETWORK ENTERPRISE                                     FORT GEORGE   MD      20755
         SILVER MAINT POLAN                 TECHNOLOGIES                         CENTER (NEC),FORT                                      G MEADE
         SWITCHING EQUIP. INCLUDES                                               GEORGE G
         TAC SUPPORT, SW/FW UPDATES,                                             MEADE,MD,US,20755
         & RTF REPAIR.
  2.1530 SUPPORT CONTRACT - 5YRS -          ADVANCED MEDIA                       ADVANCED MEDIA                                         DELAWARE      FL      33442
         BRONZE PLUS MAINT POLAN            TECHNOLOGIES                         TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                                SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                             BEACH,FL,US,33442

  2.1531 SUPPORT CONTRACT - 5YRS -   ADVANCED MEDIA                              ADVANCED MEDIA                                         DELAWARE      FL      33442
         BRONZE PLUS MAINT POLAN     TECHNOLOGIES                                TECHNOLOGIES INC,3150
         PORT EXTENDERS. INCLUDES                                                SW 15TH ST,DEERFIELD
         TAC SUPPORT, SW/FW UPDATES.                                             BEACH,FL,US,33442

  2.1532 SUPPORT CONTRACT - 5YRS -          ADVANCED MEDIA                       ADVANCED MEDIA                                         DELAWARE      FL      33442
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         TECHNOLOGIES INC,3150
         EQUIP. INCLUDES TAC SUPPORT,                                            SW 15TH ST,DEERFIELD
         SW/FW UPDATES, & ADVANCE                                                BEACH,FL,US,33442
         REPLACEMENT.
  2.1533 SUPPORT CONTRACT - 5YRS -          ADVANCED MEDIA                       ADVANCED MEDIA                                         DELAWARE      FL      33442
         GOLD MAINT POLAN SWITCHING         TECHNOLOGIES                         TECHNOLOGIES INC,3150
         EQUIP. INCLUDES TAC SUPPORT,                                            SW 15TH ST,DEERFIELD
         SW/FW UPDATES, & ADVANCE                                                BEACH,FL,US,33442
         REPLACEMENT.
  2.1534 SUPPORT CONTRACT - ANYHAUL         ADVANCED MEDIA                       ADVANCED MEDIA                                         EDMOND        FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE, INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES &                                                BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1535 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         SAN DIEGO     FL      33442
         EQUIP - BRONZE LIMITED             TECHNOLOGIES                         TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1536 SUPPORT CONTRACT - BACS     ADVANCED MEDIA                              ADVANCED MEDIA                                         LOS ANGELES   FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1537 SUPPORT CONTRACT - BACS     ADVANCED MEDIA                              ADVANCED MEDIA                                         IRVINE        FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  2.1538 SUPPORT CONTRACT - BACS          ADVANCED MEDIA                       40 W UNION                                              MANTI         UT      84642
         EQUIP - BRONZE LIMITED           TECHNOLOGIES                         ST,MANTI,UT,US,84642
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1539 SUPPORT CONTRACT - BACS     ADVANCED MEDIA                            40 W UNION                                              MANTI         UT      84642
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                              ST,MANTI,UT,US,84642
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1540 SUPPORT CONTRACT - BACS     ADVANCED MEDIA                            EATON HALL 2,1511 POLY                                  BILLINGS      MT      59102
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                              DR,BILLINGS,MT,US,59102
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1541 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          ADVANCED MEDIA                                          HERON BAY             33442   CA
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR . ADDS TAC SUPPORT,                                          SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1542 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          ADVANCED MEDIA                                          SAN DIEGO     FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1543 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          ADVANCED MEDIA                                          TAMPA         FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1544 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          370 LAS COLINAS BLVD                                    IRVING        TX      75039
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            E,IRVING,TX,US,75039
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1545 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          2912 COLLINS AVE,MIAMI                                  BLOOMINGTON   FL      33140
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            BEACH,FL,US,33140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1546 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          EATON HALL 2,1511 POLY                                  BILLINGS      MT      59102
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            DR,BILLINGS,MT,US,59102
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1547 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          200 MAIN                                                MEEKER        CO      81641
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MEEKER,CO,US,81641
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1548 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          1231 17TH ST,MIAMI                                      SUNNY ISLES   FL      33139
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            BEACH,FL,US,33139                                       BEACH
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1549 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          100 E RIO SALADO                                        TEMPE         AZ      85281
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            PKWY,TEMPE,AZ,US,85281
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.1550 SUPPORT CONTRACT - BACS          ADVANCED MEDIA                       200 N BERNARD                                         SPOKANE      WA      99201
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,SPOKANE,WA,US,99201
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1551 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          1455 SHORT POLE                                       PANTHER      WV      24872
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            BRANCH
         RENEWAL RATE. INCLUDES TAC                                            RD,PANTHER,WV,US,24872
         SUPPORT, SW/FW UPDATES.

  2.1552 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          218 HIGH                                              MORGANTOWN   WV      26505
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MORGANTOWN,WV,US,
         RENEWAL RATE. INCLUDES TAC                                            26505
         SUPPORT, SW/FW UPDATES.

  2.1553 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          875 HOTEL CIR S,SAN                                   SAN DIEGO    CA      92108
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            DIEGO,CA,US,92108
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1554 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          ATN RODNEY READ,2000 E                                QUITMAN      GA      30106
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            WEST
         RENEWAL RATE. INCLUDES TAC                                            CONNECTOR,AUSTELL,GA,
         SUPPORT, SW/FW UPDATES.                                               US,30106

  2.1555 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          580 GEARY ST,SAN                                      SAN FRANCISCO CA     94102
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            FRANCISCO,CA,US,94102
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1556 SUPPORT CONTRACT - BACS       ADVANCED MEDIA                          3500 SUNRISE HWY,BLDG                                                              GD
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            3,GRENADA,GD
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1557 SUPPORT CONTRACT - BACS         ADVANCED MEDIA                        6511 NATIONAL PIKE,NEW                                NEW BERLIN   NY      13411
         EQUIP - GOLD SUPPORT - 1ST      TECHNOLOGIES                          BERLIN,NY,US,13411
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.1558 SUPPORT CONTRACT - BACS         ADVANCED MEDIA                        ADVANCED MEDIA                                        MANTI        FL      33442
         EQUIP - SILVER SUPPORT - 1ST    TECHNOLOGIES                          TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                               SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1559 SUPPORT CONTRACT - BACS         ADVANCED MEDIA                        ADVANCED MEDIA                                        CLE ELUM     FL      33442
         EQUIP - SILVER SUPPORT - 1ST    TECHNOLOGIES                          TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                               SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1560 SUPPORT CONTRACT - BACS         ADVANCED MEDIA                        ADVANCED MEDIA                                        CATSKILL     FL      33442
         EQUIP - SILVER SUPPORT - 1ST    TECHNOLOGIES                          TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                               SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1561 SUPPORT CONTRACT - BACS         ADVANCED MEDIA                        ADVANCED MEDIA                                        CATSKILL     FL      33442
         EQUIP - SILVER SUPPORT - 1ST    TECHNOLOGIES                          TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                               SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1562 SUPPORT CONTRACT - BACS         ADVANCED MEDIA                        ADVANCED MEDIA                                        MORGANTOWN   FL      33442
         EQUIP - SILVER SUPPORT - 1ST    TECHNOLOGIES                          TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                               SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1563 SUPPORT CONTRACT - BACS         ADVANCED MEDIA                        ADVANCED MEDIA                                        LENEXA       FL      33442
         EQUIP - SILVER SUPPORT - 1ST    TECHNOLOGIES                          TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                               SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442




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  2.1564 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        LYLE         FL      33442
         EQUIP - SILVER SUPPORT - 1ST       TECHNOLOGIES                         TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                                 SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                          BEACH,FL,US,33442
  2.1565 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        CATSKILL     FL      33442
         EQUIP - SILVER SUPPORT - 1ST       TECHNOLOGIES                         TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                                 SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                          BEACH,FL,US,33442
  2.1566 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        MORGANTOWN   FL      33442
         EQUIP - SILVER SUPPORT - 1ST       TECHNOLOGIES                         TECHNOLOGIES INC,3150
         YEAR. ADDS TAC SUPPORT,                                                 SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                          BEACH,FL,US,33442
  2.1567 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       10105 284TH ST E,MYAKKA                               OAKLAND      FL      34251
         EQUIP - SILVER SUPPORT - 1ST       TECHNOLOGIES                         CITY,FL,US,34251
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1568 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        YELLOW       FL      33442
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         TECHNOLOGIES INC,3150                                 SPRINGS
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1569 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        CLE ELUM     FL      33442
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1570 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        MORGANTOWN   FL      33442
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1571 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        CATSKILL     FL      33442
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1572 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        DENVER       FL      33442
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1573 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       50095 E LAKE SHORE                                    DOWAGIAC     MI      49047
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         DR,DOWAGIAC,MI,US,49047
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1574 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                        MORGANTOWN   FL      33442
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1575 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       40 W UNION                                            MANTI        UT      84642
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1576 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       40 W UNION                                            MANTI        UT      84642
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1577 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       10105 284TH ST E,MYAKKA                               OAKLAND      FL      34251
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         CITY,FL,US,34251
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.1578 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         MORGANTOWN       FL      33442
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         RTF REPAIR.
  2.1579 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       213 MAIN                                               MARKLEYSBURG PA          15459
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         ST,MARKLEYSBURG,PA,US
         RENEWAL RATE. INCLUDES TAC                                              ,15459
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1580 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       213 MAIN                                               MARKLEYSBURG PA          15459
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         ST,MARKLEYSBURG,PA,US
         RENEWAL RATE. INCLUDES TAC                                              ,15459
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1581 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       50 W BROADWAY STE                                      SALT LAKE CITY   UT      84101
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         350B,SALT LAKE
         RENEWAL RATE. INCLUDES TAC                                              CITY,UT,US,84101
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1582 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       2771A ROCKFISH VALLEY                                  NELLYSFORD       VA      22958
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         HWY,NELLYSFORD,VA,US,2
         RENEWAL RATE. INCLUDES TAC                                              2958
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1583 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       213 MAIN                                               MARKLEYSBURG PA          15459
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         ST,MARKLEYSBURG,PA,US
         RENEWAL RATE. INCLUDES TAC                                              ,15459
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1584 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       50 W BROADWAY STE                                      SALT LAKE CITY   UT      84101
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         350B,SALT LAKE
         RENEWAL RATE. INCLUDES TAC                                              CITY,UT,US,84101
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1585 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       50 W BROADWAY STE                                      SALT LAKE CITY   UT      84101
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         350B,SALT LAKE
         RENEWAL RATE. INCLUDES TAC                                              CITY,UT,US,84101
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1586 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       603 MUNGER AVE STE                                     DALLAS           TX      75202
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         100,DALLAS,TX,US,75202
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1587 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       603 MUNGER AVE STE                                     DALLAS           TX      75202
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         100,DALLAS,TX,US,75202
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1588 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       1455 SHORT POLE                                        PANTHER          WV      24872
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         BRANCH
         RENEWAL RATE. INCLUDES TAC                                              RD,PANTHER,WV,US,24872
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1589 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       218 HIGH                                               MORGANTOWN       WV      26505
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         ST,MORGANTOWN,WV,US,
         RENEWAL RATE. INCLUDES TAC                                              26505
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1590 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       6155 EL CAMINO                                         CARLSBAD         CA      92009
         EQUIP - SILVER SUPPORT -           TECHNOLOGIES                         REAL,CARLSBAD,CA,US,92
         RENEWAL RATE. INCLUDES TAC                                              009
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.1591 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         WASHINGTON    FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1592 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         CLE ELUM      FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1593 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         GALLUP        FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1594 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         GALLUP        FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1595 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         LOS ANGELES   FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1596 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         OVERLAND PARK FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1597 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1598 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1599 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1600 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                              SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                               BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1601 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       370 LAS COLINAS BLVD                                   IRVING        TX      75039
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         E,IRVING,TX,US,75039
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1602 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       3365 HAYDEN                                            OWENSBORO     KY      42303
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         RD,OWENSBORO,KY,US,42
         RENEWAL RATE. INCLUDES TAC                                              303
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1603 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       200 MAIN                                               MEEKER        CO      81641
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         ST,MEEKER,CO,US,81641
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT




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  2.1604 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       6189 LEHMAN DR,STE                                     COLORADO      CO      80918
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         205,COLORADO                                           SPRINGS
         RENEWAL RATE. INCLUDES TAC                                              SPGS,CO,US,80918
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1605 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       875 HOTEL CIR S,SAN                                    SAN DIEGO     CA      92108
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         DIEGO,CA,US,92108
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1606 SUPPORT CONTRACT - BACS            ADVANCED MEDIA                       3500 SUNRISE HWY,BLDG                                                                GD
         EQUIP- GOLD SUPPORT-               TECHNOLOGIES                         3,GRENADA,GD
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1607 SUPPORT CONTRACT - CPE             ADVANCED MEDIA                       ADVANCED MEDIA                                         WASHINGTON    FL      33442
         EQUIP - BRONZE LIMITED             TECHNOLOGIES                         TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1608 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                              ADVANCED MEDIA                                         GALLUP        FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1609 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                              ADVANCED MEDIA                                         GALLUP        FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1610 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                              ADVANCED MEDIA                                         LOS ANGELES   FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1611 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                              ADVANCED MEDIA                                         OVERLAND PARK FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1612 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                              ADVANCED MEDIA                                         DENVER        FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1613 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                              ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                                TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                                 SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                             BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  2.1614 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       ADVANCED MEDIA                                         FIFE         FL      33442
         EQUIP - BRONZE LIMITED           TECHNOLOGIES                         TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                               SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                           BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1615 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                            ADVANCED MEDIA                                         IRVINE       FL      33442
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                              TECHNOLOGIES INC,3150
         SUPPORT - RENEWAL RATE.                                               SW 15TH ST,DEERFIELD
         INCLUDES TAC SUPPORT, SW/FW                                           BEACH,FL,US,33442
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1616 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                            40 W UNION                                             MANTI        UT      84642
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                              ST,MANTI,UT,US,84642
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1617 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                            40 W UNION                                             MANTI        UT      84642
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                              ST,MANTI,UT,US,84642
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1618 SUPPORT CONTRACT - CPE      ADVANCED MEDIA                            1455 SHORT POLE                                        PANTHER      WV      24872
         EQUIP - BRONZE LIMITED      TECHNOLOGIES                              BRANCH
         SUPPORT - RENEWAL RATE.                                               RD,PANTHER,WV,US,24872
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1619 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         HERON BAY            33442   CA
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1620 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         LINEVILLE    FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1621 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         CATSKILL     FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1622 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         TEUTOPOLIS   FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1623 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         TEUTOPOLIS   FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1624 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         LYLE         FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1625 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         CATSKILL     FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442




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  2.1626 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       6511 NATIONAL PIKE,NEW                                 NEW BERLIN    NY      13411
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            BERLIN,NY,US,13411
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1627 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       40 W UNION                                             MANTI         UT      84642
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MANTI,UT,US,84642
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1628 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       10105 284TH ST E,MYAKKA                                OAKLAND       FL      34251
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            CITY,FL,US,34251
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1629 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       ADVANCED MEDIA                                         TEUTOPOLIS    FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1630 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       ADVANCED MEDIA                                         YELLOW        FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150                                  SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1631 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         CLE ELUM      FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1632 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         GALLUP        FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1633 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         SAN DIEGO     FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1634 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         LOS ANGELES   FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1635 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         TAMPA         FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1636 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         DELAWARE      FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1637 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         DENVER        FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1638 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                         IRVINE        FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1639 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          50095 E LAKE SHORE                                     DOWAGIAC      MI      49047
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            DR,DOWAGIAC,MI,US,49047
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.1640 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       40 W UNION                                              MANTI         UT      84642
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1641 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          10105 284TH ST E,MYAKKA                                 OAKLAND       FL      34251
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            CITY,FL,US,34251
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1642 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          ADVANCED MEDIA                                          TEUTOPOLIS    FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1643 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          2912 COLLINS AVE,MIAMI                                  BLOOMINGTON   FL      33140
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            BEACH,FL,US,33140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1644 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          EATON HALL 2,1511 POLY                                  BILLINGS      MT      59102
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            DR,BILLINGS,MT,US,59102
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1645 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          213 MAIN                                                MARKLEYSBURG PA       15459
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MARKLEYSBURG,PA,US
         RENEWAL RATE. INCLUDES TAC                                            ,15459
         SUPPORT, SW/FW UPDATES.

  2.1646 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          200 MAIN                                                MEEKER        CO      81641
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MEEKER,CO,US,81641
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1647 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          1231 17TH ST,MIAMI                                      SUNNY ISLES   FL      33139
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            BEACH,FL,US,33139                                       BEACH
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1648 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          2771A ROCKFISH VALLEY                                   NELLYSFORD    VA      22958
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            HWY,NELLYSFORD,VA,US,2
         RENEWAL RATE. INCLUDES TAC                                            2958
         SUPPORT, SW/FW UPDATES.

  2.1649 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          100 E RIO SALADO                                        TEMPE         AZ      85281
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            PKWY,TEMPE,AZ,US,85281
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1650 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          1151 VALLEY MALL                                        BRIDGEPORT    WA      98802
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            PKWY,EAST
         RENEWAL RATE. INCLUDES TAC                                            WENATCHEE,WA,US,98802
         SUPPORT, SW/FW UPDATES.

  2.1651 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          1151 VALLEY MALL                                        BRIDGEPORT    WA      98802
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            PKWY,EAST
         RENEWAL RATE. INCLUDES TAC                                            WENATCHEE,WA,US,98802
         SUPPORT, SW/FW UPDATES.

  2.1652 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          1151 VALLEY MALL                                        BRIDGEPORT    WA      98802
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            PKWY,EAST
         RENEWAL RATE. INCLUDES TAC                                            WENATCHEE,WA,US,98802
         SUPPORT, SW/FW UPDATES.




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  2.1653 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       1151 VALLEY MALL                                      BRIDGEPORT       WA      98802
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            PKWY,EAST
         RENEWAL RATE. INCLUDES TAC                                            WENATCHEE,WA,US,98802
         SUPPORT, SW/FW UPDATES.

  2.1654 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          300 DEWEY                                             EUREKA           MT      59917
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            AVE,EUREKA,MT,US,59917
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1655 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          6189 LEHMAN DR,STE                                    COLORADO         CO      80918
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            205,COLORADO                                          SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            SPGS,CO,US,80918
         SUPPORT, SW/FW UPDATES.

  2.1656 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          213 MAIN                                              MARKLEYSBURG PA          15459
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MARKLEYSBURG,PA,US
         RENEWAL RATE. INCLUDES TAC                                            ,15459
         SUPPORT, SW/FW UPDATES.

  2.1657 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          50 W BROADWAY STE                                     SALT LAKE CITY   UT      84101
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            350B,SALT LAKE
         RENEWAL RATE. INCLUDES TAC                                            CITY,UT,US,84101
         SUPPORT, SW/FW UPDATES.

  2.1658 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          50 W BROADWAY STE                                     SALT LAKE CITY   UT      84101
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            350B,SALT LAKE
         RENEWAL RATE. INCLUDES TAC                                            CITY,UT,US,84101
         SUPPORT, SW/FW UPDATES.

  2.1659 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          50 W BROADWAY STE                                     SALT LAKE CITY   UT      84101
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            350B,SALT LAKE
         RENEWAL RATE. INCLUDES TAC                                            CITY,UT,US,84101
         SUPPORT, SW/FW UPDATES.

  2.1660 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          200 N BERNARD                                         SPOKANE          WA      99201
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,SPOKANE,WA,US,99201
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1661 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          603 MUNGER AVE STE                                    DALLAS           TX      75202
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            100,DALLAS,TX,US,75202
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1662 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          603 MUNGER AVE STE                                    DALLAS           TX      75202
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            100,DALLAS,TX,US,75202
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1663 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          875 HOTEL CIR S,SAN                                   SAN DIEGO        CA      92108
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            DIEGO,CA,US,92108
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1664 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          6155 EL CAMINO                                        CARLSBAD         CA      92009
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            REAL,CARLSBAD,CA,US,92
         RENEWAL RATE. INCLUDES TAC                                            009
         SUPPORT, SW/FW UPDATES.

  2.1665 SUPPORT CONTRACT - CPE        ADVANCED MEDIA                          6155 EL CAMINO                                        CARLSBAD         CA      92009
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            REAL,CARLSBAD,CA,US,92
         RENEWAL RATE. INCLUDES TAC                                            009
         SUPPORT, SW/FW UPDATES.




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  2.1666 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       580 GEARY ST,SAN                                       SAN FRANCISCO CA      94102
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            FRANCISCO,CA,US,94102
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1667 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ADVANCED MEDIA                                         CATSKILL      FL      33442
         EQUIP - SILVER SUPPORT -        TECHNOLOGIES                          TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                             BEACH,FL,US,33442
         RTF REPAIR.
  2.1668 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP - SILVER SUPPORT -        TECHNOLOGIES                          TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                             BEACH,FL,US,33442
         RTF REPAIR.
  2.1669 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP - SILVER SUPPORT -        TECHNOLOGIES                          TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                             BEACH,FL,US,33442
         RTF REPAIR.
  2.1670 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP - SILVER SUPPORT -        TECHNOLOGIES                          TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                             BEACH,FL,US,33442
         RTF REPAIR.
  2.1671 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ADVANCED MEDIA                                         FIFE          FL      33442
         EQUIP - SILVER SUPPORT -        TECHNOLOGIES                          TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                             BEACH,FL,US,33442
         RTF REPAIR.
  2.1672 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        40 W UNION                                             MANTI         UT      84642
         EQUIP - SILVER SUPPORT -        TECHNOLOGIES                          ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1673 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        40 W UNION                                             MANTI         UT      84642
         EQUIP - SILVER SUPPORT -        TECHNOLOGIES                          ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1674 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ADVANCED MEDIA                                         WASHINGTON    FL      33442
         EQUIP- GOLD SUPPORT-            TECHNOLOGIES                          TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                             BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1675 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ADVANCED MEDIA                                         OVERLAND PARK FL      33442
         EQUIP- GOLD SUPPORT-            TECHNOLOGIES                          TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES, &                                             BEACH,FL,US,33442
         ADVANCE REPLACEMENT
  2.1676 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        370 LAS COLINAS BLVD                                   IRVING        TX      75039
         EQUIP- GOLD SUPPORT-            TECHNOLOGIES                          E,IRVING,TX,US,75039
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1677 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        3365 HAYDEN                                            OWENSBORO     KY      42303
         EQUIP- GOLD SUPPORT-            TECHNOLOGIES                          RD,OWENSBORO,KY,US,42
         RENEWAL RATE. INCLUDES TAC                                            303
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1678 SUPPORT CONTRACT - CPE          ADVANCED MEDIA                        ATN RODNEY READ,2000 E                                 QUITMAN       GA      30106
         EQUIP- GOLD SUPPORT-            TECHNOLOGIES                          WEST
         RENEWAL RATE. INCLUDES TAC                                            CONNECTOR,AUSTELL,GA,
         SUPPORT, SW/FW UPDATES, &                                             US,30106
         ADVANCE REPLACEMENT




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  2.1679 SUPPORT CONTRACT - CPE           ADVANCED MEDIA                       3500 SUNRISE HWY,BLDG                                                                GD
         EQUIP- GOLD SUPPORT-             TECHNOLOGIES                         3,GRENADA,GD
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1680 SUPPORT CONTRACT - NMS           ADVANCED MEDIA                       ADVANCED MEDIA                                         DOWAGIAC      FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         1ST YEAR. ADDS TAC SUPPORT,                                           SW 15TH ST,DEERFIELD
         SW/FW UPDATES.                                                        BEACH,FL,US,33442
  2.1681 SUPPORT CONTRACT - NMS           ADVANCED MEDIA                       ADVANCED MEDIA                                         YELLOW        FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150                                  SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1682 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          ADVANCED MEDIA                                         WASHINGTON    FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1683 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          ADVANCED MEDIA                                         CLE ELUM      FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1684 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          ADVANCED MEDIA                                         LOS ANGELES   FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1685 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          ADVANCED MEDIA                                         TAMPA         FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1686 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          ADVANCED MEDIA                                         OVERLAND PARK FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1687 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          ADVANCED MEDIA                                         DENVER        FL      33442
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                            SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                               BEACH,FL,US,33442

  2.1688 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          50095 E LAKE SHORE                                     DOWAGIAC      MI      49047
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            DR,DOWAGIAC,MI,US,49047
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1689 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          40 W UNION                                             MANTI         UT      84642
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1690 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          40 W UNION                                             MANTI         UT      84642
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1691 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                          370 LAS COLINAS BLVD                                   IRVING        TX      75039
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                            E,IRVING,TX,US,75039
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.1692 SUPPORT CONTRACT - NMS           ADVANCED MEDIA                             2912 COLLINS AVE,MIAMI                                  BLOOMINGTON   FL      33140
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                                  BEACH,FL,US,33140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1693 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                                200 MAIN                                                MEEKER        CO      81641
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                                  ST,MEEKER,CO,US,81641
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1694 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                                1231 17TH ST,MIAMI                                      SUNNY ISLES   FL      33139
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                                  BEACH,FL,US,33139                                       BEACH
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1695 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                                2771A ROCKFISH VALLEY                                   NELLYSFORD    VA      22958
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                                  HWY,NELLYSFORD,VA,US,2
         RENEWAL RATE. INCLUDES TAC                                                  2958
         SUPPORT, SW/FW UPDATES.

  2.1696 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                                200 N BERNARD                                           SPOKANE       WA      99201
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                                  ST,SPOKANE,WA,US,99201
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1697 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                                ATN RODNEY READ,2000 E                                  QUITMAN       GA      30106
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                                  WEST
         RENEWAL RATE. INCLUDES TAC                                                  CONNECTOR,AUSTELL,GA,
         SUPPORT, SW/FW UPDATES.                                                     US,30106

  2.1698 SUPPORT CONTRACT - NMS        ADVANCED MEDIA                                3500 SUNRISE HWY,BLDG                                                                 GD
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGIES                                  3,GRENADA,GD
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1699 SUPPORT CONTRACT - NMS          ADVANCED MEDIA                              ADVANCED MEDIA                                          FIFE          FL      33442
         EQUIP - BRONZE SUPPORT -        TECHNOLOGIES                                TECHNOLOGIES INC,3150
         RENEWAL RATE. INCLUDES TAC                                                  SW 15TH ST,DEERFIELD
         SUPPORT, SW/FW UPDATES.                                                     BEACH,FL,US,33442
         BEST EFFORT.
  2.1700 SUPPORT CONTRACT - NMS          ADVANCED MEDIA                              1455 SHORT POLE                                         PANTHER       WV      24872
         EQUIP - BRONZE SUPPORT -        TECHNOLOGIES                                BRANCH
         RENEWAL RATE. INCLUDES TAC                                                  RD,PANTHER,WV,US,24872
         SUPPORT, SW/FW UPDATES.
         BEST EFFORT.
  2.1701 SUPPORT CONTRACT - BACS         AECOM TECHNICAL SERVICES                    601 E STREET                                            WASHINGTON    DC      20049
         EQUIP - BRONZE LIMITED          INC                                         NW,WASHINGTON,DC,US,2
         SUPPORT - RENEWAL RATE.                                                     0049
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1702 SUPPORT CONTRACT - BACS     AECOM TECHNICAL SERVICES                        4 N PARK DR STE                                         ROCKVILLE     MD      21030
         EQUIP - BRONZE LIMITED      INC                                             300,HUNT
         SUPPORT - RENEWAL RATE.                                                     VALLEY,MD,US,21030
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1703 SUPPORT CONTRACT - BACS       AECOM TECHNICAL SERVICES                      C/O INTERCONTINENTAL                                    SAN DIEGO     CA      92101
         EQUIP - BRONZE PLUS SUPPORT - INC                                           SAN DIEGO,901
         RENEWAL RATE. INCLUDES TAC                                                  BAYFRONT CT,STE 1,SAN
         SUPPORT, SW/FW UPDATES.                                                     DIEGO,CA,US,92101




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  2.1704 SUPPORT CONTRACT - BACS            AECOM TECHNICAL SERVICES                    601 E STREET                                          WASHINGTON   DC      20049
         EQUIP- GOLD SUPPORT-               INC                                         NW,WASHINGTON,DC,US,2
         RENEWAL RATE. INCLUDES TAC                                                     0049
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1705 SUPPORT CONTRACT - BACS            AECOM TECHNICAL SERVICES                    4 N PARK DR STE                                       ROCKVILLE    MD      21030
         EQUIP- GOLD SUPPORT-               INC                                         300,HUNT
         RENEWAL RATE. INCLUDES TAC                                                     VALLEY,MD,US,21030
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1706 SUPPORT CONTRACT - BACS            AECOM TECHNICAL SERVICES                    100 AMICA                                             NORTH        RI      02865
         EQUIP- GOLD SUPPORT-               INC                                         WAY,LINCOLN,RI,US,02865                               STONINGTON
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1707 SUPPORT CONTRACT - BACS            AECOM TECHNICAL SERVICES                    100 AMICA                                             NORTH        RI      02865
         EQUIP- GOLD SUPPORT-               INC                                         WAY,LINCOLN,RI,US,02865                               STONINGTON
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1708 SUPPORT CONTRACT - BACS            AECOM TECHNICAL SERVICES                    C/O INTERCONTINENTAL                                  SAN DIEGO    CA      92101
         EQUIP- GOLD SUPPORT-               INC                                         SAN DIEGO,901
         RENEWAL RATE. INCLUDES TAC                                                     BAYFRONT CT,STE 1,SAN
         SUPPORT, SW/FW UPDATES, &                                                      DIEGO,CA,US,92101
         ADVANCE REPLACEMENT
  2.1709 SUPPORT CONTRACT - CPE             AECOM TECHNICAL SERVICES                    601 E STREET                                          WASHINGTON   DC      20049
         EQUIP - BRONZE LIMITED             INC                                         NW,WASHINGTON,DC,US,2
         SUPPORT - RENEWAL RATE.                                                        0049
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1710 SUPPORT CONTRACT - CPE      AECOM TECHNICAL SERVICES                           4 N PARK DR STE                                       ROCKVILLE    MD      21030
         EQUIP - BRONZE LIMITED      INC                                                300,HUNT
         SUPPORT - RENEWAL RATE.                                                        VALLEY,MD,US,21030
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1711 SUPPORT CONTRACT - CPE        AECOM TECHNICAL SERVICES                         C/O INTERCONTINENTAL                                  SAN DIEGO    CA      92101
         EQUIP - BRONZE PLUS SUPPORT - INC                                              SAN DIEGO,901
         RENEWAL RATE. INCLUDES TAC                                                     BAYFRONT CT,STE 1,SAN
         SUPPORT, SW/FW UPDATES.                                                        DIEGO,CA,US,92101

  2.1712 SUPPORT CONTRACT - CPE             AECOM TECHNICAL SERVICES                    601 E STREET                                          WASHINGTON   DC      20049
         EQUIP - SILVER SUPPORT -           INC                                         NW,WASHINGTON,DC,US,2
         RENEWAL RATE. INCLUDES TAC                                                     0049
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1713 SUPPORT CONTRACT - CPE             AECOM TECHNICAL SERVICES                    4 N PARK DR STE                                       ROCKVILLE    MD      21030
         EQUIP - SILVER SUPPORT -           INC                                         300,HUNT
         RENEWAL RATE. INCLUDES TAC                                                     VALLEY,MD,US,21030
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1714 SUPPORT CONTRACT - CPE             AECOM TECHNICAL SERVICES                    100 AMICA                                             NORTH        RI      02865
         EQUIP- GOLD SUPPORT-               INC                                         WAY,LINCOLN,RI,US,02865                               STONINGTON
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1715 SUPPORT CONTRACT - CPE             AECOM TECHNICAL SERVICES                    100 AMICA                                             NORTH        RI      02865
         EQUIP- GOLD SUPPORT-               INC                                         WAY,LINCOLN,RI,US,02865                               STONINGTON
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT




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  2.1716 SUPPORT CONTRACT - NMS           AECOM TECHNICAL SERVICES                    601 E STREET                                          WASHINGTON   DC      20049
         EQUIP - BRONZE PLUS SUPPORT - INC                                            NW,WASHINGTON,DC,US,2
         RENEWAL RATE. INCLUDES TAC                                                   0049
         SUPPORT, SW/FW UPDATES.

  2.1717 SUPPORT CONTRACT - NMS        AECOM TECHNICAL SERVICES                       4 N PARK DR STE                                       ROCKVILLE    MD      21030
         EQUIP - BRONZE PLUS SUPPORT - INC                                            300,HUNT
         RENEWAL RATE. INCLUDES TAC                                                   VALLEY,MD,US,21030
         SUPPORT, SW/FW UPDATES.

  2.1718 SUPPORT CONTRACT - NMS        AECOM TECHNICAL SERVICES                       100 AMICA                                             NORTH        RI      02865
         EQUIP - BRONZE PLUS SUPPORT - INC                                            WAY,LINCOLN,RI,US,02865                               STONINGTON
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1719 SUPPORT CONTRACT - NMS        AECOM TECHNICAL SERVICES                       100 AMICA                                             NORTH        RI      02865
         EQUIP - BRONZE PLUS SUPPORT - INC                                            WAY,LINCOLN,RI,US,02865                               STONINGTON
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1720 SUPPORT CONTRACT - NMS        AECOM TECHNICAL SERVICES                       C/O INTERCONTINENTAL                                  SAN DIEGO    CA      92101
         EQUIP - BRONZE PLUS SUPPORT - INC                                            SAN DIEGO,901
         RENEWAL RATE. INCLUDES TAC                                                   BAYFRONT CT,STE 1,SAN
         SUPPORT, SW/FW UPDATES.                                                      DIEGO,CA,US,92101

  2.1721 SUPPORT CONTRACT - BACS     AL HADATHA TELECOM                               AL MADINA AL MUNAWARA                                 AMMAN                11953   JO
         EQUIP - BRONZE LIMITED      TECHNOLOGY                                       ST JAD CENTRE 2 FL,PO
         SUPPORT - RENEWAL RATE.                                                      BOX 4850,AMMAN,JO,11953
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1722 SUPPORT CONTRACT - BACS       AL HADATHA TELECOM                             AL MADINA AL MUNAWARA                                 AMMAN                11953   JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                                     ST JAD CENTRE 2 FL,PO
         RENEWAL RATE. INCLUDES TAC                                                   BOX 4850,AMMAN,JO,11953
         SUPPORT, SW/FW UPDATES.

  2.1723 SUPPORT CONTRACT - BACS        AL HADATHA TELECOM                            PO BOX 4850,AL MADINA                                 AMMAN                11953   JO
         EQUIP - SILVER SUPPORT - 1ST   TECHNOLOGY                                    AL MUNAWARA ST JAD
         YEAR. ADDS TAC SUPPORT,                                                      CENTRE 2 FL,AMMAN,THE
         SW/FW UPDATES.                                                               CAPITAL,JO,11953
  2.1724 SUPPORT CONTRACT - BACS        AL HADATHA TELECOM                            PO BOX 4850,AL MADINA                                 AMMAN                11953   JO
         EQUIP - SILVER SUPPORT - 1ST   TECHNOLOGY                                    AL MUNAWARA ST JAD
         YEAR. ADDS TAC SUPPORT,                                                      CENTRE 2 FL,AMMAN,THE
         SW/FW UPDATES.                                                               CAPITAL,JO,11953
  2.1725 SUPPORT CONTRACT - BACS        AL HADATHA TELECOM                            PO BOX 4850,AL MADINA                                 AMMAN                11953   JO
         EQUIP - SILVER SUPPORT - 1ST   TECHNOLOGY                                    AL MUNAWARA ST JAD
         YEAR. ADDS TAC SUPPORT,                                                      CENTRE 2 FL,AMMAN,THE
         SW/FW UPDATES.                                                               CAPITAL,JO,11953
  2.1726 SUPPORT CONTRACT - BACS        AL HADATHA TELECOM                            AL MADINA AL MUNAWARA                                 AMMAN                11953   JO
         EQUIP - SILVER SUPPORT - 1ST   TECHNOLOGY                                    ST JAD CENTRE 2 FL,PO
         YEAR. ADDS TAC SUPPORT,                                                      BOX 4850,AMMAN,JO,11953
         SW/FW UPDATES.
  2.1727 SUPPORT CONTRACT - CPE         AL HADATHA TELECOM                            AL MADINA AL MUNAWARA                                 AMMAN                11953   JO
         EQUIP - BRONZE LIMITED         TECHNOLOGY                                    ST JAD CENTRE 2 FL,PO
         SUPPORT - RENEWAL RATE.                                                      BOX 4850,AMMAN,JO,11953
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1728 SUPPORT CONTRACT - CPE        AL HADATHA TELECOM                             AL MADINA AL MUNAWARA                                 AMMAN                11953   JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                                     ST JAD CENTRE 2 FL,PO
         1ST YEAR. ADDS TAC SUPPORT,                                                  BOX 4850,AMMAN,JO,11953
         SW/FW UPDATES.




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  2.1729 SUPPORT CONTRACT - CPE           AL HADATHA TELECOM                    AL MADINA AL MUNAWARA                                 AMMAN              11953       JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                               ST JAD CENTRE 2 FL,PO
         1ST YEAR. ADDS TAC SUPPORT,                                            BOX 4850,AMMAN,JO,11953
         SW/FW UPDATES.
  2.1730 SUPPORT CONTRACT - CPE           AL HADATHA TELECOM                    PO BOX 4850,AL MADINA                                 AMMAN              11953       JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                               AL MUNAWARA ST JAD
         1ST YEAR. ADDS TAC SUPPORT,                                            CENTRE 2 FL,AMMAN,THE
         SW/FW UPDATES.                                                         CAPITAL,JO,11953
  2.1731 SUPPORT CONTRACT - CPE           AL HADATHA TELECOM                    PO BOX 4850,AL MADINA                                 AMMAN              11953       JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                               AL MUNAWARA ST JAD
         1ST YEAR. ADDS TAC SUPPORT,                                            CENTRE 2 FL,AMMAN,THE
         SW/FW UPDATES.                                                         CAPITAL,JO,11953
  2.1732 SUPPORT CONTRACT - CPE           AL HADATHA TELECOM                    PO BOX 4850,AL MADINA                                 AMMAN              11953       JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                               AL MUNAWARA ST JAD
         1ST YEAR. ADDS TAC SUPPORT,                                            CENTRE 2 FL,AMMAN,THE
         SW/FW UPDATES.                                                         CAPITAL,JO,11953
  2.1733 SUPPORT CONTRACT - CPE           AL HADATHA TELECOM                    PO BOX 4850,AL MADINA                                 AMMAN              11953       JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                               AL MUNAWARA ST JAD
         1ST YEAR. ADDS TAC SUPPORT,                                            CENTRE 2 FL,AMMAN,THE
         SW/FW UPDATES.                                                         CAPITAL,JO,11953
  2.1734 SUPPORT CONTRACT - CPE           AL HADATHA TELECOM                    AL MADINA AL MUNAWARA                                 AMMAN              11953       JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                               ST JAD CENTRE 2 FL,PO
         1ST YEAR. ADDS TAC SUPPORT,                                            BOX 4850,AMMAN,JO,11953
         SW/FW UPDATES.
  2.1735 SUPPORT CONTRACT - CPE           AL HADATHA TELECOM                    AL MADINA AL MUNAWARA                                 AMMAN              11953       JO
         EQUIP - BRONZE PLUS SUPPORT - TECHNOLOGY                               ST JAD CENTRE 2 FL,PO
         RENEWAL RATE. INCLUDES TAC                                             BOX 4850,AMMAN,JO,11953
         SUPPORT, SW/FW UPDATES.

  2.1736 SUPPORT CONTRACT - BACS     ALGAR TELECOM                              RUA R JOSE ALVES                                      CURITIBA           39400-668   BR
         EQUIP - BRONZE LIMITED                                                 GARCIA
         SUPPORT - RENEWAL RATE.                                                415,UBERLANDIA,BR,39400-
         INCLUDES TAC SUPPORT, SW/FW                                            668
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1737 SUPPORT CONTRACT - BACS       ALGAR TELECOM                            RUA R JOSE ALVES                                      CURITIBA           39400-668   BR
         EQUIP - BRONZE PLUS SUPPORT -                                          GARCIA
         RENEWAL RATE. INCLUDES TAC                                             415,UBERLANDIA,BR,39400-
         SUPPORT, SW/FW UPDATES.                                                668

  2.1738 SUPPORT CONTRACT - CPE      ALGAR TELECOM                              RUA R JOSE ALVES                                      CURITIBA           39400-668   BR
         EQUIP - BRONZE LIMITED                                                 GARCIA
         SUPPORT - RENEWAL RATE.                                                415,UBERLANDIA,BR,39400-
         INCLUDES TAC SUPPORT, SW/FW                                            668
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1739 SUPPORT CONTRACT - CPE        ALGAR TELECOM                            RUA R JOSE ALVES                                      CURITIBA           39400-668   BR
         EQUIP - BRONZE PLUS SUPPORT -                                          GARCIA
         RENEWAL RATE. INCLUDES TAC                                             415,UBERLANDIA,BR,39400-
         SUPPORT, SW/FW UPDATES.                                                668

  2.1740 SUPPORT CONTRACT - NMS        ALGAR TELECOM                            RUA R JOSE ALVES                                      CURITIBA           39400-668   BR
         EQUIP - BRONZE PLUS SUPPORT -                                          GARCIA
         RENEWAL RATE. INCLUDES TAC                                             415,UBERLANDIA,BR,39400-
         SUPPORT, SW/FW UPDATES.                                                668

  2.1741 SUPPORT CONTRACT - 3YRS -   ALLIANCE COMMUNICATION                     70 DEMAREST                                           WAYNE      NJ      07470
         BRONZE PLUS MAINT POLAN     CABLES, INC                                DR,WAYNE,NJ,US,07470
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.




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  2.1742 SUPPORT CONTRACT - 3YRS -          ALLIANCE COMMUNICATION                       70 DEMAREST                                            WAYNE        NJ      07470
         SILVER MAINT POLAN                 CABLES, INC                                  DR,WAYNE,NJ,US,07470
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.1743 SUPPORT CONTRACT - BACS            ALLIANCE COMMUNICATION                       19 TALLOW LN,LAKE                                      LAKE GROVE   NY      11755
         EQUIP - BRONZE LIMITED             CABLES, INC                                  GROVE,NY,US,11755
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1744 SUPPORT CONTRACT - CPE      ALLIANCE COMMUNICATION                              19 TALLOW LN,LAKE                                      LAKE GROVE   NY      11755
         EQUIP - BRONZE LIMITED      CABLES, INC                                         GROVE,NY,US,11755
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1745 SUPPORT CONTRACT - CPE        ALLIANCE COMMUNICATION                            19 TALLOW LN,LAKE                                      LAKE GROVE   NY      11755
         EQUIP - BRONZE PLUS SUPPORT - CABLES, INC                                       GROVE,NY,US,11755
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1746 SUPPORT CONTRACT - NMS        ALLIANCE COMMUNICATION                            19 TALLOW LN,LAKE                                      LAKE GROVE   NY      11755
         EQUIP - BRONZE PLUS SUPPORT - CABLES, INC                                       GROVE,NY,US,11755
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1747 SUPPORT CONTRACT - BACS            AL-NAYI FOR INFORMATIONAL                    314 ZAHRAN ST,AMMAN-                                   AMMAN                AN,JO     JO
         EQUIP - SILVER SUPPORT - 1ST       AND COMMUNICATIONAL CONS                     JORDAN,AMMAN,JO
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1748 SUPPORT CONTRACT - BACS            AL-NAYI FOR INFORMATIONAL                    ZAHRAN STREET,AL-                                      AMMAN                AN,JO     JO
         EQUIP - SILVER SUPPORT - 1ST       AND COMMUNICATIONAL CONS                     HUSAINI BUILDING NO.314
         YEAR. ADDS TAC SUPPORT,                                                         7TH FLOOR,OFFICE
         SW/FW UPDATES.                                                                  NO.715,AMMAN,JO

  2.1749 SUPPORT CONTRACT - NMS        AL-NAYI FOR INFORMATIONAL                         ZAHRAN STREET,AL-                                      AMMAN                AN,JO     JO
         EQUIP - BRONZE PLUS SUPPORT - AND COMMUNICATIONAL CONS                          HUSAINI BUILDING NO.314
         1ST YEAR. ADDS TAC SUPPORT,                                                     7TH FLOOR,OFFICE
         SW/FW UPDATES.                                                                  NO.715,AMMAN,JO

  2.1750 SUPPORT CONTRACT - 3YRS -     ANIXTER CANADA                                    801, RUE BRENNAN,6E                                    MONTREAL     QC      H3C0G4    CA
         SILVER MAINT POLAN PORT                                                         ETAGE, LOUIS-
         EXTENDERS. INCLUDES TAC                                                         CHARLAND,MONTREAL,QC,
         SUPPORT, SW/FW UPDATES, &                                                       CA,H3C0G4
         RTF REPAIR.
  2.1751 SUPPORT CONTRACT - BACS       ANIXTER CANADA                                    6465 ROUTE                                             MONTREAL     QC      H4T1S3    CA
         EQUIP - BRONZE PLUS SUPPORT -                                                   TRANSCANADIENNE,SAINT
         RENEWAL RATE. INCLUDES TAC                                                      -LAURENT,QC,CA,H4T1S3
         SUPPORT, SW/FW UPDATES.

  2.1752 SUPPORT CONTRACT - BACS     ANIXTER CANADA                                      3650 RIVER DRIVE,UNIT                                  KITIMAT      BC      V8G 3N9   CA
         EQUIP - SILVER SUPPORT -                                                        2,TERRACE,BC,CA,V8G 3N9
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1753 SUPPORT CONTRACT - CPE      ANIXTER CANADA                                      3650 RIVER DRIVE,UNIT                                  KITIMAT      BC      V8G 3N9   CA
         EQUIP - BRONZE LIMITED                                                          2,TERRACE,BC,CA,V8G 3N9
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.1754 SUPPORT CONTRACT - CPE           ANIXTER CANADA                       6465 ROUTE                                            MONTREAL      QC      H4T1S3    CA
         EQUIP - BRONZE LIMITED                                                TRANSCANADIENNE,SAINT
         SUPPORT - RENEWAL RATE.                                               -LAURENT,QC,CA,H4T1S3
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1755 SUPPORT CONTRACT - CPE        ANIXTER CANADA                          3650 RIVER DRIVE,UNIT                                 KITIMAT       BC      V8G 3N9   CA
         EQUIP - BRONZE PLUS SUPPORT -                                         2,TERRACE,BC,CA,V8G 3N9
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1756 SUPPORT CONTRACT - CPE        ANIXTER CANADA                          6465 ROUTE                                            MONTREAL      QC      H4T1S3    CA
         EQUIP - BRONZE PLUS SUPPORT -                                         TRANSCANADIENNE,SAINT
         RENEWAL RATE. INCLUDES TAC                                            -LAURENT,QC,CA,H4T1S3
         SUPPORT, SW/FW UPDATES.

  2.1757 SUPPORT CONTRACT - NMS        ANIXTER CANADA                          3650 RIVER DRIVE,UNIT                                 KITIMAT       BC      V8G 3N9   CA
         EQUIP - BRONZE PLUS SUPPORT -                                         2,TERRACE,BC,CA,V8G 3N9
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1758 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               CIRAGAN CAD. NO:32                                    ISTANBUL              34349     TR
         BRONZE PLUS MAINT POLAN                                               YILDIZ /
         NETWORK MGMT SW. INCLUDES                                             BESIKTAS,ISTANBUL,TR,34
         TAC SUPPORT, SW/FW UPDATES.                                           349

  2.1759 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               ANIXTER MIAMI HUB,11420                               SAN JOSE              33178     CR
         BRONZE PLUS MAINT POLAN                                               NW 122ND ST STE
         PORT EXTENDERS. INCLUDES                                              100,MEDLEY,FL,US,33178
         TAC SUPPORT, SW/FW UPDATES.

  2.1760 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               C. JUAN IGNACIO MATUTE                                GUADALAJARA           44500     MX
         BRONZE PLUS MAINT POLAN                                               247 COLONIA ARCOS
         PORT EXTENDERS. INCLUDES                                              SUR,CP
         TAC SUPPORT, SW/FW UPDATES.                                           44500,GUADALAJARA,JAL,
                                                                               MX,44500
  2.1761 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               PIAZZA SALLUSTIO                                      ROMA                  00187     IT
         BRONZE PLUS MAINT POLAN                                               18,ROMA,IT,00187
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1762 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               PIAZZA SALLUSTIO                                      ROMA                  00187     IT
         BRONZE PLUS MAINT POLAN                                               18,ROMA,IT,00187
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.1763 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               CIRAGAN CAD. NO:32                                    ISTANBUL              34349     TR
         BRONZE PLUS MAINT POLAN                                               YILDIZ /
         PORT EXTENDERS. INCLUDES                                              BESIKTAS,ISTANBUL,TR,34
         TAC SUPPORT, SW/FW UPDATES.                                           349

  2.1764 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               6700 N GAYLORD                                        AURORA        CO      80019
         BRONZE PLUS MAINT POLAN                                               ROCKIES
         PORT EXTENDERS. INCLUDES                                              BLVD,AURORA,CO,US,8001
         TAC SUPPORT, SW/FW UPDATES.                                           9

  2.1765 SUPPORT CONTRACT - 3YRS -   ANIXTER INC                               1802 CHUKKA                                           DURANT        OK      74701
         BRONZE PLUS MAINT POLAN                                               HINA,DURANT,OK,US,74701
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.




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  2.1766 SUPPORT CONTRACT - 3YRS -          ANIXTER INC                          ANIXTER MIAMI HUB,11420                               SAN JOSE               33178   CR
         SILVER MAINT POLAN                                                      NW 122ND ST STE
         SWITCHING EQUIP. INCLUDES                                               100,MEDLEY,FL,US,33178
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.1767 SUPPORT CONTRACT - 3YRS -          ANIXTER INC                          PIAZZA SALLUSTIO                                      ROMA                   00187   IT
         SILVER MAINT POLAN                                                      18,ROMA,IT,00187
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.1768 SUPPORT CONTRACT - 3YRS -          ANIXTER INC                          CIRAGAN CAD. NO:32                                    ISTANBUL               34349   TR
         SILVER MAINT POLAN                                                      YILDIZ /
         SWITCHING EQUIP. INCLUDES                                               BESIKTAS,ISTANBUL,TR,34
         TAC SUPPORT, SW/FW UPDATES,                                             349
         & RTF REPAIR.
  2.1769 SUPPORT CONTRACT - 5YRS -          ANIXTER INC                          21452 ROYALTON                                        STRONGSVILLE   OH      44149
         BRONZE PLUS MAINT POLAN                                                 ROAD,STRONGSVILLE,OH,
         PORT EXTENDERS. INCLUDES                                                US,44149
         TAC SUPPORT, SW/FW UPDATES.

  2.1770 SUPPORT CONTRACT - 5YRS -   ANIXTER INC                                 21452 ROYALTON                                        STRONGSVILLE   OH      44149
         SILVER MAINT POLAN                                                      ROAD,STRONGSVILLE,OH,
         SWITCHING EQUIP. INCLUDES                                               US,44149
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.1771 SUPPORT CONTRACT - BACS     ANIXTER INC                                 14291 PARK MEADOW                                     SAN JOSE       VA      20151
         EQUIP - BRONZE LIMITED                                                  DRIVE,
         SUPPORT - RENEWAL RATE.                                                 #425,CHANTILLY,VA,US,201
         INCLUDES TAC SUPPORT, SW/FW                                             51
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1772 SUPPORT CONTRACT - BACS     ANIXTER INC                                 ANIXTER MIAMI HUB,11420                               MEDLEY         FL      33178
         EQUIP - BRONZE LIMITED                                                  NW 122ND ST STE
         SUPPORT - RENEWAL RATE.                                                 100,MEDLEY,FL,US,33178
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1773 SUPPORT CONTRACT - BACS       ANIXTER INC                               ANIXTER MIAMI HUB,11420                               MEDLEY         FL      33178
         EQUIP - BRONZE PLUS SUPPORT -                                           NW 122ND ST STE
         RENEWAL RATE. INCLUDES TAC                                              100,MEDLEY,FL,US,33178
         SUPPORT, SW/FW UPDATES.

  2.1774 SUPPORT CONTRACT - BACS       ANIXTER INC                               1011 K ST                                             WASHINGTON     DC      20001
         EQUIP - BRONZE PLUS SUPPORT -                                           NW,WASHINGTON,DC,US,2
         RENEWAL RATE. INCLUDES TAC                                              0001
         SUPPORT, SW/FW UPDATES.

  2.1775 SUPPORT CONTRACT - BACS            ANIXTER INC                          915 I STREET RM                                       SACRAMENTO     CA      95814
         EQUIP - SILVER SUPPORT -                                                3000,SACRAMENTO,CA,US,
         RENEWAL RATE. INCLUDES TAC                                              95814
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1776 SUPPORT CONTRACT - BACS            ANIXTER INC                          24255 PACIFIC COAST                                   CALABASAS      CA      90263
         EQUIP - SILVER SUPPORT -                                                HIGHWAY,MALIBU,CA,US,9
         RENEWAL RATE. INCLUDES TAC                                              0263
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1777 SUPPORT CONTRACT - BACS            ANIXTER INC                          LIBERIA GUANASTE 26KM                                 GUANACASTE             05000   CR
         EQUIP - SILVER SUPPORT -                                                AL NORTE DEL DOIT,CR-G,
         RENEWAL RATE. INCLUDES TAC                                              PENINSULA
         SUPPORT, SW/FW UPDATES, &                                               PAPAGAYO,GUANACASTE,
         RTF REPAIR.                                                             CR,05000




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  2.1778 SUPPORT CONTRACT - BACS            ANIXTER INC                          PENINSULA DE                                          GUANACASTE                   CR
         EQUIP - SILVER SUPPORT -                                                PAPAGAYO,GUANACASTE,
         RENEWAL RATE. INCLUDES TAC                                              CR
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1779 SUPPORT CONTRACT - BACS            ANIXTER INC                          1011 K ST                                             WASHINGTON   DC      20001
         EQUIP- GOLD SUPPORT-                                                    NW,WASHINGTON,DC,US,2
         RENEWAL RATE. INCLUDES TAC                                              0001
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.1780 SUPPORT CONTRACT - CPE             ANIXTER INC                          14291 PARK MEADOW                                     SAN JOSE     VA      20151
         EQUIP - BRONZE LIMITED                                                  DRIVE,
         SUPPORT - RENEWAL RATE.                                                 #425,CHANTILLY,VA,US,201
         INCLUDES TAC SUPPORT, SW/FW                                             51
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1781 SUPPORT CONTRACT - CPE      ANIXTER INC                                 ANIXTER MIAMI HUB,11420                               MEDLEY       FL      33178
         EQUIP - BRONZE LIMITED                                                  NW 122ND ST STE
         SUPPORT - RENEWAL RATE.                                                 100,MEDLEY,FL,US,33178
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1782 SUPPORT CONTRACT - CPE        ANIXTER INC                               9050 ORION DR NE,SUITE                                LACEY        WA      98516
         EQUIP - BRONZE PLUS SUPPORT -                                           B,LACEY,WA,US,98516
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1783 SUPPORT CONTRACT - CPE        ANIXTER INC                               14291 PARK MEADOW                                     SAN JOSE     VA      20151
         EQUIP - BRONZE PLUS SUPPORT -                                           DRIVE,
         RENEWAL RATE. INCLUDES TAC                                              #425,CHANTILLY,VA,US,201
         SUPPORT, SW/FW UPDATES.                                                 51

  2.1784 SUPPORT CONTRACT - CPE        ANIXTER INC                               ANIXTER MIAMI HUB,11420                               MEDLEY       FL      33178
         EQUIP - BRONZE PLUS SUPPORT -                                           NW 122ND ST STE
         RENEWAL RATE. INCLUDES TAC                                              100,MEDLEY,FL,US,33178
         SUPPORT, SW/FW UPDATES.

  2.1785 SUPPORT CONTRACT - CPE        ANIXTER INC                               915 I STREET RM                                       SACRAMENTO   CA      95814
         EQUIP - BRONZE PLUS SUPPORT -                                           3000,SACRAMENTO,CA,US,
         RENEWAL RATE. INCLUDES TAC                                              95814
         SUPPORT, SW/FW UPDATES.

  2.1786 SUPPORT CONTRACT - CPE        ANIXTER INC                               LIBERIA GUANASTE 26KM                                 GUANACASTE           05000   CR
         EQUIP - BRONZE PLUS SUPPORT -                                           AL NORTE DEL DOIT,CR-G,
         RENEWAL RATE. INCLUDES TAC                                              PENINSULA
         SUPPORT, SW/FW UPDATES.                                                 PAPAGAYO,GUANACASTE,
                                                                                 CR,05000
  2.1787 SUPPORT CONTRACT - CPE        ANIXTER INC                               PENINSULA DE                                          GUANACASTE                   CR
         EQUIP - BRONZE PLUS SUPPORT -                                           PAPAGAYO,GUANACASTE,
         RENEWAL RATE. INCLUDES TAC                                              CR
         SUPPORT, SW/FW UPDATES.

  2.1788 SUPPORT CONTRACT - CPE        ANIXTER INC                               1011 K ST                                             WASHINGTON   DC      20001
         EQUIP - SILVER SUPPORT -                                                NW,WASHINGTON,DC,US,2
         RENEWAL RATE. INCLUDES TAC                                              0001
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1789 SUPPORT CONTRACT - NMS        ANIXTER INC                               ANIXTER MIAMI HUB,11420                               MEDLEY       FL      33178
         EQUIP - BRONZE PLUS SUPPORT -                                           NW 122ND ST STE
         RENEWAL RATE. INCLUDES TAC                                              100,MEDLEY,FL,US,33178
         SUPPORT, SW/FW UPDATES.




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  2.1790 SUPPORT CONTRACT - NMS           ANIXTER INC                                 PENINSULA DE                                          GUANACASTE                   CR
         EQUIP - BRONZE PLUS SUPPORT -                                                PAPAGAYO,GUANACASTE,
         RENEWAL RATE. INCLUDES TAC                                                   CR
         SUPPORT, SW/FW UPDATES.

  2.1791 SUPPORT CONTRACT - BACS         APTEC DISTRIBUTION FZ-LLC                    SHEIKH ZAYED CITY,KM.38                               GIZA                 ZA,EG   EG
         EQUIP - GOLD SUPPORT - 1ST                                                   CAIRO ALEXANDRIA
         YEAR. ADDS TAC SUPPORT,                                                      DESERT
         SW/FW UPDATES, & ADVANCE                                                     ROAD,GIZA,GIZA,EG
         REPLACEMENT.
  2.1792 SUPPORT CONTRACT - BACS         APTEC DISTRIBUTION FZ-LLC                    SHEIKH ZAYED CITY,KM.38                               GIZA                 ZA,EG   EG
         EQUIP - GOLD SUPPORT - 1ST                                                   CAIRO ALEXANDRIA
         YEAR. ADDS TAC SUPPORT,                                                      DESERT
         SW/FW UPDATES, & ADVANCE                                                     ROAD,GIZA,GIZA,EG
         REPLACEMENT.
  2.1793 SUPPORT CONTRACT - BACS         APTEC DISTRIBUTION FZ-LLC                    K30 MISR-ISMAILIA                                     GIZA                 11822   EG
         EQUIP - SILVER SUPPORT - 1ST                                                 ROAD,OBOUR
         YEAR. ADDS TAC SUPPORT,                                                      CITY,CAIRO,EG,11822
         SW/FW UPDATES.
  2.1794 SUPPORT CONTRACT - BACS         APTEC DISTRIBUTION FZ-LLC                    KM 22 CAIRO-ALEX                                      GIZA                         EG
         EQUIP - SILVER SUPPORT - 1ST                                                 ROAD,GIZA,EG
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1795 SUPPORT CONTRACT - BACS         APTEC DISTRIBUTION FZ-LLC                    KM 22 CAIRO-ALEX                                      GIZA                         EG
         EQUIP - SILVER SUPPORT -                                                     ROAD,GIZA,EG
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1796 SUPPORT CONTRACT - CPE          APTEC DISTRIBUTION FZ-LLC                    KM 22 CAIRO-ALEX                                      GIZA                         EG
         EQUIP - BRONZE LIMITED                                                       ROAD,GIZA,EG
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.1797 SUPPORT CONTRACT - CPE      APTEC DISTRIBUTION FZ-LLC                        KM 22 CAIRO-ALEX                                      GIZA                         EG
         EQUIP - BRONZE LIMITED                                                       ROAD,GIZA,EG
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1798 SUPPORT CONTRACT - CPE        APTEC DISTRIBUTION FZ-LLC                      SHEIKH ZAYED CITY,KM.38                               GIZA                         EG
         EQUIP - BRONZE PLUS SUPPORT -                                                CAIRO ALEXANDRIA
         1ST YEAR. ADDS TAC SUPPORT,                                                  DESERT
         SW/FW UPDATES.                                                               ROAD,GIZA,GIZA,EG
  2.1799 SUPPORT CONTRACT - CPE        APTEC DISTRIBUTION FZ-LLC                      K30 MISR-ISMAILIA                                     GIZA                 11822   EG
         EQUIP - SILVER SUPPORT - 1ST                                                 ROAD,OBOUR
         YEAR. ADDS TAC SUPPORT,                                                      CITY,CAIRO,EG,11822
         SW/FW UPDATES.
  2.1800 SUPPORT CONTRACT - BACS       APTEC EGYPT-AN INGRAM MICRO                    K30 MISR-ISMAILIA                                     GIZA                 11822   EG
         EQUIP - SILVER SUPPORT - 1ST  COMPANY                                        ROAD,OBOUR
         YEAR. ADDS TAC SUPPORT,                                                      CITY,CAIRO,EG,11822
         SW/FW UPDATES.
  2.1801 SUPPORT CONTRACT - BACS       APTEC EGYPT-AN INGRAM MICRO                    K30 MISR-ISMAILIA                                     GIZA                 11822   EG
         EQUIP - SILVER SUPPORT - 1ST  COMPANY                                        ROAD,OBOUR
         YEAR. ADDS TAC SUPPORT,                                                      CITY,CAIRO,EG,11822
         SW/FW UPDATES.
  2.1802 SUPPORT CONTRACT - BACS       APTEC EGYPT-AN INGRAM MICRO                    KM 22 CAIRO-ALEX                                      GIZA                         EG
         EQUIP - SILVER SUPPORT - 1ST  COMPANY                                        ROAD,GIZA,EG
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.1803 SUPPORT CONTRACT - BACS            APTEC EGYPT-AN INGRAM MICRO                   K30 MISR-ISMAILIA                                      GIZA                11822   EG
         EQUIP - SILVER SUPPORT -           COMPANY                                       ROAD,OBOUR
         RENEWAL RATE. INCLUDES TAC                                                       CITY,CAIRO,EG,11822
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1804 SUPPORT CONTRACT - BACS            APTEC EGYPT-AN INGRAM MICRO                   KM 22 CAIRO-ALEX                                       GIZA                        EG
         EQUIP - SILVER SUPPORT -           COMPANY                                       ROAD,GIZA,EG
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1805 SUPPORT CONTRACT - CPE             APTEC EGYPT-AN INGRAM MICRO                   KM 22 CAIRO-ALEX                                       GIZA                        EG
         EQUIP - BRONZE LIMITED             COMPANY                                       ROAD,GIZA,EG
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.1806 SUPPORT CONTRACT - CPE      APTEC EGYPT-AN INGRAM MICRO                          KM 22 CAIRO-ALEX                                       GIZA                        EG
         EQUIP - BRONZE LIMITED      COMPANY                                              ROAD,GIZA,EG
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1807 SUPPORT CONTRACT - CPE        APTEC EGYPT-AN INGRAM MICRO                        K30 MISR-ISMAILIA                                      GIZA                11822   EG
         EQUIP - BRONZE PLUS SUPPORT - COMPANY                                            ROAD,OBOUR
         1ST YEAR. ADDS TAC SUPPORT,                                                      CITY,CAIRO,EG,11822
         SW/FW UPDATES.
  2.1808 SUPPORT CONTRACT - CPE        APTEC EGYPT-AN INGRAM MICRO                        K30 MISR-ISMAILIA                                      GIZA                11822   EG
         EQUIP - BRONZE PLUS SUPPORT - COMPANY                                            ROAD,OBOUR
         RENEWAL RATE. INCLUDES TAC                                                       CITY,CAIRO,EG,11822
         SUPPORT, SW/FW UPDATES.

  2.1809 SUPPORT CONTRACT - CPE             APTEC EGYPT-AN INGRAM MICRO                   K30 MISR-ISMAILIA                                      GIZA                11822   EG
         EQUIP - SILVER SUPPORT - 1ST       COMPANY                                       ROAD,OBOUR
         YEAR. ADDS TAC SUPPORT,                                                          CITY,CAIRO,EG,11822
         SW/FW UPDATES.
  2.1810 SUPPORT CONTRACT - ANYHAUL         AT&T SERVICES INC                             AT&T ANCRAKZA,501 E                                    COVINGTON   AK      99501
         EQUIP - SILVER SUPPORT - 1ST                                                     BLUFF
         YEAR, ADDS TAC SUPPORT,                                                          DR,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                    01
  2.1811 SUPPORT CONTRACT - BACS            BAUD TELECOM COMPANY                          OLAYA ROAD, MOUSSA                                     RIYADH              11431   SA
         EQUIP - SILVER SUPPORT - 1ST                                                     CENTER,,TOWER C, 3RD
         YEAR. ADDS TAC SUPPORT,                                                          FLOOR, ROOM
         SW/FW UPDATES.                                                                   333,RIYADH,SA,11431
  2.1812 SUPPORT CONTRACT - BACS            BAUD TELECOM COMPANY                          OLAYA ROAD, MOUSSA                                     RIYADH              11431   SA
         EQUIP - SILVER SUPPORT - 1ST                                                     CENTER,,TOWER C, 3RD
         YEAR. ADDS TAC SUPPORT,                                                          FLOOR, ROOM
         SW/FW UPDATES.                                                                   333,RIYADH,SA,11431
  2.1813 SUPPORT CONTRACT - BACS            BAUD TELECOM COMPANY                          OLAYA STREET,TOWER C,                                  RIYADH              11431   SA
         EQUIP - SILVER SUPPORT - 1ST                                                     5TH
         YEAR. ADDS TAC SUPPORT,                                                          FLOOR,RIYADH,SA,11431
         SW/FW UPDATES.
  2.1814 SUPPORT CONTRACT - BACS            BAUD TELECOM COMPANY                          SULAY EXIT 18,RIYADH,SA                                RIYADH              DH,SA   SA
         EQUIP - SILVER SUPPORT -
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1815 SUPPORT CONTRACT - BACS            BAUD TELECOM COMPANY                          SULAY EXIT 18,RIYADH,SA                                RIYADH              DH,SA   SA
         EQUIP - SILVER SUPPORT -
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.1816 SUPPORT CONTRACT - BACS          BAUD TELECOM COMPANY                      SULAY EXIT 18,RIYADH,SA                               RIYADH                     SA
         EQUIP - SILVER SUPPORT -
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1817 SUPPORT CONTRACT - CPE           BAUD TELECOM COMPANY                      AL-MOUSA CENTER,                                      JEDDAH            11431    SA
         EQUIP - BRONZE PLUS SUPPORT -                                              TOWER C,4TH FLOOR,
          1ST YEAR. ADDS TAC SUPPORT,                                               OLAYA STREET,P.O BOX
         SW/FW UPDATES.                                                             1223,RIYADH,SA,11431
  2.1818 SUPPORT CONTRACT - BACS          BEANFIELD METROCONNECT                    77 MOWAT AVE STE                                      TORONTO   ON      M6K3E3   CA
         EQUIP - BRONZE LIMITED                                                     418,TORONTO,ON,CA,M6K3
         SUPPORT - RENEWAL RATE.                                                    E3
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1819 SUPPORT CONTRACT - BACS       BEANFIELD METROCONNECT                       77 MOWAT AVE STE                                      TORONTO   ON      M6K3E3   CA
         EQUIP - BRONZE PLUS SUPPORT -                                              418,TORONTO,ON,CA,M6K3
         RENEWAL RATE. INCLUDES TAC                                                 E3
         SUPPORT, SW/FW UPDATES.

  2.1820 SUPPORT CONTRACT - BACS      BEANFIELD METROCONNECT                        11 DIESEL                                             TORONTO   ON      M8W4Z7   CA
         EQUIP - SILVER SUPPORT - 1ST                                               DR,TORONTO,ON,CA,M8W4
         YEAR. ADDS TAC SUPPORT,                                                    Z7
         SW/FW UPDATES.
  2.1821 SUPPORT CONTRACT - CPE       BEANFIELD METROCONNECT                        77 MOWAT AVE STE                                      TORONTO   ON      M6K3E3   CA
         EQUIP - BRONZE LIMITED                                                     418,TORONTO,ON,CA,M6K3
         SUPPORT - RENEWAL RATE.                                                    E3
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1822 SUPPORT CONTRACT - CPE        BEANFIELD METROCONNECT                       11 DIESEL                                             TORONTO   ON      M8W4Z7   CA
         EQUIP - BRONZE PLUS SUPPORT -                                              DR,CAN,ETOBICOKE,ON,CA
         1ST YEAR. ADDS TAC SUPPORT,                                                ,M8W4Z7
         SW/FW UPDATES.
  2.1823 SUPPORT CONTRACT - CPE        BEANFIELD METROCONNECT                       77 MOWAT AVE STE                                      TORONTO   ON      M6K3E3   CA
         EQUIP - BRONZE PLUS SUPPORT -                                              418,TORONTO,ON,CA,M6K3
         RENEWAL RATE. INCLUDES TAC                                                 E3
         SUPPORT, SW/FW UPDATES.

  2.1824 SUPPORT CONTRACT - BACS     BELL CANADA                                    191 PIONEER                                           TORONTO   MB      R3C3V6   CA
         EQUIP - BRONZE LIMITED                                                     AVE,WINNIPEG,MB,CA,R3C
         SUPPORT - RENEWAL RATE.                                                    3V6
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1825 SUPPORT CONTRACT - BACS       BELL CANADA                                  191 PIONEER                                           TORONTO   MB      R3C3V6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                              AVE,WINNIPEG,MB,CA,R3C
         RENEWAL RATE. INCLUDES TAC                                                 3V6
         SUPPORT, SW/FW UPDATES.

  2.1826 SUPPORT CONTRACT - BACS        BELL CANADA                                 4100 - 106 AVE SE,BAY                                 TORONTO   AB      T2C5B6   CA
         EQUIP - SILVER SUPPORT - 1ST                                               DOOR
         YEAR. ADDS TAC SUPPORT,                                                    20,CALGARY,AB,CA,T2C5B6
         SW/FW UPDATES.
  2.1827 SUPPORT CONTRACT - BACS        BELL CANADA                                 4100 - 106 AVE SE,BAY                                 TORONTO   AB      T2C5B6   CA
         EQUIP - SILVER SUPPORT -                                                   DOOR
         RENEWAL RATE. INCLUDES TAC                                                 20,CALGARY,AB,CA,T2C5B6
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.1828 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1829 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1830 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1831 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1832 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1833 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1834 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1835 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1836 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1837 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1838 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1839 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1840 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.




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  2.1841 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1842 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1843 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1844 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1845 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1846 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1847 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1848 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1849 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1850 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1851 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1852 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1853 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.




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  2.1854 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1855 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1856 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1857 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1858 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1859 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1860 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1861 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1862 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1863 SUPPORT CONTRACT - BACS            BELL CANADA                          4803 49TH AVE,FORT                                    WHITEHORSE   BC      V0C1R0   CA
         EQUIP - SILVER SUPPORT -                                                NELSON,BC,CA,V0C1R0
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1864 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1865 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1866 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.




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  2.1867 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1868 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1869 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1870 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1871 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1872 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1873 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1874 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1875 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1876 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1877 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1878 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1879 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.




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  2.1880 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1881 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1882 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1883 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1884 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1885 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1886 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1887 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1888 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1889 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1890 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1891 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1892 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.1893 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1894 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1895 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1896 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1897 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1898 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1899 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1900 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1901 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1902 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1903 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1904 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1905 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.1906 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1907 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1908 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1909 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1910 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1911 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1912 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1913 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1914 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1915 SUPPORT CONTRACT - BACS            BELL CANADA                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                                RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                              A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1916 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1917 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.
  2.1918 SUPPORT CONTRACT - BACS            BELL CANADA                          339 OLD AIRPORT RD                                    WHITEHORSE   NT      X1A3T3   CA
         EQUIP - SILVER SUPPORT -                                                (BAG
         RENEWAL RATE. INCLUDES TAC                                              790),YELLOWKNIFE,NT,CA,
         SUPPORT, SW/FW UPDATES, &                                               X1A3T3
         RTF REPAIR.




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  2.1919 SUPPORT CONTRACT - NMS           BELL CANADA                          191 PIONEER                                           TORONTO    MB      R3C3V6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                         AVE,WINNIPEG,MB,CA,R3C
         RENEWAL RATE. INCLUDES TAC                                            3V6
         SUPPORT, SW/FW UPDATES.

  2.1920 SUPPORT CONTRACT - BACS       BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - SILVER SUPPORT - 1ST                                          CT,CENTENNIAL,CO,US,801                               SPRINGS
         YEAR. ADDS TAC SUPPORT,                                               22
         SW/FW UPDATES.
  2.1921 SUPPORT CONTRACT - BACS       BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - SILVER SUPPORT -                                              CT,CENTENNIAL,CO,US,801                               SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            22
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1922 SUPPORT CONTRACT - BACS       BOINGO WIRELESS, INC                    10960 WILSHIRE BLVD,                                  COLORADO   CA      90024
         EQUIP - SILVER SUPPORT -                                              23RD FLOOR,LOS                                        SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            ANGELES,CA,US,90024
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1923 SUPPORT CONTRACT - BACS       BOINGO WIRELESS, INC                    10960 WILSHIRE BLVD,                                  COLORADO   CA      90024
         EQUIP - SILVER SUPPORT -                                              23RD FLOOR,LOS                                        SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            ANGELES,CA,US,90024
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1924 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - BRONZE PLUS SUPPORT -                                         CT,CENTENNIAL,CO,US,801                               SPRINGS
         1ST YEAR. ADDS TAC SUPPORT,                                           22
         SW/FW UPDATES.
  2.1925 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - BRONZE PLUS SUPPORT -                                         CT,CENTENNIAL,CO,US,801                               SPRINGS
         1ST YEAR. ADDS TAC SUPPORT,                                           22
         SW/FW UPDATES.
  2.1926 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - BRONZE PLUS SUPPORT -                                         CT,CENTENNIAL,CO,US,801                               SPRINGS
         1ST YEAR. ADDS TAC SUPPORT,                                           22
         SW/FW UPDATES.
  2.1927 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - BRONZE PLUS SUPPORT -                                         CT,CENTENNIAL,CO,US,801                               SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            22
         SUPPORT, SW/FW UPDATES.

  2.1928 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - BRONZE PLUS SUPPORT -                                         CT,CENTENNIAL,CO,US,801                               SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            22
         SUPPORT, SW/FW UPDATES.

  2.1929 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    1137 E EASTER                                         COLORADO   CO      80122
         EQUIP - BRONZE PLUS SUPPORT -                                         CT,CENTENNIAL,CO,US,801                               SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            22
         SUPPORT, SW/FW UPDATES.

  2.1930 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    10960 WILSHIRE BLVD,                                  COLORADO   CA      90024
         EQUIP - BRONZE PLUS SUPPORT -                                         23RD FLOOR,LOS                                        SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            ANGELES,CA,US,90024
         SUPPORT, SW/FW UPDATES.

  2.1931 SUPPORT CONTRACT - CPE        BOINGO WIRELESS, INC                    10960 WILSHIRE BLVD,                                  COLORADO   CA      90024
         EQUIP - BRONZE PLUS SUPPORT -                                         23RD FLOOR,LOS                                        SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            ANGELES,CA,US,90024
         SUPPORT, SW/FW UPDATES.

  2.1932 SUPPORT CONTRACT - NMS        BOINGO WIRELESS, INC                    10960 WILSHIRE BLVD,                                  COLORADO   CA      90024
         EQUIP - BRONZE PLUS SUPPORT -                                         23RD FLOOR,LOS                                        SPRINGS
         RENEWAL RATE. INCLUDES TAC                                            ANGELES,CA,US,90024
         SUPPORT, SW/FW UPDATES.




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  2.1933 SUPPORT CONTRACT - BACS          BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - SILVER SUPPORT - 1ST     CONSTRUCTION                                318,IGNACIO,CO,US,81137
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1934 SUPPORT CONTRACT - BACS          BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - SILVER SUPPORT - 1ST     CONSTRUCTION                                318,IGNACIO,CO,US,81137
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1935 SUPPORT CONTRACT - BACS          BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - SILVER SUPPORT -         CONSTRUCTION                                318,IGNACIO,CO,US,81137
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1936 SUPPORT CONTRACT - BACS          BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - SILVER SUPPORT -         CONSTRUCTION                                318,IGNACIO,CO,US,81137
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.1937 SUPPORT CONTRACT - CPE           BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - BRONZE PLUS SUPPORT - CONSTRUCTION                                   318,IGNACIO,CO,US,81137
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1938 SUPPORT CONTRACT - CPE           BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - BRONZE PLUS SUPPORT - CONSTRUCTION                                   318,IGNACIO,CO,US,81137
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1939 SUPPORT CONTRACT - CPE           BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - BRONZE PLUS SUPPORT - CONSTRUCTION                                   318,IGNACIO,CO,US,81137
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1940 SUPPORT CONTRACT - CPE           BONFIRE ENGINEERING AND                     8374 CR                                                DENVER      CO      81137
         EQUIP - BRONZE PLUS SUPPORT - CONSTRUCTION                                   318,IGNACIO,CO,US,81137
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1941 SUPPORT CONTRACT - CPE        BONFIRE ENGINEERING AND                        8374 CR                                                DENVER      CO      81137
         EQUIP - BRONZE PLUS SUPPORT - CONSTRUCTION                                   318,IGNACIO,CO,US,81137
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1942 SUPPORT CONTRACT - CPE        BONFIRE ENGINEERING AND                        8374 CR                                                DENVER      CO      81137
         EQUIP - BRONZE PLUS SUPPORT - CONSTRUCTION                                   318,IGNACIO,CO,US,81137
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1943 SUPPORT CONTRACT - ANYHAUL BRIGHTSPEED                                       1120 S TRYON                                           CHARLOTTE   NC      28203
         EQUIP - BRONZE LIMITED                                                       ST,CHARLOTTE,NC,US,282
         SUPPORT - RENEWAL RATE.                                                      03
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1944 SUPPORT CONTRACT - ANYHAUL BRIGHTSPEED                                       1120 S TRYON                                           CHARLOTTE   NC      28203
         EQUIP - BRONZE PLUS SUPPORT -                                                ST,CHARLOTTE,NC,US,282
         RENEWAL RATE, INCLUDES TAC                                                   03
         SUPPORT, SW/FW UPDATES
  2.1945 SUPPORT CONTRACT - CPE        BRIGHTSPEED                                    BRIGHTSPEED BTAC,9200                                  CHARLOTTE   MO      64153
         EQUIP - BRONZE PLUS SUPPORT -                                                NW 119TH
         1ST YEAR. ADDS TAC SUPPORT,                                                  TERRACE,KANSAS
         SW/FW UPDATES.                                                               CITY,MO,US,64153
  2.1946 SUPPORT CONTRACT - BACS       BROADBAND GIBRALTAR LIMITED                    SUITE 942, EUROPORT,                                   GIBRALTAR           GX11 1AA   GI
         EQUIP - SILVER SUPPORT -                                                     EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                   ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES, &                                                    1AA
         RTF REPAIR.




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  2.1947 SUPPORT CONTRACT - BACS            BROADBAND GIBRALTAR LIMITED                   SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - SILVER SUPPORT -                                                         EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                       ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES, &                                                        1AA
         RTF REPAIR.
  2.1948 SUPPORT CONTRACT - BACS            BROADBAND GIBRALTAR LIMITED                   SUITE 303                                             GIBRALTAR           GX11 1AA   GI
         EQUIP - SILVER SUPPORT -                                                         EUROTOWERS,PO BOX
         RENEWAL RATE. INCLUDES TAC                                                       797,EUROTOWERS,
         SUPPORT, SW/FW UPDATES, &                                                        EUROPORT
         RTF REPAIR.                                                                      ROAD,GIBRALTAR,GI,GX11
                                                                                          1AA
  2.1949 SUPPORT CONTRACT - BACS     BROADBAND GIBRALTAR LIMITED                          SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - SILVER SUPPORT -                                                         EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                       ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES, &                                                        1AA
         RTF REPAIR.
  2.1950 SUPPORT CONTRACT - CPE      BROADBAND GIBRALTAR LIMITED                          SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE LIMITED                                                           EUROPORT
         SUPPORT - RENEWAL RATE.                                                          ROAD,GIBRALTAR,GI,GX11
         INCLUDES TAC SUPPORT, SW/FW                                                      1AA
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1951 SUPPORT CONTRACT - CPE        BROADBAND GIBRALTAR LIMITED                        SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE PLUS SUPPORT -                                                    EUROPORT
         1ST YEAR. ADDS TAC SUPPORT,                                                      ROAD,GIBRALTAR,GI,GX11
         SW/FW UPDATES.                                                                   1AA
  2.1952 SUPPORT CONTRACT - CPE        BROADBAND GIBRALTAR LIMITED                        SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE PLUS SUPPORT -                                                    EUROPORT
         1ST YEAR. ADDS TAC SUPPORT,                                                      ROAD,GIBRALTAR,GI,GX11
         SW/FW UPDATES.                                                                   1AA
  2.1953 SUPPORT CONTRACT - CPE        BROADBAND GIBRALTAR LIMITED                        SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE PLUS SUPPORT -                                                    EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                       ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES.                                                          1AA

  2.1954 SUPPORT CONTRACT - CPE        BROADBAND GIBRALTAR LIMITED                        SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE PLUS SUPPORT -                                                    EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                       ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES.                                                          1AA

  2.1955 SUPPORT CONTRACT - CPE        BROADBAND GIBRALTAR LIMITED                        SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE PLUS SUPPORT -                                                    EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                       ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES.                                                          1AA

  2.1956 SUPPORT CONTRACT - CPE        BROADBAND GIBRALTAR LIMITED                        SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE PLUS SUPPORT -                                                    EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                       ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES.                                                          1AA

  2.1957 SUPPORT CONTRACT - CPE        BROADBAND GIBRALTAR LIMITED                        SUITE 942, EUROPORT,                                  GIBRALTAR           GX11 1AA   GI
         EQUIP - BRONZE PLUS SUPPORT -                                                    EUROPORT
         RENEWAL RATE. INCLUDES TAC                                                       ROAD,GIBRALTAR,GI,GX11
         SUPPORT, SW/FW UPDATES.                                                          1AA

  2.1958 SUPPORT CONTRACT - ANYHAUL BRUCE TELECOM                                         3145 HIGHWAY                                          TIVERTON    ON      N0G2T0     CA
         EQUIP - SILVER SUPPORT - 1ST                                                     21,TIVERTON,ON,CA,N0G2T
         YEAR, ADDS TAC SUPPORT,                                                          0
         SW/FW UPDATES




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  2.1959 SUPPORT CONTRACT - ANYHAUL C SPIRE                                      1018 HIGHLAND COLONY                                  RIDGELAND   MS      39157
         EQUIP - BRONZE LIMITED                                                  PKWY STE
         SUPPORT - RENEWAL RATE.                                                 400,RIDGELAND,MS,US,391
         INCLUDES TAC SUPPORT, SW/FW                                             57
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1960 SUPPORT CONTRACT - ANYHAUL C SPIRE                                      1018 HIGHLAND COLONY                                  RIDGELAND   MS      39157
         EQUIP - BRONZE PLUS SUPPORT -                                           PKWY STE
          RENEWAL RATE, INCLUDES TAC                                             400,RIDGELAND,MS,US,391
         SUPPORT, SW/FW UPDATES                                                  57
  2.1961 SUPPORT CONTRACT - BACS       C SPIRE                                   1018 HIGHLAND COLONY                                  RIDGELAND   MS      39157
         EQUIP - BRONZE LIMITED                                                  PKWY STE
         SUPPORT - RENEWAL RATE.                                                 400,RIDGELAND,MS,US,391
         INCLUDES TAC SUPPORT, SW/FW                                             57
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1962 SUPPORT CONTRACT - ANYHAUL CANADIAN NATIONAL RAILWAY                    CN - IT TELECOM                                       WATERLOO    C,      3B2M4
         EQUIP - BRONZE PLUS SUPPORT -                                           STORAGE ROOM,934, RUE
         RENEWAL RATE, INCLUDES TAC                                              BELMONT (RECEIVING
         SUPPORT, SW/FW UPDATES                                                  DOCK),MONTREAL,QC,CA,
                                                                                 H3B2M4
  2.1963 SUPPORT CONTRACT - ANYHAUL CANADIAN NATIONAL RAILWAY                    CN - IT TELECOM                                       WATERLOO    C,      3B2M4
         EQUIP - SILVER SUPPORT -                                                STORAGE ROOM,934, RUE
         RENEWAL RATE, INCLUDES TAC                                              BELMONT (RECEIVING
         SUPPORT, SW/FW UPDATES &                                                DOCK),MONTREAL,QC,CA,
         RTF REPAIR                                                              H3B2M4
  2.1964 SUPPORT CONTRACT - BACS     CENTRAL OKLAHOMA                            223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - BRONZE LIMITED      TELEPHONE COMPANY                           789,DAVENPORT,OK,US,74
         SUPPORT - RENEWAL RATE.                                                 026
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1965 SUPPORT CONTRACT - BACS       CENTRAL OKLAHOMA                          223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - BRONZE PLUS SUPPORT - TELEPHONE COMPANY                         789,DAVENPORT,OK,US,74
         1ST YEAR . ADDS TAC SUPPORT,                                            026
         SW/FW UPDATES.
  2.1966 SUPPORT CONTRACT - BACS       CENTRAL OKLAHOMA                          223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - BRONZE PLUS SUPPORT - TELEPHONE COMPANY                         789,DAVENPORT,OK,US,74
         RENEWAL RATE. INCLUDES TAC                                              026
         SUPPORT, SW/FW UPDATES.

  2.1967 SUPPORT CONTRACT - BACS         CENTRAL OKLAHOMA                        223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - SILVER SUPPORT - 1ST    TELEPHONE COMPANY                       789,DAVENPORT,OK,US,74
         YEAR. ADDS TAC SUPPORT,                                                 026
         SW/FW UPDATES.
  2.1968 SUPPORT CONTRACT - BACS         CENTRAL OKLAHOMA                        223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - SILVER SUPPORT - 1ST    TELEPHONE COMPANY                       789,DAVENPORT,OK,US,74
         YEAR. ADDS TAC SUPPORT,                                                 026
         SW/FW UPDATES.
  2.1969 SUPPORT CONTRACT - BACS         CENTRAL OKLAHOMA                        223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - SILVER SUPPORT - 1ST    TELEPHONE COMPANY                       789,DAVENPORT,OK,US,74
         YEAR. ADDS TAC SUPPORT,                                                 026
         SW/FW UPDATES.
  2.1970 SUPPORT CONTRACT - BACS         CENTRAL OKLAHOMA                        223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - SILVER SUPPORT - 1ST    TELEPHONE COMPANY                       789,DAVENPORT,OK,US,74
         YEAR. ADDS TAC SUPPORT,                                                 026
         SW/FW UPDATES.




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  2.1971 SUPPORT CONTRACT - CPE           CENTRAL OKLAHOMA                     223 N BROADWAY                                        DAVENPORT   OK      74026
         EQUIP - BRONZE LIMITED           TELEPHONE COMPANY                    AVE,DAVENPORT,OK,US,74
         SUPPORT - 1ST YEAR. ADDS TAC                                          026
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.1972 SUPPORT CONTRACT - CPE      CENTRAL OKLAHOMA                          223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - BRONZE LIMITED      TELEPHONE COMPANY                         789,DAVENPORT,OK,US,74
         SUPPORT - RENEWAL RATE.                                               026
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.1973 SUPPORT CONTRACT - CPE        CENTRAL OKLAHOMA                        223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - BRONZE PLUS SUPPORT - TELEPHONE COMPANY                       789,DAVENPORT,OK,US,74
         1ST YEAR. ADDS TAC SUPPORT,                                           026
         SW/FW UPDATES.
  2.1974 SUPPORT CONTRACT - CPE        CENTRAL OKLAHOMA                        223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - BRONZE PLUS SUPPORT - TELEPHONE COMPANY                       789,DAVENPORT,OK,US,74
         RENEWAL RATE. INCLUDES TAC                                            026
         SUPPORT, SW/FW UPDATES.

  2.1975 SUPPORT CONTRACT - NMS        CENTRAL OKLAHOMA                        223 BROADWAY,PO BOX                                   DAVENPORT   OK      74026
         EQUIP - BRONZE PLUS SUPPORT - TELEPHONE COMPANY                       789,DAVENPORT,OK,US,74
         RENEWAL RATE. INCLUDES TAC                                            026
         SUPPORT, SW/FW UPDATES.

  2.1976 SUPPORT CONTRACT - CPE        CIEMTELCOM S.A.                         AV NACIONES UNIDAS Y                                  0                   70507   EC
         EQUIP - BRONZE PLUS SUPPORT -                                         NUÑES DE VELA,EDIFICIO
         1ST YEAR. ADDS TAC SUPPORT,                                           METROPOLITAN PISO
         SW/FW UPDATES.                                                        12,OFICINA.
                                                                               1206,EC,170507

  2.1977 SUPPORT CONTRACT - CPE        CIEMTELCOM S.A.                         AV NACIONES UNIDAS Y                                  0                   70507   EC
         EQUIP - BRONZE PLUS SUPPORT -                                         NUÑES DE VELA,EDIFICIO
         1ST YEAR. ADDS TAC SUPPORT,                                           METROPOLITAN PISO
         SW/FW UPDATES.                                                        12,OFICINA.
                                                                               1206,EC,170507

  2.1978 SUPPORT CONTRACT - 3YRS -   CINODIS                                   ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701   FR
         BRONZE PLUS MAINT POLAN                                               DU
         NETWORK MGMT SW. INCLUDES                                             MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES.

  2.1979 SUPPORT CONTRACT - 3YRS -   CINODIS                                   ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701   FR
         BRONZE PLUS MAINT POLAN                                               DU
         NETWORK MGMT SW. INCLUDES                                             MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES.

  2.1980 SUPPORT CONTRACT - 3YRS -   CINODIS                                   ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701   FR
         BRONZE PLUS MAINT POLAN                                               DU
         NETWORK MGMT SW. INCLUDES                                             MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES.

  2.1981 SUPPORT CONTRACT - 3YRS -   CINODIS                                   ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701   FR
         BRONZE PLUS MAINT POLAN                                               DU
         PORT EXTENDERS. INCLUDES                                              MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES.

  2.1982 SUPPORT CONTRACT - 3YRS -   CINODIS                                   ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701   FR
         BRONZE PLUS MAINT POLAN                                               DU
         PORT EXTENDERS. INCLUDES                                              MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES.




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  2.1983 SUPPORT CONTRACT - 3YRS -        CINODIS                                   ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701     FR
         BRONZE PLUS MAINT POLAN                                                    DU
         PORT EXTENDERS. INCLUDES                                                   MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES.

  2.1984 SUPPORT CONTRACT - 3YRS -   CINODIS                                        ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701     FR
         BRONZE PLUS MAINT POLAN                                                    DU
         PORT EXTENDERS. INCLUDES                                                   MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES.

  2.1985 SUPPORT CONTRACT - 3YRS -   CINODIS                                        Z.A.C. DU MOULIN,1 BIS                                ROISSY              95700     FR
         BRONZE PLUS MAINT POLAN                                                    RUE DU
         SWITCHING EQUIP. INCLUDES                                                  MEUNIER,ROISSY,FR,95700
         TAC SUPPORT, SW/FW UPDATES.

  2.1986 SUPPORT CONTRACT - 3YRS -   CINODIS                                        Z.A.C. DU MOULIN,1 BIS                                ROISSY              95700     FR
         BRONZE PLUS MAINT POLAN                                                    RUE DU
         SWITCHING EQUIP. INCLUDES                                                  MEUNIER,ROISSY,FR,95700
         TAC SUPPORT, SW/FW UPDATES.

  2.1987 SUPPORT CONTRACT - 3YRS -     CINODIS                                      ZAC DU MOULIN,1 BIS RUE                               ROISSY              95701     FR
         SILVER MAINT POLAN                                                         DU
         SWITCHING EQUIP. INCLUDES                                                  MEUNIER,ROISSY,FR,95701
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.1988 SUPPORT CONTRACT - CPE        CLARKSVILLE MUTUAL                           11767 E CLARKSVILLE                                   MARSHALL    IL      62441
         EQUIP - BRONZE PLUS SUPPORT - TELEPHONE COMPANY                            RD,MARSHALL,IL,US,62441
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.1989 SUPPORT CONTRACT - BACS       CNT NETWORK TECHNOLOGY                       HEADQUARTER OF                                        NASR CITY           11765     EG
         EQUIP - SILVER SUPPORT - 1ST                                               GENERAL COMMANDS - EL
         YEAR. ADDS TAC SUPPORT,                                                    TAYRAN STREET,NASR
         SW/FW UPDATES.                                                             CITY ,CAITO,EG,11765
  2.1990 SUPPORT CONTRACT - CPE        CNT NETWORK TECHNOLOGY                       HEADQUARTER OF                                        NASR CITY           11765     EG
         EQUIP - BRONZE PLUS SUPPORT -                                              GENERAL COMMANDS - EL
         1ST YEAR. ADDS TAC SUPPORT,                                                TAYRAN STREET,NASR
         SW/FW UPDATES.                                                             CITY ,CAITO,EG,11765
  2.1991 SUPPORT CONTRACT - BACS       COMMUNICATION PARTNER SRL                    JOSE HENRY 5275,PISO 2                                CORDOBA             21IZC     AR
         EQUIP - BRONZE PLUS SUPPORT -                                              OFICINA
         RENEWAL RATE. INCLUDES TAC                                                 1,CORDOBA,CORDOBA,AR,
         SUPPORT, SW/FW UPDATES.                                                    X5021IZC

  2.1992 SUPPORT CONTRACT - CPE        COMMUNICATION PARTNER SRL                    JOSE HENRY 5275,PISO 2                                CORDOBA             21IZC     AR
         EQUIP - BRONZE PLUS SUPPORT -                                              OFICINA
         RENEWAL RATE. INCLUDES TAC                                                 1,CORDOBA,CORDOBA,AR,
         SUPPORT, SW/FW UPDATES.                                                    X5021IZC

  2.1993 SUPPORT CONTRACT - 3YRS -   COMVERGE NETWORKS                              961 MOUNTAIN HIGHWAY,                                 MELBOURNE   VIC     3008      AU
         BRONZE PLUS MAINT POLAN                                                    BORONIA
         PORT EXTENDERS. INCLUDES                                                   VIC,MELBOURNE,VIC,AU,30
         TAC SUPPORT, SW/FW UPDATES.                                                08

  2.1994 SUPPORT CONTRACT - CPE        COMVERGE NETWORKS                            961 MOUNTAIN HIGHWAY,                                 MELBOURNE   VIC     3008      AU
         EQUIP - BRONZE PLUS SUPPORT -                                              BORONIA
         1ST YEAR. ADDS TAC SUPPORT,                                                VIC,MELBOURNE,VIC,AU,30
         SW/FW UPDATES.                                                             08
  2.1995 SUPPORT CONTRACT - BACS       CONNECTIX LIMITED                            37 & 41 WINDMILL                                      LONDON              W1T 2JU   GB
         EQUIP - BRONZE PLUS SUPPORT -                                              ST,LONDON,GB,W1T 2JU
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1996 SUPPORT CONTRACT - BACS       CONNECTIX LIMITED                            37 & 41 WINDMILL                                      LONDON              W1T 2JU   GB
         EQUIP - BRONZE PLUS SUPPORT -                                              ST,LONDON,GB,W1T 2JU
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.1997 SUPPORT CONTRACT - CPE           CONNECTIX LIMITED                    37 & 41 WINDMILL                                       LONDON              W1T 2JU   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         ST,LONDON,GB,W1T 2JU
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1998 SUPPORT CONTRACT - CPE        CONNECTIX LIMITED                       37 & 41 WINDMILL                                       LONDON              W1T 2JU   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         ST,LONDON,GB,W1T 2JU
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.1999 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         PORT EXTENDERS. INCLUDES                                              120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2000 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         PORT EXTENDERS. INCLUDES                                              120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2001 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         PORT EXTENDERS. INCLUDES                                              120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2002 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             BRAINTREE           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         PORT EXTENDERS. INCLUDES                                              120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2003 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2004 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2005 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2006 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2007 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2008 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2009 SUPPORT CONTRACT - 3YRS -   CONNECTIX LTD                             500 AVENUE                                             WOODSTOCK           M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA




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  2.2010 SUPPORT CONTRACT - 3YRS -        CONNECTIX LTD                        500 AVENUE                                            BRAINTREE               M77 7AA   GB
         BRONZE PLUS MAINT POLAN                                               WEST,SKYLINE
         SWITCHING EQUIP. INCLUDES                                             120,BRAINTREE,ESSEX,GB,
         TAC SUPPORT, SW/FW UPDATES.                                           CM77 7AA

  2.2011 SUPPORT CONTRACT - BACS       CONNECTIX LTD                           EAGLE HOUSE,LAKESIDE                                  GLOCESTERSHIR           GL7 5XL   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         BUSINESS PARK,SOUTH                                   E
         1ST YEAR . ADDS TAC SUPPORT,                                          CERNEY,GLOCESTERSHIR
         SW/FW UPDATES.                                                        E,GB,GL7 5XL
  2.2012 SUPPORT CONTRACT - BACS       CONNECTIX LTD                           500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                            120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                               CM77 7AA

  2.2013 SUPPORT CONTRACT - BACS       CONNECTIX LTD                           500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                            120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                               CM77 7AA

  2.2014 SUPPORT CONTRACT - BACS       CONNECTIX LTD                           500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                            120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                               CM77 7AA

  2.2015 SUPPORT CONTRACT - BACS       CONNECTIX LTD                           500 AVENUE                                            LONDON                  M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                            120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                               CM77 7AA

  2.2016 SUPPORT CONTRACT - CPE      CONNECTIX LTD                             500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE LIMITED                                                WEST,SKYLINE
         SUPPORT - RENEWAL RATE.                                               120,BRAINTREE,ESSEX,GB,
         INCLUDES TAC SUPPORT, SW/FW                                           CM77 7AA
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2017 SUPPORT CONTRACT - CPE      CONNECTIX LTD                             500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE LIMITED                                                WEST,SKYLINE
         SUPPORT - RENEWAL RATE.                                               120,BRAINTREE,ESSEX,GB,
         INCLUDES TAC SUPPORT, SW/FW                                           CM77 7AA
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2018 SUPPORT CONTRACT - CPE      CONNECTIX LTD                             500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE LIMITED                                                WEST,SKYLINE
         SUPPORT - RENEWAL RATE.                                               120,BRAINTREE,ESSEX,GB,
         INCLUDES TAC SUPPORT, SW/FW                                           CM77 7AA
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2019 SUPPORT CONTRACT - CPE        CONNECTIX LTD                           500 AVENUE                                            LONDON                  M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         WEST,SKYLINE
         1ST YEAR. ADDS TAC SUPPORT,                                           120,BRAINTREE,ESSEX,GB,
         SW/FW UPDATES.                                                        CM77 7AA
  2.2020 SUPPORT CONTRACT - CPE        CONNECTIX LTD                           500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                            120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                               CM77 7AA

  2.2021 SUPPORT CONTRACT - CPE        CONNECTIX LTD                           500 AVENUE                                            WOODSTOCK               M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                         WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                            120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                               CM77 7AA




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  2.2022 SUPPORT CONTRACT - CPE           CONNECTIX LTD                               500 AVENUE                                            LONDON                 M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                                WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                                   120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                                      CM77 7AA

  2.2023 SUPPORT CONTRACT - CPE        CONNECTIX LTD                                  500 AVENUE                                            BRAINTREE              M77 7AA   GB
         EQUIP - BRONZE PLUS SUPPORT -                                                WEST,SKYLINE
         RENEWAL RATE. INCLUDES TAC                                                   120,BRAINTREE,ESSEX,GB,
         SUPPORT, SW/FW UPDATES.                                                      CM77 7AA

  2.2024 SUPPORT CONTRACT - BACS     CONSOLIDATED                                     4008 GIBSONIA                                         LUFKIN       PA        15044
         EQUIP - BRONZE LIMITED      COMMUNICATIONS SERVICES                          RD,GIBSONIA,PA,US,15044
         SUPPORT - RENEWAL RATE.     COMPANY
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2025 SUPPORT CONTRACT - BACS         CONSOLIDATED                                 4008 GIBSONIA                                         LUFKIN       PA        15044
         EQUIP - SILVER SUPPORT - 1ST    COMMUNICATIONS SERVICES                      RD,GIBSONIA,PA,US,15044
         YEAR. ADDS TAC SUPPORT,         COMPANY
         SW/FW UPDATES.
  2.2026 SUPPORT CONTRACT - BACS         CONSOLIDATED                                 4008 GIBSONIA                                         LUFKIN       PA        15044
         EQUIP - SILVER SUPPORT -        COMMUNICATIONS SERVICES                      RD,GIBSONIA,PA,US,15044
         RENEWAL RATE. INCLUDES TAC      COMPANY
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2027 SUPPORT CONTRACT - CPE          CONSOLIDATED                                 4008 GIBSONIA                                         LUFKIN       PA        15044
         EQUIP - BRONZE LIMITED          COMMUNICATIONS SERVICES                      RD,GIBSONIA,PA,US,15044
         SUPPORT - RENEWAL RATE.         COMPANY
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2028 SUPPORT CONTRACT - CPE        CONSOLIDATED                                   3500 CINCINNATI AVE,STE                               LUFKIN       CA        95765
         EQUIP - BRONZE PLUS SUPPORT - COMMUNICATIONS SERVICES                        400,ROCKLIN,CA,US,95765
         1ST YEAR. ADDS TAC SUPPORT, COMPANY
         SW/FW UPDATES.
  2.2029 SUPPORT CONTRACT - CPE        CONSOLIDATED                                   3500 CINCINNATI AVE,STE                               LUFKIN       CA        95765
         EQUIP - BRONZE PLUS SUPPORT - COMMUNICATIONS SERVICES                        400,ROCKLIN,CA,US,95765
         1ST YEAR. ADDS TAC SUPPORT, COMPANY
         SW/FW UPDATES.
  2.2030 SUPPORT CONTRACT - NMS        CONSOLIDATED                                   4008 GIBSONIA                                         LUFKIN       PA        15044
         EQUIP - BRONZE PLUS SUPPORT - COMMUNICATIONS SERVICES                        RD,GIBSONIA,PA,US,15044
         RENEWAL RATE. INCLUDES TAC COMPANY
         SUPPORT, SW/FW UPDATES.

  2.2031 SUPPORT CONTRACT - 3YRS -   COURTYARD BONAIRE DIVE                           2 KAYA                                                KRALENDIJK   BONAIRE             BQ
         SILVER MAINT POLAN          RESORT                                           INTERNATIONAL,KRALENDI
         SWITCHING EQUIP. INCLUDES                                                    JK,BQ
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.2032 SUPPORT CONTRACT - BACS     CRITICAL HUB NETWORKS, INC.                      652 CALLE                                             SAN JUAN               0909      PR
         EQUIP - BRONZE LIMITED                                                       HIPODROMO,SAN
         SUPPORT - RENEWAL RATE.                                                      JUAN,PR,US,00909
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2033 SUPPORT CONTRACT - BACS       CRITICAL HUB NETWORKS, INC.                    652 CALLE                                             SAN JUAN               0909      PR
         EQUIP - BRONZE PLUS SUPPORT -                                                HIPODROMO,SAN
         RENEWAL RATE. INCLUDES TAC                                                   JUAN,PR,US,00909
         SUPPORT, SW/FW UPDATES.




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  2.2034 SUPPORT CONTRACT - CPE           CRITICAL HUB NETWORKS, INC.                    652 CALLE                                              SAN JUAN              0909    PR
         EQUIP - BRONZE LIMITED                                                          HIPODROMO,SAN
         SUPPORT - RENEWAL RATE.                                                         JUAN,PR,US,00909
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2035 SUPPORT CONTRACT - CPE        CRITICAL HUB NETWORKS, INC.                       652 CALLE                                              SAN JUAN              0909    PR
         EQUIP - BRONZE PLUS SUPPORT -                                                   HIPODROMO,SAN
         RENEWAL RATE. INCLUDES TAC                                                      JUAN,PR,US,00909
         SUPPORT, SW/FW UPDATES.

  2.2036 SUPPORT CONTRACT - NMS        CRITICAL HUB NETWORKS, INC.                       652 CALLE                                              SAN JUAN              0909    PR
         EQUIP - BRONZE PLUS SUPPORT -                                                   HIPODROMO,SAN
         RENEWAL RATE. INCLUDES TAC                                                      JUAN,PR,US,00909
         SUPPORT, SW/FW UPDATES.

  2.2037 SUPPORT CONTRACT - BACS       DALLAS CENTER-GRIMES                              255 SW JAZZWOOD                                        DALLAS CENTER IA      50111
         EQUIP- GOLD SUPPORT-          COMMUNITY SCHOOL DISTRICT                         DRIVE,GRIMES,IA,US,50111
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.2038 SUPPORT CONTRACT - CPE        DALLAS CENTER-GRIMES                              255 SW JAZZWOOD                                        DALLAS CENTER IA      50111
         EQUIP - BRONZE PLUS SUPPORT - COMMUNITY SCHOOL DISTRICT                         DRIVE,GRIMES,IA,US,50111
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2039 SUPPORT CONTRACT - NMS        DALLAS CENTER-GRIMES                              255 SW JAZZWOOD                                        DALLAS CENTER IA      50111
         EQUIP - BRONZE PLUS SUPPORT - COMMUNITY SCHOOL DISTRICT                         DRIVE,GRIMES,IA,US,50111
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2040 SUPPORT CONTRACT - 1YR -       DASAN VIETNAM COMPANY                            8 AND 9FL, RICHY TOWER,                                0                             KR
         BRONZE PLUS MAINT POLAN        LIMITED                                          TO 44,YEN HOA WARD,
         PORT EXTENDERS. INCLUDES                                                        CAU GIAY,DISTRICT
         TAC SUPPORT, SW/FW UPDATES                                                      HANOI, VIETNAM,HANOI,VN

  2.2041 SUPPORT CONTRACT - 1YR -    DASAN VIETNAM COMPANY                               8 AND 9FL, RICHY TOWER,                                0                             KR
         SILVER MAINT POLAN          LIMITED                                             TO 44,YEN HOA WARD,
         SWITCHING EQUIP. INCLUDES                                                       CAU GIAY,DISTRICT
         TAC SUPPORT, SW/FW UPDATES                                                      HANOI, VIETNAM,HANOI,VN
         & RTF REPAIR
  2.2042 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                            DHIRAAGU HEAD OFFICE,                                  MALE'                 20403   MV
         BRONZE PLUS MAINT POLAN                                                         AMEENEE MAGU,DHIVEHI
         NETWORK MGMT SW. INCLUDES                                                       RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                                     PLC,MALE,MV,20403

  2.2043 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                            DHIRAAGU HEAD OFFICE,                                  MALE'                 20403   MV
         BRONZE PLUS MAINT POLAN                                                         AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                                     PLC,MALE,MV,20403

  2.2044 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                            DHIRAAGU HEAD OFFICE,                                  MALE'                 20403   MV
         BRONZE PLUS MAINT POLAN                                                         AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                                     PLC,MALE,MV,20403

  2.2045 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                            DHIRAAGU HEAD OFFICE,                                  MALE'                 20403   MV
         BRONZE PLUS MAINT POLAN                                                         AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                                     PLC,MALE,MV,20403




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  2.2046 SUPPORT CONTRACT - 3YRS -        DHIRAAGU                             DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2047 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2048 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2049 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2050 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2051 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2052 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2053 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIVEHI RAAJJEYGE                                      MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               GULHUN PLC,19,
         PORT EXTENDERS. INCLUDES                                              MEDHUZIYAARAIY
         TAC SUPPORT, SW/FW UPDATES.                                           AMEENEE
                                                                               MAGU,MALE,MV,20403
  2.2054 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         PORT EXTENDERS. INCLUDES                                              RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2055 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIVEHI RAAJJEYGE                                      MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               GULHUN PLC,DHIRAAGU
         PORT EXTENDERS. INCLUDES                                              HEAD OFFICE, AMEENEE
         TAC SUPPORT, SW/FW UPDATES.                                           MAGU,MALE,MV,20403-

  2.2056 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                             RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2057 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                             RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403

  2.2058 SUPPORT CONTRACT - 3YRS -   DHIRAAGU                                  DHIRAAGU HEAD OFFICE,                                  MALE'           20403   MV
         BRONZE PLUS MAINT POLAN                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                             RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES.                                           PLC,MALE,MV,20403




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  2.2059 SUPPORT CONTRACT - 3YRS -          DHIRAAGU                                      DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         SILVER MAINT POLAN                                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES,                                                      PLC,MALE,MV,20403
         & RTF REPAIR.
  2.2060 SUPPORT CONTRACT - 3YRS -          DHIRAAGU                                      DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         SILVER MAINT POLAN                                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES,                                                      PLC,MALE,MV,20403
         & RTF REPAIR.
  2.2061 SUPPORT CONTRACT - 3YRS -          DHIRAAGU                                      DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         SILVER MAINT POLAN                                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES,                                                      PLC,MALE,MV,20403
         & RTF REPAIR.
  2.2062 SUPPORT CONTRACT - 3YRS -          DHIRAAGU                                      DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         SILVER MAINT POLAN                                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES,                                                      PLC,MALE,MV,20403
         & RTF REPAIR.
  2.2063 SUPPORT CONTRACT - 3YRS -          DHIRAAGU                                      DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         SILVER MAINT POLAN                                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES,                                                      PLC,MALE,MV,20403
         & RTF REPAIR.
  2.2064 SUPPORT CONTRACT - 3YRS -          DHIRAAGU                                      DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         SILVER MAINT POLAN                                                               AMEENEE MAGU,DHIVEHI
         SWITCHING EQUIP. INCLUDES                                                        RAAJJEYGE GULHUN
         TAC SUPPORT, SW/FW UPDATES,                                                      PLC,MALE,MV,20403
         & RTF REPAIR.
  2.2065 SUPPORT CONTRACT - CPE             DHIRAAGU                                      DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         EQUIP - BRONZE LIMITED                                                           AMEENEE MAGU,DHIVEHI
         SUPPORT - 1ST YEAR. ADDS TAC                                                     RAAJJEYGE GULHUN
         SUPPORT, SW/FW UPDATES NOT                                                       PLC,MALE,MV,20403
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2066 SUPPORT CONTRACT - CPE       DHIRAAGU                                            DHIRAAGU HEAD OFFICE,                                   MALE'                20403   MV
         EQUIP - BRONZE LIMITED                                                           AMEENEE MAGU,DHIVEHI
         SUPPORT - 1ST YEAR. ADDS TAC                                                     RAAJJEYGE GULHUN
         SUPPORT, SW/FW UPDATES NOT                                                       PLC,MALE,MV,20403
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2067 SUPPORT CONTRACT - BACS       DIGICOMM INTERNATIONAL INC                         301 E ILLINOIS ST,NEW                                   NEW BERLIN   IL      62670
         EQUIP - BRONZE PLUS SUPPORT -                                                    BERLIN,IL,US,62670
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2068 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    301 E ILLINOIS ST,NEW                                   NEW BERLIN   IL      62670
         EQUIP - SILVER SUPPORT - 1ST                                                     BERLIN,IL,US,62670
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2069 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    111 N COMMERCIAL                                        TEUTOPOLIS   IL      62467
         EQUIP - SILVER SUPPORT - 1ST                                                     DR,TEUTOPOLIS,IL,US,6246
         YEAR. ADDS TAC SUPPORT,                                                          7
         SW/FW UPDATES.
  2.2070 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    301 E ILLINOIS ST,NEW                                   NEW BERLIN   IL      62670
         EQUIP - SILVER SUPPORT - 1ST                                                     BERLIN,IL,US,62670
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2071 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    1122 W 5TH ST,SUITE                                     MCLEAN       FL      33805
         EQUIP - SILVER SUPPORT - 1ST                                                     100,LAKELAND,FL,US,33805
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2072 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    301 E ILLINOIS ST,NEW                                   NEW BERLIN    IL      62670
         EQUIP - SILVER SUPPORT - 1ST                                                     BERLIN,IL,US,62670
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2073 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    301 E ILLINOIS ST,NEW                                   NEW BERLIN    IL      62670
         EQUIP - SILVER SUPPORT - 1ST                                                     BERLIN,IL,US,62670
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2074 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    11 PALM                                                 YUKON         OK      73099
         EQUIP - SILVER SUPPORT - 1ST                                                     AVE,YUKON,OK,US,73099
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2075 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    9601 S MERIDIAN                                         ENGLEWOOD     CO      80112
         EQUIP - SILVER SUPPORT -                                                         BLVD,ENGLEWOOD,CO,US,
         RENEWAL RATE. INCLUDES TAC                                                       80112
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2076 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    1122 W 5TH ST,SUITE                                     MCLEAN        FL      33805
         EQUIP - SILVER SUPPORT -                                                         100,LAKELAND,FL,US,33805
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2077 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    11 PALM                                                 YUKON         OK      73099
         EQUIP - SILVER SUPPORT -                                                         AVE,YUKON,OK,US,73099
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2078 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    890 S MARINE CORPS                                      TAMUNING      GU      96913
         EQUIP - SILVER SUPPORT -                                                         DR,TAMUNING,GU,US,9691
         RENEWAL RATE. INCLUDES TAC                                                       3
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2079 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    890 S MARINE CORPS                                      TAMUNING      GU      96913
         EQUIP - SILVER SUPPORT -                                                         DR,TAMUNING,GU,US,9691
         RENEWAL RATE. INCLUDES TAC                                                       3
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2080 SUPPORT CONTRACT - BACS            DIGICOMM INTERNATIONAL INC                    2700 NORTH SAINT                                        BATESVILLE    AR      72501
         EQUIP - SILVER SUPPORT -                                                         LOUIS,BATESVILLE,AR,US,
         RENEWAL RATE. INCLUDES TAC                                                       72501
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2081 SUPPORT CONTRACT - CPE             DIGICOMM INTERNATIONAL INC                    1 DIGICOMM                                              ENGLEWOOD     CO      80112
         EQUIP - BRONZE LIMITED                                                           DR,ENGLEWOOD,CO,US,80
         SUPPORT - 1ST YEAR. ADDS TAC                                                     112
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2082 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                         11 PALM                                                 YUKON         OK      73099
         EQUIP - BRONZE PLUS SUPPORT -                                                    AVE,YUKON,OK,US,73099
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2083 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                         11 PALM                                                 YUKON         OK      73099
         EQUIP - BRONZE PLUS SUPPORT -                                                    AVE,YUKON,OK,US,73099
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2084 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                         301 E ILLINOIS ST,NEW                                   NEW BERLIN    IL      62670
         EQUIP - BRONZE PLUS SUPPORT -                                                    BERLIN,IL,US,62670
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2085 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                         301 E ILLINOIS,NEW                                      FARMER CITY   IL      62670
         EQUIP - BRONZE PLUS SUPPORT -                                                    BERLIN,IL,US,62670
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2086 SUPPORT CONTRACT - CPE           DIGICOMM INTERNATIONAL INC                    1 DIGICOMM                                            ENGLEWOOD    CO      80112
         EQUIP - BRONZE PLUS SUPPORT -                                                  DR,ENGLEWOOD,CO,US,80
         1ST YEAR. ADDS TAC SUPPORT,                                                    112
         SW/FW UPDATES.
  2.2087 SUPPORT CONTRACT - CPE           DIGICOMM INTERNATIONAL INC                    9601 S MERIDIAN                                       ENGLEWOOD    CO      80112
         EQUIP - BRONZE PLUS SUPPORT -                                                  BLVD,ENGLEWOOD,CO,US,
         RENEWAL RATE. INCLUDES TAC                                                     80112
         SUPPORT, SW/FW UPDATES.

  2.2088 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                       301 E ILLINOIS ST,NEW                                 NEW BERLIN   IL      62670
         EQUIP - BRONZE PLUS SUPPORT -                                                  BERLIN,IL,US,62670
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2089 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                       11 PALM                                               YUKON        OK      73099
         EQUIP - BRONZE PLUS SUPPORT -                                                  AVE,YUKON,OK,US,73099
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2090 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                       301 E ILLINOIS ST,NEW                                 NEW BERLIN   IL      62670
         EQUIP - BRONZE PLUS SUPPORT -                                                  BERLIN,IL,US,62670
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2091 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                       1 DIGICOMM                                            ENGLEWOOD    CO      80112
         EQUIP - BRONZE PLUS SUPPORT -                                                  DR,ENGLEWOOD,CO,US,80
         RENEWAL RATE. INCLUDES TAC                                                     112
         SUPPORT, SW/FW UPDATES.

  2.2092 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                       890 S MARINE CORPS                                    TAMUNING     GU      96913
         EQUIP - BRONZE PLUS SUPPORT -                                                  DR,TAMUNING,GU,US,9691
         RENEWAL RATE. INCLUDES TAC                                                     3
         SUPPORT, SW/FW UPDATES.

  2.2093 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                       890 S MARINE CORPS                                    TAMUNING     GU      96913
         EQUIP - BRONZE PLUS SUPPORT -                                                  DR,TAMUNING,GU,US,9691
         RENEWAL RATE. INCLUDES TAC                                                     3
         SUPPORT, SW/FW UPDATES.

  2.2094 SUPPORT CONTRACT - CPE        DIGICOMM INTERNATIONAL INC                       1901 JONES                                            PARAGOULD    AR      72450
         EQUIP - SILVER SUPPORT - 1ST                                                   RD,PARAGOULD,AR,US,724
         YEAR. ADDS TAC SUPPORT,                                                        50
         SW/FW UPDATES.
  2.2095 SUPPORT CONTRACT - BACS       DOYLESTOWN TELEPHONE                             81 N PORTAGE                                          DOYLESTOWN   OH      44230
         EQUIP - BRONZE PLUS SUPPORT -                                                  ST,DOYLESTOWN,OH,US,4
         RENEWAL RATE. INCLUDES TAC                                                     4230
         SUPPORT, SW/FW UPDATES.

  2.2096 SUPPORT CONTRACT - CPE        DOYLESTOWN TELEPHONE                             81 N PORTAGE                                          DOYLESTOWN   OH      44230
         EQUIP - BRONZE PLUS SUPPORT -                                                  ST,DOYLESTOWN,OH,US,4
         RENEWAL RATE. INCLUDES TAC                                                     4230
         SUPPORT, SW/FW UPDATES.

  2.2097 SUPPORT CONTRACT - BACS     ECCA                                               BUILDING (A11-B90)                                    CAIRO                12577   EG
         EQUIP - BRONZE LIMITED                                                         SMART VILLAGE
         SUPPORT - RENEWAL RATE.                                                        CAIRO,KM 28 CAIRO- ALEX
         INCLUDES TAC SUPPORT, SW/FW                                                    DESERT ROAD,6TH
         UPDATES NOT AVAILABLE                                                          OCTOBER,CAIRO,EG,12577
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  2.2098 SUPPORT CONTRACT - BACS          ECCA                                 BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE LIMITED                                                SMART VILLAGE
         SUPPORT - RENEWAL RATE.                                               CAIRO,KM 28 CAIRO- ALEX
         INCLUDES TAC SUPPORT, SW/FW                                           DESERT ROAD,6TH
         UPDATES NOT AVAILABLE                                                 OCTOBER,CAIRO,EG,12577
         (FROZEN/OBSOLETE SOFTWARE)

  2.2099 SUPPORT CONTRACT - BACS     ECCA                                      BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE LIMITED                                                SMART VILLAGE
         SUPPORT - RENEWAL RATE.                                               CAIRO,KM 28 CAIRO- ALEX
         INCLUDES TAC SUPPORT, SW/FW                                           DESERT ROAD,6TH
         UPDATES NOT AVAILABLE                                                 OCTOBER,CAIRO,EG,12577
         (FROZEN/OBSOLETE SOFTWARE)

  2.2100 SUPPORT CONTRACT - BACS         ECCA                                  BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - SILVER SUPPORT -                                              SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES, &                                             DESERT ROAD,6TH
         RTF REPAIR.                                                           OCTOBER,CAIRO,EG,12577

  2.2101 SUPPORT CONTRACT - BACS         ECCA                                  BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - SILVER SUPPORT -                                              SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES, &                                             DESERT ROAD,6TH
         RTF REPAIR.                                                           OCTOBER,CAIRO,EG,12577

  2.2102 SUPPORT CONTRACT - BACS         ECCA                                  BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - SILVER SUPPORT -                                              SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES, &                                             DESERT ROAD,6TH
         RTF REPAIR.                                                           OCTOBER,CAIRO,EG,12577

  2.2103 SUPPORT CONTRACT - BACS         ECCA                                  BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - SILVER SUPPORT -                                              SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES, &                                             DESERT ROAD,6TH
         RTF REPAIR.                                                           OCTOBER,CAIRO,EG,12577

  2.2104 SUPPORT CONTRACT - BACS         ECCA                                  BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - SILVER SUPPORT -                                              SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES, &                                             DESERT ROAD,6TH
         RTF REPAIR.                                                           OCTOBER,CAIRO,EG,12577

  2.2105 SUPPORT CONTRACT - BACS         ECCA                                  BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - SILVER SUPPORT -                                              SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES, &                                             DESERT ROAD,6TH
         RTF REPAIR.                                                           OCTOBER,CAIRO,EG,12577

  2.2106 SUPPORT CONTRACT - CPE      ECCA                                      BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE LIMITED                                                SMART VILLAGE
         SUPPORT - RENEWAL RATE.                                               CAIRO,KM 28 CAIRO- ALEX
         INCLUDES TAC SUPPORT, SW/FW                                           DESERT ROAD,6TH
         UPDATES NOT AVAILABLE                                                 OCTOBER,CAIRO,EG,12577
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  2.2107 SUPPORT CONTRACT - CPE      ECCA                                      BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE LIMITED                                                SMART VILLAGE
         SUPPORT - RENEWAL RATE.                                               CAIRO,KM 28 CAIRO- ALEX
         INCLUDES TAC SUPPORT, SW/FW                                           DESERT ROAD,6TH
         UPDATES NOT AVAILABLE                                                 OCTOBER,CAIRO,EG,12577
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  2.2108 SUPPORT CONTRACT - CPE           ECCA                                 BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE LIMITED                                                SMART VILLAGE
         SUPPORT - RENEWAL RATE.                                               CAIRO,KM 28 CAIRO- ALEX
         INCLUDES TAC SUPPORT, SW/FW                                           DESERT ROAD,6TH
         UPDATES NOT AVAILABLE                                                 OCTOBER,CAIRO,EG,12577
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  2.2109 SUPPORT CONTRACT - CPE        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
                                                                               OCTOBER,CAIRO,EG,12577

  2.2110 SUPPORT CONTRACT - CPE        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
                                                                               OCTOBER,CAIRO,EG,12577

  2.2111 SUPPORT CONTRACT - CPE        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
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  2.2112 SUPPORT CONTRACT - CPE        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
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  2.2113 SUPPORT CONTRACT - CPE        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
                                                                               OCTOBER,CAIRO,EG,12577

  2.2114 SUPPORT CONTRACT - CPE        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
                                                                               OCTOBER,CAIRO,EG,12577

  2.2115 SUPPORT CONTRACT - NMS        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
                                                                               OCTOBER,CAIRO,EG,12577

  2.2116 SUPPORT CONTRACT - NMS        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
                                                                               OCTOBER,CAIRO,EG,12577

  2.2117 SUPPORT CONTRACT - NMS        ECCA                                    BUILDING (A11-B90)                                    CAIRO           12577   EG
         EQUIP - BRONZE PLUS SUPPORT -                                         SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                            CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                               DESERT ROAD,6TH
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  2.2118 SUPPORT CONTRACT - NMS           ECCA                                     BUILDING (A11-B90)                                    CAIRO                 12577       EG
         EQUIP - BRONZE PLUS SUPPORT -                                             SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                                CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                                   DESERT ROAD,6TH
                                                                                   OCTOBER,CAIRO,EG,12577

  2.2119 SUPPORT CONTRACT - NMS        ECCA                                        BUILDING (A11-B90)                                    CAIRO                 12577       EG
         EQUIP - BRONZE PLUS SUPPORT -                                             SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                                CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                                   DESERT ROAD,6TH
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  2.2120 SUPPORT CONTRACT - NMS        ECCA                                        BUILDING (A11-B90)                                    CAIRO                 12577       EG
         EQUIP - BRONZE PLUS SUPPORT -                                             SMART VILLAGE
         RENEWAL RATE. INCLUDES TAC                                                CAIRO,KM 28 CAIRO- ALEX
         SUPPORT, SW/FW UPDATES.                                                   DESERT ROAD,6TH
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  2.2121 SUPPORT CONTRACT - BACS     EIS MIDDLE EAST FZE                           OFFICE 904, ICON TOWER,                               DUBAI                             AE
         EQUIP - BRONZE LIMITED                                                    TECOM,PO BOX:120902,
         SUPPORT - RENEWAL RATE.                                                   BARSHA HEIGHTS
         INCLUDES TAC SUPPORT, SW/FW                                               TECOM,DUBAI,AE
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2122 SUPPORT CONTRACT - BACS     EIS MIDDLE EAST FZE                           OFFICE 904, ICON TOWER,                               DUBAI                             AE
         EQUIP - SILVER SUPPORT -                                                  TECOM,PO BOX:120902,
         RENEWAL RATE. INCLUDES TAC                                                BARSHA HEIGHTS
         SUPPORT, SW/FW UPDATES, &                                                 TECOM,DUBAI,AE
         RTF REPAIR.
  2.2123 SUPPORT CONTRACT - CPE      EIS MIDDLE EAST FZE                           OFFICE 904, ICON TOWER,                               DUBAI                             AE
         EQUIP - BRONZE LIMITED                                                    TECOM,PO BOX:120902,
         SUPPORT - RENEWAL RATE.                                                   BARSHA HEIGHTS
         INCLUDES TAC SUPPORT, SW/FW                                               TECOM,DUBAI,AE
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2124 SUPPORT CONTRACT - CPE        EIS MIDDLE EAST FZE                         OFFICE 904, ICON TOWER,                               SHARJAH                           AE
         EQUIP - BRONZE PLUS SUPPORT -                                             TECOM,PO BOX:120902,
         1ST YEAR. ADDS TAC SUPPORT,                                               BARSHA HEIGHTS
         SW/FW UPDATES.                                                            TECOM,DUBAI,AE

  2.2125 SUPPORT CONTRACT - NMS        EIS MIDDLE EAST FZE                         OFFICE 904, ICON TOWER,                               DUBAI                             AE
         EQUIP - BRONZE SUPPORT -                                                  TECOM,PO BOX:120902,
         RENEWAL RATE. INCLUDES TAC                                                BARSHA HEIGHTS
         SUPPORT, SW/FW UPDATES.                                                   TECOM,DUBAI,AE
         BEST EFFORT.
  2.2126 SUPPORT CONTRACT - BACS       ELECTRONICS SHOP, SA                        2200 NW 129TH                                         GUATEMALA             33182       GT
         EQUIP - SILVER SUPPORT - 1ST                                              AVENUE,SUITE
         YEAR. ADDS TAC SUPPORT,                                                   108,MIAMI,FL,US,33182
         SW/FW UPDATES.
  2.2127 SUPPORT CONTRACT - ANYHAUL EMERY TELEPHONE DBA: EMERY                     177 E 1850                                            ORANGEVILLE   UT      84501
         EQUIP - SILVER SUPPORT - 1ST  TELCOM                                      S,PRICE,UT,US,84501
         YEAR, ADDS TAC SUPPORT,
         SW/FW UPDATES
  2.2128 SUPPORT CONTRACT - BACS       EMIRATES                                    ETISALAT, HEAD                                        ABU DHABI                         AE
         EQUIP - SILVER SUPPORT -      TELECOMMUNICATIONS GROUP                    OFFICE,PO BOX 3838,14TH
         RENEWAL RATE. INCLUDES TAC COMPANY (ETISALAT GROUP)                       FLOOR BUILDING A,ABU
         SUPPORT, SW/FW UPDATES, &     PJSC                                        DHABI,AE
         RTF REPAIR.
  2.2129 SUPPORT CONTRACT - BACS       EMPRESARIAL SERVICOS E                      AVENIDA FRANCISCO                                     FRANCA        SAU     14402-412   BR
         EQUIP - BRONZE PLUS SUPPORT - COMERCIO DE                                 DELFINO DOS SANTOS,                                                 PAULO
         RENEWAL RATE. INCLUDES TAC TELECOMUNICACOES LTDA                          991,JARDIM
         SUPPORT, SW/FW UPDATES.                                                   PAULISTANO,FRANCA,SAO
                                                                                   PAULO,BR,SP 14402-412




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  2.2130 SUPPORT CONTRACT - CPE           EMPRESARIAL SERVICOS E                       AVENIDA FRANCISCO                                     FRANCA         SAU     14402-412   BR
         EQUIP - BRONZE PLUS SUPPORT - COMERCIO DE                                     DELFINO DOS SANTOS,                                                  PAULO
         RENEWAL RATE. INCLUDES TAC TELECOMUNICACOES LTDA                              991,JARDIM
         SUPPORT, SW/FW UPDATES.                                                       PAULISTANO,FRANCA,SAO
                                                                                       PAULO,BR,SP 14402-412
  2.2131 SUPPORT CONTRACT - CPE        EPS GLOBAL                                      7920 GEORGETOWN                                       LONG BEACH     IN      46268
         EQUIP - BRONZE PLUS SUPPORT -                                                 ROAD,SUITE
         1ST YEAR. ADDS TAC SUPPORT,                                                   800,INDIANAPOLIS,IN,US,46
         SW/FW UPDATES.                                                                268
  2.2132 SUPPORT CONTRACT - 3YRS -     EQUINSA NETWORKING                              C/PRIMAVERA.14,POL.IND.L                              MADRID                 28850       ES
         BRONZE PLUS MAINT POLAN                                                       AS MONJAS,28850
         PORT EXTENDERS. INCLUDES                                                      TORREJON DE
         TAC SUPPORT, SW/FW UPDATES.                                                   ARDOZ,MADRID,ES,28850

  2.2133 SUPPORT CONTRACT - 3YRS -     EQUINSA NETWORKING                              C/PRIMAVERA.14,POL.IND.L                              MADRID                 28850       ES
         SILVER MAINT POLAN                                                            AS MONJAS,28850
         SWITCHING EQUIP. INCLUDES                                                     TORREJON DE
         TAC SUPPORT, SW/FW UPDATES,                                                   ARDOZ,MADRID,ES,28850
         & RTF REPAIR.
  2.2134 SUPPORT CONTRACT - BACS       EQUINSA NETWORKING                              C/PRIMAVERA.14,POL.IND.L                              MADRID                 28850       ES
         EQUIP - BRONZE PLUS SUPPORT -                                                 AS MONJAS,28850
         RENEWAL RATE. INCLUDES TAC                                                    TORREJON DE
         SUPPORT, SW/FW UPDATES.                                                       ARDOZ,MADRID,ES,28850

  2.2135 SUPPORT CONTRACT - CPE        EQUINSA NETWORKING                              C/PRIMAVERA.14,POL.IND.L                              MADRID                 28850       ES
         EQUIP - BRONZE PLUS SUPPORT -                                                 AS MONJAS,28850
         RENEWAL RATE. INCLUDES TAC                                                    TORREJON DE
         SUPPORT, SW/FW UPDATES.                                                       ARDOZ,MADRID,ES,28850

  2.2136 SUPPORT CONTRACT - BACS       EVEN FLOW DISTRIBUTION (PTY)                    4 TREATY                                              MIDRAND                7925        ZA
         EQUIP - SILVER SUPPORT - 1ST  LTD                                             ROAD,WOODSTOCK,WOOD
         YEAR. ADDS TAC SUPPORT,                                                       STOCK, CAPE
         SW/FW UPDATES.                                                                TOWN,ZA,7925
  2.2137 SUPPORT CONTRACT - CPE        EVEN FLOW DISTRIBUTION (PTY)                    401 OLD PRETORIA MAIN                                 DURBAN                 1685        ZA
         EQUIP - BRONZE PLUS SUPPORT - LTD                                             ROAD,HALFWAY
          1ST YEAR. ADDS TAC SUPPORT,                                                  HOUSE,MIDRAND,ZA,1685
         SW/FW UPDATES.
  2.2138 SUPPORT CONTRACT - CPE        EVEN FLOW DISTRIBUTION (PTY)                    401 OLD PRETORIA MAIN                                 DURBAN                 1685        ZA
         EQUIP - BRONZE PLUS SUPPORT - LTD                                             ROAD,HALFWAY
          1ST YEAR. ADDS TAC SUPPORT,                                                  HOUSE,MIDRAND,ZA,1685
         SW/FW UPDATES.
  2.2139 SUPPORT CONTRACT - ANYHAUL EVOLUGEN                                           BROOKFIELD POWER                                      GATINEAU       QU      J8X 2A1     CA
         EQUIP - BRONZE LIMITED                                                        SERVICES INC.,41, RUE
         SUPPORT - RENEWAL RATE.                                                       VICTORIA,GATINEAU,QUEB
         INCLUDES TAC SUPPORT, SW/FW                                                   EC,CA,J8X 2A1
         UPDATES NOT AVAILABLE
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  2.2140 SUPPORT CONTRACT - BACS       EXTRIBIX (PTY) LTD                              BLOCK 6 PINEWOOD                                      NORTHCLIFF             2128        ZA
         EQUIP - SILVER SUPPORT - 1ST                                                  OFFICE PARK,33 RILEY                                  EXT 5,
         YEAR. ADDS TAC SUPPORT,                                                       RD,SANDTON,ZA,2128                                    JOHANNESBURG
         SW/FW UPDATES.
  2.2141 SUPPORT CONTRACT - CPE        EXTRIBIX (PTY) LTD                              BLOCK 6 PINEWOOD                                      NORTHCLIFF             2128        ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                 OFFICE PARK,33 RILEY                                  EXT 5,
         1ST YEAR. ADDS TAC SUPPORT,                                                   RD,SANDTON,ZA,2128                                    JOHANNESBURG
         SW/FW UPDATES.
  2.2142 SUPPORT CONTRACT - 3YRS -     FAIRMONT HOTEL KENYA                            FAIRMONT MOUNT KENYA                                  NAIROBI                10400       KE
         BRONZE PLUS MAINT POLAN                                                       SAFARI CLUB,10400 MT
         PORT EXTENDERS. INCLUDES                                                      KENYA ROAD
         TAC SUPPORT, SW/FW UPDATES.                                                   NANYUKI,NANYUKI,KE,1040
                                                                                       0
  2.2143 SUPPORT CONTRACT - BACS       FAIRMONT HOTEL KENYA                            PO BOX                                                NAIROBI                00200       KE
         EQUIP - BRONZE PLUS SUPPORT -                                                 58581,NAIROBI,KE,00200
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2144 SUPPORT CONTRACT - CPE           FAIRMONT HOTEL KENYA                    PO BOX                                                   NAIROBI             00200    KE
         EQUIP - BRONZE PLUS SUPPORT -                                            58581,NAIROBI,KE,00200
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2145 SUPPORT CONTRACT - ANYHAUL FARMERS TELEPHONE                             SUMTER WAREHOUSE,621                                     KINGSTREE   SC      29153
         EQUIP - SILVER SUPPORT -      COOPERATIVE INC                            N PIKE
         RENEWAL RATE, INCLUDES TAC                                               W,SUMTER,SC,US,29153
         SUPPORT, SW/FW UPDATES &
         RTF REPAIR
  2.2146 SUPPORT CONTRACT - CPE        FIBERX,INC                                 WAREHOUSE - PLAZA RIO                                    GUAYNABO    PR      00725
         EQUIP - BRONZE PLUS SUPPORT -                                            CANAS,CARR #1 KM
          1ST YEAR. ADDS TAC SUPPORT,                                             27.8,CAGUAS,PR,US,00725
         SW/FW UPDATES.
  2.2147 SUPPORT CONTRACT - CPE        FIBERX,INC                                 WAREHOUSE - PLAZA RIO                                    GUAYNABO    PR      00725
         EQUIP - BRONZE PLUS SUPPORT -                                            CANAS,CARR #1 KM
          1ST YEAR. ADDS TAC SUPPORT,                                             27.8,CAGUAS,PR,US,00725
         SW/FW UPDATES.
  2.2148 SUPPORT CONTRACT - BACS       FIBRAIN SP. Z O.O.                         ZACZERNIE                                                ZACZERNIE           36-062   PL
         EQUIP - SILVER SUPPORT - 1ST                                             190F,ZACZERNIE,PL,36-062
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2149 SUPPORT CONTRACT - BACS       FIBRAIN SP. Z O.O.                         ZACZERNIE                                                ZACZERNIE           36-062   PL
         EQUIP - SILVER SUPPORT - 1ST                                             190F,ZACZERNIE,PL,36-062
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2150 SUPPORT CONTRACT - BACS       FIBRAWEB                                   VIA VOLTA                                                PERIGIA             06135    IT
         EQUIP - BRONZE LIMITED                                                   102,PERIGIA,IT,06135
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2151 SUPPORT CONTRACT - BACS       FIBRAWEB                                   VIA VOLTA                                                PERIGIA             06135    IT
         EQUIP - BRONZE PLUS SUPPORT -                                            102,PERIGIA,IT,06135
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2152 SUPPORT CONTRACT - CPE      FIBRAWEB                                     VIA VOLTA                                                PERIGIA             06135    IT
         EQUIP - BRONZE LIMITED                                                   102,PERIGIA,IT,06135
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2153 SUPPORT CONTRACT - CPE        FIBRAWEB                                   VIA VOLTA                                                PERIGIA             06135    IT
         EQUIP - BRONZE PLUS SUPPORT -                                            102,PERIGIA,IT,06135
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2154 SUPPORT CONTRACT - NMS        FIBRAWEB                                   VIA VOLTA                                                PERIGIA             06135    IT
         EQUIP - BRONZE PLUS SUPPORT -                                            102,PERIGIA,IT,06135
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2155 SUPPORT CONTRACT - BACS     FLUME INTERNET                               85 BROAD ST,16TH                                         NEW YORK    NY      10004
         EQUIP - BRONZE LIMITED                                                   FLOOR,NEW
         SUPPORT - RENEWAL RATE.                                                  YORK,NY,US,10004
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.2156 SUPPORT CONTRACT - 3YRS -        FONEX DATA SYSTEMS INC.                    2400 BOULEVARD DANIEL-                                LAVAL          QC      H7T3A4   CA
         BRONZE PLUS MAINT POLAN                                                     JOHNSON,LAVAL,QC,CA,H7
         PORT EXTENDERS. INCLUDES                                                    T3A4
         TAC SUPPORT, SW/FW UPDATES.

  2.2157 SUPPORT CONTRACT - BACS     FONEX DATA SYSTEMS INC.                         5400, CH. ST-                                         MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE LIMITED                                                      FRANCOIS,ST-
         SUPPORT - RENEWAL RATE.                                                     LAURENT,QC,CA,H4S1P6
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2158 SUPPORT CONTRACT - BACS     FONEX DATA SYSTEMS INC.                         5400, CH. ST-                                         MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE LIMITED                                                      FRANCOIS,ST-
         SUPPORT - RENEWAL RATE.                                                     LAURENT,QC,CA,H4S1P6
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2159 SUPPORT CONTRACT - BACS       FONEX DATA SYSTEMS INC.                       0                                                     SOUTH          0       0
         EQUIP - BRONZE PLUS SUPPORT -                                                                                                     ROYALTON
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2160 SUPPORT CONTRACT - BACS       FONEX DATA SYSTEMS INC.                       5400, CH. ST-                                         MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.

  2.2161 SUPPORT CONTRACT - BACS       FONEX DATA SYSTEMS INC.                       5400, CH. ST-                                         PETITE-RIVIERE- QC     H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-                                          SAINT-FRANCOIS
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.

  2.2162 SUPPORT CONTRACT - BACS       FONEX DATA SYSTEMS INC.                       5400, CH. ST-                                         MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.

  2.2163 SUPPORT CONTRACT - BACS      FONEX DATA SYSTEMS INC.                        0                                                     SOUTH          0       0
         EQUIP - SILVER SUPPORT - 1ST                                                                                                      ROYALTON
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2164 SUPPORT CONTRACT - CPE       FONEX DATA SYSTEMS INC.                        5400, CH. ST-                                         MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE LIMITED                                                      FRANCOIS,ST-
         SUPPORT - RENEWAL RATE.                                                     LAURENT,QC,CA,H4S1P6
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2165 SUPPORT CONTRACT - CPE        FONEX DATA SYSTEMS INC.                       ECFIBER,415 WATERMAN                                  SAINT-LAURENT ,V       ,05068   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               RD,SOUTH
         1ST YEAR. ADDS TAC SUPPORT,                                                 ROYALTON,VT,US,05068
         SW/FW UPDATES.
  2.2166 SUPPORT CONTRACT - CPE        FONEX DATA SYSTEMS INC.                       5400, CH. ST-                                         MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.

  2.2167 SUPPORT CONTRACT - CPE        FONEX DATA SYSTEMS INC.                       5400, CH. ST-                                         PETITE-RIVIERE- QC     H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-                                          SAINT-FRANCOIS
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.




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  2.2168 SUPPORT CONTRACT - CPE           FONEX DATA SYSTEMS INC.                    5400, CH. ST-                                          MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.

  2.2169 SUPPORT CONTRACT - NMS        FONEX DATA SYSTEMS INC.                       5400, CH. ST-                                          PETITE-RIVIERE- QC     H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-                                           SAINT-FRANCOIS
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.

  2.2170 SUPPORT CONTRACT - NMS        FONEX DATA SYSTEMS INC.                       5400, CH. ST-                                          MONTREAL       QC      H4S1P6   CA
         EQUIP - BRONZE PLUS SUPPORT -                                               FRANCOIS,ST-
         RENEWAL RATE. INCLUDES TAC                                                  LAURENT,QC,CA,H4S1P6
         SUPPORT, SW/FW UPDATES.

  2.2171 SUPPORT CONTRACT - 3YRS -   FSIT SERVICES EGYPT                             9E BUILDING SAUDI                                      CAIRO                           EG
         BRONZE PLUS MAINT POLAN                                                     ARABIA,AL SAWRA ROAD,
         PORT EXTENDERS. INCLUDES                                                    KILO
         TAC SUPPORT, SW/FW UPDATES.                                                 4.5,ALMAZAH,CAIRO,EG

  2.2172 SUPPORT CONTRACT - 3YRS -   FSIT SERVICES EGYPT                             9E BUILDING SAUDI                                      CAIRO                           EG
         BRONZE PLUS MAINT POLAN                                                     ARABIA,AL SAWRA ROAD,
         SWITCHING EQUIP. INCLUDES                                                   KILO
         TAC SUPPORT, SW/FW UPDATES.                                                 4.5,ALMAZAH,CAIRO,EG

  2.2173 SUPPORT CONTRACT - 3YRS -     FSIT SERVICES EGYPT                           BLOCK 1144/5,ABU BAKR                                  EL GOUNA                        EG
         SILVER MAINT POLAN PORT                                                     ELSEDDIQ ST,CAIRO,EG
         EXTENDERS. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2174 SUPPORT CONTRACT - 3YRS -     FSIT SERVICES EGYPT                           BLOCK 1144/5,ABU BAKR                                  EL GOUNA                        EG
         SILVER MAINT POLAN                                                          ELSEDDIQ ST,CAIRO,EG
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.2175 SUPPORT CONTRACT - BACS       FSIT SERVICES EGYPT                           KM.38 CAIRO ALEXANDRIA                                 GIZA                            EG
         EQUIP - GOLD SUPPORT - 1ST                                                  DESERT ROAD,SHEIKH
         YEAR. ADDS TAC SUPPORT,                                                     ZAYED CITY,GIZA,EG
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.2176 SUPPORT CONTRACT - BACS       FSIT SERVICES EGYPT                           BLOCK 1144/5,ABU BAKR                                  CAIRO                           EG
         EQUIP - SILVER SUPPORT - 1ST                                                ELSEDDIQ ST,CAIRO,EG
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2177 SUPPORT CONTRACT - CPE        FSIT SERVICES EGYPT                           KM.38 CAIRO ALEXANDRIA                                 GIZA                            EG
         EQUIP - BRONZE PLUS SUPPORT -                                               DESERT ROAD,SHEIKH
         1ST YEAR. ADDS TAC SUPPORT,                                                 ZAYED CITY,GIZA,EG
         SW/FW UPDATES.
  2.2178 SUPPORT CONTRACT - CPE        FSIT SERVICES EGYPT                           BLOCK 1144/5,ABU BAKR                                  CAIRO                           EG
         EQUIP - BRONZE PLUS SUPPORT -                                               ELSEDDIQ ST,CAIRO,EG
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2179 SUPPORT CONTRACT - NMS        FSIT SERVICES EGYPT                           BLOCK 1144/5,ABU BAKR                                  CAIRO                           EG
         EQUIP - BRONZE PLUS SUPPORT -                                               ELSEDDIQ ST,CAIRO,EG
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2180 SUPPORT CONTRACT - ANYHAUL GCI COMMUNICATION CORP                           1001 NORTHWAY                                          ANCHORAGE      AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                     #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                               08
  2.2181 SUPPORT CONTRACT - ANYHAUL GCI COMMUNICATION CORP                           1001 NORTHWAY                                          ANCHORAGE      AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                     #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                               08




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  2.2182 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2183 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2184 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2185 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2186 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2187 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2188 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2189 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2190 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2191 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2192 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2193 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2194 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2195 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2196 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2197 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08




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  2.2198 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2199 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT - 1ST                                                 DRIVE,DOCK
         YEAR, ADDS TAC SUPPORT,                                                      #8,ANCHORAGE,AK,US,995
         SW/FW UPDATES                                                                08
  2.2200 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2201 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2202 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2203 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2204 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2205 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2206 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2207 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2208 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2209 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2210 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR




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  2.2211 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2212 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2213 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2214 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2215 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2216 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2217 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2218 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2219 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2220 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2221 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2222 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2223 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR




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  2.2224 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2225 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2226 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2227 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2228 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2229 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2230 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2231 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2232 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2233 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2234 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2235 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2236 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE   AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR




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  2.2237 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE     AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2238 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE     AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2239 SUPPORT CONTRACT - ANYHAUL         GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE     AK      99508
         EQUIP - SILVER SUPPORT -                                                     DRIVE,DOCK
         RENEWAL RATE, INCLUDES TAC                                                   #8,ANCHORAGE,AK,US,995
         SUPPORT, SW/FW UPDATES &                                                     08
         RTF REPAIR
  2.2240 SUPPORT CONTRACT -                 GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE     AK      99508
         OBSOLETE, ANYHAUL EQUIP -                                                    DRIVE,DOCK
         SILVER SUPPORT - RENEWAL                                                     #8,ANCHORAGE,AK,US,995
         RATE, INCLUDES TAC SUPPORT,                                                  08
         SW/FW UPDATES & RTF REPAIR
  2.2241 SUPPORT CONTRACT -                 GCI COMMUNICATION CORP                    1001 NORTHWAY                                         ANCHORAGE     AK      99508
         OBSOLETE, ANYHAUL EQUIP -                                                    DRIVE,DOCK
         SILVER SUPPORT - RENEWAL                                                     #8,ANCHORAGE,AK,US,995
         RATE, INCLUDES TAC SUPPORT,                                                  08
         SW/FW UPDATES & RTF REPAIR
  2.2242 SUPPORT CONTRACT - BACS            GENEXIS FINLAND OY AB                     YRITTAJANKATU                                         VAASA                 65380   FI
         EQUIP - BRONZE LIMITED                                                       12,VAASA,FI,65380
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2243 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          ALHOLMINKATU 3,FI,68600                               PIETARSAARI           68600   FI
         EQUIP - BRONZE PLUS SUPPORT -
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2244 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          KENTTATIE 10                                          KAUHAJOKI             61800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                                A3,KAUHAJOKI,FI,61800
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2245 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          KAUKOVAINION YKSIKKÖ,                                 OULU                  90250   FI
         EQUIP - BRONZE PLUS SUPPORT -                                                TEKNIIKKA,KOTKANTIE 2
         1ST YEAR . ADDS TAC SUPPORT,                                                 A,OULU,FI,90250
         SW/FW UPDATES.
  2.2246 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          POHJOLANKATU                                          IISALMI               74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                                5,IISALMI,FI,74100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2247 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          ALHOLMINKATU 3,FI,68600                               PIETARSAARI           68600   FI
         EQUIP - BRONZE PLUS SUPPORT -
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2248 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          KORKALONKATU 29                                       ROVANIEMI             96100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                                1.KRS,ROVANIEMI,FI,96100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2249 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          TIMO                                                  SIILINJÄRVI           71800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                                HOPPONEN,HONKAMÄEN
         1ST YEAR . ADDS TAC SUPPORT,                                                 YKSITYISTIE
         SW/FW UPDATES.                                                               180B,SIILINJÄRVI,FI,FI-
                                                                                      71800
  2.2250 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                          VOIMATIE 2,KEMPELE,FI,FI-                             KEMPELE               90440   FI
         EQUIP - BRONZE PLUS SUPPORT -                                                90440
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2251 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    POHJOLANKATU                                             IISALMI               74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             5,IISALMI,FI,74100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2252 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    LINNUNRATA                                               LOVIISA               07900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             6,LOVIISA,FI,07900
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2253 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    VÄINÖNKATU                                               JYVÄSKYLÄ             40100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             11,JYVÄSKYLÄ,FI,FI-40100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2254 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    VOIMATIE 2,KEMPELE,FI,FI-                                KEMPELE               90440   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             90440
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2255 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    KAUPPAKATU                                               ALAJÄRVI              62900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             10,ALAJÄRVI,FI,62900
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2256 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    ALHOLMINKATU 3,FI,68600                                  PIETARSAARI           68600   FI
         EQUIP - BRONZE PLUS SUPPORT -
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2257 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KALEVANKATU 11-                                          SEINÄJOKI             60100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             13,SEINÄJOKI,FI,60100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2258 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KENTTATIE 10                                             KAUHAJOKI             61800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             A3,KAUHAJOKI,FI,61800
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2259 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KAUKOVAINION YKSIKKÖ,                                    OULU                  90250   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             TEKNIIKKA,KOTKANTIE 2
         RENEWAL RATE. INCLUDES TAC                                                A,OULU,FI,90250
         SUPPORT, SW/FW UPDATES.

  2.2260 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       POHJOLANKATU                                             IISALMI               74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             5,IISALMI,FI,74100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2261 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       ALHOLMINKATU 3,FI,68600                                  PIETARSAARI           68600   FI
         EQUIP - BRONZE PLUS SUPPORT -
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2262 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KORKALONKATU 29                                          ROVANIEMI             96100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             1.KRS,ROVANIEMI,FI,96100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2263 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       TIMO                                                     SIILINJÄRVI           71800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             HOPPONEN,HONKAMÄEN
         RENEWAL RATE. INCLUDES TAC                                                YKSITYISTIE
         SUPPORT, SW/FW UPDATES.                                                   180B,SIILINJÄRVI,FI,FI-
                                                                                   71800
  2.2264 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       VOIMATIE 2,KEMPELE,FI,FI-                                KEMPELE               90440   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             90440
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2265 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    POHJOLANKATU                                             IISALMI               74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             5,IISALMI,FI,74100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2266 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       LINNUNRATA                                               LOVIISA               07900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             6,LOVIISA,FI,07900
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2267 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       VÄINÖNKATU                                               JYVÄSKYLÄ             40100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             11,JYVÄSKYLÄ,FI,FI-40100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2268 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       SEPANTIE                                                 SKARHOLMEN            04600   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             3,MANTSALA,FI,04600
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2269 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       VOIMATIE 2,KEMPELE,FI,FI-                                KEMPELE               90440   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             90440
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2270 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KENTTATIE 10                                             KAUHAJOKI             61800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             A3,KAUHAJOKI,FI,61800
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2271 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KENTTATIE 10                                             KAUHAJOKI             61800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             A3,KAUHAJOKI,FI,61800
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2272 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       SEPANTIE                                                 SKARHOLMEN            04600   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             3,MANTSALA,FI,04600
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2273 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       ALHOLMINKATU 3,FI,68600                                  PIETARSAARI           68600   FI
         EQUIP - BRONZE PLUS SUPPORT -
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2274 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       VÄINÖNKATU                                               JYVÄSKYLÄ             40100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             11,JYVÄSKYLÄ,FI,FI-40100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2275 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KAUPPAKATU                                               ALAJÄRVI              62900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             10,ALAJÄRVI,FI,62900
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2276 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       KAUPPAKATU                                               ALAJÄRVI              62900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             10,ALAJÄRVI,FI,62900
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2277 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       OTTO MANNISEN KATU                                       MIKKELI               50100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             6,MIKKELI,FI,50100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2278 SUPPORT CONTRACT - BACS          GENEXIS FINLAND OY AB                    MIKAELINKATU 2,FI-23800                                  LAITILA                23800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             LAITILA,LAITILA,FI,23800
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2279 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       MIKAELINKATU 2,FI-23800                                  LAITILA                23800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             LAITILA,LAITILA,FI,23800
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2280 SUPPORT CONTRACT - BACS       GENEXIS FINLAND OY AB                       MESTARINTIE                                              KOKKOLA                67600   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             4,KOKKOLA,FI,FI-67600
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2281 SUPPORT CONTRACT - CPE      GENEXIS FINLAND OY AB                         KIRKKOTIE                                                UUSIKAUPUNKI           27100   FI
         EQUIP - BRONZE LIMITED                                                    40,EURAJOKI,FI,27100
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2282 SUPPORT CONTRACT - CPE      GENEXIS FINLAND OY AB                         POHJOISTULLIKATU                                         UUSIKAUPUNKI           23500   FI
         EQUIP - BRONZE LIMITED                                                    11,UUSIKAUPUNKI,FI,23500
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2283 SUPPORT CONTRACT - CPE        GENEXIS FINLAND OY AB                       KORKALONKATU 29                                          ROVANIEMI              96100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             1.KRS,ROVANIEMI,FI,96100
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2284 SUPPORT CONTRACT - CPE        GENEXIS FINLAND OY AB                       KORKALONKATU 29                                          ROVANIEMI              96100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             1.KRS,ROVANIEMI,FI,96100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2285 SUPPORT CONTRACT - NMS        GENEXIS FINLAND OY AB                       VOIMATIE 2,KEMPELE,FI,FI-                                KEMPELE                90440   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             90440
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2286 SUPPORT CONTRACT - NMS        GENEXIS FINLAND OY AB                       VOIMATIE 2,KEMPELE,FI,FI-                                KEMPELE                90440   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             90440
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2287 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                           NOJANMAANTIE                                             SAVONLINNA             57120   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             20,SAVONLINNA,FI,FI-57120
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2288 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                           POHJOLANKATU                                             KAJAANI                74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             5,IISALMI,FI,74100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2289 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                           STENSÄTRAVÄGEN 13                                        ORSTA                  12739   NO
         EQUIP - BRONZE PLUS SUPPORT -                                             HUS
         1ST YEAR . ADDS TAC SUPPORT,                                              C,SKÄRHOLMEN,SE,12739
         SW/FW UPDATES.
  2.2290 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                           KORKEAVUORENKATU                                         KARJAA                 10300   FI
         EQUIP - BRONZE PLUS SUPPORT -                                             4,KARJAA,FI,10300
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2291 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    EIKERVEIEN                                               HONEFOSS               3340    NO
         EQUIP - BRONZE PLUS SUPPORT -                                         33,AMOT,NO,3340
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2292 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    KORKEAVUORENKATU                                         KARJAA                 10300   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         4,KARJAA,FI,10300
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2293 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    POHJOLANKATU                                             IISALMI                74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         5,IISALMI,FI,74100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2294 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    STENSÄTRAVÄGEN 13                                        KRISTIANSUND           12739   NO
         EQUIP - BRONZE PLUS SUPPORT -                                         HUS
         1ST YEAR . ADDS TAC SUPPORT,                                          C,SKÄRHOLMEN,SE,12739
         SW/FW UPDATES.
  2.2295 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    EIKERVEIEN                                               HONEFOSS               3340    NO
         EQUIP - BRONZE PLUS SUPPORT -                                         33,AMOT,NO,3340
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2296 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    STENSÄTRAVÄGEN 13                                        SORKJOSEN              12739   NO
         EQUIP - BRONZE PLUS SUPPORT -                                         HUS
         1ST YEAR . ADDS TAC SUPPORT,                                          C,SKÄRHOLMEN,SE,12739
         SW/FW UPDATES.
  2.2297 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    VRETANTIE                                                KEMIÖN                 25700   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         11,KEMIÖN,FI,25700
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2298 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    KORKEAVUORENKATU                                         KARJAA                 10300   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         4,KARJAA,FI,10300
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2299 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    MONGSTUGATA                                              SUNNDALSORA            6600    NO
         EQUIP - BRONZE PLUS SUPPORT -                                         9,SUNNDALSORA,NO,6600
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2300 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    LINNUNRATA                                               LOVIISA                07900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         6,LOVIISA,FI,07900
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2301 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    MONGSTUGATA                                              SUNNDALSORA            6600    NO
         EQUIP - BRONZE PLUS SUPPORT -                                         9,SUNNDALSORA,NO,6600
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2302 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    VÄINÖNKATU                                               JYVÄSKYLÄ              40100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         11,JYVÄSKYLÄ,FI,FI-40100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2303 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    MÄKISENKATU                                              IKAALINEN              39500   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         2,IKAALINEN,FI,39500
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2304 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    VÄINÖNKATU                                               JYVÄSKYLÄ              40100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         11,JYVÄSKYLÄ,FI,FI-40100
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2305 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    NOJANMAANTIE                                             SAVONLINNA             57120   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         20,SAVONLINNA,FI,FI-57120
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2306 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       POHJOLANKATU                                             KAJAANI                74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         5,IISALMI,FI,74100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2307 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    KORKEAVUORENKATU                                         KARJAA              10300   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         4,KARJAA,FI,10300
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2308 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       KORKEAVUORENKATU                                         KARJAA              10300   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         4,KARJAA,FI,10300
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2309 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       POHJOLANKATU                                             IISALMI             74100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         5,IISALMI,FI,74100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2310 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       VRETANTIE                                                KEMIÖN              25700   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         11,KEMIÖN,FI,25700
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2311 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       KORKEAVUORENKATU                                         KARJAA              10300   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         4,KARJAA,FI,10300
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2312 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       LINNUNRATA                                               LOVIISA             07900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         6,LOVIISA,FI,07900
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2313 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       VÄINÖNKATU                                               JYVÄSKYLÄ           40100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         11,JYVÄSKYLÄ,FI,FI-40100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2314 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       MÄKISENKATU                                              IKAALINEN           39500   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         2,IKAALINEN,FI,39500
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2315 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       VÄINÖNKATU                                               JYVÄSKYLÄ           40100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         11,JYVÄSKYLÄ,FI,FI-40100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2316 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       POHJOLANKATU                                             KAJAANI             87100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         20,KAJAANI,FI,FI-87100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2317 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       KENTTATIE 10                                             KAUHAJOKI           61800   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         A3,KAUHAJOKI,FI,61800
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2318 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       KORKALONKATU 29                                          ROVANIEMI           96100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         1.KRS,ROVANIEMI,FI,96100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2319 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       JOHTOKATU                                                MIKKELI             50130   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         1,MIKKELI,FI,50130
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2320 SUPPORT CONTRACT - BACS          GENEXIS SWEDEN AB                    JOHTOKATU                                                MIKKELI               50130   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         1,MIKKELI,FI,50130
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2321 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       POHJOLANKATU                                             KAJAANI               87100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         20,KAJAANI,FI,FI-87100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2322 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       KAUPPAKATU                                               ALAJÄRVI              62900   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         10,ALAJÄRVI,FI,62900
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2323 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       VOIMATIE 2,KEMPELE,FI,FI-                                KEMPELE               90440   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         90440
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2324 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       ALANDSVAGEN                                              MAIREHAMN             22100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         52,MAIREHAMN,FI,FI-22100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2325 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       ALANDSVAGEN                                              MAIREHAMN             22100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         52,MAIREHAMN,FI,FI-22100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2326 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       MÄKISENKATU                                              IKAALINEN             39500   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         2,IKAALINEN,FI,39500
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2327 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       MALMINKATU                                               PARAINEN              21600   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         6,PARAINEN,FI,21600
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2328 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       OTTO MANNISEN KATU                                       MIKKELI               50100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         6,MIKKELI,FI,50100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2329 SUPPORT CONTRACT - BACS       GENEXIS SWEDEN AB                       KORKALONKATU 29                                          ROVANIEMI             96100   FI
         EQUIP - BRONZE PLUS SUPPORT -                                         1.KRS,ROVANIEMI,FI,96100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2330 SUPPORT CONTRACT - CPE      GENEXIS SWEDEN AB                         ALHOLMINKATU 3,FI,68600                                  PIETARSAARI           68600   FI
         EQUIP - BRONZE LIMITED
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2331 SUPPORT CONTRACT - CPE      GENEXIS SWEDEN AB                         ALHOLMINKATU 3,FI,68600                                  PIETARSAARI           68600   FI
         EQUIP - BRONZE LIMITED
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.2332 SUPPORT CONTRACT - CPE           GENEXIS SWEDEN AB                           ALHOLMINKATU 3,FI,68600                               PIETARSAARI           68600    FI
         EQUIP - BRONZE LIMITED
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2333 SUPPORT CONTRACT - CPE      GENEXIS SWEDEN AB                                POHJOLANKATU                                          KAJAANI               87100    FI
         EQUIP - BRONZE LIMITED                                                       20,KAJAANI,FI,FI-87100
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2334 SUPPORT CONTRACT - BACS       GESTO COMMUNICATIONS S.R.O.                    NOVODVORSKÁ                                           PRAGUE                142 00   CZ
         EQUIP - GOLD SUPPORT - 1ST                                                   1062/12,142 00 PRAHA
         YEAR. ADDS TAC SUPPORT,                                                      4,PRAHA 4,CZ,142 00
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.2335 SUPPORT CONTRACT - BACS       GESTO COMMUNICATIONS S.R.O.                    NOVODVORSKÁ                                           PRAGUE                142 00   CZ
         EQUIP- GOLD SUPPORT-                                                         1062/12,142 00 PRAHA
         RENEWAL RATE. INCLUDES TAC                                                   4,PRAHA 4,CZ,142 00
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.2336 SUPPORT CONTRACT - CPE        GESTO COMMUNICATIONS S.R.O.                    NOVODVORSKÁ                                           PRAGUE                142 00   CZ
         EQUIP - BRONZE PLUS SUPPORT -                                                1062/12,142 00 PRAHA
         1ST YEAR. ADDS TAC SUPPORT,                                                  4,PRAHA 4,CZ,142 00
         SW/FW UPDATES.
  2.2337 SUPPORT CONTRACT - CPE        GESTO COMMUNICATIONS S.R.O.                    NOVODVORSKÁ                                           PRAGUE                142 00   CZ
         EQUIP - BRONZE PLUS SUPPORT -                                                1062/12,142 00 PRAHA
         1ST YEAR. ADDS TAC SUPPORT,                                                  4,PRAHA 4,CZ,142 00
         SW/FW UPDATES.
  2.2338 SUPPORT CONTRACT - CPE        GESTO COMMUNICATIONS S.R.O.                    NOVODVORSKÁ                                           PRAGUE                142 00   CZ
         EQUIP - BRONZE PLUS SUPPORT -                                                1062/12,142 00 PRAHA
         RENEWAL RATE. INCLUDES TAC                                                   4,PRAHA 4,CZ,142 00
         SUPPORT, SW/FW UPDATES.

  2.2339 SUPPORT CONTRACT - BACS     GLOBAL BUSINESS SOLUTIONS                        OPPOSITE ANB REGIONAL                                 AL-KHOBAR             31952    SA
         EQUIP - BRONZE LIMITED                                                       HEAD OFFICE,2 KING
         SUPPORT - RENEWAL RATE.                                                      ABDUL AZIZ STREET ST,AL
         INCLUDES TAC SUPPORT, SW/FW                                                  KHOBAR,SA,31952
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2340 SUPPORT CONTRACT - BACS        GLOBAL BUSINESS SOLUTIONS                     KING ABDUL AZIZ STREET,                               AL-KHOBAR             31952    SA
         EQUIP - SILVER SUPPORT - 1ST                                                 ST 2,OPPOSITE ANB
         YEAR. ADDS TAC SUPPORT,                                                      REGIONAL HEAD
         SW/FW UPDATES.                                                               OFFICE,AL
                                                                                      KHOBAR,SA,31952
  2.2341 SUPPORT CONTRACT - BACS     GLOBAL BUSINESS SOLUTIONS                        OPPOSITE ANB REGIONAL                                 AL-KHOBAR             31952    SA
         EQUIP - SILVER SUPPORT -                                                     HEAD OFFICE,2 KING
         RENEWAL RATE. INCLUDES TAC                                                   ABDUL AZIZ STREET ST,AL
         SUPPORT, SW/FW UPDATES, &                                                    KHOBAR,SA,31952
         RTF REPAIR.
  2.2342 SUPPORT CONTRACT - CPE      GLOBAL BUSINESS SOLUTIONS                        OPPOSITE ANB REGIONAL                                 AL-KHOBAR             31952    SA
         EQUIP - BRONZE LIMITED                                                       HEAD OFFICE,2 KING
         SUPPORT - RENEWAL RATE.                                                      ABDUL AZIZ STREET ST,AL
         INCLUDES TAC SUPPORT, SW/FW                                                  KHOBAR,SA,31952
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2343 SUPPORT CONTRACT - CPE        GLOBAL BUSINESS SOLUTIONS                      KING ABDUL AZIZ STREET,                               AL-KHOBAR             31952    SA
         EQUIP - BRONZE PLUS SUPPORT -                                                ST 2,OPPOSITE ANB
         1ST YEAR. ADDS TAC SUPPORT,                                                  REGIONAL HEAD
         SW/FW UPDATES.                                                               OFFICE,AL
                                                                                      KHOBAR,SA,31952




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  2.2344 SUPPORT CONTRACT - CPE           GLOBAL BUSINESS SOLUTIONS                    OPPOSITE ANB REGIONAL                                 AL-KHOBAR             31952   SA
         EQUIP - BRONZE PLUS SUPPORT -                                                 HEAD OFFICE,2 KING
         RENEWAL RATE. INCLUDES TAC                                                    ABDUL AZIZ STREET ST,AL
         SUPPORT, SW/FW UPDATES.                                                       KHOBAR,SA,31952

  2.2345 SUPPORT CONTRACT - NMS        GLOBAL BUSINESS SOLUTIONS                       OPPOSITE ANB REGIONAL                                 AL-KHOBAR             31952   SA
         EQUIP - BRONZE PLUS SUPPORT -                                                 HEAD OFFICE,2 KING
         RENEWAL RATE. INCLUDES TAC                                                    ABDUL AZIZ STREET ST,AL
         SUPPORT, SW/FW UPDATES.                                                       KHOBAR,SA,31952

  2.2346 SUPPORT CONTRACT - BACS     GOLDEN WEST                                       415 CROWN                                             DELL RAPIDS   SD      57790
         EQUIP - BRONZE LIMITED      TELECOMMUNICATIONS                                ST,WALL,SD,US,57790
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2347 SUPPORT CONTRACT - BACS       GOLDEN WEST                                     415 CROWN                                             DELL RAPIDS   SD      57790
         EQUIP - BRONZE PLUS SUPPORT - TELECOMMUNICATIONS                              ST,WALL,SD,US,57790
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2348 SUPPORT CONTRACT - CPE      GOLDEN WEST                                       415 CROWN                                             DELL RAPIDS   SD      57790
         EQUIP - BRONZE LIMITED      TELECOMMUNICATIONS                                ST,WALL,SD,US,57790
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2349 SUPPORT CONTRACT - CPE        GOLDEN WEST                                     415 CROWN                                             DELL RAPIDS   SD      57790
         EQUIP - BRONZE PLUS SUPPORT - TELECOMMUNICATIONS                              ST,WALL,SD,US,57790
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2350 SUPPORT CONTRACT - NMS        GOLDEN WEST                                     415 CROWN                                             DELL RAPIDS   SD      57790
         EQUIP - BRONZE PLUS SUPPORT - TELECOMMUNICATIONS                              ST,WALL,SD,US,57790
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2351 SUPPORT CONTRACT - ANYHAUL     GOLDFIELD TELECOM INC                          4176 CANYON                                           AMARILLO      TX      79109
         EQUIP - SILVER SUPPORT - 1ST                                                  DR,AMARILLO,TX,US,79109
         YEAR, ADDS TAC SUPPORT,
         SW/FW UPDATES
  2.2352 SUPPORT CONTRACT - ANYHAUL     GOLDFIELD TELECOM INC                          TTS-WIRELESS WAY                                      OKLAHOMA CITY OK      73134
         EQUIP - SILVER SUPPORT -                                                      WAREHOUSE,14101
         RENEWAL RATE, INCLUDES TAC                                                    WIRELESS WAY STE
         SUPPORT, SW/FW UPDATES &                                                      300,OKLAHOMA
         RTF REPAIR                                                                    CITY,OK,US,73134
  2.2353 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                          1548 FRONT ST STE                                     BLAIR         NE      68008
         EQUIP - BRONZE LIMITED                                                        102A,BLAIR,NE,US,68008
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE)
  2.2354 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                          1548 FRONT ST STE                                     BLAIR         NE      68008
         EQUIP - BRONZE LIMITED                                                        102A,BLAIR,NE,US,68008
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE)
  2.2355 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                          1548 FRONT ST STE                                     BLAIR         NE      68008
         EQUIP - BRONZE LIMITED                                                        102A,BLAIR,NE,US,68008
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
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  2.2356 SUPPORT CONTRACT - BACS          GOLDFIELD TELECOM INC                    108 S MAPLE                                             ODEBOLT       IA      51458
         EQUIP - BRONZE LIMITED                                                    ST,ODEBOLT,IA,US,51458
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE)
  2.2357 SUPPORT CONTRACT - BACS          GOLDFIELD TELECOM INC                    611 NORTH MAIN                                          FALLS CITY    IA      50542
         EQUIP - BRONZE LIMITED                                                    STREET,GOLDFIELD,IA,US,
         SUPPORT - RENEWAL RATE.                                                   50542
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2358 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2359 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         1421 COURTNEY                                           YADKINVILLE   NC      27055
         EQUIP - BRONZE LIMITED                                                    HUNTSVILLE RD,PO BOX
         SUPPORT - RENEWAL RATE.                                                   368,YADKINVILLE,NC,US,27
         INCLUDES TAC SUPPORT, SW/FW                                               055
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2360 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         103 N MAIN                                              WESTBY        WI      54667
         EQUIP - BRONZE LIMITED                                                    ST,WESTBY,WI,US,54667
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2361 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         611 NORTH MAIN                                          FALLS CITY    IA      50542
         EQUIP - BRONZE LIMITED                                                    STREET,GOLDFIELD,IA,US,
         SUPPORT - RENEWAL RATE.                                                   50542
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2362 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         220 S MAIN                                              KENNEBEC      SD      57544
         EQUIP - BRONZE LIMITED                                                    STREET,KENNEBEC,SD,US,
         SUPPORT - RENEWAL RATE.                                                   57544
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2363 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         204 RAILROAD                                            GOLDFIELD     MN      56007
         EQUIP - BRONZE LIMITED                                                    ST,MANCHESTER,MN,US,5
         SUPPORT - RENEWAL RATE.                                                   6007
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2364 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         8925 STATE HIGHWAY 111                                  BAY CITY      TX      77962
         EQUIP - BRONZE LIMITED                                                    E,GANADO,TX,US,77962
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  2.2365 SUPPORT CONTRACT - BACS          GOLDFIELD TELECOM INC                    954 E 2ND AVE STE                                     NEW CASTLE   CO      81301
         EQUIP - BRONZE LIMITED                                                    108,DURANGO,CO,US,8130
         SUPPORT - RENEWAL RATE.                                                   1
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2366 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         75 MAIN                                               OAKLAND      PA      15340
         EQUIP - BRONZE LIMITED                                                    ST,HICKORY,PA,US,15340
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2367 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         1001 KENTUCKY                                         LINEVILLE    MO      64673
         EQUIP - BRONZE LIMITED                                                    ST,PRINCETON,MO,US,646
         SUPPORT - RENEWAL RATE.                                                   73
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2368 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         1106 13TH                                             VIOLA        IL      61486
         EQUIP - BRONZE LIMITED                                                    ST,VIOLA,IL,US,61486
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2369 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2370 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2371 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         705 SECOND                                            SUPERIOR     IA      51363
         EQUIP - BRONZE LIMITED                                                    AVENUE,SUPERIOR,IA,US,5
         SUPPORT - RENEWAL RATE.                                                   1363
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2372 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2373 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.2374 SUPPORT CONTRACT - BACS          GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2375 SUPPORT CONTRACT - BACS     GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2376 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       9796 N I-20 ACCESS                                      MERKEL        TX      79536
         EQUIP - BRONZE PLUS SUPPORT -                                             ROAD,MERKEL,TX,US,7953
         RENEWAL RATE. INCLUDES TAC                                                6
         SUPPORT, SW/FW UPDATES.

  2.2377 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          FALLS CITY    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2378 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2379 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       1001 12TH                                               AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2380 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       1421 COURTNEY                                           YADKINVILLE   NC      27055
         EQUIP - BRONZE PLUS SUPPORT -                                             HUNTSVILLE RD,PO BOX
         RENEWAL RATE. INCLUDES TAC                                                368,YADKINVILLE,NC,US,27
         SUPPORT, SW/FW UPDATES.                                                   055

  2.2381 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       2033 ST. MATTHEWS                                       ORANGEBURG    SC      29118
         EQUIP - BRONZE PLUS SUPPORT -                                             ROAD,ORANGEBURG,SC,U
         RENEWAL RATE. INCLUDES TAC                                                S,29118
         SUPPORT, SW/FW UPDATES.

  2.2382 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          FALLS CITY    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2383 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       220 S MAIN                                              KENNEBEC      SD      57544
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,KENNEBEC,SD,US,
         RENEWAL RATE. INCLUDES TAC                                                57544
         SUPPORT, SW/FW UPDATES.

  2.2384 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       204 RAILROAD                                            GOLDFIELD     MN      56007
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,MANCHESTER,MN,US,5
         RENEWAL RATE. INCLUDES TAC                                                6007
         SUPPORT, SW/FW UPDATES.

  2.2385 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       954 E 2ND AVE STE                                       NEW CASTLE    CO      81301
         EQUIP - BRONZE PLUS SUPPORT -                                             108,DURANGO,CO,US,8130
         RENEWAL RATE. INCLUDES TAC                                                1
         SUPPORT, SW/FW UPDATES.




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  2.2386 SUPPORT CONTRACT - BACS          GOLDFIELD TELECOM INC                    535 WESTERN                                           BROOKINGS    SD      57006
         EQUIP - BRONZE PLUS SUPPORT -                                             AVENUE,BROOKINGS,SD,U
         RENEWAL RATE. INCLUDES TAC                                                S,57006
         SUPPORT, SW/FW UPDATES.

  2.2387 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       75 MAIN                                               OAKLAND      PA      15340
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HICKORY,PA,US,15340
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2388 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       110 W 17TH ST,FALLS                                   FALLS CITY   NE      68355
         EQUIP - BRONZE PLUS SUPPORT -                                             CITY,NE,US,68355
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2389 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       115 N MAIN ST,PO                                      TEMPLETON    IA      51463
         EQUIP - BRONZE PLUS SUPPORT -                                             77,TEMPLETON,IA,US,5146
         RENEWAL RATE. INCLUDES TAC                                                3
         SUPPORT, SW/FW UPDATES.

  2.2390 SUPPORT CONTRACT - BACS       GOLDFIELD TELECOM INC                       110 W 17TH ST,FALLS                                   FALLS CITY   NE      68355
         EQUIP - BRONZE PLUS SUPPORT -                                             CITY,NE,US,68355
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2391 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 NORTH MAIN                                        CABLE        IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              STREET,GOLDFIELD,IA,US,
         YEAR. ADDS TAC SUPPORT,                                                   50542
         SW/FW UPDATES.
  2.2392 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            JACKSON      IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2393 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            JACKSON      IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2394 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            GOLDFIELD    IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2395 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            JACKSON      IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2396 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            CABLE        IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2397 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 NORTH MAIN                                        FALLS CITY   IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              STREET,GOLDFIELD,IA,US,
         YEAR. ADDS TAC SUPPORT,                                                   50542
         SW/FW UPDATES.
  2.2398 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            BAY CITY     IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2399 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            FAIRFIELD    IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2400 SUPPORT CONTRACT - BACS        GOLDFIELD TELECOM INC                      611 N MAIN                                            KENNEBEC     IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                              ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
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  2.2401 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 W 17TH ST,FALLS                                     FALLS CITY     NE      68355
         EQUIP - SILVER SUPPORT - 1ST                                                CITY,NE,US,68355
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2402 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    500 SOUTH TENNESSEE                                     CARTERSVILLE   GA      30120
         EQUIP - SILVER SUPPORT - 1ST                                                ST,SUITE
         YEAR. ADDS TAC SUPPORT,                                                     200,CARTERSVILLE,GA,US,
         SW/FW UPDATES.                                                              30120
  2.2403 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                              TEUTOPOLIS     IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                                ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2404 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1548 FRONT ST STE                                       BLAIR          NE      68008
         EQUIP - SILVER SUPPORT - 1ST                                                102A,BLAIR,NE,US,68008
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2405 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                              JACKSON        IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                                ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2406 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    CITY OF BROOKINGS-                                      BROOKINGS      SD      57006
         EQUIP - SILVER SUPPORT - 1ST                                                BMU,415 4TH
         YEAR. ADDS TAC SUPPORT,                                                     STREET,BROOKINGS,SD,U
         SW/FW UPDATES.                                                              S,57006
  2.2407 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA         NE      68818
         EQUIP - SILVER SUPPORT - 1ST                                                ST,AURORA,NE,US,68818
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2408 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 TENNYSON                                           STRATFORD      IA      50249
         EQUIP - SILVER SUPPORT - 1ST                                                AVE,STRATFORD,IA,US,502
         YEAR. ADDS TAC SUPPORT,                                                     49
         SW/FW UPDATES.
  2.2409 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1548 FRONT ST STE                                       BLAIR          NE      68008
         EQUIP - SILVER SUPPORT - 1ST                                                102A,BLAIR,NE,US,68008
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2410 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1548 FRONT ST STE                                       BLAIR          NE      68008
         EQUIP - SILVER SUPPORT - 1ST                                                102A,BLAIR,NE,US,68008
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2411 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1548 FRONT ST STE                                       BLAIR          NE      68008
         EQUIP - SILVER SUPPORT - 1ST                                                102A,BLAIR,NE,US,68008
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2412 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA         NE      68818
         EQUIP - SILVER SUPPORT - 1ST                                                ST,AURORA,NE,US,68818
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2413 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON        NE      68743
         EQUIP - SILVER SUPPORT - 1ST                                                ST,JACKSON,NE,US,68743
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2414 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE          WI      54821
         EQUIP - SILVER SUPPORT - 1ST                                                63,CABLE,WI,US,54821
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2415 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA         NE      68818
         EQUIP - SILVER SUPPORT - 1ST                                                ST,AURORA,NE,US,68818
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2416 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA         NE      68818
         EQUIP - SILVER SUPPORT - 1ST                                                ST,AURORA,NE,US,68818
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2417 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT - 1ST                                                63,CABLE,WI,US,54821
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2418 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT - 1ST                                                63,CABLE,WI,US,54821
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2419 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HARTINGTON,NE,US,68
         YEAR. ADDS TAC SUPPORT,                                                     739
         SW/FW UPDATES.
  2.2420 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HARTINGTON,NE,US,68
         YEAR. ADDS TAC SUPPORT,                                                     739
         SW/FW UPDATES.
  2.2421 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HARTINGTON,NE,US,68
         YEAR. ADDS TAC SUPPORT,                                                     739
         SW/FW UPDATES.
  2.2422 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HARTINGTON,NE,US,68
         YEAR. ADDS TAC SUPPORT,                                                     739
         SW/FW UPDATES.
  2.2423 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HARTINGTON,NE,US,68
         YEAR. ADDS TAC SUPPORT,                                                     739
         SW/FW UPDATES.
  2.2424 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HARTINGTON,NE,US,68
         YEAR. ADDS TAC SUPPORT,                                                     739
         SW/FW UPDATES.
  2.2425 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HARTINGTON,NE,US,68
         YEAR. ADDS TAC SUPPORT,                                                     739
         SW/FW UPDATES.
  2.2426 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA       NE      68818
         EQUIP - SILVER SUPPORT - 1ST                                                ST,AURORA,NE,US,68818
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2427 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    214 S WASHINGTON                                        SWAYZEE      IN      46986
         EQUIP - SILVER SUPPORT - 1ST                                                ST,SWAYZEE,IN,US,46986
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2428 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT - 1ST                                                63,CABLE,WI,US,54821
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2429 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    75 MAIN                                                 OAKLAND      PA      15340
         EQUIP - SILVER SUPPORT - 1ST                                                ST,HICKORY,PA,US,15340
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2430 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    115 N MAIN                                              TEMPLETON    IA      51463
         EQUIP - SILVER SUPPORT - 1ST                                                STREET,TEMPLETON,IA,US
         YEAR. ADDS TAC SUPPORT,                                                     ,51463
         SW/FW UPDATES.
  2.2431 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1400 RIVER                                              WILKESBORO   NC      28697
         EQUIP - SILVER SUPPORT - 1ST                                                ST,WILKESBORO,NC,US,28
         YEAR. ADDS TAC SUPPORT,                                                     697
         SW/FW UPDATES.
  2.2432 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1400 RIVER                                              WILKESBORO   NC      28697
         EQUIP - SILVER SUPPORT - 1ST                                                ST,WILKESBORO,NC,US,28
         YEAR. ADDS TAC SUPPORT,                                                     697
         SW/FW UPDATES.




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  2.2433 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD      IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                                ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2434 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD      IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                                ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2435 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD      IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                                ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2436 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD      IA      50542
         EQUIP - SILVER SUPPORT - 1ST                                                ST,GOLDFIELD,IA,US,50542
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2437 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    500 SOUTH TENNESSEE                                   CARTERSVILLE   GA      30120
         EQUIP - SILVER SUPPORT - 1ST                                                ST,SUITE
         YEAR. ADDS TAC SUPPORT,                                                     200,CARTERSVILLE,GA,US,
         SW/FW UPDATES.                                                              30120
  2.2438 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 N MAIN                                            WESTBY         WI      54667
         EQUIP - SILVER SUPPORT - 1ST                                                ST,WESTBY,WI,US,54667
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2439 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD      IA      50249
         EQUIP - SILVER SUPPORT - 1ST                                                AVE,STRATFORD,IA,US,502
         YEAR. ADDS TAC SUPPORT,                                                     49
         SW/FW UPDATES.
  2.2440 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 NORTH MAIN                                        CABLE          IA      50542
         EQUIP - SILVER SUPPORT -                                                    STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                  50542
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2441 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            JACKSON        IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2442 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            JACKSON        IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2443 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            JACKSON        IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2444 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD      IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2445 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            JACKSON        IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2446 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            CABLE          IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2447 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 NORTH MAIN                                        FALLS CITY   IA      50542
         EQUIP - SILVER SUPPORT -                                                    STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                  50542
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2448 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 N MAIN                                            WESTBY       WI      54667
         EQUIP - SILVER SUPPORT -                                                    ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2449 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            KENNEBEC     IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2450 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 W 17TH ST,FALLS                                   FALLS CITY   NE      68355
         EQUIP - SILVER SUPPORT -                                                    CITY,NE,US,68355
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2451 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1400 RIVER                                            WILKESBORO   NC      28697
         EQUIP - SILVER SUPPORT -                                                    ST,WILKESBORO,NC,US,28
         RENEWAL RATE. INCLUDES TAC                                                  697
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2452 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            TEUTOPOLIS   IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2453 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1548 FRONT ST STE                                     BLAIR        NE      68008
         EQUIP - SILVER SUPPORT -                                                    102A,BLAIR,NE,US,68008
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2454 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    611 N MAIN                                            JACKSON      IA      50542
         EQUIP - SILVER SUPPORT -                                                    ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2455 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA       NE      68818
         EQUIP - SILVER SUPPORT -                                                    ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2456 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD    IA      50249
         EQUIP - SILVER SUPPORT -                                                    AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                  49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2457 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA       NE      68818
         EQUIP - SILVER SUPPORT -                                                    ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2458 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                             JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2459 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    75 MAIN                                               OAKLAND      PA      15340
         EQUIP - SILVER SUPPORT -                                                    ST,HICKORY,PA,US,15340
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2460 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2461 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA       NE      68818
         EQUIP - SILVER SUPPORT -                                                    ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2462 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2463 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2464 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2465 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA       NE      68818
         EQUIP - SILVER SUPPORT -                                                    ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2466 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2467 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 KENTUCKY                                           LINEVILLE    MO      64673
         EQUIP - SILVER SUPPORT -                                                    ST,PRINCETON,MO,US,646
         RENEWAL RATE. INCLUDES TAC                                                  73
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2468 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2469 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2470 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2471 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2472 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2473 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                          HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2474 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                          HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2475 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    111 4TH ST                                            OAKLAND      IA      50469
         EQUIP - SILVER SUPPORT -                                                    N,ROCKWELL,IA,US,50469
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2476 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                          HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2477 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA       NE      68818
         EQUIP - SILVER SUPPORT -                                                    ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2478 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    214 S WASHINGTON                                      SWAYZEE      IN      46986
         EQUIP - SILVER SUPPORT -                                                    ST,SWAYZEE,IN,US,46986
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2479 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 W CENTRE                                          HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2480 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2481 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    111 N COMMERCIAL                                      TEUTOPOLIS   IL      62467
         EQUIP - SILVER SUPPORT -                                                    DR,TEUTOPOLIS,IL,US,6246
         RENEWAL RATE. INCLUDES TAC                                                  7
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2482 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    115 N MAIN                                            TEMPLETON    IA      51463
         EQUIP - SILVER SUPPORT -                                                    STREET,TEMPLETON,IA,US
         RENEWAL RATE. INCLUDES TAC                                                  ,51463
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2483 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2484 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2485 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                      CABLE        WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2486 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE       WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2487 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE       WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2488 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE       WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2489 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 TENNYSON                                           STRATFORD   IA      50249
         EQUIP - SILVER SUPPORT -                                                    AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                  49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2490 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE       WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2491 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE       WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2492 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE       WI      54821
         EQUIP - SILVER SUPPORT -                                                    63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2493 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 N MAIN                                              WESTBY      WI      54667
         EQUIP - SILVER SUPPORT -                                                    ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2494 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1698 COUNTY LINE                                        VENUS       PA      16364
         EQUIP - SILVER SUPPORT -                                                    RD,VENUS,PA,US,16364
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2495 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1698 COUNTY LINE                                        VENUS       PA      16364
         EQUIP - SILVER SUPPORT -                                                    RD,VENUS,PA,US,16364
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2496 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 TENNYSON                                           STRATFORD   IA      50249
         EQUIP - SILVER SUPPORT -                                                    AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                  49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2497 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1106 13TH                                               VIOLA       IL      61486
         EQUIP - SILVER SUPPORT -                                                    ST,VIOLA,IL,US,61486
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2498 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1303 16TH                                               VIOLA       IL      61486
         EQUIP - SILVER SUPPORT -                                                    AVE,VIOLA,IL,US,61486
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2499 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2500 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2501 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2502 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2503 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2504 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2505 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA       NE      68818
         EQUIP - SILVER SUPPORT -                                                    ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2506 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    111 N COMMERCIAL                                        TEUTOPOLIS   IL      62467
         EQUIP - SILVER SUPPORT -                                                    DR,TEUTOPOLIS,IL,US,6246
         RENEWAL RATE. INCLUDES TAC                                                  7
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2507 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    111 N COMMERCIAL                                        TEUTOPOLIS   IL      62467
         EQUIP - SILVER SUPPORT -                                                    DR,TEUTOPOLIS,IL,US,6246
         RENEWAL RATE. INCLUDES TAC                                                  7
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2508 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2509 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 N MAIN                                              WESTBY       WI      54667
         EQUIP - SILVER SUPPORT -                                                    ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2510 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2511 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2512 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    103 N MAIN                                              WESTBY       WI      54667
         EQUIP - SILVER SUPPORT -                                                    ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2513 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    104 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - SILVER SUPPORT -                                                    ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                  739
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2514 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 TENNYSON                                           STRATFORD    IA      50249
         EQUIP - SILVER SUPPORT -                                                    AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                  49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2515 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    1001 TENNYSON                                           STRATFORD    IA      50249
         EQUIP - SILVER SUPPORT -                                                    AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                  49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2516 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON      NE      68743
         EQUIP - SILVER SUPPORT -                                                    ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2517 SUPPORT CONTRACT - BACS            GOLDFIELD TELECOM INC                    8925 STATE HIGHWAY 111                                  BAY CITY     TX      77962
         EQUIP- GOLD SUPPORT-                                                        E,GANADO,TX,US,77962
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.2518 SUPPORT CONTRACT - CPE             GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - BRONZE LIMITED                                                      63,CABLE,WI,US,54821
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2519 SUPPORT CONTRACT - CPE       GOLDFIELD TELECOM INC                          43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - BRONZE LIMITED                                                      63,CABLE,WI,US,54821
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2520 SUPPORT CONTRACT - CPE       GOLDFIELD TELECOM INC                          43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - BRONZE LIMITED                                                      63,CABLE,WI,US,54821
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2521 SUPPORT CONTRACT - CPE       GOLDFIELD TELECOM INC                          214 S WASHINGTON                                        SWAYZEE      IN      46986
         EQUIP - BRONZE LIMITED                                                      ST,SWAYZEE,IN,US,46986
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2522 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                           611 NORTH MAIN                                          FALLS CITY   IA      50542
         EQUIP - BRONZE LIMITED                                                      STREET,GOLDFIELD,IA,US,
         SUPPORT - RENEWAL RATE.                                                     50542
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  2.2523 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2524 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         1421 COURTNEY                                           YADKINVILLE   NC      27055
         EQUIP - BRONZE LIMITED                                                    HUNTSVILLE RD,PO BOX
         SUPPORT - RENEWAL RATE.                                                   368,YADKINVILLE,NC,US,27
         INCLUDES TAC SUPPORT, SW/FW                                               055
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2525 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         220 S MAIN                                              KENNEBEC      SD      57544
         EQUIP - BRONZE LIMITED                                                    STREET,KENNEBEC,SD,US,
         SUPPORT - RENEWAL RATE.                                                   57544
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2526 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         204 RAILROAD                                            GOLDFIELD     MN      56007
         EQUIP - BRONZE LIMITED                                                    ST,MANCHESTER,MN,US,5
         SUPPORT - RENEWAL RATE.                                                   6007
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2527 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         8925 STATE HIGHWAY 111                                  BAY CITY      TX      77962
         EQUIP - BRONZE LIMITED                                                    E,GANADO,TX,US,77962
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2528 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         5858 S 900                                              WEST VALLEY   UT      84121
         EQUIP - BRONZE LIMITED                                                    E,MURRAY,UT,US,84121                                    CITY
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2529 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         954 E 2ND AVE STE                                       NEW CASTLE    CO      81301
         EQUIP - BRONZE LIMITED                                                    108,DURANGO,CO,US,8130
         SUPPORT - RENEWAL RATE.                                                   1
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2530 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         75 MAIN                                                 OAKLAND       PA      15340
         EQUIP - BRONZE LIMITED                                                    ST,HICKORY,PA,US,15340
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2531 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.2532 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 KENTUCKY                                         LINEVILLE   MO      64673
         EQUIP - BRONZE LIMITED                                                    ST,PRINCETON,MO,US,646
         SUPPORT - RENEWAL RATE.                                                   73
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2533 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                      CABLE       WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2534 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                      CABLE       WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2535 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         214 S WASHINGTON                                      SWAYZEE     IN      46986
         EQUIP - BRONZE LIMITED                                                    ST,SWAYZEE,IN,US,46986
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2536 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         1106 13TH                                             VIOLA       IL      61486
         EQUIP - BRONZE LIMITED                                                    ST,VIOLA,IL,US,61486
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2537 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         1303 16TH                                             VIOLA       IL      61486
         EQUIP - BRONZE LIMITED                                                    AVE,VIOLA,IL,US,61486
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2538 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         110 E ELK                                             JACKSON     NE      68743
         EQUIP - BRONZE LIMITED                                                    ST,JACKSON,NE,US,68743
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2539 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         705 SECOND                                            SUPERIOR    IA      51363
         EQUIP - BRONZE LIMITED                                                    AVENUE,SUPERIOR,IA,US,5
         SUPPORT - RENEWAL RATE.                                                   1363
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2540 SUPPORT CONTRACT - CPE      GOLDFIELD TELECOM INC                         43705 US HIGHWAY                                      CABLE       WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.2541 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE LIMITED                                                    63,CABLE,WI,US,54821
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2542 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          CABLE         IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         1ST YEAR. ADDS TAC SUPPORT,                                               50542
         SW/FW UPDATES.
  2.2543 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          CABLE         IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         1ST YEAR. ADDS TAC SUPPORT,                                               50542
         SW/FW UPDATES.
  2.2544 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          CABLE         IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         1ST YEAR. ADDS TAC SUPPORT,                                               50542
         SW/FW UPDATES.
  2.2545 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          CABLE         IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         1ST YEAR. ADDS TAC SUPPORT,                                               50542
         SW/FW UPDATES.
  2.2546 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          CABLE         IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         1ST YEAR. ADDS TAC SUPPORT,                                               50542
         SW/FW UPDATES.
  2.2547 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          CABLE         IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         1ST YEAR. ADDS TAC SUPPORT,                                               50542
         SW/FW UPDATES.
  2.2548 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              JACKSON       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2549 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              JACKSON       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2550 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          STRATFORD     IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         1ST YEAR. ADDS TAC SUPPORT,                                               50542
         SW/FW UPDATES.
  2.2551 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 12TH                                               AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2552 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              GOLDFIELD     IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2553 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2554 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              JACKSON       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2555 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              WEST VALLEY   IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542                                CITY
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2556 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            WEST VALLEY   IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542                              CITY
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2557 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            WEST VALLEY   IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542                              CITY
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2558 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    2033 ST. MATTHEWS                                     ORANGEBURG    SC      29118
         EQUIP - BRONZE PLUS SUPPORT -                                             ROAD,ORANGEBURG,SC,U
         1ST YEAR. ADDS TAC SUPPORT,                                               S,29118
         SW/FW UPDATES.
  2.2559 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            FAIRFIELD     IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2560 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1548 FRONT ST STE                                     BLAIR         NE      68008
         EQUIP - BRONZE PLUS SUPPORT -                                             102A,BLAIR,NE,US,68008
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2561 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                      CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2562 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            TEUTOPOLIS    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2563 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            JACKSON       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2564 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    103 N MAIN                                            WESTBY        WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2565 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2566 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            SWAYZEE       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2567 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2568 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2569 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            TEUTOPOLIS    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2570 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    5858 S 900                                            WEST VALLEY   UT      84121
         EQUIP - BRONZE PLUS SUPPORT -                                             E,MURRAY,UT,US,84121                                  CITY
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2571 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                      CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2572 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON       NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2573 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    5858 S 900                                              WEST VALLEY   UT      84121
         EQUIP - BRONZE PLUS SUPPORT -                                             E,MURRAY,UT,US,84121                                    CITY
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2574 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    111 N COMMERCIAL                                        TEUTOPOLIS    IL      62467
         EQUIP - BRONZE PLUS SUPPORT -                                             DR,TEUTOPOLIS,IL,US,6246
         1ST YEAR. ADDS TAC SUPPORT,                                               7
         SW/FW UPDATES.
  2.2575 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                              GOLDFIELD     IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2576 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2577 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    103 N MAIN                                              WESTBY        WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2578 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    5858 S 900                                              WEST VALLEY   UT      84121
         EQUIP - BRONZE PLUS SUPPORT -                                             E,MURRAY,UT,US,84121                                    CITY
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2579 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    11767 E CLARKSVILLE                                     MARSHALL      IL      62441
         EQUIP - BRONZE PLUS SUPPORT -                                             RD,MARSHALL,IL,US,62441
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2580 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 12TH                                               AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2581 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON    NE      68739
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HARTINGTON,NE,US,68
         1ST YEAR. ADDS TAC SUPPORT,                                               739
         SW/FW UPDATES.
  2.2582 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON    NE      68739
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HARTINGTON,NE,US,68
         1ST YEAR. ADDS TAC SUPPORT,                                               739
         SW/FW UPDATES.
  2.2583 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    103 W CENTRE                                            HARTINGTON    NE      68739
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HARTINGTON,NE,US,68
         1ST YEAR. ADDS TAC SUPPORT,                                               739
         SW/FW UPDATES.
  2.2584 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    103 N MAIN                                              WESTBY        WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2585 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    111 N COMMERCIAL                                        TEUTOPOLIS    IL      62467
         EQUIP - BRONZE PLUS SUPPORT -                                             DR,TEUTOPOLIS,IL,US,6246
         1ST YEAR. ADDS TAC SUPPORT,                                               7
         SW/FW UPDATES.
  2.2586 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    7585 PIGEON                                             PIGEON        MI      48755
         EQUIP - BRONZE PLUS SUPPORT -                                             RD,PIGEON,MI,US,48755
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2587 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1400 RIVER                                              WILKESBORO    NC      28697
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WILKESBORO,NC,US,28
         1ST YEAR. ADDS TAC SUPPORT,                                               697
         SW/FW UPDATES.




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  2.2588 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1400 RIVER                                            WILKESBORO   NC      28697
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WILKESBORO,NC,US,28
         1ST YEAR. ADDS TAC SUPPORT,                                               697
         SW/FW UPDATES.
  2.2589 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2590 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2591 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2592 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2593 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            GOLDFIELD    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2594 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 NORTH MAIN                                        CABLE        IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2595 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                        CABLE        IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2596 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                        CABLE        IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2597 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                        CABLE        IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2598 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                        CABLE        IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2599 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                        CABLE        IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2600 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                            JACKSON      IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2601 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                            JACKSON      IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2602 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    611 N MAIN                                            JACKSON       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2603 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       43705 US HIGHWAY                                      CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2604 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                        STRATFORD     IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2605 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 12TH                                             AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2606 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 12TH                                             AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2607 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                            GOLDFIELD     IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2608 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       43705 US HIGHWAY                                      CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2609 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                            JACKSON       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2610 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1421 COURTNEY                                         YADKINVILLE   NC      27055
         EQUIP - BRONZE PLUS SUPPORT -                                             HUNTSVILLE RD,PO BOX
         RENEWAL RATE. INCLUDES TAC                                                368,YADKINVILLE,NC,US,27
         SUPPORT, SW/FW UPDATES.                                                   055

  2.2611 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                            WESTBY        WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2612 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       2033 ST. MATTHEWS                                     ORANGEBURG    SC      29118
         EQUIP - BRONZE PLUS SUPPORT -                                             ROAD,ORANGEBURG,SC,U
         RENEWAL RATE. INCLUDES TAC                                                S,29118
         SUPPORT, SW/FW UPDATES.

  2.2613 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                        FALLS CITY    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2614 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1400 RIVER                                            WILKESBORO    NC      28697
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WILKESBORO,NC,US,28
         RENEWAL RATE. INCLUDES TAC                                                697
         SUPPORT, SW/FW UPDATES.




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  2.2615 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1548 FRONT ST STE                                       BLAIR         NE      68008
         EQUIP - BRONZE PLUS SUPPORT -                                             102A,BLAIR,NE,US,68008
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2616 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       43705 US HIGHWAY                                        CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2617 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              TEUTOPOLIS    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2618 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              JACKSON       IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2619 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                              WESTBY        WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2620 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       220 S MAIN                                              KENNEBEC      SD      57544
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,KENNEBEC,SD,US,
         RENEWAL RATE. INCLUDES TAC                                                57544
         SUPPORT, SW/FW UPDATES.

  2.2621 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       204 RAILROAD                                            GOLDFIELD     MN      56007
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,MANCHESTER,MN,US,5
         RENEWAL RATE. INCLUDES TAC                                                6007
         SUPPORT, SW/FW UPDATES.

  2.2622 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 12TH                                               AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2623 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 12TH                                               AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2624 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       611 N MAIN                                              TEUTOPOLIS    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2625 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       8925 STATE HIGHWAY 111                                  BAY CITY      TX      77962
         EQUIP - BRONZE PLUS SUPPORT -                                             E,GANADO,TX,US,77962
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2626 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       8925 STATE HIGHWAY 111                                  BAY CITY      TX      77962
         EQUIP - BRONZE PLUS SUPPORT -                                             E,GANADO,TX,US,77962
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2627 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       5858 S 900                                              WEST VALLEY   UT      84121
         EQUIP - BRONZE PLUS SUPPORT -                                             E,MURRAY,UT,US,84121                                    CITY
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2628 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    43705 US HIGHWAY                                        CABLE        WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2629 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       110 E ELK                                               JACKSON      NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2630 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       954 E 2ND AVE STE                                       NEW CASTLE   CO      81301
         EQUIP - BRONZE PLUS SUPPORT -                                             108,DURANGO,CO,US,8130
         RENEWAL RATE. INCLUDES TAC                                                1
         SUPPORT, SW/FW UPDATES.

  2.2631 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       111 N COMMERCIAL                                        TEUTOPOLIS   IL      62467
         EQUIP - BRONZE PLUS SUPPORT -                                             DR,TEUTOPOLIS,IL,US,6246
         RENEWAL RATE. INCLUDES TAC                                                7
         SUPPORT, SW/FW UPDATES.

  2.2632 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 12TH                                               AURORA       NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2633 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       75 MAIN                                                 OAKLAND      PA      15340
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HICKORY,PA,US,15340
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2634 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                              WESTBY       WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2635 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       11767 E CLARKSVILLE                                     MARSHALL     IL      62441
         EQUIP - BRONZE PLUS SUPPORT -                                             RD,MARSHALL,IL,US,62441
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2636 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 KENTUCKY                                           LINEVILLE    MO      64673
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,PRINCETON,MO,US,646
         RENEWAL RATE. INCLUDES TAC                                                73
         SUPPORT, SW/FW UPDATES.

  2.2637 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1001 12TH                                               AURORA       NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2638 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                739
         SUPPORT, SW/FW UPDATES.

  2.2639 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                739
         SUPPORT, SW/FW UPDATES.

  2.2640 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 W CENTRE                                            HARTINGTON   NE      68739
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,HARTINGTON,NE,US,68
         RENEWAL RATE. INCLUDES TAC                                                739
         SUPPORT, SW/FW UPDATES.




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  2.2641 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    103 N MAIN                                              WESTBY       WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2642 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       111 N COMMERCIAL                                        TEUTOPOLIS   IL      62467
         EQUIP - BRONZE PLUS SUPPORT -                                             DR,TEUTOPOLIS,IL,US,6246
         RENEWAL RATE. INCLUDES TAC                                                7
         SUPPORT, SW/FW UPDATES.

  2.2643 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                              WESTBY       WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2644 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                              WESTBY       WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2645 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                              WESTBY       WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2646 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       115 N MAIN                                              TEMPLETON    IA      51463
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,TEMPLETON,IA,US
         RENEWAL RATE. INCLUDES TAC                                                ,51463
         SUPPORT, SW/FW UPDATES.

  2.2647 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1698 COUNTY LINE                                        VENUS        PA      16364
         EQUIP - BRONZE PLUS SUPPORT -                                             RD,VENUS,PA,US,16364
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2648 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1698 COUNTY LINE                                        VENUS        PA      16364
         EQUIP - BRONZE PLUS SUPPORT -                                             RD,VENUS,PA,US,16364
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2649 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       115 N MAIN                                              TEMPLETON    IA      51463
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,TEMPLETON,IA,US,5146
         RENEWAL RATE. INCLUDES TAC                                                3
         SUPPORT, SW/FW UPDATES.

  2.2650 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1106 13TH                                               VIOLA        IL      61486
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,VIOLA,IL,US,61486
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2651 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1106 13TH                                               VIOLA        IL      61486
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,VIOLA,IL,US,61486
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2652 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       1303 16TH                                               VIOLA        IL      61486
         EQUIP - BRONZE PLUS SUPPORT -                                             AVE,VIOLA,IL,US,61486
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2653 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       110 E ELK                                               JACKSON      NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
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  2.2654 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    110 E ELK                                               JACKSON       NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2655 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       110 E ELK                                               JACKSON       NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2656 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       110 E ELK                                               JACKSON       NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2657 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       110 E ELK                                               JACKSON       NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2658 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       111 N COMMERCIAL                                        TEUTOPOLIS    IL      62467
         EQUIP - BRONZE PLUS SUPPORT -                                             DR,TEUTOPOLIS,IL,US,6246
         RENEWAL RATE. INCLUDES TAC                                                7
         SUPPORT, SW/FW UPDATES.

  2.2659 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       111 N COMMERCIAL                                        TEUTOPOLIS    IL      62467
         EQUIP - BRONZE PLUS SUPPORT -                                             DR,TEUTOPOLIS,IL,US,6246
         RENEWAL RATE. INCLUDES TAC                                                7
         SUPPORT, SW/FW UPDATES.

  2.2660 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       202 S MAIN ST,FARMER                                    FARMER CITY   IL      61842
         EQUIP - BRONZE PLUS SUPPORT -                                             CITY,IL,US,61842
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2661 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       202 S MAIN ST,FARMER                                    FARMER CITY   IL      61842
         EQUIP - BRONZE PLUS SUPPORT -                                             CITY,IL,US,61842
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2662 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                              WESTBY        WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2663 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       202 S MAIN ST,FARMER                                    FARMER CITY   IL      61842
         EQUIP - BRONZE PLUS SUPPORT -                                             CITY,IL,US,61842
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2664 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       110 E ELK                                               JACKSON       NE      68743
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,JACKSON,NE,US,68743
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2665 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       103 N MAIN                                              WESTBY        WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2666 SUPPORT CONTRACT - CPE        GOLDFIELD TELECOM INC                       115 N MAIN ST,PO                                        TEMPLETON     IA      51463
         EQUIP - BRONZE PLUS SUPPORT -                                             77,TEMPLETON,IA,US,5146
         RENEWAL RATE. INCLUDES TAC                                                3
         SUPPORT, SW/FW UPDATES.




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  2.2667 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT - 1ST                                              AVE,STRATFORD,IA,US,502
         YEAR. ADDS TAC SUPPORT,                                                   49
         SW/FW UPDATES.
  2.2668 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA        NE      68818
         EQUIP - SILVER SUPPORT - 1ST                                              ST,AURORA,NE,US,68818
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2669 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT - 1ST                                              AVE,STRATFORD,IA,US,502
         YEAR. ADDS TAC SUPPORT,                                                   49
         SW/FW UPDATES.
  2.2670 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT - 1ST                                              AVE,STRATFORD,IA,US,502
         YEAR. ADDS TAC SUPPORT,                                                   49
         SW/FW UPDATES.
  2.2671 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT -                                                  AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2672 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 12TH                                             AURORA        NE      68818
         EQUIP - SILVER SUPPORT -                                                  ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2673 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT -                                                  AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2674 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT -                                                  AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2675 SUPPORT CONTRACT - CPE           GOLDFIELD TELECOM INC                    1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT -                                                  AVE,STRATFORD,IA,US,502
         RENEWAL RATE. INCLUDES TAC                                                49
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2676 SUPPORT CONTRACT - NMS           GOLDFIELD TELECOM INC                    611 N MAIN                                            STRATFORD     IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2677 SUPPORT CONTRACT - NMS           GOLDFIELD TELECOM INC                    611 NORTH MAIN                                        FALLS CITY    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2678 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       43705 US HIGHWAY                                      CABLE         WI      54821
         EQUIP - BRONZE PLUS SUPPORT -                                             63,CABLE,WI,US,54821
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2679 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       1001 12TH                                             AURORA        NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2680 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       1421 COURTNEY                                         YADKINVILLE   NC      27055
         EQUIP - BRONZE PLUS SUPPORT -                                             HUNTSVILLE RD,PO BOX
         RENEWAL RATE. INCLUDES TAC                                                368,YADKINVILLE,NC,US,27
         SUPPORT, SW/FW UPDATES.                                                   055




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  2.2681 SUPPORT CONTRACT - NMS           GOLDFIELD TELECOM INC                    103 N MAIN                                              WESTBY       WI      54667
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WESTBY,WI,US,54667
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2682 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       611 NORTH MAIN                                          FALLS CITY   IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,GOLDFIELD,IA,US,
         RENEWAL RATE. INCLUDES TAC                                                50542
         SUPPORT, SW/FW UPDATES.

  2.2683 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       611 N MAIN                                              STRATFORD    IA      50542
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,GOLDFIELD,IA,US,50542
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2684 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       1400 RIVER                                              WILKESBORO   NC      28697
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,WILKESBORO,NC,US,28
         RENEWAL RATE. INCLUDES TAC                                                697
         SUPPORT, SW/FW UPDATES.

  2.2685 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       220 S MAIN                                              KENNEBEC     SD      57544
         EQUIP - BRONZE PLUS SUPPORT -                                             STREET,KENNEBEC,SD,US,
         RENEWAL RATE. INCLUDES TAC                                                57544
         SUPPORT, SW/FW UPDATES.

  2.2686 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       204 RAILROAD                                            GOLDFIELD    MN      56007
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,MANCHESTER,MN,US,5
         RENEWAL RATE. INCLUDES TAC                                                6007
         SUPPORT, SW/FW UPDATES.

  2.2687 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       8925 STATE HIGHWAY 111                                  BAY CITY     TX      77962
         EQUIP - BRONZE PLUS SUPPORT -                                             E,GANADO,TX,US,77962
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2688 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       954 E 2ND AVE STE                                       NEW CASTLE   CO      81301
         EQUIP - BRONZE PLUS SUPPORT -                                             108,DURANGO,CO,US,8130
         RENEWAL RATE. INCLUDES TAC                                                1
         SUPPORT, SW/FW UPDATES.

  2.2689 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       535 WESTERN                                             BROOKINGS    SD      57006
         EQUIP - BRONZE PLUS SUPPORT -                                             AVENUE,BROOKINGS,SD,U
         RENEWAL RATE. INCLUDES TAC                                                S,57006
         SUPPORT, SW/FW UPDATES.

  2.2690 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       1001 KENTUCKY                                           LINEVILLE    MO      64673
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,PRINCETON,MO,US,646
         RENEWAL RATE. INCLUDES TAC                                                73
         SUPPORT, SW/FW UPDATES.

  2.2691 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       1001 12TH                                               AURORA       NE      68818
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,AURORA,NE,US,68818
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2692 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       1106 13TH                                               VIOLA        IL      61486
         EQUIP - BRONZE PLUS SUPPORT -                                             ST,VIOLA,IL,US,61486
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2693 SUPPORT CONTRACT - NMS        GOLDFIELD TELECOM INC                       1303 16TH                                               VIOLA        IL      61486
         EQUIP - BRONZE PLUS SUPPORT -                                             AVE,VIOLA,IL,US,61486
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2694 SUPPORT CONTRACT - 3YRS -        GRAYBAR ELECTRIC (ONTARIO)                    VAUGHAN BRANCH,7245                                   MARKHAM   ON      L4H4P9   CA
         BRONZE PLUS MAINT POLAN          LIMITED                                       HWY 50, UNIT
         PORT EXTENDERS. INCLUDES                                                       1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES.

  2.2695 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         199 BAY                                               TORONTO   ON      M3B2S7   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            ST,TORONTO,ON,CA,M3B2
         PORT EXTENDERS. INCLUDES                                                       S7
         TAC SUPPORT, SW/FW UPDATES.

  2.2696 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         SUITE 208, 10155 102 ST                               TORONTO   A,      5J 4G8   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            NW,EDMONTON,ALBERTA,
         PORT EXTENDERS. INCLUDES                                                       CA,T5J 4G8
         TAC SUPPORT, SW/FW UPDATES.

  2.2697 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         2901 BAYVIEW                                          TORONTO   O,      2K 1E6   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            AVENUE,TORONTO,ONTAR
         PORT EXTENDERS. INCLUDES                                                       IO,CA,M2K 1E6
         TAC SUPPORT, SW/FW UPDATES.

  2.2698 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         VAUGHAN BRANCH,7245                                   TORONTO   ON      L4H4P9   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            HWY 50, UNIT
         PORT EXTENDERS. INCLUDES                                                       1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES.

  2.2699 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         VAUGHAN BRANCH,7245                                   TORONTO   ON      L4H4P9   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            HWY 50, UNIT
         PORT EXTENDERS. INCLUDES                                                       1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES.

  2.2700 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         VAUGHAN BRANCH,7245                                   TORONTO   ON      L4H4P9   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            HWY 50, UNIT
         PORT EXTENDERS. INCLUDES                                                       1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES.

  2.2701 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         7245 HIGHWAY 50 UNIT                                  MARKHAM   ON      L4H4P9   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            1,CAN,WOODBRIDGE,ON,C
         PORT EXTENDERS. INCLUDES                                                       A,L4H4P9
         TAC SUPPORT, SW/FW UPDATES.

  2.2702 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         2901 BAYVIEW                                          TORONTO   O,      2K 1E6   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            AVENUE,TORONTO,ONTAR
         SWITCHING EQUIP. INCLUDES                                                      IO,CA,M2K 1E6
         TAC SUPPORT, SW/FW UPDATES.

  2.2703 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         VAUGHAN BRANCH,7245                                   TORONTO   ON      L4H4P9   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            HWY 50, UNIT
         SWITCHING EQUIP. INCLUDES                                                      1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES.

  2.2704 SUPPORT CONTRACT - 3YRS -   GRAYBAR ELECTRIC (ONTARIO)                         VAUGHAN BRANCH,7245                                   TORONTO   ON      L4H4P9   CA
         BRONZE PLUS MAINT POLAN     LIMITED                                            HWY 50, UNIT
         SWITCHING EQUIP. INCLUDES                                                      1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES.

  2.2705 SUPPORT CONTRACT - 3YRS -      GRAYBAR ELECTRIC (ONTARIO)                      VAUGHAN BRANCH,7245                                   MARKHAM   ON      L4H4P9   CA
         SILVER MAINT POLAN             LIMITED                                         HWY 50, UNIT
         SWITCHING EQUIP. INCLUDES                                                      1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.2706 SUPPORT CONTRACT - 3YRS -      GRAYBAR ELECTRIC (ONTARIO)                      VAUGHAN BRANCH,7245                                   TORONTO   ON      L4H4P9   CA
         SILVER MAINT POLAN             LIMITED                                         HWY 50, UNIT
         SWITCHING EQUIP. INCLUDES                                                      1,VAUGHAN,ON,CA,L4H4P9
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.




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  2.2707 SUPPORT CONTRACT - 3YRS -        GRAYBAR ELECTRIC (ONTARIO)                    115 - 6741 CARIBOO                                    MARKHAM      BC      V3N4A3   CA
         SILVER MAINT POLAN               LIMITED                                       RD,BURNABY,BC,CA,V3N4A
         SWITCHING EQUIP. INCLUDES                                                      3
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.2708 SUPPORT CONTRACT - ANYHAUL GRAYBAR ELECTRIC (ONTARIO)                          115 - 6741 CARIBOO                                    MARKHAM      BC      V3N4A3   CA
         EQUIP - BRONZE PLUS SUPPORT - LIMITED                                          RD,BURNABY,BC,CA,V3N4A
          1ST YEAR, ADDS TAC SUPPORT,                                                   3
         SW/FW UPDATES
  2.2709 SUPPORT CONTRACT - BACS          GRAYBAR ELECTRIC CO INC                       ELECTRICAL                                            JAY PEAK     VT      05859
         EQUIP - BRONZE LIMITED                                                         DEPARTMENT,830 JAY
         SUPPORT - RENEWAL RATE.                                                        PEAK RD,JAY
         INCLUDES TAC SUPPORT, SW/FW                                                    PEAK,VT,US,05859
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2710 SUPPORT CONTRACT - BACS     GRAYBAR ELECTRIC CO INC                            1001 EMMET ST                                         CHARLOTTESVIL VA     22903
         EQUIP - BRONZE LIMITED                                                         N,CHARLOTTESVILLE,VA,U                                LE
         SUPPORT - RENEWAL RATE.                                                        S,22903
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2711 SUPPORT CONTRACT - BACS     GRAYBAR ELECTRIC CO INC                            2103 N 4TH                                            OAKLAND      WA      99301
         EQUIP - BRONZE LIMITED                                                         AVE,PASCO,WA,US,99301
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2712 SUPPORT CONTRACT - BACS       GRAYBAR ELECTRIC CO INC                          2103 N 4TH                                            OAKLAND      WA      99301
         EQUIP - BRONZE PLUS SUPPORT -                                                  AVE,PASCO,WA,US,99301
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2713 SUPPORT CONTRACT - BACS       GRAYBAR ELECTRIC CO INC                          208 ALLEN                                             TONICA       IL      61370
         EQUIP - BRONZE PLUS SUPPORT -                                                  ST,TONICA,IL,US,61370
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2714 SUPPORT CONTRACT - BACS        GRAYBAR ELECTRIC CO INC                         109 E MAIN                                            WESTPHALIA   MI      48894
         EQUIP - SILVER SUPPORT - 1ST                                                   STREET,WESTPHALIA,MI,U
         YEAR. ADDS TAC SUPPORT,                                                        S,48894
         SW/FW UPDATES.
  2.2715 SUPPORT CONTRACT - BACS        GRAYBAR ELECTRIC CO INC                         109 E MAIN                                            WESTPHALIA   MI      48894
         EQUIP - SILVER SUPPORT - 1ST                                                   STREET,WESTPHALIA,MI,U
         YEAR. ADDS TAC SUPPORT,                                                        S,48894
         SW/FW UPDATES.
  2.2716 SUPPORT CONTRACT - BACS        GRAYBAR ELECTRIC CO INC                         1001 EMMET ST                                         CHARLOTTESVIL VA     22903
         EQUIP - SILVER SUPPORT -                                                       N,CHARLOTTESVILLE,VA,U                                LE
         RENEWAL RATE. INCLUDES TAC                                                     S,22903
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2717 SUPPORT CONTRACT - BACS        GRAYBAR ELECTRIC CO INC                         208 ALLEN                                             TONICA       IL      61370
         EQUIP - SILVER SUPPORT -                                                       ST,TONICA,IL,US,61370
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2718 SUPPORT CONTRACT - BACS        GRAYBAR ELECTRIC CO INC                         ELECTRICAL                                            JAY PEAK     VT      05859
         EQUIP- GOLD SUPPORT-                                                           DEPARTMENT,830 JAY
         RENEWAL RATE. INCLUDES TAC                                                     PEAK RD,JAY
         SUPPORT, SW/FW UPDATES, &                                                      PEAK,VT,US,05859
         ADVANCE REPLACEMENT




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  2.2719 SUPPORT CONTRACT - BACS          GRAYBAR ELECTRIC CO INC                    7505 MALLARD WAY STE                                    CARLSBAD   NM      87507
         EQUIP- GOLD SUPPORT-                                                        F,SANTA FE,NM,US,87507
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.2720 SUPPORT CONTRACT - CPE           GRAYBAR ELECTRIC CO INC                    ELECTRICAL                                              JAY PEAK   VT      05859
         EQUIP - BRONZE LIMITED                                                      DEPARTMENT,830 JAY
         SUPPORT - RENEWAL RATE.                                                     PEAK RD,JAY
         INCLUDES TAC SUPPORT, SW/FW                                                 PEAK,VT,US,05859
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2721 SUPPORT CONTRACT - CPE      GRAYBAR ELECTRIC CO INC                         2103 N 4TH                                              OAKLAND    WA      99301
         EQUIP - BRONZE LIMITED                                                      AVE,PASCO,WA,US,99301
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2722 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       208 ALLEN                                               TONICA     IL      61370
         EQUIP - BRONZE PLUS SUPPORT -                                               ST,TONICA,IL,US,61370
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2723 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       64 S MAIN                                               PIGEON     MI      48755
         EQUIP - BRONZE PLUS SUPPORT -                                               ST.,PIGEON,MI,US,48755
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2724 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       1112 36TH ST                                            LEWISTON   ID      83501
         EQUIP - BRONZE PLUS SUPPORT -                                               N,LEWISTON,ID,US,83501
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2725 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       2103 N 4TH                                              OAKLAND    WA      99301
         EQUIP - BRONZE PLUS SUPPORT -                                               AVE,PASCO,WA,US,99301
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2726 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       415 N.                                                  BILLINGS   MT      59101
         EQUIP - BRONZE PLUS SUPPORT -                                               30TH,BILLINGS,MT,US,5910
         RENEWAL RATE. INCLUDES TAC                                                  1
         SUPPORT, SW/FW UPDATES.

  2.2727 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       415 N.                                                  BILLINGS   MT      59101
         EQUIP - BRONZE PLUS SUPPORT -                                               30TH,BILLINGS,MT,US,5910
         RENEWAL RATE. INCLUDES TAC                                                  1
         SUPPORT, SW/FW UPDATES.

  2.2728 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       208 ALLEN                                               TONICA     IL      61370
         EQUIP - BRONZE PLUS SUPPORT -                                               ST,TONICA,IL,US,61370
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2729 SUPPORT CONTRACT - CPE        GRAYBAR ELECTRIC CO INC                       7505 MALLARD WAY STE                                    CARLSBAD   NM      87507
         EQUIP - BRONZE PLUS SUPPORT -                                               F,SANTA FE,NM,US,87507
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2730 SUPPORT CONTRACT - CPE         GRAYBAR ELECTRIC CO INC                      ELECTRICAL                                              JAY PEAK   VT      05859
         EQUIP - SILVER SUPPORT -                                                    DEPARTMENT,830 JAY
         RENEWAL RATE. INCLUDES TAC                                                  PEAK RD,JAY
         SUPPORT, SW/FW UPDATES, &                                                   PEAK,VT,US,05859
         RTF REPAIR.
  2.2731 SUPPORT CONTRACT - CPE         GRAYBAR ELECTRIC CO INC                      208 ALLEN                                               TONICA     IL      61370
         EQUIP - SILVER SUPPORT -                                                    ST,TONICA,IL,US,61370
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2732 SUPPORT CONTRACT - NMS           GRAYBAR ELECTRIC CO INC                    ELECTRICAL                                              JAY PEAK     VT      05859
         EQUIP - BRONZE PLUS SUPPORT -                                               DEPARTMENT,830 JAY
         RENEWAL RATE. INCLUDES TAC                                                  PEAK RD,JAY
         SUPPORT, SW/FW UPDATES.                                                     PEAK,VT,US,05859

  2.2733 SUPPORT CONTRACT - NMS        GRAYBAR ELECTRIC CO INC                       1001 EMMET ST                                           CHARLOTTESVIL VA     22903
         EQUIP - BRONZE PLUS SUPPORT -                                               N,CHARLOTTESVILLE,VA,U                                  LE
         RENEWAL RATE. INCLUDES TAC                                                  S,22903
         SUPPORT, SW/FW UPDATES.

  2.2734 SUPPORT CONTRACT - NMS        GRAYBAR ELECTRIC CO INC                       208 ALLEN                                               TONICA       IL      61370
         EQUIP - BRONZE PLUS SUPPORT -                                               ST,TONICA,IL,US,61370
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2735 SUPPORT CONTRACT - NMS        GRAYBAR ELECTRIC CO INC                       7505 MALLARD WAY STE                                    CARLSBAD     NM      87507
         EQUIP - BRONZE PLUS SUPPORT -                                               F,SANTA FE,NM,US,87507
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2736 SUPPORT CONTRACT - NMS      GRAYBAR ELECTRIC CO INC                         2103 N 4TH                                              OAKLAND      WA      99301
         EQUIP - BRONZE SUPPORT -                                                    AVE,PASCO,WA,US,99301
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.
         BEST EFFORT.
  2.2737 SUPPORT CONTRACT - BACS     GROUPE MASKATEL QUÉBEC                          916 ST-                                                 DRUMMONDVILL QC      J2C3Y2    CA
         EQUIP - BRONZE LIMITED      S.E.C                                           PIERRE,DRUMMONDVILLE,                                   E
         SUPPORT - RENEWAL RATE.                                                     QC,CA,J2C3Y2
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2738 SUPPORT CONTRACT - BACS       GROUPE MASKATEL QUÉBEC                        916 ST-                                                 DRUMMONDVILL QC      J2C3Y2    CA
         EQUIP - SILVER SUPPORT -      S.E.C                                         PIERRE,DRUMMONDVILLE,                                   E
         RENEWAL RATE. INCLUDES TAC                                                  QC,CA,J2C3Y2
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2739 SUPPORT CONTRACT - NMS        GROUPE MASKATEL QUÉBEC                        916 ST-                                                 DRUMMONDVILL QC      J2C3Y2    CA
         EQUIP - BRONZE PLUS SUPPORT - S.E.C                                         PIERRE,DRUMMONDVILLE,                                   E
         RENEWAL RATE. INCLUDES TAC                                                  QC,CA,J2C3Y2
         SUPPORT, SW/FW UPDATES.

  2.2740 SUPPORT CONTRACT - BACS     GTD MANQUEHUE S A                               NORTH VALLEY                                            SANTIAGO             8580000   CL
         EQUIP - BRONZE LIMITED                                                      AVENUE,REGION
         SUPPORT - RENEWAL RATE.                                                     METROPOLITANA,HUECHU
         INCLUDES TAC SUPPORT, SW/FW                                                 RABA,CL,8580000
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2741 SUPPORT CONTRACT - BACS       GTD MANQUEHUE S A                             NORTH VALLEY                                            SANTIAGO             8580000   CL
         EQUIP - BRONZE PLUS SUPPORT -                                               AVENUE,REGION
         RENEWAL RATE. INCLUDES TAC                                                  METROPOLITANA,HUECHU
         SUPPORT, SW/FW UPDATES.                                                     RABA,CL,8580000

  2.2742 SUPPORT CONTRACT - CPE      GTD MANQUEHUE S A                               NORTH VALLEY                                            SANTIAGO             8580000   CL
         EQUIP - BRONZE LIMITED                                                      AVENUE,REGION
         SUPPORT - RENEWAL RATE.                                                     METROPOLITANA,HUECHU
         INCLUDES TAC SUPPORT, SW/FW                                                 RABA,CL,8580000
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2743 SUPPORT CONTRACT - CPE        GTD MANQUEHUE S A                             NORTH VALLEY                                            SANTIAGO             8580000   CL
         EQUIP - BRONZE PLUS SUPPORT -                                               AVENUE,REGION
         RENEWAL RATE. INCLUDES TAC                                                  METROPOLITANA,HUECHU
         SUPPORT, SW/FW UPDATES.                                                     RABA,CL,8580000




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  2.2744 SUPPORT CONTRACT - NMS           GTD MANQUEHUE S A                           NORTH VALLEY                                          SANTIAGO              8580000    CL
         EQUIP - BRONZE PLUS SUPPORT -                                                AVENUE,REGION
         RENEWAL RATE. INCLUDES TAC                                                   METROPOLITANA,HUECHU
         SUPPORT, SW/FW UPDATES.                                                      RABA,CL,8580000

  2.2745 SUPPORT CONTRACT - 3YRS -   GULF MINETECH LLC                                34 WELLINGTON STREET                                  DUBLIN                D07 X2R6   IE
         BRONZE PLUS MAINT POLAN                                                      UPPER,DUBLIN,IE,D07
         PORT EXTENDERS. INCLUDES                                                     X2R6
         TAC SUPPORT, SW/FW UPDATES.

  2.2746 SUPPORT CONTRACT - 3YRS -   HASOUB FOR IMPORT, EXPORT                        31 OMAR BAKIR STREET,                                 CAIRO                 RO,EG      EG
         BRONZE PLUS MAINT POLAN     AND TRADING                                      9TH FLOOR,OTHMAN BIN
         PORT EXTENDERS. INCLUDES                                                     AFAN
         TAC SUPPORT, SW/FW UPDATES.                                                  SQUARE,HELIOPOLIS,CAIR
                                                                                      O,EG
  2.2747 SUPPORT CONTRACT - 3YRS -   HASOUB FOR IMPORT, EXPORT                        31 OMAR BAKIR STREET,                                 CAIRO                 RO,EG      EG
         BRONZE PLUS MAINT POLAN     AND TRADING                                      9TH FLOOR,OTHMAN BIN
         SWITCHING EQUIP. INCLUDES                                                    AFAN
         TAC SUPPORT, SW/FW UPDATES.                                                  SQUARE,HELIOPOLIS,CAIR
                                                                                      O,EG
  2.2748 SUPPORT CONTRACT - BACS       HICKORY TELEPHONE COMPANY                      75 MAIN                                               OAKLAND       PA      15340
         EQUIP - BRONZE PLUS SUPPORT -                                                ST,HICKORY,PA,US,15340
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2749 SUPPORT CONTRACT - BACS     HICKORY TELEPHONE COMPANY                        75 MAIN                                               OAKLAND       PA      15340
         EQUIP - SILVER SUPPORT -                                                     ST,HICKORY,PA,US,15340
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2750 SUPPORT CONTRACT - 3YRS -   HOSPITALITY PURVEYORS INC.                       FOR: SANDALS ROYAL                                    MONTEGO BAY           33155      JM
         BRONZE PLUS MAINT POLAN                                                      JAMAICAN,5000 SW 75TH
         PORT EXTENDERS. INCLUDES                                                     AVE STE
         TAC SUPPORT, SW/FW UPDATES.                                                  111,MIAMI,FL,US,33155

  2.2751 SUPPORT CONTRACT - 3YRS -      HOSPITALITY PURVEYORS INC.                    FOR: SANDALS ROYAL                                    MONTEGO BAY           33155      JM
         SILVER MAINT POLAN                                                           JAMAICAN,5000 SW 75TH
         SWITCHING EQUIP. INCLUDES                                                    AVE STE
         TAC SUPPORT, SW/FW UPDATES,                                                  111,MIAMI,FL,US,33155
         & RTF REPAIR.
  2.2752 SUPPORT CONTRACT - 3YRS -      HOSPITALITY PURVEYORS INC.                    FOR: SANDALS DUNNS                                    MONTEGO BAY           33155      JM
         SILVER MAINT POLAN                                                           RIVER,5000 SW, 75TH
         SWITCHING EQUIP. INCLUDES                                                    AVE., STE 111,S
         TAC SUPPORT, SW/FW UPDATES,                                                  MIAMI,FL,US,33155
         & RTF REPAIR.
  2.2753 SUPPORT CONTRACT - BACS        HOSTED AMERICA                                2727 N HARWOOD ST STE                                 DALLAS        TX      75201
         EQUIP - GOLD SUPPORT - 1ST                                                   225,DALLAS,TX,US,75201
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.2754 SUPPORT CONTRACT - BACS        HOSTED AMERICA                                2727 N HARWOOD ST STE                                 DALLAS        TX      75201
         EQUIP - GOLD SUPPORT - 1ST                                                   225,DALLAS,TX,US,75201
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.2755 SUPPORT CONTRACT - BACS        HOSTED AMERICA                                2727 N HARWOOD ST STE                                 DALLAS        TX      75201
         EQUIP - SILVER SUPPORT - 1ST                                                 225,DALLAS,TX,US,75201
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2756 SUPPORT CONTRACT - BACS        HOSTED AMERICA                                410 S SALISBURY ST,STE                                RALEIGH       NC      27601
         EQUIP - SILVER SUPPORT - 1ST                                                 112,RALEIGH,NC,US,27601
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2757 SUPPORT CONTRACT - CPE           HOSTED AMERICA                       2222 PALMER RD,MILL                                     RALEIGH   NC      28756
         EQUIP - BRONZE LIMITED                                                SPRING,NC,US,28756
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2758 SUPPORT CONTRACT - CPE       HOSTED AMERICA                           2727 N HARWOOD ST STE                                   DALLAS    TX      75201
         EQUIP - BRONZE LIMITED                                                225,DALLAS,TX,US,75201
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2759 SUPPORT CONTRACT - CPE       HOSTED AMERICA                           2727 N HARWOOD ST STE                                   DALLAS    TX      75201
         EQUIP - BRONZE LIMITED                                                225,DALLAS,TX,US,75201
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2760 SUPPORT CONTRACT - CPE        HOSTED AMERICA                          410 S SALISBURY ST,STE                                  RALEIGH   NC      27601
         EQUIP - BRONZE PLUS SUPPORT -                                         112,RALEIGH,NC,US,27601
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2761 SUPPORT CONTRACT - CPE        HOSTED AMERICA                          2727 N HARWOOD ST STE                                   DALLAS    TX      75201
         EQUIP - BRONZE PLUS SUPPORT -                                         225,DALLAS,TX,US,75201
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2762 SUPPORT CONTRACT - CPE        HOSTED AMERICA                          2727 N HARWOOD ST STE                                   DALLAS    TX      75201
         EQUIP - BRONZE PLUS SUPPORT -                                         225,DALLAS,TX,US,75201
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2763 SUPPORT CONTRACT - CPE        HOSTED AMERICA                          410 S SALISBURY ST,STE                                  RALEIGH   NC      27601
         EQUIP - SILVER SUPPORT - 1ST                                          112,RALEIGH,NC,US,27601
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2764 SUPPORT CONTRACT - NMS        HOSTED AMERICA                          2727 N HARWOOD ST STE                                   DALLAS    TX      75201
         EQUIP - BRONZE SUPPORT - 1ST                                          225,DALLAS,TX,US,75201
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES. BEST EFFORT.

  2.2765 SUPPORT CONTRACT - NMS       HOSTED AMERICA                           2727 N HARWOOD ST STE                                   DALLAS    TX      75201
         EQUIP - BRONZE SUPPORT - 1ST                                          225,DALLAS,TX,US,75201
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES. BEST EFFORT.

  2.2766 SUPPORT CONTRACT - NMS       HOSTED AMERICA                           2727 N HARWOOD ST STE                                   DALLAS    TX      75201
         EQUIP - BRONZE SUPPORT - 1ST                                          225,DALLAS,TX,US,75201
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES. BEST EFFORT.

  2.2767 SUPPORT CONTRACT - BACS       HOT SERVICES LIMITED                    EURO PARK,KIBUTZ                                        YAKUM             L,60972   IL
         EQUIP - SILVER SUPPORT - 1ST  PARTNERSHIP                             YAKUM,YAKUM,IL,60972
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2768 SUPPORT CONTRACT - BACS       HOT SERVICES LIMITED                    EURO PARK,KIBUTZ                                        YAKUM             60972     IL
         EQUIP - SILVER SUPPORT -      PARTNERSHIP                             YAKUM,YAKUM,IL,60972
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2769 SUPPORT CONTRACT - CPE        HOT SERVICES LIMITED                    EURO PARK,KIBUTZ                                        YAKUM             60972     IL
         EQUIP - BRONZE PLUS SUPPORT - PARTNERSHIP                             YAKUM,YAKUM,IL,60972
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2770 SUPPORT CONTRACT - 3YRS -          HUACOMM                               UNIT B-6-8, LEVEL 6,                                  KUALA LUMPUR           55200   MY
         BRONZE PLUS MAINT POLAN            TELECOMMUNICATIONS                    BLOCK B, SOUTHGATE
         NETWORK MGMT SW. INCLUDES          ENGINEERING                           COMMERCIAL CENTRE,NO
         TAC SUPPORT, SW/FW UPDATES.                                              2, JALAN DUA OFF JALAN
                                                                                  CHAN SOW KIN,KUALA
                                                                                  LUMPUR,MY,55200

  2.2771 SUPPORT CONTRACT - 3YRS -   HUACOMM                                      UNIT B-6-8, LEVEL 6,                                  KUALA LUMPUR           55200   MY
         BRONZE PLUS MAINT POLAN     TELECOMMUNICATIONS                           BLOCK B, SOUTHGATE
         PORT EXTENDERS. INCLUDES    ENGINEERING                                  COMMERCIAL CENTRE,NO
         TAC SUPPORT, SW/FW UPDATES.                                              2, JALAN DUA OFF JALAN
                                                                                  CHAN SOW KIN,KUALA
                                                                                  LUMPUR,MY,55200

  2.2772 SUPPORT CONTRACT - 3YRS -   HUACOMM                                      UNIT B-6-8, LEVEL 6,                                  KUALA LUMPUR           55200   MY
         SILVER MAINT POLAN          TELECOMMUNICATIONS                           BLOCK B, SOUTHGATE
         SWITCHING EQUIP. INCLUDES   ENGINEERING                                  COMMERCIAL CENTRE,NO
         TAC SUPPORT, SW/FW UPDATES,                                              2, JALAN DUA OFF JALAN
         & RTF REPAIR.                                                            CHAN SOW KIN,KUALA
                                                                                  LUMPUR,MY,55200

  2.2773 SUPPORT CONTRACT - 3YRS -   HUACOMM                                      UNIT B-6-8, LEVEL 6,                                  KUALA LUMPUR           55200   MY
         SILVER MAINT POLAN          TELECOMMUNICATIONS                           BLOCK B, SOUTHGATE
         SWITCHING EQUIP. INCLUDES   ENGINEERING                                  COMMERCIAL CENTRE,NO
         TAC SUPPORT, SW/FW UPDATES,                                              2, JALAN DUA OFF JALAN
         & RTF REPAIR.                                                            CHAN SOW KIN,KUALA
                                                                                  LUMPUR,MY,55200

  2.2774 SUPPORT CONTRACT - 3YRS -   HUACOMM                                      UNIT B-6-8, LEVEL 6,                                  KUALA LUMPUR           55200   MY
         SILVER MAINT POLAN          TELECOMMUNICATIONS                           BLOCK B, SOUTHGATE
         SWITCHING EQUIP. INCLUDES   ENGINEERING                                  COMMERCIAL CENTRE,NO
         TAC SUPPORT, SW/FW UPDATES,                                              2, JALAN DUA OFF JALAN
         & RTF REPAIR.                                                            CHAN SOW KIN,KUALA
                                                                                  LUMPUR,MY,55200

  2.2775 SUPPORT CONTRACT - 3YRS -   HUACOMM                                      UNIT B-6-8, LEVEL 6,                                  KUALA LUMPUR           55200   MY
         SILVER MAINT POLAN          TELECOMMUNICATIONS                           BLOCK B, SOUTHGATE
         SWITCHING EQUIP. INCLUDES   ENGINEERING                                  COMMERCIAL CENTRE,NO
         TAC SUPPORT, SW/FW UPDATES,                                              2, JALAN DUA OFF JALAN
         & RTF REPAIR.                                                            CHAN SOW KIN,KUALA
                                                                                  LUMPUR,MY,55200

  2.2776 SUPPORT CONTRACT - 3YRS -   HUACOMM                                      UNIT B-6-8, LEVEL 6,                                  KUALA LUMPUR           55200   MY
         SILVER MAINT POLAN          TELECOMMUNICATIONS                           BLOCK B, SOUTHGATE
         SWITCHING EQUIP. INCLUDES   ENGINEERING                                  COMMERCIAL CENTRE,NO
         TAC SUPPORT, SW/FW UPDATES,                                              2, JALAN DUA OFF JALAN
         & RTF REPAIR.                                                            CHAN SOW KIN,KUALA
                                                                                  LUMPUR,MY,55200

  2.2777 SUPPORT CONTRACT - BACS            I3 BROADBAND                          682 HIGH POINT LN,EAST                                CHAMPAIGN      IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                             PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2778 SUPPORT CONTRACT - BACS            I3 BROADBAND                          602 HIGH POINT LN,EAST                                CHAMPAIGN      IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                             PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2779 SUPPORT CONTRACT - BACS            I3 BROADBAND                          682 HIGH POINT LN,EAST                                CHAMPAIGN      IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                             PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2780 SUPPORT CONTRACT - BACS            I3 BROADBAND                          602 HIGH POINT LN,EAST                                CHAMPAIGN      IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                             PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2781 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                            PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2782 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                            PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2783 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                            PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2784 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT - 1ST                                            PEORIA,IL,US,61611
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2785 SUPPORT CONTRACT - BACS            I3 BROADBAND                         682 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT -                                                PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2786 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT -                                                PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2787 SUPPORT CONTRACT - BACS            I3 BROADBAND                         682 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT -                                                PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2788 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT -                                                PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2789 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT -                                                PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2790 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT -                                                PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2791 SUPPORT CONTRACT - BACS            I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - SILVER SUPPORT -                                                PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2792 SUPPORT CONTRACT - CPE             I3 BROADBAND                         602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - BRONZE LIMITED                                                  PEORIA,IL,US,61611
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2793 SUPPORT CONTRACT - CPE        I3 BROADBAND                              602 HIGH POINT LN,EAST                                  CHAMPAIGN   IL      61611
         EQUIP - BRONZE PLUS SUPPORT -                                           PEORIA,IL,US,61611
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2794 SUPPORT CONTRACT - CPE           I3 BROADBAND                              602 HIGH POINT LN,EAST                                  CHAMPAIGN       IL      61611
         EQUIP - BRONZE PLUS SUPPORT -                                              PEORIA,IL,US,61611
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2795 SUPPORT CONTRACT - BACS       IBC ISRAELI BROADBAND                        C/O TRANSWORLD                                          BNEI BRAK               6083705   IL
         EQUIP - SILVER SUPPORT - 1ST  COMPANY 2013 LTD                             LOGISTIC LTD,1 HA
         YEAR. ADDS TAC SUPPORT,                                                    RAKEFET
         SW/FW UPDATES.                                                             ST,SHOHAM,IL,6083705
  2.2796 SUPPORT CONTRACT - BACS       IBC ISRAELI BROADBAND                        C/O TRANSWORLD                                          BNEI BRAK               6083705   IL
         EQUIP - SILVER SUPPORT -      COMPANY 2013 LTD                             LOGISTIC LTD,1 HA
         RENEWAL RATE. INCLUDES TAC                                                 RAKEFET
         SUPPORT, SW/FW UPDATES, &                                                  ST,SHOHAM,IL,6083705
         RTF REPAIR.
  2.2797 SUPPORT CONTRACT - BACS       IBC ISRAELI BROADBAND                        HAYARKON ST 2,BNEI                                      BNEI BRAK               5126012   IL
         EQUIP - SILVER SUPPORT -      COMPANY 2013 LTD                             BRAK,IL,5126012
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2798 SUPPORT CONTRACT - BACS       IBC ISRAELI BROADBAND                        CARGO AMERFORD                                          BNEI BRAK               7178128   IL
         EQUIP - SILVER SUPPORT -      COMPANY 2013 LTD                             WAREHOUSE,43-45 TZELA
         RENEWAL RATE. INCLUDES TAC                                                 HAHAR
         SUPPORT, SW/FW UPDATES, &                                                  ST.,MODIIN,IL,7178128
         RTF REPAIR.
  2.2799 SUPPORT CONTRACT - BACS       INFITEL CO, LTD                              288/30-31 MOO 5 PAK                                     OAKLAND         RI      11120
         EQUIP - BRONZE PLUS SUPPORT -                                              KRET,PAK KRET,PAK
         1ST YEAR . ADDS TAC SUPPORT,                                               KRET,NONTHABURI,TH,111
         SW/FW UPDATES.                                                             20
  2.2800 SUPPORT CONTRACT - BACS       INFOTELECOM NETWORKS S.L.                    AV. JAUME I EL                                          CIUTADELLA DE           07760     ES
         EQUIP - SILVER SUPPORT -                                                   CONQUERIDOR                                             MENORCA
         RENEWAL RATE. INCLUDES TAC                                                 114,,BALEARIC
         SUPPORT, SW/FW UPDATES, &                                                  ISLANDS,CIUTADELLA DE
         RTF REPAIR.                                                                MENORCA,ES,07760
  2.2801 SUPPORT CONTRACT - CPE        INFOTELECOM NETWORKS S.L.                    AV. JAUME I EL                                          CIUTADELLA DE           07760     ES
         EQUIP - BRONZE PLUS SUPPORT -                                              CONQUERIDOR                                             MENORCA
         1ST YEAR. ADDS TAC SUPPORT,                                                114,,BALEARIC
         SW/FW UPDATES.                                                             ISLANDS,CIUTADELLA DE
                                                                                    MENORCA,ES,07760
  2.2802 SUPPORT CONTRACT - CPE        INFOTELECOM NETWORKS S.L.                    AV. JAUME I EL                                          CIUTADELLA DE           07760     ES
         EQUIP - BRONZE PLUS SUPPORT -                                              CONQUERIDOR                                             MENORCA
         RENEWAL RATE. INCLUDES TAC                                                 114,,BALEARIC
         SUPPORT, SW/FW UPDATES.                                                    ISLANDS,CIUTADELLA DE
                                                                                    MENORCA,ES,07760
  2.2803 SUPPORT CONTRACT - CPE        INFOTELECOM NETWORKS S.L.                    AV. JAUME I EL                                          CIUTADELLA DE           07760     ES
         EQUIP - BRONZE PLUS SUPPORT -                                              CONQUERIDOR                                             MENORCA
         RENEWAL RATE. INCLUDES TAC                                                 114,,BALEARIC
         SUPPORT, SW/FW UPDATES.                                                    ISLANDS,CIUTADELLA DE
                                                                                    MENORCA,ES,07760
  2.2804 SUPPORT CONTRACT - 5YRS -   INGRAM MICRO (N.Z) LIMITED                     96 MEMORIAL AVE, 294                                    CHRISTCHURCH            8053      NZ
         BRONZE PLUS MAINT POLAN                                                    ILAM
         PORT EXTENDERS. INCLUDES                                                   ROAD,CHRISTCHURCH,NZ,
         TAC SUPPORT, SW/FW UPDATES.                                                8053

  2.2805 SUPPORT CONTRACT - CPE      INLAND CELLULAR                                1112 36TH ST                                            LEWISTON        ID      83501
         EQUIP - BRONZE LIMITED                                                     N,LEWISTON,ID,US,83501
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2806 SUPPORT CONTRACT - CPE        INLAND CELLULAR                              1112 36TH ST                                            LEWISTON        ID      83501
         EQUIP - BRONZE PLUS SUPPORT -                                              N,LEWISTON,ID,US,83501
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2807 SUPPORT CONTRACT - BACS          INTELVISION                           PO BOX                                                MAHE                           SC
         EQUIP - BRONZE LIMITED                                                 558,PROVIDENCE,MAHE,SC
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2808 SUPPORT CONTRACT - BACS       INTELVISION                              PO BOX                                                MAHE                           SC
         EQUIP - BRONZE PLUS SUPPORT -                                          558,PROVIDENCE,MAHE,SC
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2809 SUPPORT CONTRACT - BACS      INTELVISION                               PO BOX                                                MAHE                           SC
         EQUIP - SILVER SUPPORT - 1ST                                           558,PROVIDENCE,MAHE,SC
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2810 SUPPORT CONTRACT - CPE       INTELVISION                               PO BOX                                                MAHE                           SC
         EQUIP - BRONZE LIMITED                                                 558,PROVIDENCE,MAHE,SC
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2811 SUPPORT CONTRACT - CPE        INTELVISION                              PO BOX                                                MAHE                           SC
         EQUIP - BRONZE PLUS SUPPORT -                                          558,PROVIDENCE,MAHE,SC
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2812 SUPPORT CONTRACT - CPE        INTELVISION                              PO BOX                                                MAHE                           SC
         EQUIP - BRONZE PLUS SUPPORT -                                          558,PROVIDENCE,MAHE,SC
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2813 SUPPORT CONTRACT - NMS        INTELVISION                              PO BOX                                                MAHE                           SC
         EQUIP - BRONZE PLUS SUPPORT -                                          558,PROVIDENCE,MAHE,SC
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2814 SUPPORT CONTRACT - BACS       INTERBEL TELEPHONE                       6 DEWEY                                               EUREKA         MT      59917
         EQUIP - BRONZE PLUS SUPPORT -                                          AVE,EUREKA,MT,US,59917
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2815 SUPPORT CONTRACT - NMS        INTERBEL TELEPHONE                       6 DEWEY                                               EUREKA         MT      59917
         EQUIP - BRONZE PLUS SUPPORT -                                          AVE,EUREKA,MT,US,59917
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2816 SUPPORT CONTRACT - BACS       IT AUDITORS PR, CORP.                    PR-2,                                                 QUEBRADILLAS           00678   PR
         EQUIP - SILVER SUPPORT -                                               #6301,QUEBRADILLAS,PR,0
         RENEWAL RATE. INCLUDES TAC                                             0678
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2817 SUPPORT CONTRACT - CPE        IT AUDITORS PR, CORP.                    PR-2,                                                 QUEBRADILLAS           00678   PR
         EQUIP - BRONZE PLUS SUPPORT -                                          #6301,QUEBRADILLAS,PR,0
         RENEWAL RATE. INCLUDES TAC                                             0678
         SUPPORT, SW/FW UPDATES.

  2.2818 SUPPORT CONTRACT - BACS         JORDAN DATA SYSTEMS                    AL FAROUQ STREET,AL                                   AQABA                  77110   JO
         EQUIP - SILVER SUPPORT -                                               NAKHEEL AREA,P.O.BOX
         RENEWAL RATE. INCLUDES TAC                                             2301,AQABA,JO,77110
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2819 SUPPORT CONTRACT - CPE           JORDAN DATA SYSTEMS                           AL FAROUQ STREET,AL                                     AQABA                77110     JO
         EQUIP - BRONZE LIMITED                                                         NAKHEEL AREA,P.O.BOX
         SUPPORT - RENEWAL RATE.                                                        2301,AQABA,JO,77110
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2820 SUPPORT CONTRACT - CPE        JORDAN DATA SYSTEMS                              AL FAROUQ STREET,AL                                     AQABA                77110     JO
         EQUIP - BRONZE PLUS SUPPORT -                                                  NAKHEEL AREA,P.O.BOX
         RENEWAL RATE. INCLUDES TAC                                                     2301,AQABA,JO,77110
         SUPPORT, SW/FW UPDATES.

  2.2821 SUPPORT CONTRACT - BACS        K.M.A ADVANCED                                  AR'ARA SOUTHERN                                         BINYAMIN             3002600   IL
         EQUIP - SILVER SUPPORT - 1ST   TECHNOLOGIES LTD                                ENTRY E-DAHRAT ST
         YEAR. ADDS TAC SUPPORT,                                                        1,N/A,IL,3002600
         SW/FW UPDATES.
  2.2822 SUPPORT CONTRACT - BACS        K.M.A ADVANCED                                  AR'ARA SOUTHERN                                         BINYAMIN             3002600   IL
         EQUIP - SILVER SUPPORT -       TECHNOLOGIES LTD                                ENTRY E-DAHRAT ST
         RENEWAL RATE. INCLUDES TAC                                                     1,N/A,IL,3002600
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2823 SUPPORT CONTRACT - 3YRS -      KANNEGIETER ELECTRONICA B.V.                    ASTRONAUT 28,POSTBUS                                    AMERSFOORT           3824MJ    NL
         BRONZE PLUS MAINT POLAN                                                        2749 3800GG
         PORT EXTENDERS. INCLUDES                                                       AMERSFOORT,AMERSFOO
         TAC SUPPORT, SW/FW UPDATES.                                                    RT,NL,3824MJ

  2.2824 SUPPORT CONTRACT - 3YRS -   KANNEGIETER ELECTRONICA B.V.                       ASTRONAUT 28,POSTBUS                                    AMERSFOORT           3824MJ    NL
         SILVER MAINT POLAN                                                             2749 3800GG
         SWITCHING EQUIP. INCLUDES                                                      AMERSFOORT,AMERSFOO
         TAC SUPPORT, SW/FW UPDATES,                                                    RT,NL,3824MJ
         & RTF REPAIR.
  2.2825 SUPPORT CONTRACT - BACS     KINEX TELECOM INC                                  717 E 3RD ST,PO BOX                                     FARMVILLE    VA      23901
         EQUIP - BRONZE LIMITED                                                         562,FARMVILLE,VA,US,2390
         SUPPORT - RENEWAL RATE.                                                        1
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2826 SUPPORT CONTRACT - BACS     KINEX TELECOM INC                                  717 E 3RD ST,PO BOX                                     FARMVILLE    VA      23901
         EQUIP - BRONZE LIMITED                                                         562,FARMVILLE,VA,US,2390
         SUPPORT - RENEWAL RATE.                                                        1
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2827 SUPPORT CONTRACT - BACS       KINEX TELECOM INC                                717 E 3RD ST,PO BOX                                     FARMVILLE    VA      23901
         EQUIP - SILVER SUPPORT -                                                       562,FARMVILLE,VA,US,2390
         RENEWAL RATE. INCLUDES TAC                                                     1
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2828 SUPPORT CONTRACT - BACS       KINEX TELECOM INC                                717 E 3RD ST,PO BOX                                     FARMVILLE    VA      23901
         EQUIP - SILVER SUPPORT -                                                       562,FARMVILLE,VA,US,2390
         RENEWAL RATE. INCLUDES TAC                                                     1
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2829 SUPPORT CONTRACT - CPE        KINEX TELECOM INC                                717 E 3RD ST,PO BOX                                     FARMVILLE    VA      23901
         EQUIP - BRONZE PLUS SUPPORT -                                                  562,FARMVILLE,VA,US,2390
         RENEWAL RATE. INCLUDES TAC                                                     1
         SUPPORT, SW/FW UPDATES.

  2.2830 SUPPORT CONTRACT - CPE        KINEX TELECOM INC                                717 E 3RD ST,PO BOX                                     FARMVILLE    VA      23901
         EQUIP - BRONZE PLUS SUPPORT -                                                  562,FARMVILLE,VA,US,2390
         RENEWAL RATE. INCLUDES TAC                                                     1
         SUPPORT, SW/FW UPDATES.




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  2.2831 SUPPORT CONTRACT - BACS          KIRTLAND AFB                           1551 FIRST ST SE BLDG                                   KIRTLAND AFB   NM      87117
         EQUIP - SILVER SUPPORT -                                                20350,KIRTLAND
         RENEWAL RATE. INCLUDES TAC                                              AFB,NM,US,87117
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2832 SUPPORT CONTRACT - BACS          KORTMAN ELECTRIC                       10100 E GOLF LINKS                                      HOUSTON        AZ      85730
         EQUIP - SILVER SUPPORT - 1ST                                            RD,TUCSON,AZ,US,85730
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2833 SUPPORT CONTRACT - CPE           KORTMAN ELECTRIC                       10100 E GOLF LINKS                                      HOUSTON        AZ      85730
         EQUIP - BRONZE PLUS SUPPORT -                                           RD,TUCSON,AZ,US,85730
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2834 SUPPORT CONTRACT - 3YRS -        LOWVO COMPANY                          5TH FLOOR, WAFRA                                        SAFAT                  13050   KW
         BRONZE PLUS MAINT POLAN                                                 BUILDING,AHMED AL
         NETWORK MGMT SW. INCLUDES                                               JABER ST, SHARQ.,PO
         TAC SUPPORT, SW/FW UPDATES.                                             BOX 4954,SAFAT,KW,13050

  2.2835 SUPPORT CONTRACT - 3YRS -   LOWVO COMPANY                               5TH FLOOR, WAFRA                                        SAFAT                  13050   KW
         BRONZE PLUS MAINT POLAN                                                 BUILDING,AHMED AL
         PORT EXTENDERS. INCLUDES                                                JABER ST, SHARQ.,PO
         TAC SUPPORT, SW/FW UPDATES.                                             BOX 4954,SAFAT,KW,13050

  2.2836 SUPPORT CONTRACT - 3YRS -    LOWVO COMPANY                              5TH FLOOR, WAFRA                                        SAFAT                  13050   KW
         SILVER MAINT POLAN                                                      BUILDING,AHMED AL
         SWITCHING EQUIP. INCLUDES                                               JABER ST, SHARQ.,PO
         TAC SUPPORT, SW/FW UPDATES,                                             BOX 4954,SAFAT,KW,13050
         & RTF REPAIR.
  2.2837 SUPPORT CONTRACT - BACS      LSY DEFENSE, LLC                           12224 AIKEN RD.,STE                                     LOUISVILLE     KY      40223
         EQUIP - SILVER SUPPORT - 1ST                                            311,LOUISVILLE,KY,US,402
         YEAR. ADDS TAC SUPPORT,                                                 23
         SW/FW UPDATES.
  2.2838 SUPPORT CONTRACT - BACS      LUCAS TELECOM SAS                          11 CHEMIN DES                                           VITROLLES              77144   FR
         EQUIP - BRONZE LIMITED                                                  MALACHAIS,FRA,MONTEVR
         SUPPORT - RENEWAL RATE.                                                 AIN,SEINE ET
         INCLUDES TAC SUPPORT, SW/FW                                             MARNE,FR,77144
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2839 SUPPORT CONTRACT - BACS     LUCAS TELECOM SAS                           11 CHEMIN DES                                           VITROLLES              77144   FR
         EQUIP - SILVER SUPPORT -                                                MALACHAIS,FRA,MONTEVR
         RENEWAL RATE. INCLUDES TAC                                              AIN,SEINE ET
         SUPPORT, SW/FW UPDATES, &                                               MARNE,FR,77144
         RTF REPAIR.
  2.2840 SUPPORT CONTRACT - CPE      LUCAS TELECOM SAS                           11 CHEMIN DES                                           VITROLLES              77144   FR
         EQUIP - BRONZE LIMITED                                                  MALACHAIS,FRA,MONTEVR
         SUPPORT - RENEWAL RATE.                                                 AIN,SEINE ET
         INCLUDES TAC SUPPORT, SW/FW                                             MARNE,FR,77144
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2841 SUPPORT CONTRACT - CPE        LUCAS TELECOM SAS                         11 CHEMIN DES                                           VITROLLES              77144   FR
         EQUIP - BRONZE PLUS SUPPORT -                                           MALACHAIS,FRA,MONTEVR
         RENEWAL RATE. INCLUDES TAC                                              AIN,SEINE ET
         SUPPORT, SW/FW UPDATES.                                                 MARNE,FR,77144

  2.2842 SUPPORT CONTRACT - NMS        LUCAS TELECOM SAS                         11 CHEMIN DES                                           VITROLLES              77144   FR
         EQUIP - BRONZE PLUS SUPPORT -                                           MALACHAIS,FRA,MONTEVR
         RENEWAL RATE. INCLUDES TAC                                              AIN,SEINE ET
         SUPPORT, SW/FW UPDATES.                                                 MARNE,FR,77144

  2.2843 SUPPORT CONTRACT - CPE        LUMEN TECHNOLOGIES INC                    5325 ZUNI ST.,5TH                                       PICKFORD       CO      80221
         EQUIP - BRONZE PLUS SUPPORT -                                           FLOOR,DENVER,CO,US,802
         RENEWAL RATE. INCLUDES TAC                                              21
         SUPPORT, SW/FW UPDATES.




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  2.2844 SUPPORT CONTRACT - BACS          LUMOS/NORTHSTATE DBA                      1524 NEW HOPE                                         HIGH POINT   VA      22980
         EQUIP - BRONZE LIMITED           GRIDIRON FIBER CORP.                      RD,WAYNESBORO,VA,US,2
         SUPPORT - RENEWAL RATE.                                                    2980
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2845 SUPPORT CONTRACT - BACS       LUMOS/NORTHSTATE DBA                         1524 NEW HOPE                                         HIGH POINT   VA      22980
         EQUIP - BRONZE PLUS SUPPORT - GRIDIRON FIBER CORP.                         RD,WAYNESBORO,VA,US,2
         RENEWAL RATE. INCLUDES TAC                                                 2980
         SUPPORT, SW/FW UPDATES.

  2.2846 SUPPORT CONTRACT - CPE      LUMOS/NORTHSTATE DBA                           1524 NEW HOPE                                         HIGH POINT   VA      22980
         EQUIP - BRONZE LIMITED      GRIDIRON FIBER CORP.                           RD,WAYNESBORO,VA,US,2
         SUPPORT - RENEWAL RATE.                                                    2980
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2847 SUPPORT CONTRACT - CPE        LUMOS/NORTHSTATE DBA                         1524 NEW HOPE                                         HIGH POINT   VA      22980
         EQUIP - BRONZE PLUS SUPPORT - GRIDIRON FIBER CORP.                         RD,WAYNESBORO,VA,US,2
         RENEWAL RATE. INCLUDES TAC                                                 2980
         SUPPORT, SW/FW UPDATES.

  2.2848 SUPPORT CONTRACT - NMS        LUMOS/NORTHSTATE DBA                         1524 NEW HOPE                                         HIGH POINT   VA      22980
         EQUIP - BRONZE PLUS SUPPORT - GRIDIRON FIBER CORP.                         RD,WAYNESBORO,VA,US,2
         RENEWAL RATE. INCLUDES TAC                                                 2980
         SUPPORT, SW/FW UPDATES.

  2.2849 SUPPORT CONTRACT - NMS        MANTI TELEPHONE COMPANY                      40 W UNION                                            MANTI        UT      84642
         EQUIP - BRONZE PLUS SUPPORT -                                              ST,MANTI,UT,US,84642
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2850 SUPPORT CONTRACT - NMS        MANTI TELEPHONE COMPANY                      40 W UNION                                            MANTI        UT      84642
         EQUIP - BRONZE PLUS SUPPORT -                                              ST,MANTI,UT,US,84642
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2851 SUPPORT CONTRACT - ANYHAUL MAVENIR SYSTEMS LIMITED (UK)                    1700 INTERNATIONAL                                    BONN                 75081   DE
         EQUIP - SILVER SUPPORT -                                                   PKWY,STE
         RENEWAL RATE, INCLUDES TAC                                                 200,RICHARDSON,TX,US,75
         SUPPORT, SW/FW UPDATES &                                                   081
         RTF REPAIR
  2.2852 SUPPORT CONTRACT - ANYHAUL MAVENIR SYSTEMS LIMITED (UK)                    1700 INTERNATIONAL                                    BONN                 75081   DE
         EQUIP - SILVER SUPPORT -                                                   PKWY,STE
         RENEWAL RATE, INCLUDES TAC                                                 200,RICHARDSON,TX,US,75
         SUPPORT, SW/FW UPDATES &                                                   081
         RTF REPAIR
  2.2853 SUPPORT CONTRACT - BACS    MENESTYS LTD                                    9009 VARNA,TODOR                                      VARNA                9009    BG
         EQUIP - SILVER SUPPORT -                                                   RADEV PENEV, STR. 11,
         RENEWAL RATE. INCLUDES TAC                                                 VH. 3, ET. 4, AP. 12,EU TAX
         SUPPORT, SW/FW UPDATES, &                                                  ID:
         RTF REPAIR.                                                                BG203316984,VARNA,BG,90
                                                                                    09
  2.2854 SUPPORT CONTRACT - CPE       METROSYSTEMS AG                               HUBSTRASSE 101,WIL                                    WIL          SG      9500    CH
         EQUIP - BRONZE LIMITED                                                     SG,SG,CH,9500
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
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  2.2855 SUPPORT CONTRACT - CPE           METROSYSTEMS AG                      HUBSTRASSE 101,WIL                                      WILKESBORO     SG      9500    CH
         EQUIP - BRONZE LIMITED                                                SG,SG,CH,9500
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2856 SUPPORT CONTRACT - BACS      MOBINIL FOR IMPORTING                    BUILDING B126-B,SMART                                   GIZA                           EG
         EQUIP - SILVER SUPPORT - 1ST                                          VILLAGE, KILO 29
         YEAR. ADDS TAC SUPPORT,                                               CAIRO,ALEXANDRA
         SW/FW UPDATES.                                                        ROAD,GIZA,EG
  2.2857 SUPPORT CONTRACT - CPE       MOBINIL FOR IMPORTING                    BUILDING B126-B,SMART                                   GIZA                           EG
         EQUIP - SILVER SUPPORT - 1ST                                          VILLAGE, KILO 29
         YEAR. ADDS TAC SUPPORT,                                               CAIRO,ALEXANDRA
         SW/FW UPDATES.                                                        ROAD,GIZA,EG
  2.2858 SUPPORT CONTRACT - 3YRS -    MULTICOM INC                             AUTOPISTA,AEROPUERTO                                    GUADALUPE              67130   MX
         BRONZE PLUS MAINT POLAN                                               600
         PORT EXTENDERS. INCLUDES                                              COL,GUADALUPE,NL,MX,67
         TAC SUPPORT, SW/FW UPDATES.                                           130

  2.2859 SUPPORT CONTRACT - BACS       MULTICOM INC                            101 RED RIVER                                           AUSTIN         TX      78701
         EQUIP - BRONZE PLUS SUPPORT -                                         ST,AUSTIN,TX,US,78701
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2860 SUPPORT CONTRACT - BACS       MULTICOM INC                            700 WILSHIRE                                            RIVERSIDE      CA      90401
         EQUIP - BRONZE PLUS SUPPORT -                                         BLVD,SANTA
         RENEWAL RATE. INCLUDES TAC                                            MONICA,CA,US,90401
         SUPPORT, SW/FW UPDATES.

  2.2861 SUPPORT CONTRACT - BACS       MULTICOM INC                            16986 SW BRASADA                                        POWELL BUTTE   OR      97753
         EQUIP - BRONZE PLUS SUPPORT -                                         RANCH RD,POWELL
         RENEWAL RATE. INCLUDES TAC                                            BUTTE,OR,US,97753
         SUPPORT, SW/FW UPDATES.

  2.2862 SUPPORT CONTRACT - BACS       MULTICOM INC                            4051 MERIDIAN                                           BELLINGHAM     WA      98226
         EQUIP - BRONZE PLUS SUPPORT -                                         ST,BELLINGHAM,WA,US,98
         RENEWAL RATE. INCLUDES TAC                                            226
         SUPPORT, SW/FW UPDATES.

  2.2863 SUPPORT CONTRACT - BACS        MULTICOM INC                           STATE CAMPUS VILLAGE,                                   BEDFORD        NV      89002
         EQUIP - SILVER SUPPORT - 1ST                                          NXS# SING5951-881,1300
         YEAR. ADDS TAC SUPPORT,                                               NEVADA STATE
         SW/FW UPDATES.                                                        DR,HENDERSON,NV,US,890
                                                                               02
  2.2864 SUPPORT CONTRACT - BACS     MULTICOM INC                              27 RENMAR                                               ENGLEWOOD      MA      02081
         EQUIP - SILVER SUPPORT -                                              AVE,WALPOLE,MA,US,0208
         RENEWAL RATE. INCLUDES TAC                                            1
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2865 SUPPORT CONTRACT - CPE      MULTICOM INC                              700 WILSHIRE                                            RIVERSIDE      CA      90401
         EQUIP - BRONZE LIMITED                                                BLVD,SANTA
         SUPPORT - RENEWAL RATE.                                               MONICA,CA,US,90401
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2866 SUPPORT CONTRACT - CPE        MULTICOM INC                            16986 SW BRASADA                                        POWELL BUTTE   OR      97753
         EQUIP - BRONZE PLUS SUPPORT -                                         RANCH RD,POWELL
         1ST YEAR. ADDS TAC SUPPORT,                                           BUTTE,OR,US,97753
         SW/FW UPDATES.
  2.2867 SUPPORT CONTRACT - CPE        MULTICOM INC                            16986 SW BRASADA                                        POWELL BUTTE   OR      97753
         EQUIP - BRONZE PLUS SUPPORT -                                         RANCH RD,POWELL
         1ST YEAR. ADDS TAC SUPPORT,                                           BUTTE,OR,US,97753
         SW/FW UPDATES.




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  2.2868 SUPPORT CONTRACT - CPE           MULTICOM INC                            16986 SW BRASADA                                        POWELL BUTTE   OR      97753
         EQUIP - BRONZE PLUS SUPPORT -                                            RANCH RD,POWELL
         RENEWAL RATE. INCLUDES TAC                                               BUTTE,OR,US,97753
         SUPPORT, SW/FW UPDATES.

  2.2869 SUPPORT CONTRACT - CPE        MULTICOM INC                               101 RED RIVER                                           AUSTIN         TX      78701
         EQUIP - BRONZE PLUS SUPPORT -                                            ST,AUSTIN,TX,US,78701
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2870 SUPPORT CONTRACT - CPE        MULTICOM INC                               700 WILSHIRE                                            RIVERSIDE      CA      90401
         EQUIP - BRONZE PLUS SUPPORT -                                            BLVD,SANTA
         RENEWAL RATE. INCLUDES TAC                                               MONICA,CA,US,90401
         SUPPORT, SW/FW UPDATES.

  2.2871 SUPPORT CONTRACT - CPE        MULTICOM INC                               16986 SW BRASADA                                        POWELL BUTTE   OR      97753
         EQUIP - BRONZE PLUS SUPPORT -                                            RANCH RD,POWELL
         RENEWAL RATE. INCLUDES TAC                                               BUTTE,OR,US,97753
         SUPPORT, SW/FW UPDATES.

  2.2872 SUPPORT CONTRACT - CPE        MULTICOM INC                               4051 MERIDIAN                                           BELLINGHAM     WA      98226
         EQUIP - BRONZE PLUS SUPPORT -                                            ST,BELLINGHAM,WA,US,98
         RENEWAL RATE. INCLUDES TAC                                               226
         SUPPORT, SW/FW UPDATES.

  2.2873 SUPPORT CONTRACT - CPE        MULTICOM INC                               710 W MAIN                                              STERLING       CO      80751
         EQUIP - BRONZE PLUS SUPPORT -                                            ST,STERLING,CO,US,80751
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2874 SUPPORT CONTRACT - CPE        MULTICOM INC                               16986 SW BRASADA                                        POWELL BUTTE   OR      97753
         EQUIP - BRONZE PLUS SUPPORT -                                            RANCH RD,POWELL
         RENEWAL RATE. INCLUDES TAC                                               BUTTE,OR,US,97753
         SUPPORT, SW/FW UPDATES.

  2.2875 SUPPORT CONTRACT - CPE        MULTICOM INC                               27 RENMAR                                               ENGLEWOOD      MA      02081
         EQUIP - BRONZE PLUS SUPPORT -                                            AVE,WALPOLE,MA,US,0208
         RENEWAL RATE. INCLUDES TAC                                               1
         SUPPORT, SW/FW UPDATES.

  2.2876 SUPPORT CONTRACT - CPE        MULTICOM INC                               16986 SW BRASADA                                        POWELL BUTTE   OR      97753
         EQUIP - BRONZE PLUS SUPPORT -                                            RANCH RD,POWELL
         RENEWAL RATE. INCLUDES TAC                                               BUTTE,OR,US,97753
         SUPPORT, SW/FW UPDATES.

  2.2877 SUPPORT CONTRACT - NMS        MULTICOM INC                               101 RED RIVER                                           AUSTIN         TX      78701
         EQUIP - BRONZE PLUS SUPPORT -                                            ST,AUSTIN,TX,US,78701
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2878 SUPPORT CONTRACT - BACS     NASHVILLE DTWN OWNER, LLC                    415 4TH AVE.                                            NASHVILLE      TN      37201
         EQUIP - BRONZE LIMITED      DBA HOLIDAY INN & SUITES                     S.,NASHVILLE,TN,US,37201
         SUPPORT - RENEWAL RATE.     DOWNTOWN NASHVILLE
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2879 SUPPORT CONTRACT - CPE      NASHVILLE DTWN OWNER, LLC                    415 4TH AVE.                                            NASHVILLE      TN      37201
         EQUIP - BRONZE LIMITED      DBA HOLIDAY INN & SUITES                     S.,NASHVILLE,TN,US,37201
         SUPPORT - RENEWAL RATE.     DOWNTOWN NASHVILLE
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  2.2880 SUPPORT CONTRACT - ANYHAUL NATCO COMMUNICATIONS INC.                      301 E MAIN                                              FLIPPIN   AR      72634
         EQUIP - BRONZE LIMITED                                                    ST,FLIPPIN,AR,US,72634
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2881 SUPPORT CONTRACT - ANYHAUL NATCO COMMUNICATIONS INC.                      301 E MAIN                                              FLIPPIN   AR      72634
         EQUIP - SILVER SUPPORT - 1ST                                              ST,FLIPPIN,AR,US,72634
         YEAR, ADDS TAC SUPPORT,
         SW/FW UPDATES
  2.2882 SUPPORT CONTRACT -           NATCO COMMUNICATIONS INC.                    301 E MAIN                                              FLIPPIN   AR      72634
         OBSOLETE, ANYHAUL EQUIP -                                                 ST,FLIPPIN,AR,US,72634
         BRONZE PLUS SUPPORT -
         RENEWAL RATE, INCLUDES TAC
         SUPPORT, SW/FW UPDATES
  2.2883 SUPPORT CONTRACT - 3YRS -    NCIS GROUP PTY LTD                           2 DELAGE STREET,UNIT                                    SYDNEY    WA      6027    AU
         BRONZE PLUS MAINT POLAN                                                   A068,STORAGE
         NETWORK MGMT SW. INCLUDES                                                 KING,JOONDALUP,WA,AU,6
         TAC SUPPORT, SW/FW UPDATES.                                               027

  2.2884 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            2140 PUTTY                                              SYDNEY    NSW     2756    AU
         BRONZE PLUS MAINT POLAN                                                   ROAD,COLO,NSW,AU,2756
         NETWORK MGMT SW. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.2885 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            KENNARD STORAGE,5                                       SYDNEY    NSW     2144    AU
         BRONZE PLUS MAINT POLAN                                                   PERCY
         NETWORK MGMT SW. INCLUDES                                                 STREET,AUBURN,NSW,AU,
         TAC SUPPORT, SW/FW UPDATES.                                               2144

  2.2886 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            2 DELAGE STREET,UNIT                                    SYDNEY    WA      6027    AU
         BRONZE PLUS MAINT POLAN                                                   A068,STORAGE
         PORT EXTENDERS. INCLUDES                                                  KING,JOONDALUP,WA,AU,6
         TAC SUPPORT, SW/FW UPDATES.                                               027

  2.2887 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            2140 PUTTY                                              SYDNEY    NSW     2756    AU
         BRONZE PLUS MAINT POLAN                                                   ROAD,COLO,NSW,AU,2756
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.2888 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            2140 PUTTY                                              SYDNEY    NSW     2756    AU
         BRONZE PLUS MAINT POLAN                                                   ROAD,COLO,NSW,AU,2756
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.2889 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            KENNARD STORAGE,5                                       SYDNEY    NSW     2144    AU
         BRONZE PLUS MAINT POLAN                                                   PERCY
         PORT EXTENDERS. INCLUDES                                                  STREET,AUBURN,NSW,AU,
         TAC SUPPORT, SW/FW UPDATES.                                               2144

  2.2890 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            2140 PUTTY                                              SYDNEY    NSW     2756    AU
         BRONZE PLUS MAINT POLAN                                                   ROAD,COLO,NSW,AU,2756
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.2891 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            2140 PUTTY                                              SYDNEY    NSW     2756    AU
         BRONZE PLUS MAINT POLAN                                                   ROAD,COLO,NSW,AU,2756
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.2892 SUPPORT CONTRACT - 3YRS -   NCIS GROUP PTY LTD                            2 DELAGE STREET,UNIT                                    SYDNEY    WA      6027    AU
         SILVER MAINT POLAN                                                        A068,STORAGE
         SWITCHING EQUIP. INCLUDES                                                 KING,JOONDALUP,WA,AU,6
         TAC SUPPORT, SW/FW UPDATES,                                               027
         & RTF REPAIR.




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  2.2893 SUPPORT CONTRACT - 3YRS -          NCIS GROUP PTY LTD                    KENNARD STORAGE,5                                     SYDNEY        NSW     2144   AU
         SILVER MAINT POLAN                                                       PERCY
         SWITCHING EQUIP. INCLUDES                                                STREET,AUBURN,NSW,AU,
         TAC SUPPORT, SW/FW UPDATES,                                              2144
         & RTF REPAIR.
  2.2894 SUPPORT CONTRACT - BACS            NCIS GROUP PTY LTD                    2140 PUTTY                                            SYDNEY        NSW     2756   AU
         EQUIP - BRONZE LIMITED                                                   ROAD,COLO,NSW,AU,2756
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE)
  2.2895 SUPPORT CONTRACT - BACS            NCIS GROUP PTY LTD                    2140 PUTTY                                            CHATSWOOD     NSW     2756   AU
         EQUIP - SILVER SUPPORT - 1ST                                             ROAD,COLO,NSW,AU,2756
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2896 SUPPORT CONTRACT - BACS            NCIS GROUP PTY LTD                    2140 PUTTY                                            CHATSWOOD     NSW     2756   AU
         EQUIP - SILVER SUPPORT -                                                 ROAD,COLO,NSW,AU,2756
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2897 SUPPORT CONTRACT - CPE             NCIS GROUP PTY LTD                    2140 PUTTY                                            SYDNEY        NSW     2756   AU
         EQUIP - BRONZE LIMITED                                                   ROAD,COLO,NSW,AU,2756
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2898 SUPPORT CONTRACT - CPE       NCIS GROUP PTY LTD                          2140 PUTTY                                            SYDNEY        NSW     2756   AU
         EQUIP - BRONZE LIMITED                                                   ROAD,COLO,NSW,AU,2756
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.2899 SUPPORT CONTRACT - CPE      NCIS GROUP PTY LTD                           2140 PUTTY                                            SYDNEY        NSW     2756   AU
         EQUIP - BRONZE LIMITED                                                   ROAD,COLO,NSW,AU,2756
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2900 SUPPORT CONTRACT - CPE        NCIS GROUP PTY LTD                         2140 PUTTY                                            CHATSWOOD     NSW     2756   AU
         EQUIP - BRONZE PLUS SUPPORT -                                            ROAD,COLO,NSW,AU,2756
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2901 SUPPORT CONTRACT - CPE        NCIS GROUP PTY LTD                         2 DELAGE STREET,UNIT                                  SOUTH PERTH   WA      6027   AU
         EQUIP - BRONZE PLUS SUPPORT -                                            A068,STORAGE
         1ST YEAR. ADDS TAC SUPPORT,                                              KING,JOONDALUP,WA,AU,6
         SW/FW UPDATES.                                                           027
  2.2902 SUPPORT CONTRACT - CPE        NCIS GROUP PTY LTD                         2140 PUTTY                                            CHATSWOOD     NSW     2756   AU
         EQUIP - BRONZE PLUS SUPPORT -                                            ROAD,COLO,NSW,AU,2756
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2903 SUPPORT CONTRACT - CPE        NCIS GROUP PTY LTD                         2 DELAGE STREET,UNIT                                  SOUTH PERTH   WA      6027   AU
         EQUIP - BRONZE PLUS SUPPORT -                                            A068,STORAGE
         RENEWAL RATE. INCLUDES TAC                                               KING,JOONDALUP,WA,AU,6
         SUPPORT, SW/FW UPDATES.                                                  027

  2.2904 SUPPORT CONTRACT - NMS        NCIS GROUP PTY LTD                         2140 PUTTY                                            CHATSWOOD     NSW     2756   AU
         EQUIP - BRONZE PLUS SUPPORT -                                            ROAD,COLO,NSW,AU,2756
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2905 SUPPORT CONTRACT - NMS           NCIS GROUP PTY LTD                      2140 PUTTY                                            CHATSWOOD   NSW     2756    AU
         EQUIP - BRONZE PLUS SUPPORT -                                            ROAD,COLO,NSW,AU,2756
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2906 SUPPORT CONTRACT - BACS       NETBRIDGE                                  NETBRIDGE LIMITED                                     AUKLAND             1051    NZ
         EQUIP - BRONZE PLUS SUPPORT -                                            STANWAY HOUSE,644
         RENEWAL RATE. INCLUDES TAC                                               GREAT SOUTH ROAD
         SUPPORT, SW/FW UPDATES.                                                  ELLERSLIE,AUCKLAND,NZ,
                                                                                  1051
  2.2907 SUPPORT CONTRACT - 3YRS -   NETCOM PANAMA                                CIUDAD DE PANAMA,                                     PANAMÁ                      PA
         BRONZE PLUS MAINT POLAN                                                  OBARRIO, CALLE 58,
         PORT EXTENDERS. INCLUDES                                                 PLAZA 58,EDIFICIO PWC,
         TAC SUPPORT, SW/FW UPDATES.                                              OFICINA 501,PANAMÁ,PA

  2.2908 SUPPORT CONTRACT - 3YRS -   NETCOM PANAMA                                AVENIDA OMAR TORRIJOS                                 ANCON                       PA
         BRONZE PLUS MAINT POLAN                                                  HERRERA, ANCON
         PORT EXTENDERS. INCLUDES                                                 PANAMA,ANCON,PA
         TAC SUPPORT, SW/FW UPDATES.

  2.2909 SUPPORT CONTRACT - 3YRS -   NETCOM PANAMA                                TORRES DE LAS                                         PANAMA                      PA
         BRONZE PLUS MAINT POLAN                                                  AMERICAS P. 10 -,PUNTA
         PORT EXTENDERS. INCLUDES                                                 PACIFICA TORRE
         TAC SUPPORT, SW/FW UPDATES.                                              B,PANAMA,PA

  2.2910 SUPPORT CONTRACT - 3YRS -   NETCOM PANAMA                                TORRES DE LAS                                         PANAMA                      PA
         BRONZE PLUS MAINT POLAN                                                  AMERICAS P. 10 -,PUNTA
         PORT EXTENDERS. INCLUDES                                                 PACIFICA TORRE
         TAC SUPPORT, SW/FW UPDATES.                                              B,PANAMA,PA

  2.2911 SUPPORT CONTRACT - 3YRS -   NETCOM PANAMA                                OBARRIO, CALLE 58 ,                                   DORAL       A,      MA,PA
         BRONZE PLUS MAINT POLAN                                                  EDIFICIO PLAZA 58,PISO #
         PORT EXTENDERS. INCLUDES                                                 5 , OFICINA 501,REP. DE
         TAC SUPPORT, SW/FW UPDATES.                                              PANAMA,PANAMA,PA

  2.2912 SUPPORT CONTRACT - 3YRS -      NETCOM PANAMA                             CIUDAD DE PANAMA,                                     PANAMÁ                      PA
         SILVER MAINT POLAN                                                       OBARRIO, CALLE 58,
         SWITCHING EQUIP. INCLUDES                                                PLAZA 58,EDIFICIO PWC,
         TAC SUPPORT, SW/FW UPDATES,                                              OFICINA 501,PANAMÁ,PA
         & RTF REPAIR.
  2.2913 SUPPORT CONTRACT - 3YRS -      NETCOM PANAMA                             CIUDAD DE PANAMA,                                     PANAMÁ                      PA
         SILVER MAINT POLAN                                                       OBARRIO, CALLE 58,
         SWITCHING EQUIP. INCLUDES                                                PLAZA 58,EDIFICIO PWC,
         TAC SUPPORT, SW/FW UPDATES,                                              OFICINA 501,PANAMÁ,PA
         & RTF REPAIR.
  2.2914 SUPPORT CONTRACT - 3YRS -      NETCOM PANAMA                             AVENIDA OMAR TORRIJOS                                 ANCON                       PA
         SILVER MAINT POLAN                                                       HERRERA, ANCON
         SWITCHING EQUIP. INCLUDES                                                PANAMA,ANCON,PA
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.2915 SUPPORT CONTRACT - 3YRS -      NETCOM PANAMA                             ZONA FRANCA: AV.                                      PANAMA                      PA
         SILVER MAINT POLAN                                                       PANAMERICANA,CORREGI
         SWITCHING EQUIP. INCLUDES                                                MIENTO 24 DE
         TAC SUPPORT, SW/FW UPDATES,                                              DICIEMBRE,PANAMA,PA
         & RTF REPAIR.
  2.2916 SUPPORT CONTRACT - 3YRS -      NETWORK COMMUNICATIONS                    AVENIDA OMAR TORRIJOS                                 ANCON                       PA
         BRONZE PLUS MAINT POLAN        S.A.                                      HERRERA, ANCON
         PORT EXTENDERS. INCLUDES                                                 PANAMA,ANCON,PA
         TAC SUPPORT, SW/FW UPDATES.

  2.2917 SUPPORT CONTRACT - 3YRS -   NETWORK COMMUNICATIONS                       AVENIDA OMAR TORRIJOS                                 ANCON                       PA
         SILVER MAINT POLAN          S.A.                                         HERRERA, ANCON
         SWITCHING EQUIP. INCLUDES                                                PANAMA,ANCON,PA
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.




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  2.2918 SUPPORT CONTRACT - BACS          NETWORK COMMUNICATIONS                    OBARRIO, CALLE 58 ,                                     DORAL      A,      MA,PA
         EQUIP - SILVER SUPPORT -         S.A.                                      EDIFICIO PLAZA 58,PISO #
         RENEWAL RATE. INCLUDES TAC                                                 5 , OFICINA 501,REP. DE
         SUPPORT, SW/FW UPDATES, &                                                  PANAMA,PANAMA,PA
         RTF REPAIR.
  2.2919 SUPPORT CONTRACT - BACS          NETWORK COMMUNICATIONS                    OBARRIO, CALLE 58 ,                                     DORAL      A,      MA,PA
         EQUIP - SILVER SUPPORT -         S.A.                                      EDIFICIO PLAZA 58,PISO #
         RENEWAL RATE. INCLUDES TAC                                                 5 , OFICINA 501,REP. DE
         SUPPORT, SW/FW UPDATES, &                                                  PANAMA,PANAMA,PA
         RTF REPAIR.
  2.2920 SUPPORT CONTRACT - CPE           NETWORK COMMUNICATIONS                    OBARRIO, CALLE 58 ,                                     DORAL      A,      MA,PA
         EQUIP - BRONZE PLUS SUPPORT - S.A.                                         EDIFICIO PLAZA 58,PISO #
         RENEWAL RATE. INCLUDES TAC                                                 5 , OFICINA 501,REP. DE
         SUPPORT, SW/FW UPDATES.                                                    PANAMA,PANAMA,PA

  2.2921 SUPPORT CONTRACT - CPE        NETWORK COMMUNICATIONS                       OBARRIO, CALLE 58 ,                                     DORAL      A,      MA,PA
         EQUIP - BRONZE PLUS SUPPORT - S.A.                                         EDIFICIO PLAZA 58,PISO #
         RENEWAL RATE. INCLUDES TAC                                                 5 , OFICINA 501,REP. DE
         SUPPORT, SW/FW UPDATES.                                                    PANAMA,PANAMA,PA

  2.2922 SUPPORT CONTRACT - BACS       NETWORK IMPLEMENTATIONS                      5045 W BASELINE RD,STE                                  PHOENIX    AZ      85339
         EQUIP - BRONZE PLUS SUPPORT - LLC                                          105 PMB
         RENEWAL RATE. INCLUDES TAC                                                 450,LAVEEN,AZ,US,85339
         SUPPORT, SW/FW UPDATES.

  2.2923 SUPPORT CONTRACT - CPE        NETWORK IMPLEMENTATIONS                      5045 W BASELINE RD,STE                                  PHOENIX    AZ      85339
         EQUIP - BRONZE PLUS SUPPORT - LLC                                          105 PMB
         RENEWAL RATE. INCLUDES TAC                                                 450,LAVEEN,AZ,US,85339
         SUPPORT, SW/FW UPDATES.

  2.2924 SUPPORT CONTRACT - BACS       NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - SILVER SUPPORT - 1ST                                               FLOOR,GABORONE,BW
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2925 SUPPORT CONTRACT - BACS       NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - SILVER SUPPORT - 1ST                                               FLOOR,GABORONE,BW
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2926 SUPPORT CONTRACT - BACS       NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - SILVER SUPPORT - 1ST                                               FLOOR,GABORONE,BW
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2927 SUPPORT CONTRACT - BACS       NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - SILVER SUPPORT -                                                   FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2928 SUPPORT CONTRACT - BACS       NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - SILVER SUPPORT -                                                   FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2929 SUPPORT CONTRACT - BACS       NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - SILVER SUPPORT -                                                   FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2930 SUPPORT CONTRACT - BACS       NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - SILVER SUPPORT -                                                   FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2931 SUPPORT CONTRACT - CPE        NEXTCOM                                      ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                              FLOOR,GABORONE,BW
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2932 SUPPORT CONTRACT - CPE           NEXTCOM                              ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2933 SUPPORT CONTRACT - CPE           NEXTCOM                              ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2934 SUPPORT CONTRACT - CPE           NEXTCOM                              ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2935 SUPPORT CONTRACT - CPE        NEXTCOM                                 ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2936 SUPPORT CONTRACT - CPE        NEXTCOM                                 ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2937 SUPPORT CONTRACT - NMS        NEXTCOM                                 ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2938 SUPPORT CONTRACT - NMS        NEXTCOM                                 ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2939 SUPPORT CONTRACT - NMS        NEXTCOM                                 ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2940 SUPPORT CONTRACT - NMS        NEXTCOM                                 ZAMBEZI TOWERS 2ND                                      GABORONE                   BW
         EQUIP - BRONZE PLUS SUPPORT -                                         FLOOR,GABORONE,BW
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2941 SUPPORT CONTRACT - BACS     NEZ PERCE TRIBE                           120 BEVER GRADE                                         LAPWAI     ID      83540
         EQUIP - BRONZE LIMITED                                                RD,LAPWAI,ID,US,83540
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2942 SUPPORT CONTRACT - BACS       NEZ PERCE TRIBE                         120 BEVER GRADE                                         LAPWAI     ID      83540
         EQUIP - BRONZE PLUS SUPPORT -                                         RD,LAPWAI,ID,US,83540
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2943 SUPPORT CONTRACT - CPE      NEZ PERCE TRIBE                           120 BEVER GRADE                                         LAPWAI     ID      83540
         EQUIP - BRONZE LIMITED                                                RD,LAPWAI,ID,US,83540
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2944 SUPPORT CONTRACT - NMS        NEZ PERCE TRIBE                         120 BEVER GRADE                                         LAPWAI     ID      83540
         EQUIP - BRONZE PLUS SUPPORT -                                         RD,LAPWAI,ID,US,83540
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.2945 SUPPORT CONTRACT - ANYHAUL NFOC                                       ROAD NO 1,SOMCABLE                                    HARGEISA                      SO
         EQUIP - BRONZE LIMITED                                                HQ, FLOOR
         SUPPORT - 1ST YEAR. ADDS TAC                                          1,HARGEISA,SOMALILAND,
         SUPPORT, SW/FW UPDATES NOT                                            SO
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE)
  2.2946 SUPPORT CONTRACT - ANYHAUL NFOC                                       ROAD NO 1,SOMCABLE                                    HARGEISA                      SO
         EQUIP - SILVER SUPPORT - 1ST                                          HQ, FLOOR
         YEAR, ADDS TAC SUPPORT,                                               1,HARGEISA,SOMALILAND,
         SW/FW UPDATES                                                         SO
  2.2947 SUPPORT CONTRACT - ANYHAUL NFOC                                       ROAD NO 1,SOMCABLE                                    HARGEISA                      SO
         EQUIP - SILVER SUPPORT - 1ST                                          HQ, FLOOR
         YEAR, ADDS TAC SUPPORT,                                               1,HARGEISA,SOMALILAND,
         SW/FW UPDATES                                                         SO
  2.2948 SUPPORT CONTRACT - BACS          NORTHWESTEL                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                              RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                            A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2949 SUPPORT CONTRACT - CPE           NORTHWESTEL                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - SILVER SUPPORT -                                              RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                            A3E5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2950 SUPPORT CONTRACT - NMS           NORTHWESTEL                          183 RANGE                                             WHITEHORSE   YT      Y1A3E5   CA
         EQUIP - BRONZE PLUS SUPPORT -                                         RD,WHITEHORSE,YT,CA,Y1
         RENEWAL RATE. INCLUDES TAC                                            A3E5
         SUPPORT, SW/FW UPDATES.

  2.2951 SUPPORT CONTRACT - 3YRS -   NTT ITALIA S.P.A.                         PIAZZA DELLA                                          PIANO DI             80063    IT
         BRONZE PLUS MAINT POLAN                                               REPUBBLICA 17,PIANO DI                                SORRENTO
         NETWORK MGMT SW. INCLUDES                                             SORRENTO,IT,80063
         TAC SUPPORT, SW/FW UPDATES.

  2.2952 SUPPORT CONTRACT - 3YRS -   NTT ITALIA S.P.A.                         PIAZZA DELLA                                          PIANO DI             80063    IT
         BRONZE PLUS MAINT POLAN                                               REPUBBLICA 17,PIANO DI                                SORRENTO
         NETWORK MGMT SW. INCLUDES                                             SORRENTO,IT,80063
         TAC SUPPORT, SW/FW UPDATES.

  2.2953 SUPPORT CONTRACT - 3YRS -   NTT ITALIA S.P.A.                         VIA MILANO,                                           PESCHIERA            20068    IT
         BRONZE PLUS MAINT POLAN                                               6/15,PESCHIERA                                        BORROMEO
         PORT EXTENDERS. INCLUDES                                              BORROMEO,MILAN,IT,2006
         TAC SUPPORT, SW/FW UPDATES.                                           8

  2.2954 SUPPORT CONTRACT - 3YRS -   NTT ITALIA S.P.A.                         VIA MILANO,                                           PIANO DI             20068    IT
         BRONZE PLUS MAINT POLAN                                               6/15,PESCHIERA                                        SORRENTO
         PORT EXTENDERS. INCLUDES                                              BORROMEO,MILAN,IT,2006
         TAC SUPPORT, SW/FW UPDATES.                                           8

  2.2955 SUPPORT CONTRACT - 3YRS -   NTT ITALIA S.P.A.                         PIAZZA DELLA                                          PIANO DI             80063    IT
         BRONZE PLUS MAINT POLAN                                               REPUBBLICA 17,PIANO DI                                SORRENTO
         PORT EXTENDERS. INCLUDES                                              SORRENTO,IT,80063
         TAC SUPPORT, SW/FW UPDATES.

  2.2956 SUPPORT CONTRACT - 3YRS -   NTT ITALIA S.P.A.                         PIAZZA DELLA                                          PIANO DI             80063    IT
         BRONZE PLUS MAINT POLAN                                               REPUBBLICA 17,PIANO DI                                SORRENTO
         PORT EXTENDERS. INCLUDES                                              SORRENTO,IT,80063
         TAC SUPPORT, SW/FW UPDATES.

  2.2957 SUPPORT CONTRACT - 3YRS -   NTT ITALIA S.P.A.                         PIAZZA DELLA                                          PIANO DI             80063    IT
         BRONZE PLUS MAINT POLAN                                               REPUBBLICA 17,PIANO DI                                SORRENTO
         PORT EXTENDERS. INCLUDES                                              SORRENTO,IT,80063
         TAC SUPPORT, SW/FW UPDATES.




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  2.2958 SUPPORT CONTRACT - 3YRS -          NTT ITALIA S.P.A.                    PIAZZA DELLA                                            PIANO DI              80063   IT
         SILVER MAINT POLAN                                                      REPUBBLICA 17,PIANO DI                                  SORRENTO
         SWITCHING EQUIP. INCLUDES                                               SORRENTO,IT,80063
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.2959 SUPPORT CONTRACT - 3YRS -          NTT ITALIA S.P.A.                    PIAZZA DELLA                                            PIANO DI              80063   IT
         SILVER MAINT POLAN                                                      REPUBBLICA 17,PIANO DI                                  SORRENTO
         SWITCHING EQUIP. INCLUDES                                               SORRENTO,IT,80063
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.2960 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    VIA MILANO,                                             MILANO                20068   IT
         EQUIP - BRONZE LIMITED                                                  6/15,PESCHIERA
         SUPPORT - RENEWAL RATE.                                                 BORROMEO,MILAN,IT,2006
         INCLUDES TAC SUPPORT, SW/FW                                             8
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2961 SUPPORT CONTRACT - BACS     NTT ITALIA S.P.A.                           VIA SAN BOVIO 1-                                        TRENTO                20054   IT
         EQUIP - BRONZE LIMITED                                                  3,ITA,SEGRATE,IT,20054
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2962 SUPPORT CONTRACT - BACS     NTT ITALIA S.P.A.                           VIA PANZIERA                                            PRATO                 97100   IT
         EQUIP - BRONZE LIMITED                                                  15,PRATO,IT,597100
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2963 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    PESCHIERA                                               PRATO                 20068   IT
         EQUIP - SILVER SUPPORT - 1ST                                            BORROMEO,VIA MILANO
         YEAR. ADDS TAC SUPPORT,                                                 6/15,MILAN,IT,20068
         SW/FW UPDATES.
  2.2964 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    VIA MILANO,                                             PESCHIERA             20068   IT
         EQUIP - SILVER SUPPORT - 1ST                                            6/15,PESCHIERA                                          BORROMEO
         YEAR. ADDS TAC SUPPORT,                                                 BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                          8
  2.2965 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    VIA MAGNA GRAECIA                                       CAPACCIO SA           84040   IT
         EQUIP - SILVER SUPPORT - 1ST                                            136,CAPACCIO
         YEAR. ADDS TAC SUPPORT,                                                 SCALO,IT,84040
         SW/FW UPDATES.
  2.2966 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    VIA MILANO,                                             MILANO                20068   IT
         EQUIP - SILVER SUPPORT - 1ST                                            6/15,PESCHIERA
         YEAR. ADDS TAC SUPPORT,                                                 BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                          8
  2.2967 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    VIA MILANO,                                             TRENTO                20068   IT
         EQUIP - SILVER SUPPORT - 1ST                                            6/15,PESCHIERA
         YEAR. ADDS TAC SUPPORT,                                                 BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                          8
  2.2968 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    PIAZZA DELLA                                            PIANO DI              80063   IT
         EQUIP - SILVER SUPPORT - 1ST                                            REPUBBLICA 17,PIANO DI                                  SORRENTO
         YEAR. ADDS TAC SUPPORT,                                                 SORRENTO,IT,80063
         SW/FW UPDATES.
  2.2969 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    VIA MAGNA GRAECIA                                       CAPACCIO SA           84040   IT
         EQUIP - SILVER SUPPORT - 1ST                                            136,CAPACCIO
         YEAR. ADDS TAC SUPPORT,                                                 SCALO,IT,84040
         SW/FW UPDATES.
  2.2970 SUPPORT CONTRACT - BACS            NTT ITALIA S.P.A.                    VIA SAN BOVIO 1-                                        TRENTO                20054   IT
         EQUIP - SILVER SUPPORT -                                                3,ITA,SEGRATE,IT,20054
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.2971 SUPPORT CONTRACT - BACS          NTT ITALIA S.P.A.                    VIA PANZIERA                                            PRATO                  97100   IT
         EQUIP - SILVER SUPPORT -                                              15,PRATO,IT,597100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2972 SUPPORT CONTRACT - BACS          NTT ITALIA S.P.A.                    VIA ANTONIO STOPPANI                                    CUNEO                  12100   IT
         EQUIP - SILVER SUPPORT -                                              15,CUNEO,IT,12100
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.2973 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             CUNEO                  20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2974 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             STORO                  20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2975 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             PRIMIERO SAN           20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA                                          MARTINO DI
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006                                  CASTROZZA TN
         SW/FW UPDATES.                                                        8
  2.2976 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             TRENTO (TN)            20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2977 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             CUNEO                  20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2978 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             STORO                  20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2979 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             PIANO DI               20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA                                          SORRENTO
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2980 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             PIANO DI               20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA                                          SORRENTO
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2981 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             TRENTO                 20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2982 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             TRENTO                 20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2983 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA PANZIERA                                            PRATO                  97100   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         15,PRATO,IT,597100
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2984 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA MILANO,                                             BOLOGNA                20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         6/15,PESCHIERA
         1ST YEAR. ADDS TAC SUPPORT,                                           BORROMEO,MILAN,IT,2006
         SW/FW UPDATES.                                                        8
  2.2985 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA PANZIERA                                            PRATO                  97100   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         15,PRATO,IT,597100
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.2986 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                    VIA PANZIERA                                            PRATO                  97100   IT
         EQUIP - BRONZE PLUS SUPPORT -                                         15,PRATO,IT,597100
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.2987 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                         PIAZZA DELLA                                            PIANO DI               80063   IT
         EQUIP - BRONZE PLUS SUPPORT -                                              REPUBBLICA 17,PIANO DI                                  SORRENTO
         1ST YEAR. ADDS TAC SUPPORT,                                                SORRENTO,IT,80063
         SW/FW UPDATES.
  2.2988 SUPPORT CONTRACT - CPE           NTT ITALIA S.P.A.                         VIA SAN BOVIO 1-                                        TRENTO                 20054   IT
         EQUIP - BRONZE PLUS SUPPORT -                                              3,ITA,SEGRATE,IT,20054
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.2989 SUPPORT CONTRACT - CPE        NTT ITALIA S.P.A.                            VIA MILANO,                                             PRIMIERO SAN           20068   IT
         EQUIP - BRONZE PLUS SUPPORT -                                              6/15,PESCHIERA                                          MARTINO DI
         RENEWAL RATE. INCLUDES TAC                                                 BORROMEO,MILAN,IT,2006                                  CASTROZZA TN
         SUPPORT, SW/FW UPDATES.                                                    8

  2.2990 SUPPORT CONTRACT - CPE        NTT ITALIA S.P.A.                            PIAZZA DELLA                                            PIANO DI               80063   IT
         EQUIP - BRONZE PLUS SUPPORT -                                              REPUBBLICA 17,PIANO DI                                  SORRENTO
         RENEWAL RATE. INCLUDES TAC                                                 SORRENTO,IT,80063
         SUPPORT, SW/FW UPDATES.

  2.2991 SUPPORT CONTRACT - BACS       OCTOTEL PTY LTD                              NORTHGATE PARK, CNR                                     MIDRAND                7405    ZA
         EQUIP - SILVER SUPPORT - 1ST                                               OF SECTION STREET AND
         YEAR. ADDS TAC SUPPORT,                                                    PLATINUM DRIVE,CAPE
         SW/FW UPDATES.                                                             TOWN,ZA,7405
  2.2992 SUPPORT CONTRACT - BACS       OCTOTEL PTY LTD                              NORTHGATE PARK, CNR                                     MIDRAND                7405    ZA
         EQUIP - SILVER SUPPORT - 1ST                                               OF SECTION STREET AND
         YEAR. ADDS TAC SUPPORT,                                                    PLATINUM DRIVE,CAPE
         SW/FW UPDATES.                                                             TOWN,ZA,7405
  2.2993 SUPPORT CONTRACT - BACS       OCTOTEL PTY LTD                              420 ALBERT ROAD,SALT                                    MIDRAND                7925    ZA
         EQUIP - SILVER SUPPORT - 1ST                                               RIVER,CAPE
         YEAR. ADDS TAC SUPPORT,                                                    TOWN,ZA,7925
         SW/FW UPDATES.
  2.2994 SUPPORT CONTRACT - BACS       OCTOTEL PTY LTD                              420 ALBERT ROAD,SALT                                    MIDRAND                7925    ZA
         EQUIP - SILVER SUPPORT - 1ST                                               RIVER,CAPE
         YEAR. ADDS TAC SUPPORT,                                                    TOWN,ZA,7925
         SW/FW UPDATES.
  2.2995 SUPPORT CONTRACT - BACS       OCTOTEL PTY LTD                              NORTHGATE PARK, CNR                                     MIDRAND                7405    ZA
         EQUIP - SILVER SUPPORT -                                                   OF SECTION STREET AND
         RENEWAL RATE. INCLUDES TAC                                                 PLATINUM DRIVE,CAPE
         SUPPORT, SW/FW UPDATES, &                                                  TOWN,ZA,7405
         RTF REPAIR.
  2.2996 SUPPORT CONTRACT - BACS       OCTOTEL PTY LTD                              NORTHGATE PARK, CNR                                     MIDRAND                7405    ZA
         EQUIP - SILVER SUPPORT -                                                   OF SECTION STREET AND
         RENEWAL RATE. INCLUDES TAC                                                 PLATINUM DRIVE,CAPE
         SUPPORT, SW/FW UPDATES, &                                                  TOWN,ZA,7405
         RTF REPAIR.
  2.2997 SUPPORT CONTRACT - CPE        OCTOTEL PTY LTD                              NORTHGATE PARK, CNR                                     MIDRAND                7405    ZA
         EQUIP - BRONZE PLUS SUPPORT -                                              OF SECTION STREET AND
          1ST YEAR. ADDS TAC SUPPORT,                                               PLATINUM DRIVE,CAPE
         SW/FW UPDATES.                                                             TOWN,ZA,7405
  2.2998 SUPPORT CONTRACT - BACS       ONE COMMUNICATIONS                           79 BRICKDAM, ST,                                        GEORGETOWN                     GY
         EQUIP - BRONZE LIMITED        (GUYANA) INC. (FORMERLY                      STABROEK,TELEPHONE
         SUPPORT - RENEWAL RATE.       GUYANA & TELEPHONE)                          HOUSE,GEORGETOWN,GY
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.2999 SUPPORT CONTRACT - BACS         ONE COMMUNICATIONS                         79 BRICKDAM, ST,                                        GEORGETOWN                     GY
         EQUIP - SILVER SUPPORT -        (GUYANA) INC. (FORMERLY                    STABROEK,TELEPHONE
         RENEWAL RATE. INCLUDES TAC      GUYANA & TELEPHONE)                        HOUSE,GEORGETOWN,GY
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.3000 SUPPORT CONTRACT - CPE             ONE COMMUNICATIONS                         79 BRICKDAM, ST,                                      GEORGETOWN                   GY
         EQUIP - BRONZE LIMITED             (GUYANA) INC. (FORMERLY                    STABROEK,TELEPHONE
         SUPPORT - RENEWAL RATE.            GUYANA & TELEPHONE)                        HOUSE,GEORGETOWN,GY
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3001 SUPPORT CONTRACT - CPE        ONE COMMUNICATIONS                              79 BRICKDAM, ST,                                      GEORGETOWN                   GY
         EQUIP - SILVER SUPPORT -      (GUYANA) INC. (FORMERLY                         STABROEK,TELEPHONE
         RENEWAL RATE. INCLUDES TAC GUYANA & TELEPHONE)                                HOUSE,GEORGETOWN,GY
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3002 SUPPORT CONTRACT - NMS        ONE COMMUNICATIONS                              79 BRICKDAM, ST,                                      GEORGETOWN                   GY
         EQUIP - BRONZE PLUS SUPPORT - (GUYANA) INC. (FORMERLY                         STABROEK,TELEPHONE
         RENEWAL RATE. INCLUDES TAC GUYANA & TELEPHONE)                                HOUSE,GEORGETOWN,GY
         SUPPORT, SW/FW UPDATES.

  2.3003 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         NETWORK MGMT SW. INCLUDES                                                     MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3004 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         PORT EXTENDERS. INCLUDES                                                      MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3005 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         PORT EXTENDERS. INCLUDES                                                      MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3006 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         PORT EXTENDERS. INCLUDES                                                      MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3007 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         PORT EXTENDERS. INCLUDES                                                      MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3008 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         SWITCHING EQUIP. INCLUDES                                                     MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3009 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         SWITCHING EQUIP. INCLUDES                                                     MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3010 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         SWITCHING EQUIP. INCLUDES                                                     MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600

  2.3011 SUPPORT CONTRACT - 3YRS -   ONLY NETWORKS                                     4B AVENUE DE LA BUTTE                                 ANGLET               64600   FR
         BRONZE PLUS MAINT POLAN                                                       AUS CAILLES,ESCAPCE
         SWITCHING EQUIP. INCLUDES                                                     MAHARIN BAT
         TAC SUPPORT, SW/FW UPDATES.                                                   A,ANGLET,FR,64600




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  2.3012 SUPPORT CONTRACT - 3YRS -        OOREDOO MALDIVES PUBLIC                    H.SUNLEET GADHAGE                                     KAAFU ATOLL                     MV
         BRONZE PLUS MAINT POLAN          LIMITED COMPANY                            MOHAMED FULHU
         NETWORK MGMT SW. INCLUDES                                                   BUILDING,7TH
         TAC SUPPORT, SW/FW UPDATES.                                                 FLOOR,BODHUTHAKURUFA
                                                                                     ANU MAGU, MALE,REG: C-
                                                                                     633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3013 SUPPORT CONTRACT - 3YRS -   OOREDOO MALDIVES PUBLIC                         ISHAAM ALI, G. EVENING                                MALE                  7300183   MV
         BRONZE PLUS MAINT POLAN     LIMITED COMPANY                                 STAR,7B K.MALE MOBILE :
         PORT EXTENDERS. INCLUDES                                                    7300183,MALE,MV
         TAC SUPPORT, SW/FW UPDATES.

  2.3014 SUPPORT CONTRACT - 3YRS -   OOREDOO MALDIVES PUBLIC                         H.SUNLEET GADHAGE                                     KAAFU ATOLL                     MV
         BRONZE PLUS MAINT POLAN     LIMITED COMPANY                                 MOHAMED FULHU
         PORT EXTENDERS. INCLUDES                                                    BUILDING,7TH
         TAC SUPPORT, SW/FW UPDATES.                                                 FLOOR,BODHUTHAKURUFA
                                                                                     ANU MAGU, MALE,REG: C-
                                                                                     633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3015 SUPPORT CONTRACT - 3YRS -   OOREDOO MALDIVES PUBLIC                         ONUGAS MAGU,OOREDOO                                   MALE                  23000     MV
         BRONZE PLUS MAINT POLAN     LIMITED COMPANY                                 MALDIVES WAREHOUSE,
         PORT EXTENDERS. INCLUDES                                                    GROUND FLOOR,PLOT
         TAC SUPPORT, SW/FW UPDATES.                                                 10644, REG: C-
                                                                                     633/04,MALE',HULHUMALE',
                                                                                     MV,23000

  2.3016 SUPPORT CONTRACT - 3YRS -      OOREDOO MALDIVES PUBLIC                      ISHAAM ALI, G. EVENING                                MALE                  7300183   MV
         SILVER MAINT POLAN             LIMITED COMPANY                              STAR,7B K.MALE MOBILE :
         SWITCHING EQUIP. INCLUDES                                                   7300183,MALE,MV
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3017 SUPPORT CONTRACT - 3YRS -      OOREDOO MALDIVES PUBLIC                      H.SUNLEET GADHAGE                                     KAAFU ATOLL                     MV
         SILVER MAINT POLAN             LIMITED COMPANY                              MOHAMED FULHU
         SWITCHING EQUIP. INCLUDES                                                   BUILDING,7TH
         TAC SUPPORT, SW/FW UPDATES,                                                 FLOOR,BODHUTHAKURUFA
         & RTF REPAIR.                                                               ANU MAGU, MALE,REG: C-
                                                                                     633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3018 SUPPORT CONTRACT - BACS      OOREDOO MALDIVES PUBLIC                        H.SUNLEET GADHAGE                                     MALE                            MV
         EQUIP - BRONZE LIMITED       LIMITED COMPANY                                MOHAMED FULHU
         SUPPORT - 1ST YEAR. ADDS TAC                                                BUILDING,7TH
         SUPPORT, SW/FW UPDATES NOT                                                  FLOOR,BODHUTHAKURUFA
         AVAILABLE (FROZEN/OBSOLETE                                                  ANU MAGU, MALE,REG: C-
         SOFTWARE)                                                                   633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3019 SUPPORT CONTRACT - BACS     OOREDOO MALDIVES PUBLIC                         H.SUNLEET GADHAGE                                     MALE                            MV
         EQUIP - BRONZE LIMITED      LIMITED COMPANY                                 MOHAMED FULHU
         SUPPORT - RENEWAL RATE.                                                     BUILDING,7TH
         INCLUDES TAC SUPPORT, SW/FW                                                 FLOOR,BODHUTHAKURUFA
         UPDATES NOT AVAILABLE                                                       ANU MAGU, MALE,REG: C-
         (FROZEN/OBSOLETE SOFTWARE)                                                  633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3020 SUPPORT CONTRACT - BACS        OOREDOO MALDIVES PUBLIC                      ISHAAM ALI, G. EVENING                                MALE                  7300183   MV
         EQUIP - SILVER SUPPORT -       LIMITED COMPANY                              STAR,7B K.MALE MOBILE :
         RENEWAL RATE. INCLUDES TAC                                                  7300183,MALE,MV
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3021 SUPPORT CONTRACT - CPE         OOREDOO MALDIVES PUBLIC                      H.SUNLEET GADHAGE                                     MALE                            MV
         EQUIP - BRONZE LIMITED         LIMITED COMPANY                              MOHAMED FULHU
         SUPPORT - 1ST YEAR. ADDS TAC                                                BUILDING,7TH
         SUPPORT, SW/FW UPDATES NOT                                                  FLOOR,BODHUTHAKURUFA
         AVAILABLE (FROZEN/OBSOLETE                                                  ANU MAGU, MALE,REG: C-
         SOFTWARE).                                                                  633/04,REPUBLIC OF
                                                                                     MALDIVES,MV




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  2.3022 SUPPORT CONTRACT - CPE           OOREDOO MALDIVES PUBLIC                    H.SUNLEET GADHAGE                                     MALE                               MV
         EQUIP - BRONZE LIMITED           LIMITED COMPANY                            MOHAMED FULHU
         SUPPORT - RENEWAL RATE.                                                     BUILDING,7TH
         INCLUDES TAC SUPPORT, SW/FW                                                 FLOOR,BODHUTHAKURUFA
         UPDATES NOT AVAILABLE                                                       ANU MAGU, MALE,REG: C-
         (FROZEN/OBSOLETE SOFTWARE)                                                  633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3023 SUPPORT CONTRACT - CPE        OOREDOO MALDIVES PUBLIC                       ISHAAM ALI, G. EVENING                                MALE                     7300183   MV
         EQUIP - SILVER SUPPORT -      LIMITED COMPANY                               STAR,7B K.MALE MOBILE :
         RENEWAL RATE. INCLUDES TAC                                                  7300183,MALE,MV
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3024 SUPPORT CONTRACT - NMS        OOREDOO MALDIVES PUBLIC                       ISHAAM ALI, G. EVENING                                MALE                     7300183   MV
         EQUIP - BRONZE PLUS SUPPORT - LIMITED COMPANY                               STAR,7B K.MALE MOBILE :
         RENEWAL RATE. INCLUDES TAC                                                  7300183,MALE,MV
         SUPPORT, SW/FW UPDATES.

  2.3025 SUPPORT CONTRACT - NMS       OOREDOO MALDIVES PUBLIC                        H.SUNLEET GADHAGE                                     MALE                               MV
         EQUIP - BRONZE SUPPORT - 1ST LIMITED COMPANY                                MOHAMED FULHU
         YEAR. ADDS TAC SUPPORT,                                                     BUILDING,7TH
         SW/FW UPDATES. BEST EFFORT.                                                 FLOOR,BODHUTHAKURUFA
                                                                                     ANU MAGU, MALE,REG: C-
                                                                                     633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3026 SUPPORT CONTRACT - NMS        OOREDOO MALDIVES PUBLIC                       H.SUNLEET GADHAGE                                     MALE                               MV
         EQUIP - BRONZE SUPPORT -      LIMITED COMPANY                               MOHAMED FULHU
         RENEWAL RATE. INCLUDES TAC                                                  BUILDING,7TH
         SUPPORT, SW/FW UPDATES.                                                     FLOOR,BODHUTHAKURUFA
         BEST EFFORT.                                                                ANU MAGU, MALE,REG: C-
                                                                                     633/04,REPUBLIC OF
                                                                                     MALDIVES,MV
  2.3027 SUPPORT CONTRACT - 3YRS -   OPTIMUS CORPORATION LTD                         49/6 SOI BOONCHUSI,                                   PHAYATHAI                10400     TH
         BRONZE PLUS MAINT POLAN                                                     DINDAENG
         NETWORK MGMT SW. INCLUDES                                                   ROAD,BANGKOK,PHAYATH
         TAC SUPPORT, SW/FW UPDATES.                                                 AI,TH,10400

  2.3028 SUPPORT CONTRACT - 3YRS -   OPTIMUS CORPORATION LTD                         199 RAT-UTHIT 200 PEE                                 KATHU DISTRICT           83150     TH
         BRONZE PLUS MAINT POLAN                                                     ROAD,KATHU
         NETWORK MGMT SW. INCLUDES                                                   DISTRICT,PHUKET,TH,8315
         TAC SUPPORT, SW/FW UPDATES.                                                 0

  2.3029 SUPPORT CONTRACT - 3YRS -   OPTIMUS CORPORATION LTD                         199 RAT-UTHIT 200 PEE                                 KATHU DISTRICT           83150     TH
         BRONZE PLUS MAINT POLAN                                                     ROAD,KATHU
         NETWORK MGMT SW. INCLUDES                                                   DISTRICT,PHUKET,TH,8315
         TAC SUPPORT, SW/FW UPDATES.                                                 0

  2.3030 SUPPORT CONTRACT - 3YRS -   OPTIMUS CORPORATION LTD                         49/6 SOI BOONCHUSI,                                   PHAYATHAI                10400     TH
         BRONZE PLUS MAINT POLAN                                                     DINDAENG
         PORT EXTENDERS. INCLUDES                                                    ROAD,BANGKOK,PHAYATH
         TAC SUPPORT, SW/FW UPDATES.                                                 AI,TH,10400

  2.3031 SUPPORT CONTRACT - 3YRS -   OPTIMUS CORPORATION LTD                         199 RAT-UTHIT 200 PEE                                 KATHU DISTRICT           83150     TH
         BRONZE PLUS MAINT POLAN                                                     ROAD,KATHU
         PORT EXTENDERS. INCLUDES                                                    DISTRICT,PHUKET,TH,8315
         TAC SUPPORT, SW/FW UPDATES.                                                 0

  2.3032 SUPPORT CONTRACT - 3YRS -     OPTIMUS CORPORATION LTD                       199 RAT-UTHIT 200 PEE                                 KATHU DISTRICT           83150     TH
         SILVER MAINT POLAN PORT                                                     ROAD,KATHU
         EXTENDERS. INCLUDES TAC                                                     DISTRICT,PHUKET,TH,8315
         SUPPORT, SW/FW UPDATES, &                                                   0
         RTF REPAIR.
  2.3033 SUPPORT CONTRACT - 3YRS -     OPTIMUS CORPORATION LTD                       199 RAT-UTHIT 200 PEE                                 KATHU DISTRICT           83150     TH
         SILVER MAINT POLAN PORT                                                     ROAD,KATHU
         EXTENDERS. INCLUDES TAC                                                     DISTRICT,PHUKET,TH,8315
         SUPPORT, SW/FW UPDATES, &                                                   0
         RTF REPAIR.




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  2.3034 SUPPORT CONTRACT - 3YRS -          OPTIMUS CORPORATION LTD                        49/6 SOI BOONCHUSI,                                   PHAYATHAI                10400   TH
         SILVER MAINT POLAN                                                                DINDAENG
         SWITCHING EQUIP. INCLUDES                                                         ROAD,BANGKOK,PHAYATH
         TAC SUPPORT, SW/FW UPDATES,                                                       AI,TH,10400
         & RTF REPAIR.
  2.3035 SUPPORT CONTRACT - 3YRS -          OPTIMUS CORPORATION LTD                        199 RAT-UTHIT 200 PEE                                 KATHU DISTRICT           83150   TH
         SILVER MAINT POLAN                                                                ROAD,KATHU
         SWITCHING EQUIP. INCLUDES                                                         DISTRICT,PHUKET,TH,8315
         TAC SUPPORT, SW/FW UPDATES,                                                       0
         & RTF REPAIR.
  2.3036 SUPPORT CONTRACT - 3YRS -          OPTIMUS CORPORATION LTD                        199 RAT-UTHIT 200 PEE                                 KATHU DISTRICT           83150   TH
         SILVER MAINT POLAN                                                                ROAD,KATHU
         SWITCHING EQUIP. INCLUDES                                                         DISTRICT,PHUKET,TH,8315
         TAC SUPPORT, SW/FW UPDATES,                                                       0
         & RTF REPAIR.
  2.3037 SUPPORT CONTRACT - 3YRS -          OPTRONICS TECHNOLOGIES S.A.                    THESSALONIKIS 79-                                     ATHENS                   18346   GR
         BRONZE PLUS MAINT POLAN                                                           81,MOSCHATO,GR,18346
         NETWORK MGMT SW. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3038 SUPPORT CONTRACT - 3YRS -   OPTRONICS TECHNOLOGIES S.A.                           79-81 THESSALONIKIS                                   ATHENS                   18346   GR
         BRONZE PLUS MAINT POLAN                                                           STR,MOSCHATO,ATHENS,
         NETWORK MGMT SW. INCLUDES                                                         GR,18346
         TAC SUPPORT, SW/FW UPDATES.

  2.3039 SUPPORT CONTRACT - 3YRS -   OPTRONICS TECHNOLOGIES S.A.                           THESSALONIKIS 79-                                     ATHENS                   18346   GR
         BRONZE PLUS MAINT POLAN                                                           81,MOSCHATO,GR,18346
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3040 SUPPORT CONTRACT - 3YRS -   OPTRONICS TECHNOLOGIES S.A.                           LASSI,KEFALONIA,GR                                    KEFALONIA                        GR
         BRONZE PLUS MAINT POLAN
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3041 SUPPORT CONTRACT - 3YRS -   OPTRONICS TECHNOLOGIES S.A.                           79-81 THESSALONIKIS                                   ATHENS                   18346   GR
         BRONZE PLUS MAINT POLAN                                                           STR,MOSCHATO,ATHENS,
         PORT EXTENDERS. INCLUDES                                                          GR,18346
         TAC SUPPORT, SW/FW UPDATES.

  2.3042 SUPPORT CONTRACT - 3YRS -          OPTRONICS TECHNOLOGIES S.A.                    THESSALONIKIS 79-                                     ATHENS                   18346   GR
         SILVER MAINT POLAN                                                                81,MOSCHATO,GR,18346
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3043 SUPPORT CONTRACT - 3YRS -          OPTRONICS TECHNOLOGIES S.A.                    LASSI,KEFALONIA,GR                                    KEFALONIA                        GR
         SILVER MAINT POLAN
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3044 SUPPORT CONTRACT - 3YRS -          OPTRONICS TECHNOLOGIES S.A.                    79-81 THESSALONIKIS                                   ATHENS                   18346   GR
         SILVER MAINT POLAN                                                                STR,MOSCHATO,ATHENS,
         SWITCHING EQUIP. INCLUDES                                                         GR,18346
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3045 SUPPORT CONTRACT - 3YRS -          OPTRONICS TECHNOLOGIES S.A.                    79-81 THESSALONIKIS                                   ATHENS                   18346   GR
         SILVER MAINT POLAN                                                                STR,MOSCHATO,ATHENS,
         SWITCHING EQUIP. INCLUDES                                                         GR,18346
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3046 SUPPORT CONTRACT - BACS            ORANGE ONE                                     BUILDING B126-B,SMART                                 CAIRO                            EG
         EQUIP - BRONZE LIMITED                                                            VILLAGE, KILO 29
         SUPPORT - 1ST YEAR. ADDS TAC                                                      CAIRO,ALEXANDRA
         SUPPORT, SW/FW UPDATES NOT                                                        ROAD,GIZA,EG
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE)




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  2.3047 SUPPORT CONTRACT - BACS          ORANGE ONE                                   BUILDING B126-B,SMART                                 CAIRO                            EG
         EQUIP - SILVER SUPPORT - 1ST                                                  VILLAGE, KILO 29
         YEAR. ADDS TAC SUPPORT,                                                       CAIRO,ALEXANDRA
         SW/FW UPDATES.                                                                ROAD,GIZA,EG
  2.3048 SUPPORT CONTRACT - CPE           ORANGE ONE                                   BUILDING B126-B,SMART                                 CAIRO                            EG
         EQUIP - BRONZE PLUS SUPPORT -                                                 VILLAGE, KILO 29
          1ST YEAR. ADDS TAC SUPPORT,                                                  CAIRO,ALEXANDRA
         SW/FW UPDATES.                                                                ROAD,GIZA,EG
  2.3049 SUPPORT CONTRACT - BACS          PARAGOULD LIGHT WATER AND                    1901 JONES                                            PARAGOULD        AR      72450
         EQUIP - BRONZE LIMITED           CABLE                                        RD,PARAGOULD,AR,US,724
         SUPPORT - RENEWAL RATE.                                                       50
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3050 SUPPORT CONTRACT - BACS       PARAGOULD LIGHT WATER AND                       1901 JONES                                            PARAGOULD        AR      72450
         EQUIP - BRONZE PLUS SUPPORT - CABLE                                           RD,PARAGOULD,AR,US,724
         RENEWAL RATE. INCLUDES TAC                                                    50
         SUPPORT, SW/FW UPDATES.

  2.3051 SUPPORT CONTRACT - CPE      PARAGOULD LIGHT WATER AND                         1901 JONES                                            PARAGOULD        AR      72450
         EQUIP - BRONZE LIMITED      CABLE                                             RD,PARAGOULD,AR,US,724
         SUPPORT - RENEWAL RATE.                                                       50
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3052 SUPPORT CONTRACT - CPE        PARAGOULD LIGHT WATER AND                       1901 JONES                                            PARAGOULD        AR      72450
         EQUIP - BRONZE PLUS SUPPORT - CABLE                                           RD,PARAGOULD,AR,US,724
         RENEWAL RATE. INCLUDES TAC                                                    50
         SUPPORT, SW/FW UPDATES.

  2.3053 SUPPORT CONTRACT - NMS        PARAGOULD LIGHT WATER AND                       1901 JONES                                            PARAGOULD        AR      72450
         EQUIP - BRONZE PLUS SUPPORT - CABLE                                           RD,PARAGOULD,AR,US,724
         RENEWAL RATE. INCLUDES TAC                                                    50
         SUPPORT, SW/FW UPDATES.

  2.3054 SUPPORT CONTRACT - 1YR -      PASTELS INC.                                    515, COMFOODS                                         LAPU-LAPU CITY           1227    PH
         BRONZE PLUS MAINT POLAN                                                       BUILDING, SEN. GIL
         NETWORK MGMT SW. INCLUDES                                                     J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                                    MAKATI,METRO
                                                                                       MANILA,PH,1227
  2.3055 SUPPORT CONTRACT - 1YR -      PASTELS INC.                                    515, COMFOODS                                         LAPU-LAPU CITY           1227    PH
         SILVER MAINT POLAN PORT                                                       BUILDING, SEN. GIL
         EXTENDERS. INCLUDES TAC                                                       J,PUYAT AVE,
         SUPPORT, SW/FW UPDATES &                                                      MAKATI,METRO
         RTF REPAIR                                                                    MANILA,PH,1227
  2.3056 SUPPORT CONTRACT - 1YR -      PASTELS INC.                                    515, COMFOODS                                         LAPU-LAPU CITY           1227    PH
         SILVER MAINT POLAN                                                            BUILDING, SEN. GIL
         SWITCHING EQUIP. INCLUDES                                                     J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                                    MAKATI,METRO
         & RTF REPAIR                                                                  MANILA,PH,1227
  2.3057 SUPPORT CONTRACT - 1YR -      PASTELS INC.                                    515, COMFOODS                                         LAPU-LAPU CITY           1227    PH
         SILVER MAINT POLAN                                                            BUILDING, SEN. GIL
         SWITCHING EQUIP. INCLUDES                                                     J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                                    MAKATI,METRO
         & RTF REPAIR                                                                  MANILA,PH,1227
  2.3058 SUPPORT CONTRACT - 1YR -      PASTELS INC.                                    515, COMFOODS                                         LAPU-LAPU CITY           1227    PH
         SILVER MAINT POLAN                                                            BUILDING, SEN. GIL
         SWITCHING EQUIP. INCLUDES                                                     J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                                    MAKATI,METRO
         & RTF REPAIR                                                                  MANILA,PH,1227




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  2.3059 SUPPORT CONTRACT - 1YR -         PASTELS INC.                         515, COMFOODS                                          LAPU-LAPU CITY         1227   PH
         SILVER MAINT POLAN                                                    BUILDING, SEN. GIL
         SWITCHING EQUIP. INCLUDES                                             J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                            MAKATI,METRO
         & RTF REPAIR                                                          MANILA,PH,1227
  2.3060 SUPPORT CONTRACT - 1YR -         PASTELS INC.                         515, COMFOODS                                          LAPU-LAPU CITY         1227   PH
         SILVER MAINT POLAN                                                    BUILDING, SEN. GIL
         SWITCHING EQUIP. INCLUDES                                             J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                            MAKATI,METRO
         & RTF REPAIR                                                          MANILA,PH,1227
  2.3061 SUPPORT CONTRACT - 1YR -         PASTELS INC.                         515, COMFOODS                                          LAPU-LAPU CITY         1227   PH
         SILVER MAINT POLAN                                                    BUILDING, SEN. GIL
         SWITCHING EQUIP. INCLUDES                                             J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                            MAKATI,METRO
         & RTF REPAIR                                                          MANILA,PH,1227
  2.3062 SUPPORT CONTRACT - 1YR -         PASTELS INC.                         515, COMFOODS                                          LAPU-LAPU CITY         1227   PH
         SILVER MAINT POLAN                                                    BUILDING, SEN. GIL
         SWITCHING EQUIP. INCLUDES                                             J,PUYAT AVE,
         TAC SUPPORT, SW/FW UPDATES                                            MAKATI,METRO
         & RTF REPAIR                                                          MANILA,PH,1227
  2.3063 SUPPORT CONTRACT - BACS          PASTELS INC.                         515, COMFOODS                                          MAKATI CITY            1227   PH
         EQUIP - BRONZE PLUS SUPPORT -                                         BUILDING, SEN. GIL
         RENEWAL RATE. INCLUDES TAC                                            J,PUYAT AVE,
         SUPPORT, SW/FW UPDATES.                                               MAKATI,METRO
                                                                               MANILA,PH,1227
  2.3064 SUPPORT CONTRACT - BACS       PASTELS INC.                            UNIT 1A LANANG                                         DAVAO CITY             8000   PH
         EQUIP - BRONZE PLUS SUPPORT -                                         BUSINESS PARK,239 JP
         RENEWAL RATE. INCLUDES TAC                                            LAUREL AVE,DAVAO
         SUPPORT, SW/FW UPDATES.                                               CITY,PH,8000

  2.3065 SUPPORT CONTRACT - BACS      PASTELS INC.                             PHILIPPINE ARMY,FORT                                   TAGUIG CITY            1634   PH
         EQUIP - SILVER SUPPORT - 1ST                                          ANDRES
         YEAR. ADDS TAC SUPPORT,                                               BONIFACIO,TAGUIG
         SW/FW UPDATES.                                                        CITY,PH,1634
  2.3066 SUPPORT CONTRACT - CPE       PASTELS INC.                             515, COMFOODS                                          MAKATI CITY            1227   PH
         EQUIP - BRONZE LIMITED                                                BUILDING, SEN. GIL
         SUPPORT - RENEWAL RATE.                                               J,PUYAT AVE,
         INCLUDES TAC SUPPORT, SW/FW                                           MAKATI,METRO
         UPDATES NOT AVAILABLE                                                 MANILA,PH,1227
         (FROZEN/OBSOLETE SOFTWARE)

  2.3067 SUPPORT CONTRACT - CPE      PASTELS INC.                              UNIT 1A LANANG                                         DAVAO CITY             8000   PH
         EQUIP - BRONZE LIMITED                                                BUSINESS PARK,239 JP
         SUPPORT - RENEWAL RATE.                                               LAUREL AVE,DAVAO
         INCLUDES TAC SUPPORT, SW/FW                                           CITY,PH,8000
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3068 SUPPORT CONTRACT - CPE        PASTELS INC.                            UNIT 1A LANANG                                         DAVAO CITY             8000   PH
         EQUIP - BRONZE PLUS SUPPORT -                                         BUSINESS PARK,239 JP
         RENEWAL RATE. INCLUDES TAC                                            LAUREL AVE,DAVAO
         SUPPORT, SW/FW UPDATES.                                               CITY,PH,8000

  2.3069 SUPPORT CONTRACT - CPE        PASTELS INC.                            PHILIPPINE ARMY,FORT                                   TAGUIG CITY            1634   PH
         EQUIP - SILVER SUPPORT - 1ST                                          ANDRES
         YEAR. ADDS TAC SUPPORT,                                               BONIFACIO,TAGUIG
         SW/FW UPDATES.                                                        CITY,PH,1634
  2.3070 SUPPORT CONTRACT - NMS        PASTELS INC.                            PHILIPPINE ARMY,FORT                                   TAGUIG CITY            1634   PH
         EQUIP - BRONZE PLUS SUPPORT -                                         ANDRES
         1ST YEAR. ADDS TAC SUPPORT,                                           BONIFACIO,TAGUIG
         SW/FW UPDATES.                                                        CITY,PH,1634
  2.3071 SUPPORT CONTRACT - NMS        PASTELS INC.                            UNIT 1A LANANG                                         DAVAO CITY             8000   PH
         EQUIP - BRONZE PLUS SUPPORT -                                         BUSINESS PARK,239 JP
         RENEWAL RATE. INCLUDES TAC                                            LAUREL AVE,DAVAO
         SUPPORT, SW/FW UPDATES.                                               CITY,PH,8000




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  2.3072 SUPPORT CONTRACT - BACS          PEND OREILLE PUBLIC UTILITIES                    130 NORTH                                              NEWPORT   WA      99156
         EQUIP - BRONZE PLUS SUPPORT - DISTRICT                                            WASHINGTON,NEWPORT,
         RENEWAL RATE. INCLUDES TAC                                                        WA,US,99156
         SUPPORT, SW/FW UPDATES.

  2.3073 SUPPORT CONTRACT - CPE        PEND OREILLE PUBLIC UTILITIES                       130 NORTH                                              NEWPORT   WA      99156
         EQUIP - BRONZE PLUS SUPPORT - DISTRICT                                            WASHINGTON,NEWPORT,
         RENEWAL RATE. INCLUDES TAC                                                        WA,US,99156
         SUPPORT, SW/FW UPDATES.

  2.3074 SUPPORT CONTRACT - NMS        PEND OREILLE PUBLIC UTILITIES                       130 NORTH                                              NEWPORT   WA      99156
         EQUIP - BRONZE PLUS SUPPORT - DISTRICT                                            WASHINGTON,NEWPORT,
         RENEWAL RATE. INCLUDES TAC                                                        WA,US,99156
         SUPPORT, SW/FW UPDATES.

  2.3075 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         BRONZE PLUS MAINT POLAN         (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         NETWORK MGMT SW. INCLUDES                                                         YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
  2.3076 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         BRONZE PLUS MAINT POLAN         (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         PORT EXTENDERS. INCLUDES                                                          YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
  2.3077 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         BRONZE PLUS MAINT POLAN         (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         PORT EXTENDERS. INCLUDES                                                          YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
  2.3078 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         BRONZE PLUS MAINT POLAN         (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         PORT EXTENDERS. INCLUDES                                                          YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
  2.3079 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         BRONZE PLUS MAINT POLAN         (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         PORT EXTENDERS. INCLUDES                                                          YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
  2.3080 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         SILVER MAINT POLAN              (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         SWITCHING EQUIP. INCLUDES                                                         YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
         & RTF REPAIR
  2.3081 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         SILVER MAINT POLAN              (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         SWITCHING EQUIP. INCLUDES                                                         YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
         & RTF REPAIR
  2.3082 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         SILVER MAINT POLAN              (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         SWITCHING EQUIP. INCLUDES                                                         YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
         & RTF REPAIR
  2.3083 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         SILVER MAINT POLAN              (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         SWITCHING EQUIP. INCLUDES                                                         YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
         & RTF REPAIR
  2.3084 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         SILVER MAINT POLAN              (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         SWITCHING EQUIP. INCLUDES                                                         YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
         & RTF REPAIR
  2.3085 SUPPORT CONTRACT - 1YR -        PINNACLE DISTRIBUTION LANKA                       07 SULEIMAN                                            COLOMBO           00500   MV
         SILVER MAINT POLAN              (PVT) LTD                                         TERRACE,THIMBIRIGASYA
         SWITCHING EQUIP. INCLUDES                                                         YA,COLOMBO,LK,00500
         TAC SUPPORT, SW/FW UPDATES
         & RTF REPAIR




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  2.3086 SUPPORT CONTRACT - ANYHAUL PLANTERS BROADBAND                              126 OLIVER                                            NEWINGTON     GA      30446
         EQUIP - SILVER SUPPORT - 1ST     COOPERATIVE                               HWY,NEWINGTON,GA,US,3
         YEAR, ADDS TAC SUPPORT,                                                    0446
         SW/FW UPDATES
  2.3087 SUPPORT CONTRACT - ANYHAUL PLANTERS BROADBAND                              126 OLIVER                                            NEWINGTON     GA      30446
         EQUIP - SILVER SUPPORT -         COOPERATIVE                               HWY,NEWINGTON,GA,US,3
         RENEWAL RATE, INCLUDES TAC                                                 0446
         SUPPORT, SW/FW UPDATES &
         RTF REPAIR
  2.3088 SUPPORT CONTRACT - BACS          POINT BROADBAND LLC                       507 WALKER                                            WEST POINT    AL      36801
         EQUIP - SILVER SUPPORT - 1ST                                               ST,AUBURN,AL,US,36801
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3089 SUPPORT CONTRACT - CPE           POINT BROADBAND LLC                       507 WALKER                                            WEST POINT    AL      36801
         EQUIP - BRONZE PLUS SUPPORT -                                              ST,AUBURN,AL,US,36801
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3090 SUPPORT CONTRACT - BACS          PON COMUNICACIONES SAS                    18 CRA 11C#80-20,                                     BOGOTÁ                111011   CO
         EQUIP - SILVER SUPPORT - 1ST                                               CASA,BOGOTÁ,CO,111011
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3091 SUPPORT CONTRACT - BACS          PON COMUNICACIONES SAS                    18 CRA 11C#80-20,                                     BOGOTÁ                111011   CO
         EQUIP - SILVER SUPPORT -                                                   CASA,BOGOTÁ,CO,111011
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3092 SUPPORT CONTRACT - CPE           PON COMUNICACIONES SAS                    18 CRA 11C#80-20,                                     BOGOTÁ                111011   CO
         EQUIP - BRONZE PLUS SUPPORT -                                              CASA,BOGOTÁ,CO,111011
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3093 SUPPORT CONTRACT - CPE           PON COMUNICACIONES SAS                    18 CRA 11C#80-20,                                     BOGOTÁ                111011   CO
         EQUIP - BRONZE PLUS SUPPORT -                                              CASA,BOGOTÁ,CO,111011
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3094 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                       ALFREDO B. NOBEL NO. 3                                LEON GTO              54090    MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                       INT. B-9,COL. PUENTE DE
         NETWORK MGMT SW. INCLUDES                                                  VIGAS,TLALNEPANTLA
         TAC SUPPORT, SW/FW UPDATES.                                                EDO. DE
                                                                                    MEXICO,MEXICO,MX,54090

  2.3095 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                       C/O PEDRAZA                                           NUEVO                 78045    MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                       FOWARDING INC.,8810                                   VALLARTA
         PORT EXTENDERS. INCLUDES                                                   KILLAM
         TAC SUPPORT, SW/FW UPDATES.                                                BLVD,LAREDO,TX,US,78045

  2.3096 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                       ALFREDO B. NOBEL NO. 3                                MEXICO D.F.           54060    MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                       INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                   VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                BAZ,,MEXICO D.F.,MX,54060

  2.3097 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                       ALFREDO B. NOBEL NO. 3                                GUADALAJARA           54060    MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                       INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                   VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                BAZ,,MEXICO D.F.,MX,54060

  2.3098 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                       ALFREDO B. NOBEL NO. 3                                MEXICO D.F.           54060    MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                       INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                   VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                BAZ,,MEXICO D.F.,MX,54060




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  2.3099 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    POWER &                                                 SAN MIGUEL            54060   MX
         BRONZE PLUS MAINT POLAN          SA DE CV                                    TELEPHONE,ALFREDO B.                                    DEL ALLENDE
         PORT EXTENDERS. INCLUDES                                                     NOBEL NO. 3 B
         TAC SUPPORT, SW/FW UPDATES.                                                  9,TLALNEPANTLA DE
                                                                                      BAZ,TLALNEPANTLA DE
                                                                                      BAZ,ESTADO DE
                                                                                      MEXICO,MX,54060
  2.3100 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         POWER &                                                 LEÓN                  54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         TELEPHONE,ALFREDO B.
         PORT EXTENDERS. INCLUDES                                                     NOBEL NO. 3 B
         TAC SUPPORT, SW/FW UPDATES.                                                  9,TLALNEPANTLA DE
                                                                                      BAZ,TLALNEPANTLA DE
                                                                                      BAZ,ESTADO DE
                                                                                      MEXICO,MX,54060
  2.3101 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         TLALNEPANTLA DE                                         MONTERREY             54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         BAZ,ALFREDO B. NOBEL
         PORT EXTENDERS. INCLUDES                                                     NO. 3 B 9,TLALNEPANTLA
         TAC SUPPORT, SW/FW UPDATES.                                                  DE BAZ,MEX,MX,54060

  2.3102 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         TLALNEPANTLA DE                                         MONTERREY             54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         BAZ,ALFREDO B. NOBEL
         PORT EXTENDERS. INCLUDES                                                     NO. 3 B 9,TLALNEPANTLA
         TAC SUPPORT, SW/FW UPDATES.                                                  DE BAZ,MEX,MX,54060

  2.3103 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.           54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3104 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  MONTERREY             54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3105 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.           54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3106 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.           54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3107 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.           54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3108 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         CALLE 77 BATALLON DE                                    VICTORIA              87014   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INFANTERIA 2573,GRAL
         PORT EXTENDERS. INCLUDES                                                     LUCIO BLANCO,CIUDAD
         TAC SUPPORT, SW/FW UPDATES.                                                  VICTORIA,TM,MX,87014

  2.3109 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         CALLE 77 BATALLON DE                                    VICTORIA              87014   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INFANTERIA 2573,GRAL
         PORT EXTENDERS. INCLUDES                                                     LUCIO BLANCO,CIUDAD
         TAC SUPPORT, SW/FW UPDATES.                                                  VICTORIA,TM,MX,87014

  2.3110 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         BLVRD. NAZARIO ORTIZ                                    SALTILLO              25253   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         GARZA
         PORT EXTENDERS. INCLUDES                                                     2060,SALTILLO,COAHUILA,
         TAC SUPPORT, SW/FW UPDATES.                                                  MX,25253




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  2.3111 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    CARRETERA FEDERAL                                     SOLIDARIDAD           77710   MX
         BRONZE PLUS MAINT POLAN          SA DE CV                                    CANCUN TULUM KM
         PORT EXTENDERS. INCLUDES                                                     51,SOLIDARIDAD,QUINTAN
         TAC SUPPORT, SW/FW UPDATES.                                                  A ROO,MX,77710

  2.3112 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3113 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3114 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3115 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3116 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3117 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3118 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3119 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3120 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3121 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         CARRETERA FEDERAL                                     SOLIDARIDAD           77710   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CANCUN TULUM KM
         PORT EXTENDERS. INCLUDES                                                     51,SOLIDARIDAD,QUINTAN
         TAC SUPPORT, SW/FW UPDATES.                                                  A ROO,MX,77710

  2.3122 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                MEXICO D.F.           54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3123 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                 MEXICO CITY           11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.




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  2.3124 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                   MEXICO CITY            11500   MX
         BRONZE PLUS MAINT POLAN          SA DE CV                                    CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3125 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.            54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3126 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                   MEXICO CITY            11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3127 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         SOLIS DAM N.19,MEXICO                                   MEXICO CITY            11500   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         CITY,MX,11500
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3128 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  CABO SAN               54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE                                 LUCAS
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3129 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         C/O PEDRAZA                                             CABO SAN               78045   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         FOWARDING INC.,8810                                     LUCAS
         PORT EXTENDERS. INCLUDES                                                     KILLAM
         TAC SUPPORT, SW/FW UPDATES.                                                  BLVD,LAREDO,TX,US,78045

  2.3130 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         C/O PEDRAZA                                             CABO SAN               78045   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         FOWARDING INC.,8810                                     LUCAS
         PORT EXTENDERS. INCLUDES                                                     KILLAM
         TAC SUPPORT, SW/FW UPDATES.                                                  BLVD,LAREDO,TX,US,78045

  2.3131 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         C/O PEDRAZA                                             CABO SAN               78045   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         FOWARDING INC.,8810                                     LUCAS
         PORT EXTENDERS. INCLUDES                                                     KILLAM
         TAC SUPPORT, SW/FW UPDATES.                                                  BLVD,LAREDO,TX,US,78045

  2.3132 SUPPORT CONTRACT - 3YRS -   POWER & TELEPHONE SUPPLY                         ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.            54060   MX
         BRONZE PLUS MAINT POLAN     SA DE CV                                         INT. B-9,COL. PUENTE DE
         PORT EXTENDERS. INCLUDES                                                     VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES.                                                  BAZ,,MEXICO D.F.,MX,54060

  2.3133 SUPPORT CONTRACT - 3YRS -     POWER & TELEPHONE SUPPLY                       ALFREDO B. NOBEL NO. 3                                  SAN JUAN DEL           54060   MX
         SILVER MAINT POLAN            SA DE CV                                       INT. B-9,COL. PUENTE DE                                 RIO
         SWITCHING EQUIP. INCLUDES                                                    VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES,                                                  BAZ,,MEXICO D.F.,MX,54060
         & RTF REPAIR.
  2.3134 SUPPORT CONTRACT - 3YRS -     POWER & TELEPHONE SUPPLY                       ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.            54060   MX
         SILVER MAINT POLAN            SA DE CV                                       INT. B-9,COL. PUENTE DE
         SWITCHING EQUIP. INCLUDES                                                    VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES,                                                  BAZ,,MEXICO D.F.,MX,54060
         & RTF REPAIR.
  2.3135 SUPPORT CONTRACT - 3YRS -     POWER & TELEPHONE SUPPLY                       ALFREDO B. NOBEL NO. 3                                  MEXICO D.F.            54060   MX
         SILVER MAINT POLAN            SA DE CV                                       INT. B-9,COL. PUENTE DE
         SWITCHING EQUIP. INCLUDES                                                    VIGAS, TLALNEPANTLA DE
         TAC SUPPORT, SW/FW UPDATES,                                                  BAZ,,MEXICO D.F.,MX,54060
         & RTF REPAIR.
  2.3136 SUPPORT CONTRACT - 3YRS -     POWER & TELEPHONE SUPPLY                       TLALNEPANTLA DE                                         MONTERREY              54060   MX
         SILVER MAINT POLAN            SA DE CV                                       BAZ,ALFREDO B. NOBEL
         SWITCHING EQUIP. INCLUDES                                                    NO. 3 B 9,TLALNEPANTLA
         TAC SUPPORT, SW/FW UPDATES,                                                  DE BAZ,MEX,MX,54060
         & RTF REPAIR.




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  2.3137 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3138 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3139 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3140 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3141 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3142 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3143 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3144 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3145 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3146 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3147 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SOLIS DAM N.19,MEXICO                                  MEXICO CITY           11500   MX
         SILVER MAINT POLAN               SA DE CV                                    CITY,MX,11500
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3148 SUPPORT CONTRACT - 3YRS -        POWER & TELEPHONE SUPPLY                    SANTA MARGARITA NO                                     JUAREZ                03100   MX
         SILVER MAINT POLAN               SA DE CV                                    210,COL INSURGENTES
         SWITCHING EQUIP. INCLUDES                                                    SAN
         TAC SUPPORT, SW/FW UPDATES,                                                  BORIA,JUAREZ,MEXICO
         & RTF REPAIR.                                                                CITY,MX,03100
  2.3149 SUPPORT CONTRACT - BACS          POWER & TELEPHONE SUPPLY                    CARRETERA FEDERAL                                      SOLIDARIDAD           77710   MX
         EQUIP - BRONZE PLUS SUPPORT - SA DE CV                                       CANCUN TULUM KM
         RENEWAL RATE. INCLUDES TAC                                                   51,SOLIDARIDAD,QUINTAN
         SUPPORT, SW/FW UPDATES.                                                      A ROO,MX,77710




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  2.3150 SUPPORT CONTRACT - CPE           POWER & TELEPHONE SUPPLY                     CARRETERA FEDERAL                                     SOLIDARIDAD            77710   MX
         EQUIP - BRONZE PLUS SUPPORT - SA DE CV                                        CANCUN TULUM KM
         RENEWAL RATE. INCLUDES TAC                                                    51,SOLIDARIDAD,QUINTAN
         SUPPORT, SW/FW UPDATES.                                                       A ROO,MX,77710

  2.3151 SUPPORT CONTRACT - ANYHAUL PRIME MERIDIAN                                     BATELCO                                               FREEPORT      NASSAU           BS
         EQUIP - BRONZE LIMITED                                                        NASSAU,PERPALL TRACT
         SUPPORT - RENEWAL RATE.                                                       STORES,PO BOX N
         INCLUDES TAC SUPPORT, SW/FW                                                   3048,NASSAU,BS
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3152 SUPPORT CONTRACT - ANYHAUL PRIME MERIDIAN                                     BATELCO                                               FREEPORT      NASSAU           BS
         EQUIP - BRONZE PLUS SUPPORT -                                                 NASSAU,PERPALL TRACT
          RENEWAL RATE, INCLUDES TAC                                                   STORES,PO BOX N
         SUPPORT, SW/FW UPDATES                                                        3048,NASSAU,BS
  2.3153 SUPPORT CONTRACT - BACS       PRIME MERIDIAN                                  BATELCO                                               FREEPORT      NASSAU           BS
         EQUIP - BRONZE LIMITED                                                        NASSAU,PERPALL TRACT
         SUPPORT - RENEWAL RATE.                                                       STORES,PO BOX N
         INCLUDES TAC SUPPORT, SW/FW                                                   3048,NASSAU,BS
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3154 SUPPORT CONTRACT - ANYHAUL PRODUCT SOURCE                                     330 FRANKLIN                                          PORTLAND      NJ       07430
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                     TPKE,MAHWAH,NJ,US,0743
          1ST YEAR, ADDS TAC SUPPORT,                                                  0
         SW/FW UPDATES
  2.3155 SUPPORT CONTRACT - BACS       PRODUCT SOURCE                                  330 FRANKLIN                                          WRIGHTWOOD    NJ       07430
         EQUIP - BRONZE LIMITED        INTERNATIONAL DATACOMM, LLC                     TPKE,MAHWAH,NJ,US,0743
         SUPPORT - RENEWAL RATE.                                                       0
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3156 SUPPORT CONTRACT - BACS     PRODUCT SOURCE                                    330 FRANKLIN                                          WRIGHTWOOD    NJ       07430
         EQUIP - BRONZE LIMITED      INTERNATIONAL DATACOMM, LLC                       TPKE,MAHWAH,NJ,US,0743
         SUPPORT - RENEWAL RATE.                                                       0
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3157 SUPPORT CONTRACT - BACS       PRODUCT SOURCE                                  215 S MAIN                                            LACROSSE      WA       99143
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                     ST,LACROSSE,WA,US,9914
         RENEWAL RATE. INCLUDES TAC                                                    3
         SUPPORT, SW/FW UPDATES.

  2.3158 SUPPORT CONTRACT - BACS        PRODUCT SOURCE                                 330 FRANKLIN                                          MAHWAH        NJ       07430
         EQUIP - SILVER SUPPORT - 1ST   INTERNATIONAL DATACOMM, LLC                    TPKE,MAHWAH,NJ,US,0743
         YEAR. ADDS TAC SUPPORT,                                                       0
         SW/FW UPDATES.
  2.3159 SUPPORT CONTRACT - BACS        PRODUCT SOURCE                                 PRODUCT SOURCE                                        WALLA WALLA   NJ       07430
         EQUIP - SILVER SUPPORT - 1ST   INTERNATIONAL DATACOMM, LLC                    INTERNATIONAL
         YEAR. ADDS TAC SUPPORT,                                                       DATACOMM, LLC ,330
         SW/FW UPDATES.                                                                FRANKLIN
                                                                                       TPKE.,MAHWAH,NJ,US,074
                                                                                       30
  2.3160 SUPPORT CONTRACT - BACS        PRODUCT SOURCE                                 330 FRANKLIN                                          MAHWAH        NJ       07430
         EQUIP - SILVER SUPPORT - 1ST   INTERNATIONAL DATACOMM, LLC                    TPKE,MAHWAH,NJ,US,0743
         YEAR. ADDS TAC SUPPORT,                                                       0
         SW/FW UPDATES.
  2.3161 SUPPORT CONTRACT - BACS        PRODUCT SOURCE                                 81 N PORTAGE                                          DOYLESTOWN    OH       44230
         EQUIP - SILVER SUPPORT - 1ST   INTERNATIONAL DATACOMM, LLC                    ST,DOYLESTOWN,OH,US,4
         YEAR. ADDS TAC SUPPORT,                                                       4230
         SW/FW UPDATES.




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  2.3162 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                2929 MELROSE ST,WALLA                                   WALLA WALLA   WA      99362
         EQUIP - SILVER SUPPORT - 1ST       INTERNATIONAL DATACOMM, LLC                   WALLA,WA,US,99362
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3163 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                330 FRANKLIN                                            COUDERSPORT   NJ      07430
         EQUIP - SILVER SUPPORT - 1ST       INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         YEAR. ADDS TAC SUPPORT,                                                          0
         SW/FW UPDATES.
  2.3164 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                2929 MELROSE ST,WALLA                                   WALLA WALLA   WA      99362
         EQUIP - SILVER SUPPORT -           INTERNATIONAL DATACOMM, LLC                   WALLA,WA,US,99362
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3165 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                81 N PORTAGE                                            DOYLESTOWN    OH      44230
         EQUIP - SILVER SUPPORT -           INTERNATIONAL DATACOMM, LLC                   ST,DOYLESTOWN,OH,US,4
         RENEWAL RATE. INCLUDES TAC                                                       4230
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3166 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                330 FRANKLIN                                            WRIGHTWOOD    NJ      07430
         EQUIP - SILVER SUPPORT -           INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         RENEWAL RATE. INCLUDES TAC                                                       0
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3167 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                330 FRANKLIN                                            WRIGHTWOOD    NJ      07430
         EQUIP - SILVER SUPPORT -           INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         RENEWAL RATE. INCLUDES TAC                                                       0
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3168 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                330 FRANKLIN                                            WRIGHTWOOD    NJ      07430
         EQUIP - SILVER SUPPORT -           INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         RENEWAL RATE. INCLUDES TAC                                                       0
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3169 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                330 FRANKLIN                                            WRIGHTWOOD    NJ      07430
         EQUIP - SILVER SUPPORT -           INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         RENEWAL RATE. INCLUDES TAC                                                       0
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3170 SUPPORT CONTRACT - BACS            PRODUCT SOURCE                                6140 K6# 238 S. GUN CLUB                                AURORA        CO      80016
         EQUIP - SILVER SUPPORT -           INTERNATIONAL DATACOMM, LLC                   RD,AURORA,CO,US,80016
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3171 SUPPORT CONTRACT - CPE             PRODUCT SOURCE                                330 FRANKLIN                                            MILTON                07430   CA
         EQUIP - BRONZE LIMITED             INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         SUPPORT - 1ST YEAR. ADDS TAC                                                     0
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3172 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                      330 FRANKLIN                                            DOYLESTOWN    NJ      07430
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                         TPKE,MAHWAH,NJ,US,0743
         SUPPORT - 1ST YEAR. ADDS TAC                                                     0
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3173 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                      330 FRANKLIN                                            WRIGHTWOOD    NJ      07430
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                         TPKE,MAHWAH,NJ,US,0743
         SUPPORT - 1ST YEAR. ADDS TAC                                                     0
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).




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  2.3174 SUPPORT CONTRACT - CPE           PRODUCT SOURCE                                330 FRANKLIN                                          AURORA        NJ      07430
         EQUIP - BRONZE LIMITED           INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         SUPPORT - 1ST YEAR. ADDS TAC                                                   0
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3175 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    2929 MELROSE ST,WALLA                                 WALLA WALLA   WA      99362
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       WALLA,WA,US,99362
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3176 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    PRODUCT SOURCE                                        ASH FORK      NJ      07430
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       INTERNATIONAL
         SUPPORT - 1ST YEAR. ADDS TAC                                                   DATACOMM, LLC ,330
         SUPPORT, SW/FW UPDATES NOT                                                     FRANKLIN
         AVAILABLE (FROZEN/OBSOLETE                                                     TPKE.,MAHWAH,NJ,US,074
         SOFTWARE).                                                                     30

  2.3177 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3178 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3179 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3180 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    2929 MELROSE ST,WALLA                                 WALLA WALLA   WA      99362
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       WALLA,WA,US,99362
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3181 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3182 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).




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  2.3183 SUPPORT CONTRACT - CPE           PRODUCT SOURCE                                1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED           INTERNATIONAL DATACOMM, LLC                   2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3184 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3185 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    3633 INLAND EMPIRE                                    WRIGHTWOOD    CA      91764
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       BLVD STE
         SUPPORT - 1ST YEAR. ADDS TAC                                                   890,ONTARIO,CA,US,91764
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3186 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3187 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    1300 HIGHWAY                                          WRIGHTWOOD    CA      92397
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       2,WRIGHTWOOD,CA,US,92
         SUPPORT - 1ST YEAR. ADDS TAC                                                   397
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3188 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    330 FRANKLIN                                          WRIGHTWOOD    NJ      07430
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       TPKE,MAHWAH,NJ,US,0743
         SUPPORT - 1ST YEAR. ADDS TAC                                                   0
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3189 SUPPORT CONTRACT - CPE       PRODUCT SOURCE                                    6140 K6# 238 S. GUN CLUB                              AURORA        CO      80016
         EQUIP - BRONZE LIMITED       INTERNATIONAL DATACOMM, LLC                       RD,AURORA,CO,US,80016
         SUPPORT - 1ST YEAR. ADDS TAC
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3190 SUPPORT CONTRACT - CPE      PRODUCT SOURCE                                     2929 MELROSE ST,WALLA                                 WALLA WALLA   WA      99362
         EQUIP - BRONZE LIMITED      INTERNATIONAL DATACOMM, LLC                        WALLA,WA,US,99362
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3191 SUPPORT CONTRACT - CPE      PRODUCT SOURCE                                     330 FRANKLIN                                          WRIGHTWOOD    NJ      07430
         EQUIP - BRONZE LIMITED      INTERNATIONAL DATACOMM, LLC                        TPKE,MAHWAH,NJ,US,0743
         SUPPORT - RENEWAL RATE.                                                        0
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  2.3192 SUPPORT CONTRACT - CPE           PRODUCT SOURCE                                330 FRANKLIN                                          WRIGHTWOOD    NJ      07430
         EQUIP - BRONZE LIMITED           INTERNATIONAL DATACOMM, LLC                   TPKE,MAHWAH,NJ,US,0743
         SUPPORT - RENEWAL RATE.                                                        0
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3193 SUPPORT CONTRACT - CPE      PRODUCT SOURCE                                     6140 K6# 238 S. GUN CLUB                              AURORA        CO      80016
         EQUIP - BRONZE LIMITED      INTERNATIONAL DATACOMM, LLC                        RD,AURORA,CO,US,80016
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3194 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   330 FRANKLIN                                          MAHWAH        NJ      07430
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      TPKE,MAHWAH,NJ,US,0743
         1ST YEAR. ADDS TAC SUPPORT,                                                    0
         SW/FW UPDATES.
  2.3195 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   330 FRANKLIN                                          AURORA        NJ      07430
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      TPKE,MAHWAH,NJ,US,0743
         1ST YEAR. ADDS TAC SUPPORT,                                                    0
         SW/FW UPDATES.
  2.3196 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   330 FRANKLIN                                          EPHRATA       NJ      07430
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      TPKE,MAHWAH,NJ,US,0743
         1ST YEAR. ADDS TAC SUPPORT,                                                    0
         SW/FW UPDATES.
  2.3197 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   330 FRANKLIN                                          AURORA        NJ      07430
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      TPKE,MAHWAH,NJ,US,0743
         1ST YEAR. ADDS TAC SUPPORT,                                                    0
         SW/FW UPDATES.
  2.3198 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   330 FRANKLIN                                          EPHRATA       NJ      07430
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      TPKE,MAHWAH,NJ,US,0743
         1ST YEAR. ADDS TAC SUPPORT,                                                    0
         SW/FW UPDATES.
  2.3199 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   2929 MELROSE ST,WALLA                                 WALLA WALLA   WA      99362
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      WALLA,WA,US,99362
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3200 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   2929 MELROSE ST,WALLA                                 WALLA WALLA   WA      99362
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      WALLA,WA,US,99362
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3201 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   330 FRANKLIN                                          EPHRATA       NJ      07430
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      TPKE,MAHWAH,NJ,US,0743
         RENEWAL RATE. INCLUDES TAC                                                     0
         SUPPORT, SW/FW UPDATES.

  2.3202 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   2929 MELROSE ST,WALLA                                 WALLA WALLA   WA      99362
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      WALLA,WA,US,99362
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3203 SUPPORT CONTRACT - CPE        PRODUCT SOURCE                                   215 S MAIN                                            LACROSSE      WA      99143
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      ST,LACROSSE,WA,US,9914
         RENEWAL RATE. INCLUDES TAC                                                     3
         SUPPORT, SW/FW UPDATES.

  2.3204 SUPPORT CONTRACT - MGATE      PRODUCT SOURCE                                   330 FRANKLIN                                          MAHWAH        NJ      07430
         EQUIP - SILVER SUPPORT - 1ST  INTERNATIONAL DATACOMM, LLC                      TPKE,MAHWAH,NJ,US,0743
         YEAR, ADDS TAC SUPPORT,                                                        0
         SW/FW UPDATES
  2.3205 SUPPORT CONTRACT - NMS        PRODUCT SOURCE                                   2929 MELROSE ST,WALLA                                 WALLA WALLA   WA      99362
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                      WALLA,WA,US,99362
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.3206 SUPPORT CONTRACT - NMS           PRODUCT SOURCE                             215 S MAIN                                            LACROSSE        WA      99143
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL DATACOMM, LLC                   ST,LACROSSE,WA,US,9914
         RENEWAL RATE. INCLUDES TAC                                                  3
         SUPPORT, SW/FW UPDATES.

  2.3207 SUPPORT CONTRACT - 3YRS -   PT. MOIMSTONE DASAN                             TIFA BUILDING 2ND                                     SOUTH JAKARTA           12710     ID
         BRONZE PLUS MAINT POLAN     INDONESIA                                       FLOOR SUITE 208,                                      CITY
         PORT EXTENDERS. INCLUDES                                                    KUNINGAN BARAT STREET
         TAC SUPPORT, SW/FW UPDATES.                                                 NO.26,JAKARTA,ID,12710

  2.3208 SUPPORT CONTRACT - BACS       PT. SUNWAY DIGITAL INDONESIA                  WISMA 77, TOWER 2, 6TH                                JAKARTA BARAT           11410     ID
         EQUIP - SILVER SUPPORT -                                                    FLOOR,JL LET. JEND. S.
         RENEWAL RATE. INCLUDES TAC                                                  PARMAN KAV 77,JAKARTA
         SUPPORT, SW/FW UPDATES, &                                                   BARAT,ID,11410
         RTF REPAIR.
  2.3209 SUPPORT CONTRACT - BACS       PT. SUNWAY DIGITAL INDONESIA                  WISMA 77, TOWER 2, 6TH                                JAKARTA BARAT           11410     ID
         EQUIP - SILVER SUPPORT -                                                    FLOOR,JL LET. JEND. S.
         RENEWAL RATE. INCLUDES TAC                                                  PARMAN KAV 77,JAKARTA
         SUPPORT, SW/FW UPDATES, &                                                   BARAT,ID,11410
         RTF REPAIR.
  2.3210 SUPPORT CONTRACT - BACS       PT. SUNWAY DIGITAL INDONESIA                  WISMA 77, TOWER 2, 6TH                                JAKARTA BARAT           11410     ID
         EQUIP - SILVER SUPPORT -                                                    FLOOR,JL LET. JEND. S.
         RENEWAL RATE. INCLUDES TAC                                                  PARMAN KAV 77,JAKARTA
         SUPPORT, SW/FW UPDATES, &                                                   BARAT,ID,11410
         RTF REPAIR.
  2.3211 SUPPORT CONTRACT - CPE        PT. SUNWAY DIGITAL INDONESIA                  WISMA 77, TOWER 2, 6TH                                JAKARTA BARAT           11410     ID
         EQUIP - BRONZE PLUS SUPPORT -                                               FLOOR,JL LET. JEND. S.
         RENEWAL RATE. INCLUDES TAC                                                  PARMAN KAV 77,JAKARTA
         SUPPORT, SW/FW UPDATES.                                                     BARAT,ID,11410

  2.3212 SUPPORT CONTRACT - CPE        PT. SUNWAY DIGITAL INDONESIA                  WISMA 77, TOWER 2, 6TH                                JAKARTA BARAT           11410     ID
         EQUIP - BRONZE PLUS SUPPORT -                                               FLOOR,JL LET. JEND. S.
         RENEWAL RATE. INCLUDES TAC                                                  PARMAN KAV 77,JAKARTA
         SUPPORT, SW/FW UPDATES.                                                     BARAT,ID,11410

  2.3213 SUPPORT CONTRACT - NMS        PT. SUNWAY DIGITAL INDONESIA                  WISMA 77, TOWER 2, 6TH                                JAKARTA BARAT           11410     ID
         EQUIP - BRONZE PLUS SUPPORT -                                               FLOOR,JL LET. JEND. S.
         RENEWAL RATE. INCLUDES TAC                                                  PARMAN KAV 77,JAKARTA
         SUPPORT, SW/FW UPDATES.                                                     BARAT,ID,11410

  2.3214 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                       NEOT GOLAN 6,RISHON                                   GIVATAIM                7563636   IL
         BRONZE PLUS MAINT POLAN                                                     LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3215 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                       NEOT GOLAN 6,RISHON                                   MODIIN                  7563636   IL
         BRONZE PLUS MAINT POLAN                                                     LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3216 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                       NEOT GOLAN 6,RISHON                                   TEL AVIV                7563636   IL
         BRONZE PLUS MAINT POLAN                                                     LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3217 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                       NEOT GOLAN 6,RISHON                                   MIDIIN                  7563636   IL
         BRONZE PLUS MAINT POLAN                                                     LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3218 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                       NEOT GOLAN 6,RISHON                                   CAESAREA                7563636   IL
         BRONZE PLUS MAINT POLAN                                                     LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.




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  2.3219 SUPPORT CONTRACT - 3YRS -        R.F.C LTD                            NEOT GOLAN 6,RISHON                                    TEL AVIV                7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3220 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    TZIPORIT                7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636                                      INDUSTRIAL
         PORT EXTENDERS. INCLUDES                                                                                                     ZONE 905
         TAC SUPPORT, SW/FW UPDATES.

  2.3221 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    INDUSTRIAL              7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636                                      PARK
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3222 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RAMT GAN                7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3223 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RAMT GAN                7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3224 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3225 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3226 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3227 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3228 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3229 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3230 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3231 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.




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  2.3232 SUPPORT CONTRACT - 3YRS -        R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3233 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3234 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3235 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3236 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3237 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3238 SUPPORT CONTRACT - 3YRS -   R.F.C LTD                                 NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         BRONZE PLUS MAINT POLAN                                               LEZION,IL,7563636
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3239 SUPPORT CONTRACT - 3YRS -       R.F.C LTD                             NEOT GOLAN 6,RISHON                                    GIVATAIM                7563636   IL
         SILVER MAINT POLAN                                                    LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3240 SUPPORT CONTRACT - 3YRS -       R.F.C LTD                             NEOT GOLAN 6,RISHON                                    MODIIN                  7563636   IL
         SILVER MAINT POLAN                                                    LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3241 SUPPORT CONTRACT - 3YRS -       R.F.C LTD                             NEOT GOLAN 6,RISHON                                    TEL AVIV                7563636   IL
         SILVER MAINT POLAN                                                    LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3242 SUPPORT CONTRACT - 3YRS -       R.F.C LTD                             NEOT GOLAN 6,RISHON                                    MIDIIN                  7563636   IL
         SILVER MAINT POLAN                                                    LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3243 SUPPORT CONTRACT - 3YRS -       R.F.C LTD                             NEOT GOLAN 6,RISHON                                    CAESAREA                7563636   IL
         SILVER MAINT POLAN                                                    LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3244 SUPPORT CONTRACT - 3YRS -       R.F.C LTD                             NEOT GOLAN 6,RISHON                                    TEL AVIV                7563636   IL
         SILVER MAINT POLAN                                                    LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.




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  2.3245 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    TZIPORIT                7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636                                      INDUSTRIAL
         SWITCHING EQUIP. INCLUDES                                                                                                      ZONE 905
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3246 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    INDUSTRIAL              7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636                                      PARK
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3247 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RAMT GAN                7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3248 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RAMT GAN                7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3249 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RAMT GAN                7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3250 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3251 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3252 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3253 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3254 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3255 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3256 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3257 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                            NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                      LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.




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  2.3258 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                             NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                       LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3259 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                             NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                       LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3260 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                             NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                       LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3261 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                             NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                       LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3262 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                             NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                       LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3263 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                             NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                       LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3264 SUPPORT CONTRACT - 3YRS -          R.F.C LTD                             NEOT GOLAN 6,RISHON                                    RISHON LEZION           7563636   IL
         SILVER MAINT POLAN                                                       LEZION,IL,7563636
         SWITCHING EQUIP. INCLUDES
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3265 SUPPORT CONTRACT - BACS            RAFFLES SEYCHELLES                    ANSE                                                   PRASLIN                           SC
         EQUIP - BRONZE LIMITED                                                   TAKAMAKA,SEYCHELLES,P
         SUPPORT - RENEWAL RATE.                                                  RASLIN,SC
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3266 SUPPORT CONTRACT - BACS       RAFFLES SEYCHELLES                         ANSE                                                   PRASLIN                           SC
         EQUIP - BRONZE PLUS SUPPORT -                                            TAKAMAKA,SEYCHELLES,P
         RENEWAL RATE. INCLUDES TAC                                               RASLIN,SC
         SUPPORT, SW/FW UPDATES.

  2.3267 SUPPORT CONTRACT - CPE      RAFFLES SEYCHELLES                           ANSE                                                   PRASLIN                           SC
         EQUIP - BRONZE LIMITED                                                   TAKAMAKA,SEYCHELLES,P
         SUPPORT - RENEWAL RATE.                                                  RASLIN,SC
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3268 SUPPORT CONTRACT - BACS     RANDOLPH COMMUNICATIONS                      6463 US HIGHWAY 220                                    OAKLAND         NC      27205
         EQUIP - BRONZE LIMITED                                                   S,ASHEBORO,NC,US,27205
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3269 SUPPORT CONTRACT - BACS       RANDOLPH COMMUNICATIONS                    6463 US HIGHWAY 220                                    OAKLAND         NC      27205
         EQUIP - BRONZE PLUS SUPPORT -                                            S,ASHEBORO,NC,US,27205
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.3270 SUPPORT CONTRACT - CPE           RANDOLPH COMMUNICATIONS                    6463 US HIGHWAY 220                                   OAKLAND        NC      27205
         EQUIP - BRONZE LIMITED                                                      S,ASHEBORO,NC,US,27205
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3271 SUPPORT CONTRACT - CPE        RANDOLPH COMMUNICATIONS                       6463 US HIGHWAY 220                                   OAKLAND        NC      27205
         EQUIP - BRONZE PLUS SUPPORT -                                               S,ASHEBORO,NC,US,27205
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3272 SUPPORT CONTRACT - NMS        RANDOLPH COMMUNICATIONS                       6463 US HIGHWAY 220                                   OAKLAND        NC      27205
         EQUIP - BRONZE PLUS SUPPORT -                                               S,ASHEBORO,NC,US,27205
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3273 SUPPORT CONTRACT - BACS     REFLEX SOLUTIONS (PTY) LTD                      17 KENT ROAD, DUNKELD                                 JOHANNESBURG           2196    ZA
         EQUIP - BRONZE LIMITED                                                      WEST,JOHANNESBURG,ZA,
         SUPPORT - RENEWAL RATE.                                                     2196
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3274 SUPPORT CONTRACT - BACS     REFLEX SOLUTIONS (PTY) LTD                      17 KENT ROAD,DUNKELD                                  BRYANSTON              2196    ZA
         EQUIP - BRONZE LIMITED                                                      WEST,JOHANNESBURG,ZA,
         SUPPORT - RENEWAL RATE.                                                     2196
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3275 SUPPORT CONTRACT - BACS     REFLEX SOLUTIONS (PTY) LTD                      17 KENT ROAD, DUNKELD                                 JOHANNESBURG           2196    ZA
         EQUIP - BRONZE LIMITED                                                      WEST,JOHANNESBURG,ZA,
         SUPPORT - RENEWAL RATE.                                                     2196
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3276 SUPPORT CONTRACT - BACS       REFLEX SOLUTIONS (PTY) LTD                    17 KENT ROAD,DUNKELD                                  BRYANSTON              2196    ZA
         EQUIP - BRONZE PLUS SUPPORT -                                               WEST,JOHANNESBURG,ZA,
         RENEWAL RATE. INCLUDES TAC                                                  2196
         SUPPORT, SW/FW UPDATES.

  2.3277 SUPPORT CONTRACT - CPE       REFLEX SOLUTIONS (PTY) LTD                     17 KENT ROAD,DUNKELD                                  JOHANNESBURG           2196    ZA
         EQUIP - BRONZE LIMITED                                                      WEST,JOHANNESBURG,ZA,
         SUPPORT - 1ST YEAR. ADDS TAC                                                2196
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3278 SUPPORT CONTRACT - CPE       REFLEX SOLUTIONS (PTY) LTD                     17 KENT ROAD,DUNKELD                                  JOHANNESBURG           2196    ZA
         EQUIP - BRONZE LIMITED                                                      WEST,JOHANNESBURG,ZA,
         SUPPORT - 1ST YEAR. ADDS TAC                                                2196
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3279 SUPPORT CONTRACT - CPE       REFLEX SOLUTIONS (PTY) LTD                     17 KENT ROAD,DUNKELD                                  BRYANSTON              2196    ZA
         EQUIP - BRONZE LIMITED                                                      WEST,JOHANNESBURG,ZA,
         SUPPORT - 1ST YEAR. ADDS TAC                                                2196
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
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  2.3280 SUPPORT CONTRACT - CPE           REFLEX SOLUTIONS (PTY) LTD                    17 KENT ROAD, DUNKELD                                 JOHANNESBURG         2196    ZA
         EQUIP - BRONZE LIMITED                                                         WEST,JOHANNESBURG,ZA,
         SUPPORT - RENEWAL RATE.                                                        2196
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3281 SUPPORT CONTRACT - CPE      REFLEX SOLUTIONS (PTY) LTD                         17 KENT ROAD,DUNKELD                                  BRYANSTON            2196    ZA
         EQUIP - BRONZE LIMITED                                                         WEST,JOHANNESBURG,ZA,
         SUPPORT - RENEWAL RATE.                                                        2196
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3282 SUPPORT CONTRACT - CPE      REFLEX SOLUTIONS (PTY) LTD                         17 KENT ROAD,DUNKELD                                  BRYANSTON            2196    ZA
         EQUIP - BRONZE LIMITED                                                         WEST,JOHANNESBURG,ZA,
         SUPPORT - RENEWAL RATE.                                                        2196
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3283 SUPPORT CONTRACT - CPE        REFLEX SOLUTIONS (PTY) LTD                       17 KENT ROAD, DUNKELD                                 JOHANNESBURG         2196    ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                  WEST,JOHANNESBURG,ZA,
         RENEWAL RATE. INCLUDES TAC                                                     2196
         SUPPORT, SW/FW UPDATES.

  2.3284 SUPPORT CONTRACT - CPE        REFLEX SOLUTIONS (PTY) LTD                       17 KENT ROAD,DUNKELD                                  BRYANSTON            2196    ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                  WEST,JOHANNESBURG,ZA,
         RENEWAL RATE. INCLUDES TAC                                                     2196
         SUPPORT, SW/FW UPDATES.

  2.3285 SUPPORT CONTRACT - NMS        REFLEX SOLUTIONS (PTY) LTD                       17 KENT ROAD, DUNKELD                                 JOHANNESBURG         2196    ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                  WEST,JOHANNESBURG,ZA,
         RENEWAL RATE. INCLUDES TAC                                                     2196
         SUPPORT, SW/FW UPDATES.

  2.3286 SUPPORT CONTRACT - NMS        REFLEX SOLUTIONS (PTY) LTD                       17 KENT ROAD,DUNKELD                                  BRYANSTON            2196    ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                  WEST,JOHANNESBURG,ZA,
         RENEWAL RATE. INCLUDES TAC                                                     2196
         SUPPORT, SW/FW UPDATES.

  2.3287 SUPPORT CONTRACT - NMS        REV (FORMERLY EATEL)                             1501 S EDWARD                                         SAINT          LA    70737
         EQUIP - BRONZE PLUS SUPPORT -                                                  AVE,GONZALES,LA,US,7073                               AUGUSTINE
         1ST YEAR. ADDS TAC SUPPORT,                                                    7
         SW/FW UPDATES.
  2.3288 SUPPORT CONTRACT - BACS       RFCG COMPUTER S.R.L.                             8400 NW 25TH ST SUITE                                 SANTO                33198   DO
         EQUIP - SILVER SUPPORT - 1ST                                                   100 ,BM-287080 - RFCG                                 DOMINGO
         YEAR. ADDS TAC SUPPORT,                                                        COMPUTER
         SW/FW UPDATES.                                                                 S.R.L.,DORAL,FL,US,33198
  2.3289 SUPPORT CONTRACT - CPE        RFCG COMPUTER S.R.L.                             8400 NW 25TH ST SUITE                                 SANTO                33198   DO
         EQUIP - BRONZE PLUS SUPPORT -                                                  100 ,BM-287080 - RFCG                                 DOMINGO
         1ST YEAR. ADDS TAC SUPPORT,                                                    COMPUTER
         SW/FW UPDATES.                                                                 S.R.L.,DORAL,FL,US,33198
  2.3290 SUPPORT CONTRACT - 3YRS -     R-GROUP INTERNATIONAL PTY                        4 PARKER                                              BENTLEY        WA    6102    AU
         SILVER MAINT POLAN            LTD                                              PLACE,BENTLEY,WESTER
         SWITCHING EQUIP. INCLUDES                                                      N AUSTRALIA,AU,6102
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3291 SUPPORT CONTRACT - 3YRS -     R-GROUP INTERNATIONAL PTY                        4 PARKER                                              BENTLEY        WA    6102    AU
         SILVER MAINT POLAN            LTD                                              PLACE,BENTLEY,WESTER
         SWITCHING EQUIP. INCLUDES                                                      N AUSTRALIA,AU,6102
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.




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  2.3292 SUPPORT CONTRACT - BACS            ROCHESTER NETWORK SUPPLY                    1319 RESEARCH                                         RINGGOLD      NY      14502
         EQUIP - SILVER SUPPORT - 1ST       INC                                         FOREST,MACEDON,NY,US,
         YEAR. ADDS TAC SUPPORT,                                                        14502
         SW/FW UPDATES.
  2.3293 SUPPORT CONTRACT - BACS            ROCHESTER NETWORK SUPPLY                    102 S MAIN                                            COUDERSPORT   PA      16915
         EQUIP - SILVER SUPPORT - 1ST       INC                                         ST,COUDERSPORT,PA,US,
         YEAR. ADDS TAC SUPPORT,                                                        16915
         SW/FW UPDATES.
  2.3294 SUPPORT CONTRACT - BACS            ROCHESTER TELEPHONE                         117 W 8TH                                             ROCHESTER     IN      46975
         EQUIP - BRONZE LIMITED                                                         ST,ROCHESTER,IN,US,4697
         SUPPORT - RENEWAL RATE.                                                        5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3295 SUPPORT CONTRACT - BACS     ROCHESTER TELEPHONE                                117 W 8TH                                             ROCHESTER     IN      46975
         EQUIP - SILVER SUPPORT -                                                       ST,ROCHESTER,IN,US,4697
         RENEWAL RATE. INCLUDES TAC                                                     5
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3296 SUPPORT CONTRACT - CPE      ROCHESTER TELEPHONE                                117 W 8TH                                             ROCHESTER     IN      46975
         EQUIP - BRONZE LIMITED                                                         ST,ROCHESTER,IN,US,4697
         SUPPORT - RENEWAL RATE.                                                        5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.3297 SUPPORT CONTRACT - CPE        ROCHESTER TELEPHONE                              117 W 8TH                                             ROCHESTER     IN      46975
         EQUIP - BRONZE PLUS SUPPORT -                                                  ST,ROCHESTER,IN,US,4697
         RENEWAL RATE. INCLUDES TAC                                                     5
         SUPPORT, SW/FW UPDATES.

  2.3298 SUPPORT CONTRACT - NMS        ROCHESTER TELEPHONE                              117 W 8TH                                             ROCHESTER     IN      46975
         EQUIP - BRONZE PLUS SUPPORT -                                                  ST,ROCHESTER,IN,US,4697
         RENEWAL RATE. INCLUDES TAC                                                     5
         SUPPORT, SW/FW UPDATES.

  2.3299 SUPPORT CONTRACT - ANYHAUL ROYAL BANK OF CANADA                                128 LARCH ST,STE                                      SCHOMBERG     A,      5J8 ON    CA
         EQUIP - BRONZE PLUS SUPPORT -                                                  202,SUDBURY,ON,CA,P3E
         1ST YEAR, ADDS TAC SUPPORT,                                                    5J8 ON
         SW/FW UPDATES
  2.3300 SUPPORT CONTRACT - ANYHAUL ROYAL BANK OF CANADA                                128 LARCH ST,STE                                      SCHOMBERG     A,      5J8 ON    CA
         EQUIP - SILVER SUPPORT - 1ST                                                   202,SUDBURY,ON,CA,P3E
         YEAR, ADDS TAC SUPPORT,                                                        5J8 ON
         SW/FW UPDATES
  2.3301 SUPPORT CONTRACT - CPE        ROYAL BANK OF CANADA                             128 LARCH ST,STE                                      SCHOMBERG     ON      P3E 5J8   CA
         EQUIP - BRONZE LIMITED                                                         202,SUDBURY,ON,CA,P3E
         SUPPORT - 1ST YEAR. ADDS TAC                                                   5J8 ON
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3302 SUPPORT CONTRACT - BACS            RURAL TELECOMMUNICATIONS                    125 KELLAR,UNIT C-                                    HOUSTON       TX      78957
         EQUIP - GOLD SUPPORT - 1ST         OF AMERICA, INC                             2,SMITHVILLE,TX,US,78957
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.3303 SUPPORT CONTRACT - BACS            RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON       TX      77650
         EQUIP - GOLD SUPPORT - 1ST         OF AMERICA, INC                             BOLIVAR,TX,US,77650
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.3304 SUPPORT CONTRACT - BACS            RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON       TX      77650
         EQUIP - SILVER SUPPORT - 1ST       OF AMERICA, INC                             BOLIVAR,TX,US,77650
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.3305 SUPPORT CONTRACT - BACS          RURAL TELECOMMUNICATIONS                    125 KELLAR,UNIT C-                                    HOUSTON   TX      78957
         EQUIP- GOLD SUPPORT-             OF AMERICA, INC                             2,SMITHVILLE,TX,US,78957
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.3306 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    125 KELLAR,UNIT C-                                    HOUSTON   TX      78957
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                2,SMITHVILLE,TX,US,78957
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3307 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                BOLIVAR,TX,US,77650
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3308 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                BOLIVAR,TX,US,77650
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3309 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                BOLIVAR,TX,US,77650
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3310 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                BOLIVAR,TX,US,77650
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3311 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                BOLIVAR,TX,US,77650
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3312 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                BOLIVAR,TX,US,77650
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3313 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                BOLIVAR,TX,US,77650
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3314 SUPPORT CONTRACT - CPE           RURAL TELECOMMUNICATIONS                    125 KELLAR,UNIT C-                                    HOUSTON   TX      78957
         EQUIP - BRONZE PLUS SUPPORT - OF AMERICA, INC                                2,SMITHVILLE,TX,US,78957
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3315 SUPPORT CONTRACT - CPE      RURAL TELECOMMUNICATIONS                         2840 TX-87,PORT                                       HOUSTON   TX      77650
         EQUIP - GOLD SUPPORT - 1ST  OF AMERICA, INC                                  BOLIVAR,TX,US,77650
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES, & ADVANCE
         REPLACEMENT.
  2.3316 SUPPORT CONTRACT - 3YRS -   RWL ADVANCED SOLUTIONS                           UNIT 15 PARK WEST                                     DUBLIN            D12 Y1T2   IE
         BRONZE PLUS MAINT POLAN                                                      ROAD,PARK WEST,
         PORT EXTENDERS. INCLUDES                                                     DUBLIN 12,IE,D12 Y1T2
         TAC SUPPORT, SW/FW UPDATES.

  2.3317 SUPPORT CONTRACT - 3YRS -   RWL ADVANCED SOLUTIONS                           UNIT 15 PARK WEST                                     DUBLIN            D12 Y1T2   IE
         BRONZE PLUS MAINT POLAN                                                      ROAD,PARK WEST,
         PORT EXTENDERS. INCLUDES                                                     DUBLIN 12,IE,D12 Y1T2
         TAC SUPPORT, SW/FW UPDATES.

  2.3318 SUPPORT CONTRACT - 3YRS -   RWL ADVANCED SOLUTIONS                           UNIT 15 PARK WEST                                     DUBLIN            D12 Y1T2   IE
         SILVER MAINT POLAN                                                           ROAD,PARK WEST,
         SWITCHING EQUIP. INCLUDES                                                    DUBLIN 12,IE,D12 Y1T2
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.




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  2.3319 SUPPORT CONTRACT - BACS          RWL ADVANCED SOLUTIONS                    UNIT 15 PARK WEST                                       DUBLIN            D12 Y1T2   IE
         EQUIP - BRONZE PLUS SUPPORT -                                              ROAD,PARK WEST,
         RENEWAL RATE. INCLUDES TAC                                                 DUBLIN 12,IE,D12 Y1T2
         SUPPORT, SW/FW UPDATES.

  2.3320 SUPPORT CONTRACT - CPE        RWL ADVANCED SOLUTIONS                       UNIT 15 PARK WEST                                       DUBLIN            D12 Y1T2   IE
         EQUIP - BRONZE PLUS SUPPORT -                                              ROAD,PARK WEST,
         1ST YEAR. ADDS TAC SUPPORT,                                                DUBLIN 12,IE,D12 Y1T2
         SW/FW UPDATES.
  2.3321 SUPPORT CONTRACT - CPE        RWL ADVANCED SOLUTIONS                       UNIT 15 PARK WEST                                       DUBLIN            D12 Y1T2   IE
         EQUIP - BRONZE PLUS SUPPORT -                                              ROAD,PARK WEST,
         RENEWAL RATE. INCLUDES TAC                                                 DUBLIN 12,IE,D12 Y1T2
         SUPPORT, SW/FW UPDATES.

  2.3322 SUPPORT CONTRACT - BACS       SASKTEL                                      2121 SASKATCHEWAN                                       REGINA    SK      S4P3Y2     CA
         EQUIP - BRONZE PLUS SUPPORT -                                              DR,10TH
         RENEWAL RATE. INCLUDES TAC                                                 FLOOR,REGINA,SK,CA,S4P
         SUPPORT, SW/FW UPDATES.                                                    3Y2

  2.3323 SUPPORT CONTRACT - BACS       SASKTEL                                      2121 SASKATCHEWAN                                       REGINA    SK      S4P3Y2     CA
         EQUIP - GOLD SUPPORT - 1ST                                                 DR,10TH
         YEAR. ADDS TAC SUPPORT,                                                    FLOOR,REGINA,SK,CA,S4P
         SW/FW UPDATES, & ADVANCE                                                   3Y2
         REPLACEMENT.
  2.3324 SUPPORT CONTRACT - BACS       SASKTEL                                      2121 SASKATCHEWAN                                       REGINA    SK      S4P3Y2     CA
         EQUIP- GOLD SUPPORT-                                                       DR,10TH
         RENEWAL RATE. INCLUDES TAC                                                 FLOOR,REGINA,SK,CA,S4P
         SUPPORT, SW/FW UPDATES, &                                                  3Y2
         ADVANCE REPLACEMENT
  2.3325 SUPPORT CONTRACT - BACS       SASKTEL                                      2133 - 1ST                                              REGINA    SK      S4R8G4     CA
         EQUIP- GOLD SUPPORT-                                                       AVENUE,SASKTEL
         RENEWAL RATE. INCLUDES TAC                                                 WAREHOUSE,REGINA,SK,C
         SUPPORT, SW/FW UPDATES, &                                                  A,S4R8G4
         ADVANCE REPLACEMENT
  2.3326 SUPPORT CONTRACT - BACS       SASKTEL                                      2121 SASKATCHEWAN                                       REGINA    SK      S4P3Y2     CA
         EQUIP- GOLD SUPPORT-                                                       DR,10TH
         RENEWAL RATE. INCLUDES TAC                                                 FLOOR,REGINA,SK,CA,S4P
         SUPPORT, SW/FW UPDATES, &                                                  3Y2
         ADVANCE REPLACEMENT
  2.3327 SUPPORT CONTRACT - BACS       SASKTEL                                      2133 - 1ST                                              REGINA    SK      S4R8G4     CA
         EQUIP- GOLD SUPPORT-                                                       AVENUE,SASKTEL
         RENEWAL RATE. INCLUDES TAC                                                 WAREHOUSE,REGINA,SK,C
         SUPPORT, SW/FW UPDATES, &                                                  A,S4R8G4
         ADVANCE REPLACEMENT
  2.3328 SUPPORT CONTRACT - GOLD       SASKTEL                                      2133 - 1ST                                              REGINA    SK      S4R8G4     CA
         TECH SUPPORT CONTRACT                                                      AVENUE,SASKTEL
         INCLUDES TAC SUPPORT, SW/FW                                                WAREHOUSE,REGINA,SK,C
         UPDATES, ADVANCE                                                           A,S4R8G4
         REPLACEMENT FOR 5 YEARS
  2.3329 SUPPORT CONTRACT - GOLD       SASKTEL                                      2121 SASKATCHEWAN                                       REGINA    SK      S4P3Y2     CA
         TECH SUPPORT CONTRACT                                                      DR,10TH
         INCLUDES TAC SUPPORT, SW/FW                                                FLOOR,REGINA,SK,CA,S4P
         UPDATES, ADVANCE                                                           3Y2
         REPLACEMENT FOR 5 YEARS
  2.3330 SUPPORT CONTRACT - NMS        SASKTEL                                      2121 SASKATCHEWAN                                       REGINA    SK      S4P3Y2     CA
         EQUIP - BRONZE PLUS SUPPORT -                                              DR,10TH
         RENEWAL RATE. INCLUDES TAC                                                 FLOOR,REGINA,SK,CA,S4P
         SUPPORT, SW/FW UPDATES.                                                    3Y2

  2.3331 SUPPORT CONTRACT - BACS     SCREENAGE LIMITED                              GROUND FLOOR,PHOENIX                                    VACOAS-           73526      MU
         EQUIP - BRONZE LIMITED                                                     CENTRAL,VACOAS-                                         PHOENIX
         SUPPORT - RENEWAL RATE.                                                    PHOENIX,MU,73526
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.3332 SUPPORT CONTRACT - CPE           SCREENAGE LIMITED                      GROUND FLOOR,PHOENIX                                  VACOAS-                 73526   MU
         EQUIP - BRONZE PLUS SUPPORT -                                           CENTRAL,VACOAS-                                       PHOENIX
         RENEWAL RATE. INCLUDES TAC                                              PHOENIX,MU,73526
         SUPPORT, SW/FW UPDATES.

  2.3333 SUPPORT CONTRACT - NMS        SCREENAGE LIMITED                         GROUND FLOOR,PHOENIX                                  VACOAS-                 73526   MU
         EQUIP - BRONZE PLUS SUPPORT -                                           CENTRAL,VACOAS-                                       PHOENIX
         RENEWAL RATE. INCLUDES TAC                                              PHOENIX,MU,73526
         SUPPORT, SW/FW UPDATES.

  2.3334 SUPPORT CONTRACT - BACS     SENTRICS                                    265 CLYDE MORRIS                                      AKRON           FL      32174
         EQUIP - BRONZE LIMITED                                                  BLVD,STE 100,ORMOND
         SUPPORT - RENEWAL RATE.                                                 BEACH,FL,US,32174
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3335 SUPPORT CONTRACT - BACS       SENTRICS                                  265 CLYDE MORRIS                                      AKRON           FL      32174
         EQUIP - BRONZE PLUS SUPPORT -                                           BLVD,STE 100,ORMOND
         RENEWAL RATE. INCLUDES TAC                                              BEACH,FL,US,32174
         SUPPORT, SW/FW UPDATES.

  2.3336 SUPPORT CONTRACT - CPE      SENTRICS                                    265 CLYDE MORRIS                                      AKRON           FL      32174
         EQUIP - BRONZE LIMITED                                                  BLVD,STE 100,ORMOND
         SUPPORT - RENEWAL RATE.                                                 BEACH,FL,US,32174
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3337 SUPPORT CONTRACT - CPE        SENTRICS                                  265 CLYDE MORRIS                                      AKRON           FL      32174
         EQUIP - BRONZE PLUS SUPPORT -                                           BLVD,STE 100,ORMOND
         RENEWAL RATE. INCLUDES TAC                                              BEACH,FL,US,32174
         SUPPORT, SW/FW UPDATES.

  2.3338 SUPPORT CONTRACT - NMS        SENTRICS                                  265 CLYDE MORRIS                                      AKRON           FL      32174
         EQUIP - BRONZE PLUS SUPPORT -                                           BLVD,STE 100,ORMOND
         RENEWAL RATE. INCLUDES TAC                                              BEACH,FL,US,32174
         SUPPORT, SW/FW UPDATES.

  2.3339 SUPPORT CONTRACT - 3YRS -   SETS S.R.L                                  VIA ISAAC NEWTON                                      MILAN                   20016   IT
         BRONZE PLUS MAINT POLAN                                                 12,PERO MI,
         NETWORK MGMT SW. INCLUDES                                               ITALY,METROPOLITAN
         TAC SUPPORT, SW/FW UPDATES.                                             CITY OF MILAN,IT,20016

  2.3340 SUPPORT CONTRACT - 3YRS -   SETS S.R.L                                  VIA ISAAC NEWTON                                      MILAN                   20016   IT
         BRONZE PLUS MAINT POLAN                                                 12,PERO MI,
         PORT EXTENDERS. INCLUDES                                                ITALY,METROPOLITAN
         TAC SUPPORT, SW/FW UPDATES.                                             CITY OF MILAN,IT,20016

  2.3341 SUPPORT CONTRACT - 3YRS -     SETS S.R.L                                VIA ISAAC NEWTON                                      MILAN                   20016   IT
         SILVER MAINT POLAN                                                      12,PERO MI,
         SWITCHING EQUIP. INCLUDES                                               ITALY,METROPOLITAN
         TAC SUPPORT, SW/FW UPDATES,                                             CITY OF MILAN,IT,20016
         & RTF REPAIR.
  2.3342 SUPPORT CONTRACT - BACS       SHERWOOD ELECTRONICS &                    19 HAYEZIRA                                           RAMALLAH, AL-           55616   PS
         EQUIP - SILVER SUPPORT - 1ST  ELECTRICALS CO                            ST.,INDUSTRIAL ZONE                                   BEIREH
         YEAR. ADDS TAC SUPPORT,                                                 RAMLA
         SW/FW UPDATES.                                                          ,TELAVIV,PS,7255616
  2.3343 SUPPORT CONTRACT - CPE        SHERWOOD ELECTRONICS &                    19 HAYEZIRA                                           RAMALLAH, AL-           55616   PS
         EQUIP - BRONZE PLUS SUPPORT - ELECTRICALS CO                            ST.,INDUSTRIAL ZONE                                   BEIREH
         1ST YEAR. ADDS TAC SUPPORT,                                             RAMLA
         SW/FW UPDATES.                                                          ,TELAVIV,PS,7255616
  2.3344 SUPPORT CONTRACT - CPE        SHERWOOD ELECTRONICS &                    19 HAYEZIRA                                           RAMALLAH, AL-           55616   PS
         EQUIP - BRONZE PLUS SUPPORT - ELECTRICALS CO                            ST.,INDUSTRIAL ZONE                                   BEIREH
         1ST YEAR. ADDS TAC SUPPORT,                                             RAMLA
         SW/FW UPDATES.                                                          ,TELAVIV,PS,7255616




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  2.3345 SUPPORT CONTRACT - BACS          SIPTELCOM                                    3 BOULEVARD GEORGES                                   DJIBOUTI            BP 205   DJ
         EQUIP - BRONZE LIMITED                                                        POMPIDOU,DJIBOUTI,DJ,BP
         SUPPORT - RENEWAL RATE.                                                        205
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3346 SUPPORT CONTRACT - BACS       SIPTELCOM                                       3 BOULEVARD GEORGES                                   DJIBOUTI            BP 205   DJ
         EQUIP - BRONZE PLUS SUPPORT -                                                 POMPIDOU,DJIBOUTI,DJ,BP
         RENEWAL RATE. INCLUDES TAC                                                     205
         SUPPORT, SW/FW UPDATES.

  2.3347 SUPPORT CONTRACT - NMS        SIPTELCOM                                       3 BOULEVARD GEORGES                                   DJIBOUTI            BP 205   DJ
         EQUIP - BRONZE PLUS SUPPORT -                                                 POMPIDOU,DJIBOUTI,DJ,BP
         RENEWAL RATE. INCLUDES TAC                                                     205
         SUPPORT, SW/FW UPDATES.

  2.3348 SUPPORT CONTRACT - BACS     SISTEMAS INTELIGENTES S.R.L.                      10 DE NOVIEMBRE                                       POTOSI                       BO
         EQUIP - BRONZE LIMITED                                                        SQUARE,POTOSI,BO
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3349 SUPPORT CONTRACT - CPE        SISTEMAS INTELIGENTES S.R.L.                    10 DE NOVIEMBRE                                       POTOSI                       BO
         EQUIP - BRONZE PLUS SUPPORT -                                                 SQUARE,POTOSI,BO
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3350 SUPPORT CONTRACT - BACS     SMART TECHNOLOGY CENTRE                           BLOCK 10, TOWNSEND                                    GAUTENG             2008     ZA
         EQUIP - BRONZE LIMITED      (PTY) LTD                                         OFFICE PARK,1
         SUPPORT - RENEWAL RATE.                                                       TOWNSEND ROAD,
         INCLUDES TAC SUPPORT, SW/FW                                                   BEDFORDVIEW,GAUTENG,
         UPDATES NOT AVAILABLE                                                         ZA,2008
         (FROZEN/OBSOLETE SOFTWARE)

  2.3351 SUPPORT CONTRACT - CPE      SMART TECHNOLOGY CENTRE                           BLOCK 10, TOWNSEND                                    GAUTENG             2008     ZA
         EQUIP - BRONZE LIMITED      (PTY) LTD                                         OFFICE PARK,1
         SUPPORT - RENEWAL RATE.                                                       TOWNSEND ROAD,
         INCLUDES TAC SUPPORT, SW/FW                                                   BEDFORDVIEW,GAUTENG,
         UPDATES NOT AVAILABLE                                                         ZA,2008
         (FROZEN/OBSOLETE SOFTWARE)

  2.3352 SUPPORT CONTRACT - ANYHAUL SOMTEL SOMALIA LTD                                 SOMTEL SOMALIA HQ                                     MOGADISHU                    SO
         EQUIP - SILVER SUPPORT - 1ST                                                  BUILDING HAWLWADAAG
         YEAR, ADDS TAC SUPPORT,                                                       STREET,BAKARO
         SW/FW UPDATES                                                                 MARKET,MOGADISHU,SO
  2.3353 SUPPORT CONTRACT - ANYHAUL SOMTEL SOMALIA LTD                                 SOMTEL SOMALIA HQ                                     MOGADISHU                    SO
         EQUIP - SILVER SUPPORT -                                                      BUILDING HAWLWADAAG
         RENEWAL RATE, INCLUDES TAC                                                    STREET,BAKARO
         SUPPORT, SW/FW UPDATES &                                                      MARKET,MOGADISHU,SO
         RTF REPAIR
  2.3354 SUPPORT CONTRACT - NMS        SOMTEL SOMALIA LTD                              SOMTEL SOMALIA HQ                                     MOGADISHU                    SO
         EQUIP - BRONZE PLUS SUPPORT -                                                 BUILDING HAWLWADAAG
         RENEWAL RATE. INCLUDES TAC                                                    STREET,BAKARO
         SUPPORT, SW/FW UPDATES.                                                       MARKET,MOGADISHU,SO

  2.3355 SUPPORT CONTRACT - 3YRS -       SONET INTERNATIONAL                           4-3-4,                                                TOKYO               -0033    JP
         SILVER MAINT POLAN PORT         CORPORATION                                   KOSHIGOE,KANAGUWA,KA
         EXTENDERS. INCLUDES TAC                                                       MAKURA-CITY,JP,248-0033
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.3356 SUPPORT CONTRACT - 3YRS -          SONET INTERNATIONAL                         4-3-4,                                                TOKYO              -0033   JP
         SILVER MAINT POLAN                 CORPORATION                                 KOSHIGOE,KANAGUWA,KA
         SWITCHING EQUIP. INCLUDES                                                      MAKURA-CITY,JP,248-0033
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3357 SUPPORT CONTRACT - 3YRS -          SPECTRA X STREAM PVT LTD                    H. FENNAAGE,1-A,BURUZU                                MALE               20054   MV
         BRONZE PLUS MAINT POLAN                                                        MAGU,MALE,MV,20054
         PORT EXTENDERS. INCLUDES
         TAC SUPPORT, SW/FW UPDATES.

  2.3358 SUPPORT CONTRACT - BACS       SPECTRA X STREAM PVT LTD                         H. FENNAAGE,1-A,BURUZU                                MALE               20054   MV
         EQUIP - BRONZE PLUS SUPPORT -                                                  MAGU,MALE,MV,20054
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3359 SUPPORT CONTRACT - CPE        SPECTRA X STREAM PVT LTD                         H. FENNAAGE,1-A,BURUZU                                MALE               20054   MV
         EQUIP - BRONZE PLUS SUPPORT -                                                  MAGU,MALE,MV,20054
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3360 SUPPORT CONTRACT - CPE        SPECTRA X STREAM PVT LTD                         H. FENNAAGE,1-A,BURUZU                                MALE               20054   MV
         EQUIP - BRONZE PLUS SUPPORT -                                                  MAGU,MALE,MV,20054
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3361 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3362 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3363 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3364 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3365 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3366 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3367 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3368 SUPPORT CONTRACT - BACS       SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3369 SUPPORT CONTRACT - CPE        SPLIUS,JSC                                       TILZES STR.                                           SIAULIAI           78140   LT
         EQUIP - BRONZE PLUS SUPPORT -                                                  74,SIAULIAI,LT,LT-78140
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.3370 SUPPORT CONTRACT - BACS          SRT COMMUNICATIONS, INC.                    3615 N                                                OAKLAND       ND      58703
         EQUIP - BRONZE LIMITED                                                       BROADWAY,MINOT,ND,US,
         SUPPORT - RENEWAL RATE.                                                      58703
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3371 SUPPORT CONTRACT - BACS       SRT COMMUNICATIONS, INC.                       3615 N                                                OAKLAND       ND      58703
         EQUIP - BRONZE PLUS SUPPORT -                                                BROADWAY,MINOT,ND,US,
         RENEWAL RATE. INCLUDES TAC                                                   58703
         SUPPORT, SW/FW UPDATES.

  2.3372 SUPPORT CONTRACT - BACS       SRT COMMUNICATIONS, INC.                       3615 N                                                OAKLAND       ND      58703
         EQUIP - SILVER SUPPORT - 1ST                                                 BROADWAY,MINOT,ND,US,
         YEAR. ADDS TAC SUPPORT,                                                      58703
         SW/FW UPDATES.
  2.3373 SUPPORT CONTRACT - BACS       SRT COMMUNICATIONS, INC.                       3615 N                                                OAKLAND       ND      58703
         EQUIP - SILVER SUPPORT -                                                     BROADWAY,MINOT,ND,US,
         RENEWAL RATE. INCLUDES TAC                                                   58703
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3374 SUPPORT CONTRACT - NMS        SRT COMMUNICATIONS, INC.                       3615 N                                                OAKLAND       ND      58703
         EQUIP - BRONZE PLUS SUPPORT -                                                BROADWAY,MINOT,ND,US,
         RENEWAL RATE. INCLUDES TAC                                                   58703
         SUPPORT, SW/FW UPDATES.

  2.3375 SUPPORT CONTRACT - BACS     ST. MAARTEN                                      SOUALIGA BLVD # 5,POND                                PHILIPSBURG           ST.       BR
         EQUIP - BRONZE LIMITED      TELECOMMUNICATION                                ISLAND,PHILIPSBURG,SX                                                       MAARTEN
         SUPPORT - RENEWAL RATE.     OPERATING CO N.V.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3376 SUPPORT CONTRACT - BACS        ST. MAARTEN                                   SOUALIGA BLVD # 5,POND                                PHILIPSBURG           ST.       BR
         EQUIP - SILVER SUPPORT -       TELECOMMUNICATION                             ISLAND,PHILIPSBURG,SX                                                       MAARTEN
         RENEWAL RATE. INCLUDES TAC     OPERATING CO N.V.
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3377 SUPPORT CONTRACT - CPE         ST. MAARTEN                                   SOUALIGA BLVD # 5,POND                                PHILIPSBURG           ST.       BR
         EQUIP - BRONZE LIMITED         TELECOMMUNICATION                             ISLAND,PHILIPSBURG,SX                                                       MAARTEN
         SUPPORT - RENEWAL RATE.        OPERATING CO N.V.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3378 SUPPORT CONTRACT - CPE        ST. MAARTEN                                    SOUALIGA BLVD # 5,POND                                PHILIPSBURG           ST.       BR
         EQUIP - SILVER SUPPORT -      TELECOMMUNICATION                              ISLAND,PHILIPSBURG,SX                                                       MAARTEN
         RENEWAL RATE. INCLUDES TAC OPERATING CO N.V.
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3379 SUPPORT CONTRACT - NMS        ST. MAARTEN                                    SOUALIGA BLVD # 5,POND                                PHILIPSBURG           ST.       BR
         EQUIP - BRONZE PLUS SUPPORT - TELECOMMUNICATION                              ISLAND,PHILIPSBURG,SX                                                       MAARTEN
         RENEWAL RATE. INCLUDES TAC OPERATING CO N.V.
         SUPPORT, SW/FW UPDATES.

  2.3380 SUPPORT CONTRACT - BACS      STRATFORD MUTUAL                                1001 TENNYSON                                         STRATFORD     IA      50249
         EQUIP - SILVER SUPPORT - 1ST TELEPHONE CO                                    AVE,STRATFORD,IA,US,502
         YEAR. ADDS TAC SUPPORT,                                                      49
         SW/FW UPDATES.
  2.3381 SUPPORT CONTRACT - ANYHAUL STUART C IRBY CO                                  6140 SOUTHWEST DR STE                                 JONESBORO     AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                                 A,JONESBORO,AR,US,7240
         YEAR, ADDS TAC SUPPORT,                                                      4
         SW/FW UPDATES




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  2.3382 SUPPORT CONTRACT - ANYHAUL         STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            A,JONESBORO,AR,US,7240
         YEAR, ADDS TAC SUPPORT,                                                 4
         SW/FW UPDATES
  2.3383 SUPPORT CONTRACT - ANYHAUL         STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            A,JONESBORO,AR,US,7240
         YEAR, ADDS TAC SUPPORT,                                                 4
         SW/FW UPDATES
  2.3384 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            A,JONESBORO,AR,US,7240
         YEAR. ADDS TAC SUPPORT,                                                 4
         SW/FW UPDATES.
  2.3385 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            A,JONESBORO,AR,US,7240
         YEAR. ADDS TAC SUPPORT,                                                 4
         SW/FW UPDATES.
  2.3386 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            A,JONESBORO,AR,US,7240
         YEAR. ADDS TAC SUPPORT,                                                 4
         SW/FW UPDATES.
  2.3387 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            A,JONESBORO,AR,US,7240
         YEAR. ADDS TAC SUPPORT,                                                 4
         SW/FW UPDATES.
  2.3388 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            A,JONESBORO,AR,US,7240
         YEAR. ADDS TAC SUPPORT,                                                 4
         SW/FW UPDATES.
  2.3389 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT - 1ST                                            DRIVE BR
         YEAR. ADDS TAC SUPPORT,                                                 1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                          2404
  2.3390 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3391 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3392 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3393 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     4314 STADIUM                                          JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                BLVD,JONESBORO,AR,US,7
         RENEWAL RATE. INCLUDES TAC                                              2404
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3394 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                              1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES, &                                               2404
         RTF REPAIR.
  2.3395 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.




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  2.3396 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3397 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3398 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3399 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3400 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3401 SUPPORT CONTRACT - BACS            STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                                A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                              4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3402 SUPPORT CONTRACT - CPE             STUART C IRBY CO                     4314 STADIUM                                          JONESBORO   AR      72404
         EQUIP - BRONZE LIMITED                                                  BLVD,JONESBORO,AR,US,7
         SUPPORT - RENEWAL RATE.                                                 2404
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.3403 SUPPORT CONTRACT - CPE        STUART C IRBY CO                          6140 SOUTHWEST DR,STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                           A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                             4
         SW/FW UPDATES.
  2.3404 SUPPORT CONTRACT - CPE        STUART C IRBY CO                          6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                           A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                             4
         SW/FW UPDATES.
  2.3405 SUPPORT CONTRACT - CPE        STUART C IRBY CO                          6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                           A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                             4
         SW/FW UPDATES.
  2.3406 SUPPORT CONTRACT - CPE        STUART C IRBY CO                          6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                           A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                             4
         SW/FW UPDATES.
  2.3407 SUPPORT CONTRACT - CPE        STUART C IRBY CO                          6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                           A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                             4
         SW/FW UPDATES.
  2.3408 SUPPORT CONTRACT - CPE        STUART C IRBY CO                          6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                           A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                             4
         SW/FW UPDATES.
  2.3409 SUPPORT CONTRACT - CPE        STUART C IRBY CO                          6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                           A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                             4
         SW/FW UPDATES.




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  2.3410 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR,STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3411 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3412 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     45 MT BAKER                                           EASTSOUND   WA      98245
         EQUIP - BRONZE PLUS SUPPORT -                                         RD,EASTSOUND,WA,US,98
         1ST YEAR. ADDS TAC SUPPORT,                                           245
         SW/FW UPDATES.
  2.3413 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3414 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3415 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404
  2.3416 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404
  2.3417 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3418 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3419 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3420 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3421 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3422 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3423 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3424 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404
  2.3425 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404




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  2.3426 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404
  2.3427 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404
  2.3428 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     45 MT BAKER                                           EASTSOUND   WA      98245
         EQUIP - BRONZE PLUS SUPPORT -                                         RD,EASTSOUND,WA,US,98
         1ST YEAR. ADDS TAC SUPPORT,                                           245
         SW/FW UPDATES.
  2.3429 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404
  2.3430 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3431 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR,STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3432 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3433 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3434 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3435 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3436 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3437 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3438 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR,STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3439 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.




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  2.3440 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     4314 STADIUM                                          JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         BLVD,JONESBORO,AR,US,7
         RENEWAL RATE. INCLUDES TAC                                            2404
         SUPPORT, SW/FW UPDATES.

  2.3441 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3442 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3443 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3444 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3445 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3446 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3447 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3448 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3449 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3450 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3451 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3452 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404




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  2.3453 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3454 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3455 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3456 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3457 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3458 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3459 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3460 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3461 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3462 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3463 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3464 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3465 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.




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  2.3466 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3467 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3468 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3469 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3470 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3471 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3472 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3473 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3474 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3475 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3476 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3477 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3478 SUPPORT CONTRACT - CPE        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.




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  2.3479 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                              A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3480 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                              A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3481 SUPPORT CONTRACT - CPE           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - SILVER SUPPORT -                                              A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3482 SUPPORT CONTRACT - NMS           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3483 SUPPORT CONTRACT - NMS           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3484 SUPPORT CONTRACT - NMS           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3485 SUPPORT CONTRACT - NMS           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3486 SUPPORT CONTRACT - NMS           STUART C IRBY CO                     6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         1ST YEAR. ADDS TAC SUPPORT,                                           1063,JONESBORO,AR,US,7
         SW/FW UPDATES.                                                        2404
  2.3487 SUPPORT CONTRACT - NMS           STUART C IRBY CO                     6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         1ST YEAR. ADDS TAC SUPPORT,                                           4
         SW/FW UPDATES.
  2.3488 SUPPORT CONTRACT - NMS           STUART C IRBY CO                     4314 STADIUM                                          JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         BLVD,JONESBORO,AR,US,7
         RENEWAL RATE. INCLUDES TAC                                            2404
         SUPPORT, SW/FW UPDATES.

  2.3489 SUPPORT CONTRACT - NMS        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3490 SUPPORT CONTRACT - NMS        STUART C IRBY CO                        6140-A SOUTHWEST                                      JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         DRIVE BR
         RENEWAL RATE. INCLUDES TAC                                            1063,JONESBORO,AR,US,7
         SUPPORT, SW/FW UPDATES.                                               2404

  2.3491 SUPPORT CONTRACT - NMS        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.

  2.3492 SUPPORT CONTRACT - NMS        STUART C IRBY CO                        6140 SOUTHWEST DR STE                                 JONESBORO   AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                         A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                            4
         SUPPORT, SW/FW UPDATES.




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  2.3493 SUPPORT CONTRACT - NMS           STUART C IRBY CO                             6140 SOUTHWEST DR STE                                 JONESBORO    AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                                 A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                                    4
         SUPPORT, SW/FW UPDATES.

  2.3494 SUPPORT CONTRACT - NMS        STUART C IRBY CO                                6140 SOUTHWEST DR STE                                 JONESBORO    AR      72404
         EQUIP - BRONZE PLUS SUPPORT -                                                 A,JONESBORO,AR,US,7240
         RENEWAL RATE. INCLUDES TAC                                                    4
         SUPPORT, SW/FW UPDATES.

  2.3495 SUPPORT CONTRACT - 3YRS -   SUMMIT TECHNOLOGY                                 NO. 390A, SOUTH                                       CAIRO                           EG
         BRONZE PLUS MAINT POLAN     SOLUTIONS                                         ACADEMY,NEW
         NETWORK MGMT SW. INCLUDES                                                     CAIRO,CAIRO,EG
         TAC SUPPORT, SW/FW UPDATES.

  2.3496 SUPPORT CONTRACT - 3YRS -   SUMMIT TECHNOLOGY                                 NO. 390A, SOUTH                                       CAIRO                           EG
         BRONZE PLUS MAINT POLAN     SOLUTIONS                                         ACADEMY,NEW
         NETWORK MGMT SW. INCLUDES                                                     CAIRO,CAIRO,EG
         TAC SUPPORT, SW/FW UPDATES.

  2.3497 SUPPORT CONTRACT - 3YRS -   SUMMIT TECHNOLOGY                                 NO. 390A, SOUTH                                       CAIRO                           EG
         BRONZE PLUS MAINT POLAN     SOLUTIONS                                         ACADEMY,NEW
         PORT EXTENDERS. INCLUDES                                                      CAIRO,CAIRO,EG
         TAC SUPPORT, SW/FW UPDATES.

  2.3498 SUPPORT CONTRACT - 3YRS -   SUMMIT TECHNOLOGY                                 NO. 390A, SOUTH                                       CAIRO                           EG
         BRONZE PLUS MAINT POLAN     SOLUTIONS                                         ACADEMY,NEW
         PORT EXTENDERS. INCLUDES                                                      CAIRO,CAIRO,EG
         TAC SUPPORT, SW/FW UPDATES.

  2.3499 SUPPORT CONTRACT - 3YRS -   SUMMIT TECHNOLOGY                                 NO. 390A, SOUTH                                       CAIRO                           EG
         BRONZE PLUS MAINT POLAN     SOLUTIONS                                         ACADEMY,NEW
         PORT EXTENDERS. INCLUDES                                                      CAIRO,CAIRO,EG
         TAC SUPPORT, SW/FW UPDATES.

  2.3500 SUPPORT CONTRACT - 3YRS -     SUMMIT TECHNOLOGY                               NO. 390A, SOUTH                                       CAIRO                RO,EG      EG
         SILVER MAINT POLAN            SOLUTIONS                                       ACADEMY,NEW
         SWITCHING EQUIP. INCLUDES                                                     CAIRO,CAIRO,EG
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3501 SUPPORT CONTRACT - 3YRS -     SUMMIT TECHNOLOGY                               NO. 390A, SOUTH                                       CAIRO                           EG
         SILVER MAINT POLAN            SOLUTIONS                                       ACADEMY,NEW
         SWITCHING EQUIP. INCLUDES                                                     CAIRO,CAIRO,EG
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3502 SUPPORT CONTRACT - BACS       SUMMIT TECHNOLOGY                               2005C CORNICHE EL NIL,                                CAIRO                11221      EG
         EQUIP - BRONZE PLUS SUPPORT - SOLUTIONS                                       NILE CITY TOWERS, 32ND
         RENEWAL RATE. INCLUDES TAC                                                    FLOOR NORTH
         SUPPORT, SW/FW UPDATES.                                                       TOWER,RAMLET
                                                                                       BOULAQUE,CAIRO,EG,1122
                                                                                       1
  2.3503 SUPPORT CONTRACT - MGATE      SURE SOUTH ATLANTIC LTD.                        GEORGETOWN,ASCENSIO                                   LISS                 ASCN 1ZZ   GB
         EQUIP - SILVER SUPPORT -                                                      N ISLAND,SH,ASCN 1ZZ
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES &
         RTF REPAIR
  2.3504 SUPPORT CONTRACT - MGATE      SURE SOUTH ATLANTIC LTD. (ST                    PO BOX 2,,THE                                         ST. HELENA                      SH
         EQUIP - BRONZE PLUS SUPPORT - HELENA)                                         BRIARS,SOUTH ATLANTIC                                 ISLAND
         RENEWAL RATE. INCLUDES TAC                                                    OCEAN,ST. HELENA
         SUPPORT, SW/FW UPDATES                                                        ISLAND,SH,SHL IZZ
  2.3505 SUPPORT CONTRACT - NMS        SURE SOUTH ATLANTIC LTD. (ST                    PO BOX 2,,THE                                         ST. HELENA                      SH
         EQUIP - BRONZE PLUS SUPPORT - HELENA)                                         BRIARS,SOUTH ATLANTIC                                 ISLAND
         RENEWAL RATE. INCLUDES TAC                                                    OCEAN,ST. HELENA
         SUPPORT, SW/FW UPDATES.                                                       ISLAND,SH,SHL IZZ




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  2.3506 SUPPORT CONTRACT - BACS          TACHUS INFRASTRUCTURE LLC                    510 TODD                                               THE         TX      77385
         EQUIP - BRONZE LIMITED                                                        ST,CONROE,TX,US,77385                                  WOODLANDS
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3507 SUPPORT CONTRACT - BACS       TACHUS INFRASTRUCTURE LLC                       510 TODD                                               THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                  WOODLANDS
          1ST YEAR . ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3508 SUPPORT CONTRACT - BACS       TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - SILVER SUPPORT - 1ST                                                  FOREST BLVD STE                                        WOODLANDS
         YEAR. ADDS TAC SUPPORT,                                                       200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3509 SUPPORT CONTRACT - BACS       TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - SILVER SUPPORT - 1ST                                                  FOREST BLVD STE                                        WOODLANDS
         YEAR. ADDS TAC SUPPORT,                                                       200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3510 SUPPORT CONTRACT - BACS       TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - SILVER SUPPORT - 1ST                                                  FOREST BLVD STE                                        WOODLANDS
         YEAR. ADDS TAC SUPPORT,                                                       200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3511 SUPPORT CONTRACT - BACS       TACHUS INFRASTRUCTURE LLC                       510 TODD                                               THE         TX      77385
         EQUIP - SILVER SUPPORT - 1ST                                                  ST,CONROE,TX,US,77385                                  WOODLANDS
         YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3512 SUPPORT CONTRACT - BACS       TACHUS INFRASTRUCTURE LLC                       510 TODD                                               THE         TX      77385
         EQUIP - SILVER SUPPORT -                                                      ST,CONROE,TX,US,77385                                  WOODLANDS
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3513 SUPPORT CONTRACT - CPE        TACHUS INFRASTRUCTURE LLC                       510 TODD                                               THE         TX      77385
         EQUIP - BRONZE LIMITED                                                        ST,CONROE,TX,US,77385                                  WOODLANDS
         SUPPORT - RENEWAL RATE.
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3514 SUPPORT CONTRACT - CPE        TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                        WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3515 SUPPORT CONTRACT - CPE        TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                        WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3516 SUPPORT CONTRACT - CPE        TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                        WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3517 SUPPORT CONTRACT - CPE        TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                        WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3518 SUPPORT CONTRACT - CPE        TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                        THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                        WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3519 SUPPORT CONTRACT - CPE        TACHUS INFRASTRUCTURE LLC                       510 TODD                                               THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                  WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.3520 SUPPORT CONTRACT - CPE           TACHUS INFRASTRUCTURE LLC                    3831 TECHNOLOGY                                       THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                       WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3521 SUPPORT CONTRACT - CPE           TACHUS INFRASTRUCTURE LLC                    3831 TECHNOLOGY                                       THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                       WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3522 SUPPORT CONTRACT - CPE           TACHUS INFRASTRUCTURE LLC                    510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3523 SUPPORT CONTRACT - CPE           TACHUS INFRASTRUCTURE LLC                    510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3524 SUPPORT CONTRACT - CPE           TACHUS INFRASTRUCTURE LLC                    510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3525 SUPPORT CONTRACT - CPE           TACHUS INFRASTRUCTURE LLC                    510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3526 SUPPORT CONTRACT - CPE           TACHUS INFRASTRUCTURE LLC                    510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3527 SUPPORT CONTRACT - NMS        TACHUS INFRASTRUCTURE LLC                       3831 TECHNOLOGY                                       THE         TX      77381
         EQUIP - BRONZE PLUS SUPPORT -                                                 FOREST BLVD STE                                       WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,                                                   200,THE
         SW/FW UPDATES.                                                                WOODLANDS,TX,US,77381
  2.3528 SUPPORT CONTRACT - NMS        TACHUS INFRASTRUCTURE LLC                       510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3529 SUPPORT CONTRACT - NMS        TACHUS INFRASTRUCTURE LLC                       510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3530 SUPPORT CONTRACT - NMS        TACHUS INFRASTRUCTURE LLC                       510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3531 SUPPORT CONTRACT - NMS        TACHUS INFRASTRUCTURE LLC                       510 TODD                                              THE         TX      77385
         EQUIP - BRONZE PLUS SUPPORT -                                                 ST,CONROE,TX,US,77385                                 WOODLANDS
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3532 SUPPORT CONTRACT - BACS     TAWASUL                                           DEBAHY BLDG CHARLES                                   BEYROUTH                    LB
         EQUIP - BRONZE LIMITED                                                        DE GAULLE AVE,SIN EL
         SUPPORT - RENEWAL RATE.                                                       FIL,BEYROUTH,LB
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3533 SUPPORT CONTRACT - BACS     TAWASUL                                           ABDULAZIZ AL AWAL                                     RIYADH              12373   SA
         EQUIP - BRONZE LIMITED                                                        ROAD,KINGDOM OF SAUDI
         SUPPORT - RENEWAL RATE.                                                       ARABIA,RIYADH,SA,12373
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.3534 SUPPORT CONTRACT - BACS          TAWASUL                              ABDULAZIZ AL AWAL                                     RIYADH             12373   SA
         EQUIP - BRONZE PLUS SUPPORT -                                         ROAD,KINGDOM OF SAUDI
         RENEWAL RATE. INCLUDES TAC                                            ARABIA,RIYADH,SA,12373
         SUPPORT, SW/FW UPDATES.

  2.3535 SUPPORT CONTRACT - BACS       TAWASUL                                 CLEMENCEAU, MAAMARY                                   BEYROUTH                   LB
         EQUIP - SILVER SUPPORT - 1ST                                          CENTER 9TH
         YEAR. ADDS TAC SUPPORT,                                               FLOOR,BEIRUT,N/A,LB
         SW/FW UPDATES.
  2.3536 SUPPORT CONTRACT - BACS       TAWASUL                                 DEBAHY BLDG CHARLES                                   BEYROUTH                   LB
         EQUIP - SILVER SUPPORT -                                              DE GAULLE AVE,SIN EL
         RENEWAL RATE. INCLUDES TAC                                            FIL,BEYROUTH,LB
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3537 SUPPORT CONTRACT - CPE        TAWASUL                                 ABDULAZIZ AL AWAL                                     RIYADH             12373   SA
         EQUIP - BRONZE PLUS SUPPORT -                                         ROAD,KINGDOM OF SAUDI
         RENEWAL RATE. INCLUDES TAC                                            ARABIA,RIYADH,SA,12373
         SUPPORT, SW/FW UPDATES.

  2.3538 SUPPORT CONTRACT - BACS     TAYLOR TELEPHONE                          9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - BRONZE LIMITED      COOPERATIVE INC                           ROAD,MERKEL,TX,US,7953
         SUPPORT - RENEWAL RATE.                                               6
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3539 SUPPORT CONTRACT - BACS       TAYLOR TELEPHONE                        9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE INC                         ROAD,MERKEL,TX,US,7953
         1ST YEAR . ADDS TAC SUPPORT,                                          6
         SW/FW UPDATES.
  2.3540 SUPPORT CONTRACT - BACS       TAYLOR TELEPHONE                        9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE INC                         ROAD,MERKEL,TX,US,7953
         RENEWAL RATE. INCLUDES TAC                                            6
         SUPPORT, SW/FW UPDATES.

  2.3541 SUPPORT CONTRACT - BACS         TAYLOR TELEPHONE                      9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - SILVER SUPPORT - 1ST    COOPERATIVE INC                       ROAD,MERKEL,TX,US,7953
         YEAR. ADDS TAC SUPPORT,                                               6
         SW/FW UPDATES.
  2.3542 SUPPORT CONTRACT - BACS         TAYLOR TELEPHONE                      9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - SILVER SUPPORT - 1ST    COOPERATIVE INC                       ROAD,MERKEL,TX,US,7953
         YEAR. ADDS TAC SUPPORT,                                               6
         SW/FW UPDATES.
  2.3543 SUPPORT CONTRACT - BACS         TAYLOR TELEPHONE                      9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - SILVER SUPPORT - 1ST    COOPERATIVE INC                       ROAD,MERKEL,TX,US,7953
         YEAR. ADDS TAC SUPPORT,                                               6
         SW/FW UPDATES.
  2.3544 SUPPORT CONTRACT - BACS         TAYLOR TELEPHONE                      9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - SILVER SUPPORT - 1ST    COOPERATIVE INC                       ROAD,MERKEL,TX,US,7953
         YEAR. ADDS TAC SUPPORT,                                               6
         SW/FW UPDATES.
  2.3545 SUPPORT CONTRACT - BACS         TAYLOR TELEPHONE                      9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - SILVER SUPPORT - 1ST    COOPERATIVE INC                       ROAD,MERKEL,TX,US,7953
         YEAR. ADDS TAC SUPPORT,                                               6
         SW/FW UPDATES.
  2.3546 SUPPORT CONTRACT - BACS         TAYLOR TELEPHONE                      9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - SILVER SUPPORT - 1ST    COOPERATIVE INC                       ROAD,MERKEL,TX,US,7953
         YEAR. ADDS TAC SUPPORT,                                               6
         SW/FW UPDATES.
  2.3547 SUPPORT CONTRACT - BACS         TAYLOR TELEPHONE                      9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - SILVER SUPPORT - 1ST    COOPERATIVE INC                       ROAD,MERKEL,TX,US,7953
         YEAR. ADDS TAC SUPPORT,                                               6
         SW/FW UPDATES.




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  2.3548 SUPPORT CONTRACT - CPE           TAYLOR TELEPHONE                     9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - BRONZE LIMITED           COOPERATIVE INC                      ROAD,MERKEL,TX,US,7953
         SUPPORT - RENEWAL RATE.                                               6
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3549 SUPPORT CONTRACT - CPE        TAYLOR TELEPHONE                        9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE INC                         ROAD,MERKEL,TX,US,7953
         1ST YEAR. ADDS TAC SUPPORT,                                           6
         SW/FW UPDATES.
  2.3550 SUPPORT CONTRACT - CPE        TAYLOR TELEPHONE                        9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE INC                         ROAD,MERKEL,TX,US,7953
         RENEWAL RATE. INCLUDES TAC                                            6
         SUPPORT, SW/FW UPDATES.

  2.3551 SUPPORT CONTRACT - NMS        TAYLOR TELEPHONE                        9796 N I-20 ACCESS                                    MERKEL     TX      79536
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE INC                         ROAD,MERKEL,TX,US,7953
         RENEWAL RATE. INCLUDES TAC                                            6
         SUPPORT, SW/FW UPDATES.

  2.3552 SUPPORT CONTRACT - BACS        TEKTRACO LTD.                          RUDOLPH                                               SLIEMA             1279    MT
         EQUIP - SILVER SUPPORT -                                              STREET,SLIEMA,SLM,MT,12
         RENEWAL RATE. INCLUDES TAC                                            79
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3553 SUPPORT CONTRACT - CPE         TEKTRACO LTD.                          RUDOLPH                                               SLIEMA             1279    MT
         EQUIP - SILVER SUPPORT -                                              STREET,SLIEMA,SLM,MT,12
         RENEWAL RATE. INCLUDES TAC                                            79
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3554 SUPPORT CONTRACT - DZS         TELECOM EGYPT                          ACCOUNTING                                            CAIRO              12577   EG
         CLOUD BRONZE PLUS ANNUAL                                              DEPARTMENT,SMART
         MAINTENANCE & SUPPORT                                                 VILLAGE, BUILDING 7B, 28
                                                                               KM 6 OCTOBER -ALEX
                                                                               DESERT
                                                                               ROAD,CAIRO,EG,12577
  2.3555 SUPPORT CONTRACT - DZS         TELECOM EGYPT                          ACCOUNTING                                            CAIRO              12577   EG
         CLOUD BRONZE PLUS ANNUAL                                              DEPARTMENT,SMART
         MAINTENANCE & SUPPORT                                                 VILLAGE, BUILDING 7B, 28
                                                                               KM 6 OCTOBER -ALEX
                                                                               DESERT
                                                                               ROAD,CAIRO,EG,12577
  2.3556 SUPPORT CONTRACT - DZS         TELECOM EGYPT                          ACCOUNTING                                            CAIRO              12577   EG
         CLOUD BRONZE PLUS ANNUAL                                              DEPARTMENT,SMART
         MAINTENANCE & SUPPORT                                                 VILLAGE, BUILDING 7B, 28
                                                                               KM 6 OCTOBER -ALEX
                                                                               DESERT
                                                                               ROAD,CAIRO,EG,12577
  2.3557 SUPPORT CONTRACT - BACS       TELECOM NAMIBIA                         TELECOM MAIN                                          WINDHOEK                   NA
         EQUIP - BRONZE PLUS SUPPORT -                                         STORES,VOIGTS
         1ST YEAR . ADDS TAC SUPPORT,                                          STREET,SOUTHERN
         SW/FW UPDATES.                                                        INDUSTRIAL
                                                                               AREA,WINDHOEK,NA
  2.3558 SUPPORT CONTRACT - BACS       TELECOM NAMIBIA                         TELECOM MAIN                                          WINDHOEK                   NA
         EQUIP - BRONZE PLUS SUPPORT -                                         STORES,SOUTHERN
         1ST YEAR . ADDS TAC SUPPORT,                                          INDUSTRIAL AREA,VOIGTS
         SW/FW UPDATES.                                                        STREET,WINDHOEK,NA

  2.3559 SUPPORT CONTRACT - BACS       TELECOM NAMIBIA                         TELECOM MAIN                                          WINDHOEK                   NA
         EQUIP - BRONZE PLUS SUPPORT -                                         STORES,VOIGTS
         1ST YEAR . ADDS TAC SUPPORT,                                          STREET,SOUTHERN
         SW/FW UPDATES.                                                        INDUSTRIAL
                                                                               AREA,WINDHOEK,NA




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  2.3560 SUPPORT CONTRACT - BACS            TELECOM NAMIBIA                      TELECOM MAIN                                          WINDHOEK                      NA
         EQUIP - SILVER SUPPORT - 1ST                                            STORES,VOIGTS
         YEAR. ADDS TAC SUPPORT,                                                 STREET,SOUTHERN
         SW/FW UPDATES.                                                          INDUSTRIAL
                                                                                 AREA,WINDHOEK,NA
  2.3561 SUPPORT CONTRACT - BACS     TELEFFICIENT SOLUTIONS                      3233 DEVON                                            LONDON       ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                  DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                 5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.3562 SUPPORT CONTRACT - BACS       TELEFFICIENT SOLUTIONS                    3233 DEVON                                            LONDON       ON      N8X4L5   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           DR,WINDSOR,ON,CA,N8X4L
         RENEWAL RATE. INCLUDES TAC                                              5
         SUPPORT, SW/FW UPDATES.

  2.3563 SUPPORT CONTRACT - BACS       TELEFFICIENT SOLUTIONS                    30-30 WATER                                           PORT PERRY   ON      L9L1H9   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           STREET,PORT
         RENEWAL RATE. INCLUDES TAC                                              PERRY,ON,CA,L9L1H9
         SUPPORT, SW/FW UPDATES.

  2.3564 SUPPORT CONTRACT - BACS       TELEFFICIENT SOLUTIONS                    3233 DEVON                                            LONDON       ON      N8X4L5   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           DR,WINDSOR,ON,CA,N8X4L
         RENEWAL RATE. INCLUDES TAC                                              5
         SUPPORT, SW/FW UPDATES.

  2.3565 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                     3233 DEVON                                            LONDON       ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                  DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - 1ST YEAR. ADDS TAC                                            5
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3566 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                     30-30 WATER                                           LONDON       ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                  STREET,PORT
         SUPPORT - 1ST YEAR. ADDS TAC                                            PERRY,ON,CA,L9L1H9
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3567 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                     30-30 WATER                                           LONDON       ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                  STREET,PORT
         SUPPORT - 1ST YEAR. ADDS TAC                                            PERRY,ON,CA,L9L1H9
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3568 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                     30-30 WATER                                           PORT PERRY   ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                  STREET,PORT
         SUPPORT - 1ST YEAR. ADDS TAC                                            PERRY,ON,CA,L9L1H9
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3569 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                     30-30 WATER                                           PORT PERRY   ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                  STREET,PORT
         SUPPORT - 1ST YEAR. ADDS TAC                                            PERRY,ON,CA,L9L1H9
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
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  2.3570 SUPPORT CONTRACT - CPE           TELEFFICIENT SOLUTIONS                    3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - 1ST YEAR. ADDS TAC                                               5
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3571 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                        3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - 1ST YEAR. ADDS TAC                                               5
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3572 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                        3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - 1ST YEAR. ADDS TAC                                               5
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3573 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                        3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - 1ST YEAR. ADDS TAC                                               5
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3574 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                        3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - 1ST YEAR. ADDS TAC                                               5
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3575 SUPPORT CONTRACT - CPE       TELEFFICIENT SOLUTIONS                        3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - 1ST YEAR. ADDS TAC                                               5
         SUPPORT, SW/FW UPDATES NOT
         AVAILABLE (FROZEN/OBSOLETE
         SOFTWARE).

  2.3576 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3577 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3578 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         30-30 WATER                                           LONDON   ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                     STREET,PORT
         SUPPORT - RENEWAL RATE.                                                    PERRY,ON,CA,L9L1H9
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  2.3579 SUPPORT CONTRACT - CPE           TELEFFICIENT SOLUTIONS                    30-30 WATER                                            LONDON   ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                     STREET,PORT
         SUPPORT - RENEWAL RATE.                                                    PERRY,ON,CA,L9L1H9
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3580 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                             LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3581 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                             LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3582 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                             LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3583 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                             LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3584 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                             LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3585 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                             LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3586 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         30-30 WATER                                            OSHAWA   ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                     STREET,PORT
         SUPPORT - RENEWAL RATE.                                                    PERRY,ON,CA,L9L1H9
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3587 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         30-30 WATER                                            OSHAWA   ON      L9L1H9   CA
         EQUIP - BRONZE LIMITED                                                     STREET,PORT
         SUPPORT - RENEWAL RATE.                                                    PERRY,ON,CA,L9L1H9
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.3588 SUPPORT CONTRACT - CPE           TELEFFICIENT SOLUTIONS                    3233 DEVON                                            LONDON   ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3589 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3590 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3591 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3592 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3593 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3594 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3595 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3596 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON   ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
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  2.3597 SUPPORT CONTRACT - CPE           TELEFFICIENT SOLUTIONS                    3233 DEVON                                            LONDON       ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3598 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON       ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3599 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON       ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3600 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON       ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3601 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON       ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3602 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON       ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3603 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3363 TECUMSEH RD                                      LONDON       ON      N8W1H4   CA
         EQUIP - BRONZE LIMITED                                                     E,WINDSOR,ON,CA,N8W1H
         SUPPORT - RENEWAL RATE.                                                    4
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3604 SUPPORT CONTRACT - CPE      TELEFFICIENT SOLUTIONS                         3233 DEVON                                            LONDON       ON      N8X4L5   CA
         EQUIP - BRONZE LIMITED                                                     DR,WINDSOR,ON,CA,N8X4L
         SUPPORT - RENEWAL RATE.                                                    5
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3605 SUPPORT CONTRACT - CPE        TELEFFICIENT SOLUTIONS                       3233 DEVON                                            LONDON       ON      N8X4L5   CA
         EQUIP - BRONZE PLUS SUPPORT -                                              DR,WINDSOR,ON,CA,N8X4L
         RENEWAL RATE. INCLUDES TAC                                                 5
         SUPPORT, SW/FW UPDATES.

  2.3606 SUPPORT CONTRACT - CPE        TELEFFICIENT SOLUTIONS                       30-30 WATER                                           PORT PERRY   ON      L9L1H9   CA
         EQUIP - BRONZE PLUS SUPPORT -                                              STREET,PORT
         RENEWAL RATE. INCLUDES TAC                                                 PERRY,ON,CA,L9L1H9
         SUPPORT, SW/FW UPDATES.




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  2.3607 SUPPORT CONTRACT - BACS          TELEFONIA BONAIRIANO N.V.                    KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE LIMITED                                                        BOLIVAR #
         SUPPORT - RENEWAL RATE.                                                       8,KRALENDIJK,BONAIRE,B
         INCLUDES TAC SUPPORT, SW/FW                                                   Q,00000
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3608 SUPPORT CONTRACT - BACS       TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         RENEWAL RATE. INCLUDES TAC                                                    8,KRALENDIJK,BONAIRE,B
         SUPPORT, SW/FW UPDATES.                                                       Q,00000

  2.3609 SUPPORT CONTRACT - BACS      TELEFONIA BONAIRIANO N.V.                        KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - SILVER SUPPORT - 1ST                                                  BOLIVAR #
         YEAR. ADDS TAC SUPPORT,                                                       8,KRALENDIJK,BONAIRE,B
         SW/FW UPDATES.                                                                Q,00000
  2.3610 SUPPORT CONTRACT - BACS      TELEFONIA BONAIRIANO N.V.                        KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - SILVER SUPPORT - 1ST                                                  BOLIVAR #
         YEAR. ADDS TAC SUPPORT,                                                       8,KRALENDIJK,BONAIRE,B
         SW/FW UPDATES.                                                                Q,00000
  2.3611 SUPPORT CONTRACT - CPE       TELEFONIA BONAIRIANO N.V.                        KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE LIMITED                                                        BOLIVAR #
         SUPPORT - RENEWAL RATE.                                                       8,KRALENDIJK,BONAIRE,B
         INCLUDES TAC SUPPORT, SW/FW                                                   Q,00000
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3612 SUPPORT CONTRACT - CPE        TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         1ST YEAR. ADDS TAC SUPPORT,                                                   8,KRALENDIJK,BONAIRE,B
         SW/FW UPDATES.                                                                Q,00000
  2.3613 SUPPORT CONTRACT - CPE        TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         1ST YEAR. ADDS TAC SUPPORT,                                                   8,KRALENDIJK,BONAIRE,B
         SW/FW UPDATES.                                                                Q,00000
  2.3614 SUPPORT CONTRACT - CPE        TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         1ST YEAR. ADDS TAC SUPPORT,                                                   8,KRALENDIJK,BONAIRE,B
         SW/FW UPDATES.                                                                Q,00000
  2.3615 SUPPORT CONTRACT - CPE        TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         1ST YEAR. ADDS TAC SUPPORT,                                                   8,KRALENDIJK,BONAIRE,B
         SW/FW UPDATES.                                                                Q,00000
  2.3616 SUPPORT CONTRACT - CPE        TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         1ST YEAR. ADDS TAC SUPPORT,                                                   8,KRALENDIJK,BONAIRE,B
         SW/FW UPDATES.                                                                Q,00000
  2.3617 SUPPORT CONTRACT - CPE        TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         RENEWAL RATE. INCLUDES TAC                                                    8,KRALENDIJK,BONAIRE,B
         SUPPORT, SW/FW UPDATES.                                                       Q,00000

  2.3618 SUPPORT CONTRACT - NMS        TELEFONIA BONAIRIANO N.V.                       KAYA LIBERTADOR SIMON                                 KRALENDIJK   BONAIRE   00000     BQ
         EQUIP - BRONZE PLUS SUPPORT -                                                 BOLIVAR #
         RENEWAL RATE. INCLUDES TAC                                                    8,KRALENDIJK,BONAIRE,B
         SUPPORT, SW/FW UPDATES.                                                       Q,00000

  2.3619 SUPPORT CONTRACT - CPE        TELEFONICA DEL SUR S.A.                         LAS ANIMAS,AV ESPANA                                  VALDIVIA               5090000   CL
         EQUIP - BRONZE PLUS SUPPORT -                                                 460,VALDIVIA,CL,5090000
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3620 SUPPORT CONTRACT - CPE        TELENET D.O.O.                                  GRADAČAČKA                                            TREMELO      BA        71000     BE
         EQUIP - BRONZE PLUS SUPPORT -                                                 114,SARAJEVO,BA,71000
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.




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  2.3621 SUPPORT CONTRACT - DZS           TELUS COMMUNICATIONS INC                    4152 - 27 ST. NE,CALGARY                              BURNABY         AB      T1Y7J8    CA
         CLOUD SOFTWARE - GOLD PLUS                                                   RDC,CALGARY,AB,CA,T1Y7
         ANNUAL MAINTENANCE &                                                         J8
         SUPPORT
  2.3622 SUPPORT CONTRACT - BACS          THE KENTON GROUP LTD                        BLUE SPACE SUS                                        BRUNEL WAY,             DA1 5FW   GB
         EQUIP - BRONZE PLUS SUPPORT -                                                CON,BRUNEL WAY,                                       DARTFORD
          1ST YEAR . ADDS TAC SUPPORT,                                                DARTFORD,KE,GB,DA1
         SW/FW UPDATES.                                                               5FW
  2.3623 SUPPORT CONTRACT - BACS          THINKSPEED                                  22 KILDARE ROAD,CAPE                                  CENTURY CITY,           7700      ZA
         EQUIP - BRONZE LIMITED                                                       TOWN WESTERN,ZA,CAPE                                  MILNERTON
         SUPPORT - RENEWAL RATE.                                                      7700
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3624 SUPPORT CONTRACT - BACS       THINKSPEED                                     22 KILDARE ROAD,CAPE                                  CENTURY CITY,           7700      ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                TOWN WESTERN,ZA,CAPE                                  MILNERTON
         RENEWAL RATE. INCLUDES TAC                                                   7700
         SUPPORT, SW/FW UPDATES.

  2.3625 SUPPORT CONTRACT - CPE      THINKSPEED                                       22 KILDARE ROAD,CAPE                                  CENTURY CITY,           7700      ZA
         EQUIP - BRONZE LIMITED                                                       TOWN WESTERN,ZA,CAPE                                  MILNERTON
         SUPPORT - RENEWAL RATE.                                                      7700
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3626 SUPPORT CONTRACT - CPE        THINKSPEED                                     22 KILDARE ROAD,CAPE                                  CENTURY CITY,           7700      ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                TOWN WESTERN,ZA,CAPE                                  MILNERTON
         RENEWAL RATE. INCLUDES TAC                                                   7700
         SUPPORT, SW/FW UPDATES.

  2.3627 SUPPORT CONTRACT - NMS        THINKSPEED                                     22 KILDARE ROAD,CAPE                                  CENTURY CITY,           7700      ZA
         EQUIP - BRONZE PLUS SUPPORT -                                                TOWN WESTERN,ZA,CAPE                                  MILNERTON
         RENEWAL RATE. INCLUDES TAC                                                   7700
         SUPPORT, SW/FW UPDATES.

  2.3628 SUPPORT CONTRACT - 5YRS -   TVC COMMUNICATIONS                               2101 DES SAULES,SAINT-                                SAINT-BRUNO     C,      3V 5Z8    CA
         BRONZE PLUS MAINT POLAN                                                      BRUNO,QUÉBEC,CA,J3V
         PORT EXTENDERS. INCLUDES                                                     5Z8
         TAC SUPPORT, SW/FW UPDATES.

  2.3629 SUPPORT CONTRACT - 5YRS -   TVC COMMUNICATIONS                               2101 DES SAULES,SAINT-                                SAINT-BRUNO     C,      3V 5Z8    CA
         BRONZE PLUS MAINT POLAN                                                      BRUNO,QUÉBEC,CA,J3V
         PORT EXTENDERS. INCLUDES                                                     5Z8
         TAC SUPPORT, SW/FW UPDATES.

  2.3630 SUPPORT CONTRACT - 5YRS -   TVC COMMUNICATIONS                               2101 DES SAULES,SAINT-                                SAINT-BRUNO     QU      J3V 5Z8   CA
         BRONZE PLUS MAINT POLAN                                                      BRUNO,QUÉBEC,CA,J3V
         PORT EXTENDERS. INCLUDES                                                     5Z8
         TAC SUPPORT, SW/FW UPDATES.

  2.3631 SUPPORT CONTRACT - 5YRS -   TVC COMMUNICATIONS                               2101 DES SAULES,SAINT-                                SAINT-BRUNO     QU      J3V 5Z8   CA
         BRONZE PLUS MAINT POLAN                                                      BRUNO,QUÉBEC,CA,J3V
         PORT EXTENDERS. INCLUDES                                                     5Z8
         TAC SUPPORT, SW/FW UPDATES.

  2.3632 SUPPORT CONTRACT - 5YRS -   TVC COMMUNICATIONS                               2101 DES SAULES,SAINT-                                SAINT-BRUNO     C,      3V 5Z8    CA
         BRONZE PLUS MAINT POLAN                                                      BRUNO,QUÉBEC,CA,J3V
         SWITCHING EQUIP. INCLUDES                                                    5Z8
         TAC SUPPORT, SW/FW UPDATES.




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  ID     Description of Contract or Lease Counterparty Name    Attention        Address 1                   Address 2   Address 3       City          State   ZIP       Country
  2.3633 SUPPORT CONTRACT - 5YRS -        TVC COMMUNICATIONS                    2101 DES SAULES,SAINT-                                  SAINT-BRUNO   C,      3V 5Z8    CA
         BRONZE PLUS MAINT POLAN                                                BRUNO,QUÉBEC,CA,J3V
         SWITCHING EQUIP. INCLUDES                                              5Z8
         TAC SUPPORT, SW/FW UPDATES.

  2.3634 SUPPORT CONTRACT - 5YRS -   TVC COMMUNICATIONS                         2101 DES SAULES,SAINT-                                  SAINT-BRUNO   QU      J3V 5Z8   CA
         BRONZE PLUS MAINT POLAN                                                BRUNO,QUÉBEC,CA,J3V
         SWITCHING EQUIP. INCLUDES                                              5Z8
         TAC SUPPORT, SW/FW UPDATES.

  2.3635 SUPPORT CONTRACT - 5YRS -   TVC COMMUNICATIONS                         2101 DES SAULES,SAINT-                                  SAINT-BRUNO   QU      J3V 5Z8   CA
         BRONZE PLUS MAINT POLAN                                                BRUNO,QUÉBEC,CA,J3V
         SWITCHING EQUIP. INCLUDES                                              5Z8
         TAC SUPPORT, SW/FW UPDATES.

  2.3636 SUPPORT CONTRACT - CPE        TVC COMMUNICATIONS                       5502 US HIGHWAY 59                                      BASTROP       TX      77905
         EQUIP - BRONZE PLUS SUPPORT -                                          N,VICTORIA,TX,US,77905
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3637 SUPPORT CONTRACT - CPE        UBAC-GROUP PTE LTD                       16 JALAN KILANG,#04-05                                  0                     59416     SG
         EQUIP - BRONZE PLUS SUPPORT -                                          HOI HUP
         RENEWAL RATE. INCLUDES TAC                                             BUILDING,SG,159416
         SUPPORT, SW/FW UPDATES.

  2.3638 SUPPORT CONTRACT - CPE        UBAC-GROUP PTE LTD                       16 JALAN KILANG,#04-05                                  0                     59416     SG
         EQUIP - BRONZE PLUS SUPPORT -                                          HOI HUP
         RENEWAL RATE. INCLUDES TAC                                             BUILDING,SG,159416
         SUPPORT, SW/FW UPDATES.

  2.3639 SUPPORT CONTRACT - MGATE       UNAS SYSTEMS LLC                        ESMAT HAMDY ST,NO1.                                     CAIRO                 11361     EG
         EQUIP - SILVER SUPPORT - 1ST                                           RIKABA IDARIA
         YEAR, ADDS TAC SUPPORT,                                                BLDG,SHERATON
         SW/FW UPDATES                                                          BUILDINGS,CAIRO,HELIOP
                                                                                OLIS,EG,11361
  2.3640 SUPPORT CONTRACT - MGATE      UNAS SYSTEMS LLC                         ESMAT HAMDY ST,NO1.                                     CAIRO                 11361     EG
         EQUIP - SILVER SUPPORT -                                               RIKABA IDARIA
         RENEWAL RATE. INCLUDES TAC                                             BLDG,SHERATON
         SUPPORT, SW/FW UPDATES &                                               BUILDINGS,CAIRO,HELIOP
         RTF REPAIR                                                             OLIS,EG,11361
  2.3641 SUPPORT CONTRACT - BACS       USHUAIA VISION S.A.                      RIVADAVIA 260                                           TIERRA DEL            GO,AR     AR
         EQUIP - BRONZE PLUS SUPPORT -                                          (9410),USHUAIA-TIERRA                                   FUEGO
         RENEWAL RATE. INCLUDES TAC                                             DE FUEGO,AR
         SUPPORT, SW/FW UPDATES.

  2.3642 SUPPORT CONTRACT - BACS       USHUAIA VISION S.A.                      RIVADAVIA 260                                           TIERRA DEL            GO,AR     AR
         EQUIP - BRONZE PLUS SUPPORT -                                          (9410),USHUAIA-TIERRA                                   FUEGO
         RENEWAL RATE. INCLUDES TAC                                             DE FUEGO,AR
         SUPPORT, SW/FW UPDATES.

  2.3643 SUPPORT CONTRACT - CPE      USHUAIA VISION S.A.                        RIVADAVIA 260                                           TIERRA DEL            GO,AR     AR
         EQUIP - BRONZE LIMITED                                                 (9410),USHUAIA-TIERRA                                   FUEGO
         SUPPORT - RENEWAL RATE.                                                DE FUEGO,AR
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3644 SUPPORT CONTRACT - CPE      USHUAIA VISION S.A.                        RIVADAVIA 260                                           TIERRA DEL            GO,AR     AR
         EQUIP - BRONZE LIMITED                                                 (9410),USHUAIA-TIERRA                                   FUEGO
         SUPPORT - RENEWAL RATE.                                                DE FUEGO,AR
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)




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  ID     Description of Contract or Lease Counterparty Name     Attention        Address 1                   Address 2   Address 3       City         State   ZIP      Country
  2.3645 SUPPORT CONTRACT - CPE           USHUAIA VISION S.A.                    RIVADAVIA 260                                           TIERRA DEL           GO,AR    AR
         EQUIP - BRONZE PLUS SUPPORT -                                           (9410),USHUAIA-TIERRA                                   FUEGO
         RENEWAL RATE. INCLUDES TAC                                              DE FUEGO,AR
         SUPPORT, SW/FW UPDATES.

  2.3646 SUPPORT CONTRACT - CPE        USHUAIA VISION S.A.                       RIVADAVIA 260                                           TIERRA DEL           GO,AR    AR
         EQUIP - BRONZE PLUS SUPPORT -                                           (9410),USHUAIA-TIERRA                                   FUEGO
         RENEWAL RATE. INCLUDES TAC                                              DE FUEGO,AR
         SUPPORT, SW/FW UPDATES.

  2.3647 SUPPORT CONTRACT - ANYHAUL VIANET INC.                                  128 LARCH STREET,SUITE                                  SCHOMBERG    ON      P3E5J8   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           202,SUDBURY,ON,CA,P3E5
          1ST YEAR, ADDS TAC SUPPORT,                                            J8
         SW/FW UPDATES
  2.3648 SUPPORT CONTRACT - BACS       VIANET INC.                               128 LARCH STREET,SUITE                                  SCHOMBERG    ON      P3E5J8   CA
         EQUIP - BRONZE LIMITED                                                  202,SUDBURY,ON,CA,P3E5
         SUPPORT - RENEWAL RATE.                                                 J8
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3649 SUPPORT CONTRACT - BACS       VIANET INC.                               128 LARCH ST,STE                                        SCHOMBERG    A,      5J8 ON   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           202,SUDBURY,ON,CA,P3E
         1ST YEAR . ADDS TAC SUPPORT,                                            5J8 ON
         SW/FW UPDATES.
  2.3650 SUPPORT CONTRACT - BACS       VIANET INC.                               128 LARCH STREET,SUITE                                  SCHOMBERG    ON      P3E5J8   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           202,SUDBURY,ON,CA,P3E5
         RENEWAL RATE. INCLUDES TAC                                              J8
         SUPPORT, SW/FW UPDATES.

  2.3651 SUPPORT CONTRACT - CPE      VIANET INC.                                 128 LARCH STREET,SUITE                                  SCHOMBERG    ON      P3E5J8   CA
         EQUIP - BRONZE LIMITED                                                  202,SUDBURY,ON,CA,P3E5
         SUPPORT - RENEWAL RATE.                                                 J8
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3652 SUPPORT CONTRACT - CPE        VIANET INC.                               128 LARCH ST,STE                                        SCHOMBERG    A,      5J8 ON   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           202,SUDBURY,ON,CA,P3E
         1ST YEAR. ADDS TAC SUPPORT,                                             5J8 ON
         SW/FW UPDATES.
  2.3653 SUPPORT CONTRACT - CPE        VIANET INC.                               128 LARCH STREET,SUITE                                  SCHOMBERG    ON      P3E5J8   CA
         EQUIP - BRONZE PLUS SUPPORT -                                           202,SUDBURY,ON,CA,P3E5
         RENEWAL RATE. INCLUDES TAC                                              J8
         SUPPORT, SW/FW UPDATES.

  2.3654 SUPPORT CONTRACT - BACS       VICTORIA ELECTRIC                         5502 US HIGHWAY 59                                      BASTROP      TX      77905
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE                               N,VICTORIA,TX,US,77905
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3655 SUPPORT CONTRACT - CPE        VICTORIA ELECTRIC                         5502 US HIGHWAY 59                                      BASTROP      TX      77905
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE                               N,VICTORIA,TX,US,77905
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3656 SUPPORT CONTRACT - CPE        VICTORIA ELECTRIC                         5502 US HIGHWAY 59                                      BASTROP      TX      77905
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE                               N,VICTORIA,TX,US,77905
         1ST YEAR. ADDS TAC SUPPORT,
         SW/FW UPDATES.
  2.3657 SUPPORT CONTRACT - CPE        VICTORIA ELECTRIC                         5502 US HIGHWAY 59                                      BASTROP      TX      77905
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE                               N,VICTORIA,TX,US,77905
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.




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  2.3658 SUPPORT CONTRACT - NMS           VICTORIA ELECTRIC                        5502 US HIGHWAY 59                                      BASTROP       TX      77905
         EQUIP - BRONZE PLUS SUPPORT - COOPERATIVE                                 N,VICTORIA,TX,US,77905
         RENEWAL RATE. INCLUDES TAC
         SUPPORT, SW/FW UPDATES.

  2.3659 SUPPORT CONTRACT - 3YRS -   VS ONE WORLD (PTE) LTD                        COMO COCOA                                              SOUTH MALE’                      MV
         BRONZE PLUS MAINT POLAN                                                   ISLAND,SOUTH MALE’                                      ATOLL
         NETWORK MGMT SW. INCLUDES                                                 ATOLL,REPUBLIC OF
         TAC SUPPORT, SW/FW UPDATES.                                               MALDIVES,MV

  2.3660 SUPPORT CONTRACT - 3YRS -   VS ONE WORLD (PTE) LTD                        ATMOSPHERE KANIFUSHI                                    MALE'                 20094      MV
         BRONZE PLUS MAINT POLAN                                                   MALDIVES C/O KANIFUSHI
         PORT EXTENDERS. INCLUDES                                                  INVESTMENT PVT. LTD (C-
         TAC SUPPORT, SW/FW UPDATES.                                               733/2006),3RD FLOOR, H.
                                                                                   AAGE,
                                                                                   BODUTHAKURUFAANU
                                                                                   MAGU,MALE',MV,20094

  2.3661 SUPPORT CONTRACT - 3YRS -   VS ONE WORLD (PTE) LTD                        MA DAWN SHINE,                                          MALE                  20226      MV
         BRONZE PLUS MAINT POLAN                                                   ZAMAANEE GOALHI,REG
         PORT EXTENDERS. INCLUDES                                                  NO. C06152018,MALE
         TAC SUPPORT, SW/FW UPDATES.                                               MALDIVES, STATE
                                                                                   CODE:30,MALE,MV,20226
  2.3662 SUPPORT CONTRACT - 3YRS -   VS ONE WORLD (PTE) LTD                        ATMOSPHERE KANIFUSHI                                    MALE'                 20094      MV
         BRONZE PLUS MAINT POLAN                                                   MALDIVES C/O KANIFUSHI
         PORT EXTENDERS. INCLUDES                                                  INVESTMENT PVT. LTD (C-
         TAC SUPPORT, SW/FW UPDATES.                                               733/2006),3RD FLOOR, H.
                                                                                   AAGE,
                                                                                   BODUTHAKURUFAANU
                                                                                   MAGU,MALE',MV,20094

  2.3663 SUPPORT CONTRACT - 3YRS -      VS ONE WORLD (PTE) LTD                     COMO COCOA                                              SOUTH MALE’                      MV
         SILVER MAINT POLAN PORT                                                   ISLAND,SOUTH MALE’                                      ATOLL
         EXTENDERS. INCLUDES TAC                                                   ATOLL,REPUBLIC OF
         SUPPORT, SW/FW UPDATES, &                                                 MALDIVES,MV
         RTF REPAIR.
  2.3664 SUPPORT CONTRACT - 3YRS -      VS ONE WORLD (PTE) LTD                     COMO COCOA                                              SOUTH MALE’                      MV
         SILVER MAINT POLAN                                                        ISLAND,SOUTH MALE’                                      ATOLL
         SWITCHING EQUIP. INCLUDES                                                 ATOLL,REPUBLIC OF
         TAC SUPPORT, SW/FW UPDATES,                                               MALDIVES,MV
         & RTF REPAIR.
  2.3665 SUPPORT CONTRACT - 3YRS -      V-VALLEY ADVANCED                          RUA ALBINO JOSÉ                                         MOREIRA DA            4470-304   PT
         BRONZE PLUS MAINT POLAN        SOLUTIONS ESPANA, SAU                      DOMINGUES, ARM.                                         MAIA
         NETWORK MGMT SW. INCLUDES                                                 153,MOREIRA DA
         TAC SUPPORT, SW/FW UPDATES.                                               MAIA,PT,4470-304

  2.3666 SUPPORT CONTRACT - 3YRS -   V-VALLEY ADVANCED                             RUA ALBINO JOSÉ                                         MOREIRA DA            4470-304   PT
         BRONZE PLUS MAINT POLAN     SOLUTIONS ESPANA, SAU                         DOMINGUES, ARM.                                         MAIA
         PORT EXTENDERS. INCLUDES                                                  153,MOREIRA DA
         TAC SUPPORT, SW/FW UPDATES.                                               MAIA,PT,4470-304

  2.3667 SUPPORT CONTRACT - 3YRS -     V-VALLEY ADVANCED                           RUA ALBINO JOSÉ                                         MOREIRA DA            4470-304   PT
         SILVER MAINT POLAN            SOLUTIONS ESPANA, SAU                       DOMINGUES, ARM.                                         MAIA
         SWITCHING EQUIP. INCLUDES                                                 153,MOREIRA DA
         TAC SUPPORT, SW/FW UPDATES,                                               MAIA,PT,4470-304
         & RTF REPAIR.
  2.3668 SUPPORT CONTRACT - ANYHAUL WILKES TELEPHONE & ELECTRIC                    11 E COURT                                              WASHINGTON    GA      30673
         EQUIP - BRONZE PLUS SUPPORT - CO, INC                                     ST,WASHINGTON,GA,US,30
         RENEWAL RATE, INCLUDES TAC                                                673
         SUPPORT, SW/FW UPDATES




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  2.3669 SUPPORT CONTRACT - BACS          WILLARD SOLUTIONS                    KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - BRONZE LIMITED           INTERNATIONAL                        DE 3090 28
         SUPPORT - RENEWAL RATE.                                               318,LEIPZIG,DE,04229
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3670 SUPPORT CONTRACT - BACS     WILLARD SOLUTIONS                         KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - BRONZE LIMITED      INTERNATIONAL                             DE 3090 28
         SUPPORT - RENEWAL RATE.                                               318,LEIPZIG,DE,04229
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3671 SUPPORT CONTRACT - BACS        WILLARD SOLUTIONS                      KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - SILVER SUPPORT -       INTERNATIONAL                          DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                            318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES, &
         RTF REPAIR.
  2.3672 SUPPORT CONTRACT - BACS        WILLARD SOLUTIONS                      KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP- GOLD SUPPORT-           INTERNATIONAL                          DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                            318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.3673 SUPPORT CONTRACT - BACS        WILLARD SOLUTIONS                      KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP- GOLD SUPPORT-           INTERNATIONAL                          DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                            318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.3674 SUPPORT CONTRACT - BACS        WILLARD SOLUTIONS                      KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP- GOLD SUPPORT-           INTERNATIONAL                          DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                            318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES, &
         ADVANCE REPLACEMENT
  2.3675 SUPPORT CONTRACT - CPE         WILLARD SOLUTIONS                      KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - BRONZE LIMITED         INTERNATIONAL                          DE 3090 28
         SUPPORT - RENEWAL RATE.                                               318,LEIPZIG,DE,04229
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3676 SUPPORT CONTRACT - CPE      WILLARD SOLUTIONS                         KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - BRONZE LIMITED      INTERNATIONAL                             DE 3090 28
         SUPPORT - RENEWAL RATE.                                               318,LEIPZIG,DE,04229
         INCLUDES TAC SUPPORT, SW/FW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3677 SUPPORT CONTRACT - CPE        WILLARD SOLUTIONS                       KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL                           DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                            318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES.

  2.3678 SUPPORT CONTRACT - CPE        WILLARD SOLUTIONS                       KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL                           DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                            318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES.

  2.3679 SUPPORT CONTRACT - CPE        WILLARD SOLUTIONS                       KÖNNERITZSTR 45,VAT:                                   LEIPZIG           04229   DE
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL                           DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                            318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES.




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  2.3680 SUPPORT CONTRACT - CPE           WILLARD SOLUTIONS                           KÖNNERITZSTR 45,VAT:                                    LEIPZIG               04229   DE
         EQUIP - BRONZE PLUS SUPPORT - INTERNATIONAL                                  DE 3090 28
         RENEWAL RATE. INCLUDES TAC                                                   318,LEIPZIG,DE,04229
         SUPPORT, SW/FW UPDATES.

  2.3681 SUPPORT CONTRACT - 3YRS -   WISI COMUNICACIONES S.A.                         DUERO, 47 - B (POL.                                     MADRID                28840   ES
         BRONZE PLUS MAINT POLAN                                                      IND.),MEJORADA DEL
         NETWORK MGMT SW. INCLUDES                                                    CAMPO,MADRID,ES,28840
         TAC SUPPORT, SW/FW UPDATES.

  2.3682 SUPPORT CONTRACT - 3YRS -   WISI COMUNICACIONES S.A.                         DUERO, 47 - B (POL.                                     MADRID                28840   ES
         BRONZE PLUS MAINT POLAN                                                      IND.),MEJORADA DEL
         PORT EXTENDERS. INCLUDES                                                     CAMPO,MADRID,ES,28840
         TAC SUPPORT, SW/FW UPDATES.

  2.3683 SUPPORT CONTRACT - 3YRS -   WISI COMUNICACIONES S.A.                         DUERO, 47 - B (POL.                                     MADRID                28840   ES
         SILVER MAINT POLAN                                                           IND.),MEJORADA DEL
         SWITCHING EQUIP. INCLUDES                                                    CAMPO,MADRID,ES,28840
         TAC SUPPORT, SW/FW UPDATES,
         & RTF REPAIR.
  2.3684 SUPPORT CONTRACT - BACS     ZAJIL INTERNATIONAL TELECOM                      K.S.C.C,WAHA MALL,                                      KUWAIT CITY                   KW
         EQUIP - BRONZE LIMITED      CO. W.L.L.                                       BASEMENT STORE
         SUPPORT - RENEWAL RATE.                                                      #3,DAJEEJ,
         INCLUDES TAC SUPPORT, SW/FW                                                  FARWANIYA,KW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3685 SUPPORT CONTRACT - BACS       ZAJIL INTERNATIONAL TELECOM                    K.S.C.C,WAHA MALL,                                      KUWAIT CITY                   KW
         EQUIP - BRONZE PLUS SUPPORT - CO. W.L.L.                                     BASEMENT STORE
         RENEWAL RATE. INCLUDES TAC                                                   #3,DAJEEJ,
         SUPPORT, SW/FW UPDATES.                                                      FARWANIYA,KW

  2.3686 SUPPORT CONTRACT - CPE      ZAJIL INTERNATIONAL TELECOM                      K.S.C.C,WAHA MALL,                                      KUWAIT CITY                   KW
         EQUIP - BRONZE LIMITED      CO. W.L.L.                                       BASEMENT STORE
         SUPPORT - RENEWAL RATE.                                                      #3,DAJEEJ,
         INCLUDES TAC SUPPORT, SW/FW                                                  FARWANIYA,KW
         UPDATES NOT AVAILABLE
         (FROZEN/OBSOLETE SOFTWARE)

  2.3687 SUPPORT CONTRACT - CPE        ZAJIL INTERNATIONAL TELECOM                    K.S.C.C,WAHA MALL,                                      KUWAIT CITY                   KW
         EQUIP - BRONZE PLUS SUPPORT - CO. W.L.L.                                     BASEMENT STORE
         1ST YEAR. ADDS TAC SUPPORT,                                                  #3,DAJEEJ,
         SW/FW UPDATES.                                                               FARWANIYA,KW
  2.3688 SUPPORT CONTRACT - CPE        ZAJIL INTERNATIONAL TELECOM                    K.S.C.C,WAHA MALL,                                      KUWAIT CITY                   KW
         EQUIP - BRONZE PLUS SUPPORT - CO. W.L.L.                                     BASEMENT STORE
         1ST YEAR. ADDS TAC SUPPORT,                                                  #3,DAJEEJ,
         SW/FW UPDATES.                                                               FARWANIYA,KW
  2.3689 SUPPORT CONTRACT - CPE        ZAJIL INTERNATIONAL TELECOM                    K.S.C.C,WAHA MALL,                                      KUWAIT CITY                   KW
         EQUIP - BRONZE PLUS SUPPORT - CO. W.L.L.                                     BASEMENT STORE
         RENEWAL RATE. INCLUDES TAC                                                   #3,DAJEEJ,
         SUPPORT, SW/FW UPDATES.                                                      FARWANIYA,KW




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  Fill in this information to identify the case:

  Debtor name: DZS Inc.

  United States Bankruptcy Court for the: Eastern District of Texas
                                                                                                                                                                        Check if this is an
  Case number: Not Yet Assigned
                                                                                                                                                                        amended filing



Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


1. Does the debtor have any codebtors?

      No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

      Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                             Check all schedules
                                                                                                                                                                     that apply:


2.1
                                                                                                                                                                           D

                                                                                                                                                                           E/F

                                                                                                                                                                           G
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  Fill in this information to identify the case:

  Debtor name: DZS Inc.

  United States Bankruptcy Court for the: Eastern District of Texas
                                                                                                                                                     Check if this is an
  Case number: Not Yet Assigned
                                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.


  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a

  declaration

I declare under penalty of perjury that the foregoing is true and correct.

March 14, 2025                                                                         /s/ Charles Vogt

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Charles Vogt

                                                                                       Printed name
                                                                                       Chief Executive Officer

                                                                                       Position or relationship to debtor
